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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NEW YORK

   SHEILA LONG, MICHAEL DONIOS, JOSEPH
   JONES JR., and MATTHEW SCHRIER,

                      Plaintiffs,

               v.

   MTN GROUP LIMITED, MTN IRANCELL, MTN                    JURY TRIAL DEMANDED
   DUBAI LIMITED, ZTE CORPORATION, ZTE (USA)
   INC., ZTE (TX) INC., HUAWEI TECHNOLOGIES
   CO., LTD., HUAWEI TECHNOLOGIES USA INC.,
   HUAWEI DEVICE USA INC., FUTUREWEI                        Case No.: 23-cv-5705
   TECHNOLOGIES, INC., and SKYCOM TECH CO.,
   LTD.,

                      Defendants.



                              COMPLAINT FOR
                    VIOLATION OF THE ANTI-TERRORISM ACT




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                                           RELATEDNESS

         Plaintiffs believe that this matter is substantially similar to Zobay et al. v. MTN Group

  Ltd. et al., Case 1:21-cv-03503 (E.D.N.Y. Compl. filed June 22, 2021) (Amon, J.) and Lau et al.

  v. ZTE Corp., et al., Case 1:22-cv-01855 (E.D.N.Y. Compl. filed Apr. 3, 2022) (Amon, J.), and

  Plaintiffs have designated this matter as related to both. For the Court’s benefit, Plaintiffs have

  appended to this Complaint as Exhibit B a redline showing the differences between this

  Complaint and the First Amended Complaint filed in Lau on August 22, 2022.

                                          INTRODUCTION

         1.      This lawsuit seeks damages under the federal Anti-Terrorism Act (the “ATA”) on

  behalf of family members of three American service members whose loved ones were killed

  while serving their country in Afghanistan between 2013 and 2014 (the “Afghanistan

  Plaintiffs”), and one American photojournalist who was abducted in Aleppo, Syria in late 2012,

  and brutally tortured and held hostage for more than 200 days until his escape in 2013. Plaintiffs

  seek to hold MTN, a South African telecom company, and ZTE and Huawei, two Chinese

  telecom companies and technology manufacturers, accountable for their conspiracy with, and

  substantial assistance to, multiple Foreign Terrorist Organizations (“FTOs”) targeting Americans

  in the Middle East, including Syria, Afghanistan and Iraq.

         2.      Plaintiffs’ allegations are based on information derived from confidential

  witnesses with direct and indirect knowledge of the alleged facts, internal company documents,

  declassified military intelligence reporting, congressional testimony and reports, press accounts,

  and Plaintiffs’ recollections.

         3.      MTN, ZTE, and Huawei are large multinational companies that had lucrative

  business in Iran and Afghanistan that relied upon regular transactions with counterparties that

  MTN, ZTE, and Huawei knew served as fronts for terrorist finance and logistics, and MTN,

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  ZTE, and Huawei engaged in illicit, terrorism-sanctions-busting transactions with known

  terrorist fronts in order to boost their profits. Those transactions aided and abetted terrorism by

  directly funding, arming, and logistically supporting a terrorist campaign that stretched for nearly

  two decades, killing and injuring thousands of Americans.

         4.      MTN, ZTE, and Huawei provided two separate streams of devastating aid that

  ultimately flowed to benefit al-Qaeda (including its Iraqi and Syrian branches, al-Qaeda-in-Iraq

  ("AQI”) and al-Nusra Front (“ANF”)) and Taliban terrorists who killed and injured Plaintiffs or

  their loved ones in attacks from 2012 through 2014.

         5.      First, MTN, ZTE, and Huawei directly provided funding, technology, weapons,

  services, and other aid to the world’s worst sponsor of terrorism, Iran’s Islamic Revolutionary

  Guards Corps (or “IRGC”), including its Lebanese Hezbollah Division and Qods Force, in

  furtherance of the IRGC’s conspiracy to target and kill Americans in the Middle East, including

  Afghanistan, in order to drive the United States from the region. The IRGC relied upon such aid

  to facilitate attacks by its proxies in Afghanistan, al-Qaeda and the Taliban, both of whom joined

  the IRGC’s conspiracy to expel the United States from the countries on Iran’s borders,

  Afghanistan and Iraq. Such aid flowed through the IRGC, including through Hezbollah and the

  Qods Force, and reached al-Qaeda and the Taliban, who deployed the IRGC’s aid to sustain a

  successful nearly two-decades-long terrorist campaign against Americans there. Such aid went

  directly to AQI and its Syrian progeny, ANF.

         6.      Second, MTN, ZTE, and Huawei made substantial protection payments, in cash

  and “free goods,” to the Taliban, including its Haqqani Network, 1 to further the IRGC’s




  1
   The Haqqani Network has always been, and remains, a part of the Taliban. In this Complaint,
  all references to “Taliban” include the Haqqani Network.
                                                   2
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  conspiracy and redirect violence away from MTN’s, ZTE’s, and Huawei’s shipments, facilities,

  and projects in Afghanistan. MTN’s, ZTE’s and Huawei’s protection payments to the Taliban

  provided an equally potent stream of aid to the terrorists, directly funding, arming, and

  logistically sustaining the Taliban.

         7.      This case reveals conduct that is unusually depraved. Few ATA defendants have

  ever been credibly accused of the full spectrum of behavior identified in this Complaint against

  MTN, ZTE, and Huawei, each of whom directly conspired with known fronts for designated

  terrorist organizations. In serving as full-spectrum telecommunications and computing partners

  for Hezbollah, the Qods Force, and Regular IRGC and, through these IRGC components, for

  long-standing IRGC proxies like al-Qaeda and the Taliban, MTN, ZTE, and Huawei aided every

  facet of the IRGC’s terrorist enterprise and the broader IRGC Conspiracy that it served.

  Moreover, by making protection payments to the Taliban, MTN, ZTE, and Huawei provided a

  second equally potent stream of value that also provided cross-cutting financial, logistical, and

  operational benefits to the terrorists who committed the attacks that injured Plaintiffs and their

  loved ones.

         8.      MTN, ZTE, and Huawei aided the terrorists because they were co-conspirators

  with the IRGC, as each signed written agreements pledging to support the “security” agenda of

  their counterparty “Iranian Shareholders” – which were themselves fronts for the IRGC – which

  they and the IRGC both knew meant supporting the IRGC’s, including Hezbollah’s and the Qods

  Force’s, industrial-scale exportation of terror targeting Americans worldwide, including in Syria

  and Afghanistan.

         9.      Here’s how the Conspiracy worked: the IRGC led a conspiracy, the object of

  which was to commit terrorist attacks on Americans in the countries bordering Iran, Afghanistan



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  and Iraq and drive the U.S. out of the Middle East (the “IRGC Conspiracy” or “Conspiracy”).

  The IRGC established the IRGC Conspiracy after 9/11 and it continues even after the end of the

  conflict in Afghanistan. The co-conspirators along with the IRGC in the IRGC Conspiracy

  included terrorist groups integral to or supported by the IRGC, including its Hezbollah Division

  and Qods Force, al-Qaeda, the Taliban, and others. Corporate fronts for the IRGC, including the

  telecom companies the IRGC controlled such as MTN Irancell, the Telecommunications

  Company of Iran (“TCI”), and Mobile Communication Company of Iran (“MCI”) were also co-

  conspirators. The IRGC Conspiracy operated through its terrorist members to carry out attacks

  on Americans, with the IRGC providing logistical and financial support. The attacks in this case

  were all acts in furtherance of the IRGC Conspiracy. Every person and entity that agreed to join

  the IRGC Conspiracy is therefore liable for the harm caused by these attacks.

         10.     MTN, ZTE, and Huawei joined the IRGC Conspiracy on the dates they agreed

  with known IRGC fronts (variously, MTN Irancell, TCI, and MCI) to provide resources,

  technical materials, and technical support, and to support Iran’s “security” objectives.

         11.     Each of MTN, ZTE, and Huawei acted in furtherance of that agreement to join the

  IRGC Conspiracy each time they provided money and other resources, provided technical goods,

  such as cell phones and telecom infrastructure, assisted with technical support, as was their

  obligation as joint venturers with and contractual counterparties to known IRGC fronts, when

  they evaded U.S. sanctions in order to do so, and when they attempted to obfuscate their

  respective roles. Each time MTN, ZTE, and Huawei did these acts in furtherance of the IRGC

  Conspiracy, such person assisted the IRGC Conspiracy’s objective to attack Americans and

  furthered the IRGC Conspiracy’s ultimate objective to expel the U.S. from Afghanistan and Iraq.




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           12.   MTN, ZTE, and Huawei entered into the IRGC Conspiracy with the IRGC, and

  acted in furtherance thereof for well over a decade. MTN, ZTE, and Huawei were one in spirit

  with their IRGC terrorist partners because each calculated that, if they remained aligned with the

  “Iranian Shareholders” – fronts for the IRGC – their company would reap billions in profits by

  seizing a monopoly in one of the world’s fastest-growing and youngest potential subscriber

  pools.

           13.   To earn their billions, MTN, ZTE, and Huawei simply needed to believe that the

  obvious and vast American bloodshed in Afghanistan and Iraq that was sure to follow their

  decision was an acceptable price to pay to yield a profitable outcome for their own shareholders

  and the “Iranian Shareholders” with whom they were at times joint venture partners and at others

  explicit contractual counterparties. Seasoned investors, however, know that for every shareholder

  who wins, another must lose. But this is not a case about trading shares on the NASDAQ. Here,

  the “shareholders” who lost were not day traders who got crushed making an unwise stock pick.

  They were the Plaintiffs: patriotic American servicemembers and civilians who volunteered for

  hard, thankless, jobs on the other side of the world in Afghanistan. Some returned, badly

  injured. Some never came back at all. None will ever be the same again. MTN, ZTE, and

  Huawei played a key role in the events that led to this outcome. Plaintiffs are among the victims.

  This lawsuit followed.

           14.   It is impossible to overstate the magnitude of MTN’s, ZTE’s, and Huawei’s

  defilement of the Anti-Terrorism Act. This case concerns one of the single most depraved,

  expansive, deceitful, and persistent international corporate conspiracies since the end of World

  War II, led by the IRGC and enabled by their corporate co-conspirators, MTN, ZTE, and

  Huawei. There is little doubt that the IRGC Conspiracy changed the trajectory of Afghanistan,



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  Iraq, and countless other countries. This Complaint outlines the unprecedented nature of MTN’s,

  ZTE’s, and Huawei’s conduct, and it likely remains the tip of the iceberg. Few other defendants

  in the history of the ATA have engaged in conduct as comprehensively violative, for more

  money, over a longer period, with a more violent counterparty, with more devastating

  consequences, while demonstrating a greater sense of corporate impunity. For more than a

  decade, MTN, ZTE, and Huawei funded, partnered with, and helped develop the technical

  capabilities for the world’s worst terrorist organization – the IRGC – by dealing with notorious

  fronts for the IRGC and pledging to assist with Iran’s “security” agenda – all while fraudulently

  concealing it from all, including their shareholders. While doing so, MTN, ZTE, and Huawei

  also paid protection money directly to the IRGC’s Afghan proxies, the Taliban.

         15.     MTN, ZTE, and Huawei are three of the worst corporate sponsors of terrorism in

  the history of the ATA. As a result, this case is likely to be different than a typical ATA case

  because of what Defendants have done, and this Complaint is longer than many ATA

  complaints. MTN, ZTE, and Huawei each funneled hundreds of millions in value to the

  terrorists in nearly every conceivable modality of terrorist fund transfer: direct transactions with

  FTO fronts while knowing (and not caring) about the FTO relationship; illicit acquisition of

  valuable American technologies; procurement bribes; “free goods” kickbacks; black market

  purchasing; cash flow from the companies; and so on.

         16.     The evidence regarding Defendants’ intent is even worse. Like the IRGC fronts

  with whom they did business, MTN, ZTE, and Huawei made shocking admissions in writing,

  and then destroyed everything to try to cover their tracks (none succeeded completely). Some

  Defendants lied to federal law enforcement. Witness intimidation was common. Innocent

  Canadians were kidnapped to extort the United States and Canada.



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          17.    MTN’s, ZTE’s, and Huawei’s conduct, spending amount, and terrorist tradecraft

  is startlingly like how a State Sponsor of Terrorism acts—hundreds of millions of dollars in

  direct funding to terrorists, critical technical support that aids their victory given with the hope

  that it will occur, and a commitment to never-ending lies, falsehoods, and deceptions no matter

  how much evidence accumulates or how ridiculous it becomes.

          18.    MTN, ZTE, and Huawei may have learned this “never stop lying” tactic from

  their client, the IRGC, which is notorious amongst intelligence professionals for being one of the

  world’s most persistent long-term liars, capable of sustaining a lie for decades.

          19.    MTN Group continues to openly conspire with multiple FTOs in plain sight. This

  is not normal, nor is it acceptable, but it is damning proof that MTN Group conspired with them

  all along.

          20.    MTN Group is currently the joint venture partner of known fronts for an FTO so

  committed to terror that it midwifed, and controlled thereafter, a mine run of additional FTOs:

  Lebanese Hezbollah (FTO); Jaysh al-Mahdi Special Group Ka’taib Hezbollah (FTO); Jaysh al-

  Mahdi Special Group Asaib Ahl al-Haq (FTO); al-Qaeda-in-Iraq (FTO); Ansar-al-Islam (FTO).

  The list goes on.

          21.    MTN is unrepentant about its embrace of FTO terrorist fronts for cash, even

  though: (i) in 2012, a whistleblower heroically exposed MTN’s secret deal, resulting in MTN’s

  public humiliation in South Africa after the formerly iconic company became a subject of

  national mockery that year; (ii) also in 2012, a competitor, Turkcell, sued MTN for the latter

  having pilfered the former’s lucrative contract out from under them; (iii) in 2019, being sued by

  hundreds of American victims of terrorist attacks in Afghanistan under the ATA concerning

  MTN’s protection payments in Afghanistan; and (iv) being sued by Plaintiffs in the instant case.



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          22.    Why would a publicly traded South African company like MTN Group do this?

  Money. MTN Irancell, the joint venture at issue, is MTN Group’s cash cow and is, depending

  on metrics, either the second or third largest subscriber market in MTN Group’s entire global

  portfolio. MTN Group concluded that it and its shareholders could reap billions of dollars in

  profits and lock in the single best international telecoms market opportunity in decades if it could

  achieve a meeting of the minds with the Iranian Shareholders who controlled Irancell.

          23.    To make billions of dollars running Iran’s telecommunications with their IRGC

  partners, MTN, ZTE, and Huawei had to fully commit themselves worldwide to corporate

  criminality on a massive scale. These three companies combined to enable unprecedented aid to

  terrorists, which included, among other things:

  (i)     a secret, direct, written, terrorist joint venture agreement signed by an active, senior-ranks
          Iranian terrorist, on the one hand, and the CEO of MTN, on the other;

  (ii)    direct contractual obligations with Iranian entities known to be controlled by IRGC
          fronts, whereby banned technology useful to terrorists was transferred, and entire
          telecommunication systems used by the terrorists were assembled, used, and maintained;

  (iii)   a nearly two decade-long Conspiracy that operationalized the secret deal into a
          technological, financial, services, and communications supply chain for the world’s worst
          transnational terrorist organization;

  (iv)    a large publicly traded company that refuses, even now, to exit its conspiracy with the
          IRGC, even after it has been publicly outed and even after the IRGC was designated as
          an FTO; and

  (v)     shocking bribery, including tens of millions of “free goods” bribes designed to be
          diverted by terrorist to the black market, and large U.S. Dollar wire transfers after the
          bribe recipient performed his or her illicit deed.

          24.    To attack the citizens protected by the world’s most powerful military in Iraq and

  Afghanistan and Iraq after 2003, Hezbollah, the Qods Force, and Regular IRGC organized a

  transnational terrorist alliance – a NATO for Islamists – that included both Shiite and Sunni

  organizations, and stretched throughout the Middle East, from Syria to Afghanistan.

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         25.     In Iraq, not only did the IRGC helped stand up an alliance of Shiite terrorists that

  attacked Americans there, the IRGC also simultaneously sponsored al-Qaeda’s terrorist proxies

  in Iraq, who shared the same goal as its Shiite proxies: kill Americans to drive the U.S. out.

         26.     The IRGC’s ambitions did not stop at Iraq. As Hezbollah intensified its terror

  campaign in Iraq, the IRGC pursued a similar campaign against the Americans on Iran’s other

  flank: Afghanistan. Like its role in Iraq, the IRGC provided comprehensive and critical support

  to the leaders of the anti-American alliance in Afghanistan and Pakistan, which operated as a

  terrorist “Syndicate” that was led by al-Qaeda and the Taliban.

         27.     In Afghanistan, the IRGC furthered the Conspiracy by funding, arming, training,

  logistically sustaining, and providing safe havens to al-Qaeda and the Taliban, who followed a

  similar Joint Cells approach as the IRGC, and for similar reasons. In the twenty years between

  9/11 and the American withdrawal from Afghanistan, the IRGC, including its Hezbollah

  Division and Qods Force, prosecuted a grinding, global terrorist campaign, which it supported

  from a latticework of cells arrayed across six continents. The grim result: more than 4,000

  Americans were killed in terrorist attacks in Afghanistan and Iraq by designated terrorist groups

  that were funded, armed, and logistically sustained by the IRGC. Indeed, each of the designated

  terrorist groups were members of the same global terrorist Conspiracy led by the IRGC.

         28.     Every Plaintiff is an American who was injured, or whose loved one was killed,

  between 2012 and 2014 in attacks that occurred in Syria and Afghanistan in furtherance of the

  IRGC Conspiracy. While three Plaintiffs’ loved ones worked to stabilize Afghanistan, they were

  attacked by U.S. Government-designated terrorist organizations that participated in an IRGC-

  backed, Hezbollah-led terrorist Conspiracy campaign that MTN’s, ZTE’s, and Huawei’s

  transactions helped finance, arm, support, conceal, and upgrade.



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         29.     MTN, ZTE, and Huawei helped revolutionize the efficiency of the Big Data

  management practices and capabilities of Hezbollah and the Qods Force, in addition to the

  “regular” IRGC inside of Iran. It is impossible to overstate the scale of the carnage that followed

  Defendants’ decision to midwife the IRGC, including its Hezbollah Division and Qods Force,

  into the modern, networked, Big Data world.

         30.     Prior to Defendants, Hezbollah, the Qods Force, and Regular IRGC had the will

  but not the modern gear. While the IRGC had the scale of a multinational corporate behemoth –

  tens of thousands of personnel, consultants, agents, and partners, spanning dozens of countries

  on six continents – the IRGC lacked even rudimentary network computing technologies.

         31.     By 2004, the IRGC was surrounded on both flanks by “the Great Satan,” and the

  enormous technological gap between the IRGC and its mortal enemy – the “Big Data Gap” –

  forced the IRGC to do something drastic, which it had never done before: bring in foreign

  companies to revolutionize Iran’s computing and telecommunications infrastructure.

         32.     Two problems, however, still confronted Hezbollah, the Qods Force, and Regular

  IRGC. First, the IRGC knew that most large technology companies would have nothing at all to

  do with them. The IRGC also knew what any intelligence operative knows: that large telecom

  and networking computing companies come from a generally ethical industry that has never

  experienced a major terrorist finance scandal and are internationally notorious within the

  telecoms industry for being unabashed patriots. Second, and worse still, if the IRGC wanted to

  acquire the key technologies that it had determined were essential to prosecuting its terror

  campaign, it could not avoid an outcome in which the IRGC, indirectly, needed to reach into

  America’s markets, and acquire embargoed dual-use technologies on an industrial scale while




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  avoiding detection by the U.S. government and its responsible corporate allies, in a race where

  any stumble would likely expose (and hurt) the entire scheme.

         33.     The solution to both? Find some corporate criminals, bring them into the circle of

  trust, and count on their limitless greed. Enter Defendants. Since the 1979 revolution, the IRGC

  has always sought to kill Americans in large numbers. What it lacked was not the will, but the

  capabilities. After 9/11, the story remained the same – until MTN, ZTE, and Huawei answered

  the IRGC’s call for multinational corporate assistance to its “security” operations. What

  Hezbollah, the Qods Force, and Regular IRGC had never had – until Defendants – were true,

  established multinational corporate criminal partners. And Defendants furnished the IRGC

  three: MTN Group, ZTE Corporation, and Huawei Co. One has pleaded guilty (ZTE); one is

  currently defending itself in a criminal trial in this District (Huawei); and one is defending itself

  in South Africa (MTN).

         34.     After 9/11, the IRGC coordinated a grand alliance of Islamist terrorists to attack

  Americans in the Middle East. On the eve of the U.S. invasion of Iraq, the IRGC’s leadership

  and Hezbollah agreed to prepare, instigate, and sustain a nationwide campaign of terror against

  Americans in Iraq, which was planned and authorized by the IRGC’s lead foreign terror agent,

  Hezbollah. To sustain an ever-escalating terrorist campaign against the United States in Iraq,

  and later Afghanistan, Iran relied upon Hezbollah, which, in turn, depended upon IRGC funding

  and illicitly sourced gear from a constellation of IRGC, including Hezbollah and the Qods Force,

  terrorist fundraising and logistics cells scattered across dozens of countries on six continents.

         35.     To sustain their insurgency, the terrorists relied on two substantial funding

  streams: sources within Iran, and sources from the latticework of IRGC, Hezbollah and Qods

  Force logistics and fundraising cells across the globe. Cash flow from the telecom company



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  Irancell was either the largest or second largest source of cash flow from any IRGC front and

  caused hundreds of millions per year to flow to the IRGC, including $4.2 billion between 2005,

  when MTN Group bribed its way to the lucrative Irancell license that was controlled by the

  IRGC (resulting in MTN Irancell), and 2013 – approximately $500 million per year. Similarly,

  the global fundraising and logistics cells coordinated cash flows from narcotics smuggling, and

  the Qods Force’s and Hezbollah’s various transnational criminal rackets, e.g., collecting 10%-

  20% “taxes” as khums from allied businesspeople in Dubai, U.A.E., or Pretoria, South Africa. 2

         36.     Given the transnational nature of the Conspiracy they led, the Qods Force and

  Hezbollah depended upon illicitly sourced, embargoed American communications and

  information technologies, which they acquired through Defendants MTN Group, MTN Dubai,

  ZTE Corp., ZTE TX, ZTE USA, Huawei Co., Huawei USA, Huawei Device USA, Futurewei,

  and Skycom. Defendants’ conduct changed the trajectory of the terrorist campaign in Iraq and

  Afghanistan by revolutionizing the communications capabilities of both Hezbollah and the Qods

  Force and crippling the ability of U.S. forces in Iraq and Afghanistan to detain Qods Force and

  Hezbollah operatives in the region – because we could almost never find them. Because of

  Defendants’ choice to join the IRGC Conspiracy, Plaintiffs suffered the consequences.

         37.     MTN Group, ZTE Corp. and Huawei Co. entered the Conspiracy through secret

  deals to which their senior leaders agreed on their behalf, with IRGC operatives similarly

  agreeing on the IRGC’s behalf, necessarily including the IRGC’s external terrorist arms, the

  Qods Force and Hezbollah Divisions. This case is about that IRGC structure: from the terrorists’




  2
    Khums are a form of fundraising in the Muslim faith analogous to tithing in the Christian faith,
  under which pious Muslims contribute between 10% to 20% of their income to a designated
  recipient. Hezbollah, the Qods Force, and Regular IRGC al-Qaeda, and the Taliban, including
  its Haqqani Network, have long solicited financial contributions styled as khums.
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  fundraising and logistics fronts (like the terrorist front disguised as a charitable trust, the Bonyad

  Mostazafan) to their strategies for illicitly sourcing U.S. Dollars and weapons technologies (like

  using agents, cut-outs, and intentional overpayments in Dubai), and raising money (through

  bribes, taxes, and front company cash flows), to their strategy for concealing the scheme

  (through removing U.N. sanctions that interfered with front companies necessary to the scheme),

  to their ability to securely communicate with one another (through illicitly obtained American

  phones), to the their ability to better surveil kidnapping targets and anticipatory Quick Reaction

  Forces in response (from enhanced computing technologies) and finally, to their ability to build

  source the small arms, ammunition, and training necessary to successfully execute small arms

  attacks that punched through the cocoon of body armor that protected Americans (through a host

  of illicit technologies illegally sourced from the U.S.).

         38.     MTN Group, ZTE Corp., and Huawei Co. signed either literal terrorism joint

  venture agreements and/or entered into contracts with known IRGC fronts. MTN Group kept its

  agreement locked in a safe, concealed from the world. On information and belief, ZTE Corp.

  and Huawei Co., practicing better terrorist tradecraft than their sloppy co-conspirators at MTN

  Group, smartly destroyed their copies, but their parallel performance to MTN Group confirms

  their agreement all the same.

         39.     Ever since, publicly, MTN, ZTE and Huawei variously lied, dissembled,

  intimidated witnesses, destroyed evidence, all to avoid admitting the obvious: that they directly

  armed, funded, and enabled the communications of Hezbollah, the Qods Force, Regular IRGC,

  and the IRGC’s proxies in Iraq, Iran, Lebanon, and Syria, as well as Qods Force and Hezbollah

  support cells from around the world, stretching from Syria to Afghanistan.




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         40.     MTN Group, ZTE Corp., and Huawei Co. are each culpable. Each did,

  essentially, the same thing. The only difference is that MTN Group’s secret vault of smoking

  documents were leaked by a whistleblower in March 2012, revealing the scheme MTN Group

  had fraudulently concealed from the world, its own shareholders, the South African government,

  the U.S. government, and the U.A.E. government, to name but a few.

         41.     The MTN Group document revelation in 2012 did not just reveal MTN Group’s

  scheme. Critically, it outed the IRGC’s terrorist tradecraft when it comes to virtually every facet

  of the terrorist logistics, funding, and communications chains. MTN Group’s conduct is not just

  probative of what MTN Group itself did; as informed by information that emerged years later, it

  shows what the IRGC demanded of every corporate business partner in this space.

  Consequently, MTN Group’s conduct offers a reasonable inference regarding the conduct of

  ZTE Corp. and Huawei Co., as well as that of their mutual business partner – the IRGC.

         42.     Like MTN Group, ZTE Corp. and Huawei Co. also joined the Conspiracy and

  also fraudulently concealed their participation by following the same Hezbollah/Qods Force

  playbook that MTN Group followed. Unlike MTN, however, ZTE and Huawei did not

  experience their own whistleblower revolts until later, but eventually, everyone got caught.

  MTN Group has been enmeshed in litigation for nearly a decade. And ZTE and Huawei were

  both investigated by U.S. law enforcement and charged with serious crimes. From these cases,

  there is overwhelming evidence that Hezbollah, the Qods Force, and Regular IRGC relied upon

  ZTE and Huawei, just as these IRGC constituents did with respect to MTN, to surreptitiously

  acquire U.S. Dollars and vital U.S. technologies critical to every aspect of the terrorist enterprise.

         43.     MTN Group, ZTE Corp., and Huawei Co. were one in spirit with the terrorists.

  Each pledged, in writing, their commitment to aiding the IRGC’s “security” – which all involved



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  understood to be a euphemism for anti-American terror. They did this because IRGC

  domination of the Middle East was great for their profits and, with respect to ZTE Corp. and

  Huawei Co., the victory of the IRGC over the U.S. served the hostile national security objectives

  of the Chinese Communist Party, which sought to aid Shiite terrorists in the region to inflict pain

  on Americans in the Middle East and cause the United States to withdraw.

          44.    After entering the Conspiracy with known IRGC fronts called Irancell and TCI,

  MTN Group, ZTE Corp., Huawei Co., and their respective subsidiaries, knowingly partnered

  with notorious fronts for Hezbollah, such as the Bonyad Mostazafan. Through such business,

  MTN, ZTE, and Huawei provided direct financial support, revenue, U.S.-origin, embargoed

  technology and equipment, and training and expertise—all of which the Hezbollah and the Qods

  Force provided to the IRGC’s terrorist allies operating in Afghanistan and Iraq (and

  consequently, Syria)—and all of which was used to target to kill and injure Americans, including

  Plaintiffs.

          45.    As long-term strategic partners who worked closely together in Iran, MTN, ZTE

  and Huawei all understood their counterparties were notorious terrorist fronts used to raise

  money and source weapons for the Qods Force, Hezbollah, and their proxies and/or allies in

  places like Afghanistan, Syria, and Iraq. Defendants knew or were willfully blind to the fact that

  their “business” with terrorist fronts was serving the terrorists’ ends but did it anyway.

          46.    Hezbollah, the Qods Force, and Regular IRGC used the IRGC’s relationships

  with MTN Group, ZTE Corp., and Huawei Co. to optimize Iran’s terrorist enterprise by

  bolstering the financial and technical capacities of Iran’s terrorist proxies.

          47.    Through the IRGC’s, including Hezbollah’s and the Qods Force’s, transactions

  with MTN Group, ZTE Corp., and Huawei Co., Hezbollah, the Qods Force, and the IRGC’s



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  terrorist proxies were able to evade the international sanctions regime to source weapons and

  weapons components for terror, modernize their communications systems to better encrypt

  signals traffic, improve their surveillance and intelligence capabilities, and generate tens of

  millions in annual revenue to fund attacks – all of which Hezbollah, the Qods Force, and the

  IRGC’s proxies in Afghanistan, including al-Qaeda and the Taliban, used to attack Americans in

  Afghanistan from 2012 through 2017.

         48.     The total value of the money, technology, and services that Hezbollah, the Qods

  Force, and Regular IRGC obtained via MTN Group’s, ZTE Corp.’s, and Huawei Co.’s business

  with the IRGC collectively extracted likely ranges into the hundreds of millions of U.S. Dollars

  in cash and cash equivalents—and the terrorists used those resources to pay for terrorist proxy

  attacks in Afghanistan and Syria.

         49.     But this case is not just about money; the technology that MTN Group, ZTE

  Corp., and Huawei Co. provided to the IRGC, which inevitably flowed through to IRGC proxies

  al-Qaeda (including AQI and ANF) and the Taliban, was uniquely important to the terrorists,

  enabling them to inflict maximum damage because, among other things, it allowed them to spy

  on Americans, avoid detection, clandestinely communicate, build and detonate more effective

  bombs, and develop more accurate and lethal rockets. And on top of the money and the

  technology, Defendants also provided substantial ongoing logistical and operational aid for the

  IRGC’s, including its Hezbollah Division’s and Qods Force’s, terrorist enterprise.

         50.     This is not a case about one or two alleged rogue employees who engaged in a

  frolic and detour that resulted in a company’s money reaching terrorists. Here, each Defendant’s

  executives were thoroughly implicated in the terrorist finance and logistics scheme, and actively

  supported doing business with known terrorist fronts.



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         51.     MTN’s leadership, for example, mocked those who raised concerns about the

  risks of becoming joint venture partners with two notorious Iranian terror fronts: When queried

  by investors about the “risk of doing business with Iran,” MTN’s then-CEO “laughed off” such

  questions, joking that “[MTN] hadn’t budgeted for bomb shelters or anything like that.”

         52.     ZTE’s executives were similarly culpable. According to the then-Acting

  Assistant Attorney General, Mary B. McCord, “ZTE engaged in an elaborate scheme to acquire

  U.S.-origin items, send the items to Iran and mask its involvement in those exports,” and the plea

  agreement ZTE signed on behalf of itself and its subsidiaries “alleges that the highest levels of

  management within the company approved the scheme.”

         53.     Huawei was much the same. Acting U.S. Attorney for the Eastern District of

  New York Nicole Boeckmann announced a deferred prosecution agreement by Huawei Co’s

  CFO wherein she “[took] responsibility for her principal role in perpetrating a scheme to defraud

  a global financial institution,” and admitted in the related statements of facts that she had “while

  acting as the Chief Financial Officer for Huawei, . . . made multiple material misrepresentations

  to a senior executive of a financial institution regarding Huawei’s business operations in Iran”

  and that she and “her fellow Huawei employees engaged in a concerted effort to deceive global

  financial institutions, the U.S. government and the public about Huawei’s activities in Iran.”

         54.     In August 2021, America withdrew from Afghanistan. A well-organized,

  cohesive, and integrated Taliban seized the country. Tens of thousands of Afghan heroes fled

  everyone and everything they knew, for a new life in the U.S.

         55.     Defendants’ business partners and their “Iranian Shareholders” celebrated the

  terrorists’ victory (undoubtedly joined, as discovery is likely to reveal, by many of MTN’s,

  ZTE’s, and Huawei’s non-U.S. employees and management).



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           56.   MTN’s, ZTE’s, and Huawei’s transactions, and the terrorist attacks they funded,

  were acts of “international terrorism.” 18 U.S.C. § 2333(a).

           57.   The al-Qaeda/Taliban attacks against Plaintiffs in Afghanistan were “planned,”

  “authorized,” and jointly “committed” by al-Qaeda, 18 U.S.C. § 2333(d)(2). The kidnapping

  attack against Plaintiff Matthew Schrier was “committed” by al-Nusra Front and was “planned”

  and “authorized” by al-Qaeda and al-Qaeda-in-Iraq.

           58.   Plaintiffs are U.S. citizens, and their family members, who were killed or

  wounded in terrorist attacks committed by the IRGC’s terrorist proxies in Afghanistan and Syria,

  with material support from the IRGC. As alleged below, Plaintiffs are entitled to recover for

  their injuries under the federal Anti-Terrorism Act. MTN, ZTE, and Huawei are liable under the

  ATA, 18 U.S.C. § 2333(d)(2), because they aided and abetted the campaign by Hezbollah, the

  Qods Force, al-Qaeda (including its branches in Iraq and Syria), and the Taliban, to commit

  terrorist attacks in Afghanistan and Syria that were committed, planned, or authorized by al-

  Qaeda.

           59.   Each Plaintiff was killed or injured by a terrorist attack committed by terrorists

  who received direct funding, weapons, weapons components, communications technology,

  and/or operational support made possible by MTN’s, ZTE’s, and Huawei’s conduct.

                                           DEFENDANTS

           A.    The MTN Defendants

           60.   Defendant MTN Group Limited (“MTN Group,” together with its subsidiaries,

  “MTN”) is a South African telecommunications company whose stock trades publicly on the

  Johannesburg Stock Exchange under the ticker symbol MTN:SJ. Its principal place of business

  is in Roodepoort, South Africa.



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         61.     Defendant MTN Irancell is a joint venture between MTN Group, which has a

  49% stake and is not in charge, and the Bonyad Mostazafan and Iran Electronics Industries

  (“IEI”), which collectively own a 51% stake and are fronts for the IRGC, including its Hezbollah

  Division and Qods Force (sometimes abbreviated “IRGC-QF”). MTN Irancell is an Iranian

  company, and its principal place of business is in Tehran, Iran. MTN Irancell operates as, and

  MTN Irancell’s employees and agents work as operatives for, a front for the IRGC, including its

  Hezbollah Division and Qods Force.

         62.     Defendant MTN (Dubai) Limited (“MTN Dubai”) is a wholly owned subsidiary

  of MTN Group. It is a Dubai company, and its principal place of business is in Dubai.

         B.      The ZTE Defendants

         63.     On information and belief, Defendant ZTE Corporation (“ZTE Corp.,” together

  with its subsidiaries, “ZTE”), is a Chinese corporation with a principal place of business in

  Guangdong Province, People’s Republic of China.

         64.     Defendant ZTE (USA), Inc. (“ZTE USA”) is a New Jersey corporation that is a

  wholly-owned subsidiary of ZTE Corp., headquartered in Richardson, Texas. On March 7,

  2017, ZTE and its subsidiaries (including, on information and belief, ZTE USA) entered into a

  settlement agreement with the U.S. Department of the Treasury’s Office of Foreign Assets

  Control (the “ZTE 2017 OFAC Settlement”). Therein, ZTE USA admitted, inter alia, (a) it

  knowingly participated in a scheme with ZTE Corp. to illegally transfer over $39 million in U.S.

  goods to Iran, and otherwise (b) conducts business for ZTE Corp. on its behalf. For these

  reasons, allegations regarding “ZTE” in this Complaint apply equally to ZTE USA, because ZTE

  USA was instrumental in the scheme alleged herein by ZTE generally.

         65.     Defendant ZTE (TX) Inc. (“ZTE TX”) is a wholly-owned subsidiary of ZTE

  Corp. ZTE TX is a corporation organized and existing under the laws of the State of Texas with
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  its principal place of business in Milpitas, California. As a subsidiary of ZTE, ZTE TX also was

  party to the ZTE 2017 OFAC Settlement. In the ZTE 2017 OFAC Settlement, ZTE TX

  admitted, inter alia, that it (a) knowingly participated in a scheme with ZTE Corp. to illegally

  transfer over $39 million in U.S. goods to Iran and otherwise (b) conducts business for ZTE

  Corp. on its behalf. For these reasons, allegations of acts after ZTE TX’s formation regarding

  “ZTE” in this Complaint apply equally to ZTE TX, because ZTE TX was instrumental in the

  scheme alleged herein by ZTE generally.

         C.      The Huawei Defendants

         66.     On information and belief, Defendant Huawei Technologies Co., Ltd. (“Huawei

  Co.,” together with its subsidiaries and affiliates, “Huawei”) is a Chinese company with a

  principal place of business in Shenzhen, Guangdong Province, People’s Republic of China.

  Huawei Co. is owned by its parent company Huawei Investment & Holding Co., Ltd. (“Huawei

  Holdings”), a Chinese company registered in Shenzhen, Guangdon, People’s Republic of China.

         67.     Defendant Huawei Technologies USA Inc. (“Huawei USA”) is a corporation

  organized under the laws of the State of Texas with its principal place of business in Addison,

  Texas. Huawei USA is a wholly-owned indirect subsidiary of Huawei Co. On February 28,

  2023, Huawei USA notified known claimants that in accordance with Section 11.052(a)(2) of the

  Texas Business Organizations Code, it had passed a dissolution resolution effective as of January

  16, 2023, and has commenced a winding-up process upon the conclusion of which Huawei USA

  intends to terminate its legal existence under Texas law.

         68.     Defendant Huawei Device USA Inc. (“Huawei Device USA”) is a Texas

  corporation that is organized under the laws of the State of Texas with its principal place of

  business in Addison, Texas. Huawei Device USA is a subsidiary of Huawei Co. and Huawei

  Co.’s parent, Huawei Holdings. On February 28, 2023, Huawei Device USA notified known
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  claimants that in accordance with Section 11.052(a)(2) of the Texas Business Organizations

  Code, it had passed a dissolution resolution effective as of January 16, 2023, and has commenced

  a winding-up process upon the conclusion of which Huawei Device USA intends to terminate its

  legal existence under Texas law.

         69.     Defendant Futurewei Technologies, Inc. (“Futurewei”) is a corporation organized

  under the laws of the State of Texas with its principal place of business in Santa Clara,

  California. Futurewei is a subsidiary of Huawei Co. and Huawei Co.’s parent, Huawei Holdings.

         70.     Defendant Skycom Tech Co., Ltd. (“Skycom”) is a corporation registered in Hong

  Kong with its principal place of business located in Tehran, Iran. As of 2007, Skycom was

  wholly-owned by Huawei Co.’s subsidiary Hua Ying (“Hua Ying”). In November 2007, Huawei

  Co. directed Hua Ying to transfer its shares in Skycom to Calicula Holdings Ltd. (“Calicula”),

  another a subsidiary controlled by Huawei Co.

                                  JURISDICTION AND VENUE

         71.     This Court has subject-matter jurisdiction under 18 U.S.C. § 2338 and 28 U.S.C.

  § 2331, and has personal jurisdiction over each of the Defendants under Federal Rule of Civil

  Procedure 4(k)(1) and/or 4(k)(2), and 18 U.S.C. § 2334(a).

         72.     MTN’s acts in the United States, including but not limited to obtaining U.S.-

  origin technology and equipment for export to Iran, and targeting the United States, including by

  entering into transactions with fronts, operatives, and agents for the IRGC, including its

  Hezbollah Division and Qods Force, that were intent on harming United States nationals in Iraq,

  make appropriate this Court’s jurisdiction over MTN.

         73.     MTN does business in New York, including by procuring U.S.-origin goods and

  services from companies located in the U.S., including New York, for the IRGC’s, including its

  Hezbollah Division’s and Qods Force’s, fronts, agents, and operatives, maintaining accounts
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  with financial institutions located in New York, including, on information and belief, a loan

  facility with Citibank and a depository account with the Bank of New York, using the New

  York-based financial system and institutions to manage cash flow for MTN Group, MTN

  Irancell, and MTN Dubai, utilizing a bank account in New York to wire funds to an agent of the

  IRGC, including its Hezbollah Division and Qods Force, to consummate a bribe relating to

  MTN’s acquisition of the Irancell license, and working with a New York-based financial

  institution to issue a sponsored American depository receipt (ADR).

         74.     ZTE’s acts in the United States, including but not limited to (i) obtaining U.S.-

  origin technology and equipment for export to Iran, including but not limited to working with

  and through, ZTE USA and ZTE TX to do so, and (ii) targeting the United States, including by

  entering into transactions with fronts, operatives, and agents for the Hezbollah, the Qods Force,

  and Regular IRGC that were intent on harming United States nationals in Afghanistan, make

  appropriate this Court’s jurisdiction over ZTE Corp., ZTE USA, and ZTE TX.

         75.     ZTE does business in New York, including by selling cell phones and

  telecommunications equipment. ZTE USA is registered to do business in the state of New York,

  and its Registered Agent is Incorp Services Inc. of Albany, NY. ZTE also maintains accounts

  with financial institutions, located in New York, which, on information and belief, ZTE utilized

  in furtherance of their scheme alleged herein. Additionally, the U.S. Attorney’s Office for the

  Southern District of New York is investigating ZTE for bribery, and on information and belief

  the conduct being investigated occurred in New York. ZTE has consistently, during the relevant

  period, entered into major partnership and business deals in New York, and typically announces

  new product offerings at events physically in New York. Senior ZTE USA officials have

  declared that New York is a community “in which we live and work.” Further, ZTE entered into



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  key partnership with counterparties in New York necessary for ZTE to obtain the devices and

  technology that its IRGC-front counterparties sought (and which ZTE delivered), including (i) an

  agreement with a counterparty in New York to source rugged glass fronts for their cell phones,

  which was necessary for the rough physical environments in which the terrorists operate, and (ii)

  an agreement with a counterparty in New York that assisted ZTE with enhancing the security

  features on its smartphones, which was necessary for the terrorists to be able to avoid detection

  and operate without surveillance.

         76.     Huawei’s acts in the United States, including but not limited to, obtaining U.S.-

  origin services, technology, and equipment for export to Iran, working with and through

  Skycom, Futurewei, Huawei Device USA, and Huawei USA to do so, and targeting the United

  States, including by entering into transactions with fronts, operatives, and agents for Hezbollah,

  the Qods Force, and Regular IRGC that were intent on harming United States nationals in

  Afghanistan, make appropriate this Court’s jurisdiction over Huawei Co., Huawei USA,

  Futurewei, Huawei Device USA, and Skycom.

         77.     Huawei does business in New York, including by selling cell phones and

  telecommunications equipment. Huawei also maintains accounts with financial institutions,

  located in New York, which, on information and belief, Huawei utilized in furtherance of their

  scheme alleged herein. Additionally, the U.S. Attorney’s Office for the Eastern District of New

  York is currently pursuing criminal charges against Huawei, including its American subsidiaries

  Futurewei and Huawei Device USA, for, inter alia, their unlawful conduct, relating to their

  Iranian business interests, including conduct in the Eastern District of New York.

         78.     Venue is proper under 28 U.S.C. § 1391(b)(2) because a substantial part of the

  events giving rise to the claims occurred in this District.



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                                     FACTUAL ALLEGATIONS

  I.     SINCE THE ISLAMIC REVOLUTION IN 1979, THE ISLAMIC
         REVOLUTIONARY GUARD CORPS, OR IRGC, HAS FOMENTED AND
         SUSTAINED ANTI-AMERICAN TERRORISM

         79.     The 1979 Iranian Revolution was fueled in large part by militant anti-

  Americanism. Eliminating the United States’ role in the region surrounding Iran – including

  through violence – was and remains a central tenet of Iranian foreign policy. Since the Iranian

  Revolution, Iran has engaged in and supported acts of terrorism directed at the United States and

  its allies as an instrument of Iran’s foreign policy. See, e.g., Cabrera, et al. v. Islamic Republic of

  Iran, 2022 WL 2817730, at *9 (D.D.C. July 19, 2022) (“Cabrera”).

         80.     Iran’s support of terrorist proxies like Hezbollah, Hamas, al-Qaeda, and the

  Taliban is well-documented. As a result of Iran’s longstanding support of anti-American

  terrorism, the U.S. State Department formally designated Iran as a State Sponsor of Terrorism in

  1984, and has maintained that designation at all times since. In 2007, it described Iran as “the

  most active state sponsor of terrorism” in the world and “a threat to regional stability and U.S.

  interests in the Middle East because of its continued support for violent groups.”

         81.     Iran is hostile to the United States and its allies. Enmity toward America is

  foundational for the Iranian regime in general, and most of all, for Grand Ayatollah Khamenei,

  who is the effective leader of the Islamic Revolutionary Guard Corps, including its Hezbollah

  Division and Qods Force, both of which report to him personally as head of the IRGC. 3




  3
    The IRGC is comprised of the Hezbollah Division, more popularly known as Lebanese
  Hezbollah or Hezbollah, the Qods Force, and the Regular IRGC. In this complaint, every
  reference to “IRGC” also includes Hezbollah, the Qods Force, and the Regular IRGC
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            A.     Islamic Revolutionary Guard Corps

            82.    Iran carries out its support of terrorism largely through the IRGC. 4 See, e.g.,

  Cabrera at *9. As the U.S. Treasury Department noted in 2010 when it designated certain IRGC

  officials pursuant to Executive Order 13224, “Iran also uses the . . . IRGC . . . to implement its

  foreign policy goals, including, but not limited to, seemingly legitimate activities that provide

  cover for intelligence operations and support to terrorist and insurgent groups.”

            83.    The IRGC was established to safeguard the revolution, meaning, to pursue

  violence inside of Iran, i.e., terrorism against its own people, and external to Iran, i.e., terrorism

  against America and Israel, whom the IRGC considered to be the “Great Satan” and “Little

  Satan,” respectively. See, e.g., Cabrera at *9. Articles 150 and 154 of Iran’s Constitution order

  the IRGC to export Iran’s Revolution by aiding insurgents: the IRGC is responsible for

  “guarding the revolution and its achievements,” meaning, exporting the Islamic Revolution (Art.

  150), 5 and Iran “supports the just struggles of the mustad’afun [downtrodden] against the

  mustakbirun [oppressors] in every corner of the globe” (Art. 154). Thus, Iran’s constitution

  directly embraces proxy terror (“the just struggles of the downtrodden”) targeting the U.S. (i.e.,

  “against the oppressors”). 6



  4
      In 1990, the IRGC transferred activities outside Iran to its subordinate branch, the Qods Force.
  5
    Under Iran’s revolutionary doctrine, the Iranian government posits that it must always remain
  on the attack with respect to its promotion of insurgents against the Great Satan because, if Iran
  were to fall back (according to this paranoid theory), the U.S. would overrun Iran.
  Consequently, inside Iran and around the world, people familiar with Iran and the IRGC
  understand that references to “guarding the revolution” are not defensive, but rather, are
  offensive because, under the paranoid Iranian view, the only way to “guard the revolution” is to
  go on the attack outside of Iran, through proxy terror campaigns. Any suggestion to the contrary
  is, quite literally, IRGC terrorist propaganda.
  6
   When the Iranian government references “the oppressors” without any specification as to
  whom, that exclusively means only two countries: the United States and Israel. This is so


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            84.    In an analysis of MTN Irancell published by NATO, Monika Gill explained that

  under the IRGC’s official, publicly communicated security doctrine, the IRGC’s “security”

  interests are defined as “leading an ongoing resistance” in a zero-sum fight against the United

  States. 7 Indeed, on November 22, 2014, MTN Irancell’s CEO publicly aligned MTN Irancell

  with the IRGC’s “resistance” narrative and admitted that MTN Irancell serves the IRGC’s

  terrorist “resistance” efforts as part of MTN Irancell’s corporate “social responsibility” and

  stated, among other things, that MTN Irancell’s “development” of communications technology

  “will make some of the objectives pursued by the resistive economy come true,” including

  “[r]esistance against the threatening elements.” 8

            85.    Between 1984 and 2007, the U.S. government repeatedly designated the Iranian

  government for the IRGC’s support of anti-American terror, and implemented terrorism

  sanctions-related regulations which broadly prohibited economic transactions with any entities

  controlled by the Iranian government. 9 (Such prohibitions generally endured at all relevant

  times.)


  because the Iranian regime was founded in direct opposition to us and our ally, and Iran’s
  founding documents mention no other hostile actor beyond the U.S. and Israel. Any suggestion
  to the contrary is, literally, Iranian propaganda designed for a Western audience.
  7
    Monika Gill, Capitalism, Communications, and the Corps: Iran’s Revolutionary Guard and the
  Communications Economy, Defence Strategic Communications: The Official Journal of the
  NATO Strategic Communications Centre of Excellence, at 97 (Autumn 2020) (“Gill”).
  8
      ICTNA (Iran), Irancell Brings 4G to Iran (Nov. 22, 2014), https://www.ictna.ir/id/065513/.
  9
    On January 19, 1984, Iran was designated as a State Sponsor of Terrorism pursuant to section 6
  of the Export Administration Act of 1979 (50 U.S.C. § 4605), section 620A of the Foreign
  Assistance Act of 1961 (22 U.S.C. § 2371), and section 40 of the Arms Export Control Act (22
  U.S.C. § 2780). The United States has maintained that designation at all times since. See also,
  e.g., Exec. Order 12957, 60 Fed. Reg. 14615 (Mar. 17, 1995). On August 21, 1997, President
  Clinton issued Executive Order 13059 to comprehensively prohibit trade intended to benefit,
  among other things, the IRGC, including its Hezbollah Division and Qods Force. Exec. Order
  13059, 62 Fed. Reg. 44531 (Aug. 21, 1997). U.S. government regulations broadly prohibiting
  trade with Iran included, but were not limited to, 31 C.F.R. § 560.304 (defining “Government of


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           86.     In April 2008, the U.S. State Department described Iran as “the most active state

  sponsor of terrorism” in the world and “a threat to regional stability and U.S. interests in the

  Middle East because of its continued support for violent groups.”

           87.     On May 27, 2009, the U.S. Treasury Department announced additional IRGC-

  related sanctions further reflecting the long-standing U.S. conclusion that the IRGC used its

  revenue to pay for Hezbollah’s operations and training activities and “provides hundreds of

  millions of dollars per year to Hizballah.” 10

           88.     The IRGC has a long and well-documented history of assassinations, kidnappings,

  bombings, and arms dealing. It also regularly trains foreign terrorist proxies whose attacks

  promote Iran’s political goals, often working side-by-side with Hezbollah.

           89.     The IRGC has used Hezbollah and its proxies to commit terrorist attacks. While

  it is a Lebanese-based terrorist group, Hezbollah has pledged fealty to Iran’s Supreme Leader.

  As Ali Akbar Mohtashemi (a Hezbollah founder, former Iranian ambassador to Syria and

  Lebanon, and former Iranian Minister of Interior) explained, “[Hezbollah] is part of the Iranian

  rulership; [Hezbollah] is a central component of the Iranian military and security establishment;

  the ties between Iran and [Hezbollah] are far greater than those between a revolutionary regime

  with a revolutionary party or organization outside its borders.”

           90.     On April 15, 2019, the U.S. State Department designated the entirety of the

  IRGC, including the Regular IRGC and the Qods Force, as a Foreign Terrorist Organization,

  which completed the designation of every IRGC-related entity as an FTO. 11 Announcing the


  Iran”), 31 C.F.R. § 560.313 (defining “entity owned or controlled by the Government of Iran”);
  and 31 C.F.R. § 560.314 (defining “United States person”).
  10
       U.S. Treasury Dep’t, Treasury Targets Hizballah Network in Africa (May 27, 2009).
  11
   In 1997, the State Department designated Hezbollah – known to the IRGC as its own
  Hezbollah Division – as an FTO.
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  designation, President Trump explained that “the IRGC actively participates in, finances, and

  promotes terrorism as a tool of statecraft.” 12 According to the U.S. State Department’s public

  statement explaining the designation, Hezbollah, the Qods Force, and Regular IRGC have “been

  directly involved in terrorist plotting; its support for terrorism is foundational and institutional,

  and it has killed U.S. citizens.” 13

          91.     When the State Department designated the IRGC as a Foreign Terrorist

  Organization, Secretary of State Michael R. Pompeo stated, among other things:

  (i)     “This is the first time that the United States has designated a part of another government
          as an FTO. … [T]he Iranian regime’s use of terrorism as a tool of statecraft makes it
          fundamentally different from any other government. … “

  (ii)    “For 40 years, the [IRGC] has actively engaged in terrorism and created, supported, and
          directed other terrorist groups.”

  (iii)   “The IRGC institutionalized terrorism shortly after its inception, directing horrific attacks
          against the Marine barracks in Beirut in 1983 and the U.S. embassy annex in 1984
          alongside the terror group it midwifed, Lebanese Hizballah.”

  (iv)    “[The] Iranian regime not only supports terrorist groups, but engages in terrorism itself.
          This designation also brings unprecedented pressure on figures who lead the regime’s
          terror campaign, individuals like Qasem Soleimani. … He doles out the regime’s profits
          to terrorist groups across the region and around the world. “ 14

          92.     As the world’s worst sponsor of terrorism, Iran was unique. It was not a “normal”

  government, but a regime that facilitated a climate where Hezbollah, the Qods Force, and the

  Regular IRGC relied upon the IRGC’s corporate allies to directly enable violence. As

  Ambassador Mark D. Wallace, of United Against Nuclear Iran (“UANI”), explained,



  12
    Statement from the President on the Designation of the Islamic Revolutionary Guard Corps as
  a Foreign Terrorist Organization (Apr. 8, 2019) (emphasis added).
  13
     U.S. Dep’t of State, Fact Sheet: Designation of the Islamic Revolutionary Guard Corps (Apr.
  8, 2019) (emphasis added).
  14
    Secretary of State Michael R. Pompeo, U.S. Dep’t of State, Remarks to the Press (Apr. 8,
  2019) (emphasis added).
                                                   28
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  “[i]nternational organizations must also realize that their relationship with Iran is not just …

  ‘business as usual,’ … Put bluntly, Iran … should not be treated like a member in good

  standing of international bodies.” 15

         B.      Hezbollah

         93.     Hezbollah was and is the IRGC’s, including the Qods Force’s, lead terrorist proxy

  in the broader Middle East, serving, in effect, as the IRGC’s external terrorist operations arm in

  conjunction with Hezbollah’s close ally and patron, the Qods Force.

         94.     Hezbollah, translated as “Party of God,” “first emerged as a militia in opposition

  to the 1982 Israeli invasion of Lebanon” 16 when the IRGC created Hezbollah as a subordinate

  part of the IRGC known as the “Hezbollah Division.” 17

         95.     Hezbollah likewise views itself a part of the IRGC. In 1985, “Hezbollah publicly

  acknowledged its reliance on Iran, stating that “We abide by the orders of one single wise and

  just leadership, represented by ‘WaIi Faqih’ [rule of the jurisprudent] and personified by

  Khomeini.” Hezbollah operatives swear a personal oath of loyalty to Iran’s Supreme Leader,

  Ayatollah Khamenei, and personally pledge to carry out their terrorist missions in his name.




  15
    Statement of the Honorable Mark D. Wallace, CEO United Against Nuclear Iran before the
  U.S. U.S. House of Representatives Committee on Foreign Affairs, Iran Sanctions,
  Congressional Testimony via FDCH (May 17, 2012) (emphasis added), 2012 WLNR 10405070
  (“Wallace May 17, 2012 Testimony”).
  16
     Marc Lindemann (Captain, New York National Guard), Laboratory of Asymmetry: The 2006
  Lebanon War and the Evolution of Iranian Ground Tactics, Military Review (May 1, 2010),
  2010 WLNR 28507137 (“Lindemann, Laboratory of Asymmetry”). ““Although Iran was engaged
  in the Iran-Iraq War at the time of the Israeli occupation, Iran’s Islamic Revolutionary Guard
  Corps (IRGC) took the lead in organizing, training, and equipping Hezbollah … Training at the
  IRGC camps became a prerequisite for membership in Hezbollah.” Id.
  17
    Michael Knights, The Evolution of Iran’s Special Groups in Iraq, Combating Terrorism
  Center at West Point, CTC Sentinel, Vol. 3, No. 11 (Nov. 2010) (“Knights, The Evolution of
  Iran’s Special Groups in Iraq”).
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         96.     The IRGC directly funds its Hezbollah Division in the same manner as its Qods

  Force, as they are two sides of the same IRGC external terror coin. As the Defense Intelligence

  Agency (“DIA”) concluded with “high confidence” in 2010, “[e]lements of Iran’s Islamic

  Revolutionary Guard Corps … provided direct support to terrorist groups, assisting in the

  planning of terrorist acts or enhancing terrorist group capabilities.”

         97.     On January 25, 1995, the United States designated Hezbollah as a Specially

  Designated Terrorist. On October 8, 1997, the United States designated Hezbollah as an FTO,

  and it has retained that designation ever since.

         98.     Hezbollah’s activities have stretched far beyond Lebanon’s borders. Hezbollah’s

  primary stated goal is the destruction of the United States and Israel, which it calls the “Great

  Satan” and the “Little Satan,” respectively. 18 Hezbollah also frequently functions as a terrorist

  proxy for the IRGC, committing and orchestrating terrorist attacks abroad with the IRGC’s,

  including the Qods Force’s, support.

         99.     Hezbollah has coordinated terrorist attacks around the world primarily by acting

  through terrorist proxies. As Dr. Matthew Levitt has explained, “Hezbollah is extremely adept at

  recruiting members from local populations in areas where they have networks on the ground.” 19

  Hezbollah has trained and equipped these local proxies to carry out terrorist attacks on its behalf.

         100.    Hezbollah is and has always been widely understood to be Iran’s purpose-built

  anti-American and anti-Israeli Arab Shiite terrorist division, which the IRGC designed to

  integrate within the IRGC’s terror architecture, including, but not limited to, its financial,


  18
    See Times of Israel, Nasrallah Proud that PM, Obama Discussed Hezbollah (Nov. 11, 2015);
  Ariel Ben Solomon, Nasrallah ‘Proud’ that Netanyahu and Obama Discussed Hezbollah in
  White House Meeting, Jerusalem Post (Nov. 11, 2015).
  19
    Matthew Levitt, Hezbollah: A Case Study of Global Reach, Remarks to a Conference on
  “Post-Modern Terrorism: Trends, Scenarios, and Future Threats” at 4 (Sept. 8, 2003).
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  operational, and logistics networks, to ensure that Hezbollah was inseparable from the Regular

  IRGC and Qods Force and always remained a formal part of the IRGC. The IRGC built

  Hezbollah this way because the IRGC wanted to be able to control Hezbollah while maintaining

  the fiction that Hezbollah were merely “resistance” fighters. The IRGC’s ploy was key to

  facilitating its worst terrorist plots because the IRGC’s primary purpose when it created its

  Hezbollah Division was to secure the IRGC’s plausible deniability by interposing a buffer –

  Hezbollah – between the IRGC and the Americans whom the IRGC wanted to murder.

         101.    The IRGC has long relied on Hezbollah to aid the Qods Force’s efforts to supply

  al-Qaeda and its Taliban allies 20 as they targeted Americans in Afghanistan and Iraq:

  (i)    The IRGC has relied upon Hezbollah and the Qods Force to aid attacks against
         Americans by al-Qaeda and its allies since the early 1990s (in the case of al-Qaeda and
         Ansar al-Islam) and/or shortly after 9/11 (in the case of the Taliban).

  (ii)   Before 9/11, the IRGC, al-Qaeda, the Taliban, and their respective affiliates worked
         together to broker combined Islamist terrorist training activities at Taliban sites in
         Afghanistan, at which terrorists from Hezbollah, the Qods Force, al-Qaeda, the Taliban,
         Hamas, and Palestinian Islamic Jihad trained together to develop the long-term skills and
         relationships that bin Laden demanded under his corporate “always be closing” model of
         terror, which emphasized cross-pollination with every possible Islamist terrorist group as
         long as such group wanted to help al-Qaeda and its allies kill Americans. 21

  20
     The IRGC was essential to enabling transnational Sunni Islamist cooperation between
  Afghanistan/Pakistan and Iraq and maximizing the ability of al-Qaeda and Taliban terrorists in
  Afghanistan to leverage the personnel, funding streams, resources, and trainers available in Iraq
  in order to enhance the lethality of al-Qaeda and Taliban attacks in Afghanistan (and vice versa).
  For example, al-Qaeda relied upon the funding and logistical support provided by the IRGC to
  source CAN fertilizer from Pakistan (to use for bombs in Afghanistan and Iraq), secure cell
  phones from America (to be used for communications or as a cash equivalent “free good” valued
  at $2,000 per phone), and narcotics trafficking and laundering assistance, which funded al-
  Qaeda’s and the Taliban’s attacks against Americans in Afghanistan, including those that injured
  Plaintiffs and their loved ones.
  21
     See, e.g., Hal Bernton, Mike Carter, David Heath and James Neff, Going To Camp, Seattle
  Times (Aug. 4, 2002) (“By [1998], al-Qaida training was formalized. There was even a textbook,
  available in Arabic, French and other languages. … Trainees practiced with small arms, assault
  rifles and grenade launchers provided by the Taliban …. They learned about explosives and land
  mines. Representatives of terrorist groups, including Hamas, Hezbollah and Islamic Jihad, gave
  lectures on their organizations.”), 2002 WLNR 2584645.
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  (iii)   After 9/11, al-Qaeda, the IRGC, and their respective affiliates intensified their
          transnational terrorist alliance; the IRGC acted primarily through its Hezbollah and Qods
          Force operatives distributed in cells worldwide, while al-Qaeda and the Taliban, for their
          part, acted primarily through al-Qaeda- and Haqqani Network-related “polyterrorists”
          who served more than one member organization of the Syndicate, e.g., Sirajuddin
          Haqqani was a member of al-Qaeda and the Taliban.

          C.     Qods Force

          102.   As the U.S. State Department observed in 2016, “Iran used the [Qods Force] to

  implement foreign policy goals, provide cover for intelligence operations, and create instability

  in the Middle East. The Qods Force is Iran’s primary mechanism for cultivating and supporting

  terrorists abroad.” The Qods Force is the driving force behind Iran’s activities in Afghanistan, as

  well as in Iraq, Syria, and elsewhere in the Middle East.

          103.   The Qods Force is responsible to and directed by the Supreme Leader of Iran.

  Major General Qassem Soleimani was the chief of the Qods Force for more than twenty years

  and oversaw the Qods Force’s support for Hezbollah and its proxies to promote Iran’s policies

  throughout the region. Soleimani took his directions from Khamenei, with whom he shared a

  close personal relationship. Soleimani was killed in a U.S. airstrike in Baghdad, Iraq on January

  3, 2020. Khamenei then appointed General Esmail Ghaani to replace Soleimani.

          104.   The Qods Force provides weapons, funding, and training for terrorist operations

  targeting American citizens, including for Hezbollah and, through Hezbollah, for IRGC proxies

  like al-Qaeda and the Taliban. Iran’s Supreme Leader and central government are aware of and

  encourage those acts. Applying pressure against the United States by funding and supplying

  Hezbollah and other terrorist proxies is an official component of IRGC policy.

          105.   The Qods Force provides weapons, funding, and training for terrorist operations

  targeting American citizens in Afghanistan, including by supporting terrorist organizations such

  as the Taliban. See, e.g., Cabrera at *36. As the U.S. government’s Joint Improvised Explosive
                                                  32
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  Device Defeat Organization (“JIEDDO”) concluded in a 2009 report: “Iran’s use of weapons

  smuggling networks is fairly predictable and meant to shape the manner in which foreign

  countries deal with Iran.” For that reason, the Qods Force varies the quantity, rate, and types of

  weapons provided to its proxy terrorist organizations depending on the amount of pressure Iran

  wants to exert on a particular country.

          106.   The Qods Force operates a broad global network of front companies, often co-

  located with Hezbollah. The IRGC created the Qods Force’s Unit 400, which was tasked with

  facilitating the IRGC’s terrorist finance and logistics activities through illicit commercial

  transactions conducted by a global network of IRGC fronts.

          107.   In October 2007, the U.S. Treasury Department designated the Qods Force as a

  Specially Designated Global Terrorist (“SDGT”) under Executive Order 13224 for providing

  material support to the Taliban and other terrorist organizations, including Hezbollah and

  terrorist groups in Iraq. 22 Treasury also designated multiple Qods Force members as Specially

  Designated Nationals pursuant to Executive Order 13224, based on their activities in

  Afghanistan. Id. Announcing the Qods Force’s SDGT-related designations, Treasury confirmed

  that “[t]he Qods Force”:

  (i)     “provide[d] material support to the Taliban, Lebanese Hizballah, Hamas, [and]
          Palestinian Islamic Jihad”;

  (ii)    “[was] the [IRGC’s] primary instrument for providing lethal support to the Taliban”;

  (iii)   “provide[ed] weapons and financial support to the Taliban to support anti-U.S. and anti-
          Coalition activity in Afghanistan”;

  (iv)    “support[ed] Hizballah’s military, paramilitary, and terrorist activities, providing it with
          guidance, funding, weapons, intelligence, and logistical support”;



  22
    Press Release, U.S. Treasury Dep’t, Fact Sheet: Designation of Iranian Entities and
  Individuals for Proliferation Activities and Support for Terrorism (Oct. 25, 2007).
                                                   33
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  (v)      “operate[d] training camps for Hizballah in Lebanon” “and” “trained more than 3,000
           Hizballah fighters at IRGC training facilities in Iran”;

  (vi)     “provide[d] roughly $100 to $200 million in funding a year to Hizballah and” “assisted
           Hizballah in rearming in violation of UN Security Council Resolution 1701”; and

  (vii)    “provide[d] lethal support in the form of weapons, training, funding, and guidance to
           select groups of Iraqi Shi’a militants who target[ed] and kill[ed] Coalition [] forces.” Id.

           108.    Considering the foregoing, the Treasury Department confirmed, on behalf of the

  U.S. government, that “[t]hrough Qods Force material support” the United States “believe[d]

  Iran [was] seeking to inflict casualties on U.S.” “forces” in the Middle East. Id.

           109.    Moreover, the Treasury Department emphasized that the U.S. government

  intended the Qods Force’s newly announced SDGT designation to signal to multinational

  corporations and their C-Suites – like Defendants – that they could no longer do business with

  the IRGC’s commercial fronts. Among other things, Treasury stated:

  (i)     “The U.S. Government is taking [] major actions today to counter Iran’s … support
          for terrorism by exposing Iranian … companies and individuals that have been
          involved in these dangerous activities and by cutting them off from the U.S.
          financial system.…”

  (ii)    “Last week, [] Treasury [] issued a warning to U.S. banks setting forth the risks
          posed by Iran…. Today’s actions are consistent with this warning, and provide
          additional information to help [] institutions protect themselves from deceptive []
          practices by Iranian entities and individuals engaged in or supporting … terrorism.”

  (iii) “As a result of our actions today, all transactions involving any of the designees and
        any U.S. person will be prohibited … Today’s designations also notify the
        international private sector of the dangers of doing business with … the many
        IRGC-affiliated companies that pervade several basic Iranian industries. …”

  (iv) “Support for Terrorism -- Executive Order 13224 Designations E.O. 13224 is an
       authority aimed at freezing the assets of terrorists and their supporters, and at
       isolating them from the U.S. financial and commercial systems.” Id.

           110.    The U.S. Department of State designated the Qods Force as an FTO in April

  2019, along with the IRGC.



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  II.    HEZBOLLAH, THE QODS FORCE, AND REGULAR IRGC LED A
         CONSPIRACY TO ACCOMPLISH THEIR “SECURITY” MISSION OF
         EXPELLING THE UNITED STATES FROM THE MIDDLE EAST

         111.    Given the complexity of Defendants’ participation in the IRGC Conspiracy as

  alleged in this Complaint, Plaintiffs first outline the Conspiracy’s structure, before proceeding to

  set forth detailed allegations regarding the same.

         112.    In this section, Plaintiffs identify: (A) the object of the Conspiracy; (B) the parties

  to the Conspiracy; (C) how the attacks that occurred in this case were acts in furtherance of the

  Conspiracy; and (D) the dates on which we think each Defendant joined the Conspiracy and the

  manner by which they joined the Conspiracy.

         A.      The Object Of The Conspiracy And Its Leadership

         113.    The IRGC established the IRGC Conspiracy after 9/11 and it continued, with

  respect to Afghanistan, until the end of the terrorist campaign in Afghanistan. Today, the IRGC

  Conspiracy continues wherever Americans are present in the Middle East, and the IRGC

  continues to sponsor attacks against Americans in furtherance of the Conspiracy.

         114.    The “IRGC Shareholders” who organized the Conspiracy comprised the three

  constituent parts of the IRGC, i.e., the IRGC’s Hezbollah Division, the IRGC’s Qods Force, and

  the Regular IRGC (hereinafter, the “IRGC Shareholders”). 23

         115.    The Object of the IRGC Conspiracy was for the IRGC Shareholders to

  accomplish their “security” mission of expelling the United States from the Middle East.




  23
    The IRGC Shareholders are one and the same with the Iranian Shareholders, defined above,
  because the Iranian Shareholders were merely fronts for the IRGC Shareholders.


                                                   35
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         116.    On information and belief, at all relevant times, each of the three IRGC

  Shareholders made a roughly co-equal contribution to the Conspiracy with respect to funds,

  equipment, weapons, terrorist personnel, technologies, and logistics.

         117.    The IRGC’s Hezbollah Division has the same meaning as Hezbollah, and was

  one of the leaders of the Conspiracy:

  (i)    Role: Hezbollah was a designated FTO based upon its role as the IRGC’s External
         Security Organization, meaning, its service as the IRGC’s lead agent for conducting
         “External Security” operations (i.e., anti-American terrorism) worldwide. As the IRGC’s
         “security” proxy specialist worldwide, Hezbollah was tasked with organizing anti-
         American “resistance” attack campaigns to aid the Afghanistan Terror Campaign and
         Iraq/Syria Terror Campaign (as defined below) in furtherance of the Conspiracy.

  (ii)   Leadership: Hezbollah was commanded by Hassan Nasrallah (“Nasrallah”), who was
         notorious (as covered by the media) internationally and in Iran for being a terrorist, and,
         on information and belief, understood by each Defendant to be an IRGC terrorist who
         commanded some of the largest IRGC terrorist finance, logistics, communications,
         weapons, narcotics, and operations fronts. Nasrallah did all of this to aid the Afghanistan
         Terror Campaign and Iraq/Syria Terror Campaign in furtherance of the Conspiracy.

         118.    The IRGC’s Qods Force is the IRGC’s Iranian-staffed external “Security”

  Operations Division, which at all relevant times worked closely with Hezbollah.

  (i)    Role: The Qods Force was a designated SDGT based upon its service as the IRGC’s
         Iranian-nationality external terror organization that is the flip side of Hezbollah’s
         External Security Organization and designed to work with Hezbollah through the IRGC’s
         joint cell approach. The Qods Force served alongside Hezbollah as the IRGC’s
         “security” proxy specialist worldwide and, as such, was tasked, alongside Hezbollah,
         with organizing anti-American “resistance” attack campaigns to aid the Afghanistan
         Terror Campaign and Iraq/Syria Terror Campaign in furtherance of the Conspiracy.
  (ii)   Leadership: Until his death in 2020, the Qods Force was commanded by Brigadier
         General Qassem Soleimani (“Soleimani”), who was notorious (as covered by the media)
         internationally and in Iran for being a terrorist, and, on information and belief, understood
         by each Defendant to be an IRGC terrorist who served as the head of the Qods Force and
         commanded some of the largest IRGC terrorist finance, logistics, communications,
         weapons, narcotics, and operations fronts, and worked closely with Hezbollah pursuant to
         the IRGC’s joint cell model. Soleimani did all of this to aid the Afghanistan Terror
         Campaign and Iraq/Syria Terror Campaign in furtherance of the Conspiracy.




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         119.    Regular IRGC is the IRGC’s Internal Security Division (hereinafter as an

  organization, “Regular IRGC,” and as individual members, “IRGC Regulars”).

  (i)    Role: Regular IRGC and the IRGC Regulars operated exclusively within Iran and served
         primarily as fronts for IRGC’s terrorist finance, logistics, illicit technology acquisition,
         and intelligence activities, to coordinate the logistics and supply chain needs for
         Hezbollah and Qods Force, through Regular IRGC’s fronts and cover companies,
         charities, and foundations inside Iran, including, but not limited to, the Bonyad
         Mostazafan, IEI, IEDC, and TCI. Regular IRGC did all of this to aid the Afghanistan
         Terror Campaign and Iraq/Syria Terror Campaign in furtherance of the Conspiracy.

  (ii)   Leadership: Regular IRGC was commanded by the IRGC terrorist, IRGC Chief of
         Staff Mohammad Forouzandeh (“Forouzandeh”), who was notorious (as covered by
         the media) internationally and in Iran for being a terrorist, and, on information and belief,
         understood by each Defendant to be an IRGC terrorist who served as the IRGC Chief of
         Staff and commanded the largest IRGC terrorist finance, logistics, and operations front,
         the Bonyad Mostazafan. 24 Forouzandeh did all of this to aid the Afghanistan Terror
         Campaign and Iraq/Syria Terror Campaign in furtherance of the Conspiracy.

         120.    To accomplish the object of the Conspiracy, the IRGC recruited additional

  terrorist groups, corporate partners, criminal organizations, and individuals to aid the IRGC’s

  global campaign terrorizing Americans through coordinated terrorist violence facilitated by the

  IRGC Shareholders in order to conduct IRGC “resistance” operations, i.e., anti-American

  terrorist attacks, in furtherance of the Conspiracy (such joining person, a “Member” of the

  Conspiracy). Each Member regularly provided valuable “Security Aid” (as defined below), to

  facilitate attacks that aided the Iraq/Syria Terror Campaign and Afghanistan Terror Campaign in

  furtherance of the Conspiracy. Each Member’s actions were to aid the Iraq/Syria Terror

  Campaign and Afghanistan Terror Campaign in furtherance of the Conspiracy.

         121.    Each Member who joined the Conspiracy had to pledge that they would provide

  significant aid to help the IRGC Shareholders support their “security” operations, by directly or



  24
     Forouzandeh effectively midwifed the Qods Force. He was appointed to be chief of staff of
  the IRGC in order to reorganize it to suit the Ayatollah’s needs. A few years into his tenure, also
  at Khameini’s direction, Forouzandeh oversaw the formal creation of the Qods Force in 1990.
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  indirectly facilitating one or more of the following flows of material support from the Defendants

  and/or the United States as a result of the Defendant’s conduct, to flow through the Defendant or

  another entity whom the Defendant owned or otherwise controlled, before reaching the persons

  who committed the attacks that killed and injured Plaintiffs.

           122.    Each Member facilitated the provision of one or more of the following forms of

  “Security Aid” to the IRGC (inclusive of each of its IRGC Shareholders) and the Haqqani

  Network (an FTO and Member of the Conspiracy): (a) fundraising to finance terrorist operations,

  including “tax” collection and diaspora donations, including khums); (b) logistics; (c) attack

  planning; (d) assassinations and bombings (design and execution); (e) illicit technology

  acquisition; (f) Big Data analytics and management; (g) operations; (h) communications; (i)

  transport; (j) narcotics trafficking; (k) smuggling; and (l) intelligence operations (each, a form of

  “Security Aid”).

           123.    Each form of Security Aid materially assisted the Members’ ability to commit

  attacks to aid the Afghanistan Terror Campaign in furtherance of the Conspiracy.

           124.    Each Member Provided Security Aid To Other Members Of The Conspiracy To

  Aid The Iraq/Syria Terror Campaign And Afghanistan Terror Campaign in furtherance of the

  Conspiracy.

           B.      The Parties To The Conspiracy

                   1.     FTO/SDGT Co-Conspirators

           125.    Hezbollah, the Qods Force, and Regular IRGC started the Conspiracy and led it

  throughout. As to one or more Plaintiffs, 25 the FTO Co-Conspirators include Hezbollah, al-

  Qaeda (including its Syrian branch, ANF), and the Haqqani Network. (The Taliban, of which



  25
       The FTOs common to all Plaintiffs are Hezbollah and al-Qaeda.
                                                   38
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  the Haqqani Network is a part, is an SDGT.) Each FTO/SDGT Co-Conspirator’s actions were to

  aid the Iraq/Syria Terror Campaign and Afghanistan Terror Campaign in furtherance of the

  Conspiracy. The Taliban joined the Conspiracy alongside its Haqqani Network and agreed to

  facilitate attacks to aid the Iraq/Syria Terror Campaign on or about 2005, and the Afghanistan

  Terror Campaign on or about 2006. 26

                 2.      Corporate Front Co-Conspirators

         126.    The corporate fronts or “covers” for the IRGC, who joined the Conspiracy were:

  (1) MTN Irancell; (2) TCI and MCI; and (3) Exit40. Discovery will likely reveal additional

  Corporate Front Co-Conspirators.

                       i.       MTN Irancell

         127.    MTN Irancell is a joint venture between MTN Group, which has a 49% stake and

  is not in charge, and the Bonyad Mostazafan and Iran Electronics Industries (“IEI”), which

  collectively own a 51% stake and are fronts for Hezbollah, the Qods Force, and Regular IRGC.

  MTN Irancell is an Iranian company and its principal place of business is in Tehran, Iran.

         128.    MTN Irancell operates as, and MTN Irancell’s employees and agents work as

  operatives for, a front for Hezbollah, the Qods Force, and Regular IRGC.

         129.    Irancell joined the Conspiracy on or about 2004, when the IRGC seized Irancell in

  order to convert it into an instrument of terrorism, and Irancell remained in the Conspiracy after

  officially becoming MTN Irancell in 2005.

         130.    MTN Irancell remained in the Conspiracy at all times since Irancell became MTN

  Irancell in 2005, and MTN Irancell remains in the Conspiracy today.



  26
    For the avoidance of all doubt, Plaintiffs do not mean to suggest that these groups were not
  engaged in terrorist attacks prior to these dates, only that this was when these groups reached
  agreement with the Iranian Shareholders.
                                                  39
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         131.   MTN Irancell served (and continues to serve) as an IRGC front to aid the

  Iraq/Syria Terror Campaign and Afghanistan Terror Campaign in furtherance of the Conspiracy.

                      ii.      MTN Group

         132.   MTN Group was a cover for Hezbollah, the Qods Force, and the Regular IRGC.

         133.   MTN Group joined the Conspiracy by no later than September 18, 2005, when

  MTN Group’s CEO, Phuthuma Nhleko, secretly agreed that MTN Group would cause all of

  MTN’s subsidiaries and affiliates to serves as fronts for the “Iranian Shareholders,” which MTN

  Group’ CEO knew was a direct reference to Hezbollah (an FTO) and the Qods Force. On that

  date, MTN Group, acting through Mr. Nhleko – on behalf of MTN Group and every MTN

  affiliate and subsidiary – secretly executed a letter agreement between MTN Group and MTN’s

  “Iranian Shareholders” counterparty (i.e., the IRGC through its notorious fronts), in which MTN

  pledged to provide “security” assistance to the IRGC as a required condition precedent to the

  creation, and continuation, of MTN Irancell (the “Letter Agreement” or “Agreement”). MTN

  Group’s Letter Agreement with Hezbollah, the Qods Force, and Regular IRGC is attached as

  Exhibit A. MTN Group and Mr. Nhleko executed the Agreement and joined the Conspiracy

  while physically alongside a senior IRGC officer, whom they knew to be a senior IRGC officer.

  During this signing, MTN Group, through Mr. Nhleko, also knew that MTN Group and the

  IRGC officer who countersigned on behalf of the “Iranian Shareholders” were physically

  consummating their agreement inside the Bonyad Mostazafan’s headquarters in Tehran, Iran,

  while knowing that the Bonyad Mostazafan was a front designed to aid IRGC terror activities.

  In this agreement Letter Agreement in Tehran in the presence of one or more notorious IRGC

  terrorists, in which MTN Group promised to ensure that MTN Irancell aided the “security”

  agenda of the “Iranian Shareholders.” Irancell, TCI, and MCI were also co-conspirators.



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         134.   MTN Group’s serial deceptions about the Letter Agreement demonstrate MTN’s

  consciousness of guilt at having joined the Conspiracy.

         135.   Thereafter, MTN Group served as a front for the financial and procurement

  activities of Hezbollah (through Exit40) and all three IRGC Shareholders through their other

  “Security Aid” identified in the Complaint.

         136.   MTN Group served as an IRGC cover to aid the Iraq/Syria Terror Campaign and

  Afghanistan Terror Campaign in furtherance of the Conspiracy.

         137.   MTN Group authorized the payment of, at a minimum, millions of dollars each

  year from 2009 through 2020 that MTN Group caused to be paid to the Haqqani Network, both

  before and, on information and belief, after it was designated an FTO. Each such payment or

  authorization by MTN Group was an act in furtherance of the Conspiracy because MTN Group

  knew it was paying money to an ally of the IRGC Shareholders who would use it to aid their

  proxy terror attacks against Americans in the Middle East. When MTN Group made or

  authorized such payments, it did so to aid the Iraq/Syria Terror Campaign and Afghanistan

  Terror Campaign in furtherance of the Conspiracy.

         138.   MTN Group’s promises to pay (in 2005) and payments (in 2007) of a $400,000

  bribe to “Short John” (an IRGC cut-out) and $200,000 bribe to “Long John” (to corruptly swing

  a U.N. vote), were acts in furtherance of the Conspiracy because MTN Group knew it was

  paying money to an ally of the IRGC Shareholders who would use it to aid their proxy terror

  attacks against Americans in the Middle East. When MTN Group made or authorized such

  payments, it did so to aid the Iraq/Syria Terror Campaign and Afghanistan Terror Campaign in

  furtherance of the Conspiracy.




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         139.    MTN Group’s attempts to repatriate, and repatriation of, money from Irancell

  using the mails and wires of the United States from 2012 through 2018 were acts in furtherance

  of the Conspiracy because, on information and belief, to access the money MTN Group had to

  also authorize a substantial financial transfer to MTN Irancell, which MTN Group knew would

  flow to an ally of the IRGC Shareholders to aid their proxy terror attacks against Americans in

  the Middle East. When MTN Group made or authorized such payments, it did so to aid the

  Iraq/Syria Terror Campaign and Afghanistan Terror Campaign in furtherance of the Conspiracy.

                      iii.       TCI and MCI

         140.    TCI and MCI were fronts for Hezbollah, the Qods Force, and the Regular IRGC.

         141.    TCI and MCI joined the Conspiracy on or about 2009 and remain in it today.

         142.    TCI and MCI served as an IRGC front to aid the Iraq/Syria Terror Campaign and

  Afghanistan Terror Campaign in furtherance of the Conspiracy.

                      iv.        Exit40

         143.    On information and belief, Exit40 is a front company owned, controlled, and

  operated by Hezbollah.

         144.    On information and belief, Exit40 was purpose-built by Hezbollah, following

  IRGC terrorist tradecraft, to serve as a front for illicit fundraising and acquisition of embargoed

  U.S. technologies including American smartphones and servers.

         145.    On information and belief, Exit40 supplied the described Security Aid to other

  Members of the Conspiracy in order to aid the Iraq/Syria Terror Campaign and Afghanistan

  Terror Campaign in furtherance of the Conspiracy.

         146.    On information and belief, Exit40 joined the Conspiracy no later than on or about

  2005, when MTN Group caused Exit40 to be hired as a consultant or a distributor on behalf of

  MTN Group, MTN Irancell, or another MTN subsidiary.

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         147.    On information and belief, Exit40 routed tens of millions in value through MTN

  Group, MTN Dubai, MTN Irancell or another MTN entity, which was all done at the direction of

  MTN Group, and which flowed the value to Hezbollah from 2005 until on or about 2012.

  Hezbollah, in turn, shared such resources to facilitate attacks to aid the Iraq/Syria Terror

  Campaign and Afghanistan Terror Campaign in furtherance of the Conspiracy.

                 3.      Corporate Supplier and Manufacturer Co-Conspirators

         148.    The IRGC Conspiracy operated through its terrorist members to carry out attacks

  on Americans, with the IRGC providing logistical and financial support. The attacks in this case

  were all acts in furtherance of the IRGC Conspiracy. Every person that agreed to join the IRGC

  Conspiracy is therefore liable for the harm caused by these attacks.

         149.    Defendants MTN Group, ZTE Corp. and Defendant Huawei Co. joined the IRGC

  Conspiracy when they agreed with known IRGC fronts (variously including, but not limited to,

  MTN Irancell, TCI, MCI, and Exit40) to provide resources, technical materials, and technical

  support, and to support Iran’s “security” objective.

         150.    Defendants MTN Group, ZTE Corp. and Huawei Co. agreed to provide such

  assistance in order to aid the Iraq/Syria Terror Campaign and Afghanistan Terror Campaign in

  furtherance of the IRGC Conspiracy.

         151.    Each of MTN Group, ZTE Corp. and Huawei Co., and each of their U.S.

  manufacturer co-Defendants, acted in furtherance of that agreement to join the IRGC Conspiracy

  each time they provided money and other resources, provided technical goods (such as cell

  phones and telecom infrastructure), assisted with technical support, evaded U.S. sanctions in

  order to do so, and attempted to obfuscate their respective roles.




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         152.    Each time MTN, ZTE, and Huawei did these acts in furtherance of the IRGC

  Conspiracy, such Defendant assisted the IRGC Conspiracy’s objective to attack Americans and

  ultimately expel the U.S. from Afghanistan and the Middle East.

         C.      Plaintiffs Were Injured By Attacks In Afghanistan That Occurred In
                 Furtherance Of The Conspiracy

         153.    Plaintiffs were injured by attacks that were conducted in one of terrorist

  campaigns that the IRGC facilitated in furtherance of the IRGC Conspiracy in Afghanistan.

         154.    Institutional sources of illicit transnational terrorist finance in the Iraq/Syria

  Terror Campaign – especially narcotics trafficking – strengthened the potency of the Afghanistan

  Terror Campaign, and vice versa, because the Hezbollah and the Qods Force worked closely

  with al-Qaeda and the Taliban (including its Haqqani Network) to maximize the huge income for

  all involved. Such strategies produced tens of millions in cross-pollinated income streams

  between IRGC Shiite Terrorist Proxies and IRGC Syndicate Terrorist Proxies, which increased

  the flow of resources to facilitate attacks to aid the Iraq/Syria Terror Campaign and Afghanistan

  Terror Campaign in furtherance of the Conspiracy.

                 1.      The Iraq/Syria Terror Campaign

         155.    The Iraq/Syria Terror Campaign comprised terrorist attacks in Iraq and Syria from

  2006 through the present that were committed by IRGC Shiite Terrorist Proxies and/or IRGC

  Syndicate Terrorist Proxies against Americans in Iraq and Syria for the specific purpose of

  inflicting pain on the United States to drive the United States out of Afghanistan and Iraq in

  furtherance of the IRGC Conspiracy, where the FTO or FTOs that committed the attack received

  material support from Hezbollah, the Qods Force, and Regular IRGC to aid such attacks against

  Americans in Iraq.




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                 2.     The Afghanistan Terror Campaign

         156.    The Afghanistan Terror Campaign comprised terrorist attacks in Afghanistan

  from 2007 through the present day that were committed by IRGC Shiite Terrorist Proxies and/or

  IRGC Syndicate Terrorist Proxies against Americans in Afghanistan to inflict pain on the United

  States to drive the U.S. out of Afghanistan and Iraq in furtherance of the Conspiracy, where the

  FTO or FTOs that committed the attack received material support from Hezbollah, the Qods

  Force, and Regular IRGC to aid such attacks against Americans in Afghanistan.

         157.    The Afghanistan Terror Campaign unfolded much in the same manner as the

  Iraq/Syria Terror Campaign but started about a year later (the IRGC began with Iraq before

  broadening to Afghanistan). In 2005, Hezbollah, the Qods Force, and the Regular IRGC helped

  kickstart the Afghanistan Terror Campaign. Hezbollah, the Qods Force, and the Regular IRGC

  did so to aid the Iraq/Syria Terror Campaign and Afghanistan Terror Campaign in furtherance of

  the Conspiracy.

         158.    On or about 2006, the Taliban joined the Conspiracy. On information and belief,

  the Taliban, did so after a series of meetings between emissaries in Afghanistan and Iran,

  including, but not limited to, in Herat, Afghanistan, and Mashhad, Iran.

         159.    Each Plaintiff was injured in an attack committed by one or more of the above-

  identified designated FTOs who joined the IRGC Conspiracy and committed the attack in

  furtherance of the Conspiracy.




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  III.   AFTER 9/11, HEZBOLLAH, THE QODS FORCE, REGULAR IRGC, TALIBAN,
         AND AL-QAEDA JOINED AN IRGC CONSPIRACY TO DRIVE THE UNITED
         STATES OUT OF THE MIDDLE EAST

         A.      The Formation Of The Conspiracy

                 1.      After 9/11, Hezbollah, The Qods Force, And Regular IRGC Led A
                         Terrorist Conspiracy Targeting Americans In Afghanistan, Iraq, And
                         Elsewhere To Inflict Pain On “The Great Satan”

         160.    After 9/11, the IRGC organized a transnational terrorist alliance to marshal

  efficiencies across terrorist groups and maximize the lethality of their terrorist campaign.

         161.    By 2007, under the leadership of Qassem Soleimani, Hezbollah and the Qods

  Force had leveraged the IRGC’s control of telecommunications front companies, and associated

  profits and cell phones they acquired, to organize “resistance” (i.e., terror) cells in dozens of

  countries on six continents. As the Montreal Gazette reported at the time:

         Under the Ahmadinejad administration, U.S. officials said, the [IRGC] has moved
         increasingly into commercial operations, earning profits and extending its
         influence in Iran in areas involving big government contracts, including …
         providing cell phones. Washington has claimed the Revolutionary Guard’s Quds
         Force wing is responsible for the growing flow of explosives, roadside bombs,
         rockets and other arms to Shiite militias in Iraq and the Taliban in Afghanistan.
         Quds Force has also been blamed for supporting Shiite allies such as Lebanon's
         Hezbollah and to such Sunni movements… 27

                 2.      To Maximize The Lethality Of Their Terrorist Conspiracy,
                         Hezbollah, The Qods Force, And Regular IRGC Provided Material
                         Support To Every Other Member of the Conspiracy, Including
                         Funds, Arms, Training, And Logistical Support, Which Their Co-
                         Conspirators Used To Attack Americans in Afghanistan

         162.    After 9/11, Hezbollah, the Qods Force, and Regular IRGC, organized a global

  terrorist alliance comprised of a litany of allied Shiite and Sunni terrorist groups. Generally,




  27
    Montreal Gazette (Canada), What is the Revolutionary Guard? (Aug. 16, 2007), 2007 WLNR
  28659733.
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  such groups could be divided between, on the one hand, transnational groups which seek to

  attack Americans anywhere, or regional groups, which focus on a particular geography.

         163.    In all cases, however, the terrorists: (a) sought to attack and kill Americans to

  force the United States to withdraw from the Middle East, including Afghanistan and Iraq; and

  (b) relied upon a network of terrorist allies – an Islamist NATO – necessary to counteract the

  U.S.-led coalitions in Afghanistan and Iraq, which organized the world’s most powerful

  militaries and intelligence services to confront these terrorists.

         164.    Simply put, the IRGC and its terrorist co-conspirators knew they needed their

  own transnational alliance with all the same functionalities as NATO to successfully prosecute a

  global terror campaign against Americans on multiple continents for decades.

         165.    After 9/11, the IRGC’s Hezbollah Division and Qods Force led the IRGC’s

  support for the IRGC Conspiracy. With respect to the Hezbollah Division, Hezbollah’s terrorist

  mastermind, Imad Mugniyeh, led this effort until the U.S. and Israel killed him in 2008, after

  which Mugniyeh was replaced by other well-trained and experienced Hezbollah Division

  terrorist operatives. With respect to the Qods Force, Qassem Soleimani, led the Qods Force-

  related aspects of the scheme until his own death at the hands of a U.S. drone strike in 2020.

         166.    To operationalize the various nodes of the Conspiracy – including transnational

  logistics, financial relationships, arms pipelines, smuggling routes, and the like – Hezbollah and

  the IRGC worked hand-in-hand with each other globally (as they have since the IRGC

  “midwifed” Hezbollah to execute the Conspiracy). Hezbollah and the Qods Force followed the

  same terrorist playbook worldwide, which included support of various terrorist proxy groups.

         167.    IRGC Shiite Terrorist Proxies. If Hezbollah and the Qods Force were (a)

  sectarian allies with the proxy terrorists (as with Shiite group Jaysh al-Mahdi); or (b) had a long-



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  standing alliance regardless of sect (as with Sunni terrorist groups Hamas and Palestinian Islamic

  Jihad), then (c) IRGC doctrine mandated that Hezbollah and the Qods Force follow the joint cell

  model, in which they established joint cells comprised of Hezbollah, Qods Force, and a local

  proxy to attack Americans in-country, or to provide logistical, weapons, operational, financial, or

  concealment aid to another part of the Conspiracy that targeted Americans elsewhere.

         168.    IRGC Syndicate Terrorist Proxies. If Hezbollah and the Qods Force did not

  have a decades-long alliance with the terrorist proxy and were also not sectarian allies (i.e.,

  Shiites), then they followed an approach by which Hezbollah and the Qods Force, backed by all

  the IRGC’s money and logistics, identified Sunni terrorist groups that could serve as allies of

  convenience with a shared terrorist agenda targeting the United States. The IRGC terrorist

  proxies who joined the Conspiracy under this approach include, but are not limited to:

  (i)    al-Qaeda, which Hezbollah and the Qods Force supported through their global network
         of cells with respect to their logistics, funding, transportation, and arms supply, and
         which they supported inside Iran, Iraq, Syria, Afghanistan, and Pakistan, through the
         provision of funds, safe haven, communications, and logistical support; and

  (ii)   the Taliban and its Haqqani Network, which Hezbollah and the Qods Force supported
         through their global network of cells with respect to their logistics, funding,
         transportation, and arms supply, and which they supported inside Iran, Iraq, Afghanistan,
         and Pakistan, through the provision of funds, arms, training, safe haven, communications,
         and logistical support 28

         (al-Qaeda, the Taliban, including its Haqqani Network, and Lashkar-e-Taiba,
         collectively, being the “IRGC Syndicate Terrorist Proxies”).

         169.    Hezbollah, the Qods Force, and Regular IRGC, materially aided every aspect of

  both the IRGC Shiite Terrorist Proxies’ and the IRGC Syndicate Terrorist Proxies’ terrorist




  28
    Hezbollah, the Qods Force, al-Qaeda, and the Taliban, including its Haqqani Network,
  sometimes combined forces to jointly commit an attack against Americans in Afghanistan, Iraq,
  or another geography to which every organization could contribute or network connections.
                                                   48
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  campaigns against Americans in Afghanistan, Iraq, Yemen, Syria, Lebanon, Europe in

  furtherance of the Conspiracy.

            170.   To facilitate terrorist attacks against Americans by IRGC Shiite Terrorist Proxies

  and IRGC Syndicate Terrorist Proxies, Hezbollah, the Qods Force, and Regular IRGC, depended

  upon the large flow of money, equipment, weapons, and logistical support, as well as the “cover”

  provided by the corporate entity, from the complicit corporate partners, including MTN Irancell,

  TCI, and any corporate allies that conspired with the IRGC to create and operate these terrorist

  fronts.

            B.     In Furtherance Of The Conspiracy, Hezbollah, The Qods Force, Regular
                   IRGC, Al-Qaeda, The Taliban, And The Members Of The Al-Qaeda-Taliban
                   Terrorist Syndicate Waged A Deadly Terrorist Campaign Against
                   Americans In Afghanistan

            171.   The IRGC’s support of terrorist proxies like Hezbollah, Hamas, the Taliban, and

  al-Qaeda is well-documented. 29 The IRGC has also long provided material support to the

  Syndicate, including al-Qaeda and the Taliban. See, e.g., Cabrera at *1, *6, *10-11, *40. The

  sectarian differences between the Shiite regime in Tehran and the Sunni al-Qaeda/Taliban

  leadership have not hindered cooperation between the groups. Whatever their religious

  differences, both groups share a hatred of the United States and support anti-American violence.

            172.   While Americans worked to rebuild post-war Afghanistan, they were attacked by

  a Syndicate led by Taliban and al-Qaeda terrorists. See, e.g., Cabrera at *1, *6. Hezbollah, the

  Qods Force, and Regular IRGC, sponsored those terrorist attacks to undermine American foreign

  policy in Afghanistan. To that end, Hezbollah, the Qods Force, and Regular IRGC, supported

  the Taliban, including its most radical part, the Haqqani Network, by, among other things,



  29
    See Alireza Nader, Joya Laha, Iran’s Balancing Act in Afghanistan at 9 (RAND Corp. 2011)
  (“Iran’s Balancing Act”).
                                                   49
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  training Taliban terrorists how to attack Americans effectively and paying terrorists who killed

  U.S. forces. Hezbollah, the Qods Force, and Regular IRGC also provided the Taliban with

  sophisticated weapons that it used to kill and injure thousands of Americans.

         173.    The IRGC’s, including Hezbollah’s and the Qods Force’s, support for al-Qaeda

  was equally potent. See, e.g., Cabrera at *10. That decades-long support has included money,

  weapons, training, logistical assistance, and safe harbor for al-Qaeda leaders. In 2007, Osama

  bin Laden himself referred to Iran as al-Qaeda’s “main artery for funds, personnel, and

  communication.” The IRGC’s, including Hezbollah’s and the Qods Force’s, decision to back al-

  Qaeda despite sectarian differences reflected Iran’s overriding desire to foment global anti-

  American terrorism. That decision, like the one to support the Taliban, paid dividends. The

  IRGC’s, including Hezbollah’s and the Qods Force’s, support for al-Qaeda in Afghanistan

  substantially contributed to the terrorist violence that killed and injured Americans there.

         174.    The IRGC’s, including Hezbollah’s and the Qods Force’s, support for al-Qaeda

  complemented its support for the Taliban because of the close relationship between the two

  terrorist groups. See, e.g., Cabrera at *10. Although al-Qaeda and the Taliban were nominally

  separate groups, they acted together in a terrorist “Syndicate” that planned and authorized

  terrorist violence throughout Afghanistan. See, e.g., Cabrera at *1, *6. That Syndicate – which

  involved mafia-style meetings between leaders of the Syndicate’s various members – provided a

  superstructure that organized and facilitated a range of terrorist attacks in Afghanistan. By

  funneling material support to multiple members of that Syndicate, Hezbollah, the Qods Force,

  and Regular IRGC ensured that the IRGC’s policy of sponsoring anti-American terrorism in

  Afghanistan achieved maximum effect. See, e.g., Cabrera at *10.




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          175.   After 9/11, Hezbollah and the Qods Force operationalized a sophisticated pipeline

  for routing material support to al-Qaeda and the Taliban to facilitate attacks against Americans in

  Afghanistan through which the IRGC supplied al-Qaeda and the Taliban with the

  communications technologies, including cell phones, and taught their use as terrorist weapons.

  Indeed, in 2012, the U.K. government publicly accused the IRGC of transferring mobile phones

  to Taliban terrorists targeting Coalition forces in Afghanistan, and also accused the IRGC of

  training Taliban terrorists how to deploy such IRGC-provided mobile phones to improve the

  lethality and effectiveness of the Conspiracy’s IED attacks targeting Americans in Afghanistan:

  (i)     “Iranian bomb makers are suspected of being behind the device which killed the
          six soldiers.” … “Funded partly by the Taliban, the [Iranian] instructors have
          taught insurgents in Helmand to disguise bombs from electronic detection,
          producing a bigger and more deadly blast.”

  (ii)    “Intelligence experts believe Iran is increasingly influencing the style and impact
          of attacks against … [NATO] troops in southern Afghanistan.” … “… the
          Iranians … are suspected of teaching the bomb makers involved the techniques
          needed to avoid roadside counter-measures.”

  (iii)   “Border officials in Herat, a city on Afghanistan’s western border with Iran, have
          reported that a wide range of material made in Iran—including mortars, plastic
          explosives, propaganda materials and mobile phones—is also ending up in
          insurgents' hands. And a Taliban commander admitted that the insurgents had
          grown more dependent on Iran …”

  (iv)    “[T]he Iranians have taught Taliban fighters to link mobile phones to the bomb,
          allowing the trigger man to watch for a suitable target before he strikes. … [The
          Taliban’s IED] techniques have become increasingly sophisticated, intelligence
          officials say, under the influence of the Iranians. 30

          176.   The IRGC Conspiracy succeeded. The U.S. substantially completed its

  withdrawal from Afghanistan on or about August 2021, which was one of the four primary

  objects of the Conspiracy. Afghanistan was also, along with Iraq, one of the two central theaters



  30
    See, e.g., David Williams, The Iran Connection: How Taliban Learned To Make Undetectable
  Bombs, Daily Mail (Mar. 8, 2012), 2012 WLNR 5017775.
                                                  51
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  where both Hezbollah, the Qods Force, and Regular IRGC, and the IRGC’s Sunni allies al-

  Qaeda and the Taliban, regularly collaborated in a two-way manner, sharing resources,

  personnel, smuggling routes, financiers (in-country and around the world), and sometimes even

  jointly committing attacks with one another.

           177.   Plaintiffs identify below several terrorist groups, subgroups, and partnerships

  responsible for the specific attacks that killed and injured them. Each worked in concert and

  shared resources, personnel, and operational plans. Indeed, the Taliban and al-Qaeda often

  participated in mafia-style meetings – attended by the leaders of several allied terrorist groups –

  in which they planned and authorized various terrorist attacks throughout Afghanistan. 31 Given

  such coordination, one former CIA official and senior White House advisor called the resulting

  terrorist superstructure a “Syndicate,” composed of al-Qaeda, the Taliban, and several allied

  FTOs. 32 In fact, bin Laden himself conceived of al-Qaeda as the leader of a broader coalition of

  terrorists drawing from other terrorist organizations in Pakistan and Afghanistan. 33

           178.   Iran’s support for multiple components of this “Syndicate” ensured that its

  support had maximum effect. Due to the mutually reinforcing ties between the Taliban and al-

  Qaeda in Afghanistan, support for the one benefited the other – and vice versa. Iran recognized

  those interrelationships and so spread its support across multiple parts of the Afghan terror

  Syndicate. In doing so, Iran was able to achieve its intended effect: wide-ranging terrorist




  31
    See Bill Roggio and Thomas Joscelyn, The al Qaeda – Taliban Connection, Wash. Exam’r
  (July 4, 2011) (“The al Qaeda-Taliban Connection”), archived at
  https://www.washingtonexaminer.com/weekly-standard/the-al-qaeda-taliban-connection.
  32
    Bruce Riedel, Deadly Embrace: Pakistan, America, And The Future Of The Global Jihad at 1
  (Brookings Inst. Press 2d ed. 2011).
  33
       The al Qaeda-Taliban Connection.
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  attacks against Americans, executed mostly by the Taliban but supported by (and sometimes

  jointly committed with) al-Qaeda and the other components of the Syndicate.

         179.    Against that backdrop, Plaintiffs identify below the principal Afghan terrorist

  groups, subgroups, and cells that committed the attacks that killed and injured them. Plaintiffs

  also identify how Hezbollah, the Qods Force, and Regular IRGC, facilitated terrorist attacks by

  al-Qaeda, the Taliban (including its Haqqani Network), and their allies.

                 1.      Al-Qaeda

         180.    Since its inception, al-Qaeda doctrine has emphasized terrorist strategy that

  borrows heavily from cooperative game theory principles, including concepts such as

  cooperation theory, franchising, and joint ventures. “Since the September 11, 2001 terrorist

  attacks, al Qaeda emerged as the head of a global Islamist terror movement, comprised of dozens

  of deadly jihadist groups” and “[s]everal members of the al Qaeda terror movement [were]

  designated as FTOs” including, but not limited to, “Islamic Movement of Uzbekistan,” “Jaish-e-

  Mohammed,” and “Lashkar-e-Tayyiba.” 34 This reflected al-Qaeda’s tactical and operational

  fusion with its affiliates in Afghanistan and Pakistan.

         181.    Since 9/11, and continuing through the present, Al-Qaeda led the Syndicate and

  worked jointly with its inseparable ally, the Taliban, with whom al-Qaeda had been essentially

  fused since before 9/11 and has remained so ever since. The overlap between the organizations

  meant that al-Qaeda often played a key role in Taliban and Haqqani Network attacks. As

  terrorism scholars Bill Roggio and Thomas Joscelyn observed, “[i]t is not clear where, say, al

  Qaeda ends and the Taliban and other terrorist groups begin. This is by design. Bin Laden




  34
    Jimmy Gurulé, Unfunding Terror: The Legal Response to the Financing of Global Terrorism
  89 (Edward Elgar 2008) (hereinafter, “Gurulé, Unfunding Terror” or “Gurulé”).
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  envisioned al Qaeda as the vanguard of a broader jihadist coalition. Al Qaeda was always a joint

  venture.” 35 Mr. Joscelyn testified that the word “syndicate” – referring to al-Qaeda’s terrorist

  joint venture with its Afghan and Pakistani affiliates – offers an “excellent description of how al

  Qaeda operates.” 36

            182.   The U.S. State Department designated al-Qaeda as an FTO on October 8, 1999.

            183.   Al-Qaeda’s and the Taliban’s close relationship continued long after 9/11. In the

  years since, it has become clear that the al-Qaeda and Taliban organizations have been fused

  together: al-Qaeda terrorists have often worked in close conjunction with Taliban terrorists and

  the affiliated Haqqani Network and Kabul Attack Network. In May 2007, Taliban official

  Mullah Dadullah said, “[W]e and al-Qaeda are as one.” 37 In early 2009, a military intelligence

  official was quoted as saying, “The line between the Taliban and al Qaeda is increasingly

  blurred, especially from a command and control perspective.” 38 By the end of that year,

  Chairman of the Joint Chiefs of Staff Admiral Michael Mullen said the same thing openly. “We

  are deeply concerned about the growing level of collusion between the Taliban and al Qaeda,” he

  told The Wall Street Journal. 39 And as Lieutenant General Ronald L. Burgess, Jr. stated in a

  February 2010 Hearing of the Senate Select Committee on Intelligence, “al Qaeda’s propaganda,

  attack planning and support of the Taliban and Haqqani networks continues.”




  35
       The al Qaeda – Taliban Connection.
  36
    Al-Qaeda In Afghanistan and Pakistan: An Enduring Threat, Hr’g Before the U.S. House
  Committee On Foreign Affairs, Subcommittee On Terrorism, Nonproliferation, and Trade, S.
  Hr’g 113-156, at 28 (May 20, 2014) (statement of Thomas Joscelyn, Sr. Research Fellow, Found.
  for Def. of Democracies), 2014 WLNR 13518260.
  37
       Thomas Ruttig, The Other Side 23, Afghanistan Analysts Network (July 2009).
  38
       Bill Roggio, Al Qaeda Builds A ‘Shadow Army’, Wash. Times (Feb. 13, 2009).
  39
       Anand Gopal, Afghan Police Killings Highlight Holes in Security, Wall St. J. (Dec. 15, 2009).
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         184.    By 2009, al-Qaeda and the Haqqani Network intensified their attack campaign

  inside Afghanistan. To do so, they ramped up their terrorist finance campaigns worldwide,

  putting out a call to all al-Qaeda and Haqqani Network financiers to support the jihad against

  Americans in Afghanistan the same way both groups had previously rallied terrorist financiers

  worldwide to support the campaign against the Soviets in the 1980s.

         185.    Thereafter, due in large part to the Syndicate’s terrorist finance, al-Qaeda’s

  terrorist campaign grew more lethal each month and year.

         186.    Al-Qaeda’s Syndicate-counterattack-strategy reflected bin Laden’s long-standing

  vision of al-Qaeda (and himself, specifically) as the leader of a grand terrorist coalition across

  Afghanistan and Pakistan. Due to the mutually reinforcing ties between al-Qaeda, the Taliban

  (including its Haqqani Network), and Lashkar-e-Taiba in Afghanistan – including their practice

  of cross-donations to each other – support for one benefited all. Defendants’ support to the

  Syndicate’s terrorist finance and bombmaking logistics thus had crosscutting effects: they

  enabled wide-ranging terrorist attacks against Americans in Afghanistan.

         187.    Al-Qaeda’s leadership of that terrorist Syndicate reflected the degree to which al-

  Qaeda and the Taliban became fully and operationally intertwined. As India’s Permanent

  Representative to the United Nations explained on October 1, 2011 in describing the al-Qaeda-

  Taliban “syndicate of terrorism,” both groups were by 2011 “ideologically and operationally

  fused.” By the fall of 2009, noted journalist Peter Bergen publicly stated, “the Taliban and Al

  Qaeda function more or less as a single entity. The signs of this are everywhere.” 40




  40
    Peter Bergen, The Front: The Taliban-Al Qaeda Merger, New Republic (Oct. 19, 2009) (“The
  Front”).
                                                   55
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             188.   Internationally, al-Qaeda and the Haqqani Network (and through it, the Taliban)

  shared intertwined streams for finance, logistics, smuggling, and weapons. According to

  Haqqani Network expert Gretchen Peters, international “funding streams” were “intertwined

  across” amongst al-Qaeda, the Haqqani Network, and the Taliban. 41 As Ms. Peters explained in

  2012, al-Qaeda, the Haqqani Network, and their allies “derive[d] income in and outside

  Afghanistan” and their “money move[d] between key network actors and into banks in Pakistan,

  the [U.A.E.] and beyond.” 42

             189.   The Taliban and al-Qaeda have remained intimately intertwined. For example, in

  2015, Osama bin Laden’s successor, Ayman Zawahiri, pledged an oath of allegiance to the

  recently-installed Taliban leader Mullah Akhtar Mohammad Mansour, who publicly announced

  his acceptance of the pledge the following day. When Mansour was killed in May 2016,

  Zawahiri pledged allegiance to his successor, Mawlawi Haibatullah Akhundzada.

             190.   Often, individual Taliban leaders are also members of al-Qaeda. For example, in

  late 2011 or early 2012 the Taliban appointed Sheikh Mohammed Aminullah, who has close ties

  to al-Qaeda, as the head of its Peshawar Regional Military Shura, which is responsible for

  attacks in northern and eastern Afghanistan.

             191.   Al-Qaeda also encouraged the Taliban to embrace new terrorist techniques. In

  February 2003, bin Laden issued a recording calling specifically for suicide attacks in

  Afghanistan and Iraq. Taliban terrorists had previously viewed suicide attacks as taboo, but al-

  Qaeda convinced them they were religiously permissible. Indeed, al-Qaeda trumpeted their

  ideological success online, announcing, “While suicide attacks were not accepted in the Afghani


  41
    Gretchen Peters, Haqqani Network Financing: The Evolution Of An Industry 32, Combatting
  Terrorism Ctr. (July 2012) (“Peters, Haqqani Network Financing”).
  42
       Id.
                                                   56
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  culture in the past, they have now become a regular phenomenon!” With al-Qaeda’s

  encouragement and training, the number of such suicide attacks in Afghanistan increased from

  one in 2002, two in 2003, and six in 2004, to 21 in 2005 and more than 100 in 2006. Al-Qaeda

  further encouraged these attacks by paying the families of suicide bombers in Afghanistan.

           192.   Al-Qaeda’s role in that suicide-bombing trend was pivotal. As Islamic history

  scholar Bryan Glyn Williams explained, “Al Qaeda operatives carried out two to three [suicide]

  bombings per year on the Afghan government and NATO troops from 2002 to 2004 that were

  meant to demonstrate the effectiveness of this alien tactic to the local Taliban. These

  demonstrative acts and videos of successful [Al Qaeda] suicide bombings in Iraq seem to have

  convinced the Taliban to condone the previously taboo tactic of suicide bombing.” 43

           193.   Al-Qaeda operatives also served as embedded trainers with Taliban forces. These

  experienced trainers provided instructions, funding, and resources for conducting local and

  international attacks. By 2005 at the latest, al-Qaeda began bringing instructors from Iraq to

  train the Taliban how to fight Americans. For example, al-Qaeda members trained Taliban

  commanders in bomb-making techniques. Al-Qaeda also invited Taliban commanders to Iraq,

  where they learned how to make armor-penetrating “shaped” charges, 44 a type of IED later

  known as an EFP. Taliban trainees also learned how to use remote controls and timers, and

  urban warfare tactics.




  43
    Bryan Glyn Williams, Afghanistan Declassified: A Guide to America’s Longest War at 202
  (Univ. Penn. Press 2012).
  44
       Sami Yousafzai, Unholy Allies, Newsweek (Sept. 25, 2005).
                                                  57
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            194.   As one writer put it in November 2009, “[s]mall numbers of Al Qaeda instructors

  embedded with much larger Taliban units have functioned something like U.S. Special Forces do

  – as trainers and force multipliers.” 45

            195.   According to a declassified 2008 Defense Intelligence Agency intelligence report,

  by the mid-2000s, al-Qaeda’s partnership with the Haqqani Network had facilitated the

  emergence of a Sirajuddin Haqqani-led network of al-Qaeda training camps in Waziristan. 46

            196.   Al-Qaeda has also established multiple training camps within Afghanistan

  reportedly hosted by the Taliban. One such camp covered nearly 30 square miles and contained

  heavy weapons, IED-making material, anti-aircraft weapons, rocket-propelled grenade systems,

  machine guns, pistols, rifles, and ammunition.

            197.   On top of the myriad forms of support detailed above, al-Qaeda also jointly

  planned and authorized terrorist attacks that the Taliban carried out. Those joint planning

  sessions often occurred in meetings in which al-Qaeda, the Taliban, and other members of the al-

  Qaeda-Taliban Syndicate (such as Lashkar-e-Taiba) would confer about particular geographies

  and targets to attack. The close operational coordination not only manifested itself in the Kabul

  Attack Network, but also provided a broader terrorist superstructure that organized the

  insurgency throughout Afghanistan. In observing in 2011 that this superstructure formed an

  Afghan-Pakistani “Syndicate” of sorts, a former CIA analyst and White House advisor

  documented several notable Syndicate-sponsored attacks in Afghanistan that “demonstrated the




  45
       Peter Bergen, The Front, New Republic (Oct. 19, 2009), https://tinyurl.com/zutk7x9k.
  46
    Def. Intel. Agency, Location and Activities of the Training Centers Affiliated with the Haqqani
  Network, Taliban, and al-Qaeda in Northern Waziristan and Future Plans and Activities of
  Sarajuddin ((Haqqani)), Intel. Information Report (Apr. 16, 2008), https://tinyurl.com/2ed3a2b4.
                                                   58
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  intricate connections between al Qaeda and its allies in Pakistan and Afghanistan.” Those

  intimate connections enhanced the lethality of the overall anti-American insurgency.

         198.    Information derived from al-Qaeda and Taliban detainees held at Guantanamo

  Bay, Cuba (“Gitmo”) corroborates the planning and authorization activities of the al-Qaeda-

  Taliban Syndicate. For example, according to purported Gitmo intelligence files quoted by

  terrorism experts Bill Roggio and Thomas Joscelyn (Al-Qaeda-Taliban Connection, supra), one

  detainee, Abdul Razak, was a “high-level military commander in a newly-conceived

  ‘unification’ of Al Qaeda, [Hezb-e-Islami Gulbuddin (“HIG”),] and Taliban forces within

  Afghanistan,” which the leaders of the respective terrorist groups “envisioned [as a] new

  coalition of HIG, Al Qaeda, and Taliban during a meeting in Pakistan in early spring 2003.”.

  Another purported detainee file quoted by Messrs. Roggio and Joscelyn concerning Haroon al

  Afghani, a dual-hatted al-Qaeda/HIG terrorist, contained the following intelligence report:

         [Afghani] is assessed to have attended a joint operations meeting among extremist
         elements in mid-2006. A letter describing an 11 August 2006 meeting between
         commanders of the Taliban, al Qaeda, [Lashkar e Taiba], . . . and the Islamic Party
         (probably a reference to the HIG), disclosed that the groups decided to increase terrorist
         operations in the Kapisa, Kunar, Laghman, and Nangarhar provinces, including suicide
         bombings, mines, and assassinations. (Id.)

         199.    Taken together, these reports “demonstrate a high degree of collusion between al

  Qaeda and other terrorist groups” as part of a “jihadist hydra” that shares the “common goal” of

  seeking to “drive the U.S.-led coalition out of Afghanistan.” Id. One al-Qaeda operative, whom

  U.S. officials characterized as “an important al-Qaida planner and explosives expert,” Ghazwan

  al-Yemeni, trained Taliban members in Pakistan. He eventually helped plan the December 30,

  2009 attack on Camp Chapman that killed seven Americans.

         200.    Al-Qaeda doctrine emphasized the development and deployment of dual- or even

  triple-hatted terrorists, whom counter-terror and counter-narcotics professionals describe as


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  “polyterrorists” (or “poly-traffickers”). Al-Qaeda fashioned itself into a multinational

  corporation for Islamist terrorists, and therefore embraced an aggressive expansion strategy in

  the late 1990s, which accelerated even more after 9/11, in which al-Qaeda scaled up by making

  other terrorist groups into its new partners. Al-Qaeda’s doctrines concerning cooperation with

  other jihadists and the need for interoperability substantially mirrors that of Hezbollah, the Qods

  Force, and Regular IRGC. As a result, al-Qaeda, and its star pupil, the Taliban, often relied upon

  joint cell tactics to carry out their most spectacular attacks.

          201.    Al-Qaeda terrorists also regularly attacked U.S. forces alongside Taliban

  terrorists, including in some of the attacks that killed or injured Americans. For example, in the

  early 2000s, al-Qaeda’s third-ranking member participated in attacks on Americans in

  Afghanistan alongside Taliban terrorists under the command of Sirajuddin Haqqani. As another

  example, on July 13, 2008, Taliban and al-Qaeda members jointly attacked a U.S.-Afghan

  outpost in Nuristan Province. Nine NATO ISAF (International Security Force Afghanistan)

  soldiers were killed in the attack.

          202.    In 2010, a terrorism scholar warned against drawing a bright line between al-

  Qaeda and the Afghan terrorist groups that it sponsored. In explaining the importance of

  “recogniz[ing] the link between al Qa’ida and Afghan insurgent groups,” he observed that a

  “policy focused on targeting al-Qa’ida – and not the Taliban, Haqqani Network, or other groups

  – would ignore one of the most egregious lessons from September 11.” 47




  47
   Seth G. Jones, In the Graveyard of Empires: America’s War in Afghanistan at 332 (W.W.
  Norton & Co. 2010) (“Graveyard of Empires”).
                                                    60
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            203.    The U.S. government agreed. During the relevant timeframe, the U.S.

  government repeatedly stated that al-Qaeda and the Taliban acted together in a terrorist

  “syndicate,” and warned against efforts to distinguish between them. Examples include:

  (i)       Secretary of State Hillary Clinton, July 2009: “[A]l-Qaeda is supported by and uses its
            extremist allies like … the Taliban . . . to be proxies for a lot of its attacks . . . So the
            Taliban . . . [is] part of a kind of terrorist syndicate with al-Qaeda at the center[.]” 48
  (ii)      Secretary of State Hillary Clinton, December 2009: “[W]e have increasingly come to see
            these organizations not as separate independent operators that occasionally cooperate
            with one another, but as part of a syndicate of terrorism. . . . .And at the head of the table,
            like an old Mafia kind of diagram, sits al Qaeda.” 49
  (iii)     Secretary of Defense Robert Gates, January 2010: “Defense Secretary Robert M. Gates
            said yesterday that Al Qaeda was using proxy terrorist groups to orchestrate attacks in . . .
            Afghanistan as part of a broader strategy to destabilize the region. In a news conference
            … Gates said Al Qaeda had formed a ‘syndicate’ of terrorist groups with Taliban factions
            in Afghanistan and Pakistan . . . . US intelligence officials have said that jihadi groups in
            the region are cooperating more closely than ever . . . Gates said all of the factions were
            working under the umbrella of Al Qaeda.” 50
  (iv)      Secretary of Defense Robert Gates, May 2010: “The other concern we have . . . is the
            creation of the syndicate of terrorist organizations that are working with each other, al
            Qaeda, the Taliban in Pakistan, the Taliban in Afghanistan, the Haqqani Network. There
            are five or six of these groups that are now really working together and a success for one
            is a success for all.”” 51
  (v)       Under Secretary of Defense Michele Flournoy, April 2011: “We view al Qaeda,
            Haqqani, the Taliban, these are all part of a syndicate of groups that help each other.” 52

            204.    Al-Qaeda’s interdependence and joint venture with its affiliates in Afghanistan

  and Pakistan continued throughout the period in which Plaintiffs were killed and injured. As two

  journalists noted in 2016, the U.S. military’s relative success against al-Qaeda neither eliminated


  48
       Sec. of State Hillary Clinton, NBC News: Meet the Press (July 26, 2009).
  49
       S. Hr’g 111-479, at 24.
  50
    Gates Casts Qaeda As Terror Syndicate, Wash. Post (Jan. 21, 2010), 2010 WLNR 1263055
  (“Gates Casts Qaeda As Terror Syndicate”).
  51
    John King Presents: Full Interview with Secretary of Defense Robert Gates, CNN (May 8,
  2010), 2010 WLNR 27823364.
  52
    Hindustan Times, Pakistan Must Meet Certain Expectations on Counter-Terrorism (Apr. 22,
  2011).
                                                      61
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  al-Qaeda nor broke apart its Syndicate: Afghanistan’s southern and eastern provinces remained

  a “hub of Afghan insurgents and [the] al-Qaeda-led terrorist syndicate.” 53 Similarly, as two

  terrorism scholars explained in a 2018 book, “[t]he Taliban still retain[ed] a close alliance with

  al-Qaeda,” which represented “the worst possible scenario for terrorism.” 54

         205.    Today, Afghanistan is a safe haven for al-Qaeda under the control of the “Islamic

  Emirate of Afghanistan.” The Taliban promised U.S. negotiators that they would sever their

  alliance with al-Qaeda and kick them out of Afghanistan. That was a lie, and they have done the

  exact opposite since their victory. Indeed, al-Qaeda’s continuing fusion with the Taliban, was

  amply demonstrated after the fall of the U.S.-allied government there to the terrorists, when a

  litany of high-level al-Qaeda terrorists publicly traveled back to their ancestral haunts in

  Afghanistan, media retinue in tow, for the “conquering hero” photo-op.

                 2.      Sirajuddin Haqqani (Al-Qaeda and Taliban)

         206.    From 9/11 through today, al-Qaeda’s terrorist enterprise benefited from al-Qaeda

  operatives who were “polyterrorists,” i.e., al-Qaeda terrorist operatives who also simultaneously

  served as a terrorist operative for one or more al-Qaeda affiliates. By design, al-Qaeda

  operatives were often members of other Pakistan-based al-Qaeda affiliates, most commonly, the

  Haqqani Network and Lashkar-e-Taiba. Typically, al-Qaeda’s and the Haqqani Network’s




  53
   Ayaz Ahmed & Dr. Faisal Javed, Pakistan And SCO: Opportunities for Pakistan, Asian
  Defence J. (Aug. 31, 2016), 2016 WLNR 25890108.
  54
    Walter Laquer and Christopher Wall, The Future of Terrorism 153 (St. Martin’s Press 2018)
  (“Laquer and Wall, Future of Terrorism”).
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  polyterrorist operatives or agents served the Syndicate’s transnational terrorist activities in

  support of the attack campaign against Americans in Afghanistan. 55

         207.    Since the mid-2000s, Sirajuddin Haqqani was – and remains today – the signal

  example of an al-Qaeda “polyterrorist” operative who killed Americans. Sirajuddin Haqqani

  was the son of bin-Laden’s long-standing ally, mentor, and protector, Jalaluddin Haqqani. By

  2008, Sirajuddin Haqqani was simultaneously: (1) a senior al-Qaeda operative, leader, and

  attack planner, who served as the most important member of al-Qaeda’s military council

  (essentially, its terrorist planning committee); (2) the Haqqani Network’s top operative, attack

  planner, and leader; and (3) a senior leader of the Quetta Shura Taliban, which would eventually

  make him its number two leader (Deputy Emir). See, e.g., Cabrera at *Sirajuddin’s unparalleled

  biography and personal networks made him the hub of al-Qaeda and Taliban terror.

         208.    On February 29, 2008, the U.S. State Department designated Sirajuddin Haqqani

  a SDGT for “acts of terrorism that threaten the security of U.S. nationals or the national security,

  foreign policy, or economy of the United States” and the U.S. Congress specifically identified

  Sirajuddin Haqqani as “the overall leader of the Haqqani Network as well as the leader of the

  Taliban’s Mira shah Regional Military Shura” in 2012. 56




  55
    See, e.g., Juan C. Zarate, Treasury’s War: The Unleashing of a New Era of Financial Warfare
  41 (Public Affairs 2013) (Treasury’s [counter-terror] strategy … aimed at targeting networks of
  key financial actors and nodes in the terrorist support system. The point was … to make it
  harder for individuals who were financing terrorists to access the formal financial system. Our
  analyses therefore focused on the networks of actors and institutions providing the financial
  backbone to terrorist enterprises. Interestingly, we found that there were all-purpose financiers
  who would give to multiple causes—'polyterror’ supporters.”) (“Zarate, Treasury’s War”).
  56
    Public Notice, In the Matter of the Designation of Sirajuddin Haqqani, aka Sirajuddin Haqani,
  aka Siraj Haqqani, aka Siraj Haqani, aka Saraj Haqqani, aka Saraj Haqani, as a Specially
  Designated Global Terrorist Pursuant to Section 1(b) of Executive Order 13224, as Amended, 73
  Fed. Reg. 12,499 (Mar. 7, 2008); Pub. L. 112-168, 126 Stat. 1299, § 2(a)(8) (Aug. 10, 2012).
                                                   63
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         209.    When the U.S. Treasury Department designated Sirajuddin Haqqani’s uncle

  Khalil Al-Rahman Haqqani as a SDGT, it noted that he “has also acted on behalf of al-Qa’ida

  and has been linked to al-Qa’ida military operations.” 57 The Treasury Department likewise has

  repeatedly recognized links between Haqqani Network leaders and al-Qaeda.

         210.    Sirajuddin Haqqani facilitated al-Qaeda members’ efforts to join and fight with

  the Haqqani Network and the rest of the Taliban. According to U.S. intelligence officers,

  Sirajuddin Haqqani acts as a member of al-Qaeda’s military council. U.S. officials have

  described him as al-Qaeda’s top facilitator in Afghanistan.

         211.    Other than Osama bin Laden, Sirajuddin Haqqani was the single most important

  al-Qaeda leader since 9/11. By joining al-Qaeda management, Sirajuddin achieved a level of

  interoperability and cohesion between al-Qaeda and the Taliban that greatly magnified the

  lethality of the terrorists’ campaign.

         212.    Sirajuddin Haqqani was also, like his father Jalaluddin Haqqani, famous for his

  pragmatism in defense of his extremism. Sirajuddin was willing to do deals and make trades

  with people, groups, and governments whom he might otherwise wish to kill—provided the deal

  in question made it more likely that al-Qaeda and the Taliban could kill Americans in

  Afghanistan.

         213.    Sirajuddin Haqqani was the most important transnational Syndicate leader and

  played a vital role in harmonizing the various strategies and tactics, as well as promoting

  network efficiencies. Thus, for example, if a Qods Force “security” operative needed secure




  57
     Press Release, U.S. Dep’t of Treasury, Treasury Targets the Financial and Support Networks
  of Al Qa’ida and the Taliban, Haqqani Network Leadership (Feb. 9, 2011).
                                                  64
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  travel into Paktika Province (a Haqqani Network stronghold), the Qods Force terrorist could

  contact someone from the Haqqani clan and make the necessary arrangements.

          214.   When Plaintiffs were attacked, Sirajuddin Haqqani, and the al-Qaeda and Taliban

  organizations he led, promoted deep cooperation amongst al-Qaeda, the Taliban (including its

  Haqqani Network), and the IRGC (including Hezbollah and the Qods Force).

          215.   When Plaintiffs were injured between 2012 and 2017, Sirajuddin Haqqani served

  as the top Syndicate “polyterrorist” responsible for coordinating key transnational-facing aspects

  of the Syndicate’s terrorist campaign in Afghanistan and, in coordinating with other al-Qaeda

  and al-Qaeda affiliate terrorists. Each of the below attack campaigns or types constituted an act

  of international terrorism committed by al-Qaeda and the Taliban (including its Haqqani

  Network) that was aided by Hezbollah, the Qods Force, and Regular IRGC.

  (i)     Kabul Attack Network Attacks. Sirajuddin Haqqani planned and authorized the
          Syndicate attacks that targeted Kabul – which Sirajuddin personally viewed as a tactical
          priority – that were committed by joint al-Qaeda/Taliban (including Haqqani
          Network)/Lashkar-e-Taiba cells known as the Kabul Attack Network, including such
          joint cell’s IED and suicide bomb attacks in Kabul and the surrounding provinces.

  (ii)    Fertilizer Bomb Attacks. Alongside al-Qaeda, Sirajuddin Haqqani planned and
          authorized al-Qaeda’s fertilizer bomb campaign, including, but not limited to, al-Qaeda’s
          and the Haqqani Network’s strategies to: (a) source fertilizer; (b) purchase and transport
          fertilizer; (c) operate al-Qaeda bombmaking factories at Sirajuddin’s personal network of
          joint al-Qaeda-Haqqani Network terrorist camps in Pakistan; and (d) deploy fertilizer
          bombs as IEDs and suicide bombs to attack Americans in Afghanistan.

  (iii)   Suicide Bomber Attacks. Sirajuddin Haqqani planned and authorized al-Qaeda’s
          suicide bombing campaign, including, but not limited to, its and the Haqqani Network’s
          shared strategy for: (a) planning the targets for suicide bomber attacks in Afghanistan;
          (b) sourcing suicide bombers through al-Qaeda’s and the Haqqani Network’s long-
          standing allies, Lashkar-e-Taiba and Jaish-e-Mohammed; and (c) coordinating the
          “suicide bomber infrastructure” of camps, madrassas, ratlines, and safehouses, which
          relied heavily upon al-Qaeda and Haqqani Network resources and polyterrorists.

  (iv)    Kidnapping Attacks. Sirajuddin Haqqani planned and authorized kidnappings in Kabul.




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  (v)      Transnational Terrorist Finance and Logistics. Sirajuddin Haqqani planned and
           authorized al-Qaeda’s and the Taliban’s, including its Haqqani Network’s, transnational
           terrorist logistics, including, but not limited to: (a) al-Qaeda and the Taliban’s
           transnational rackets necessary to the success of their: (1) criminal funding efforts, (e.g.,
           money laundering, protection rackets, and tax fraud); (2) fundraising and money
           movement, e.g., diaspora donations, banking relationships; (3) “tax” collection from the
           criminal underworld of their diaspora globally, e.g., logistics, communications in the
           U.A.E., Pakistan, Afghanistan, and Europe; and (b) al-Qaeda’s and the Haqqani
           Network’s transnational-operations and activities in Afghanistan, Pakistan, and the
           U.A.E. as they relate to smuggling or logistics, both of which have always ranked as top
           Haqqani Network specialties.

  (vi)     Coordination Between FTOs. Sirajuddin Haqqani led two FTOs (al-Qaeda and the
           Haqqani Network) and was responsible for, or supervised those who were responsible for
           (like his brother Anas) managing al-Qaeda’s and the Taliban’s (including its Haqqani
           Network’s) relationships with a broad international alliance of allied terrorists, including,
           but not limited to: (a) Hezbollah, the Qods Force, and Regular IRGC; (b) the Pakistani
           Taliban, a member of the Syndicate; (c) Lashkar-e-Taiba, a member of the Syndicate; and
           (d) Jaish-e-Mohammed, a member of the Syndicate.

           216.    For more than a decade, and continuing through to today, Sirajuddin Haqqani was

  wanted by the FBI for his involvement in numerous acts of terror against Americans (he still is).

           217.    On February 20, 2020, the New York Times shamefully published a propaganda

  op-ed authored by Siraj titled “What We, the Taliban, Want.” 58.

           218.    Along with his brothers, who were also (and remain) key Haqqani Network

  leaders, as well as al-Qaeda operatives and/or agents, Sirajuddin Haqqani personally spearheaded

  the terrorists’ successful campaign on Kabul in August 2021. Today, Sirajuddin Haqqani serves

  as the terrorist who is responsible for the “Islamic Emirate of Afghanistan’s” borders and guns,

  while his brothers have responsibilities relevant to intelligence and information.

                   3.     The Taliban

           219.    The Taliban is a Sunni Islamist terrorist organization comprised originally of

  former mujahideen fighters who had expelled the Soviet Union from Afghanistan. The Haqqani



  58
       Sirajuddin Haqqani, What We, the Taliban, Want, N.Y. Times (Feb. 20, 2020).
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  Network is the most radical part of the Taliban. While Plaintiffs address each separately, they

  are part of the same organization (i.e., the Taliban). Cabrera at *8.

            220.   On July 3, 2002, the U.S. designated the Taliban and leader Omar as SDGTs.

  President Bush found that these designations guarded against “grave acts of terrorism and threats

  of terrorism committed by foreign terrorists.”

            221.   On December 26, 2007, Congress enacted a law declaring that, for purposes of

  “section 212(a)(3)(B) of the Immigration and Nationality Act, . . . the Taliban shall be

  considered to be a terrorist organization.” 59 As a State Department official explained, the U.S.

  government treats the Taliban “as a Foreign Terrorist Organization for immigration purposes.” 60

            222.   At all relevant times, the U.S. government viewed the Taliban as a terrorist group,

  not as the legitimate armed force of any nation.

            223.   The Taliban’s principal goal has long been to expel Americans from the country

  and undermine the democratically elected government of Afghanistan. To that end, the Taliban

  attacked U.S. forces from 2001 through 2020, and achieved its objective in 2021.

            224.   The Taliban used threats of terrorist violence to extract protection money from

  international companies doing business in Afghanistan. Such threats were particularly frequent

  in (though not limited to) geographic areas of Taliban control. By 2006, the Taliban had

  achieved control of wide swaths of southern and eastern Afghanistan, and by 2009 it had

  installed “shadow” governments in 33 of Afghanistan’s 34 provinces. It leveraged that control

  into protection payments. As an anticorruption investigator working for the U.S. House of

  Representatives explained in 2010, it was “long-standing business practice within Afghanistan to


  59
       Consolidated Appropriations Act of 2007, § 691(d), Pub. L. No. 110-161.
  60
   U.S. Dep’t of State, Senior Administration Officials on the Terrorist Designation of the
  Haqqani Network (Sept. 7, 2012).
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  use your control of the security environment in order to extort payment from those who want to

  operate within your space, whether it’s construction of a cellphone tower, a dam, or running

  trucks.” 61 The Taliban perfected that practice by threatening contractors’ businesses until (and

  sometimes even after) they met the terrorists’ financial demands.

             225.   The Taliban’s threats presented companies with a choice: alert the government

  and seek the U.S. military’s assistance while investing in legitimate security to protect their

  projects, or instead save time and money by paying the Taliban to direct its attacks elsewhere.

  One American executive whose company conducted business in Afghanistan described the

  decision as “ ‘whether you’d rather pay $1,000’ for Afghans to safely deliver a truck, even if part

  of the money goes to the insurgents, or pay 10 times that much for security provided by the U.S.

  military or contractors.” 62 Companies, including Defendants, typically chose the former option.

  The owner of one logistics subcontractor described the prevailing mentality: “ ‘I pay the Taliban

  not to attack my goods, and I don’t care what they do with the money,’ he said laughing. ‘If you

  don’t, the next day your property is attacked and destroyed.’ ” 63

             226.   Companies, including Defendants, rationalized their payments to the Taliban by

  framing them as a necessary cost of business. But the payments were unnecessary – even from

  the standpoint of Defendants’ own security needs – and counterproductive. In reality, they chose

  to pay not because of any reconstruction imperative, but because it served their financial

  interests. As an adviser to the Afghan Interior Ministry explained, “the costs of enabling the




  61
    Karen DeYoung, Afghan Corruption: How To Follow The Money?, Wash. Post (Mar. 29,
  2010) (“Afghan Corruption”), 2010 WLNR 26719956.
  62
       Id.
  63
    Hamid Shalizi, Afghan Firms Said To Pay Off Taliban With Foreign Cash, Reuters (Oct. 13,
  2010) (“Afghan Firms Pay Off Taliban”).
                                                   68
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  Taliban’s protection racket outweigh the benefits of any reconstruction that might come out of

  it.” 64 He noted that “it might be more convenient to pay off the Taliban, and it might be faster,”

  but it “both prolongs the war and feeds criminality, which in turn turns more people against the

  government.” 65 By diverting money to insurgents, the payments lowered the projects’ quality

  and undermined whatever counterinsurgency benefits they might have otherwise delivered.

            227.    The Haqqani Network is a Sunni Islamist terrorist organization that has been

  operating in Afghanistan since the 1970s. It was founded by Jalaluddin Haqqani and is now led

  by his son, Sirajuddin Haqqani. The Haqqani Network is a member of the Syndicate, has been a

  part of the Taliban for decades, and is closely allied and interdependent with al-Qaeda.

            228.    On September 19, 2012, the U.S. State Department designated the Haqqani

  Network as an FTO.

            229.    The U.S. designated multiple Haqqani leaders as SDGTs. As previously

  mentioned, the U.S. designated Sirajuddin Haqqani as an SDGT in 2008 and, in 2010 and 2011,

  followed up by designating three other Haqqanis—Nasiruddin, Khalil Al-Rahman, and

  Badruddin—as fundraisers and commanders of the Haqqani Network. By February 2014, the

  U.S. had designated fourteen leaders in the Haqqani Network under Executive Order 13224.

            230.    The Haqqani Network was especially active in the southeastern parts of

  Afghanistan, particularly in the Paktia, Paktika, and Khost (“P2K”) Provinces. It also developed

  a significant presence in the surrounding Provinces of Kabul, Logar, Wardak, Ghazni, and Zabul.

  Because of the Haqqani Network’s longstanding tribal connections to the southeastern region of

  Afghanistan, the Taliban often acts through the Haqqani Network in those areas.


  64
    Aryn Baker, How The Taliban Thrives at 51, Time Magazine (Sept. 7, 2009) (“How The
  Taliban Thrives”).
  65
       Id. at 51.
                                                    69
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         231.    The Haqqani Network’s influence is not limited to one Afghan region. There is

  significant overlap between the broader leadership of the Taliban and the Haqqani Network.

  Sirajuddin Haqqani has been a member of the Taliban’s governing council since at least 2010.

  Since 2015, he has been the Deputy Emir of the Taliban, the Taliban’s second in command.

  Working alongside al-Qaeda, the Haqqani Network has overseen the Taliban’s terrorist attacks

  on U.S. and Coalition forces in Afghanistan. For example, after September 11, Jalaluddin

  Haqqani effectively served as the Taliban’s secretary of terrorism and planned many of the

  Taliban’s attacks on U.S. forces in the early days following the overthrow of the Taliban

  government while sheltering al-Qaeda leadership at the time.

         232.    The Haqqani Network has significant links to al-Qaeda, dating back to the 1980s

  when Osama bin Laden established a training camp for his nascent terrorist group in Haqqani-

  controlled territory. After September 11, the Haqqanis provided sanctuary to bin Laden.

         233.    The Haqqani Network’s close relationship with al-Qaeda and other terrorist

  groups has helped grow the modern terrorist Syndicate operating in Afghanistan. In furtherance

  of that goal, the Haqqani Network provides protection to al-Qaeda so that it can launch attacks in

  Afghanistan and plan acts of international terrorism abroad. Senior Haqqani Network officials

  also have publicly indicated that the Haqqani Network and al-Qaeda are one. And in July 2008,

  Jalaluddin Haqqani’s son—18-year-old Muhamman Omar Haqqani—was killed alongside a top

  al-Qaeda commander in southeast Afghanistan. The Haqqani Network also maintains training

  camps and safehouses that have been used by al-Qaeda and Taliban operatives.

         234.    The Haqqani Network ordinarily managed the Taliban’s transnational terrorist

  finance and logistics operations and often aided al-Qaeda’s as well. When doing so, the Haqqani

  Network used its network of agents, operatives, and fronts in the U.A.E. as an asset for its fellow



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  Syndicate terrorists. The Treasury Department determined that the Haqqani Network regularly

  used its transnational terrorist finance activities to fund multiple al-Qaeda-affiliated Syndicate

  members simultaneously. For example, on February 9, 2011, the Treasury Department

  designated Syndicate operatives, Said Jan Abd Al-Salam and Khalil Al-Rahman Haqqani

  (Jalaluddin’s brother), as SDGTs to “target the financial and support networks of al-Qa’ida, the

  Taliban and the Haqqani Network leadership.” 66

             235.   Along with al-Qaeda, the Haqqani Network jointly operated and conducted al-

  Qaeda’s CAN fertilizer bomb campaign in Afghanistan, and Haqqani Network agents,

  operatives, and fronts, including Haqqani Network co-conspirators Fatima and Pakarab, were

  vital to sourcing every component necessary for the Syndicate to execute its CAN fertilizer bomb

  campaign at a nationwide scale. By 2010, CAN fertilizer sourced from Pakistan was “one of the

  most coveted substances in a Taliban bomb-maker’s arsenal” and served as “the basic ingredient

  of the Taliban’s roadside bombs,” 67 and the Syndicate had developed a sophisticated end-to-end

  logistics chain for the sourcing, manufacture, and distribution of al-Qaeda CAN fertilizer bombs.

  By 2011, “U.S. military officials believe[d] the Haqqani [N]etwork” was “working closely with

  [CAN fertilizer] suppliers,” e.g.., Fatima, “to help smuggle the fertilizer across the border.” 68 By

  the time it was designated as an FTO on September 19, 2012, the Haqqani Network, working

  closely with al-Qaeda, had grown and refined the Syndicate’s CAN fertilizer bomb logistics

  chain for more than five years.




  66
       Id.
  67
   Alex Rodriguez, Bribes Keep Taliban Flush with Explosives, L.A. Times (May 8, 2010), 2010
  WLNR 9039604.
  68
    Aamer Madhani, Tensions With Pakistan Rise Over Bomb Ingredient, National Journal Daily
  (Jul. 6, 2011), 2011 WLNR 13371684.
                                                   71
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                 4.     The Kabul Attack Network

         236.    The Kabul Attack Network was an operational manifestation of the terrorist

  Syndicate led by al-Qaeda and the Taliban. Specifically, the Kabul Attack Network was a set of

  terrorist cells, which included members from each of the terrorist groups involved in the

  Syndicate and focused on attacks against targets in Kabul and extending outward into the

  provinces of Logar, Wardak, Nangarhar, Kapisa, Kunar, Ghazni, and Zabul. It was active

  around key waypoints and transit routes on the way to Kabul, including Wardak, Ghazni City,

  and areas of Logar Province.

         237.    The Kabul Attack Network’s forward deployed terrorists were drawn from joint

  cells comprised of al-Qaeda, the Taliban (including its Haqqani Network), Lashkar-e-Taiba, and

  Jaish-e-Mohammed, each of whom participated in Kabul Attack Network attacks and contributed

  personnel and resources to such attacks. For each group, the Kabul Attack Network’s attacks

  were among the most important priorities of the Syndicate’s entire terrorist campaign since 9/11,

  and thus received special focus from each Syndicate member. By the same token, funding for

  any of the involved terrorist groups contributed to the Network’s attacks.

         238.    The Kabul Attack Network was responsible for high profile and/or mass casualty

  attacks on Americans in Kabul and the surrounding areas that relied upon fertilizer bombs,

  suicide bombers, kidnappers, or insider attacks. Indeed, on January 24, 2010, the Afghan

  government accused al-Qaeda of specifically planning the Kabul Attack Network’s CAN

  fertilizer bomb attacks in Kabul, which the Syndicate delivered via IED and suicide bomb.

         239.    Sirajuddin Haqqani, the dual-hatted al-Qaeda-Taliban terrorist, planned and

  authorized every attack committed by the Kabul Attack Network, working with local

  commanders like Mullah Dawood. to execute the Kabul Attack Network’s attacks. As a result,

  the Kabul Attack Network’s attacks were planned and authorized by at least one FTO (al-
                                                  72
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  Qaeda), and after September 19, 2012, Kabul Attack Network attacks were planned and

  authorized jointly by two FTOs (al-Qaeda and the Haqqani Network). As ISAF stated in 2010,

  the “Haqqani Network [was] deeply entrenched in the Kabul Attack Network specifically with

  the facilitation of weapons and fighters into the area south of Kabul in Logar and Wardak.”

         240.    The Kabul Attack Network’s attacks were funded and logistically supported by

  al-Qaeda, the Taliban (including its Haqqani Network), Lashkar-e-Taiba, and Jaish-e-

  Mohammed access to terrorist finance in Afghanistan, Pakistan, and worldwide, including

  through their Conspiracy with Hezbollah, the Qods Force, and Regular IRGC. Thus, terrorist

  finance that flowed to any of these groups aided Kabul Attack Network attacks.

         C.      In Furtherance Of The Conspiracy, The IRGC, Including Its Hezbollah
                 Division And Qods Force, Al-Qaeda, Al-Qaeda-in-Iraq, And al-Nusra Front
                 Waged A Deadly Terrorist Campaign Against Americans In Iraq And Syria

         241.    From 2003 through 2013, the IRGC provided vital aid to al-Qaeda, including its

  branches in Iraq and Syria, to facilitate al-Qaeda’s attacks against Americans there. The IRGC’s

  aid extended directly to al-Qaeda-in-Iraq ("AQI") and its progeny, al-Nusra Front (“ANF”).

         242.    Through the “sinister genius” of IRGC terrorist mastermind Qassem Soleimani, the

  IRGC supported Sunni terrorist attacks against Americans in Iraq. This insurgency was led by a

  litany of IRGC assets, including the top two Sunni leaders of the Iraqi terrorism campaign: Saif

  al-Adel, al-Qaeda’s military chief who coordinated its campaign, including support for al-Qaeda-

  in-Iraq, from his Qods Force-provided safe haven in Iran, and Abu Musab al-Zarqawi, the al-Qaeda

  operative who led al-Qaeda-in-Iraq on the ground and co-led Ansar al-Islam with Mullah Krekar,

  another IRGC asset. Al-Qaeda, al-Qaeda-in-Iraq, and Ansar al-Islam, between them, accounted

  for essentially all Sunni terrorist attacks on Americans in Iraq from 2004 through the present, with

  AQI ultimately becoming ISIS. The thread running through all Iranian strategy was that, as one



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  analyst explained, “Iran would do everything it could to ensure that America’s experiment [in Iraq]

  turned into a smoldering failure.” 69

           243.   Throughout, it is likely that Qassem Soleimani’s support of Shiite and Sunni

  terrorists in Iraq and Syria collectively accounted for more Americans killed or injured in terrorist

  violence after 9/11 than any other single terrorist.      As Karim Sadjadpour of the Carnegie

  Endowment for International Peace explained in an interview, given Soleimani’s support for anti-

  American terror,

           That’s why you have … one, if not two, generations of American military forces
           whom if you were to ask them, who is your worst adversary in the world, the person
           you see as the greatest threat to the United States? Even when Osama bin Laden
           was living and Baghdadi [the leader of ISIS] was living, they would have still said
           Qassem Soleimani. 70

           244.   The IRGC’s multi-faceted support for Sunni terrorists in Iraq and Syria is consistent

  with bin Laden’s “grand alliance” approach to anti-American terror. In fact, bin Laden himself

  portrayed al-Qaeda as the leader of a broader coalition drawing from other terrorist organizations

  in Pakistan and Afghanistan and supported by a latticework of jihadist affiliates and allies around

  the world. 71

           245.   The IRGC’s support for multiple components of bin Laden’s “syndicate” ensured

  that its support for Sunni terrorist groups had maximum effect. Due to the mutually reinforcing

  ties between the IRGC, al-Qaeda, AQI, and ANF, support for any one benefited the others – and

  vice versa.




  69
     Karim Sadjadpour, The Sinister Genius of Qassem Soleimani, Wall St. J. (Jan. 10, 2020)
  (“Sadjadpour, Sinister Genius”).
  70
   Karim Sadjadpour, quoted in National Public Radio, ‘Throughline’: The Origins Of Iran’s Gen.
  Qassem Soleimani (Jan. 30, 2020) (“NPR, Throughline”).
  71
       The al Qaeda-Taliban Connection.
                                                   74
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         246.    The IRGC recognized those interrelationships and so spread its support across

  multiple Sunni terrorist groups targeting Americans in Iraq. In doing so, the IRGC was able to

  achieve its intended effect: wide-ranging terrorist attacks against Americans, executed mostly by

  the Sunni terrorist group AQI (inclusive of ANF), but supported by (and sometimes jointly

  committed with) other Iranian terrorist allies (e.g., AQI (inclusive of ANF) jointly committing a

  suicide bombing attack with al-Qaeda).

         247.    Like the IRGC’s use of Shiite proxies, the IRGC’s use of Sunni proxies was

  consistent with Iran’s twin strategic goals: to impose maximum terrorist violence against

  Americans in Iraq while simultaneously maintaining “plausible deniability” by reducing the public

  Iranian role inside Iraq and Syria. Rather than openly engage in armed conflict with the U.S. or

  other Coalition Forces, the IRGC usually attempted to present an Iraqi face to its efforts to

  undermine U.S. peacekeeping efforts by supporting terrorism and sectarian violence there.

         248.    From 2003 through the present, the IRGC was responsible for increasingly lethal

  attacks on U.S. forces in Iraq and Syria and, as one example, provided Sunni terrorist proxies with

  the capability to assemble explosives designed to defeat armored vehicles.

         249.    Against that backdrop, Plaintiff Matthew Schrier identify below the principal Iraqi

  and Syrian terrorist groups that committed the attack that injured him.

                 1.      Al-Qaeda

         250.    Starting in 2002, al-Qaeda and its affiliated clerics began calling for jihad against

  the United States in the event of an American invasion of Iraq. For example, al-Qaeda terrorist

  “thought leader” Abu Qatada publicly boasted to international media that al-Qaeda and its affiliates

  would launch a jihad against Americans and their Iraqi allies just as al-Qaeda had launched a

  similar jihad against America and its Afghan allies following the U.S. invasion of Afghanistan



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  after 9/11, and stated: “The growth of American tyranny … and its plan to attack Iraq and establish

  an ‘Iraqi Karzai’ will necessitate an even fiercer battle.”

            251.   Al-Qaeda’s leaders messaged to its terrorists and sympathizers that the American

  presence in Iraq was an American “plot” to kickstart a religious war between Sunnis and Shiites

  to divide the Muslim world so that the “Crusaders” (the United States) and “Jews” (Israel) could

  divide and conquer it.

            252.   Following the U.S. invasion of Iraq, al-Qaeda escalated its support for the Sunni

  terrorist insurgency in Iraq from its safe havens in Iran, Afghanistan, and Pakistan. For example,

  on March 24, 2004, an al-Qaeda spokesman issued a call for Muslims “to take part in jihad against

  the United States in Iraq.” Demonstrating how the Sunni groups worked together on their shared

  jihad against Americans in Iraq, Ansar al-Islam’s website widely repeated al-Qaeda’s message.

            253.   By the mid-2000s, al-Qaeda’s partnership with the Haqqani Network – a part of the

  Taliban that was a long-standing ally of al-Qaeda in Pakistan and Afghanistan, and that also

  received material support from Iran – had facilitated the emergence of a network of al-Qaeda

  training camps in North Waziristan, Pakistan, near the Afghan-Pakistan border, less than a week’s

  overland travel to Iran. According to a declassified 2008 Defense Intelligence Agency intelligence

  report:

            [Sirajuddin] Haqqani is also affiliated with the several foreign fighter (ff) training
            facilities that are controlled by or associated with al Qaeda (AQ) in North
            Waziristan. . . . A list and brief description of each facility follows . . .

            Mohammad Taher ((Yuldashov)), leader of the Islamic Movement of Uzbekistan
            (IMU), and his 60 bodyguards are staying at an AQ training center in Miram Shah
            Dand.

            There is an al-Qaeda training center located at the Miskeen and Khaisur in Miram
            Shah. Approximately 45 U/I Arabs and Uzbeks receive training there.




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         An AQ training facility called “Shaki Massod” is located in Miram Shah and over
         200 AQ members (NFI) reside there; Usama bin Laden has been seen in this center
         (NFI).

         Another AQ training facility is located at Spin-Qamar in Masood District of
         Northern Waziristan. Over 80 Arabs receive training there (NFI). 72

         254.    Al-Qaeda also established multiple training camps within Afghanistan reportedly

  “hosted by the Taliban.” 73 One such camp covered nearly 30 square miles and contained heavy

  weapons, IED-making material, anti-aircraft weapons, rocket-propelled grenade systems, machine

  guns, pistols, rifles, and ammunition. Al-Qaeda used these camps, in part, to help run what

  amounted to a “continuing education” program for senior terrorist commanders and operatives that

  provided instruction in the above-described al-Qaeda camps in Afghanistan and Pakistan for

  operations against Americans in Iraq.

         255.    Al-Qaeda forward deployed a significant number of operatives and planners into

  Iraq, who were often dual-hatted terrorists who served as members of both al-Qaeda and al-Qaeda-

  in-Iraq. Most famously, Zarqawi was a dual-member, serving as both a member of al-Qaeda as

  well as the founder and leader of al-Qaeda-in-Iraq. Al-Qaeda-forward-deployed terrorists in Iraq

  were essential force multipliers for al-Qaeda-in-Iraq’s terrorist campaign against Americans there.

  Al-Qaeda operatives served in a similar role as American Green Berets, helping to “train the

  trainer” and scale up AQI’s terrorist capabilities.

         256.    Through al-Qaeda’s use of training camps in Afghanistan and Pakistan – which al-

  Qaeda, al-Qaeda-in-Iraq, and al-Nusra Front all accessed through the terrorist land bridge provided



  72
    Defense Intelligence Agency, Location and Activities of the Training Centers Affiliated with the
  Haqqani Network, Taliban, and al-Qaeda in Northern Waziristan and Future Plans and Activities
  of Sarajuddin ((Haqqani)), Intelligence Information Report (Apr. 16, 2008).
  73
    Thomas Joscelyn and Bill Roggio, Trump’s Bad Deal With The Taliban, Politico (Mar. 18,
  2019).
                                                   77
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  by the IRGC – terrorists from all three groups obtained the training, technical expertise, and

  indoctrination essential to executing the signature al-Qaeda attack types used by all three groups

  in Iraq, including suicide bombings, improvised explosive devices (or “IEDs”) derived from

  fertilizer, and attacks against helicopters. Al-Qaeda thus helped its Iraqi and Syrian branches,

  including al-Qaeda-in-Iraq and al-Nusra Front, bring its signature tactics to the Iraqi and Syrian

  theaters. They proved highly effective at countering American defenses.

         257.    Al-Qaeda training and expertise, in combination with that of the IRGC, was also

  essential to the successful adaptation of sophisticated IED types and attack strategies by Sunni

  terrorists in Iraq and Syria. Al-Qaeda developed sophisticated techniques for refining fertilizer

  into ammonium nitrate, marrying the ammonium nitrate with a lethal triggering device and

  delivery system, and training terrorists how to move, deploy, and maximize the lethality of the

  resulting fertilizer bombs, which were delivered via IED or suicide bomber. As Senator Charles

  Schumer stated in 2004, “truck bombs using [calcium ammonium nitrate (“CAN”) fertilizer] are

  the weapon of choice of al-Qaida.”

         258.    At all relevant times, al-Qaeda was the world leader amongst Sunni terrorist groups

  with respect to building sophisticated bombs, including through the process of converting CAN

  fertilizer into bombs to attack Western targets, having used the technique in every major area of

  operations for al-Qaeda-affiliated terrorists since 9/11, including, but not limited to, attacks in

  Indonesia, Turkey, Syria, Yemen, Iraq, Afghanistan, and Pakistan. After 9/11, al-Qaeda supported

  fertilizer-based bomb strategies in every theater in which it engaged in terrorist attacks against

  America and its allies. As one journalist wrote in 2007, “[i]n the new age of Islamist terrorism,




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  [CAN] fertilizer packed into a truck with plastic explosive as a detonator has also become an al

  Qaida trademark.” 74

         259.    Al-Qaeda regularly instructed terrorist operatives from its Iraqi affiliates, in

  person (at camps in Afghanistan, Pakistan, and Iran) and in writing, regarding CAN fertilizer

  bombs. For example, a 39-page al-Qaeda memo recovered from an al-Qaeda laptop in Pakistan

  in 2004 instructed that military explosives were often impractical to acquire, and instructed

  jihadists to instead use home-made explosives, including ammonium nitrate bombs derived from

  CAN fertilizer.

                 2.      Al-Qaeda-In-Iraq, Including Al-Nusra Front

         260.    The origins of AQI and ANF trace to Abu Musab al-Zarqawi, a Jordanian terrorist

  who created a training camp in Afghanistan at Osama bin Laden’s invitation. By the time of the

  September 11, 2001 terrorist attacks, Zarqawi had trained several thousand terrorists and

  established a terrorist network in Iraq, Syria, and other countries in the Middle East.

         261.    On or about October 15, 2004, the Secretary of State designated the Zarqawi

  terrorist network as a Foreign Terrorist Organization (“FTO”) under 8 U.S.C. § 1189, under the

  name Jama’at al-Tawhid wa’al-Jihad. 75 On or about the same day, the Secretary of State also




  74
    David Barrett, Deadly Fertiliser Bombs Used By Terrorists Worldwide, Press Association News
  (Apr. 30, 2007).

  Designation of Jam’at al Tawhid wa’al-Jihad, Also Known as the Monotheism and Jihad Group,
  Also Known as the al-Zarqawi Network, Also Known as al-Tawhid, as a Foreign
  Terrorist Organization Pursuant to Section 219 of the Immigration and Nationality Act, 69 Fed.
  Reg. 61,292, 61,292 (Oct. 15, 2004).

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  designated Jama’at al-Tawhid wa’al-Jihad under Executive Order No. 13,224 as a Specially

  Designated Global Terrorist (“SDGT”). 76

          262.    In or around October 2004, Zarqawi formally pledged allegiance to al-Qaeda and

  renamed his terrorist network al-Qaeda in Iraq (“AQI”). By then, Zarqawi and his organization

  were among the most prominent terrorists attacking Americans in Iraq and elsewhere.

          263.    On December 17, 2004, the U.S. government designated al-Qaeda-in-Iraq as a

  Foreign Terrorist Organization, which designation it has maintained ever since.

          264.    A U.S. airstrike killed Zarqawi in June 2006. But AQI continued after his death

  as a formidable terrorist group waging a violent campaign against the United States. In 2010, a

  new AQI leader – Abu Bakr al-Baghdadi – took control of the AQI terrorist network. Baghdadi

  eventually became “the world’s most-wanted terrorist chieftain,” with the U.S. government at

  one point offering a record-breaking $25 million bounty for his capture.

          265.    In early 2011, shortly after Baghdadi’s emergence, Syria spiraled into civil war.

  Many terrorist groups and other armed factions began vying for power, precipitating a near-total

  breakdown in Syrian governance and other civil institutions. In August 2011, the U.N. High

  Commissioner for Human Rights reported “a pattern of widespread or systematic human rights

  violations by Syrian security and military forces, including murder, enforced disappearances,

  torture, deprivation of liberty, and persecution.” 77



  76
     Determination Pursuant to Section 1(b) of Executive Order 13224 Relating to the Designation
  of Jam’at al Tawhid wa’al-Jihad, Also Known as the Monotheism and Jihad Group, Also Known
  as the al-Zarqawi Network, Also Known as al-Tawhid, 69 Fed. Reg. 61,292, 61,292 (Oct. 15,
  2004).
  77
     Statement by Ms. Navi Pillay, UN High Commissioner for Human Rights to the Human
  Rights Council 17th Special Session on “Situation of human rights in the Syrian Arab Republic”
  in Geneva (Aug. 22, 2011), https://www.ohchr.org/en/statements/2011/08/statement-ms-navi-
  pillay-un-high-commissioner-human-rights-human-rights-council?LangID=E&NewsID=11321.

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             266.    In late 2011, sensing the opportunity amid the chaos, Baghdadi sent an AQI

  operative, named Abu Muhammad al-Julani (also spelled al-Jawlani), to establish an AQI branch

  in Syria. The resulting Syrian branch was called the al-Nusrah Front (“ANF”), which Baghdadi

  and Julani formed officially in January 2012.

             267.    By the end of 2012, the U.S. government recognized ANF as AQI’s Syrian

  branch. In December 2012, the Secretary of State amended the FTO designation for AQI to

  include the following aliases: al-Nusrah Front, Jabhat al-Nusrah, Jabhet al-Nusra, The Victory

  Front, and Al-Nusrah Front for the People of the Levant. 78 At the time, the State Department

  reported that ANF had already claimed responsibility for nearly 600 terrorist attacks throughout

  Syria. The State Department characterized ANF as carrying out AQI’s campaign to “hijack the

  struggles of the Syrian people for its own malign purposes.” 79

             268.    At all times, al-Qaeda-in-Iraq carried out al-Qaeda’s agenda in Iraq with ruthless

  efficiency. Using al-Qaeda’s personnel (including Zarqawi), money, expertise, and training

  infrastructure, al-Qaeda-in-Iraq consolidated essentially all non-Kurdish Sunni terrorists in Iraq

  under one banner, led by Zarqawi and his followers.

             269.    Al-Qaeda and al-Qaeda-in-Iraq worked closely with one another to execute a

  comprehensive campaign of terrorism against Americans serving in Sunni strongholds in Iraq,

  including, but not limited to, Ramadi, Falluja, Mosul, and other geographies where al-Qaeda and

  al-Qaeda-in-Iraq had a monopoly on anti-American terror. In so doing al-Qaeda and al-Qaeda-in-

  Iraq aggressively pursued every signature al-Qaeda attack type: suicide bombings, IED attacks,

  attacks against helicopters, kidnappings, sniper attacks, and complex attacks.



      78
           Amendment of the Designation of al-Qa’ida in Iraq, 77 Fed. Reg. 73,732, 73,732 (Dec. 11, 2012).
      79
        Victoria Nuland, Terrorist Designations of the al-Nusrah Front as an Alias for al-Qa’ida in Iraq (Dec. 11,
  2012), https://2009-2017.state.gov/r/pa/prs/ps/2012/12/201759.htm.

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            270.   Even after being rebranded as the ISIS, the group formally known as al-Qaeda-in-

  Iraq continued to be an al-Qaeda affiliate until on or about 2014, when al-Qaeda and ISIS formally

  separated.

                   3.     The IRGC’s, Including Its Hezbollah Division’s And Qods Force’s,
                          Aid to Al-Qaeda, Al-Qaeda-in-Iraq, And Al-Nusra Front Facilitated
                          Attacks Against Americans In Iraq in Syria, Including Plaintiff
                          Matthew Schrier

            271.   Iran has supported a broad coalition of anti-American terrorists in the countries

  bordering it, Iraq and Afghanistan, including virtually every prominent Shiite and Sunni terrorist

  group that has operated in Iraq since the fall of Saddam. Until his death on January 2, 2020,

  Qassem Soleimani masterminded Iran’s support for both Shiite and Sunni Anti-American

  terrorists, following the simple rule that any terrorist group that (a) was targeting the United States

  while (b) foregoing attacks inside Iran would (c) receive weapons, funding, training, logistical

  support, and safe havens courtesy of the IRGC, including the Qods Force. This simple calculus

  has underscored Iran’s terrorist agenda against America in the countries bordering Iran (Iraq and

  Afghanistan) for decades and continues to do so through this day.

            272.   As one scholar writing in the journal published by the Combating Terrorism Center

  at West Point summarized the evidence in 2010, “it is clear that Iran has a proven ability to

  commission violence inside Iraq. … As the unclassified Iraqi government Harmony records

  collated by the Combating Terrorism Center at West Point illustrate, the Islamic Republic of Iran

  has been in the business of sponsoring Iraqi paramilitary proxies for 30 years, practically the

  government’s entire existence.” 80




  80
       Knights, The Evolution of Iran’s Special Groups in Iraq.
                                                    82
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            273.   When U.S. forces arrived in Iraq, Iran’s nationwide terror campaign against

  Americans there was assigned to the Qods Force under the command of Soleimani, who answered

  directly to Ayatollah Khamenei.

            274.   As the Congressional Research Service reported in 2007, “DOD officials reportedly

  captured four Iranian terrorists in July 2007 who [were] accused of smuggling explosives and

  personnel from Iran into Iraq,” and “Iran [was] suspected of supplying Iraq insurgents with IEDs,

  training, and new designs and technology for explosive devices, such as ‘passive infrared’

  electronic sensors that [were] used for triggering roadside bombs” and were “more resistant to

  electromagnetic countermeasures [] employed by U.S. forces.” 81 These findings by DOD officials

  accord with the reality that “[a] constant feature of Iran’s policy for more than 20 years has been

  the importance of uninterrupted cross-border resupply for Iran’s proxies in Iraq.” 82

            275.   According to the U.S. State Department’s 2008 Country Reports on Terrorism:“The

  Qods Force, an elite branch of the [IRGC], is the regime’s primary mechanism for cultivating and

  supporting terrorists abroad. The Qods Force provided aid in the form of weapons, training, and

  funding to HAMAS and other Palestinian terrorist groups, Lebanese Hizballah, Iraq-based

  militants, and Taliban fighters in Afghanistan.” 83

            276.   The First Corps of the Qods Force, one of its four regional commands, implements

  Iran’s foreign policy in Iraq. During the relevant timeframe, the Qods Force did so largely by

  providing the Shiite and Sunni terrorists with material support for terrorist attacks in Iraq. The




  81
     Clay Wilson (Specialist in Technology and National Security), Improvised Explosive Devices
  (IEDs) in Iraq and Afghanistan: Effects and Countermeasures, CRS Report for Congress, at 3
  (Aug. 28, 2007).
  82
       Knights, The Evolution of Iran’s Special Groups in Iraq.
  83
       U.S. State Dep’t, Country Reports on Terrorism 2008 at 182-83 (Apr. 2009).
                                                   83
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  First Corps’ al-Ramazan Headquarters is based across several sites in Iran’s largest city (and

  capital), Tehran, a short trip from the border with Iraq. 84

            277.   Raids conducted in Iraq by the elite U.S. Joint Special Operations Command

  (“JSOC”) also proved that the IRGC and Qods Force directly deployed their own terrorists inside

  Iraq to help attack Americans there and to directly participate, on occasion, in attacks themselves.

  For example, in a late 2006 JSOC raid in central Iraq, U.S. forces detained Mohsen Chizari, the

  Qods Force’s head of Operations and Training, as well as the Qods Force’s station chiefs for

  Baghdad and Dubai. In another raid in northern Iraq, U.S. forces captured five Qods Force

  terrorists. To counter Iran’s malign activities in Iraq, JSOC bifurcated its terrorist task forces and

  created Task Force 16 (to hunt al-Qaeda-in-Iraq) and Task Force 17 (to hunt Shiite terrorists in

  Iraq). In so doing, JSOC personnel from Task Force 16 and Task Force 17 discovered that Sunni

  and Shiite terrorists were secretly working together. They concluded that Soleimani and the Qods

  Force helped al-Qaeda-in-Iraq based on the Iranian conclusion that any agent of chaos and murder

  in Iraq – no matter whom they were or targeted– would quicken the American exit from Iraq and

  therefore, on balance, advance their interests given their belief that the U.S. was their top enemy.

            278.   “A consistent feature of Iran’s patronage has been careful efforts to spread Tehran’s

  bets across many different horses.” 85 As set forth below, Iran afforded a comprehensive program

  of material support to Sunni terrorists targeting Americans in Iraq, as long as such groups did not

  also target Iran itself.




  84
    Joseph Felter & Brian Fishman, Iranian Strategy in Iraq, Politics and “Other Means” at 18,
  Combating Terrorism Center (Oct. 13, 2008).
  85
       Knights, The Evolution of Iran’s Special Groups in Iraq.
                                                    84
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                   i.   The IRGC, Including its Hezbollah Division and Qods Force, Provided
                        Material Support and Resources to Sunni Terrorists Targeting
                        Americans in Iraq, Including Al-Qaeda, Al-Qaeda-In-Iraq, and Ansar Al-
                        Islam to Undermine the U.S. Mission There

            279.    Through the Qods Force, and other Iranian terrorist relationships, Iran provided

  material support and resources to all prominent Sunni terrorist groups targeting Americans in Iraq,

  supporting attacks committed directly by al-Qaeda, al-Qaeda-in-Iraq, and/or Ansar al-Islam.

            280.    Although there are religious differences between the Shiite Iranian regime and the

  Sunni terrorist organizations that targeted Americans in Iraq, those differences have not deterred

  Iran from supporting Sunni terrorist activities. Iran and their Sunni terrorist partners share a core

  geopolitical aim: to inflict mass casualties on Americans in the region. Sectarian distinctions

  aside, Iran has supported and funded attacks by Sunni terrorists on U.S. and allied forces in Iraq

  to harm the United States, including al-Qaeda, al-Qaeda-in-Iraq, and Ansar al-Islam.

            281.    Soleimani was ready to work with any terrorist group that could grow Iran’s “axis

  of resistance” to the U.S., even if they were Sunnis who ordinarily opposed Iran’s Shiite theocracy.

  As Iran expert Karim Sadjadpour of the Carnegie Endowment for International Peace explained,

  “[u]nder Soleimani’s command, Iran became the only country in the region capable of harnessing

  both Shiite extremism and, at times, Sunni radicalism too.” 86

            [Soleimani’s] sinister genius in bridging sectarian divides has given Iran an
            enormous asymmetric advantage over its great Sunni Arab rival in the Gulf, Saudi
            Arabia. All Shiite extremists are willing to fight for Iran, while most Sunni
            extremists—including al Qaeda and Islamic State—want to overthrow Saudi
            Arabia, which they see as a corrupt, impious agent of the West.

            Soleimani conceived of using Sunni jihadists to fight the U.S. in much the same
            way that the U.S. used Sunni jihadists to fight the Soviet Union in Afghanistan in
            the 1980s. Iran’s Shiite theocracy has managed, at times, to cooperate tactically
            with deadly Sunni extremist groups—including the Taliban in Afghanistan and the
            Palestinian groups Hamas and Palestinian Islamic Jihad—against their common


  86
       Sadjadpour, Sinister Genius.
                                                    85
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             foes, the U.S. and Israel, even as Iran has been fighting on the front lines against
             the Sunni fanatics of Islamic state. 87

             282.   Federal judges have made similar findings. For example, in a 9/11-related case

  against Iran, the Honorable George B. Daniels of the United States District Court for the Southern

  District of New York found, as a factual matter, that:

             The well-known historical religious division between Sunnis and Shi’a did not, in
             fact, pose an insurmountable barrier to cooperation in regard to terrorist operations
             by radical Islamic leaders and terrorists. Iran, which is largely Shiite, and its
             terrorist proxy organization, Hizballah, also Shiite, entered into an alliance with al
             Qaeda, which is Sunni, to work together to conduct terrorist operations against the
             United States during the 1990s and continuing through, and after, September 11,
             2001. 88

             283.   According to Colin P. Clarke, a terrorism expert at the Soufan Center, “Iran uses

  sectarianism as a cudgel when it suits the regime, but is also willing to overlook the Sunni-Shia

  divide when it suits Iranian interests,” and therefore Iran’s assistance to al-Qaeda, al-Qaeda-in-

  Iraq, and Ansar al-Islam “would not be the first time that Iran had joined forces with Sunni

  militants, having supported Hamas, Palestinian Islamic Jihad and the Taliban.” 89

             284.   U.S. officials concurred.     As one observed during the height of the Sunni

  insurgency: “I think it stands to reason that Iran is getting something out of this as well.”

             285.   The “election” of Mahmoud Ahmadinejad in 2005 only deepened Iran’s affinity

  with Sunni extremists who shared a common hatred of America.

             286.   Consistent with the alliance between Iran, Lebanese Hezbollah, and al-Qaeda, and

  pursuing Soleimani’s terrorist vision, Iran provided material support to the three primary Sunni



  87
       Id.
  88
    In re Terrorist Attacks on Sept. 11, 2001, No. 03 MDL 1570 (GBD), 2011 WL 13244047, at
  *12 (S.D.N.Y. Dec. 22, 2011) (findings of fact).
  89
     Adam Goldman, Eric Schmitt, Farnaz Fassihi and Ronen Bergman, Al Qaeda’s No. 2, Accused
  in U.S. Embassy Attacks, Was Killed in Iran, N.Y. Times (Nov. 13, 2020).
                                                      86
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  terrorist groups that were committing attacks against Americans in Iraq: al-Qaeda, al-Qaeda-in-

  Iraq, and Ansar al-Islam. These groups committed attacks on their own, as well as in combination

  with one (or both) of the other groups. In so doing, al-Qaeda, al-Qaeda-in-Iraq, and Ansar al-Islam

  were part of a grand alliance of Sunni terrorists that targeted Americans in Iraq with the support

  of Iran.

             287.

                         ii.   Iran Provided Material Support and Resources To Al-Qaeda That
                               Established Al-Qaeda’s Capabilities Before 9/11, Prevented Al-
                               Qaeda’s Collapse After 9/11, and Ensured Al-Qaeda’s Status As
                               An Iranian Sunni Terrorist Proxy in Iraq

             288.

             289.   Iran has long provided material support and resources to al-Qaeda. The sectarian

  differences between the Shiite regime in Tehran and the Sunni al-Qaeda leadership have not

  hindered cooperation between the groups. Whatever their religious differences, both groups share

  a hatred of America and support anti-American violence.

             290.   Iran has supported al-Qaeda’s terrorist activities since the early 1990s, when Osama

  bin Laden lived in Sudan. As Judge Daniels found, “[i]n 1991 or 1992, discussions in Sudan

  between al Qaeda and Iranian operatives led to an informal agreement to cooperate in providing

  support for actions carried out primarily against Israel and the United States.” 90 “Thereafter, senior

  al Qaeda operatives and trainers traveled to Iran to receive training in explosives. Osama bin Laden

  also sent senior aides to Iran for training with the IRGC and to Lebanon for training with

  Hizballah.” 91




  90
       In re Terrorist Attacks on Sept. 11, 2001, 2011 WL 13244047, at *11 (findings of fact).
  91
       Id.
                                                     87
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            291.   “In 1993, in a meeting in Khartoum, Sudan, arranged by Ah Mohamed, a confessed

 al Qaeda terrorist and trainer now in a U.S. prison, Osama bin Laden and Ayman al Zawahiri met

 directly with Iran’s master terrorist Imad Mughniyah and Iranian officials, including IRGC

 Brigadier General Mohammad Baqr Zolqadr, a multipurpose member of the Iranian terrorist

 structure.” 92

            292.   “At the 1993 Khartoum conference, representatives of Iran, Hizballah, and al Qaeda

 worked out an alliance of joint cooperation and support on terrorism.” 93

            293.   “Imad Mughniyah convinced Osama bin Laden of the effectiveness of suicide

 bombings in driving the U.S. out of Lebanon in the 1980s, and Mughniyah became a major

 connection point between Iran and al Qaeda.” 94 “Osama bin Laden had been a guerilla fighter in

 Afghanistan and it was Mughniyah who made bin Laden into an accomplished terrorist.” 95

            294.   “The 1993 meeting in Khartoum led to an ongoing series of communications,

 training arrangements, and operations among Iran and Hizballah and al Qaeda. Osama bin Laden

 sent more terrorist operatives, including Saef al Adel (who would become number 3 in al Qaeda

 and its top ‘military’ commander), to Hizballah training camps operated by Mughniyah and the

 IRGC in Lebanon and Iran. Among other tactics, Hizballah taught bin Laden’s al Qaeda operatives

 how to bomb large buildings, and Hizballah also gave the al Qaeda operatives training in

 intelligence and security.” 96




 92
      Id. (internal citations and quotations omitted).
 93
      Id. (internal citations and quotations omitted).
 94
      Id.
 95
      Id. (internal citations and quotations omitted).
 96
      Id. (internal citations and quotations omitted).
                                                     88
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             295.   “Another al Qaeda group traveled to the Bekaa Valley in Lebanon to receive

 training in explosives from Hizballah, as well as training in intelligence and security.” 97

             296.   “Iran’s Charge d’Affaires in Khartoum, Sudan, Majid Kamal, an IRGC

 commander, coordinated the training expeditions; Kamal had performed the same function in

 Beirut, Lebanon, in the early 1980s during the formation of Hizballah.” 98

             297.   Under its alliance with al-Qaeda, Iran also regularly hosted Zawahiri during al-

 Qaeda’s formative years. As Judge Daniels previously found, “[a]s a result of the creation of this

 terrorist alliance, al Qaeda’s Ayman al Zawahiri repeatedly visited Tehran during the 1990s and

 met with officers of MOIS [Iran’s Ministry of Intelligence and Security], including chief Ali

 Fallahian, and Qods Force chief Ahmad Vahidi.” 99

             298.   “The creation of the Iran–Hizballah-al Qaeda terrorist alliance was followed by a

 string of terrorist strikes directly against the U.S. and its allies,” leading to the first World Trade

 Center attack in 1993, the Khobar Towers bombing in 1996, the African embassy bombings in

 1998, the USS Cole attack in 2000, and 9/11. 100

             299.   As a result of the foregoing, Iran was the proximate and but-for cause of al-Qaeda’s

 embrace of suicide bombing as a tactic. Qods Force and Hezbollah agents acting at Iran’s direction

 originally instructed al-Qaeda in the theological, technological, and tactical aspects of suicide

 bombing as a terrorist strategy based upon Iran’s and Hezbollah’s own successful use of suicide

 bombers during Iran’s war against Iraq and during the joint Iranian/Hezbollah terrorist campaign




 97
      Id. (internal citations and quotations omitted).
 98
      Id. at *12 (internal citations and quotations omitted).
 99
      Id. (internal citations and quotations omitted).
 100
       Id.
                                                     89
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 against Americans in Lebanon in 1983, in which Hezbollah terrorists used suicide bombers to kill

 hundreds of Americans serving in Lebanon.

           300.   When the U.S. Department of Justice indicted Osama bin Laden for the 1998

 bombings of the U.S. embassies in Kenya and Tanzania, the indictment alleged that al-Qaeda had

 “forged alliances” with “the government of Iran and its associated terrorist group Hezballah [sic]

 for the purpose of working together against their perceived common enemies in the West,

 particularly the United States.” 101 A court in this District subsequently found that Iran had caused

 the East Africa Embassy bombings by materially supporting al-Qaeda’s operations. 102

           301.   The 9/11 Commission has also confirmed that there was solid and substantial proof

 of Iran’s repeated willingness to support terrorist proxies targeting Americans in the Middle East,

 including Sunnis with whom the Iranians are normally hostile, which had been demonstrated by

 Iranian assistance to a litany of terrorists, including 9/11 hijackers. 103

           302.   After 9/11, senior al-Qaeda leadership, sheltering in Iran under the patronage and

 with the counsel of Qods Force operatives, explicitly modeled their post-9/11 organization and

 tactics on the approach of Hezbollah and the Qods Force.

           303.   While al-Qaeda was re-building itself in Iran after 9/11, the Iranians were busy

 rejecting U.S. and allied requests to stop aiding al-Qaeda. For example, on or about 2002 or 2003,

 Iran rejected a lawfully issued extradition request by the Jordanian government for Zarqawi on the




 101
    Indictment at 3, United States v. Bin Laden, No. 1:98-cr-00539-LAK (S.D.N.Y. filed Nov. 5,
 1998), Dkt. 1, available at https://fas.org/irp/news/1998/11/indict1.pdf.
 102
       See Owens v. Republic of Sudan, 826 F. Supp. 2d 128, 151 (D.D.C. 2011).
 103
    See, e.g., The 9/11 Commission Report at 60 (“[T]he evidence of Iranian involvement” in the
 June 1996 truck bomb attack against Americans in Khobar Tower in Saudi Arabia was “strong”
 and there were “also signs that al Qaeda played some role.”) (July 1, 2004); see also id. at 240-
 241 (significant Iranian transportation and logistical support for 9/11 attackers).
                                                    90
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 preposterous grounds that Zarqawi – whom the Iranians knew well – was not Jordanian but, rather,

 Syrian. Similarly, in a 2003 face-to-face meeting in Geneva, Switzerland, then-U.S. ambassador

 to Iraq Ryan Crocker implored Iranian officials to cease their support for al-Qaeda’s terrorism

 targeting Americans in the Persian Gulf, which request the Iranians refused. By then, al-Qaeda

 had demonstrated its usefulness to Iran with respect to its ability to kill Americans, and Iran was

 already sheltering and supporting al-Qaeda’s military leader, Saif al-Adel (who was also al-

 Qaeda’s manager for Zarqawi’s activities in Iraq) in his Qods Force-provided Tehran safe house.

         304.    The Iranians rebuffed U.S. outreach because they had already reached a secret deal

 with al-Qaeda. Following the 9/11 attacks on the United States and subsequent routing of Sunni

 terrorists in Afghanistan (including al-Qaeda) in late 2001, Iran met with senior al-Qaeda leaders

 who had fled Afghanistan into Iran to offer military aid to support al-Qaeda’s fight against

 America. Iran hosted these meetings for its al-Qaeda “guests” throughout 2001 and 2002. As part

 of this initial offer of support, Iran pledged to provide funds and logistical support to facilitate the

 development of terrorist activities targeting Americans in countries bordering Iran. While the

 focus at the time was on Afghanistan, all involved expected the U.S. to eventually move into Iraq

 and for their shared terrorist enterprise to follow us there.

         305.    Under this secret deal between Iran and al-Qaeda after 9/11, Iran intensified its

 material support for al-Qaeda’s terrorist campaign against Americans around the world. Through

 the secret deal between Iran and al-Qaeda and the assistance that the former provided to the latter

 thereafter, Iran was the proximate and but-for cause of al-Qaeda’s survival as a terrorist

 organization after 9/11 and the al-Qaeda linked terrorist attacks against Americans in Iraq,

 including Plaintiffs, that inevitably followed.




                                                   91
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        306.    Osama bin Laden personally concluded that al-Qaeda would have collapsed after

 2001 without the secret deal and Iran’s key support for al-Qaeda in the years following 9/11, and

 al-Qaeda’s subsequent ability to execute terrorist attacks depended upon the “artery” provided by

 Iran. For example, in 2007, bin Laden criticized an al-Qaeda terrorist who had been planning to

 strike Iran-linked targets; in a secret internal al-Qaeda communique authored by bin Laden

 himself, bin Laden identified the key, organization-saving assistance that Iran had been providing

 to al-Qaeda after 9/11, stating because of Iran’s historical support for al-Qaeda’s terrorist

 operations, Iran was al-Qaeda’s “main artery for funds, personnel, and communication.” 104

        307.    Zawahiri also emphasized close strategic cooperation between al-Qaeda and Iran,

 following a pragmatic approach under which al-Qaeda focused on expanding its presence in Iran.

 Like bin Laden, Zawahiri agreed that al-Qaeda could not survive and thrive without the support it

 received from Iran. In a letter reportedly written by Zawahiri, al-Qaeda thanked Iran for the Qods

 Force’s support in setting up al-Qaeda’s terrorist network in Yemen in 2008 and stated, in effect,

 that al-Qaeda could not have established its franchise in Yemen without the IRGC’s assistance.

        308.    The U.S. government has also recognized the close partnership between Iran and

 al-Qaeda after the secret deal between the two. In July 2011, the U.S. Treasury Department

 designated as SDGTs six members of al-Qaeda operating in Iran under the previously described

 secret agreement between Iran and al-Qaeda. 105 In so doing, the Treasury Department concluded

 that the secret deal provided that al-Qaeda terrorists “must refrain from conducting any operations


 104
    October 18, 2007 translated letter from Osama bin Laden to Karim at 1, Bin Laden’s Bookshelf,
 Office of the Director of National Intelligence (2016) (emphasis added). In March 2016, the Office
 of the Director of National Intelligence declassified items that had been obtained by U.S. special
 operators in the May 2011 raid on bin Laden’s compound, including this letter. See Bin Laden’s
 Bookshelf, Office of the Director of National Intelligence.
 105
   Press Release, U.S. Treasury Dep’t, Treasury Targets Al-Qa’ida Funding and Support Network
 Using Iran as a Critical Transit Point (July 28, 2011).
                                                 92
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 within Iranian territory and recruiting operatives inside Iran while keeping Iranian authorities

 informed of their activities. In return, the Government of Iran gave the Iran-based al-Qa’ida

 network freedom of operation and uninhibited ability to travel for extremists and their families”

 and permitted al-Qaeda to use Iran as a “critical transit point for funding to support [al-Qaeda’s]

 activities.” The Treasury Department also found that “Iran’s secret deal with al-Qa’ida” facilitated

 a terrorist network that “serves as the core pipeline through which al-Qa’ida moves money,

 facilitators and operatives from across the Middle East to South Asia.” 106 Indeed, al-Qaeda has

 honored its commitment to Iran despite its attacks on Shiite Muslims elsewhere in the Middle East.

             309.   The U.S. Treasury Department has repeatedly recognized the link between al-

 Qaeda and Iran in making SDGT designations under Executive Order 13224. In February 2012,

 the agency designated the Iranian Ministry of Intelligence and Security (“MOIS”) as a terrorist-

 sponsoring entity for, among other things, supporting al-Qaeda. 107 In 2014, the agency likewise

 designated a “key Iran-based” al-Qaeda facilitator who has “assisted extremists and operatives

 transiting Iran on their way into and out of Pakistan and Afghanistan.” 108

             310.   The close relationship between al-Qaeda and Iran has continued in recent years. In

 2017, the U.S. State Department explained, “Since at least 2009, Iran has allowed [al-Qaeda]

 facilitators to operate a core facilitation pipeline through the country, enabling [al-Qaeda] to move

 funds and fighters to South Asia and Syria.” 109 It further accused Iran of remaining unwilling to




 106
       Id.
 107
    Press Release, U.S. Treasury Dep’t, Treasury Designates Iranian Ministry of Intelligence and
 Security for Human Rights Abuses and Support for Terrorism (Feb. 16, 2012).
 108
       Press Release, U.S. Treasury Dep’t, Treasury Targets Networks Linked To Iran (Feb. 6, 2014).
 109
       U.S. State Dep’t, Country Reports on Terrorism 2016 at Iran Section (July 2017).
                                                    93
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 bring to justice or identify al-Qaeda members in its custody. 110 The next year, the agency

 reaffirmed those conclusions and reiterated Iran’s close relationship with al-Qaeda. 111

             311.   Iran also supported al-Qaeda through its proxy, Lebanese Hezbollah. As the

 Washington Post reported at the time in 2002, Iran’s lead terrorist proxy, Lebanese Hezbollah, was

 “increasingly teaming up with al Qaeda on logistics and training for terrorist operations, according

 to U.S. and European intelligence officials and terrorism experts.” 112 “The new cooperation …

 includes coordination on explosives and tactics training, money laundering, weapons smuggling

 and acquiring forged documents, according to knowledgeable sources. This new alliance, even if

 informal, has greatly concerned U.S. officials in Washington and intelligence operatives abroad

 who believe the assets and organization of Hezbollah’s formidable militant wing will enable a

 hobbled al Qaeda network to increase its ability to launch attacks against American targets.” 113

             312.   The “collaboration” between Iran (through Lebanese Hezbollah) and al-Qaeda

 “illustrate[d] what analysts [said] [was] an evolving pattern of decentralized alliances between

 terrorist groups and cells that share[d] enough of the same goals to find common ground: crippling

 the United States, and forcing the U.S. military out of the Middle East and Israel out of Palestinian

 territory. ‘There’s a convergence of objectives,’ said Steven Simon, a former National Security

 Council terrorism expert.” 114 As the Washington Post reported, “[a]lthough cooperation between

 al Qaeda and Hezbollah may have been going on at some level for years, the U.S. war against al




 110
       Id.
 111
       Country Reports on Terrorism 2017 at Foreword.
 112
    Dana Priest and Douglas Farah, Terror Alliance Has U.S. Worried; Hezbollah, Al Qaeda Seen
 Joining Forces, Washington Post (June 30, 2002), 2002 WLNR 15332564.
 113
       Id.
 114
       Id.
                                                  94
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 Qaeda [] hastened and deepened the relationship. U.S. officials believe that after al Qaeda was

 driven from Afghanistan, leader Osama bin Laden sanctioned his operatives to ally themselves

 with helpful Islamic-based groups, said a senior administration official with access to daily

 intelligence reports.” 115 The Post concluded:

             European and U.S. intelligence operatives on the ground in Africa and Asia said
             they have been trying to convince headquarters of the new alliances but have been
             rebuffed. “We have been screaming at them for more than a year now, and more
             since September 11th, that these guys all work together,” an overseas operative
             said. “What we keep hearing back is that it can’t be because al Qaeda doesn’t work
             that way. That is [expletive]. Here, on the ground, these guys all work together as
             long as they are Muslims. There is no other division that matters.” 116

             313.   Al-Qaeda’s alliance with Iran’s lead terrorist proxy, Lebanese Hezbollah,

 continued at all relevant times and proved the intelligence operatives on the ground had been right

 all along. For example, in 2012, the Council on Foreign Relations reported that “al-Qaeda ha[d]

 stepped up its cooperation on logistics and training with Hezbollah, a radical, Iran-backed

 Lebanese militia drawn from the minority Shiite strain of Islam.” 117

             314.   On or about August 7, 2020, on the anniversary of the Iran/al-Qaeda bomb attack

 against U.S. embassies in Africa, Israeli commandos acting at the request of the United States

 killed al-Qaeda’s number 2 leader, Abu Muhammad al-Masri, in a covert mission in Tehran. 118

 Masri was in Iran as a guest of the Iranian government and was permitted to freely plan attacks

 against the United States from an Iranian-provided safe-haven in Tehran. The timing of the attack

 was not a coincidence, but a rather a professional slap in the terrorists’ face extended by the U.S.




 115
       Id.
 116
       Id.
 117
       al-Qaeda (a.k.a. al-Qaida, al-Qa`ida), Council on Foreign Relations (June 6, 2012).
 118
       Goldman at al., Al Qaeda’s No. 2, Accused in U.S. Embassy Attacks, Was Killed in Iran.
                                                     95
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 and Israeli governments to Iran and al-Qaeda, as the latter allies suffered an embarrassing and

 catastrophic loss on the anniversary of one of their greatest terrorist triumphs.

          315.   The mafia-style “syndicate” of which al-Qaeda, al-Qaeda-in-Iraq, and Ansar al-

 Islam formed a part, made attacks by each group more lethal. Iran’s mutually reinforcing support

 for al-Qaeda, AQI, and AI therefore made each group more effective.

          316.   By supporting al-Qaeda, Iran provided material support and resources for the

 extrajudicial killings that killed or injured Plaintiffs or members of their families. Al-Qaeda

 directly participated in many of the attacks that killed or injured Plaintiffs or their family members.

 Moreover, al-Qaeda was closely intertwined with al-Qaeda-in-Iraq and Ansar al-Islam and

 associated terrorist groups acting in Iraq, and al-Qaeda planned and authorized the Sunni attacks

 in which it did not directly participate. Material support and resources provided to al-Qaeda thus

 also flowed to al-Qaeda-in-Iraq and Ansar al-Islam, causing the injury and deaths of Plaintiffs or

 their family members.

                     iii.   Iran Used the IRGC to Establish Al-Qaeda-In-Iraq as an Iranian
                            Sunni Terrorist Proxy in Iraq

          317.   Iran used the IRGC to provide Zarqawi with the Iranian patronage necessary to

 establish al-Qaeda-in-Iraq and turn it into the terrorist killing machine it would become.

          318.   “When the Taliban government collapsed, a strange opportunity presented itself.

 Many members of al-Qaida fled Afghanistan and crossed the border into Iran.” 119

          319.   All told, Zarqawi was based in Iran for at least a year after his escape from

 Afghanistan after 9/11. After bin Laden family members and Zarqawi joined Iran as “guests”




 119
       NPR, Throughline.
                                                   96
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 following 9/11, Soleimani devised a successful plan to turn them into Iranian terrorist assets to

 carry out attacks against America. As Mr. Sadjadpour explained:

             After the U.S. military campaign to topple the Taliban began, Iran detained
             hundreds of al Qaeda fighters fleeing Afghanistan, including some members of
             Osama bin Laden’s family and Abu Musab al-Zarqawi, the future leader of al
             Qaeda in Iraq. Many Iranians saw these jihadists as a threat—Sunni zealots who
             hated overwhelmingly Shiite Iran. Yet Soleimani, the architect of the Islamic
             Republic’s plans for regional dominance, realized that they could also be an asset.
             … many al Qaeda members [] spent months and even years as “guests” of Iran.
             Soleimani broke bread with bin Laden’s sons, who affectionately called him Hajji
             Qassem … He appointed two senior Quds Force officers to “provide the guests with
             whatever they needed,” including refrigerators, widescreen TVs and an “unlimited
             budget” to furnish a religious library. Saif al-Adel, a notorious al Qaeda explosives
             expert, had access to a sports complex in a posh Tehran neighborhood, where he
             swam laps alongside Western diplomats. 120

             320.   “Now that Soleimani had these al-Qaida fighters on his side, he had to figure out

 exactly how to use them. And when the U.S. invaded Iraq in 2003, he saw his opening.” 121 As

 Mr. Sadjadpour of the Carnegie Endowment explained, “[i]f you’re Qassem Soleimani, you think

 to yourself - we will do everything in our power to make sure that the U.S. war in Iraq is a colossal

 failure.” 122 Thus, under Soleimani’s plan, Iran “unleashed the al-Qaida fighters into Iraq,” doing

 so “[w]ith the understanding that you guys, go do what you do. Go after the United States” by

 deploying terrorist attacks like “car bombings, [and] suicide bombings.” 123

             321.   Backed by Iran’s material support, just a few months after Soleimani helped

 unleash him into Iraq, “Abu Musab al-Zarqawi, the Jordanian al-Qaida leader, [] set[] off these




 120
       Sadjadpour, Sinister Genius.
 121
       NPR, Throughline.
 122
       Sadjadpour, quoted in NPR, Throughline.
 123
       Id.
                                                      97
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 three major bombs which essentially destroy[ed] the American experiment in Iraq in its

 infancy.” 124 As terrorism scholar David Blair summarized the Zarqawi-Iran alliance:

             By 2002, an Anglo-American invasion of Iraq seemed inevitable. Sensing an
             opportunity, Iran allowed Zarqawi to travel across its territory and enter northern
             Iraq in late 2002. Just as the Kaiser’s Germany transported Lenin from Switzerland
             to Russia in 1917 delivering him “like a plague bacillus”, in Churchill’s phrase so
             Iran conveyed the virus represented by Zarqawi to Iraq. The Shia rulers of Iran are
             natural opponents of al-Qaeda’s Sunni zealots, but the evidence suggests that the
             two have sometimes been tactical if mistrustful allies against a common Western
             enemy. So it was that al-Qaeda’s plague had arrived in Saddam Hussein’s domain,
             courtesy of Iran, even before the invasion. By the time that American and British
             tanks rolled across the Iraqi frontier in 2003, Zarqawi was already in position to
             organise an insurgency. Later that year, he proclaimed the birth of ‘al-Qaeda in the
             Land of Two Rivers’. … From 2005 onwards, he set out to kill as many Iraqi Shias
             as possible[,] a bitter irony given that Zarqawi owed his very presence in Iraq to the
             indulgence of Shia Iran. 125

             322.   As a result, Iran, through Soleimani’s plan, was the proximate and but-for cause of

 al-Qaeda-in-Iraq’s existence and ability to commit attacks targeting Americans in Iraq, including

 against Plaintiffs. As Osama bin Laden himself concluded, without Iran’s key support for al-

 Qaeda in the years following the 9/11 attacks, al-Qaeda would have collapsed, and al-Qaeda’s

 subsequent terrorist schemes carried out in Iraq through al-Qaeda-in-Iraq would not have come to

 fruition.

             323.   Iran’s strategy recognized that the Iranians could use their sectarian enemies,

 including Shia-haters like Zarqawi, to harm Iran’s two primary enemies, the United States and

 Israel, and pragmatically and ruthlessly to pursue Iranian interests throughout the world.

             324.   Iran and Soleimani pursued this strategy towards Sunni terrorists targeting

 Americans in Iraq at all relevant times because it inflicted harm on America while providing Iran



 124
       Id.
 125
    David Blair, The Rise of the Fanatics that Now Control ISIL, Sunday Independent (Apr. 12,
 2015), 2015 WLNR 10684439.
                                                      98
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 iron-clad protection from being attacked by these same Sunni terrorists. Indeed, in a May 2014

 message to Ayman al-Zawahiri from Abu Muhammad al-Adnani – who was once a Zarqawi ally

 and former al-Qaeda member but had departed with ISIS becoming its spokesman after ISIS and

 al-Qaeda split earlier in 2014 – Adnani reminded al-Qaeda, on behalf of ISIS, that:

        ISIS has not attacked the Rawafid [Shia] in Iran since its establishment. … It has
        kept its anger all these years and endured accusations of collaboration with its worst
        enemy, Iran, for refraining from targeting it, leaving the Rawafid [Shia] there to
        live in safety, acting upon the orders of al Qaeda to safeguard its interests and
        supply lines in Iran. Let history record that Iran owes al Qaeda invaluably.

        325.    The four intelligence services that knew Zarqawi the best (other than Iran) – those

 of the U.S., Iraq, Jordan, and Germany – all concluded that Iran deliberately helped stand up

 Zarqawi’s terrorist network in Iraq. Like their U.S. and Iraqi counterparts, the Jordanian and

 German intelligence and law enforcement communities developed overwhelming evidence as to

 the sustained and substantial nature of Iran’s provision of material support and resources to

 Zarqawi.

        326.    Given Zarqawi’s Jordanian roots, Jordan’s intelligence service, the Mukhabarat,

 knew him as well as anyone. Jordanian intelligence concluded that Iran deliberately stood-up

 Zarqawi’s terrorist network in Iraq in order to inflict pain on Americans there and advance Iranian

 interests in the country, providing terrorist seed capital in the form of arms and early essential

 logistical support, and sustained Zarqawi’s network thereafter by permitting them to travel freely

 between Iran and Iraq as long as they continued attacking Americans in Iraq.

        327.    German intelligence and law enforcement also confirmed the close nexus between

 Zarqawi and Iran. In 2002, the German intelligence services, the Bundesnachrichtendienst

 (“BND”), successfully wiretapped and surveilled several members of the Zarqawi network in

 Germany, which allowed BND agents to precisely track Zarqawi’s travel patterns during and after



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 his flight from Afghanistan. Based on insights from these leads, German intelligence concluded

 that Zarqawi received refuge and medical care in Mashhad, Iran on January 5, 2002, and remained

 in Iran until at least April of 2002, during which time he directed the retreat of his al-Qaeda

 operatives from Afghanistan, through Iran, into to the Kurdistan region on both sides of the

 Iran/Iraq border. Thereafter, Zarqawi traveled to Tehran and Zahedan in support of his efforts to

 stand up al-Qaeda-in-Iraq. During this entire time, Zarqawi benefited from Iranian patronage and

 protection, including his own personal team of IRGC minders provided by Soleimani himself.

        328.    German law enforcement also developed solid evidence that Iran had provided

 essential material support to Zarqawi. According to files from Germany’s Federal Office of

 Criminal Investigation, German prosecutors concluded that Iran gave Zarqawi essential state-

 sponsored terrorist support and was a key logistical partner for his terrorist enterprise in Iraq.

        329.    Other European counter-terror authorities concurred with the findings of U.S.,

 Iraqi, Jordanian, and German governments. For example, a noted Spanish terrorism judge,

 Baltasar Garzon, concluded that al-Qaeda’s board of managers were operationally active from their

 Iranian safe-haven, coordinating operations against America and its Coalition partners. Similarly,

 in 2004, French intelligence officials concluded that al-Qaeda leaders had permission to move

 within Iran and support terrorist operations against America from their Iranian safe-haven.

        330.    Iran – and Soleimani himself – recognized that Iran’s support for Zarqawi advanced

 Iranian interests even after Zarqawi began slaughtering Shiites in Iraq. For example, Soleimani

 reportedly told the audience at an Iranian military seminar that the Qods Force permitted Zarqawi

 and more than a dozen of his senior terrorist followers to enter Iran whenever they pleased via

 border crossings between Ham and Halabja. At this same discussion, when asked why Iran

 supported Zarqawi given his anti-Shiite attacks, Soleimani reportedly replied that Zarqawi’s



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 attacks in Iraq “serve the supreme interests of Iran” by stopping the formation of pro-American

 government in Iraq.

           331.   Even when al-Qaeda-in-Iraq began massacring Iraqi Shiites at scale in 2006,

 Iranian support for al-Qaeda-in-Iraq still advanced Iran’s perceived self-interest in Iraq by

 fostering anti-American violence there and by forcing Iraqi Shiites to seek protection from Iranian

 Shiite terrorist proxies, like Jaysh al-Mahdi, who were also fighting al-Qaeda-in-Iraq. As Mr.

 Sadjadpour explained, Zarqawi’s attacks against Shiites “totally radicalized the Shiite community

 in Iraq” and “essentially pushed them into the arms of Iran and Qassem Soleimani, who said to the

 Shiites of Iraq, we can protect you.” 126    Simply put, “[i]t served the interests of the Islamic

 Republic to maintain Iraq in a state of controlled chaos and anarchy.” 127

           332.   By supporting al-Qaeda-in-Iraq, Iran provided material support and resources for

 the extrajudicial killings that killed or injured Plaintiffs or members of their families. Al-Qaeda-

 in-Iraq directly participated in many of the attacks that killed or injured Plaintiffs or their family

 members. Moreover, al-Qaeda-in-Iraq was closely intertwined with al-Qaeda and Ansar al-Islam

 and associated terrorist groups acting in Iraq, and al-Qaeda-in-Iraq planned and authorized the

 Sunni attacks in which it did not directly participate. Material support and resources provided to

 al-Qaeda-in-Iraq thus also flowed to al-Qaeda and Ansar al-Islam, causing the injury and deaths

 of Plaintiffs or their family members.

                       iv.   Iran Used the IRGC to Establish Ansar Al-Islam as an Iranian
                             Sunni Terrorist Proxy in Iraq

           333.   To ensure Iranian influence in Kurdish communities on both sides of the Iran/Iraq

 border, and consistent with Iranian policy supporting anti-American terror in countries bordering


 126
       Sadjadpour, quoted in NPR, Throughline.
 127
       NPR, Throughline.
                                                  101
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 Iran, Ansar al-Islam has been, and remains to this day, a longstanding terrorist proxy of the IRGC.

 Iran, through the activities orchestrated by Qassem Soleimani and those acting at his instruction,

 was the proximate and but-for cause of Ansar al-Islam’s existence and ability to commit attacks

 targeting Americans in Iraq, including against Plaintiffs.

         334.    Iran’s support for Ansar al-Islam is rooted in the former’s obsession over Kurdish

 issues and support for Sunni terrorists in Kurdistan was a foundation of Iranian efforts to exercise

 influence in Northern Iraq. This region had historically been beyond Baathist reach when Saddam

 ran Iraq, and it could provide an unbroken Iranian corridor across the “Shiite Crescent,” which

 stretches from Iran through Iraq to Syria and Lebanon.

         335.    Ansar al-Islam could not exist, let alone pose a terrorist threat to Americans in Iraq,

 without the key assistance provided by Iran through the IRGC and Qods Force. As the anti-

 terrorism think tank, the Jamestown Foundation, concluded, “a significant degree of Iranian

 support was necessary for Ansar al-Islam to function, given that the group’s military supplies came

 in from Iran (the mountainous region they controlled touches the Iranian border), veterans from

 Afghanistan joined them via Iran, and their cadres (including Mullah Krekar himself) entered and

 left the area via Iran.” 128    Similarly, the International Crisis Group concluded that it was

 “indisputable … that [Ansar al-Islam] could not survive without the support of powerful factions

 in neighbouring Iran, its sole lifeline to the outside world.” 129

         336.    Contemporaneous American and British intelligence reports concerning Iran and

 Iraq support these conclusions.



 128
    David Romano, An Outline of Kurdish Islamist Groups in Iraq at 12, The Jamestown
 Foundation (Sept. 2007) (“Romano, An Outline of Kurdish Islamist Groups in Iraq”).
 129
   International Crisis Group, Radical Islam In Iraqi Kurdistan: The Mouse That Roared? at 1-2,
 IRAQ Briefing (Feb. 7, 2003).
                                                   102
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         337.   Al-Qaeda was responsible for the success of Ansar al-Islam’s suicide bomb attacks

 against Americans in Iraq. Through its relationship with al-Qaeda and Ansar al-Islam, Iran was

 the proximate and but-for cause of Ansar al-Islam’s suicide bombing attacks against Americans in

 Iraq.

         338.   Iran’s support for al-Qaeda, al-Qaeda-in-Iraq, and Ansar al-Islam was mutually

 reinforcing. Zarqawi’s ability to leverage safe havens on Iranian soil and his membership and

 leadership role in all three groups played a key role in facilitating AQI’s development. By

 providing leadership, training, logistical support, and instruction to al-Qaeda, AQI, and Ansar al-

 Islam, Zarqawi created a network of al-Qaeda affiliated terrorists working together in a shared

 campaign against Americans in Iraq, which he then leveraged to attack Americans throughout Iraq.

         339.   By supporting Ansar al-Islam, Iran provided material support and resources for the

 extrajudicial killings that killed or injured Plaintiffs or members of their families. Ansar al-Islam

 directly participated in some of the attacks that killed or injured Plaintiffs or their family members.

 Moreover, Ansar al-Islam was closely intertwined with al-Qaeda, al-Qaeda-in-Iraq, and associated

 terrorist groups acting in Iraq, and Ansar al-Islam provided essential logistical support for the

 entire Sunni campaign by facilitating the smuggling of weapons into Iraq, and therefore Ansar al-

 Islam aided the Sunni attacks in which it did not directly participate. Material support and

 resources from Iran provided to Ansar al-Islam thus also flowed to al-Qaeda and al-Qaeda-in-Iraq,

 causing the injury and deaths of Plaintiffs or their family members.

         340.   Consistent with Iran’s policy of material support to al-Qaeda, al-Qaeda-in-Iraq, and

 Ansar al-Islam (collectively, Iran’s “Sunni Terrorist Proxies”) described above, Iran provided

 material support or resources to al-Qaeda, al-Qaeda-in-Iraq, and Ansar al-Islam for the acts of

 extrajudicial killing that killed or injured Plaintiffs or their family members. As explained below,



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 that support took the form of “currency . . . lodging, training, expert advice or assistance,

 safehouses, false documentation or identification, communications equipment, facilities, weapons,

 lethal substances, explosives, personnel, . . . and transportation.” 130

                       v.    Iran Provided its Iraqi Sunni Terrorist Proxies with Weapons,
                             Explosives, and Lethal Substances

           341.   Iran provided material support or resources for the acts of extrajudicial killing that

 killed or injured Plaintiffs, or their family members, by providing (among other things) weapons,

 explosives, and lethal substances to the al-Qaeda, al-Qaeda-in-Iraq, and Ansar al-Islam.

           342.   Iran provided a regular flow of weapons and military equipment to Sunni terrorists

 targeting Americans in Iraq, including al-Qaeda, al-Qaeda-in-Iraq, and Ansar al-Islam. According

 to a senior al-Qaeda terrorist, “the Quds Force … supplied Zarqawi with weapons” and as a result,

 the al-Qaeda member concluded that, if “Osama was responsible for financing the butchers of

 Baghdad [i.e., Zarqawi and al-Qaeda-in-Iraq], so was Tehran.”

           343.   Middle Eastern and Western intelligence services concurred with this assessment

 and have long documented Iran’s provision of weapons and equipment to Sunni terrorists targeting

 Americans. As one Jordanian intelligence professional explained, placing himself from the

 perspective of a Sunni extremist (paraphrased) “I go to the Saudis when I need money and I go to

 the Iranians when I need arms, training, or supplies.”

           344.   Regional Kurdish security officials also documented Iran’s provision of weapons

 and equipment to Sunni terrorists targeting Americans in Iraq. “[I]n the town of Tuwella, the local

 PUK [Patriotic Union of Kurdistan, a large political party] chief, Ismail Ameen, said [that] … [j]ust

 before the war, in February 2003, he saw six gray Toyota Landcruisers drive into town from the




 130
       18 U.S.C. § 2339A(b)(1).
                                                   104
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 Iranian border. He said the trucks were loaded with bullets and mortar shells for [an al-Qaeda

 affiliate’s] fighters. ‘They would have run out of ammunition . . . without the supplies they got

 from Iran,’ he said. Two top PUK security officials, and three members of the PUK’s political

 bureau, also contended that Iran has continued to support Islamist insurgents.” 131 As one report

 explained in 2004:

             For years, and with the blessing of Iranian officials, Islamist terrorist groups have
             smuggled weapons … into Iraq … many Kurdish intelligence and security officials
             said. … [H]ere in the mountains of Kurdistan … are tangible footprints of Iran’s
             collaboration with terror and insurgent groups responsible for attacks inside Iraq.
             According to a half-dozen officials in the Patriotic Union of Kurdistan,… Iran has
             extended its network of agents inside Iraq. Iran, the officials say, continues to aid
             groups like Ansar al-Islam and Abu Musab al-Zarqawi’s group, now named Al
             Qaeda in Mesopotamia. Even though Iran is a Shi’ite theocracy, these officials
             said, it helps Sunni insurgent groups because it wants to prevent a strong unified
             government from taking shape in Iraq. “They go back and forth after running
             missions here,” said Anwar Haji Othman, head of security in the area … including
             a long stretch of the Iranian border. 132

             345.   Regional papers in the Middle East also agree with this conclusion. As one

 Bahraini paper observed, Iran’s decision to “transfer[] munitions to Sunni extremists fighting the

 Americans in Iraq,” accords with similar decisions Iran made to “export[] weapons to the Taliban”

 and other anti-American terrorists who did not follow the Khomeneist school of Iranian theological

 supremacy like “the Zaidi Houthis” and “Syria’s Alawites … [who] hail from significantly

 different schools of Islam.” 133

             346.   Iran also funneled weapons to Sunni terrorists in Iraq through its proxy, Ansar al-

 Islam. Given its location on both sides of the Iran/Iraq border, Ansar al-Islam could not have



 131
   Thanassis Cambanis, Along Border, Kurds Say, Iran Gives Boost To Uprising, Boston Globe
 (Nov. 7, 2004), 2004 WLNR 6887856 (“Cambanis, Along Border”).
 132
       Id.
 133
    DT News (Bahrain), Why is Tehran Recruiting Daesh Jihadists? (Nov. 5, 2018), 2018 WLNR
 34281745
                                                     105
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 sourced any of its supplies or fighters without the active cooperation of the IRGC and the Qods

 Force. As the Jamestown Foundation concluded, Ansar al-Islam’s “military supplies came in from

 Iran,” as did the group’s fighters, who had depended upon the cooperation of Iran to transit through

 Iran (between Iraq and the Afghanistan-based camps they also attended) as well as to provide a

 safe-haven from which to plan attacks. 134

           347.   After American forces destroyed Ansar al-Islam’s camp in Iraqi Kurdistan in March

 2003, Zarqawi and his Ansar al-Islam lieutenants fled to Iran, where they regrouped, rearmed,

 trained, and continued to plan operations against Americans in Iraq, all while “Iran continued to

 supply Ansar al-Islam and its ally, Abu Musab al-Zarqawi, smuggling supplies for the insurgency

 against the U.S. and its coalition partners.      In this way, the Zarqawi-Iran connection was

 maintained from his retreat from Afghanistan to his arrival in Iraq.” 135

           348.   Indeed, as the Boston Globe reported in 2004, “[f]or years, and with the blessing of

 Iranian officials,” Ansar al-Islam “smuggled weapons … into Iraq on this [Iranian] road [near the

 Iraqi border], many Kurdish intelligence and security officials said.” 136

           349.   Ansar al-Islam received weapons and munitions from Iran, including Katyusha

 rocket launchers, mortar rounds, and the ubiquitous Toyota Land Cruiser SUVs used by Ansar al-

 Islam, which “could not have been smuggled into the area without the tacit approval of the Iranian

 government and security apparatus.” 137



 134
       Romano, An Outline of Kurdish Islamist Groups in Iraq.
 135
    Dore Gold and Lt. Col. (Res.) Jonathan D. Halevi (Israel Defense Forces), Zarqawi and Israel:
 Is There a New Jihadi Threat Destabilizing the Eastern Front?, Jerusalem Center for Public
 Affairs, Jerusalem Issue Brief Vol. 5 No. 12 (Dec. 15, 2005) (“Gold and Halevi, Zarqawi”).
 136
       Cambanis, Along Border.
 137
    The Washington Institute for Near East Policy, The Islamist Threat from Iraqi Kurdistan (Dec.
 1, 2001).
                                                  106
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           350.   Iranian support was also key to al-Qaeda’s and its affiliates’ ability to execute their

 signature attacks. Al-Qaeda’s IEDs and suicide bomb attacks offer two examples. With respect

 to the former, Iranian aid was key to the success of Sunni terrorists’ campaign of IED attacks

 against Americans in Iraq. Coalition personnel on the ground in Iraq concluded that Iran provided

 substantial IED-related support to Sunni terrorists targeting Americans in Iraq. For example, by

 the summer of 2006, Task Force 16 members responsible for hunting al-Qaeda-in-Iraq terrorists

 had concluded that Iran was providing sophisticated IED technology to Sunni terrorists in Iraq, led

 by al-Qaeda, in order to inflict casualties on Americans in Iraq. British military personnel in Iraq

 reached a similar conclusion a year prior when, in 2005, “a senior British general repeated a claim

 that bomb-making technology is crossing into Iraq from Iran.” 138 As reported at the time:

           Major-General Jim Dutton, who commands a multinational force in south-eastern
           Iraq, said the know-how for advanced bombs was coming ‘across that border’. …
           Defence sources quoted independently by the BBC were more blunt, saying that
           the Revolutionary Guards, an elite fighting force appointed by the country’s
           supreme leader, were indeed giving original bomb-making training to Iraq’s
           insurgents. At first and even second glance, allegations of an alliance between Iran
           and Al-Qaeda, especially if it incorporates cells affiliated to the terror organisation
           presently operating in Iraq, defies all sense and logic. For a start, Iran is
           Persian/Shi’ite, while Al-Qaeda is Arab/Sunni. … [I]t now seems clear that Iran
           and Al-Qaeda generally have been drawn together, despite their obvious
           ideological and religious differences, by a common goal: To facilitate global jihad
           and help hasten American failure in Iraq. 139

           351.   Iran also helped provide al-Qaeda, al-Qaeda-in-Iraq, and Ansar al-Islam the

 “weapons” they used when they deployed suicide bombers in Iraq, as Iran was the original source

 of the groups’ collective embrace of suicide bombing as a tactic, and Iranian geography was




 138
    John R. Bradley, Real Threat From Iran Is Here, Now, Straits Times (Singapore) (Nov. 14,
 2005), 2005 WLNR 18356274 (“Bradley, Real Threat From Iran”).
 139
       Bradley, Real Threat From Iran.
                                                    107
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 necessary for the travel of suicide bombers into Iraq, which in the case of a suicide bomber

 accomplished the “insertion” of the weapon into the country.

            352.   Separately, Iranian territorial aid was also key to the success of al-Qaeda’s IED

 attacks and suicide bombs because only through Iran could al-Qaeda and its affiliates maintain the

 CAN fertilizer supply chain from the Pakistani supplier upon which they relied. As a result, al-

 Qaeda could not have executed its campaign of fertilizer-based suicide bomb and IED attacks

 against Americans in Iraq without the terrorist land bridge provided by Iran. On information and

 belief, al-Qaeda sourced some of its fertilizer for use in their Iraqi bombs from a supplier in

 Pakistan and transported such fertilizer across from Pakistan to Iraq by using the terrorist land

 bridge offered by Iran, which al-Qaeda could not have accomplished without the aid of the IRGC,

 which controls Iran’s borders with Afghanistan and Iraq, and whose permission is necessary to

 transport any goods overland from the above-described route from Pakistan to Iraq.

                        vi.   Iran Provided its Iraqi Sunni Terrorist Proxies with Lodging,
                              Training, Expert Advice or Assistance, Safehouses, Personnel, and
                              Transportation

            353.   Iran also provided its Sunni Terrorist Proxies in Iraq with lodging, training, expert

 advice or assistance, safehouses, and transportation. Iran taught its Sunni Terrorist Proxies attack

 techniques that were particularly effective against U.S. and Coalition forces. Without the training,

 lodging, safehouses, and transportation assistance from Iran and its agents, Iran’s Sunni Terrorist

 Proxies would not have been able to launch as successful a terrorist campaign against Americans

 in Iraq.

            354.   Lodging, Safehouses, and Transportation. Iran has maintained a decades-long

 travel assistance relationship with al-Qaeda as part of the terrorist alliance between Iran, al-Qaeda,

 and Lebanese Hezbollah.



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          355.   By no later than January 2002, the Qods Force had approved a strategic plan to

 actively support al-Qaeda’s post-9/11 terrorist attacks against Americans in the Middle East by

 providing sanctuary in Iran to senior al-Qaeda terrorists and their family members, directly

 supported and managed by the Qods Force.            To facilitate al-Qaeda members’ flight from

 Afghanistan to their newfound Iranian safe-haven, the Qods Force relied upon the assistance of

 Zarqawi – whom it already knew based on his travels in the region – to coordinate the travel of

 senior Qaeda operatives, including Saif al-Adel, from Afghanistan to Iran.

          356.   Sitting between Iraq and Afghanistan and having a long history of facilitating Sunni

 terrorist travel and logistics, Iran was ideally suited to aid the ascendant Sunni insurgency in Iraq

 after March 2003 because al-Qaeda’s assistance could only flow from Afghanistan to Iraq via Iran.

 Reporting the views of Kurdish security officials, one journalist explained in 2004 that there is a

 long history in the Middle East “of nations giving shelter to their enemies’ enemies” and thus

 “[t]he apparent Iranian ties to [Sunni] mujahedeen groups operating inside Iraq only continue[d]

 this long Machiavellian tradition,” and reflected Iran’s willingness to “work with [Sunni] groups

 … whose ideology is so opposed to theirs, because they want to have a card to play in Iraq.” 140

          357.   Iran’s service as the “terrorist land bridge” by its provision of travel assistance to

 al-Qaeda and al-Qaeda-in-Iraq was essential to the terrorists’ ability to conduct attacks against

 Americans in Iraq. As Judge Daniels found in another case against Iran,

          Perhaps the most important form of aid Iran gave al Qaeda prior to 9/11 (and
          continues to give today) involves the facilitation of travel. … Travel assistance “is
          invaluable,” not only to avoid detection and arrest, but established lines of transit
          make recruitment and training easier, as individuals can travel to and from training
          camps without fear of interference. Also, travel facilitation enables better
          communication and coordination. Even before 9/11, al Qaeda was aware that the
          United States monitored phones and other forms of communication and recognized



 140
       Cambanis, Along Border.
                                                  109
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             that many sensitive deliberations are best done face-to-face. Doing so requires
             individuals who can travel freely from one area to another. 141

             358.   “In the mid–1990s, when the Iran–Hizballah-al Qaeda terror alliance was forming,

 al Qaeda operative Mustafa Hamid had ‘negotiated a secret relationship with Iran that allowed safe

 transit via Iran to Afghanistan.’” 142

             359.   “Numerous admissions from lower level al Qaeda members who were interrogated

 at the detention facility at Guantanamo Bay confirm the existence of the clandestine Iran–

 Afghanistan passageway, managed by MOIS. Al Qaeda had ‘total collaboration with the Iranians,’

 and had its own organization in Iran ‘that takes care of helping the mujahedin brothers cross the

 border.’” 143 “By … providing safe passage through Iran and into Afghanistan, and by permitting

 Hezbollah to receive the traveling group ... Iran, in essence, acted as a state sponsor of terrorist

 travel.” 144 These trends have continued without interruption since the 1990s.

             360.   After 9/11, Iran provided safehouses to many senior leaders of al-Qaeda and their

 families, including Osama bin Laden’s sons. Iran permitted these senior leaders to move freely

 within Iran in the early 2000s, while they continued to direct, organize, and support al-Qaeda’s

 terrorist operations throughout the world. 145 In essence, Iran provided al-Qaeda with a safe haven

 from which to orchestrate its terrorist activities. 146 As Judge Daniels found:

             When the United States-led multi-national coalition attacked the Taliban regime in
             Afghanistan in the fall of 2001, Iran facilitated the exit from Afghanistan, into Iran,
             of numerous al Qaeda leaders, operatives, and their families. The Iran–Afghanistan

 141
       In re Terrorist Attacks on Sept. 11, 2001, 2011 WL 13244047, at *28 (findings of fact).
 142
       Id. at *17 (findings of fact) (internal citations omitted).
 143
       Id. (internal citations omitted).
 144
       Id. (internal citations omitted).
 145
       Id.
 146
     Id. at 150-51 (“When a foreign sovereign allows a terrorist organization to operate from its
 territory, this meets the statutory definition of ‘safehouse.’ ” ).
                                                      110
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           safe passageway, established earlier to get al Qaeda recruits into and out of the
           training camps in Afghanistan, was utilized to evacuate hundreds of al Qaeda
           fighters and their families from Afghanistan into Iran for safe haven there. The
           IRGC knew of, and facilitated, the border crossings of these al Qaeda fighters and
           their families entering Iran.

           Osama bin Laden’s friend, Gulbuddin Hekmatyar, who was then in exile in Iran
           near the Afghan border, was instrumental in the evacuation of al Qaeda into Iran,
           as were Imad Mughniyah and Iran’s Qods Force commander Ahmad Vahidi.

           Among the high-level al Qaeda officials who arrived in Iran from Afghanistan at
           this time were Saad bin Laden and the man who would soon lead “al Qaeda in Iraq,”
           Abu Mussab Zarqawi. 147

           361.    The Coalition’s civilian military leadership in the United States and Iraq also

 concluded that Iran provided such safe haven support to Zarqawi and other AQI terrorists.

           362.    The list of al-Qaeda-affiliated terrorists who supported al-Qaeda attacks against

 Americans from their post 9/11 Iranian safe-haven reads like an al-Qaeda management roster,

 featuring nearly two dozen senior leaders, organizers, planners, ideologues, and terrorist operatives

 from around the world – comprising most of al-Qaeda’s military council between from 9/11

 through 2015. The following terrorists all sheltered at the Qods Force facility in Tehran, and most

 (all but Zarqawi, who died a year earlier) were witnessed by a person who visited the facility on

 or about 2007:

       •   Osama bin Laden’s family, including sons Saad, Mohammad, Othman, Ladin, and
           Hamza (one of whom even got married in Iran), wife Najwa, and daughter Iman;

       •   Abu Musab al-Zarqawi, who launched al-Qaeda-in-Iraq’s campaign against America
           from Iran;

       •   Abu Muhammad al-Masri, al-Qaeda’s chief of foreign relations and a senior member of
           al-Qaeda’s military council who became al-Qaeda’s the number 2 overall, behind only
           Zawahiri, after bin Laden was killed in 2011, and who managed al-Qaeda operations from
           his safe haven in Iran from 9/11 until he was killed in Tehran by Mossad agents on August
           7, 2020;


 147
       Id. at *25 (internal citations omitted).
                                                  111
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       •   Saif al-Adel, al-Qaeda’s military chief and number 3 overall, who, among other things,
           personally managed al-Qaeda’s support for Zarqawi and the Zarqawi/bin Laden
           relationship, was tasked with facilitating al-Qaeda’s support for the Sunni insurgency
           against Americans in Iraq from Iran, and directed anti-American attacks from Iran under
           the wing of the Qods Force;

       •   Abu Musab al-Suri, a senior al-Qaeda strategist who was one of the most important
           thinkers for the group;

       •   Mahfouz Ibn El Waleed, a key member of al-Qaeda’s leadership council and its sharia
           committee, who helped approve and justify attacks against America from his safe haven in
           Iran;

       •   Abu Dagana al-Alemani, a senior al-Qaeda attack planner who coordinated al-Qaeda’s
           logistical support for its global affiliates from Iran; and

       •   Sulaiman Abu Ghaith, who served as al-Qaeda’s spokesman from Iran and helped rally
           support for al-Qaeda’s anti-American jihad from there.

           363.   Among the senior al-Qaeda leaders who fled to Iran after 9/11, most remained

 ensconced in Iran thereafter, never leaving their Iranian safe-haven while continuing to support

 the jihad against America. Zarqawi and his lieutenants were the one notable exception: they

 accepted the Qods Force’s offer of money, arms, and transportation from Kurdistan to Baghdad,

 all of which they used to launch their terror campaign against Americans in Iraq and launch al-

 Qaeda-in-Iraq’s campaign against Americans there.

           364.   Iran’s safe haven support for al-Qaeda did not diminish in the years after 9/11. For

 example, in 2011, Judge Daniels found, as a matter of law, that “[s]ince the 9/11 attacks, and

 continuing to the present day, Iran continues to provide material support and resources to al Qaeda

 in the form of safe haven for al Qaeda leadership and rank-and-file al Qaeda members.” 148

           365.   As the Washington Post reported after al-Qaeda’s number 2, Masri, was killed in

 Tehran in 2020, “[m]any of al-Qaeda's senior commanders have been sheltered in Iran, though one



 148
       In re Terrorist Attacks on Sept. 11, 2001, 2011 WL 13244047, at *41 (findings of fact).
                                                  112
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 by one, they have been killed in recent years. With Masri's death, the only remaining member of

 al-Qaeda's shura council — its core leadership — with operational al-Qaeda terrorist experience

 is Saif al-Adel, who is believed still to be in Iran.” 149

         366.    Iran’s assistance also extended to permitting al-Qaeda and its affiliates, like al-

 Qaeda-in-Iraq, to use Iran as a safe-haven from which to plan and prepare attacks against

 Americans in Iraq. As Judge Daniels found, after 9/11, “[t]here have been numerous instances of

 al Qaeda operatives and leaders meeting, planning, and directing international terrorist operations

 from the safety of Iranian territory. Senior al Qaeda members continued to conduct terrorist

 operations from inside Iran.” 150

         367.    In August 2003, Iran facilitated a meeting in Tehran between lieutenants from al-

 Qaeda-in-Iraq and Ansar al-Islam, in which the participants agreed in Zarqawi’s name to establish

 a permanent terrorist base in Kurdistan to facilitate attacks against Americans and ensure the

 smooth functioning of the pipeline between the Arab world and Afghanistan, which ran through

 Iran and was essential to Sunni terrorists supply of weapons, funds, and personnel.

         368.    In Tehran, the Qods Force operated a facility for al-Qaeda and al-Qaeda-in-Iraq

 leaders and operatives that was known as “Block 300.” At Block 300, the Qods Force provided

 shelter, communications, training, and other assistance to al-Qaeda and al-Qaeda-in-Iraq terrorists

 from 2001 through the present day. For example, in August 2007, a visitor to Block 300 saw bin

 Laden’s sons Saad, Mohammed, Othman, Hamzah, and Ladin, as well as Saif al-Adel, Abu al-

 Khayr al-Masri, and Sulaiman Abu Ghaith. The same visitor in 2007 observed that all of al-



 149
    Ellen Nakashima, Israel, At Behest of U.S., Killed al-Qaeda’s Deputy in a Drive-By Attack in
 Iran, Washington Post (Nov. 14, 2020), 2020 WLNR 32556539
 150
    In re Terrorist Attacks on Sept. 11, 2001, 2011 WL 13244047, at *25 (findings of fact) (internal
 citations omitted).
                                                    113
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 Qaeda’s military council was present at Block 300 other than Zawahiri and Sheikh Saeed al-Masri.

 Key female members of bin Laden’s family were also housed at Block 300.

        369.    Soleimani personally assigned two senior Qods Force officers to see to the needs

 of the senior al-Qaeda leaders and their family members sheltering at Block 300. Throughout, the

 Qods Force provided senior al-Qaeda leaders with everything they needed to sustain their

 leadership inside Iran and maintain the morale of their military council and their families, including

 generous residential accommodations, trips to luxury shopping destinations, gym memberships,

 and the finest medical care in Iran (which was otherwise only available to the clerics and senior

 leaders of the Iranian regime).

        370.    Al-Qaeda’s relationship with its Qods Force protectors was so warm that al-

 Qaeda’s military council and bin Laden’s sons invited their Qods Force handlers to break their

 Ramadan fast with them at Block 300. The Qods Force responded by taking al-Qaeda’s military

 council out to a five-star restaurant for an iftar meal. Days later, Soleimani himself arrived in

 person at Block 300 to celebrate Eid with bin Laden’s sons, joining them to break the fast.

        371.    At this time, al-Qaeda depended upon the assistance of the Qods Force to maintain

 al-Qaeda’s Iran pipeline, through which the group moved funds and personnel between the Middle

 East and its home base in Pakistan.

        372.    In meetings at Block 300 on or about 2007 and 2008, Iranian officials met with the

 designated leader of the al-Qaeda and al-Qaeda-in-Iraq terrorists who were sheltering in their Qods

 Force-provided safe-haven. During these meetings, the Iranian officials told al-Qaeda and al-

 Qaeda-in-Iraq, through their designated spokesman at Block 300, in sum and substance, that the

 welfare of bin Laden’s family was Soleimani’s personal responsibility. By this time, Soleimani

 had a positive relationship with bin Laden’s sons residing in Iran, who referred to Soleimani as



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 “Hajji Qassem” and relayed to other al-Qaeda leaders that Soleimani and al-Qaeda had both been

 targeted by America and should therefore work together. At these meetings, the Iranian officials

 and al-Qaeda agreed that they should cooperate regarding the conflict in Iraq.

        373.    In one meeting at Block 300 on or about 2008, Soleimani addressed al-Qaeda’s

 senior leaders, as well as bin Laden’s family, and stated that “I did my best to serve you” and “I

 stopped those who wanted to hurt you.” Soleimani also made it clear on multiple occasions to al-

 Qaeda’s leaders that Iran remained willing to continue helping as long as Iran benefited.

        374.    Soleimani continued to personally tend to his al-Qaeda assets at Block 300 until

 Soleimani’s own demise in 2020. For example, after bin Laden was killed in 2011, to try to break

 the malaise that had overtaken Block 300, Soleimani instructed his Qods Force deputies to take

 the al-Qaeda women and children on a trip for shopping and to an amusement park, while al-

 Qaeda’s assembled shura in Iran could discuss strategy.

        375.    In 2015, an intelligence review at the Defense Intelligence Agency confirmed

 additional measures of Iran’s support for al-Qaeda, including Iranian facilitation of al-Qaeda travel

 between Iraq and Pakistan.

        376.    Iran also provided transportation assistance, lodging and safe-haven assistance to

 al-Qaeda-in-Iraq terrorists, including Zarqawi himself and other senior leaders of the group. In

 doing so, Iran provided similar lodging, training, expert advice or assistance, safehouses, and

 transportation to al-Qaeda-in-Iraq as it did for al-Qaeda.

        377.    Zarqawi had deep relations in Iran owing to his status as the top terrorist and

 operator at al-Qaeda’s training camp in Herat, Afghanistan, close to the Iranian border.

        378.    After 9/11, Zarqawi took refuge in Iran and established new al-Qaeda training

 camps and safe houses inside Iran at sites in Zahedan, Isfahan, and Tehran. From his new Iranian



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 safe-haven, Zarqawi invited his followers, including seasoned terrorists in Europe, to travel to

 Tehran to meet with him, bringing money and receiving instructions from Zarqawi.

           379.   To facilitate al-Qaeda-in-Iraq’s communications and attack planning, the Qods

 Force provided AQI with phone and facsimile numbers and facilitated AQI’s use of couriers. With

 respect to the former, the Qods Force provided substantial communications support to al-Qaeda-

 in-Iraq, including the following numbers for AQI’s use courtesy of Iran: 0X9X-9X1X3X1X3X,

 0X9X-9X1X3X9X4X, 0X9X-2X8X5X6X8, and 0X9X-9X3X1X3X9X. 151

           380.   During this time, the Qods Force also provided false documents to al-Qaeda-in-Iraq

 leaders and operatives to aid in their ability to move between Iran, Iraq, Afghanistan, Syria,

 Lebanon, and Jordan. For example, the Qods Force arranged for special passports and false

 documents for Zarqawi and his fighters to be able to enter Iraq without a visa.

           381.   Zarqawi’s apparent close relationship with the Syrian regime – which is Iran’s

 closest nation-state ally – corroborates the existence of his alliance with Iran. Given the Syrian

 regime’s support for the Iraqi insurgency, the ease with which Zarqawi was able to enter and exit

 Syria, and the regular flow of some AQI recruits through Syria into western Iraq, it is reasonable

 to conclude that Zarqawi had a close and collaborative relationship with the Syrian regime. Given

 Syria’s status as an Iranian client, such relations further corroborate Zarqawi’s receipt of support

 from Iran, as Syria would not have supported such activities without Iran’s blessing.

           382.   Iran also provided safe-haven to other senior AQI leaders in addition to Zarqawi.

 Based on the confession of one of Zarqawi’s Jordanian associates, Ahmad Mahmud Salih Al-

 Riyati, who was detained by Coalition forces in March 2003, Jordanian intelligence confirmed that

 nearly all the senior leaders of Zarqawi’s group had been sheltering and planning attacks from



 151
       Plaintiffs have redacted every other number in the numbers affiliated with Zarqawi.
                                                  116
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 Iran. Jordanian intelligence also concluded that Zarqawi himself probably directed al-Qaeda-in-

 Iraq’s attacks against Americans in Iraq from his safe-haven in Iran.

             383.   Training, Expert Advice or Assistance, and Personnel.            Iran’s (including

 Lebanese Hezbollah’s) training of the IRGC’s Sunni Proxies in small unit tactics, small arms,

 explosives, indirect fire, and other techniques enabled the Sunni Proxies to more effectively attack

 Americans in Iraq. The Sunni Proxies in Iraq used Iran’s training to kill or injure Plaintiffs or their

 family members.

             384.   Like its transportation assistance to al-Qaeda, Iran has also maintained a decades-

 long training relationship with al-Qaeda as part of the terrorist alliance between Iran, al-Qaeda,

 and Lebanese Hezbollah.

             385.   Iran, through the IRGC and Hezbollah, served as the original trainer for al-Qaeda

 with respect to suicide bombings, attacks against large buildings, IEDs, explosives, intelligence,

 and general tactics for attacks directed at American interests. For example, senior al-Qaeda

 operatives traveled to Iran and Lebanon during this period to camps run by Hezbollah and

 sponsored by the Qods Force. 152 The operatives received advanced explosives training that

 enabled al-Qaeda to launch large-scale terrorist attacks on American embassies in Africa. 153

 According to one senior al-Qaeda official, trainers at this time were already researching how to

 develop shaped charges to pierce armor plating – the technology later perfected in Iranian EFPs.

             386.   As Judge Daniels found in another case against Iran, “[t]hroughout the 1990s, the

 al Qaeda–Iran–Hizballah terrorist training arrangement continued. Imad Mughniyah himself



 152
   Owens v. Republic of Sudan, 826 F. Supp. 2d 128, 151 (D.D.C. 2011) (“Prior to al Qaeda
 members’ training in Iran and Lebanon, al Qaeda had not carried out any successful large scale
 bombings.”).
 153
       Id.
                                                    117
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 coordinated these training activities, including training of al Qaeda personnel, with Iranian

 government officials in Iran and with IRGC officers working undercover at the Iranian embassy

 in Beirut, Lebanon. At all times, Iran’s Supreme Leader was fully aware that Hizballah was

 training such foreign terrorists.” 154

           387.   Through its relationship with al-Qaeda and al-Qaeda-in-Iraq, Iran was the

 proximate and but-for cause of al-Qaeda-in-Iraq’s suicide bombing attacks against Americans in

 Iraq, because Al-Qaeda was responsible for the success of al-Qaeda-in-Iraq’s suicide bomb attacks

 against Americans in Iraq, and al-Qaeda itself could not have survived after 9/11 without the key

 support provided by Iran.

           388.   Iran also provided training to Zarqawi and other al-Qaeda-in-Iraq terrorists at IRGC

 training camps in Iran. Indeed, on or about 2004, Soleimani reportedly boasted that Zarqawi had

 trained at an IRGC camp in Mehran, Iran, and that Zarqawi and his network were free to travel

 between Iran and Iraq through multiple IRGC-controlled border crossings.

           389.   Iraqi officials also confirmed Iran’s key logistical support for Zarqawi’s terrorist

 campaign in Iraq. For example, in December 2004, a senior Iraqi defense official publicly alleged

 – based on information derived from an interrogation of an al-Qaeda-in-Iraq operative who had

 been detained in Iraq – that Iran and Zarqawi were working together to train AQI terrorists at IRGC

 facilities in Iran.

           390.   By 2004, Iran’s relationship with Zarqawi grew to be so open and notorious that

 the “United States … warned Iran against providing any type of support to Al-Qaeda-linked




 154
       In re Terrorist Attacks on Sept. 11, 2001, 2011 WL 13244047, at *12.
                                                  118
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 foreign militant Abu Mussab al-Zarqawi and his Tawhid wal Jihad (Unity and Holy War) group,

 saying such backing would be a ‘very, very serious matter.’” 155

           391.   As Judge Daniels found, “[t]he IRGC maintained a separate terrorist training camp

 especially for Saudi nationals because of their distinct cultural habits and religious practices. This

 training camp was located in Iraqi Kurdistan and controlled first by Iranian intelligence and later

 by Abu Musab Zarqawi, later to be the notorious head of ‘al Qaeda in Iraq.’” 156

           392.   Iran’s provision of lodging, safe harbor, and transportation to key al-Qaeda-in-Iraq

 leaders, including but not limited to, Zarqawi, was the but for and proximate cause of the formation

 of al-Qaeda-in-Iraq in the first instance.

           393.   Iran also provided logistical, training, and safe-haven directly to Ansar al-Islam

 terrorists targeting Americans in Iraq. As documented in a U.S. intelligence report, “there were

 approximately 320 Ansar al-Islam terrorists being trained in Iran . . . for various attack scenarios

 including suicide bombings, assassinations, and general subversion against U.S. forces in Iraq.”

 Similarly, a British defense report noted “some elements [of Ansar al-Islam] remain in Iran.

 Intelligence indicates that elements [of Iran’s Islamic Revolutionary Guard Corps] are providing

 safe haven and basic training to Iran-based [Ansar al-Islam] cadres.”

                      vii.   Iran Provided its Iraqi Sunni Terrorist Proxies with Financial
                             Support

           394.   Iran also provided financial support to al-Qaeda, al-Qaeda-in-Iraq, and Ansar al-

 Islam for the purpose of causing violence against Americans in Iraq. Iran accomplished this

 financial support through a number of direct and indirect means.



 155
    Agence France-Presse English Wire, US Warns Iran Against Any Support For Zarqawi
 (October 18, 2004).
 156
       In re Terrorist Attacks on Sept. 11, 2001, 2011 WL 13244047, at *12.
                                                  119
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           395.   In some instances, Iran directly paid money to Sunni terrorists. For example,

 regional Kurdish security officials documented Iran’s provision of cash to Sunni terrorists cycling

 back and forth between Iraq and their safe havens in Iran:

           For years, and with the blessing of Iranian officials, Islamist terrorist groups have
           smuggled … money into Iraq … When US special forces and Kurdish peshmerga
           fighters attacked Ansar al-Islam, an Al Qaeda affiliate, in March 2003, hundreds of
           its members fled to Iran, the officials said, and have regrouped in several towns just
           over this border. There, they continue to … raise funds, and plan terrorist
           operations in Iraq … Iraqi and US officials have grumbled for more than a year
           about what they perceive as Iranian interference in Iraq. … According to a half-
           dozen officials in the Patriotic Union of Kurdistan, known as the PUK, which
           controls the southern half of the Kurdistan region of Iraq, and commanders in the
           peshmerga, the force that provides security in the region, Iran has extended its
           network of agents inside Iraq. Iran, the officials say, continues to aid groups like
           Ansar al-Islam and Abu Musab al-Zarqawi’s group, now named Al Qaeda in
           Mesopotamia. Even though Iran is a Shi’ite theocracy, these officials said, it helps
           Sunni insurgent groups because it wants to prevent a strong unified government
           from taking shape in Iraq. “They go back and forth after running missions here,”
           said Anwar Haji Othman, head of security in the area around Halabja, including a
           long stretch of the Iranian border. “They bring cash from Iran to Iraq across the
           border.” 157

           396.   When it imposed sanctions in 2011, the Obama Administration recognized the

 funding nexus between Iran and al-Qaeda. Moreover, “Obama Administration officials have

 stated that senior Iranian officials know about the money transfers and allow the movement of al–

 Qaeda foot soldiers through Iranian territory.” 158

           397.   Iran specifically funded Zarqawi’s terrorist campaign against Americans in Iraq.

 According to a senior al-Qaeda terrorist, “the Quds Force … supplied Zarqawi with … money. If

 Osama was responsible for financing the butchers of Baghdad [i.e., Zarqawi], so was Tehran.”

           398.   As two terrorism scholars explained:

           The critical point is that there is considerable evidence that Zarqawi may have
           developed an Iranian connection for financial and logistical support. It was not the

 157
       Cambanis, Along Border.
 158
       In re Terrorist Attacks on Sept. 11, 2001, 2011 WL 13244047, at *26.
                                                    120
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           first time Shiite Iran reached out to radical Sunni terrorist organizations. For years,
           Iran has sponsored Palestinian Islamist groups, particularly Islamic Jihad but also
           Hamas, as well. Iran had a constant interest to reach out beyond the Shiite Islamic
           communities of the Middle East to the much wider Sunni Muslim world, and
           Zarqawi had objective needs that could be met by Iran. Unlike Osama bin Laden,
           who could fall back on his own family’s wealth and the backing of both Saudi
           charities and individuals, Zarqawi came from a poor background in Jordan. To
           wage his terrorist campaign, he needed state backing from somewhere. Indeed, Al-
           Sharq al-Awsat wrote in May 2004 that the Iranians had offered Zarqawi about
           $900,000 and explosives. The same Arabic source reported in August that Brig.-
           Gen. Qassem Suleimani of the Revolutionary Guards was asked why Iran backs
           Zarqawi, given his attacks on Shiites. Suleimani reportedly answered that
           Zarqawi’s actions serve the interests of Iran by undermining the emergence of a
           pro-U.S. government in Iraq. 159

           399.   Like its relationships with al-Qaeda and al-Qaeda-in-Iraq, Iran also provided

 substantial financial assistance to Ansar al-Islam terrorists to underwrite their attacks against

 Americans in Iraq.

           400.

           D.     In Furtherance Of The Conspiracy, Hezbollah, The Qods Force, And
                  Regular IRGC Operated As An Integrated Transnational Terrorist
                  Organization With A Common Doctrine, Strategy, Financial Structure,
                  Logistics Structure, And Command-And-Control

                  1.      The IRGC’s Transnational Terrorist Strategy, Doctrine, And Tactics
                          Emphasize The Deployment Of Joint Cells Of Terrorists Led By
                          Hezbollah, Funded And Resourced By The Qods Force, And
                          Supported By Local Iranian Terrorist Proxies

           401.   Hezbollah, the Qods Force, and Regular IRGC, have long followed a common

 terrorist strategy and doctrine, which deploys common tactics across all three IRGC components

 – including the use of Hezbollah as the cell leader and Qods Force as cell funder and logistician

 – and every geography in which the IRGC or any of its proxies operate.




 159
       Gold and Halevi, Zarqawi.
                                                    121
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          402.   The IRGC adheres to an integrated global terror strategy, and follows the same

 rules for terrorist tradecraft, out of a recognition that it and its proxies were likely to always

 suffer from a resource deficit, making the intelligent deployment of its human assets paramount.

 Given these “equipment and logistical constraints, Hezbollah – with the guidance of Iranian

 advisors – adopted a doctrine of guerrilla warfare against the Israeli occupation.” 160

          403.   The Joint Cell approach is the foundation of the IRGC’s terrorist doctrine and the

 cornerstone of the Hezbollah Division’s entire terrorism “business model” when, as in most use

 cases, the Hezbollah Division and Qods Force are being deployed outside of Iran, or are being

 deployed inside of Iran but specifically to target Americans, e.g., to torture an American hostage

 being held in Iran, or to plan for a raid targeting Americans from a site in Iran.

                 2.      Hezbollah, The Qods Force, And Regular IRGC Follow Common
                         Terrorist Techniques, Tactics, And Procedures And Use The Same
                         Terrorist Tradecraft To Ensure Concealment And Cover Worldwide

          404.   “Tradecraft” refers to the methodologies of engaging in covert operations

 (including killings) and general espionage. Terrorists and clandestine intelligence operatives

 both practice tradecraft. The tradecraft rules that govern Hezbollah, the Qods Force, and Regular

 IRGC are ironclad, inflexible, widely known, and universally applied worldwide, befitting the

 IRGC’s status as the world’s largest professionalized transnational terrorist organization.

          405.   Cover and Concealment. IRGC tradecraft emphasizes concealment and cover

 above all other operational imperatives. Both Islamist terrorists and western intelligence

 officials concur on the core doctrinal point that the two absolute requirements for nearly any

 successful operation are (i) Concealment, i.e., something or someone that protects something (or

 someone) else from being identified; and (ii) Cover, i.e., something that provides protection or



 160
       Lindemann, Laboratory of Asymmetry.
                                                   122
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 shelter to someone otherwise at risk. Amongst counter-terror professionals, it is axiomatic that

 “cover” and “concealment” are necessary ingredients in any successful long-term terrorist

 finance and logistics strategy that depends upon commercial transactions to facilitate terror.

 Nearly everything a terrorist does requires cover and concealment in some form: meeting with

 cell members, communicating with leadership, surveilling targets, traveling across an

 international border to attend a training camp, and so on.

        406.    Since the IRGC’s founding, Hezbollah, the Qods Force, and Regular IRGC have

 consistently emphasized cover and concealment as the essential aspect of any successful terrorist

 operation in light of the unique and affirmative need for the IRGC to “go on offense” and attack

 Americans abroad. They adhere to cover and concealment as the two most important principles

 in terrorist tradecraft for a simple reason: the IRGC’s security policy was and is specifically

 built on paranoid, antisemitic, aggression that explicitly targeted America (by name or in code),

 and posited that an alliance between Christians (Americans) and Zionists (Israelis) was bent on

 taking over the Middle East and defiling Islam, such that each member of the IRGC must always

 be attacking Americans and targeting the U.S. Given the IRGC’s choice of targets, cover and

 concealment was key to any successful attack.

        407.    The IRGC (including Hezbollah and the Qods Force) was purposely built for the

 specific task of attacking America and Israel in order to protect Iran’s Islamic Revolution by

 staying on a perpetual state of “offense,” i.e., a never-ending campaign of terror against

 Americans and their allies in the Middle East and around the world designed to strike the

 “infidels” on their own ground – rather than fight on Iranian soil – via terrorist attacks, usually

 carried out through a joint cell approach that outsources much of the violence to local IRGC

 proxies, but always under the control of Hezbollah and the Qods Force.



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        408.    Hezbollah, the Qods Force, and Regular IRGC adhered to the above-described

 security policy for the purported purpose of preventing “Christians” and “Zionists” from

 overrunning the Middle East, ending Iran’s Revolution, and forcibly converting every Muslim in

 the world to Christianity and Judaism. At all times, the Iranian Shareholders with whom MTN

 Group, ZTE Corp. and Huawei Co. conspired, i.e., fronts for the IRGC (including Hezbollah and

 the Qods Force), have adhered to this doctrine.

        409.    The ability of Hezbollah, the Qods Force, and Regular IRGC, to depend upon the

 reliability of its covers – corrupt corporate partners – was essential to the Conspiracy’s ability to

 obtain a vast storehouse of American smartphones and network computing technologies.

        410.    Every principle of terrorist tradecraft practiced by Hezbollah, the Qods Force, and

 Regular IRGC, begins with concealment. The IRGC (including Hezbollah and the Qods Force)

 has decades of terrorist experience and is the most experienced, practiced terrorist organization

 in the world today with respect to concealment.

        411.    Under the “security” doctrine universally practiced at all times by the IRGC,

 including Hezbollah and Qods Force, IRGC terrorists are taught as a matter of terrorist tradecraft

 that, if they are faced with a choice between: (a) possibly blowing the concealment of a cover,

 plot, operative, or transaction, and exposing the IRGC asset in question to capture or detection by

 the U.S. or Israel, or (b) simply lying, cheating, stealing, defrauding, burning, kidnapping, or

 murdering their way out of the problem, there is no choice at all: IRGC doctrine commands

 them to maintain concealment of the asset to prevent discovery. That is, a well-trained

 Hezbollah, Qods Force, or Regular IRGC terrorist is affirmatively compelled to do whatever is

 necessary to maintain concealment as a religious duty, in service of the Islamic Revolution and




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 the IRGC’s holy mandate to “preserve” the Revolution since 1979 by conducting waves of terror

 campaigns coordinated by Hezbollah’s External Security Organization.

        412.    The IRGC’s obsession with preserving concealment underpins this case. Because

 Hezbollah, the Qods Force, and Regular IRGC, prioritize concealment above all else, an IRGC

 operative would never truthfully reveal their “security”-related status – i.e., that they were a

 terrorist operative assigned to the IRGC’s Hezbollah Division’s External Security Office or

 through the IRGC’s Qods Force and currently on a mission.

        413.    When a forward deployed terrorist is operating under concealment, as most do,

 one key challenge involves how to develop reliable partners outside of the terrorist group (e.g., a

 partner who helps Hezbollah but is not himself a member).

        414.    Hezbollah, the Qods Force, and Regular IRGC, do not lightly accept foreigners in

 their terrorist “circle of trust.” And the IRGC did not do so here.

        415.    To earn – and keep – the trust of Hezbollah, the Qods Force, and Regular IRGC,

 the IRGC insisted that MTN Group and MTN Dubai, and on information and belief, ZTE Corp.

 and Huawei Co., sign the same IRGC template, in which each Defendant pledged to facilitate the

 “security” operations of the IRGC, i.e., attacks against Americans worldwide.

        416.    IRGC concealment doctrine emphasizes an “Orbit” strategy under which the

 IRGC, including its Hezbollah Division and the Qods Force, structures transactions so that the

 IRGC is behind one side, one step removed, but fully in control. This IRGC tradecraft is

 designed to give the IRGC, and its corrupt corporate and financial enablers, the ability to falsely

 claim that the IRGC did not directly benefit from an otherwise suspect transaction because the

 counterparty himself was not a member of the IRGC.




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        417.    In 2020, NATO confirmed the IRGC’s “Orbit” strategy in an analysis by Monika

 Gill, a defense scholar who closely studied how the IRGC deploys communications technology

 to facilitate anti-American terror, which NATO published in Defence Strategic Communications,

 “[t]he official journal of the NATO Strategic Communications Centre of Excellence.” Gill at 88.

        418.    According to Ms. Gill’s study, the IRGC’s practices while exercising control of

 Iran’s heavy construction industry show the IRGC’s “Orbit” strategy as being part of their

 terrorist tradecraft, because the entire point of the strategy is to enable a future accomplice – like

 a company that gets caught red-handed – to protest that they have no direct linkage to the IRGC:

        The IRGC-CF is comprised of a complex network of Orbit 1 companies and Orbit
        2 companies. In Orbit 1 companies, the IRGC-CF is directly represented on the
        board of directors, whilst in Orbit 2 companies, there appears to be no direct
        representation and therefore, seemingly no links to the IRGC-CF. Whilst Orbit 2
        companies appear independent of the IRGC, they maintain ties to the directly
        affiliated companies, and therefore remain under indirect IRGC influence.
        Baharahn Gostar Kish for example, is an information technology and
        communications company that has no formal links to the IRGC-CF, with no
        IRGC members on the board of directors. However, two board members
        represent Baharahn and … Gostar, which are both Orbit 1companies, meaning
        that the company still effectively falls under the IRGC economy. (Id. at 101-02.)

        419.    Ms. Gill’s analysis leaves no doubt as to the true nature of Defendants’

 counterparties. Indeed, it compels the conclusion that, even now, Defendants’ representations

 merely further the IRGC Conspiracy. Simply put, it is textbook IRGC terrorist tradecraft to

 structure deals that are designed to route value to the IRGC even when both sides to the

 transaction are not IRGC.

        420.    The IRGC’s terrorist doctrine emphasizes the reliance upon cover through the use

 charities, corporations, and endowments, and other ostensibly “civilian” or “economic” entities

 as covers for Hezbollah, the Qods Force, and Regular IRGC.




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        421.    In recognition of the central role of cover to IRGC doctrine, the IRGC created

 Unit 400 within the Qods Force. As one regional newspaper explained in 2021:

        Unit 400 has a network of facilitators and proxies, including elements in organized crime
        syndicates. These individuals collect information, make preliminary logistical
        preparations, and carry out operations if necessary.... Unit 400 has various front
        companies that both provide cover and money for this terrorist entity to operate…. [T]he
        IRGC uses its vast network of front companies, religious or charitable organizations
        around the world to recruit facilitators. 161

        422.    As a consequence, the IRGC, including its Hezbollah Division and the Qods

 Force, relied upon the importance of using crooked corporate partners to provide “cover” to

 facilitate, among other things: (i) illicit financial transactions to acquire and distribute U.S.

 Dollars, e.g., laundering and recycling U.S. Dollar-denominated drug profits to finance

 Hezbollah operations; (ii) illicit purchases of embargoed American technology, e.g., bulk

 purchasing thousands of black market secure American mobile phones; (iii) illicit movement of

 terrorist operatives, e.g., a Hezbollah attack planner whose need to visit Europe requires a visa

 supplied by a credible front company; (iv) illicit safe havens, e.g., a fictitious company used as

 cover for an al-Qaeda safehouse in Afghanistan; and (v) illicit cache sites, e.g., a Hezbollah

 attack planner whose need to visit Europe requires a visa supplied by a credible front company.

        423.    Slush Funds For “Off-Books” Terrorist Finance. Core IRGC doctrine

 emphasizes that the IRGC, including its Hezbollah Division and the Qods Force, must draw a

 substantial portion of the funds, arms, personnel, and logistical support for anti-American

 terrorism globally from “off-books” sources or “slush funds,” with the Bonyad Mostazafan being




 161
    Shahriar Kia, Global Terrorist Activities Of The Iranian Mullah Regime, Weekly Blitz
 (Bangladesh) (Dec. 4, 2021), 2021 WLNR 39679934.
                                                  127
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 the most notorious – and important – example. Moreover, “all the IRGC's economic activities are

 monitored only by internal IRGC auditors and … the corps pays no taxes.” 162

         424.    Corruption As Terrorist Tactic And Tool. The terrorist tradecraft practiced and

 taught by Hezbollah, the Qods Force, and Regular IRGC, have long used corruption, bribery,

 kickbacks, khums, “taxes,” and protection money as a core strategy to facilitate terrorist attacks

 against Americans in Afghanistan, Iraq, and elsewhere through: (1) terrorist finance, including

 raising funds, concealing funds, converting funds to U.S. Dollars (the currency of choice for all

 terrorists), and moving the Dollars to the necessary terrorist cell; (2) terrorist logistics, including

 acquiring the embargoed technologies necessary to improve the bombs, rockets,

 communications, and surveillance capabilities necessary to kill or kidnap Plaintiffs; and (3)

 terrorist freedom of movement, including securing visa and other government papers necessary

 to a plot, bribing law enforcement to prevent the roll-up of a cell, and the like.

         425.    Decades of Hezbollah operations, investigations, and prosecutions confirm how

 Hezbollah, the Qods Force, and Regular IRGC, converted income from the transnational

 corruption economy for terror, including, but not limited to, examples ranging from Hezbollah’s

 dominant role in the Lebanese banking system, to Hezbollah’s sponsorship of narcotics

 trafficking (Hezbollah serves as an elite global management consulting company for

 narcotraffickers), to Hezbollah’s involvement in transnational organized crime worldwide (where

 Hezbollah serves as both partner, client, and management consultant).

         426.    By 2004, Hezbollah, the Qods Force, and Regular IRGC had spent more than two

 decades developing and refining their shared tradecraft, networks, strategies, and tactics relevant




 162
   Rasool Nafisi, Iran’s Revolutionary Guard Has A Lot To Lose, Radio Free Europe
 Documents (Sept. 18, 2009), 2009 WLNR 18604289.
                                                   128
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 to using corruption as a tool for terror. As a result, Hezbollah, the Qods Force, and Regular

 IRGC, already had a purpose-built transnational infrastructure enabling them to convert the

 profits from the “corruption economy” in one country into attacks in that country or others.

         427.    Required Donations (Khums) From All IRGC Members. Shiite theological

 traditions call for donations (khums), usually equal to twenty percent (20%) of a person’s income

 on every transaction, to support the cause. The IRGC, however, has twisted this religious

 tradition, like tithing in Christianity, into something else.

         428.    Under the longstanding IRGC doctrine that Hezbollah teaches to Iranian proxies

 like Jaysh al-Mahdi, the IRGC emphasizes the need to consistently collect donations (or taxes) as

 something that is universally required from all profit-generating activities and transactions –

 without exception – including, but not limited to, profits generated through official business,

 criminal rackets, bribery and kickbacks, and a broad array of other illicit cash flow schemes.

 The IRGC’s “no exceptions” rule ensures that the terrorist have an administratively simple

 scheme (analogous to a terrorist flat tax), ensuring ease of implementation, and comporting with

 the broader IRGC emphasis on its terrorists and proxies embracing administrative simplicity.

         429.    Under IRGC doctrine, khums donations are mandatory on multiple different

 transaction types, all of which ultimately flow back to fund the IRGC, including its Hezbollah

 Division and the Qods Force. First, if income flows through and IRGC-controlled front (i.e.,

 MTN Irancell) to the IRGC shareholders behind that front, the respective shareholders provide a

 donation to the others. Thus, for example, if MTN Irancell flowed through $100 million to the

 IRGC, one may infer that the IRGC would donate approximately $20 million to Hezbollah and

 the Qods Force in order to export Iran’s Islamic Revolution abroad through anti-American terror.




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        430.    Second, if an IRGC member (or cutout acting on their behalf) receives an

 economic benefit, such as a $400,000 bribe, IRGC doctrine mandates that the bribe recipient

 kickback, mafia-style, twenty percent of the income to the IRGC. Thus, for example, an IRGC

 member who receives a $400,000 bribe could be expected to kickback $80,000 to the IRGC.

                3.     Hezbollah’s, The Qods Force’s, And Regular IRGC’s Terrorist
                       Tradecraft And Doctrine Has Historically Relied On Fronts,
                       Operatives, Agents, Cut-Outs, And Orbits To Fund, Arm, And
                       Operationally Aid IRGC Terrorist Proxy Attacks Against Americans

        431.    The terrorist tradecraft and doctrine of Hezbollah, the Qods Force, and Regular

 IRGC, reflects a long and notorious history of relying on fronts, operatives, and agents to obtain

 funding, weapons, and operational support to benefit their terrorist operations and anti-American

 proxies around the world, most of all Hezbollah.

        432.    On February 10, 2010, the U.S. Treasury Department announced additional IRGC

 front-related designations and stated that the IRGC was using illicit commercial transactions to

 bolster Iran’s terrorist enterprise, explaining that “[a]s the IRGC consolidates control over broad

 swaths of the Iranian economy, … it is hiding behind companies … to maintain vital ties to

 the outside world,” and that the designations “will help firms worldwide avoid business that

 ultimately benefits the IRGC and its dangerous activities.” 163

        433.    On August 3, 2010, the U.S. Treasury Department announced additional IRGC-

 and Qods Force-related terrorist designations that bolstered the U.S. message that the “IRGC and

 IRGC-QF” provided “Support for Terrorist Organizations,” including Hezbollah, and relied upon

 illicit commercial transactions to fund and arm the IRGC-led terror campaign against Americans:




 163
    U.S. Treasury Dep’t, Treasury Targets Iran’s Islamic Revolutionary Guard Corps (Feb. 10,
 2010) (emphasis added).
                                                130
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        Today’s designations expose Iran’s use of … the Islamic Revolutionary Guard
        Corps-Qods Force – and state-run social service organizations to support
        terrorism under the guise of … economic development ….

        IRGC and IRGC-QF Support for Terrorist Organizations:
        The IRGC-QF is the Government of Iran’s primary arm for executing its policy of
        supporting terrorist and insurgent groups. The IRGC-QF provides material,
        logistical assistance, training and financial support to militants and terrorist
        operatives throughout the Middle East and South Asia. … The Government of
        Iran also uses the Islamic Revolutionary Guard Corps (IRGC) and IRGC-QF to
        implement its foreign policy goals, including, but not limited to, seemingly
        legitimate activities that provide cover for intelligence operations and support to
        terrorist and insurgent groups. These activities include economic investment …
        implemented by companies and institutions that act for or on behalf of, or are
        owned or controlled by the IRGC and the Iranian government. 164

        434.    On December 21, 2010, the U.S. Treasury Department announced additional

 IRGC-related designations “targeting the financial networks of” the IRGC, and stated once again

 that IRGC, including Hezbollah and the Qods Force, relied upon illicit commercial transactions,

 including through bonyads like Bonyad Mostazafan, to facilitate Iran’s terrorist enterprise:

        The IRGC continues to be a primary focus of U.S. … sanctions against Iran
        because of the central role it plays in Iran’s … support for terrorism …. The U.S.,
        UN, EU, Japan, South Korea and others have all targeted the IRGC for sanctions
        because of this illicit activity. With the IRGC’s expanding influence and control
        over broader segments of [Iran’s] economy … increasing numbers of Iranian
        businesses are subsumed under the IRGC’s umbrella and identified with its illicit
        conduct. … [B]onyads are opaque, quasi-official organizations controlled by key
        current and past [Iranian] officials and clerics. Bonyads receive [government]
        benefits … but are not required to have their budgets publicly approved. They
        account for a significant portion of Iran’s non-petroleum economy. … Treasury
        has designated 14 IRGC-affiliated individuals and entities since June 2010 for
        facilitating Iran’s nuclear [] program or support for terrorism. 165




 164
    U.S. Treasury Dep’t, Fact Sheet: U.S. Treasury Department Targets Iran’s Support for
 Terrorism Treasury Announces New Sanctions Against Iran's Islamic Revolutionary Guard
 Corps-Qods Force Leadership (Aug. 3, 2010) (emphasis added).
 165
    U.S. Treasury Dep’t, Fact Sheet: Treasury Designates Iranian Entities Tied to the IRGC and
 IRISL (Dec. 21, 2010).
                                                131
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        435.    On June 23, 2011, the U.S. Treasury Department announced additional IRGC-

 related designations that reinforced the U.S. message that illicit transactions with IRGC

 commercial fronts directly aided terrorism against Americans by Iranian terrorist proxies:

        Treasury Targets Commercial Infrastructure of IRGC, Exposes Continued
        IRGC Support for Terrorism. Today, … Treasury took action to designate …
        Iranian commercial entities … owned by [IRGC] … The IRGC continues to be a
        primary focus of U.S. and international sanctions against Iran because of the
        central role it plays in … Iran’s illicit conduct, including Iran’s … support for
        terrorism … As Iran’s isolation has increased, the IRGC has expanded its reach
        into critical sectors of Iran’s economic infrastructure – to the detriment of the
        Iranian private sector – to generate revenue and conduct business in support of
        Iran’s illicit activities. Today’s actions target core commercial interests of the
        IRGC, while also undermining the IRGC’s ability to continue using these interests
        to facilitate its … illicit conduct. … The IRGC has a growing presence in Iran’s
        financial and commercial sectors and extensive economic interests …, controlling
        billions of dollars in corporate business. Given its increased involvement in
        commercial activity, imposing financial sanctions on commercial enterprises of
        the IRGC has a direct impact on revenues that could be used by the IRGC to
        facilitate illicit conduct. 166

        E.      In Furtherance Of The Conspiracy, Hezbollah, The Qods Force, And
                Regular IRGC Managed A Transnational Network Of Terrorist Finance,
                Logistics, Operations, And Communications Cells To Fund, Arm,
                Logistically Sustain, And Facilitate Attacks On Americans In Afghanistan

        436.    United States. Hezbollah, the Qods Force, and Regular IRGC rely upon a global

 network of cells, operatives, cover companies, and allied criminals in the corporate world (like

 Defendants) and the criminal world (like narcotraffickers and transnational crime organizations).

        437.    Hezbollah, the Qods Force, and Regular IRGC, operated the Conspiracy in the

 same manner as a multinational corporation, seeking to leverage geographic efficiencies,

 networks, and distributed competencies to maximize the lethality of the Conspiracy’s terrorist

 campaigns against Americans in Afghanistan, Iraq, Yemen, Syria, Europe, Pakistan, and




 166
    U.S. Treasury Dep’t, Fact Sheet: Treasury Sanctions Major Iranian Commercial Entities
 (June 23, 2011) (emphasis added).
                                                132
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 elsewhere. This section briefly outlines how Hezbollah, the Qods Force, and Regular IRGC,

 leveraged terrorist finance, logistics, technical and communications support from around the

 world to directly aid the terror campaign against Americans in Afghanistan.

        438.    American Technologies. Hezbollah, the Qods Force, and Regular IRGC

 depended upon the IRGC’s ability to access technologies, markets, and systems that were found

 exclusively in the United States to execute key parts of the Conspiracy. Simply put, they needed

 as much access to America as possible to kill as many Americans as possible.

        439.    Hezbollah, the Qods Force, and Regular IRGC relied upon American-designed,

 protected, manufactured, and/or assembled technologies, including, but not limited to, mobile

 phones, smartphones, enterprise servers, networking technologies, and software, because they

 are the gold standard. No other country made a credible competing device (that was available to

 the public, as opposed to their own “security” agencies) between 2001 and 2022.

        440.    American Markets. Hezbollah, the Qods Force, and Regular IRGC relied upon

 in-person and online sales markets in the United States, including but not limited to currency

 markets (relying upon the U.S. Dollar as the IRGC’s preferred currency) technology markets

 (relying on U.S. goods as the IRGC’s preferred technology source), financial markets (relying on

 U.S. financial markets because U.S. banks have connectivity to the 50+ countries where Qods

 Force and Hezbollah operate), labor markets (relying on skilled laborers, particularly information

 technology consultants, to service the IRGC’s illicitly acquired U.S. technologies), and black

 markets (relying on the ability to acquire some of the above items available only in the U.S.).

        441.    In every instance, Hezbollah, the Qods Force, and Regular IRGC depended upon

 their ability to access U.S. markets at home to kill Americans abroad because U.S. markets have

 unique power to set the terms and pricing for the world, and were often also the only location



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 where Hezbollah, the Qods Force, and Regular IRGC could acquire key items in the covert

 manner needed under the IRGC’s terrorist tradecraft. For example, the IRGC could not source

 large amounts of U.S. Dollars or access state-of-the-art American technologies without the

 IRGC, or one of its corporate co-conspirators, reaching into the U.S. to further the Conspiracy.

 This case concerns the various nodes and modalities by which the IRGC accomplished that.

        442.    American Systems. Hezbollah, the Qods Force, and Regular IRGC relied upon

 their ability to access certain financial, technical, and knowledge systems that were stored

 exclusively inside the United States. For example, the IRGC depended upon the ability of its

 terrorist computer programmers to access certain proprietary databases located inside of the

 United States to complete the design of a part necessary for a new type of bomb.

        443.    U.A.E.; Iraq; Iran; Lebanon; Yemen; Syria; Afghanistan; Pakistan. From

 9/11 through the present, attack planners, logisticians, and financiers for Hezbollah, the Qods

 Force, and Regular IRGC as well as nearly every other major Islamist terrorist group, including

 but not limited to al-Qaeda, the Taliban (including its Haqqani Network), and others, have relied

 upon the U.A.E., especially Dubai, as a logistical, financial, and operational hub, where they

 could organize their terrorist campaigns in Iraq, Iran, Lebanon, Yemen, Syria, and Afghanistan.

        444.    With respect to the IRGC’s terrorist campaign against Americans in Iraq and

 Syria in furtherance of the IRGC Conspiracy, the U.A.E. served as a logistical, financial, and

 operational hub for the campaign, and the U.A.E. was functionally part of one interlocking

 geography of extreme terrorist finance and logistics risk and hub of activity, 167 purpose-built for



 167
    For the avoidance of all doubt, the government of the U.A.E. was, and remains, an ally of the
 U.S. in the fight against terrorism. The terrorists’ use of the U.A.E. as a hub was based on a
 range of other factors, including, but not limited to, geography, history, particular trading
 networks, transportation channels, and an advanced infrastructure for conducting transactions


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 the IRGC Syndicate Terrorist Proxies’ terror campaigns. Simply put, the terrorists did not respect

 the borders of any of these countries – other than Iran and Syria, with whom they were allied,

 rendering the issue moot – and viewed the entire geography as one combined theater.

         445.    South Africa. Hezbollah, the Qods Force, and Regular IRGC have long operated

 openly in South Africa. “Iran and South Africa have cooperated on a number of fronts in recent

 decades, including at the U.N., where South Africa has at times advocated for Iran” and “[t]he

 pair also have a military relationship.” 168

         446.    The IRGC’s freedom of movement in South Africa is a legacy of Ayatollah

 Khomeini, who stood against the Apartheid regime while, unfortunately, the United States (for a

 time) did not. For decades, Hezbollah, the Qods Force, and Regular IRGC leveraged Iran’s

 historical opposition to Apartheid. Because of this unique Iranian-South African history,

 Hezbollah, the Qods Force, and Regular IRGC viewed South Africa as a veritable home away

 from home, as South Africa was one of the few major democracies to abstain from joining the

 sanctions regime against Iran and to afford the IRGC relatively unfettered freedom of movement.

 As a result, Hezbollah, the Qods Force, and Regular IRGC operated clandestine fundraising,

 logistics, and operations networks in South Africa for decades.

         447.    In an interview with Politico, American intelligence officials confirmed that

 “[t]he Iranian government [] operate[d] clandestine networks in South Africa," “and has had a

 foothold there for decades.” In 2015, Al Jazeera and The Guardian reported on leaked

 intelligence documents revealing an extensive network of Iranian operatives in South Africa.




 and moving goods and monies throughout the Middle East. The terrorists, like many
 multinational corporations, set up their regional headquarters in Dubai for these reasons.
 168
     Nahal Toosi and Natash Bertrand, Officials: Iran Weighing Plot To Kill U.S. Ambassador To
 S. Africa, Politico (Sept. 13, 2020).
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        448.    According to leaked documents from the South African intelligence service,

 Hezbollah and the Qods Force operate cells in South Africa, showing “confirmed” links between

 Iranian operatives in overseas embassies and “terrorists.”

        449.    In or about 2020, American intelligence services detected that Hezbollah, the

 Qods Force, and Regular IRGC was planning a terrorist attack in South Africa to kill the U.S.

 ambassador to South Africa as retaliation for the killing of Qassem Soleimani in January 2020.

 Hezbollah’s choice of South Africa as the potential attack site is revealing, as the terrorists had

 the chance to survey all the world to choose the best location to kill an American ambassador.

 As Politico noted, the U.S. ambassador to South Africa “may also [have] be[en] an easier target

 than U.S. diplomats in other parts of the world, such as Western Europe, where the U.S. ha[d]

 stronger relationships with local law enforcement and intelligence services.” Id.

        450.    Europe. Europe has long been a hub for terrorist finance, logistics, and

 operational support for Hezbollah, the Qods Force, and Regular IRGC as well as al-Qaeda, the

 Taliban, and their Syndicate terror partners in Afghanistan and Pakistan. Europe’s proximity to

 many of the attack theaters and ease of travel make it a key site for the terrorist campaign.

        451.    The Americas. The IRGC, through Hezbollah and the Qods Force, maintains a

 substantial presence in the Americas, including, but not limited to, in Venezuela, Colombia,

 Paraguay, and other nations.

        452.    Hezbollah and the Qods Force maintained operational, finance, and logistics cells

 in multiple nations in the Americas, through which Hezbollah operated an array of criminal

 schemes, e.g., narcotics trafficking, to repatriate money back to the terrorist campaign.




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         453.    Hezbollah and the Qods Force support the terrorist campaign in the Middle East

 from their cells in the Americas. Indeed, that is the purpose of the cells far from Hezbollah’s

 home in Beirut – cash and logistics flow for its terror campaigns.

         454.    Southeast Asia. The IRGC, through Hezbollah and the Qods Force, maintains a

 substantial presence in Southeast Asia.

         455.    Hezbollah and the Qods Force maintain operational, finance, and logistics cells

 throughout multiple Southeast Asian nations, including Malaysia and Singapore.

         456.    Hezbollah and the Qods Force support the terrorist campaign in the Middle East

 from their Southeast Asian cells. Indeed, that is the purpose of the cells far from Hezbollah’s

 home in Beirut – cash and logistics flow for its terror campaigns.

 IV.     THE CONSPIRACY DEPENDED UPON THE CO-CONSPIRATORS’ ROBUST
         ACCESS TO U.S. TECHNOLOGY, U.S. DOLLARS, AND U.S. PERSONS TO
         CARRY OUT ATTACKS AGAINST AMERICANS IN THE MIDDLE EAST

         A.      After The U.S. Invasions Of Afghanistan And Iraq, Hezbollah, The Qods
                 Force, And Regular IRGC Concluded That They Needed To Revolutionize
                 Their Access To U.S. Technologies Through Corrupt Corporate Partners

         457.    By 2003, the tech-gap between the “security” operatives deployed by Hezbollah,

 the Qods Force, and Regular IRGC on the one hand, and U.S. counter-terrorists, law

 enforcement, and intelligence officers, on the other, was so vast it was as if Americans and the

 IRGC “security” operatives targeting them experienced two different technological realities.

         458.    After the fall of Saddam Hussein in 2003, U.S. personnel in the Middle East

 practiced their counter-terror tradecraft in one reality where Americans wielded expansive 24/7

 surveillance powers, possessed unparalleled intelligence networks, and had real-time data

 analytic abilities that played a key role in reducing the threat of Islamist terror.

         459.    Meanwhile, the IRGC “security” operatives practiced their tradecraft in a world

 that was upside down and terrifying. A sloppy phone call could result in a precision American

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 airstrike a few minutes later. An errant text message could enable the “Great Satan” to take

 down a Joint Cell. A carelessly documented transaction could reveal an important laundering

 scheme. Most of all, the “security” operatives of Hezbollah, the Qods Force, and Regular IRGC

 were caught in a digital cage from which they could not carry out their religious, and

 constitutionally prescribed duty – attack and kill Americans.

        460.    The IRGC knew that the U.S. telecom and network computing industry would not

 solve their problem – if anything, the American industry would only widen the gap even more

 between the IRGC and the Americans it wanted to kill. For decades, large U.S.-headquartered

 telecom and network computing companies have been reliable partners of the U.S. government

 with respect to reducing the threat from terrorism. Indeed, the anti-terrorism track record of

 America’s telecommunications and network computing companies has been among the best of

 any industry anywhere in the world. 169

        461.    This matters because the robust commitment of American telecom and network

 computing companies to anti-terrorism compliance was known to the IRGC (and all other

 industry participants), which meant that the terrorists knew they would be unable to count on

 their normal strategy for illicitly acquiring something – bribery, extortion, fraud – because none

 of those strategies held the promise of success at the industrial scale that Hezbollah, the Qods

 Force, and Regular IRGC required for their global terrorist Conspiracy against Americans.

        462.    By 2003, the IRGC knew that its operatives would never be able to sustain the

 global terrorist Conspiracy it had planned against America after 9/11 unless the IRGC could find




 169
    Plaintiffs are not aware of any federal criminal terrorism-related prosecutions, civil Anti-
 Terrorism Act allegations, or analogous anti-terrorism matter brought by any government against
 any such large U.S.-headquartered telecom and/or network computing companies.
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 a way to break out of the digital detention cell that was effectively created by the walls of

 compliance offered by America’s telecommunications and network computing companies.

         463.    Hezbollah ordinarily serves as the IRGCs illicit procurement agent of choice for a

 litany of reasons including, but not limited to, deniability, cultural affinities, and the presence of

 a Lebanese diaspora dispersed around the world, upon which Hezbollah, like most Islamist

 groups, heavily relies.

         464.    By 2003, the IRGC had tasked Hezbollah with solving a riddle: how do they, the

 terrorists, establish the reliable, secure, and covert pipeline that they need to illicitly acquire the

 tens of thousands of state-of-the-art American smartphones and network computing technologies

 each year necessary to sustain their decades-long, global terrorist campaign against America?

         465.    The answer? Identify potential multinational corporate partners who would be

 willing to provide the technology they needed.

         466.    As the IRGC spun up its transnational terrorist Conspiracy, its leadership worked

 with Hezbollah and the Qods Force to develop a comprehensive plan to revolutionize their

 respective terrorist capabilities to prepare for their anticipated decades-long terrorist campaign

 against Americans throughout the Middle East. To accomplish the object of the Conspiracy –

 ejecting the United States from the entire Middle East through a campaign of terror – the

 terrorists had several critical requirements.

         467.    First, the IRGC and its terrorist allies needed a generational upgrade in the

 security of their computer systems and network technologies, especially the state-of-the-art

 American servers that were the condition precedent for the IRGC’s ability to execute a

 Revolution in Terrorist Affairs (a terrorist mirror image of the US military’s Revolution in

 Military Affairs) (see infra ¶ 313) , and without which the IRGC’s efforts would be less



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 effective, less efficient, more expensive, and would produce, ultimately, fewer dead Americans.

 Given the sheer scalef of the IRGC’s terrorist Conspiracy, even marginal improvements in IRGC

 computing power translated to more plots being shared, more fundraising solicitations, more

 recruits, and ultimately, more attacks.

        468.    Second, the IRGC and its terrorist allies needed a reliable, replenishable,

 untraceable source of suppliers for illicit high-quality American mobile phones sold inside the

 United States and then illegally reexported to eventually flow through the Qods Forces logistics

 channels – as intended – before reaching Hezbollah, who relied upon American phones to

 coordinate Iran’s global terrorist Conspiracy against Americans in Afghanistan and Iraq.

        469.    Given the transnational nature of the IRGC Conspiracy, Hezbollah, the Qods

 Force, and the leadership of terrorist proxies like Jaysh al-Mahdi (in Iraq) and the Taliban (in

 Afghanistan), faced a simple, but potentially fatal, problem confronting their post-9/11 terrorist

 enterprise against America: how to facilitate the free movement of key terrorist leaders, attack

 planners, fundraisers, and logisticians between the various hubs of the Conspiracy, e.g., a senior

 Hezbollah operative who shuttles from Beirut (where Hezbollah is based), to Syria (where

 Hezbollah and the IRGC maintain a listening post), to Baghdad (where Hezbollah led Joint Cells

 targeting Americans), and then to Tehran (where the IRGC is based). This isn’t the plot of a spy

 movie: it describes the ordinary travel patterns of thousands of IRGC terrorists each year.

        470.    The IRGC understood that, in the modern era of terrorism, without a reliable

 supply of secure mobile phones, its Hezbollah and Qods Force operatives were at an enormous

 disadvantage, unable to move and communicate freely for fear their phones were compromised

 by the Americans (as they likely were).




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        471.    Worse, the IRGC lacked any easy solutions because America dominated the

 mobile phone industry and was not open for business to the IRGC. Shut off from the U.S.

 marketplace, the IRGC was unable to build their own phones and unwilling to place the lives of

 their most prized operatives – the people who led joint cells and coordinated operations – in the

 hands of the junky, unreliable mobile phones being made outside of the United States at the time.

        472.    Thus, the IRGC embarked on a comprehensive strategy designed to achieve its

 technological revolution, obtain reliable industrial scale supplier relationships that could source

 American mobile phones, close the communications gap with the “Great Satan,” and enhance the

 lethality of its global terrorist campaign against America. To do so, the IRGC needed to source

 tens of thousands of untraceable mobile phones every year to ensure the secure and untraceable

 lines of communication between combined cells of Hezbollah, Qods Force, and local proxy

 terrorist allies operating in dozens of countries worldwide and, among other people, their local

 organized crime allies (e.g., narco-traffickers), corrupt politicians (essential for things like

 passports and permits), and terrorist headquarters, as examples.

        473.    Unfortunately for Hezbollah, the Qods Force, and Regular IRGC who were

 responsible for the Conspiracy’s transnational logistics, weapons, financial, personnel flows,

 they could not source the tens of thousands of advanced American smartphones they needed

 every year with a few purchase orders on Bonyad Mostazafan’s letterhead, because the IRGC

 terrorists the Bonyad was designed to benefit, e.g., Hezbollah and the Qods Force, were

 sanctioned. Even if the Regular IRGC were not sanctioned, as a matter of IRGC terrorist

 tradecraft, lawful purchases of American phones inside U.S. markets by the precious Hezbollah

 or Qods Force assets inside the United States (for whom exposure was not to be risked lightly),

 while viable in small increments, was impossible at the commercial scale necessary for the



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 Conspiracy to succeed. Moreover, direct purchases by Hezbollah or Qods Force assets

 themselves would leave an evidentiary paper trail and risk the terrorists’ operatives being

 compromised – a potential catastrophe for Hezbollah, the Qods Force, and Regular IRGC.

        474.    Logically, that left the IRGC in a predicament. The IRGC could only satisfy its

 operational requirements through the bulk acquisition of thousands of high-end American mobile

 phones every year, but if the IRGC attempted to do so directly, even using existing IRGC front

 companies, the enterprise would not yield nearly enough American phones, because the black

 market cell phone trade is a volume business where deals and goods must move rapidly. Thus,

 the IRGC needed front companies that offered the agility, resources, global networks, and

 executives with willingness to aid the world’s worst terrorists for profit. 170

        475.    Accordingly, the IRGC’s ability to prosecute a global terrorist campaign against

 the United States required the services of corrupt multinational corporate partners, with deep

 resources, large logistics chains, and a willingness to conspire with anti-American terrorists. The

 following characteristics were key:

 (i)    New terrorist cash flow generated by taking over a “civilian” company, to make it
        easier to illicitly acquire American technology (that’s the point of cover) and make it
        harder for the IRGC’s enemies to mobilize effective sanctions against the funding source
        (because IRGC apologists, like MTN Group, could publicly spread disinformation to
        undermine any pressure campaigns, as MTN Group did, and continues to do to this day);

 (ii)   Illicit acquisition of critical American technologies, including secure American
        smartphones, computer networking technology, and other sensitive dual-use American
        technologies to accomplish the IRGC’s own Revolution in Terrorist Affairs; and the




 170
    Because the global market for the sale of illegal American smartphones was vulnerable to law
 enforcement shocks that could rapidly suppress (temporarily) the supply chain – e.g., a raid in
 Detroit that removed one of the largest dealers from servicing the black market – it was
 imperative for the IRGC that its purchasing agents have the agility, financial resources, and
 global assets to source illicit American-exported cell phones in black markets worldwide,
 including, but not limited to, illicit cell phone markets on every continent but Antarctica.
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 (iii)   Robust logistics capabilities befitting the operation of Hezbollah, the Qods Force, and
         Regular IRGC as a multinational terrorist corporation that had a constant need to manage
         and rationalize the flow of illicit funds, arms, communications, narcotics, and personnel
         across six continents, all in support of the shared terrorist enterprise.

         476.   At bottom, decrepit telecommunications, network computing, and associated

 technologies posed an immediate, and dire, threat to the IRGC’s ability to kill as many

 Americans as possible in Afghanistan and Iraq because the IRGC was generations behind its

 U.S. enemies on nearly every key class of communications and computing technologies

 necessary to sustain a modern global terrorist campaign stretching from Syria to Afghanistan.

         477.   The “Revolution in Military Affairs” or “RMA” refers to a widely accepted

 military hypothesis that emerged in the 1990s and posited that Western militaries needed to

 prepare for future asymmetrical threats by maximizing the technological gap between Western

 militaries and local hostile forces, e.g., IRGC proxies in Afghanistan, to achieve objectives such

 as increasing the speed with which forces can maneuver, increasing the flow of intelligence to

 troops, facilitating real-time information sharing amongst allied friendly forces, and promoting

 “interoperability” between the militaries of different nations.

         478.   By early 2004, the IRGC Conspiracy was in full bloom. Hezbollah, the Qods

 Force, and Regular IRGC had embraced their own take on the RMA, but repurposing its

 principles for use by Iran-backed terrorists, e.g., a Revolution in Terrorist Affairs. The IRGC

 concluded that it had to overhaul the terrorists’ communications, computing, internet, and cyber

 capabilities to enable Iran to continue aiding attacks against Americans in Afghanistan and Iraq.

         479.   The IRGC had no choice but to seek American technology because America held

 the dominant position with respect to the world’s computers, mobile phones, servers, routers, and

 the like, and the IRGC understood that it needed to illicitly acquire vast amounts of embargoed

 American technologies to commit terrorist attacks.

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        480.    By late 2004, the IRGC was desperate to upgrade its telecommunications because

 it understood that its ability to help kill and maim Americans at scale in Iraq, Afghanistan, and

 elsewhere depended upon the ability of its Hezbollah and Qods Force operatives, and their

 proxies to solve their American mobile phone access crisis. The IRGC’s terrorist proxy Jaysh al-

 Mahdi was routed by U.S. forces twice that year. Moreover, the escalating gap between

 American counter-terrorists and IRGC “security” operatives, i.e., Hezbollah and Qods Force

 terrorists, threatened to eviscerate the ability of Hezbollah, the Qods Force, and Regular IRGC to

 facilitate terrorist violence against the United States in Afghanistan and Iraq.

        481.    Indeed, the IRGC watched, with escalating alarm, as its communications and

 computing gap widened and threatened its ability to attack and kill Americans in Afghanistan

 and Iraq. The need to find a long-term technology supply fix and was one of the highest

 priorities of Hezbollah, the Qods Force, and Regular IRGC.

        B.     The IRGC Addressed The Conspiracy’s Funding And Logistics Needs By
               Seizing Iran’s Largest Telecommunications Companies To Acquire The
               Technologies, Cash Flow, And Logistical Aid From Corporate Partners

        482.    In 2004, the IRGC embarked on a two-step solution. Step One: the IRGC seized

 Iran’s large state-owned telecom companies and converted them into tools of terrorist finance,

 logistics, propaganda, recruiting, and operations. In 2005, “Ayatollah Khamene’i issued a decree

 … ordering 25% of state-owned assets to be privatised within 5 years. $120 billion worth of

 government assets were sold … Yet, the largest purchaser of privatised government assets was

 the IRGC, which received favourable terms from the Ahmadinejad regime. Under the guise of de

 jure privatisation, state-owned assets were de facto militarised.” Gill, supra, at 104.

        483.    Step Two: the IRGC secured the agreement of complicit, corrupt

 telecommunications companies, including ZTE Corp., Huawei Co., and co-conspirators MTN

 Group and MTN Dubai, which were willing to do business with fronts for the IRGC’s
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 transnational terrorist logistics, technology, and financial enterprise and help the terrorists

 illicitly source the comprehensive suite of state-of-the-art American technologies that the IRGC

 determined were necessary for its own Revolution in Terrorist Affairs, so that Hezbollah and the

 Qods Force could do what they ended up doing: launch a devastating wave of violence against

 Americans throughout Afghanistan and Iraq.

         484.    The IRGC’s two most important telecom front company targets were MTN

 Irancell and TCI, and the IRGC quickly assumed full control of both companies, completely

 converting each to its terrorist enterprise.

                 1.      MTN Irancell

         485.    In 2004, the IRGC negotiated with Turkcell, a Turkish mobile phone company,

 hoping Turkcell would be the corrupt corporate partner the IRGC required to extract a vast

 digital armory of embargoed American technologies. As negotiations progressed, however, it

 became clear that while Turkcell was willing to help build a modern Iranian phone system, it was

 not willing to provide direct “security” assistance to the IRGC.

         486.    MTN Group and MTN Dubai had no such scruples. Sensing weakness in the

 IRGC’s negotiations with Turkcell, MTN Group and MTN Dubai hatched a comprehensive plan,

 which they internally called “Project Snooker,” designed to steal the Irancell license from

 Turkcell – and the billions of dollars in profits that would flow to MTN Group and MTN Dubai

 thereafter. Ms. Gill explained the result:

         the IRGC asserted their role in the communications economy through two
         significant developments in telecommunications infrastructure involving MTN
         Irancell and TCI. MTN Irancell was launched in 2005, at the start of
         Ahmadinejad’s presidency, as a … joint venture between … MTN Group and the
         Iran Electronic Development Company (IEDC). A subsidiary company of the
         Iranian Ministry of Defence, IEDC maintained close ties with the Revolutionary
         Guard. Following the IRGC’s opposition to foreign involvement in Iran’s
         strategic telecommunications sector, IEDC negotiated 51% ownership of the


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        MTN Irancell joint venture, ensuring that the military had a majority stake in the
        newly formed telecommunications infrastructure. (Gill, supra, at 105.)

        487.    In her article documenting how the IRGC converted MTN Irancell and TCI into

 tools of terrorist finance and logistics published by NATO, Ms. Gill explained:

        By militarising, rather than privatising the economy, the regime transferred
        ownership from ‘relatively transparent parts of the public sector to other parts of
        the public sector shielded from public scrutiny’, such as the Revolutionary
        Guard. It is in this fictional separation between the public and private sector in
        Iran that the invisible hand of the IRGC can be assessed. Power projection and
        realpolitik remained central to the Guard’s strategic thinking to the same extent as
        their ideological devotion. Id. at 108-09 (emphases added).

        488.    The IRGC’s takeover of MTN Irancell and TCI produced a financial windfall for

 Hezbollah, the Qods Force, and Regular IRGC. Ms. Gill explained that:

        From a business perspective, the IRGC … create[ed] a military-commercial
        complex in which the Guard benefitted from the construction of a perceived and
        persistent threat. … Whilst publicly promoting rhetoric about national security
        and the defence of Shi’ite Islamic culture, the IRGC was sustaining a military-
        commercial complex that benefited them financially. The IRGC and the Iranian
        communications economy maintained a close partnership, with both taking
        advantage of the articulation of a soft war. …[T]here [was] a notably profit-driven
        motive to the Guard’s economic involvement. … the involvement of the IRGC in
        the communications economy under Ahmadinejad was reflective of an
        ideological, but also increasingly opportunistic Revolutionary Guard. Id. at 110-
        111 (emphasis added).

        489.    “[T]he IRGC became a moneymaking machine” after it deliberately blended the

 commercial and terrorist functions of MTN Irancell and TCI to ensure that Hezbollah, the Qods

 Force, and Regular IRGC could use MTN Irancell and TCI revenues to furnish off-books cash

 to, among other things, keep former members of Hezbollah, the Qods Force, and Regular IRGC

 on the IRGC’s payroll. According to Ms. Gill,

        The IRGC acts as a business fraternity within which members of the Guard can
        progress along a prescribed career path. Following active service, IRGC
        members are offered senior positions in state-affiliated media organisations and
        telecommunications networks such as IRIB, TCI, and MTN Irancell.
        Accordingly, ‘no one ever leaves the IRGC’; its senior officers are viewed as an

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        Iranian ‘freemasonry’ and ‘Ivy League network’, signalling that the IRGC
        exceeds ideological devotion. … When ‘privatising’ the national media and
        telecommunications infrastructure, the Ahmadinejad regime sold its majority
        stake to the IRGC, blending its mission of national security with ‘investor
        profits’. In holding senior economic positions in communications infrastructure
        companies and accruing profits, the IRGC became a ‘moneymaking machine …
        The IRGC’s opportunistic and exploitative involvement in the communications
        economy facilitated a system of military crony capitalism within Ahmadinejad’s
        Iran. … The IRGC grew to depend on the communications economy to support
        the personal and financial endeavours of the Guard, who valued safeguarding
        their own self-interest to the same extent as they valued safeguarding the
        revolution. (Id. at 111-12.)

        490.    In sum, according to Ms. Gill, “the IRGC as an institution was reliant on the

 communications economy as a source of capital gain” and “the IRGC used the fictional

 separation between the public and private sectors in Iran to facilitate its rise as an economic

 conglomerate.” Id. at 112. At bottom, according to Ms. Gill, the IRGC’s control over MTN

 Irancell and TCI was not just about propaganda – the IRGC depended upon such control to

 support its “security” agenda, i.e., anti-American terror by using the fronts to raise money:

        whilst the Guard relied on the communications economy to propagate their
        ideology, they also acquired and monopolised communications infrastructure as a
        source of capital gain. The Guard’s involvement with the communications
        economy moved beyond the projection of revolutionary ideology, becoming
        equally a matter of realpolitik and of accruing military capital. (Id.)

                2.      Telecommunications Company Of Iran (TCI)

        491.    In 2009 – four years after the IRGC’s strategy to illicitly source terrorist material

 through Irancell relied upon “using IEDC as a front” in the IRGC’s 2005 agreement with MTN

 Group – the IRGC emerged from its previous position of cover on Irancell to publicly assume a

 majority stake in Iranian telecom company, TCI. According to Ms. Gill,

        [I]n September 2009, shortly after the violent protests following Ahmadinejad’s
        re-election, the government announced plans to privatise TCI. Amongst the
        investors were numerous IRGC-backed institutions, including the IRGC-CF, the
        Mostazafan Foundation, and the Execution of the Imam’s Order company.
        Minutes after TCI was privatised, the IRGC acquired 51% of the company in a
        $5 billion deal—the ‘largest trade in the history of the Tehran Stock Exchange’.
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        This represented ‘yet another calculated step’ in the IRGC’s campaign to
        dominate Iran’s communications economy. Rather than using IEDC as a front,
        as they had done in 2005, the IRGC had overtly purchased a majority stake in
        TCI’s monopoly over Iranian telecommunications. (Id. at 105-06.)

 V.     DEFENDANTS FURTHERED THE CONSPIRACY AND TRANSACTED
        BUSINESS WITH FRONTS, OPERATIVES, AND AGENTS CONTROLLED BY
        HEZBOLLAH, THE QODS FORCE, AND REGULAR IRGC

        492.    MTN, ZTE, and Huawei did business with fronts, agents, and operatives for

 Hezbollah, the Qods Force, and Regular IRGC.

        493.    The IRGC controlled the entire Iranian telecom sector from top to bottom. The

 following Iranian fronts, operatives, and agents played especially prominent roles in ensuring

 that any telecom transactions in Iran benefited the IRGC’s, including Hezbollah’s and the Qods

 Force’s, global terrorist agenda.

        A.      The Bonyad Mostazafan

        494.    The Bonyad Mostazafan, also known as the Bonyad Mostazafan va Janbazan,

 Mostazafan Foundation, and Alavi Foundation (herein, the “Bonyad Mostazafan”), was

 established after the Islamic Revolution to steal and manage property, including that originally

 belonging to religious minorities in Iran such as Baha’is and Jews, to fund the export of the

 Iran’s Islamic Revolution around the world.

        495.    The Bonyad Mostazafan was and is an IRGC, including Hezbollah and the Qods

 Force, front. The Bonyad Mostazafan’s purpose was and is to raise funds and obtain weapons

 and components) for the IRGC’s, including Hezbollah’s and the Qods Force’s, terrorist

 operatives and proxies like al-Qaeda and the Taliban. Funds and weapons (including weapons

 components) provided to the Bonyad Mostazafan through its commercial transactions inevitably

 flowed through Irancell and TCI to Hezbollah and the Qods Force and, through them, to IRGC




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 proxies al-Qaeda and the Taliban, to fund and arm al-Qaeda and Taliban attacks against

 Americans in Afghanistan from 2007 through the present.

        496.     At all times, the Bonyad Mostazafan has been led by an agent or cut-out for

 Hezbollah, the Qods Force, and Regular IRGC and has served as a central hub of IRGC,

 including Hezbollah and the Qods Force, fund raising, weapons development and acquisition,

 computing, and communications infrastructure for Iran’s terrorist enterprise, which value has

 flowed through the IRGC to al-Qaeda and the Taliban. 171

        497.     The Bonyad Mostazafan is currently led by IRGC Brigadier General Parviz

 Fattah, who is also, on information and belief, a Qods Force operative.

        498.     The Bonyad Mostazafan has been widely understood in business, diplomatic,

 military, and media circles to be a front for Iranian terrorism through Hezbollah, the Qods Force,

 and Regular IRGC since the 1990s.

        499.     On May 28, 1995, the Bonyad Mostazafan’s status as an Iranian terrorist front

 made international news when Newsday – in an article republished around the world through

 various affiliate relationships – reported that the Bonyad Mostazafan served as a front for raising

 money and sourcing weapons for Iran’s terrorist proxies, including Hezbollah:

        [I]n a four-month investigation based on dozens of interviews with law-
        enforcement officials and U.S. government specialists, knowledgeable Iranians
        who support the regime as well as dissidents, and public and private documents,
        Newsday has found that:

             •   [The Bonyad Mostazafan] … is controlled by Iran’s clerical leadership,
                 federal officials say.

            •    Several of [the Bonyad Mostazafan’s] current and former officers and
                 directors have been implicated in arms and technology shipments to

 171
     For example, Mir Hossein Mousavi, who directed the Bonyad Mostazafan for almost a
 decade, was “the Butcher of Beirut,” played a key role in Hezbollah’s leadership council and in
 its attacks on Americans in Lebanon, including the 1983 Marine barracks bombing.
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                Iran, and a former president of the foundation allegedly tried to ship
                germ-warfare agents to Tehran, according to these officials.

            •   [The Bonyad Mostazafan] served as a front … for the placement of agents
                from the Revolutionary Guard, dedicated zealots who … spy and obtain
                military technology from the United States and abroad.

            •   [The Bonyad Mostazafan] finances [entities] in the United States that
                support Iran’s militant version of Islam and provides safe haven for groups
                and individuals supporting the Islamic terrorist group[] … Hezbollah. …

        In a classified report … the FBI asserted that [the Bonyad Mostazafan] was
        “entirely controlled by the government of Iran,” which used [the Bonyad
        Mostazafan] to set up “covert subbranches disguised as educational centers,
        mosques and other centers.” … The FBI report, according to a U.S. official,
        claims that [the Bonyad Mostazafan] funds “fundamentalist extremist groups”
        and that Iranian students who received scholarships from [the Bonyad
        Mostazafan] to study in the United States “gather[ed] intelligence” … and
        collected “technical and scientific information” for the Iranian regime.

        In 1989, Oliver Revell, then the No. 2 official at the FBI, told the Senate terrorism
        subcommittee that some of the “students” receiving [the Bonyad Mostazafan]
        grants were in fact Revolutionary Guard agents. … Revell … said much of [the
        Bonyad Mostazafan]’s funds go to “a great number of mosques (in the United
        States) . . . where there are organizations which directly support Hezbollah…[,]”
        an Iranian-supported militant group … that has launched terrorist attacks under
        the tutelage of the Revolutionary Guards. … The [Bonyad Mostazafan] is
        administered by Mohsen Rafiqdoost, founder of the Revolutionary Guards.
        Rafiqdoost reports only to the Ayatollah Ali Khamenei, Iran’s spiritual leader.

 Knut Royce and Kevin McCoy, Militants Build On Iranian Foundation, Newsday, republished

 by Pittsburgh Post-Gazette (May 28, 1995), 1995 WLNR 2452536 (emphasis added). 172

        500.    In the same investigative report, Newsday also disclosed that “U.S. and European

 officials say that [the Bonyad Mostazafan] has long been a front for the procurement of military




 172
    After the Islamic Revolution, the Ayatollah seized what had previously been the Alavi
 Foundation and merged it with the Bonyad Mostazafan. Thereafter, they were one and the same
 and always were indistinguishable and different names for the same Iranian terrorist front. See,
 e.g., id. (“Vincent Cannistraro, who left the CIA in 1990 as a top official of its counterterrorism
 center, said in a recent interview, ‘The [Bonyad Mostazafan] and the Alavi Foundation are the
 same, under different names.’ Other U.S. officials agreed.”).
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 goods and prohibited technology for Iran, particularly for the Revolutionary Guards.” Knut

 Royce and Kevin McCoy, N.Y. Foundation Linked To Iran’s Islamic Militants, Newsday,

 republished by Seattle Times (May 26, 1995), 1995 WLNR 1308563. The same Newsday report

 also disclosed that “[the Bonyad Mostazafan]’s secretary until 1992, Mojtaba Hesami-Kiche,

 was at the same time the executive secretary of Vena Industries, a German company wholly

 owned by [the Bonyad Mostazafan], according to public records filed in Germany. U.S. sources

 said that Vena has been active in “military procurement” for the Tehran regime.” Id.

        501.    When Newsday published its investigation revealing that the Bonyad Mostazafan

 served as a front for providing money, weapons, and logistical support to Hezbollah, the latter

 was already a U.S.-government designated terrorist group, having been designated by the United

 States as a Specially Designated Terrorist several months prior. As a result, from 1995 onwards,

 the Bonyad Mostazafan’s status as a front for Iranian terrorist operations, including the IRGC’s,

 including the Qods Force’s, support for Hezbollah was widely known in the international

 business community and known to Defendants. 173

        502.    In 1998, Newsday again reported on the western intelligence services’ consensus

 that the Bonyad Mostazafan was a front for funneling funds and weapons to Iranian proxies:

        [T]he quasi-official Mostazafan Foundation [] controls billions of dollars of
        investments in Iran and around the world. The foundation … has been accused by
        western intelligence services of espionage, supporting terrorism and smuggling
        arms. … Newsday disclosed in 1995 that several officers and directors … had
        been implicated in arms and technology shipments to Iran, that it was controlled
        by Iran’s clerical leadership and that the FBI believed it had served as a front for




 173
    For example, the American Spectator published an expose in 1995 that revealed multiple
 Bonyad Mostazafan uses of the U.S. banking system to route funds to terrorist operatives and
 fronts, and the presence of an IRGC-controlled bank in its New York offices. See Kenneth R.
 Timmerman, Islamic Iran’s American Base, American Spectator (Dec. 15, 1995) (discussing the
 IRGC’s use of the Alavi, i.e., the Bonyad Mostazafan, to support terrorist operatives).
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        placement in the United States of Revolutionary Guards [Qods Force], Iranian
        zealots who conducted espionage and stole military technology. 174

        503.    After these two Newsday reports in 1995 and 1998, the media regularly published

 similar reports thereafter, which routinely described the Bonyad Mostazafan as a front or funding

 source for Iranian-backed terrorists operating in the Middle East, including Hezbollah.

        504.    On December 17, 2008, the U.S. government reinforced its messaging that the

 Bonyad Mostazafan was a terrorist front that served to raise money and source weapons for

 Hezbollah, the Qods Force, and Regular IRGC. On that date, the U.S. Departments of Justice,

 Treasury, and State all announced enforcement actions and sanctions against the Bonyad

 Mostazafan, and the U.S. Department of State’s Counterterrorism Office issued a press release

 calling attention to U.S. sanctions against entities affiliated with Bonyad Mostazafan.

        505.    The heightened U.S. crackdown on the Bonyad Mostazafan caused a new round

 of media coverage drawing attention to the Bonyad Mostazafan’s status as a front for Iranian

 terror. For example, the Washington Post reported that:

        A Fifth Avenue building … is secretly co-owned by an Iranian bank that helped
        finance that country’s nuclear program, the Justice Department alleged []. Justice
        is seeking to seize the share of the property …, charging that 40 percent of [the
        building] was actually co-owned by Iran’s Bank Melli …[,] [which] was
        previously designated by the Treasury Department as a key financier of … the
        [IRGC] and the Quds Force, which has been linked to terrorist groups. …
        “This scheme to use a front company … to funnel money from the United States
        to Iran is yet another example of Iran's duplicity,” said Stuart Levey, the
        Treasury Department's undersecretary for terrorism and financial intelligence. 175




 174
     Knut Royce, No Legal Recourse In Iranian’s Case / Supreme Court Won’t Reopen Suit,
 Newsday (Dec. 8, 1998), 1998 WLNR 604387 (emphasis added). Regular IRGC agents placed
 in the U.S. through the Mostazafan Foundation were acting outside Iran and thus Qods Force.
 175
    Glenn Kessler, U.S. Links Iranian Bank To Fifth Avenue Building, Washington Post (Dec. 18,
 2008) (emphases added), 2008 WLNR 28032529.
                                                152
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        506.    The Bonyad Mostazafan’s notorious reputation for directly funding Iranian

 terrorist proxies in the Middle East continued at all relevant times. For example, in 2014,

 Jonathan Schanzer, the Vice President of Research at the Foundation for Defense of

 Democracies, testified that “[t]he Bonyad-e Mostazafan” was “a splinter of Iran’s IRGC” and

 had “reportedly opened its coffers to Hamas, providing critical financial support.” 176

        507.    On November 18, 2020, the U.S. Treasury Department designated the Bonyad

 Mostazafan, observed that it served as a “bridge to the IRGC,” and announced as follows:

        Treasury’s Office of Foreign Assets Control (OFAC) took action today against a
        key patronage network for the Supreme Leader of Iran, the Islamic Revolution
        Mostazafan Foundation (Bonyad Mostazafan, or the Foundation) … While
        Bonyad Mostazafan is ostensibly a charitable organization charged …, its
        holdings are expropriated from the Iranian people and are used by [Ayatollah]
        Khamenei to … enrich his office, reward his political allies, and persecute the
        regime’s enemies. … “Iran’s Supreme Leader uses Bonyad Mostazafan to reward
        his allies under the pretense of charity,” said Secretary Steven T. Mnuchin. …

        PARVIZ FATTAH, BONYAD MOSTAZAFAN’S BRIDGE TO THE IRGC
        Bonyad Mostazafan maintains close ties to the IRGC, personified by current
        Foundation president and former IRGC officer Parviz Fattah. Appointed to the
        presidency of the Foundation by the Supreme Leader in July 2019, Fattah
        previously . . . . served as head of the Imam Khomeini Relief Committee, whose
        Lebanon branch was designated pursuant to counterterrorism authorities in 2010
        for being owned or controlled by, and for providing financial and material
        support to, Hizballah. Known for his loyalty to the Supreme Leader, Fattah has
        also forged ties to senior IRGC-Qods Force (IRGC-QF) officials. According to
        Fattah, former IRGC-QF commander Qassem Soleimani sought Fattah’s
        assistance to finance the Fatemiyoun Brigade, an IRGC-QF-led militia composed
        of Afghan migrants and refugees in Iran coerced to fight in Syria under threat of
        arrest or deportation. . . . The Fatemiyoun Brigade, like the IRGC-QF itself, is
        designated pursuant to [] counterterrorism … authorities. …

        SANCTIONS IMPLICATIONS
        As a result of today’s action, … OFAC’s regulations generally prohibit all
        dealings by U.S. persons or within (or transiting) the United States that involve


 176
    Statement of Jonathan Schanzer, Vice President of Research at the Foundation for Defense of
 Democracies, Committee on House Foreign Affairs Subcommittee on Terrorism,
 Nonproliferation, and Trade. Subcommittee on the Middle East and North Africa, Hamas and
 Terrorism, Congressional Testimony via FDCH (Sept. 9, 2014), 2014 WLNR 24926764.
                                                 153
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        any property or interests in property of blocked or designated persons. In
        addition, persons that engage in certain transactions with the individuals or
        entities designated today may themselves be exposed to sanctions. …

 US. Treasury Dep’t, Treasury Targets Vast Supreme Leader Patronage Network and Iran’s

 Minister of Intelligence (Nov. 18, 2020) (emphases added).

        508.    The Bonyad Mostazafan primarily serves as a front for terror and performs little

 legitimate charitable work. As the Treasury Department found when it imposed sanctions,

 “[w]hile the Supreme Leader enriches himself and his allies, the Foundation’s primary mission to

 care for the poor has become a secondary objective. According to the Foundation’s previous

 president, in past years as little as seven percent of the Foundation’s profit has been spent on

 projects aimed at reducing poverty.” Id. (emphases added).

        509.    The Bonyad Mostazafan directly funds Iranian terrorist proxy military activities

 outside of Iran. Fattah, who currently runs the Bonyad Mostazafan, has publicly admitted it.

        510.    Fattah was separately designated for his terrorism-related connections in 2010.

 U.S. Treasury Dep’t, Fact Sheet: Treasury Designates Iranian Entities Tied to the IRGC and

 IRISL (Dec. 21, 2010) (“Parviz Fattah, the Executive Director of Bonyad Taavon Sepah was

 designated today for acting on behalf of, and providing services to, Bonyad Taavon Sepah.”).

        511.    The Bonyad Mostazafan’s participation in Irancell played persuaded the State

 Department to conclude (as published online) that Irancell was “fully owned by the IRGC.”

        B.      Iran Electronics Industries

        512.    Iran Electronics Industries, also known as IEI, Sanaye Electronic Iran, Sasad Iran

 Electronics Industries, or Sherkat Sanayeh Electronics Iran (“IEI”), was and is a front for

 Hezbollah, the Qods Force, and Regular IRGC.

        513.    IEI’s express purpose was and is to raise funds and obtain weapons (including

 weapons components) for the benefit of the IRGC’s, including the Qods Force’s, terrorist
                                                154
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 operatives and proxies, including Hezbollah. Funds and weapons (including weapons

 components) obtained by IEI through its commercial transactions inevitably flowed through IEI

 to Hezbollah and the Qods Force and, through them, to al-Qaeda and the Taliban, to fund and

 arm al-Qaeda and Taliban attacks against Americans in Afghanistan from 2007 through the

 present.

           514.   Since the 1990s, IEI has been widely known in business, diplomatic, military, and

 media circles to be an IRGC front for Hezbollah, the Qods Force, and Regular IRGC terror.

           515.   In 2006, U.S. Treasury official Stuart Levin told agents of MTN’s competitor,

 Turkcell, that IEI was “fully owned” by Hezbollah, the Qods Force, and Regular IRGC.

           516.   On information and belief, Undersecretary Levey communicated to MTN Group

 that IEI was “fully owned” by the IRGC and that economic interactions with IEI foreseeably

 aided Iranian proxy terrorist attacks against Americans.

           517.   On September 17, 2008, the U.S. Treasury Department designated IEI and

 explained that it builds weapons intended for use against the U.S. military. 177

           518.   IEI’s participation in Irancell played a role in persuading the State Department to

 conclude (as published online) that Irancell was “fully owned by the IRGC.”

           C.     MTN Irancell

           519.   MTN Irancell is a joint venture between two IRGC, including Hezbollah and the

 Qods Force, fronts, the Bonyad Mostazafan and IEI, which collectively own 51% of MTN

 Irancell, and MTN Group Ltd., which owns 49% of MTN Irancell (“MTN Irancell”).

           520.   MTN Irancell was and is a front for Hezbollah, Qods Force, and Regular IRGC.




 177
       U.S. Treasury Dep’t, Treasury Designates Iranian Military Firms (Sept. 17, 2008).
                                                  155
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        521.    MTN Irancell’s express purpose was and is to raise funds and obtain weapons

 (including weapons components) for the benefit of the IRGC’s, including Hezbollah’s and the

 Qods Force’s, terrorist operatives and proxies like al-Qaeda and the Taliban. Funds and weapons

 (including weapons components) obtained by MTN Irancell through its commercial transactions

 inevitably flowed through MTN Irancell to Hezbollah and the Qods Force and, through them, to

 al-Qaeda and the Taliban, to fund and arm al-Qaeda and Taliban attacks against Americans in

 Afghanistan from 2007 through the present.

        522.    The U.S. State Department purportedly referred to Irancell (as published online)

 as being “fully owned by the IRGC.”

        523.    Irancell’s recognized status as being “fully owned by the IRGC” was also widely

 reported in the media, beginning in 2010 with the initial WikiLeaks reporting, and continuing

 thereafter. For example, in 2012, the news commentator Greta Van Susteren noted on her

 widely-watched Fox News show: “we’re talking about Iran, which is trying to wipe … Israel off

 the map, … and this joint venture with [MTN Irancell], it was not a mystery. In fact, the

 [U]ndersecretary of [the Treasury, Stuart Levin in] 2006 according to [] WikiLeaks … said that

 the Iran Cell was [] fully owned by the Iranian Revolutionary Guard [Corps].” 178

        524.    IRGC specialists agree. For example, in 2015, Dr. Emanuele Ottolenghi, of the

 Foundation for Defense of Democracies, identified “telecommunications” as a “sector where the

 IRGC [was] bound to reap economic benefits” because “all three mobile operators in Iran” –




 178
    FOX: On the Record, Interview with Byron York (August 7, 2012), 2012 WLNR 16563491
 (emphasis added).
                                               156
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 including MTN Irancell – “are directly or indirectly partners with IRGC-affiliated

 companies.” 179

        D.      Telecommunications Company Of Iran (TCI)

        525.    The Telecommunications Company of Iran (or TCI) was and is a front for

 Hezbollah, the Qods Force, and Regular IRGC.

        526.    TCI is the parent company of MTN Irancell’s nominal competitor in Iran, MCI.

        527.    TCI’s express purpose was and is to raise funds and obtain weapons (including

 weapons components) for the benefit of Iran’s terrorist operatives and proxies, including

 Hezbollah. 180 Funds and weapons (including weapons components) obtained by TCI through its

 commercial transactions inevitably flowed through TCI to Hezbollah and the Qods Force and,

 through them, to al-Qaeda and the Taliban, to fund and arm al-Qaeda and Taliban attacks

 against Americans in Afghanistan from 2007 through the present.

        528.    TCI is known to be an IRGC, including Hezbollah and the Qods Force, front. The

 Economist’s due diligence unit, the Economist Intelligence Unit, reported in 2009 that “[t]he

 question of possible IRGC involvement in the TCI acquisition was raised in subsequent

 discussion in the Iranian majlis (parliament),” where “[t]he speaker, Ali Larijani, [was] quoted

 by … an Iranian newspaper[] as saying that the IRGC was a direct party to the deal.” 181 The




 179
    Statement of Dr. Emanuele Ottolenghi Senior Fellow Foundation for Defense of
 Democracies, Committee on House Foreign Affairs Subcommittee on Middle East and North
 Africa, Iran Nuclear Deal, Congressional Testimony via FDCH (Sept. 17, 2015), 2015 WLNR
 27612447 (“Dr. Ottolenghi Sept. 17, 2015 Testimony”).
 180
    For example, media outlets reported, based on purported U.S. cables published online, TCI
 built Hezbollah's secure fiber optic network in Lebanon. E.g., Guardian, Lebanon Told Allies of
 Hezbollah’s Secret Network, WikiLeaks Shows (Dec. 5, 2010), https://tinyurl.com/2p8by4k3.
 181
    Economist Intelligence Unit, Iran Telecoms: Dial I for IRGC?, Telecoms and Technology
 Forecast (Oct. 12, 2009), 2009 WLNR 20135393.
                                                157
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 same report also noted the “[b]lurred distinctions” between the IRGC and Iranian telecom

 companies:

           [In 2006,] Ayatollah Ali Khamenei[] lent his personal support to the proposed
           asset sales. As with many other privatisation programmes in authoritarian states,
           there are strong grounds to suspect that elite groups are manipulating the process
           to advance their own interests unfairly. It is clear that over the past few years
           much political and economic power has flowed towards the IRGC. … The
           telecoms sector in Iran has expanded rapidly over the past five years, in particular
           in the mobile segment, which recorded a compound annual growth rate of 65%
           between 2003 and 2008. There is still room for expansion of mobile telephony as
           the penetration rate is only about 70%, and broadband services are notably
           underdeveloped. This makes telecoms one of the most attractive targets for
           investment in Iran. At the same time, telecoms is a critical sector for the security
           forces, as the Islamic Republic faces unprecedented domestic opposition along
           with growing external threats. If the IRGC is indeed behind the TCI deal, it
           would make sense from both the commercial and the security perspective. 182

           529.   Other media reports also alerted Defendants that TCI was a known IRGC front. 183

           530.   IRGC specialists concur. For example, when Dr. Ottolenghi identified

 “telecommunications” as “[a]nother sector where the IRGC [was] bound to reap economic

 benefits,” Ottolenghi also noted that “[t]he IRGC control[led] Iran’s largest telecom company,

 the Telecommunication Company of Iran or TCI,” which the “[t]he Guards bought … in




 182
       Id. (emphasis added).
 183
    See, e.g., BBC Int’l Reports, Iranian News Media, Websites Targeted In Wake Of Protests
 (Dec. 29, 2009) (noting that Iran’s “main ISPs depend on the Telecommunication Company of
 Iran (TCI), a company that was bought by the Revolutionary Guards in September”); Christian
 Science Monitor, Iran’s Revolutionary Guard Tightens Grip (Dec. 6, 2009) (the IRGC “bought a
 50 percent, $7.8 billion stake in Iran's newly privatized telecommunications company”);
 Newsweek U.S. ed., Iran’s Dirty Hands (Nov. 30, 2009) (noting the “shady transaction” in
 which “the Telecommunication Co. of Iran, … was essentially handed over to the Revolutionary
 Guards”); Guardian, Revolutionary Guards Buy 51% Stake in Iran’s Telecommunications
 Company (Oct. 7, 2009) (“Iran’s Revolutionary Guards have bought a controlling stake in the
 country's telecommunications company, fuelling suspicions that the organisation is quietly
 staging a military takeover.”).
                                                   158
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 September 2009 in a controversial bid that at the last minute disqualified the only non-IRGC

 offer.” 184 As Dr. Ottolenghi further explained:

           TCI’s main shareholder is now Toseye Etemad Mobin (50%), a company
           controlled by the IRGC jointly with the supreme leader’s financial network,
           through two companies - the Tadbir Group-owned Gostaresh Electronic Mobin
           and Shahriar Mahestan Company. TCI has a monopoly over Iran’s landlines, and
           thus controls much of the country’s Internet traffic. As Al-Monitor reported in
           August 2013, all three mobile operators in Iran are directly or indirectly
           partners with IRGC-affiliated companies. 185

           E.     The Akbari Front Companies

           531.   Mahmood Akbari, also known as John Wasserman (herein, “Akbari”), was an

 Iranian national who purchased dual-use commercial grade computers, related equipment and

 services from illegal sources in the United States to benefit Hezbollah, the Qods Force, and

 Regular IRGC. On information and belief, Akbari was an IRGC operative who was used by the

 Qods Force to serve as a cut-out to help source dual-use technology from America for use by

 IRGC Syndicate Terrorist Proxies to attack Americans in Afghanistan, doing so upon the

 instruction of one or more Defendants.

           532.   Patco Group Ltd. (“Patco”) was a company in the U.A.E. operated by Akbari for

 the purpose of receiving commercial grade computers and related equipment from illegal sources

 in the United States to benefit Hezbollah, the Qods Force, and Regular IRGC.

           533.   Managed Systems and Services (FZC) (“MSAS”) was a company in the U.A.E.

 operated by Akbari and used as a front company and consignee for computer parts to make it

 appear that the computer parts were being sent to the U.A.E. when in fact they were being

 diverted to Iran.



 184
       Dr. Ottolenghi Sept. 17, 2015 Testimony.
 185
       Id. (emphasis added).
                                                  159
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        534.    TGO General Trading LLC, also known as Three Green Orbit (herein, “TGO”),

 was a company in the U.A.E. operated by Akbari and used as a front company to make it appear

 that payments were being made from the U.A.E., rather than from Iran.

        535.    On information and belief, Patco, MSAS, and TGO (collectively, “Akbari

 Entities”) were fronts for Hezbollah, the Qods Force, and Regular IRGC that served as cut-outs

 in order to help Hezbollah, the Qods Force, and Regular IRGC source sensitive dual-use

 technology from America for the benefit of Iran’s terrorist operatives and proxies, including

 Hezbollah. Funds and weapons (including weapons components) obtained by the Akbari

 Entities through their commercial transactions inevitably flowed through Akbari Entities to

 Hezbollah, the Qods Force, and Regular IRGC, and through them, to IRGC proxies including,

 among others, al-Qaeda and the Taliban, to fund and arm the Syndicate terrorist attacks against

 Americans in Afghanistan from 2012 through 2017.

        F.      Exit40

        536.    Exit40 was a front for Hezbollah and the Qods Force.

        537.    Exit40 procured funds and sensitive dual-use technology from America for the

 benefit of the IRGC’s terrorist enterprise, including the campaigns of IRGC proxies like al-

 Qaeda and the Taliban.

        538.    Funds and weapons (including weapons components) obtained by Exit40 through

 their commercial transactions with Defendants inevitably flowed through Exit40 to Hezbollah

 and the Qods Force and, through them, to al-Qaeda and the Taliban to fund and arm al-Qaeda’s

 and the Taliban’s terrorist attacks against Americans in Afghanistan from 2011 through 2016.




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 VI.    EACH DEFENDANT ENGAGED IN COMMERCIAL TRANSACTIONS THAT
        IT KNEW WERE STRUCTURED TO FINANCE, ARM, LOGISTICALLY AID,
        AND/OR OPERATIONALLY SUPPORT HEZBOLLAH, THE QODS FORCE,
        REGULAR IRGC, AND THEIR TERRORIST PROXIES IN AFGHANISTAN

        F.      The MTN Defendants

                1.     MTN Group Joined The Conspiracy To Seize The “Virgin” Telecom
                       Markets Controlled, Contested, Or Influenced By The IRGC And Its
                       Terrorist Proxies

        539.    The MTN Defendants consist of two companies that each provided material

 support to Hezbollah, the Qods Force, the Regular IRGC, and the Taliban (MTN Group and

 MTN Dubai) and one company that served as a front for the IRGC (MTN Irancell). MTN

 Group and MTN Dubai held themselves out as responsible for how MTN Group affiliates

 worldwide manage “security” issues, including MTN Afghanistan.

        540.    MTN Group joined the Conspiracy to enable MTN to seize the “virgin” telecoms

 markets that dominated the Middle East from 2003 through 2021, including the markets of Iran,

 Afghanistan, Syria, Lebanon, and Yemen, all of which were controlled, contested, or influenced

 by the IRGC and/or the IRGC’s terrorist proxies.

        541.    MTN Group oversaw and authorized MTN Afghanistan’s practice of providing

 support to the Taliban, as well as MTN Group’s and MTN Dubai’s aid routed through MTN

 Irancell, Exit40, and the other sources of MTN Irancell-related cash-flow alleged herein.

        542.    MTN Group executed the Letter Agreement with the Iranian Shareholders on

 behalf of the entire MTN corporate family. On information and belief, the President of MTN

 Group was personally compelled to do so during an in-person meeting at the Bonyad Mostazafan

 office in Tehran, Iran, when an IRGC Regular Brigadier General communicated to MTN

 Group’s President that the Iranian Shareholders insisted that MTN Group execute the Letter

 Agreement on behalf of the entire MTN corporate family.


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        543.    On information and belief, the Letter Agreement reflects the Iranian

 Shareholders’ template “Security Aid” agreement, and the Iranian Shareholders specifically

 styled MTN Group as “MTN” in the Letter Agreement to reinforce to MTN Group and its

 President, that he was committing the entire MTN corporate family to the deal.

        544.    It would not be proper to interpret the reference to MTN Group’s performance of

 its “security” related services for the Iranian Shareholders to be limited to being “in South

 Africa.” That passage was a reference by the Iranian Shareholders to their prior frustration with

 Turkcell, whose C-Suite leadership, on information and belief, refused to commit to providing

 “security” services to the Iranian Shareholders.

        545.    MTN Group maintained direct contact with the MTN Afghanistan security

 official responsible for interfacing with the Taliban, and MTN Group officials encouraged and

 approved MTN Afghanistan’s practice of paying off the Taliban. MTN Group also instructed

 MTN Afghanistan to comply with the Taliban’s directives to switch off its cell towers at night.

        546.    MTN Group also furthered the Conspiracy by coordinating strategic

 communications to provide concealment for the Conspiracy by reaching into the United States to

 communicate IRGC disinformation concerning whether Irancell is an IRGC front.

        547.    MTN Group and MTN Dubai worked closely to coordinate the technical buildout

 of MTN Irancell, and senior executives from MTN Group and MTN Dubai regularly coordinated

 their financial, technical, and logistical support to MTN Irancell.

        548.    Plaintiffs use the term “MTN” in this section to refer collectively to the MTN

 family of companies. Unless otherwise specified, when Plaintiffs use that term to describe

 MTN’s conduct in Afghanistan, “MTN” refers to on-the-ground conduct by MTN Afghanistan

 and approved by both MTN Group and MTN Dubai, and when Plaintiffs use that term to



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 describe MTN’s conduct concerning Irancell and outside of Afghanistan, “MTN” refers to on-

 the-ground conduct by MTN Irancell and approved by both MTN Group and MTN Dubai.

                2.     MTN Group, MTN Dubai, And All MTN Subsidiaries And Affiliates
                       Worldwide Joined The Terrorist Conspiracy

        549.    MTN Group and MTN Dubai joined the Conspiracy more than seventeen (17)

 years ago in September 2005, when MTN Group’s President and CEO executed the IRGC’s

 terrorist template contract on behalf of all MTN entities worldwide. This committed MTN

 Group, MTN Dubai, and every other MTN entity to provide “security” assistance to the “Iranian

 Shareholders,” meaning Hezbollah, the Qods Force, and Regular IRGC.

        550.    MTN Group and MTN Dubai have not exited the Conspiracy.

        551.    Beginning in 2004, MTN Group and MTN Dubai pursued an aggressive

 expansion in the Middle East, in which MTN Group and MTN Dubai worked together to

 dominate the “virgin” mobile markets of Iran, Afghanistan, Lebanon, Syria, and Yemen,

 meaning, a telecommunications market that was substantially undeveloped and required a

 comprehensive, top-to-bottom, build-out by a multinational telecommunications corporation.

        552.    By 2004, few “virgin” market opportunities remained in the world. The collective

 market share attributed to this Iranian-dominated “Shiite Crescent” of Iran, Syria, and Lebanon,

 combined with the two other nations where Iran actively fomented terrorist proxies (Afghanistan

 and Yemen), was by far the most lucrative “virgin” mobile phone market opportunity worldwide.

        553.    MTN Group and MTN Dubai knew that the IRGC, through its subordinate

 divisions, Hezbollah and the Qods Force, actively sponsored anti-American terrorism in all five

 of the “virgin” markets they coveted: Iran, Syria, Lebanon, Afghanistan, and Yemen. Mobile

 phone companies like MTN Group and MTN Dubai are heavily dependent upon infrastructure

 vulnerable to terrorist attacks. As a result, MTN Group and MTN Dubai knew they would have


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 to reach an agreement with the IRGC, which was the only way MTN Group and MTN Dubai

 could win the business, not just in Iran, but also in its client states (e.g., Syria, Lebanon), or

 where it played a spoiler role (e.g., Afghanistan). This meant MTN Group and MTN Dubai had

 to make a deal with the IRGC as the latter exercised a de facto veto over the telecoms’

 procurement decisions in Syria and Lebanon (among other places).

         554.    In 2004, Iran awarded a cellular-phone license to MTN’s competitor, Turkcell.

 MTN then engaged in a corrupt scheme to take the license away from Turkcell and enter the

 Iranian market itself. MTN’s efforts were successful and led it to acquire a 49% stake in Irancell

 – a joint venture with an Iranian government-controlled consortium. MTN internally called its

 corrupt scheme to enter the Iranian market “Project Snooker”. 186

         555.    MTN threw itself into Project Snooker with abandon, dedicating senior MTN

 Group executives to the mission, including, but not limited to, its President and CEO,

 Commercial Director, and the regional head responsible for the Middle East.

         556.    On November 16, 2004, MTN’s Commercial Director, Irene Charnley,

 documented MTN’s aggressive support for the terrorist agenda of Hezbollah, the Qods Force,

 and Regular IRGC. In a fax to Iranians, Ms. Charnley provided MTN’s help to Iranian efforts to

 violate terror-related sanctions against Hezbollah, the Qods Force, and Regular IRGC by

 sourcing “major components” for American-made “Bell” and “Sikorsky” helicopters that were

 intended, in part, for “military use” by Hezbollah, the Qods Force, and Regular IRGC.

         557.    Project Snooker required close cooperation between MTN and the Iranian

 government. On July 5, 2005, MTN sent a letter from its CEO to two Iranian terrorists, one of




 186
   See Memorandum from Phuthuma Nhleko to Sifiso Dabengwa et al., Overview & Way
 Forward – Project Snooker (Sept. 21, 2005) (“Project Snooker Mem.”).
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 whom was the former Chief of Staff of the IRGC who had led the Bonyad Mostazafan and IEI,

 which were the two terrorist fronts with which MTN was attempting to join in the Irancell joint

 venture (the “July 5, 2005 Letter”). In the July 5, 2005 Letter, MTN Group wrote to its

 prospective IRGC, including Hezbollah and the Qods Force, joint venture partner, stating that it

 was “convinced that your organizations together with MTN could create a partnership that would

 be mutually beneficial in meeting all our objectives in the telecommunications sector in Iran,”

 and emphasizing “[t]he nature and extent of financial assistance that the MTN Group could

 provide to the Iranian partners in the Second Mobile licence in Iran” and the “co-operation

 between your esteemed organizations and the MTN Group in current and future

 telecommunications projects in Iran.”

        558.    The negotiations were successful. On September 18, 2005, MTN Group signed a

 Letter Agreement with the IRGC and Qods Force fronts with whom MTN had been negotiating.

 It made MTN a junior partner in the MTN Irancell joint venture with a 49% stake, leaving 51%–

 and all decision-making authority – to MTN’s two partners that MTN knew were IRGC and

 Qods Force fronts.

        559.    The Letter Agreement was drafted by the IRGC and constitutes the IRGC’s

 template for the terms under which Iranian terrorist fronts in industries essential to the terrorist

 enterprise are permitted to enter business arrangements with foreign companies such as

 Defendants MTN, ZTE, and Huawei. The Letter Agreement is replete with indicia that it was

 drafted by the IRGC rather than a sophisticated multinational corporation like any of the

 Defendants. Such indicia include but are not limited to: (1) the reference to God at the start of the

 Agreement; (2) the inclusion of the Iranian calendar date (27/06/1384) in the Agreement; (3) the

 generic reference to “local shareholders” (and later “Iranian Shareholders”) rather than any



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 specific reference to any specific Iranian entity; and (4) the inclusion of a blank space for the

 handwritten insertion of certain terms. Here is how the Agreement begins:




        560.    MTN secured its joint venture with Hezbollah, the Qods Force, and Regular

 IRGC — i.e., MTN Irancell — through MTN Group’s direct contractual promise to the IRGC,

 its Hezbollah Division, and Qods Force. This was done to aid the IRGC and Qods Force terrorist

 enterprise and MTN’s corrupt payments to one or more IRGC and Qods Force agents. The

 Letter Agreement pledged broad cooperation between MTN Group and its IRGC, including

 Hezbollah and the Qods Force, partners in furtherance of Iran’s terrorist agenda. Section 8

 obligated MTN Group to assure that, with respect to its new “Iranian shareholder[]” partners,

 “[t]he cooperation between MTN and Iranian shareholders should be in the line of defensive,

 security and political cooperation.” Notably, Section 8 expressly contemplated that MTN would

 work with new IRGC partners outside of Iran: “MTN shall fully support cooperation regarding

 the aforementioned issues in South Africa.”

        561.    Thus, MTN officers, employees, and agents directly partnered with Qods Force

 operatives because when MTN “fully” cooperated on “security” matters with IRGC operatives

 and agents outside of Iran as it contractually promised to do, MTN was directly aiding Qods

 Force terrorists because IRGC personnel acting outside of Iran are Qods Force.




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         562.   The Letter Agreement’s deliberately ambiguous references to “Iranian

 shareholders,” rather than the Iranian entities with which MTN Group was reportedly partnering,

 was itself an indication of, and evidence that, the Iranian shareholders in MTN Irancell were

 fronts, operatives, and agents for Hezbollah, the Qods Force, and Regular IRGC. Indeed, the

 execution of the Agreement was deliberately designed to obscure each signatory:




         563.   The Letter Agreement did not merely obligate MTN Group to help Hezbollah, the

 Qods Force, and Regular IRGC source weapons in furtherance of the IRGC’s, including

 Hezbollah’s and the Qods Force’s, “security” agenda. It also obligated MTN to both pay its new

 IRGC front partners as well as serve in effect as their financial manager:

 (i)     Section 2 required that MTN Group “agree[] to put in trust twenty-one (21) percent of
         Irancell Consortium before Bank Melli as trustee.” Bank Melli is another front for the
         IRGC (including Hezbollah and the Qods Force) and has itself been sanctioned by the
         U.S.

 (ii)    Section 3 required that MTN pay Hezbollah, the Qods Force, and Regular IRGC
         hundreds of millions of dollars in up-front license fees as a condition for becoming the
         new junior partner in the Irancell joint venture, and that “MTN and Bank Melli shall be
         responsible for arranging project financing.”

 (iii)   Section 7 adds a catch-all provision designed to route additional money from MTN
         Group to Hezbollah, the Qods Force, and Regular IRGC and provided that: “[t]he costs
         and expenses incurred by Iranian shareholders” – i.e., Irancell’s two IRGC, including
         Hezbollah and the Qods Force, fronts – “if any, due to transfer of Irancell’s share to MTN
         shall be compensated by MTN.” On information and belief, MTN routed millions of
         additional dollars to Hezbollah, the Qods Force, and Regular IRGC under Section 7.

         564.   Although MTN was the IRGC’s junior partner in the MTN Irancell joint venture,

 the Letter Agreement nonetheless empowered MTN with the legal authorities it needed to

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 effectively shut down the IRGC’s, including Hezbollah’s and the Qods Force’s, ability to

 weaponize MTN Irancell as an instrument of terror. Most directly, MTN could immediately and

 unconditionally announce its plans to rapidly exit the joint venture.

        565.    MTN is also responsible for MTN Irancell’s conduct because MTN had (and

 continues to have) veto power over most of the major decisions at MTN Irancell, similar to the

 veto possessed by its joint venture partners, the terrorist fronts Bonyad Mostazafan and IEI. For

 example, Section 5.1 of the Agreement provides that “[t]he resolutions on the below mentioned

 issues require the affirmative votes of MTN”:

        •   “Annual business plans and budgets of [MTN Irancell], including, but not
            limited to, medium and long term financing;”
        •   “Major acquisitions, partnerships, formation of joint ventures or consortiums;”
        •   “Discontinuation of business activities;”
        •   “Entering into any agreement with persons, individuals or entities that are
            directly or indirectly related to Non-Iranian or Iranian Shareholders;”
        •   “Charging the assets of the Company in any manner which could have
            significant impact on the Company’s ability to use or benefit from its assets in
            its ordinary course of business;”
        •   “Profit appropriates and dividend policy; and”
        •   “Approval of annual accounts.” (Ex. A, Letter Agreement, § 5.1.)

        566.    The Letter Agreement confirmed that MTN promised to provide other “off-the-

 books” value to the Iranian Shareholders with whom MTN had partnered in MTN Irancell,

 which was itself another obvious reference to MTN’s support for the IRGC’s, including

 Hezbollah’s and the Qods Force’s, terrorist activities. Section 9 provides, “for this agreement to

 be effective, it is necessary that the above-mentioned documents and related agreements be

 signed by MTN as well as to pay license fee and equity as provided in [Section 3 of the




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 Agreement] within 20 days from the signature of Addendum No. 1 to [sic] license agreement,

 simultaneously, the parties try to finalize the other relevant operational agreements.” 187

        567.    MTN Group and its “Iranian shareholder[]” joint venture partners went to great

 lengths to keep the Letter Agreement a secret. The Letter Agreement was a “close hold”

 document at MTN Group and was only known to a select group of senior MTN Group

 executives because MTN understood that it memorialized an obviously illegal scheme between

 MTN Group and two fronts for Hezbollah, the Qods Force, and Regular IRGC. MTN Group

 also conspicuously failed to obtain any sign-off from any of MTN’s elite, white-shoe global law

 firms, none of which would have approved the Letter Agreement.

        568.    Before MTN Group’s President signed the secret Letter Agreement, a senior

 official on behalf of the IRGC stated to MTN Group, in sum and substance, that the Letter

 Agreement was the standard template that the Iranian Shareholders use when a counterparty

 agrees to assist, among other things, the Iranian Shareholders’ “security” operations. 188



 187
    In the secret Letter Agreement, the number “1” in this sentence is handwritten into what was
 obviously a placeholder.
 188
     The secret Letter Agreement was an IRGC template belonging to the Agreement’s “Iranian
 Shareholders” who signed, i.e., the IRGC. This is so because the IRGC, represented by the
 “Iranian Shareholders,” and MTN Group, represented by MTN Group CEO, Mr. Nhleko, were
 the only two signatories to the secret Letter Agreement, the form and content of which indicates
 its Iranian origins. For example, the template’s Islamic and Iranian calendar references show that
 the template’s drafter and owner resided and conducted business in a commercial environment
 and/or regulatory regime in which such Islamic contractual references would be expected—an
 environment far more likely to be found in the IRGC’s headquarters in Tehran, Iran, than MTN
 Group’s in Johannesburg, South Africa. Compare CIA, South Africa, The World Factbook
 (2022) “86%” of South Africa’s population is “Christian” and “1.9%” is “Muslim”),
 https://tinyurl.com/3f72rder, with CIA, Iran, The World Factbook (2022) (Islam is Iran’s
 “official” faith, “99.6%” of Iran’s population are “Muslim,” and “0.3%” are “Zoroastrian,
 Jewish, and Christian”), https://tinyurl.com/wb39krfd. Given those facts, the Letter Agreement
 was derived from an IRGC template, not an MTN Group template, which is the only other
 logical template source for the Letter. For the avoidance of all doubt, Plaintiffs do not allege that
 the mere presence of Islamic terms in the Agreement, on its own, suggests a link to terrorism.
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        569.    MTN Group, including its President, knew this statement to be a direct reference

 to IRGC proxy terrorist attacks targeting Americans around the world.

        570.    A leaked contemporaneous South African intelligence agency report confirmed

 MTN Group’s 2005 terrorism quid-pro-quo with the IRGC and documented MTN’s meetings

 with a delegation of IRGC operatives—led by the head of Iran’s Supreme National Security

 Council, Hassan Rouhani—one month after MTN Group’s September 2005 meeting with senior

 IRGC terrorists at the Bonyad Mostazafan’s Tehran headquarters, in which MTN Group’s CEO

 signed the secret Letter Agreement pledging “security” assistance to the “Iranian shareholders,”

 i.e., the IRGC fronts that controlled Irancell, including the Bonyad Mostazafan.

        571.    MTN Group deliberately concealed the fact that its President and CEO signed the

 secret Letter Agreement. On information and belief, MTN Group has never publicly admitted

 that MTN Group’s President and CEO signed the secret Letter Agreement.

        572.    MTN Group’s attempts to conceal the Letter Agreement, and the fact that MTN

 Group’s President and CEO signed the secret Letter Agreement, reflects consciousness of MTN

 Group’s guilt and MTN Group’s recognition that its promise to assist the Iranian Shareholder’s

 “security” operations, i.e., anti-American terrorism, was illegal.

        573.      MTN Group’s executives quickly got to work after MTN Group executed the

 Letter Agreement on September 18, 2005. Three days later, MTN’s President and CEO,

 Phuthuma Nhleko, circulated a memorandum from himself to five senior MTN executives (the

 “September 18, 2005 Memo”). Captioned “STRICTLY CONFIDENTIAL” and headed with

 the subject “OVERVIEW AND WAY FORWARD – PROJECT SNOOKER,” it provided:

        1. OPPORTUNITY[:] Project Snooker still presents one of the most
           significant “virgin” mobile opportunities in the world. … [N]otwithstanding
           the significant challenges that lie ahead, [MTN] must continue to pursue this
           opportunity vigorously.

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       2. CURRENT STATUS[:] The signing of the various agreements this week
          [under duress] was to “book our place at the foot of the mountain – we still
          need to scale it to get to the peak.” It was a choice between inheriting an
          advanced arrangement [Turkcell revenue share and various negotiated
          agreements] or taking the chance that the window of opportunity may close on
          us whilst we try to reconstruct the deal and arrangements from scratch. We
          chose the former.

       3. RISK AND REWARD[:] Snooker is “no normal country”. The Ministry of
          Defense, Government controlled banks and companies, together with
          Government essentially control all the commercial activity in the country.
          Consequently, a conventional mindset, orthodox financial and operational
          approach to this project is unlikely to provide us with an outcome that I
          would feel comfortable to recommend to the board on an investment of over
          €400 million [license fee and working capital] into Snooker. It is therefore
          imperative to think laterally on how we can secure the investment … in a
          manner that allows us to penetrate the market achieving an acceptable IRR
          [i.e., “internal rate of return,” a measure of investment profitability]. …

       4. TIMING[:] The expectation is that the license fee should be paid within
          weeks and the operation launched commercially within a six month period. …
          The implied time scale can only be achieved through a well thought out and
          coordinated project management structure up …

       5. PROJECT MANAGEMENT[:] Given the size of the market, limited time
          to launch and all that has to be reviewed and completed before the MTN
          Group board ratifies the revised business plan, a special project structure
          must be put in place. … 5.1.2. Finance Structure, project funding and
          ancillary loan agreements[.] The Group CFO should take responsibility for
          this area, primarily in the following categories:
              • Flow of license fee and working capital
              • Appropriate security arrangements for funding of local partners
                  together with the loan agreements
              • Arranging the project finance …

       6. PROJECT STEERING COMMITTEE[:] I will chair a project steering
          committee that will have the responsibility of meeting regularly to oversee
          both Phase I and Phase II until the project is passed onto the MD / COO. The
          Steering Committee shall comprise of: CEO[;] COO[;] CFO[;] CTO[;]
          Commercial Director[;] Group Executive HR …

       8. CONCLUSION[:] This is one of the most significant opportunities the
          Group will undertake and will require teamwork to achieve these objectives.
          (Emphases added; formatting adjusted.)


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        574.    After MTN’s executive team successfully executed Project Snooker, the

 conservative-dominated and Qods Force-applauding Iranian parliament determined that MTN’s

 operation of Irancell would improve Iran’s “security.”

        575.    Project Snooker was successful not only because MTN pledged strategic

 cooperation with the Iranian government, but also because MTN made corrupt payments to

 government officials, at least one of which it structured as a sham consultancy payment. On

 December 11, 2006, MTN Group’s CEO instructed MTN Group’s CFO in writing on MTN

 letterhead to “finalise all agreements with the consultants” who had “assisted the Company” in

 obtaining the Iran deal. The first agreement called for MTN Group to make a $400,000 payment

 for the benefit of an Iranian government operative. The payment was effectuated through an

 MTN Group subsidiary, MTN International (Mauritius) Limited, and sent to a consulting firm

 owned by the Iranian operative’s associate. On April 4, 2007, MTN wired the $400,000 to the

 putative “consultant.” MTN has never proffered a legitimate explanation for that payment.

        576.    MTN’s second corrupt payment was to South Africa’s ambassador to Iran.

 MTN’s Iran Director has admitted to paying the Ambassador $200,000 in cash out of his own

 funds, which he tied to cooperation in helping MTN secure its equity interest in Irancell.

        577.    MTN Group’s senior executives knew of, and approved, MTN Group’s bribes to

 Hezbollah, the Qods Force, and Regular IRGC agents who helped MTN secure the Irancell joint

 venture. For example, on December 11, 2006, MTN’s CEO, Mr. Nhleko, wrote a memorandum

 (Subject: “CONSULTANCY AGREEMENTS”) to MTN Group’s commercial director, Irene

 Charnley, in which Mr. Nhleko authorized MTN’s bribes (the “December 11, 2006 Memo”):




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        578.    The phrase “necessary payments” in the December 11, 2006 Memo was a direct

 admission that the consultancy payments were bribes. Indeed “necessary payments” has long

 been understood to refer to bribery.

        579.    Other internal MTN Group documents, leaked by a whistleblower, also confirm

 that MTN Group’s executives directed MTN’s financial, technological, and operational aid for

 MTN Irancell and the IRGC, including Hezbollah and Qods Force, fronts that controlled MTN

 Irancell. For example, on March 25, 2007, MTN’s regional manager responsible for Iran, Chris

 Kilowan, sent a memorandum to MTN’s CEO, Mr. Nhleko, which extensively documented

 MTN Group’s illicit activities and was stamped “HIGHLY CONFIDENTIAL”:




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         580.   In the March 25, 2007 Memo, MTN’s regional director responsible for Iran (Mr.

 Kilowan) confirmed in writing to MTN Group’s CEO (Mr. Nhleko), among other things, that:

 (i)     Mr. Kilowan understood that “it was the [President of South Africa’s] view that the
         matter of MTN has nothing to do with the Government of South Africa as it is a private
         business in which the Government of South Africa plays no role.”

 (ii)    Mr. Kilowan had met with “Mr. Motakki” on behalf of the “Minister of Foreign Affairs”
         who was, on information and belief, an IRGC, including Qods Force, cut-out who was
         either relaying a message from the IRGC or acting as an IRGC operative himself.

 (iii)   During Mr. Kilowan’s meeting with Mr. Motakki, the latter “re-iterated [the IRGC’s,
         Qods Force’s] understanding that MTN was allowed to replace Turkcell in exchange for
         defence co-operation,” and that “the office of the Supreme Leader” had directly
         intervened after Hezbollah, the Qods Force, and Regular IRGC determined “that there
         [were] significant defence benefits in it for [Hezbollah, the Qods Force, and Regular
         IRGC] were MTN to be allowed into the process. On that basis [Hezbollah, the Qods
         Force, and Regular IRGC] withdrew their objections [to a foreign company playing a role
         in Iran’s telecoms sector] and allowed the process to proceed in MTN’s favour.”

 (iv)    Mr. Kilowan understood that MTN Group had only become a candidate for the Irancell
         joint venture after MTN Group had promised to pledge to aggressively support the
         “security” needs of Hezbollah, the Qods Force, and Regular IRGC fronts that controlled
         the Bonyad Mostazafan and IEI. Mr. Kilowan noted, as a “brief recap of history,” that
         “MTN only seriously got back into the [bidding] process” after its Iranian counterparties
         perceived that MTN would affirmatively aid their “security” needs.

         581.   Indeed, Mr. Kilowan’s March 25, 2007 Memo to MTN Group and Mr. Nhleko

 underscored to MTN Group that MTN would need to serve as a weapons supplier for its Iranian

 counterparties, and foreseeably aid Hezbollah, the Qods Forced, and Regular IRGC, if MTN

 Group wanted to win and maintain MTN’s position in the MTN Irancell joint venture:

         It would seem clear that the issue of defence co-operation has become a pressing
         matter with the government of Iran. If regard is had to the latest [U.N. Security
         Council] Resolution there is a clear move towards dealing with Iran’s [] weapons
         … Russia has traditionally played the role of key weapons supplier to Iran.
         Given recent developments …, [Russia] is actively looking at more secured
         suppliers of defence materials. … Because the entire political situation has now
         deteriorated significantly it is highly unlikely that the Government of South
         Africa will be prepared to sign any defence agreements or deliver defence
         materials to Iran. Given the clear linkage that the Government of Iran has



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        drawn between the defence assistance and allowing MTN into the country the
        likelihood that there will be serious blowback for MTN is increasing.

        Because there has been a recognition of the non-business imperatives that drove
        MTN’s entry into Iran, the Distant Thunder … projects have been developed to
        deepen MTN’s position, as opposed to and distinct from Irancell, inside Iran so
        that MTN would be able to rely on broad popular support for its continued
        presence. … To give MTN a realistic chance to navigate through what is
        potentially going to be a difficult few months (if not years until the end of the
        current presidency in 2009), I make the following recommendations:

        1. Implementation of Project Distant Thunder at the earliest opportunity. We
           could pre-empt some of the activity that is almost certain to be started in the
           public sphere against MTN. … (Dimension 1)

        2. Approval of the creation of the committee to pursue mid to long term
           strategies for MTN’s investment in Iran. (Dimension 2)

        3. Finalisation of the diplomatic support initiative. The first consultant is still
           waiting for the transfer of the agreed amount. This is causing considerable
           anxiety in his mind and going forward we are going to need his support.
           We still have not given the second consultant any indication whether we are
           seriously considering his request. He too is developing some anxiety and I
           have to field almost daily questions on it. (Dimension 3)

        582.    A November 10, 2007 memorandum from MTN’s regional manager responsible

 for Iran, Chris Kilowan, and MTN’s then-CEO, Mr. Nhleko, further documented MTN Group’s

 open support for the illicit activities conducted by the fronts operating on behalf of Hezbollah,

 the Qods Force, and Regular IRGC with whom MTN had partnered in Irancell, including MTN

 partners whom MTN nicknamed “Short John” and “Long John” (the “November 10, 2007

 Memo”). On information and belief, the Iranian operative whom MTN derisively nicknamed

 “Short John” was an agent for Hezbollah, the Qods Force, and Regular IRGC.

        583.     The November 10, 2007 Memo was labeled “STRICTLY CONFIDENTIAL”

 in bright red bolded all-caps font and was titled “SUBJECT: OUTSTANDING ISSUES” in

 bolded all-caps black font. In it, MTN’s executive for Iran communicated to MTN’s CEO that:




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        Pursuant to [our] last communication … I set out below the issues that I believe
        are still outstanding [] and will have an impact … on MTN’s investment. …

        FINALISATION OF CONTRACT WITH SHORT JOHN[:] Subsequent to
        our last discussion on this matter [in early 2007] I did not do anything about the
        agreement, preferring to wait until December [2007] to do an agreement … I can
        certainly state that [Short John] has come to the party on every occasion that I
        called upon him. The fact that the quid pro quo that has threatened at one stage
        to be the primary stick with which we could be hit has now largely disappeared
        because of his efforts. The initial concessions on promised support for the revenue
        share issue was because of his direct involvement … With me out of the picture
        he will probably be the only friendly source of information and interaction for
        MTN on this side. I would recommend that MTN finalise arrangements with
        him and offer fair compensation commensurate with the huge role he has
        played right from the outset.

        RENEWED APPROACH BY LONG JOHN[:] I have communicated this to
        you a few weeks ago and recently forwarded an SMS from him. The background
        to this new approach is centered in planned developments within the area that he
        is currently working. Whatever his motivations, it is not something that should be
        ignored. While he has very little power to do anything positive, he can be a
        destructive force or simply an unnecessary distraction. …

        PERSISTENT NEGATIVE VIEWS ABOUT SOME MTN EXPATS[:] I beg
        your forgiveness if I sound like a record with a stuck needle but I … alert[] you to
        a serious risk to MTN’s investment. … In [Mr. Mokhber’s] view MTN made a
        mistake and inflicted a huge insult on Iran by placing [a woman] here [as Chief
        Operating Officer of MTN Irancell]. … (Bolded all-caps emphases in original;
        bolded italicized emphases added.)

        584.   One reason MTN chose to become the joint venture partner of the IRGC,

 including Hezbollah and the Qods Force, was the potential for enormous profits. As the

 Financial Times reported at the time in 2013, “[a]s the international community was weighing

 whether to impose yet more sanctions on Iran over its nuclear programme, [MTN President and

 CEO] Phuthuma Nhleko was making other plans. Instead of seeing a country with mounting




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 political problems, Mr Nhleko saw a nation with relatively few mobile phone users. Iran, he

 reckoned, could quickly add 2.5m-3m new customers for MTN Group.” 189

             585.   After MTN secured its joint venture with two fronts for the IRGC, MTN’s

 President and CEO, Phuthuma Nhleko, “laughed off questions about the political risk of doing

 business with Iran.” 190 As he chuckled in a discussion with investors, he stated “[MTN] hadn’t

 budgeted for bomb shelters or anything like that.” 191 MTN’s CEO’s choice to literally “laugh

 off” questions about the obviously dire risks associated with MTN’s new joint venture in Iran

 typifies MTN’s deliberate choice to align itself with anti-American terrorists as the cost of doing

 business as the IRGC’s junior partner in the MTN Irancell joint venture.

             586.   MTN continued to pursue Project Snooker even after the U.S. Undersecretary of

 the Treasury told Turkish officials that Irancell was “fully owned” by Hezbollah, the Qods Force,

 and Regular IRGC. Undersecretary Levey did so as part of a campaign in which he alerted every

 major western business and financial partner of Hezbollah, the Qods Force, and Regular IRGC

 about the inherent terrorism risks attendant to any transactions with fronts for Hezbollah, the

 Qods Force, and Regular IRGC. On information and belief, Undersecretary Levey told MTN

 Group that Irancell was “fully owned” by Hezbollah, the Qods Force, and Regular IRGC and, by

 extension, when Irancell operated outside of Iran, Qods Force operatives were in charge.

             587.   In June 2018, South Africa’s anti-corruption police – called the “Hawks” – raided

 the offices of MTN and its outside counsel as part of an investigation into Irancell-connected




 189
    Lina Saigol and Andrew England, Telecoms: Dealings in the Danger Zone; MTN of South
 Africa’s Ventures in Iran and Syria Have Dented Its Reputation and Rattled Shareholders,
 Financial Times (July 2, 2013) (“Saigol and England, Telecoms: Dealings in the Danger Zone”).
 190
       Id.
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       Id.
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 bribery. Roughly eight months later, the Hawks also arrested the former Ambassador whom

 MTN had bribed. On information and belief, that investigation remains ongoing.

              588.   At bottom, MTN’s bribes and alliance with Hezbollah, the Qods Force, and

 Regular IRGC “is a saga that illustrates the extraordinary risks MTN has taken to profit from

 doing business with pariah states.” 192

                     3.     MTN Knowingly Assumed A Financial, Logistical, And Operational
                            Role In The IRGC’s, Including Hezbollah’s And The Qods Force’s,
                            Sponsorship And Support Of Terrorist Attacks Against Americans
                            Worldwide

              589.   For more than seventeen (17) years, MTN Group and MTN Dubai has each

 served as a reliable joint venture partner for Hezbollah, the Qods Force, and Regular IRGC.

              590.   MTN Group acted as an international logistics and financial agent for the IRGC,

 including its Hezbollah Division and Qods Force. In doing so, MTN Group acted within the

 scope of the instruction from MTN Group (the principal) in the Letter Agreement from the

 “Iranian Shareholders,” committing the MTN Group to assist the “security” operations (i.e.,

 terrorist attacks) of Hezbollah and the Qods Force. Indicia of MTN Group’s service as an agent

 for the IRGC include, but are not limited to:

 (i)          MTN Group represented the Iranian Shareholders as their purchasing agent, and
              coordinated efforts to obtain vital U.S. technology that aided bomb and rocket
              construction and terrorist surveillance, as requested by IRGC-QF and Hezbollah,
              reaching into the United States to acquire such gear.

 (ii)         MTN Group repeatedly sourced precious U.S. dollars to funnel to IRGC-QF as bribes
              ($400,000) or to pay to others as bribes in order to help further conceal IRGC-QF front
              companies, including pursuing a scheme to bribe the South African UN delegation in
              order to successfully kill a UN resolution that would have sanctioned IRGC-QF front
              companies necessary to the terrorist enterprise.

 (iii)        MTN Group provided public relations support and crisis management services designed
              to benefit the IRGC-QF front, MTN Irancell, by coordinating the strategic


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        Id.
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        communications response to media stories, government investigations, and/or lawsuits
        that exposed MTN Irancell as an IRGC-QF front, including through actions inside the
        United States and communications directed towards a specific American audience.

 (iv)   MTN Group Organized IRGC-QF finances and managed IRGC-QF assets through
        Irancell, and MTN Group had to reach into the United States to do so because of the
        complicated technology that MTN used, which relied on purloined American technology.

 (v)    MTN Group coordinated the secret use of U.S. IT experts to handle sensitive tasks that
        Irancell agents could not, knowing that such persons were working from the United
        States (indeed that was the point, since MTN needed people with U.S. tech expertise).

 (vi)   MTN Group prepared detailed studies at the request of the IRGC-QF that were designed
        to improve Iranian weapons capabilities, with a specific understanding that the IRGC-
        QF’s primary target was the United States, and therefore that the weapons studies they
        were sharing would target the United States, including its citizens in the Middle East.

        591.   MTN Group coordinated with MTN Dubai to manage the procurement scheme.

 MTN Group directed the conduct of the purported “third parties” in the U.A.E. who were, in

 fact, shared corporate covers acting on behalf of both MTN Group, MTN Irancell, and

 Hezbollah, the Qods Force, and Regular IRGC.

        592.   MTN Group extracted vast amounts of state-of-the-art American technologies

 from the U.S. marketplace on behalf of MTN Group’s IRGC partners. According to Reuters’

 Special Report, “MTN [Group] was determined that MTN Irancell procure substantial

 amounts of U.S. equipment: The U.S. products had performed well in its other networks, and

 the company’s technicians were familiar with them.” 193

        593.   MTN Group, and its employees, set out to evade America’s IRGC-related

 terrorism sanctions. According to Reuters, “internal [MTN Group] documents” “show that MTN

 [Group] employees created presentations for meetings and wrote reports that openly discussed

 circumventing U.S. sanctions to source American tech equipment for MTN Irancell.” Id.



 193
    Steve Stecklow, Special Report: Documents Detail How MTN Funneled U.S. Technology to
 Iran, Reuters (Aug. 30, 2012).
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        594.   MTN Group’s employees understood that their transaction activities on behalf of

 the IRGC were illegal. According to Reuters, “internal [MTN Group] documents” “show that

 MTN [Group] employees” “address[ed] the potential consequences of getting caught” in written

 MTN Group documents. Id.

        595.   MTN Group’s C-Suite directed its support for the Conspiracy, and continued

 doing so even after MTN Group finished pilfering the Irancell license from Turkcell in 2005:

        The new MTN documents appear to detail an intentional effort to evade
        sanctions. For example, a January 2006 PowerPoint presentation prepared for the
        project steering committee - comprised of then top-level MTN executives -
        includes a slide titled “Measures adopted to comply with/bypass US embargoes.”
        It discussed how the company had decided to outsource Irancell’s data centre after
        receiving legal advice. “In the absence of applicable U.S. consents, it is a less
        risky route to MTN for Irancell to outsource data centre than it is to purchase
        restricted products,” the PowerPoint slide says. (Id.)

        596.   MTN Group, its executives, and employees, knew there were potential “civil and

 criminal consequences” to their scheme – and intensified it anyway:

        “CIVIL AND CRIMINAL CONSEQUENCES” According to [] internal
        procurement documents, right from the start MTN was well aware of what it
        termed “embargo issues” and the inherent risks involved. A December 2005
        PowerPoint presentation marked confidential and emblazoned with MTN’s logo
        noted that the “Consequences of non compliance” included “Civil and criminal
        consequences.” The PowerPoint slide added that the U.S. government could
        blacklist MTN, “which could result in all MTN operations being precluded from
        sourcing products/services from U.S. based companies.” (Id.)

        597.   MTN Group, its C-Suite, and its employees had actual knowledge of the scheme.

 MTN Group personnel routinely prepared written materials that memorialized the illicit

 importation of embargoed U.S. technologies, for the specific purpose of flowing the technology

 through to Iran, where MTN Group and its personnel knew there would be only one end

 recipient: Hezbollah, the Qods Force, and Regular IRGC. Per Reuters:

        A delivery schedule also dated June 2006 lists U.S. equipment needed for “value-
        added services,” including voice mail and a wiretapping system. The schedule

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        states that the equipment would be “Ready to Ship Dubai” that July and August. It
        estimates it would take two weeks to arrive in the southern Iranian port of Bandar
        Abbas by “Air or Sea/Road,” and then up to 30 days to clear Iranian customs.
        According to a person familiar with the matter, the equipment ultimately arrived
        by boat. “It all showed up,” this person said. (Id.)

        598.    MTN Group maintained “a lengthy spreadsheet of ‘3rd Party’ equipment dated

 June 2006 that list[ed] hundreds of U.S. components - including servers, routers, storage devices

 and software - required for a variety of systems.” Id.

        599.    From the course of negotiations with its IRGC, including Qods Force,

 counterparts in 2004 and 2005, MTN knew at all times that it was acting to benefit the IRGC’s,

 including Hezbollah’s and the Qods Force’s terrorist agenda. MTN contractually agreed to

 benefit the “security” needs of its Iranian Shareholders (a direct reference to the two fronts for

 Hezbollah, the Qods Force, and Regular IRGC with whom MTN agreed to serve as the junior

 partner in their shared joint venture).

        600.    MTN Group and MTN Dubai knew that MTN’s pledge to aid the IRGC’s,

 including Hezbollah’s and the Qods Force’s, “security”-related efforts committed MTN Group

 and MTN Dubai to actively participating in the IRGC’s, including Hezbollah’s and the Qods

 Force’s, terrorist enterprise against Americans outside of Iran, including in Afghanistan.

        601.    MTN Group remained committed to its IRGC, including Hezbollah and the Qods

 Force, allies even after withering U.S. pressure. For example, in or around 2010 or 2011, MTN

 representatives met with senior executive officials from the U.S. government. During these

 meetings, MTN representatives falsely assured the U.S. government that they were not helping

 Hezbollah, the Qods Force, and Regular IRGC or supplying them with any embargoed U.S.

 technology in violation of U.S. sanctions against Iran that are intended to deprive Hezbollah, the

 Qods Force, and Regular IRGC of the money and technology useful to their propagation of



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 violence against Americans in the Middle East and Afghanistan. MTN provided the U.S. such

 false assurances even after “MTN ha[d] carried out orders from the regime to shut off text

 messaging and Skype during times of political protest, and reportedly ha[d] a floor in its Tehran

 headquarters controlled by Iranian security officials.”

        602.    Under the structure of the MTN Irancell joint venture, the two fronts for

 Hezbollah, the Qods Force, and Regular IRGC that exercised 51% control of MTN Irancell – the

 Bonyad Mostazafan and IEI – had the mandate to promote the IRGC’s, including Hezbollah’s

 and the Qods Force’s, “security” agenda, including the obligation to block any significant MTN

 Irancell-related transaction or commercial relationship unless it improved the IRGC’s, including

 Hezbollah’s and the Qods Force’s, terrorism capabilities. Given the IRGC’s, including the Qods

 Force’s, view that MTN Irancell was essential to IRGC, including Hezbollah and the Qods

 Force, “security” operations, the terrorist fronts that controlled MTN Irancell (Bonyad

 Mostazafan and IEI) would not have approved any material MTN Irancell transaction unless they

 determined that, on balance, the particular transaction improved the IRGC’s, including

 Hezbollah’s and the Qods Force’s, ability to execute terror operations as the central element of

 the IRGC’s “security” agenda. As a result, one may infer that every significant commercial

 transaction and business relationship that MTN Irancell entered into was: (1) vetted by

 Hezbollah, the Qods Force, and Regular IRGC; and (2) determined by such terrorists to advance

 the IRGC’s, including Hezbollah’s and the Qods Force’s, “security”-related capabilities, which

 was a specific Iranian euphemism for external terror operations.

        603.    MTN was the lead target of a major public pressure campaign demanding that

 MTN exit its joint venture with Hezbollah, the Qods Force, and Regular IRGC. For example, on

 March 7, 2012, UANI “renewed its call on investors, affiliated institutions and potential



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 customers to cease all business with South African telecommunications firm MTN in response to

 MTN Group President and CEO Sifiso Dabengwa’s callous remarks and irresponsible posture on

 MTN’s partnership with sanctioned Iranian entities that are linked to the Islamic Revolutionary

 Guards Corps (IRGC).” 194 MTN chose to stay in their alliance with Hezbollah, the Qods Force,

 and Regular IRGC even after nearly every other multinational had exited such ventures.

        604.    From 2005 through the present, MTN’s joint venture with MTN Irancell, and

 MTN’s illicit transactions with MTN Irancell, the Bonyad Mostazafan, IEI, TCI, the Akbari

 Fronts, and Exit40 each provided tens of millions of dollars annually in illicit funds, weapons,

 and operational support to Hezbollah, the Qods Force, and Regular IRGC, which flowed through

 to al-Qaeda and the Taliban and facilitated attacks against Americans in Afghanistan, including

 Plaintiffs and their loved ones.

        605.    MTN Assumed a Financial Role in the Terrorist Enterprise. MTN assumed a

 financial role in the terrorist enterprise by, among other things, bribing its IRGC, including Qods

 Force, joint venture partners to win the Irancell license in the first instance, paying large license

 fees, and generating revenue for MTN Irancell throughout the operation of the joint venture.

        606.    MTN’s Bribes to Terrorist Fronts. “In Iran, MTN has been accused of paying

 bribes to South African and Iranian officials to secure a licence there in 2005.” 195

        607.    The recipient of MTN’s $400,000 wire acted as a front, operative, or agent for

 Hezbollah, the Qods Force, and Regular IRGC. On information and belief, the recipient of



 194
    United Against Nuclear Iran (“UANI”), UANI Responds to MTN CEO’s Irresponsible
 Position on Iran and Renews Call for MTN to End its Business in Iran (Mar. 7, 2012); see Bus.
 Wire, UANI Responds to MTN CEO’s Irresponsible Position on Iran and Renews Call for MTN
 to End its Business in Iran (Mar. 7, 2012) (broad global publication of UANI press release).
 195
    Agence France Presse English Wire, South African Telecom MTN Gains Clients Despite
 Scandals (Mar. 7, 2019).
                                                  183
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 MTN’s $400,000 wire was a cut-out for MTN to route value to “Iranian shareholders” who were

 Hezbollah, the Qods Force, and Regular IRGC. Hezbollah, the Qods Force, and Regular IRGC

 ensures that all economic value is shared amongst constituent parts of the organization, and

 would not have permitted such value transfer here relating to a contract decision-making process

 Hezbollah, the Qods Force, and Regular IRGC controlled without obtaining their share of the

 payment under the IRGC’s mafia-like revenue sharing practices.

        608.    MTN knew, or recklessly disregarded, that the recipient of MTN’s $400,000 wire

 was acting as a cut-out to allow money to flow through to aid Hezbollah, the Qods Force, and

 Regular IRGC, which was vital to MTN’s successful campaign to steal Turkcell’s license.

        609.    MTN also knew, or recklessly disregarded, that the recipient of MTN’s $400,000

 wire instructed MTN to wire the money, in U.S. Dollars, to a bank account in the U.A.E., and

 therefore that the recipient of MTN’s $400,000 wire was specifically acting as a pass-through for

 the benefit of the Qods Force because MTN’s $400,000 wire instruction, on information and

 belief, caused a bank in the United States to send $400,000 to a bank account controlled by a cut-

 out for Hezbollah, the Qods Force, and Regular IRGC acting in Dubai, which was the Qods

 Force’s most notorious financial and logistical hub in the Middle East outside of Iran.

        610.    On information and belief, MTN regularly makes similar sham “consulting”

 payments like one that MTN used to attempt to justify MTN’s $400,000 wire. Such payments

 benefitted fronts, operatives, or agents for Hezbollah, the Qods Force, and Regular IRGC in their

 MTN Irancell-related terrorist fundraising efforts from 2005 through today.

        611.    MTN’s License Fee Payments to Terrorist Fronts. After it corruptly secured

 the 15-year Irancell license, MTN Group Ltd. paid Hezbollah, the Qods Force, and Regular

 IRGC through the Bonyad Mostazafan and IEI, an approximately $300 million license fee when



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 it secured its 49% status as the junior partner in the MTN Irancell joint venture. This money

 benefited the IRGC’s, including Hezbollah’s and the Qods Force’s, sponsorship of and support

 for terrorist attacks, and Hezbollah and the Qods Force received a substantial amount per

 standard practice by the IRGC.

           612.   MTN’s Funding of Terrorist Fronts through MTN Irancell Cash Flow. MTN

 reaped enormous profits from its involvement in MTN Irancell, and sourced copious amounts of

 dual-use technology to benefit MTN Irancell and Hezbollah, the Qods Force, and Regular IRGC.

 Indeed, by 2013, “MTN has faced a huge headache in seeking to get dividends out of Iran

 because stringent sanctions prevent[ed] banks from moving cash easily in and out of the country.

 MTN … was virtually printing money in Iran, where it has a 46% share of the market.” 196

           613.   Under MTN’s joint venture with its two IRGC, including Hezbollah and the Qods

 Force, front partners in MTN Irancell, for every dollar (or Iranian Rial) MTN generated for the

 joint venture, MTN’s terrorist partners received 51 cents to invest in their terrorist enterprise.

 Thus, every dollar in profit for MTN Irancell inevitably helped fund Hezbollah’s coordination of

 a nationwide insurgency against Americans in Afghanistan, the IRGC’s, including the Qods

 Force’s, industrial-scale production of IED components, advanced rockets, and other high-tech

 weapons for use by Syndicate terrorists against Americans in Afghanistan led by al-Qaeda and

 the Taliban, and the aggressive forward deployment of Hezbollah and/or Qods Force operatives

 inside Afghanistan to facilitate the IRGC’s vast storehouse of assistance to the Taliban.

           614.   Through its participation in MTN Irancell, MTN caused Hezbollah, the Qods

 Force, and Regular IRGC to realize tens of millions of dollars per year in income that Hezbollah,




 196
       Business Day Live, Iran Deals Forced MTN Boss to Quit (July 28, 2013) (emphasis added).
                                                  185
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 the Qods Force, and Regular IRGC used to fund terrorist operations against the U.S. in

 Afghanistan including, inter alia, by funding al-Qaeda and the Taliban.

        615.    MTN Assumed an Operational Role in the Terrorist Enterprise. MTN Group

 and MTN Dubai deliberately provided “security” assistance to its JV partners, the “Iranian

 Shareholders,” i.e., Hezbollah, the Qods Force, and Regular IRGC. In its blockbuster Special

 Report breaking one MTN Group scandal, Reuters revealed that “internal documents seen by

 Reuters,” showed that “MTN Group” “plotted to procure embargoed U.S. technology products

 for an Iranian subsidiary through outside vendors to circumvent American sanctions on the

 Islamic Republic.” 197 According to Reuters, “[h]undreds of pages of internal documents

 reviewed by Reuters show that MTN employees created presentations for meetings and wrote

 reports that openly discussed circumventing U.S. sanctions to source American tech equipment

 for MTN Irancell. … [and] also address[ed] the potential consequences of getting caught.” Id.

 Indeed, “[t]he documents show that MTN was well aware of the U.S. sanctions, wrestled with

 how to deal with them and ultimately decided to circumvent them by relying on Middle Eastern

 firms inside and outside Iran.” Id.

        616.    On August 30, 2012, MTN Group issued a statement to Reuters, in which “MTN

 denied any wrongdoing.” Id. According to Reuters, “Paul Norman, MTN Group’s chief human

 resources and corporate affairs officer,” issued a statement to Reuters:

        MTN denies that it has ever conspired with suppliers to evade applicable U.S.
        sanctions on Iran or had a policy to do so. MTN works with reputable
        international suppliers. Our equipment is purchased from turnkey vendors and all
        our vendors are required to comply with U.S. and E.U. sanctions. We have
        checked vendor compliance procedures and continue to monitor them and
        we are confident they are robust. (Id.)



 197
    Steve Stecklow, How A Telecom Giant Got Round Sanctions On Iran, Reuters (Aug. 30,
 2012).
                                                 186
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        617.    MTN Group’s denial was a lie, and MTN Group intended to conceal MTN

 Group’s and MTN Dubai’s membership in the IRGC Conspiracy, which MTN Group joined on

 behalf of itself and MTN Dubai in 2005. MTN Group’s statement aided the IRGC’s terrorist

 finance and logistics scheme by engaging in strategic communications targeted at the United

 States, which maintained MTN Group’s status as a viable “cover” for the illicit fundraising and

 acquisition of embargoed American technologies by Hezbollah, the Qods Force, and Regular

 IRGC while MTN Group was under scrutiny.

        618.    As the IRGC’s chief outside telecoms partner, MTN Group helped Hezbollah, the

 Qods Force, and Regular IRGC grow their technical capabilities, evade U.S. sanctions, and

 acquire embargoed U.S.-made technology. From 2005 through today, MTN has illegally sourced

 embargoed dual-use U.S. technology at the request of Hezbollah, the Qods Force, and Regular

 IRGC in coordination with MTN’s Qods Force handlers in the U.A.E., where MTN and

 Hezbollah, the Qods Force, and Regular IRGC coordinate their technical collaboration.

 Plaintiffs’ belief is based upon, inter alia, information and inferences derived from witness

 statements, internal MTN documents, financial data, and mainstream media investigative reports.

        619.    For example, on June 4, 2012, Reuters reported how MTN Group led efforts to

 illegally acquire hundreds of dual-use, military-grade embargoed communications, telecom, and

 computer technologies for Hezbollah, the Qods Force, and Regular IRGC. Steve Stecklow,

 Exclusive: Iranian Cell-Phone Carrier Obtained Banned U.S. Tech, Reuters (June 4, 2012).

        A fast-growing Iranian mobile-phone network managed to obtain sophisticated
        U.S. computer equipment despite sanctions that prohibit sales of American
        technology to Iran, interviews and documents show. MTN Irancell, a joint
        venture between MTN Group Ltd of South Africa and an Iranian government-
        controlled consortium, sourced equipment from Sun Microsystems Inc, Hewlett
        Packard Co and Cisco Systems Inc, the documents and interviews show....




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        Chris Kilowan, who was MTN’s top executive in Iran from 2004 to 2007, said in
        an interview … [that] MTN’s parent company, MTN Group, was directly
        involved in procuring U.S. parts for MTN Irancell, which launched in 2006 and
        is now Iran’s second-largest mobile-phone operator. “All the procedures and
        processes around procurement were established by MTN,” he said. He said the
        company agreed to allow its Iranian partners and MTN Irancell to set up a local
        Iranian company with the “basic” purpose of evading sanctions on Iran. …

        Reuters provided MTN with the names of four current MTN Group executives
        believed to have knowledge of the procurement of U.S. parts by MTN Irancell.
        MTN declined to make any of them available for interviews. …

        Kilowan’s claims regarding how MTN Irancell obtained U.S. parts for its network
        … were supported in documents and numerous interviews … For example,
        Reuters reviewed an 89-page MTN Irancell document from 2008 that shows the
        telecom carrier was specifically interested in acquiring embargoed products. …
        In a section on managing product-support agreements for third-party equipment,
        the MTN Irancell document states, “This should include embargo items.” The
        document also includes lists of network equipment, including Cisco routers, Sun
        servers and products from HP. … (Id. (emphasis added; formatting adjusted)).

        620.    Reuters “documented … how Iranian telecoms - including the MTN joint venture

 – [] managed to obtain embargoed U.S. computer equipment through a network of Chinese,

 Middle Eastern and Iranian firms.” 198 As Reuters put it, “[t]he Turkcell-MTN case offers further

 evidence that there are always companies willing to do business with a country even when it

 becomes an international pariah.” Id.

        621.    MTN’s technical assistance to Hezbollah, the Qods Force, and Regular IRGC had

 a devastating impact on the U.S. government’s ability to protect Americans in Afghanistan from

 al-Qaeda and Taliban terrorist attacks. By helping to revolutionize the IRGC’s communications

 capabilities, MTN helped Hezbollah, the Qods Force, and Regular IRGCs better conceal their

 communications with their proxies inside Afghanistan to make it nearly impossible for American

 counter-terror forces in Afghanistan to monitor the IRGC-backed terrorists attacking Americans



 198
     Steve Stecklow and David Dolan, Special Report: How An African Telecom Allegedly Bribed
 Its Way Into Iran, Reuters (June 15, 2012).
                                                188
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 in there. By making it easier for Hezbollah, the Qods Force, and Regular to securely

 communicate with one another, and the IRGC’s proxies in Afghanistan, MTN made it easier for

 al-Qaeda and the Taliban to attack Americans – and they did. MTN accomplished this

 “communications concealment” assistance to Hezbollah, the Qods Force, and Regular IRGC

 which flowed through to al-Qaeda and the Taliban in at least three ways.

        622.   First, MTN acquired advanced American-made encryption technologies for

 Hezbollah, the Qods Force, and Regular IRGC, which flowed through to al-Qaeda and the

 Taliban. The terrorists used the MTN-acquired, U.S.-manufactured and embargoed technologies

 to encrypt their communications.

        623.   Second, MTN sourced more than one thousand (1,000) advanced, encrypted

 American smart phones each year from 2006 through 2017 that were intended to be used, and

 were in fact used, by Hezbollah, the Qods Force, and Regular IRGC, for terrorism targeting

 Americans. The American smart phones sourced by MTN for Hezbollah, the Qods Force, and

 Regular IRGC, were used to increase the effectiveness of IRGC-funded (including and Qods

 Force-funded) IEDs in Afghanistan by making it easier for terrorists to detonate them and harder

 for American counter-IED technologies to prevent their detonation by “jamming” them.

        624.   Third, MTN lied to the U.S. government about its ongoing cooperation with and

 work on behalf of Hezbollah, the Qods Force, and Regular IRGC. This furthered al-Qaeda’s and

 the Taliban’s terrorist campaign in Afghanistan by preventing the U.S. government from

 knowing and understanding what technology the terrorists had, and when it was obtained.

        625.   As alleged, MTN knew, or recklessly disregarded, that it was dealing with Qods

 Force fronts, but given the IRGC’s designation as an FTO in 2019, MTN’s ongoing relationship

 with two widely recognized IRGC fronts proves MTN deliberately chose to join the IRGC’s,



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 including Hezbollah’s and the Qods Force’s, terrorist enterprise against the United States, which

 MTN self-evidently views as an acceptable cost of doing business.

        626.    MTN’s ongoing refusal in August 2022 to immediately and unconditionally (as in

 weeks, not months or years) exit its joint venture with fronts for Hezbollah, the Qods Force, and

 Regular IRGC even after the IRGC had been designated as an FTO in April 2019, and nearly

 every other multinational corporation (aside from ZTE and Huawei) had withdrawn from such

 joint ventures with Iranian fronts nearly a decade earlier, further confirms that MTN meant to

 support Iran-backed terror all along. UANI’s public pressure campaign demonstrates this. On

 February 29, 2012, for example, Ambassador Wallace released a public letter as follows:

        [MTN] fails to respond to evidence of Iran’s routine use of telecommunications
        equipment to illegally track, monitor, and in some cases arrest, detain, and torture
        Iranian citizens opposed to the current extremist regime. More specifically,
        [MTN] also fails to refute the fact that the Iranian regime, the majority 51%
        holder of Irancell and partner of MTN, “has exploited the network and
        communications of peaceful dissidents in Iran.” Finally, [MTN] fails to respond
        to UANI’s inquiries regarding multiple reports of collaboration by MTN Irancell
        and the Iranian regime … MTN is a 49% shareholder of MTN Irancell, and the
        majority 51% is in turn owned by the Iranian regime. This means that MTN’s
        “partner” in MTN Irancell is the Iranian regime. …

        In addition, given MTN’s relationship with the regime, MTN’s assertion that it is
        a “liberating force,” “enriching the lives” of Iranians is completely untenable.
        MTN cannot reasonably assert that the substantial profits it earns from its growing
        role in the Iranian telecommunications market are merely a byproduct of a larger
        altruistic goal to empower the citizens of Iran and the developing world….

        Recent reports in the news media regarding MTN’s Iran business further belie
        MTN’s assertion that its business in Iran is altruistic or ethical in nature. For
        example . . . . MTN Irancell’s other Iranian partial owner is the Mostazafan
        Foundation of Islamic Revolution, a “Bonyad” organization directly supervised
        by Iran’s Supreme Leader. Both IEI and Mostazafan are closely linked to the
        regime’s radical [IRGC]. … [Emphases added.]

        627.    On March 28, 2012, Turkcell filed suit against MTN Group in United States

 District Court for the District of Columbia. See Compl. [Dkt. 1], Turkcell İletişim Hizmetleri



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 A.Ş. and East Asian Consortium B.V v. MTN Group, Ltd. and MTN International (Mauritius)

 Ltd., No. 1:12-cv-00479-RBW, (D.D.C. Compl. Filed Mar. 28, 2012) (“Turkcell v. MTN”). 199

 Turkcell’s complaint alleged that MTN “violat[ed] … the law of nations through bribery of

 sitting Iranian … officials and trading influence to steal the first private Iranian Global System

 for Mobile Communications (“GSM”) license (the ‘License’) from Turkcell,” which included

 MTN’s “promis[e] [to] Iran [MTN would source] defense equipment otherwise prohibited by

 national and international laws” and MTN’s “outright bribery of high-level [] officials in both

 Iran and South Africa,” which “acts … deliberately resulted in Turkcell losing its rightfully-won

 valuable telecommunications opportunity and in MTN’s taking over the License.” 200

        628.    Turkcell also alleged that MTN Group engaged an IRGC-controlled company. 201




 199
    Turkcell subsequently voluntarily dismissed the case to pursue the matter in South Africa.
 See Notice of Voluntary Dismissal (Dkt. 47) and Minute Order (Dkt. 48) in Turkcell v. MTN, No.
 1:12-cv-00479-RBW (D.D.C. May 1, 2013).
 200
    Turkcell also alleged that, “[b]etween the end of 2004 and receiving the License in November
 2005, MTN through ‘Project Snooker’ made at least five illegal bribes and trades in influence to
 government officials with the intention and belief that the bribes would cause the Iranian
 government to grant the License to MTN rather than Turkcell.” Turkcell v. MTN Complaint ¶ 9.
 201
     See, e.g., id. ¶ 65 (“[To] establish[] itself within Iran[,] … [MTN] reached out to … Mr.
 Mohammed Mokhber, the Deputy President of a major “charitable foundation” controlled by the
 Supreme Leader of Iran, known as the Bonyad Mostazafan (“the Bonyad”), which is …
 controlled by the Iran Revolutionary Guard Corps, the Iranian military complex formed by Iran’s
 Supreme Leader Ayatollah Ali Khamenei, which is believed to control approximately one third
 of the Iranian economy. … The Bonyad reports directly to the Supreme Leader and MTN was
 confident that its relationship with Mr. Mokhber and the Bonyad he controlled provided direct
 access to the Supreme Leader. The Bonyad is well known for engaging in ‘Iran’s shadow
 foreign policy.’”). Similarly, Turkcell also alleged (at ¶ 86), that “[t]hroughout 2004 and 2005,
 MTN regularly met with … the Bonyad [Mostazafan] and Sairan [i.e., IEI],” during which time
 MTN’s “goal was to entice those entities to support MTN and abandon Turkcell, on the promise
 that MTN had more to offer than Turkcell.” Id. ¶ 86. Turkcell continued: “The Bonyad and
 [IEI] responded exactly as MTN planned: They not only used political leverage to increase
 delay and shift Turkcell’s regulatory requirements, but also they directly began disengaging from
 their relationship with Turkcell. After mid-2005, the Bonyad and [IEI]’s involvement with
 Turkcell was merely a charade along the path to forming its venture with MTN.” Id.
                                                 191
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             629.   Indeed, MTN remained defiant even though nearly every other major

 multinational corporation (aside from ZTE and Huawei) exited their own joint ventures with

 fronts for Hezbollah, the Qods Force, and Regular IRGC after the Bush and Obama

 administration ramped up sanctions enforcement in the 2000s. As Ambassador Wallace

 explained in May 2012, “despite the action of other responsible telecommunication companies,

 South African telecom company MTN continues to openly partner with sanctioned Iran entities

 affiliated with the brutal Iranian regime. Companies like MTN deserve the condemnation of the

 American public and concerned citizens worldwide as well as the attention of this Congress,

 which should investigate MTN`s collaboration with the Iranian regime. Nevertheless, UANI

 will continue to educate citizens and apply pressure against recalcitrant companies that pursue

 short-term profits at the expense of global security. 202

                    4.     MTN Knowingly Assumed A Financial, Logistical, And Operational
                           Role In The Taliban’s, Including The Haqqani Network’s, Terrorist
                           Enterprise In Afghanistan, Directly And Indirectly Financing And
                           Arming IRGC Proxy Attacks In Afghanistan And Iraq

                         i.       MTN Made Protection Payments To The Taliban

             630.   MTN has become one of the world’s most valuable telephone companies by

 “wading into nations dealing with war, sanctions and strife.” 203 Success in unstable markets,

 including Afghanistan, has yielded profits. MTN is now, due to this business model, “bigger by

 some measures than its U.S. counterparts.” 204

             631.   MTN followed that model in Afghanistan. In mid-2006, MTN Group bought

 Areeba, a Lebanese telephone company that had recently won a license to provide cellular-



 202
       Wallace May 17, 2012 Testimony (emphasis added).
 203
       Alexandra Wexler, Telecom Giant Pushes Into Dangerous Areas, Wall St. J. (Aug. 10, 2019).
 204
       Id.
                                                  192
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 telephone service in Afghanistan. MTN entered the Afghan market shortly thereafter and began

 as the country’s third-largest provider (consistent with its status as the third entrant), well behind

 the two incumbents. But MTN grew quickly, and by late 2010 it had obtained an estimated 32%

 market share – the largest of Afghanistan’s then-five cellular-phone providers. As MTN grew, it

 rebranded Areeba as MTN Afghanistan, and it expanded its geographical footprint throughout

 the country. By 2012, MTN had a presence in virtually every province in Afghanistan, including

 many that were under Taliban control or influence.

             632.   While MTN was achieving rapid growth in Afghanistan, the cellular-telephone

 sector provided a critical source of financing for the Taliban. As reported by the Wall Street

 Journal in 2010, telephone industry executives themselves “say operators or their contractors

 routinely disburse protection money to Taliban commanders in dangerous districts. That’s

 usually in addition to cash that’s openly passed to local tribal elders to protect a cell-tower site –

 cash that often also ends up in Taliban pockets.” 205 “Coalition officers,” the article continued,

 “confirm that carriers make payments to the Taliban.” 206 Those payments mirrored the

 protection money delivered by other Defendants. As terrorist-financing expert Thomas Ruttig

 documented, just as the Taliban raised “taxes” from international contractors doing business in

 Afghanistan, so too did it levy similar “taxes” on “the big telecom companies” like MTN. 207

             633.   The logic behind MTN’s protection payments partially matched the logic

 motivating the other Defendants. The MTN Defendants intended to harm American interests in



 205
    Yaroslav Trofimov, Cell Carriers Bow To Taliban Threat, Wall St. J. (Mar. 22, 2010). Mr.
 Trofimov has long served as one of the Wall Street Journal’s top terrorism-related reporters, and
 has extensive experience reporting from inside areas in which terroristic violence is widespread.
 206
       Id.
 207
   Thomas Ruttig, The Other Side at 20, Afghanistan Analysts Network (July 2009) (“Ruttig,
 The Other Side”).
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 Afghanistan, and supporting the Taliban allowed them to do so. In addition, MTN had economic

 motivations similar to those of the other Defendants. Specifically, the Taliban asked MTN to

 “pay monthly protection fees in each province, or face having their transmission towers

 attacked.” 208 The going rate was “usually in the range of $2,000 per tower, per month, but it

 depends on who controls the zone around each tower.” 209 In some areas, MTN made payments

 to local Taliban commanders in exchange for protection. In others – such as Helmand and

 Kandahar – MTN operated in a Taliban-controlled environment in which protection “payments

 must go directly to Quetta.” 210 For example, one company confirmed to Deutsche Presse

 Agentur that it made $2,000-per-tower monthly payments to the Taliban. The company’s owner

 posited: “You have to do it. Everybody does.” 211

             634.   The Taliban conveyed its protection-money demands to MTN and other large

 cellular-phone providers via Night Letters. For example, the Financial Times reported in 2008

 that Taliban commanders in Wardak Province had “sent letters to mobile phone companies

 demanding ‘financial support’ in return for operating” in Taliban-run areas. 212 Those tactics were

 successful. One industry source estimated in 2009 that “every single one of the shadow

 provincial governors set up by the Taliban leadership council receives $50,000 to $60,000 in




 208
       Crime & Insurgency at 32.
 209
       Id.
 210
     Id.; see id. (one company admitting it “routinely sen[t] a representative to Pakistan to pay off
 the Taliban leadership”).
 211
     Can Merey, How The Taliban Has Turned Extortion Into A Gold Mine, Deutsche Presse-
 Agentur GmbH (June 4, 2009).
 212
       Jon Boone, Telecom Chief Says Rivals Pay Taliban Protection, Fin. Times (June 9, 2008).
                                                 194
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 protection money each month alone from the telecommunications sector, the largest legal growth

 market in Afghanistan.” 213

        635.    The Taliban itself confirmed that practice. After the Financial Times obtained a

 copy of a Taliban Night Letter demanding protection payments from cellular-phone companies

 in Wardak Province, the reporter called the telephone number listed as the point of contact in the

 Taliban’s letter. A “local Taliban official” answered and confirmed that “two companies had

 responded to their demands” by agreeing to pay. On information and belief, MTN was one of

 them. The Taliban explained: “When a company sets up they have to pay tax to the government

 of Afghanistan. . . . We are the government here and they must pay tax to us.” 214

        636.    MTN was a particularly aggressive practitioner of protection payments. Rather

 than invest in expensive security for its transmission masts, MTN purchased cheaper “security”

 by buying it from the Taliban. Indeed, MTN declined to use armed guards to protect its towers.

 Without paying for physical security, MTN both had the free cash flow and the incentive to buy

 peace with the Taliban. The CEO of one of MTN’s largest competitors, Roshan, alleged as

 much in 2008. According to an interview the CEO gave to the Financial Times, other “phone

 companies in Afghanistan [were] bowing to criminal and Taliban demands to pay protection

 money to avoid the destruction of their transmission masts.” Id. In the interview, Roshan’s CEO

 continued: “I believe the competition is paying money, but we don’t do that.” Id. Of Roshan’s

 four largest competitors, three of them denied the accusation on the record. Only “MTN, the

 South African based multinational phone company, was not available for comment.” Id.




 213
      Can Merey, How The Taliban Has Turned Extortion Into A Gold Mine, Deutsche Presse-
 Agentur GmbH (June 4, 2009).
 214
     Jon Boone, Telecom Chief Says Rivals Pay Taliban Protection, Fin. Times (June 9, 2008)
 (“Rivals Pay Taliban Protection”).
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           637.    MTN’s statements reflect its practice of paying off terrorists. Because MTN paid

 the Taliban, it was, in MTN’s own words, “ ‘not a target.’ ” 215 According to MTN Afghanistan,

 “it’s enough for a driver to show at a Taliban checkpoint a company letter stating that equipment

 aboard the truck belongs to MTN and not to the U.S. forces.” Id.

           638.    MTN negotiated its protection payments in direct discussions between MTN

 Afghanistan’s security department and Taliban commanders. MTN’s security department

 consisted of roughly 600 total staff in Afghanistan, which included both local Afghan employees

 of MTN Afghanistan and a South African security component from MTN Group. The security

 department consisted of three different layers: provincial, regional, and a Tactical Operations

 Center in Kabul. Security personnel throughout those levels orchestrated payoffs to the Taliban.

 For example, one high-ranking MTN Afghanistan official conducted at least 38 telephone

 negotiations (which he recorded) with Taliban officials from 2007-2014, in which he engaged in

 so-called “security coordination” with the insurgency. The MTN employees who witnessed

 those conversations knew they were illegal, so they typically went to the roof of MTN

 Afghanistan’s Kabul headquarters building – where they could maintain absolute privacy – to

 conduct their Taliban negotiations in secret. In addition, on at least one occasion, MTN

 negotiated its payments at an in-person meeting held with Taliban officials near Quetta, Pakistan.

 MTN employees in Afghanistan understood that those negotiations involved MTN agreeing to

 make both cash payments and in-kind bribes (including equipment) to the Taliban.

           639.    MTN’s practice of making protection payments to the Taliban extended to the

 Haqqani Network. From at least 2010 through 2016, MTN operated towers in Haqqani-

 controlled territory in southeast and eastern Afghanistan, and it purchased security for those



 215
       Yaroslav Trofimov, Cell Carriers Bow To Taliban Threat, Wall St. J. (Mar. 22, 2010).
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 towers by paying the Haqqani Network. The Network’s chief financial operative, Nasiruddin

 Haqqani, oversaw those payments, and they typically occurred on a semi-annual basis.

        640.    The U.S. government strongly opposed MTN’s practice of paying the Taliban.

 ISAF’s leadership was aware of cell phone companies making protection payments to the

 Taliban and pressured the companies to stop. On information and belief, the U.S. government

 exerted that pressure in direct discussions between the U.S. government and MTN, and also

 through the Afghan Ministry of Communications. On one occasion, an ISAF commander raised

 the issue directly with President Karzai. In such conversations, ISAF’s leadership specifically

 rejected the argument that protection payments represented an acceptable price of MTN

 maintaining its network in Afghanistan. ISAF and the Afghan government warned MTN

 Afghanistan that its business practices were supporting the insurgency and were threatening

 Coalition forces, and both entities instructed MTN to stop. MTN refused.

        641.    MTN supplied the Taliban with more substantial assistance than its competitors

 did. MTN’s 2006 entry into Afghanistan set the stage for the Taliban’s cellular-tower rackets by

 adding another participant to the Afghan cellular marketplace. Until that point, the Taliban’s

 ability to extract money from the two incumbent providers had been limited. Once MTN

 emerged in 2006, it became the third cellular company in Afghanistan, which gave the Taliban

 additional leverage to execute on its protection racket. That is because, with MTN agreeing to

 pay the Taliban, the Taliban were free to follow through on its threats against other companies

 without the risk that doing so would cut off all cellular service in Afghanistan – service on which

 the Taliban itself relied. Indeed, because Taliban fighters commonly preferred to use MTN’s

 network for their own communications, the Taliban did not want to destroy MTN’s network.




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           642.   A review of available cell-tower attack data supports the same conclusion.

 Plaintiffs have analyzed all the available purported U.S. military Significant Activities reports, as

 published online, that describe attacks between 2004 and 2010 against or in the immediate

 vicinity of a cellular tower in Afghanistan. The data shows a clear disparity between MTN and

 its two main competitors, Roshan and Afghan Wireless Communication Company (“AWCC”).

 From 2004 to 2009, AWCC and Roshan suffered at least 6 and 7 attacks on their towers,

 respectively, whereas MTN – which did not even pay guards to protect its towers – faced only 1

 (non-lethal) attack. The disparity is consistent with Roshan’s accusation that MTN paid

 protection money to the Taliban.

           643.   That attack disparity existed despite MTN’s and Roshan’s deployment of

 transmission masts at similar times in similar locations. For example, Roshan’s CEO cited to the

 Financial Times an instance on May 14, 2008, in which the Taliban attacked one of Roshan’s

 towers in Wardak Province, yet two similar nearby towers (including one belonging to MTN)

 were not attacked. 216 The most likely explanation for the difference is that MTN had paid

 protection money, whereas Roshan had not. Indeed, in 2009, Roshan maintained company rules

 that prohibited it from paying protection money to terrorists. Because Roshan refused to pay, the

 Taliban destroyed 18 of Roshan’s towers in and around the 2009 Afghan elections.

           644.   The senior MTN Afghanistan security official who oversaw many of MTN

 Afghanistan’s protection payments to the Taliban reported directly to the head of MTN Group’s

 head of business risk management, in Johannesburg, South Africa. MTN Group was specifically

 aware of, and approved, MTN Afghanistan’s practice of paying the Taliban for security. In fact,

 MTN Group compensated MTN Afghanistan’s security team with cash bonuses reflecting its



 216
       Rivals Pay Taliban Protection.
                                                 198
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 success at resolving “security issues” involving the Taliban. Those bonuses typically had three

 levels: Level 1 ($1,500, for local operatives); Level 2 ($5,000, for regional operatives); and

 Level 3 ($10,000, for national operatives). The head of MTN Afghanistan’s security group

 received roughly $66,000 in such bonuses during the relevant timeframe, which specifically

 compensated him for negotiating with the Taliban successfully. MTN Group even gave him an

 award for best “display[ing] the Group’s values in MTN Afghanistan.”

          645.   MTN’s overall payments to the Taliban reached tens, if not hundreds, of millions

 of dollars. Applying the standard rate of $2,000 per tower per month to MTN’s collection of

 roughly 1,300 towers yields an estimated payment of $2.6 million per month. At that rate,

 MTN’s payments from 2007 through 2016 well surpassed $100 million.

                      ii.      MTN Supported The Taliban By Deactivating Its Cellular
                               Towers At Night

          646.   MTN also provided material support to the Taliban by deactivating its cell towers

 at the Taliban’s request. In or about 2008, the Taliban began demanding that Afghanistan’s

 major cellular-phone providers switch off their towers at night. The Taliban justified that

 demand by arguing that Coalition forces were “using the cellular networks to track its insurgents

 throughout the war-torn country.” 217 Coalition forces, a Taliban spokesman stated, were

 “misusing the cell towers for their intelligence works.” 218 Because the Taliban believed that

 shutting down nighttime service would impede Coalition intelligence efforts, it demanded that




    217
        Paul Vecchiatto, MTN Concerned By Afghanistan Threats, ITWeb Cape Town (Feb. 28,
 2008) (“MTN Concerned By Afghanistan Threats”), https://www.itweb.co.za/
 content/dgp45MaYRYZMX9l8.
    218
        Indira A.R. Lakshmanan, Fighting The Taliban With Cellphones, N.Y. Times (Mar. 23,
 2010).

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 the cellular-phone companies deactivate their transmission masts from 5 p.m. until 3 a.m. Later,

 the Taliban insisted that the companies keep their masts deactivated until 6:30 a.m.

          647.   MTN granted the Taliban’s requests. In early 2008, MTN Group issued a

 statement that it was “aware of reports of the Taliban communicating a need for mobile

 operations to be suspended at certain times during the night in sensitive areas. We are evaluating

 the situation and liaising with our executives and the relevant authorities in Afghanistan.” 219 The

 “executives” apparently decided to accommodate the Taliban’s “need” and shut down MTN’s

 transmission masts at night. MTN and others, the Wall Street Journal reported in 2010, “strictly

 abide[d] by Taliban hours in several provinces, going off air precisely at 5 p.m. and going back

 on at 6:30 a.m.” 220 And when the Taliban ordered cellular-phone companies in Helmand to

 “switch off the signal,” MTN Afghanistan’s head of legal and government affairs told the media:

 “We decided to obey the orders and we have been shut down since yesterday.” 221 Since 2008,

 MTN’s policy has remained consistent: it has followed the Taliban’s directives and switched off

 its transmission masts for the Taliban’s benefit – typically at night.

          648.   MTN shut down its towers for the same reason it paid protection money: to

 maintain good relations with the Taliban. MTN made no effort to hide its motivation in that

 regard. When asked about shutting down its network, MTN Afghanistan’s head of legal and

 government affairs explained that the company could not “afford to be seen as siding with the

 Afghan government against the Taliban . . . ‘You should not give a justification to the others




    219
        MTN Concerned By Afghanistan Threats.
    220
        Cell Carriers Bow To Taliban Threat.
    221
        Agence France Presse, Taliban Shut Down Cell Phones In Afghan Province (Mar. 24,
 2011).

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 that you are favoring the government – and you have to prove in words and in deeds that you are

 neutral.’” 222

           649.   MTN went to great lengths to maintain its “neutrality” and do what the Taliban

 asked of it. Even in 2011, after President Karzai issued a decree formally demanding that MTN

 (and its competitors) reactivate their towers at night, MTN refused the recognized government’s

 directive and continued to follow the Taliban’s requests. One executive summed up MTN’s (and

 others’) refusal to follow President Karzai’s directive: “We’re not going to turn on our masts

 and become part of the army of the Afghan government.” 223 By shutting down its towers, MTN

 decided, it could reduce the risk that the Taliban would threaten MTN’s commercial interests.

           650.   The ATFC gathered evidence confirming that MTN was switching off its

 transmission masts at night to comply with Taliban demands. Based on intelligence reporting,

 wire intercepts, and interviews with MTN sources, the ATFC concluded that MTN Afghanistan

 was deactivating its cell towers in coordination with the Taliban. The justification offered by

 MTN Afghanistan employees was, again, financial: turning off the towers helped MTN save

 money by avoiding the need for MTN to invest in expensive security or to rebuild its towers.

 The ATFC observed that the security threat MTN faced was not primarily to its employees; it

 was to equipment that MTN did not want to spend the money to protect or rebuild.

           651.   MTN Afghanistan implemented tower shutdowns through a secretive process that

 originated with its security team. The head of MTN Afghanistan’s security division would

 negotiate with the Taliban to determine which towers (called “Base Transceiver Stations” by

 MTN’s technical team) to shut down, and at which times. Then, based on information received


     222
        Cell Carriers Bow To Taliban Threat.
    223
        Jon Boone, Taliban Target Mobile Phone Masts To Prevent Tipoffs From Afghan
 Civilians, The Guardian (Nov. 11, 2011).

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 from the Taliban, MTN’s security team relayed instructions to MTN Afghanistan’s technical

 team directing them to implement the shutdowns. The instructions pinpointed the particular

 quadrant(s) within particular MTN towers’ coverage areas in which Taliban operatives were

 located, specifying that MTN should turn off the signal within those quadrants. That enabled

 MTN to satisfy the Taliban’s demands while also allowing MTN to continue earning revenue

 from customers in the other quadrants – and also to deceive the government about the extent of

 its shutdown. MTN employees further avoided memorializing these instructions over company

 email or in memos; they instead used phone calls or text messages with the purpose of avoiding a

 paper trail that would document their cooperation with the Taliban.

          652.   At all relevant times, MTN Group was aware of, and approved, MTN

 Afghanistan’s practice of shutting down its towers to comply with the Taliban’s requests. MTN

 Afghanistan would not have maintained that policy without specific buy-in from MTN Group’s

 senior management in South Africa.

          653.   MTN’s conduct strengthened the Taliban and undermined U.S. counterinsurgency

 efforts. By 2010, the Taliban was “using the cellphone system as an instrument of war against

 the Afghan government and the U.S.-led coalition.” 224 The insurgents, one Army officer told the

 New York Times, used MTN’s cell towers “as a weapons system” against Coalition forces. 225

 Indeed, cell phones were crucial to the Taliban – they provided a convenient form of

 communication and helped insurgents coordinate attacks – but they also came with two major

 downsides. First, U.S. intelligence tracked the Taliban’s phone signals and used them to locate




    224
        Cell Carriers Bow To Taliban Threat.
    225
        Indira A.R. Lakshmanan, Fighting The Taliban With Cellphones, N.Y. Times (Mar. 23,
 2010).

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 high-level targets for capture-or-kill missions. Second, cell phones provided Afghan civilians

 with the ability to call Coalition tip lines and provide valuable human intelligence.

          654.   Nighttime deactivation was the Taliban’s solution to both problems. U.S. Special

 Forces typically execute high-value raids at night, and deactivated cell signals impeded those

 missions by making the insurgent targets harder to track. That was the Taliban’s stated rationale

 for demanding nighttime signal deactivation: its spokesman argued that Taliban fighters had

 “been increasingly targeted by foreigners recently and we know they are using the services of

 these phone companies against us.’ ” 226 As another Taliban spokesman explained publicly, the

 Taliban viewed the “cutoffs as a line of defense,” in which its “‘main goal is to degrade the

 enemy’s capability in tracking down our mujahedeen.’” 227 Consistent with that statement, AFP

 reported that “Taliban militants regularly demand that mobile phone companies switch off their

 networks at night, fearing that NATO-led forces can track them through phone signals.” 228

          655.   Similarly, nighttime deactivation obstructed Coalition efforts to gather human

 intelligence. Cell phones provided a key conduit for Afghan civilians to pass intelligence to

 Coalition personnel. But as the U.S. military director of the Telecommunication Advisory Team

 explained, “[i]f the masts are off Afghans can’t report anything . . . If you see an insurgent you

 can’t call the police to say check this out.” 229 And Afghan informants were “usually reluctant to

 call in tips during daytime, when they can be spotted by Taliban sympathizers.” 230 Human



    226
        Agence France Presse, Taliban Shut Down Cell Phones In Afghan Province (Mar. 24,
 2011) (“Taliban Shut Down Cell Phones”).
    227
        Alissa J. Rubin, Taliban Using Modern Means To Add To Sway, N.Y. Times (Oct. 4,
 2011).
    228
        Taliban Shut Down Cell Phones.
    229
        Jon Boone, Taliban Target Mobile Phone Masts To Prevent Tipoffs From Afghan
 Civilians, The Guardian (Nov. 11, 2011).
    230
        Cell Carriers Bow To Taliban Threat.

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 intelligence thus typically flowed to the Coalition at night. By agreeing to shut down its

 transmission masts, MTN knowingly deprived Coalition forces of that vital intelligence.

           656.   In 2010, CBS News reported on this so-called “détente” between the Taliban and

 large mobile-phone companies, including MTN. “The phone companies shut down their cell

 towers at night, preventing local residents from discreetly calling coalition military tip lines. In

 exchange, Taliban militants don’t target the costly cell towers with explosives.” 231 The trade

 was a major strategic victory for the Taliban. As Roshan’s COO explained in trying to justify a

 similar decision: “We play by their rules; we don’t like to play around when people’s lives are at

 stake. . . . From a political perspective, it’s quite a coup for them.” 232

           657.   MTN’s tower shutdowns substantially contributed to the Taliban’s ability to

 commit the attacks that killed and injured Plaintiffs. The Taliban targeted its shutdown orders at

 key districts and provinces with tactical importance for ongoing Taliban operations. As MTN

 knew, tower deactivation in those areas impeded Coalition forces from locating Taliban

 operatives and degraded the Coalition’s ability to interdict Taliban ongoing attacks. Indeed, the

 U.S. intelligence benefits gleaned from active cell towers were so potent that ISAF often

 executed operations designed specifically to induce Taliban operatives to use their phones. By

 the same token, the operational impact of MTN’s tower-shutdown policy was so extreme that

 ISAF, U.S. Embassy, and Afghan government personnel repeatedly pressured MTN to stop.

 ISAF command considered such shutdowns to be a significant threat to U.S. counterinsurgency

 efforts. And those shutdowns occurred in the key provinces and districts in which Plaintiffs (or

 their family members) were operating when they were killed and injured. By defying the U.S.



     231
           Alex Sundby, Afghan Cell Carriers Follow Taliban Rules, CBS News (Mar. 24, 2010).
     232
           Id.

                                                   204
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 government and obeying the Taliban in the contested areas in which the insurgents were fighting

 Americans, MTN materially supported the Taliban attacks that killed and injured Plaintiffs.

          658.   The U.S. government tried to address those problems by encouraging

 Afghanistan’s cellular-phone providers to move their transmission masts onto secure U.S. bases.

 As the U.S. government explained in proposing the idea, securely located transmission masts

 would be difficult for the Taliban to attack – and could thus eliminate the putative reason MTN

 was deactivating its cell towers when the Taliban told it to. Roshan, according to a purported

 2009 U.S. State Department cable (as published online), was “keen to develop this partnership

 with the USG and sees it as a way to promote mutual security, communications, and commercial

 strategies for Afghanistan.” 233 MTN, by contrast, refused to participate and declined even to join

 Roshan and AWCC at the U.S. government-brokered meeting to discuss the idea.

          659.   Neither the U.S. government nor the Afghan government ever condoned or

 conveyed approval of MTN’s tower-shutdown policy. Although news reports on occasion

 quoted individual Afghan government officials suggesting a resignation to the reality of MTN’s

 shutdown policy, the official Afghan government position – conveyed at in-person meetings held

 with MTN, including at least one with President Karzai himself – was that cell-phone companies

 must keep their towers active at night. The U.S. government was even more strongly committed

 to that position. ISAF leadership especially rejected the suggestion that MTN’s conduct

 represented an acceptable way of protecting its network. ISAF expected MTN to keep its towers

 on, invest in security to protect them itself rather than paying the Taliban, and ultimately rebuild




    233
        U.S. State Dep’t Cable ¶ 11, Using Connection Technologies To Promote US Strategic
 Interests In Afghanistan (July 23, 2009).

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 them if necessary. ISAF considered that course of action not only feasible, but mandatory for a

 company like MTN reaping profits in an insurgency-afflicted country like Afghanistan.

                5.      MTN’s Assistance To Hezbollah, The Qods Force, Regular IRGC, Al-
                        Qaeda, And The Taliban, Comports With MTN’s Historical Business
                        Practices In International Markets

        660.    MTN’s conduct above reflected a willingness to support America’s enemies as a

 way to increase profits in Iran.

        661.    MTN Aided the IRGC’s Terroristic Violence against Iranian Pro-Democracy

 Demonstrators. MTN enabled the terroristic violence deployed by IRGC agents against

 peaceful pro-democracy and human rights protestors in Iran during the 2009 uprising popularly

 known as the “Green Revolution.”

        662.    As the L.A. Times explained at the time, while Iran “brac[ed] for further

 confrontations between security forces and supporters of Mousavi …[,] [o]ne of the country’s

 main cellphone operators, Irancell, co-owned by South Africa’s MTN, warned customers [] that

 it would be suffering unspecified ‘technical’ problems over the next three days, which

 coincide[d] with the anticipated unrest.” 234 MTN was lying to its customers and the world –

 there were no “technical” problems but, rather, simply the IRGC’s desire to shut down any

 avenue for mass democratic mobilization against it – which MTN happily obliged.

        663.    MTN went beyond merely lying to its customers when it shut down its network at

 the request of the IRGC. MTN actively aided the IRGC by helping it develop sophisticated tools

 for monitoring, eavesdropping, and surveilling targets. MTN’s technical services for the IRGC

 did not merely benefit its domestic regime suppression; the exact same functions also benefit




 234
    Borzou Daragahi, Iran Court Warns Against Criticizing Proceedings, L.A. Times (Aug. 3,
 2009), 2009 WLNR 14945080.
                                                206
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 foreign intelligence gathering, surveillance, and communications – critical competencies relevant

 to the success of a terrorist attack against Americans in Iraq.

        664.    MTN Aided Terrorists in Nigeria. MTN also aided violent actors in Nigeria.

 On or about October 26, 2015, the Nigerian Communication Commission fined MTN Group

 $5.2 billion for failing to meet a deadline to disconnect 5.1 million unregistered subscribers in

 Nigeria. Nigeria imposed the deadline on all cellular operators in the country due to evidence

 that unregistered phones were facilitating the activities of criminal gangs and terrorists, including

 Boko Haram. The requirements that MTN violated, the Wall Street Journal reported, were

 “meant to combat terrorism.” 235 MTN eventually negotiated the criminal fine down to $1.67

 billion and agreed to pay it in seven installments.

                6.      MTN’s Acts In Furtherance Of The Conspiracy Had A Substantial
                        Nexus To The United States

        665.    MTN’s joint venture with the IRGC and its related assistance for al-Qaeda and the

 Taliban, relied on significant contacts with the United States. MTN Group was a key player in

 orchestrating both those U.S. contacts and MTN’s material support to Hezbollah, the Qods

 Force, Regular IRGC, al-Qaeda, and the Taliban.

        666.    Even while MTN Group was reaching into the United States to launch a

 multifaceted campaign to facilitate the flow of U.S. dollars to and from MTN Irancell, its CEO

 continued expressing his contempt for the United States. Instead of exiting MTN Group’s and

 MTN Dubai’s choice to join the Conspiracy with the IRGC, MTN Group’s President and CEO

 defiantly pronounced that “U.S. sanctions should not have unintended consequences for non-




 235
    Alexandra Wexler, Nigeria Reduces MTN Group Fine By $1.8 Billion, Wall St. J. (Dec. 3,
 2015).
                                                 207
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 U.S. companies.” 236 This public statement by MTN Group’s President and CEO furthered the

 IRGC Conspiracy because it concealed the existence of the Conspiracy while simultaneously

 releasing specific IRGC disinformation.

          667.   MTN Group also connected ZTE’s and Huawei’s support of the IRGC

 Conspiracy to the United States by obtaining technology and vital operational support in reliance

 on U.S. contacts. MTN Group and MTN Dubai orchestrated a complex scheme to

 surreptitiously supply technology and operational support for MTN Irancell through various U.S.

 agents. In doing so, MTN Group and MTN Dubai tied MTN’s unlawful conduct to the United

 States in several ways.

                       i.      MTN’s Conduct Targeted the United States

          668.   MTN’s provision of material support to Hezbollah, the Qods Force, Regular

 IRGC, al-Qaeda, and the Taliban, including its Haqqani Network, was expressly aimed at the

 United States. At all relevant times, MTN knew that Hezbollah, the Qods Force, Regular IRGC,

 al-Qaeda, and the Taliban, were targeting the United States. Hezbollah, the Qods Force, Regular

 IRGC, al-Qaeda, and the Taliban, did not conduct an indiscriminate terrorist campaign that

 merely injured Americans by chance. Instead, Hezbollah, the Qods Force, Regular IRGC, al-

 Qaeda, and the Taliban, directed attacks at Americans with the specific intent of killing

 Americans in particular – so that they could inflict pain in the United States and influence U.S.

 policy. As the Treasury Department stated when it announced the Qods Force’s designation as a

 SDGT in 2007, “the Qods Force provides lethal support in the form of weapons, training,

 funding, and guidance to select groups of Iraqi Shi’a militants who target and kill Coalition …




 236
       Stecklow, How A Telecom Giant Got Round Sanctions On Iran, supra.
                                                 208
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 forces…” 237 Hezbollah’s, the Qods Force’s, Regular IRGC’s, al-Qaeda’s, and the Taliban’s,

 including its Haqqani Network’s, ultimate, shared, publicly stated goal was to effect a

 withdrawal of American forces from Afghanistan and the broader Middle East. Each terrorist

 attack that killed and injured Plaintiffs was part of that campaign of anti-American terrorism.

         669.    MTN also knew, based on conversations with U.S. officials, that it was assuming

 an active role in an IRGC, including Qods Force, plot to develop cash flow and to source vital

 dual-use components for Hezbollah, the Qods Force, Regular IRGC, al-Qaeda, and the Taliban..

 MTN further knew of the critical importance that communications and computing technology

 plays for terrorists.

         670.     When MTN sourced embargoed technology that the United States had publicly

 declared could benefit IRGC’s, including Qods Force, efforts to kill others, it intentionally

 helped arm terrorists it knew were targeting the United States. Indeed, the IRGC’s, including the

 Qods Force’s, direct statement in their contract with MTN obligated MTN to help the IRGC,

 including its Hezbollah Division and Qods Force, protect Iran’s “security.” MTN at all times

 knew or recklessly disregarded that “security” was a euphemism for IRGC, including Qods

 Force, terrorist operations outside of the territorial borders of Iran. When MTN obtained the

 technology requested by its partners in the IRGC, including its Hezbollah Division and Qods

 Force, MTN targeted the United States by helping the terrorists improve their bombs, rockets,

 communications, and intelligence gathering.

         671.    Although MTN’s primary motivation for assisting the IRGC, including its

 Hezbollah Division and Qods Force, was financial, it also intended to harm Americans in




 237
    U.S. Treasury Dep’t, Fact Sheet: Designation of Iranian Entities and Individuals for
 Proliferation Activities and Support for Terrorism (Oct. 25, 2007).
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 Afghanistan. One reason MTN cooperated with the IRGC, including its Hezbollah Division and

 Qods Force, was to align itself with their effort to drive Americans out of the country. MTN had

 two distinct but related reasons for desiring that outcome.

           672.   First, MTN intended to harm Americans because it decided that was the

 necessary price of maintaining a good relationship with the Ayatollah and the IRGC, including

 its Hezbollah Division and Qods Force. The Ayatollah and the IRGC, including its Hezbollah

 Division and Qods Force, were explicit – both in public, and in conversations with MTN – that it

 wanted MTN’s financial and technical help in fighting against U.S. forces in particular. Thus,

 for MTN to achieve its business objectives vis-à-vis its joint venture partners the Ayatollah and

 the IRGC, including its Hezbollah Division and Qods Force, MTN needed to disassociate itself

 from the United States and prove that it could deliver value to the IRGC’s terrorist campaign

 against U.S. forces in Afghanistan.

           673.   Second, MTN Group’s support for attacks against U.S. citizens by the Joint Cells

 advanced the foreign-policy interests of MTN Group’s most important business partner, the

 Bonyad Mostazafan and IEI, which MTN at all times knew to be IRGC, including Qods Force,

 fronts.

           674.   MTN Group depends on its partnership with the Ayatollah and the IRGC,

 including its Hezbollah Division and Qods Force. As of 2012, Iran was MTN’s fastest growing

 market and its third largest source of revenue overall. Today, Iran is MTN’s second-biggest

 market by subscribers. MTN Group’s financial incentive to satiate the Ayatollah and its IRGC,

 including Qods Force, partners has led it to take a number of illegal steps to assist the Iranian




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 regime. Three South African investigative journalists summarized these acts in an informative

 headline, “MTN [is] in bed with Iran’s military.” 238

           675.   MTN Group cooperates with the Ayatollah, and the IRGC, and including the

 Qods Force, despite knowing that the Ayatollah, and the IRGC, and including the Qods Force,

 are collectively the world’s worst sponsor of anti-American terrorism.

           676.   MTN Group’s agreement to aid the IRGC, including its Hezbollah Division and

 Qods Force, served the IRGC’s, including the Qods Force’s, agenda of inflicting death and

 injury on U.S. forces. It also fulfilled MTN Group’s contractual obligation to engage in

 “defensive, security and political cooperation” with its IRGC, including Qods Force, partner. 239

 Such cooperation offered MTN Group additional motivation for becoming joint venture partners

 with the IRGC, including its Hezbollah Division and Qods Force. MTN’s support for the IRGC,

 including its Hezbollah Division and Qods Force, did not merely grow its profits by allowing it

 to obtain the Irancell business in the first instance; it also benefited MTN’s business by inflicting

 harm on an enemy (the United States) of MTN’s most lucrative business partner (the IRGC,

 including its Hezbollah Division and Qods Force, fronts that controlled MTN Irancell) in order

 for MTN to curry Iranian favor to gain market share for a potentially uniquely lucrative telecom

 and communications market in Iran.

                       ii.      From 2012 Through 2019, MTN Group Regularly Reached
                                Into The United States In Order To Unlock The U.S. Financial
                                System So That MTN Group Could Repatriate Hundreds Of
                                Millions Of Dollars Out Of MTN Irancell

           677.   MTN Group and MTN Dubai regularly engaged in large six- and seven-figure

 U.S. dollar transactions that flowed through the New York financial system before leaving the


 238
       Craig McKune et. al, MTN In Bed With Iran’s Military, Mail & Guardian (Feb. 10, 2012).
 239
       Exhibit A, MTN-Irancell Consortium Letter Agreement § 8 (Sept. 18, 2005).
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 United States to flow into accounts controlled by an IRGC “buffer” such as an agent, operative,

 cut-out, front, and Orbit companies.

        678.    MTN Group and MTN Dubai’s use of the New York financial system was not

 incidental. On information and belief, beginning on or about 2012 and continuing through on or

 about 2019, MTN Group, MTN Irancell, and MTN Dubai routinely relied upon banks in New

 York to manage the cash flow of MTN Group, MTN Dubai, and MTN Irancell, which was its

 most important (and cash-intensive) investment in the Middle East.

        679.    MTN Group established banking relationships with U.S. financial institutions and

 multinational financial institutions with U.S.-based subsidiaries or offices no later than 2013.

        680.    For example, MTN Group disclosed that it has a relationship with the Bank of

 New York, located at 101 Barclay Street, New York, NY 10286, as its depository bank.

 Similarly, in 2015, MTN Group disclosed its relationship with Citibank, whereby it guaranteed a

 syndicated loan facility worth $1 billion, the same facility from which MTN International

 (Mauritius) Limited, the MTN Group subsidiary used to make corrupt payments to Iranian

 officials, had drawn $670 million.

        681.    Following the easing of sanctions, in January 2016, MTN focused on repatriating

 funds from Iran. Indeed, MTN Group saw the easing of sanctions as an opportunity to

 “normalize” its repatriation of monies from MTN Irancell.

        682.    On October 24, 2016, MTN Group admitted that “MTN has commenced the

 repatriation of funds from MTN Irancell to MTN Group.” 240 On December 14, 2016,

 “Bloomberg report[ed] that MTN Group … extract[ed] several hundred million dollars with the




 240
    MTN Group Ltd., Mtn Group Limited - Quarterly Update For The Period Ended 30
 September 2016, South African Company News Bites – Stock Report (Oct. 24, 2016).
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 help of European banks, and it [was] looking to take a total of around USD1 billion by the end of

 March 2017,” which “include[d] a USD430 million loan repayment from MTN Irancell.” 241

          683.   The MTN Irancell profits that MTN Group withdrew covered the period when

 nearly every Plaintiff was injured. When MTN Group coordinated a global strategy to facilitate

 the repatriation of its MTN Irancell profits, MTN Group reached into the United States to obtain

 an enormous benefit – the money it made – that was itself the motivation for the terrorist finance

 that killed and injured Plaintiffs.

          684.   On information and belief, MTN Group utilized its banking relationships with

 U.S. financial institutions and/or financial institutions with U.S. subsidiaries or offices, including

 but not limited to the Bank of New York and Citibank, to facilitate the repatriation of funds from

 MTN Irancell to MTN Group.

          685.   Each time MTN Group and MTN Dubai used New York’s financial system, they

 did so in a context where they benefited from the New York financial system, and New York

 laws, and they knew that the New York financial system imparted extra value to every

 transaction based upon its stability and reputation.

                         iii.    MTN Group Facilitated A $400,000 Bribe That Flowed
                                 Through The New York Financial System To A Cut-Out For
                                 The IRGC And Into The Budget Of Hezbollah, The Qods
                                 Force, And Regular IRGC

          686.   MTN Group’s U.S. contacts were essential to the initial bribe that allowed MTN

 Group to pilfer the Irancell license from Turkcell in the first instance and was the proximate and

 but-for cause of MTN Group’s and MTN Dubai’s subsequent ability thereafter to assist the




 241
       CommsUpdate, MTN Extracts First Cash From Iran (Dec. 14, 2016), 2016 WLNR 38124973.
                                                  213
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 IRGC, including its Hezbollah Division and Qods Force’s, terrorist enterprise, and join the

 Conspiracy.

        687.    MTN Group relied upon bank accounts in New York to complete the $400,000

 wire that MTN Group sent to a recipient in 2007 who acted on behalf of the IRGC, including its

 Hezbollah Division and Qods Force. That payment depended upon MTN Group’s use of bank

 accounts in New York, which cleared the dollar transaction.

        688.    MTN Group caused the issuance of the $400,000 wire to the cutout for the IRGC,

 including its Hezbollah Division and Qods Force, also aided the IRGC’s, including the Qods

 Force’s, efforts to covertly obtain U.S. dollars – the vital common currency of terrorist finance –

 to fund al-Qaeda and Taliban attacks against Americans in Afghanistan and Joint Cell attacks

 against Americans in Iraq.

                        iv.    MTN Group And MTN Dubai Conspired To Provide, And Did
                               Provide, A Stable, Robust, And Devastating Pipeline Of
                               Illicitly Acquired State-of-the-Art American Technologies To
                               Hezbollah, The Qods Force, And Regular IRGC, Including
                               Untraceable American Smartphones

        689.    MTN Group’s co-conspirators have already confessed to the crimes they

 committed in coordination with MTN Group. For example, Mohammad Hajian testified “that he

 sold super-computers worth about $14-million to ‘a South African cellphone company in Iran [a

 reference to MTN]’, rather than to the regime itself.” Rowan Philp and Craig McKune, US Trial

 Turns Heat On MTN, Mail & Guardian (Feb. 15, 2013). At the time, his “alleged co-conspirator

 [was] also on trial in the US on charges that he serviced embargoed US technology for a ‘front

 company’ of MTN Irancell.” Id.

        690.    Like MTN Group and MTN Dubai, Mr. Hajian’s legal “memorandum” “stated

 that the network was geared solely for a deal with MTN Irancell: ‘All the merchandise was for

 non-military use and was intended to facilitate a joint venture between a South African cellphone
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 company and a non-governmental Iranian entity related to the provision of civilian cellular

 telephone service within Iran.’”

        691.    United States District Judge Virginia Hernandez-Covington rejected the

 suggestion that MTN Irancell was a civilian phone company that was not under the control of the

 IRGC, and “ruled that the [“[e]nterprise level server"] equipment sold to MTN Irancell in 2009

 ‘could be dangerous’ in Iran, whether controlled by the government or by MTN Irancell.” Id.

        692.    Federal “[p]rosecutors” also rejected the suggestion that MTN Irancell was a

 civilian phone company that was not under the control of the IRGC, and told the district court”

 “that the [‘[e]nterprise level server’] equipment sold to MTN Irancell in 2009 could have military

 applications and be used to spy on citizens.” Id. Prosecutors explained: “Even if used by [MTN]

 Irancell now, Iran could redeploy the equipment at any time … The equipment is capable of

 being used by Irancell, or others, to access private information about subscribers and possibly

 communications content.” Id. Indeed, “[t]he equipment Hajian was found to have illegally sold

 included a Sun Microsystems M9000 ‘enterprise level server, the largest and most powerful Unix

 processor that Oracle Sun sells,” and a “Hitachi Data Systems array,” which prosecutors

 “described as having the capacity to support various applications and ‘store vast amounts of data

 useful for large companies and [defense] departments.’” Id.

        693.    After pointedly noting Judge Hernandez-Covington’s ruling that the provision of

 U.S.-sold enterprise level server equipment to MTN Irancell “could be dangerous,” the Mail &

 Guardian journalists who followed Mr. Hajian’s trial also rejected the suggestion that MTN

 Irancell was a civilian company rather than an IRGC front:

        In any event, Hajian’s assertion that Irancell was a civilian, non-governmental
        partnership was inaccurate. Although MTN owns 49% of the company, the
        balance is held by a consortium owned by two state-linked partners. The first, the
        purportedly charitable Bonyad Mostazafan Foundation, is understood to be

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        controlled by the Iran Revolutionary Guard and the second, the state-owned
        defence company Sairan, reports directly to Iran's minister of defence. (Id.)

                        v.      MTN Obtained U.S. Technology For The Benefit Of
                                Hezbollah, The Qods Force, And Regular IRGC

        694.    MTN’s U.S. contacts were essential to the technological assistance it provided to

 the Hezbollah, the Qods Force, Regular IRGC, al-Qaeda, and the Taliban. At all relevant times,

 MTN relied upon U.S. agents to illegally source dual-use technology from the United States that

 benefited the IRGC’s terrorist enterprise, including attacks against Americans in Afghanistan

 that were committed by IRGC proxies al-Qaeda and the Taliban.

        695.    As a condition of its contract with the IRGC, including its Hezbollah Division and

 Qods Force, MTN promised to obtain embargoed U.S. technology to benefit the IRGC’s,

 including the Qods Force’s, terrorist enterprise.

        696.    Between 2009 and 2012, one or more purchasing agents working for the IRGC,

 including its Hezbollah Division and Qods Force, in the U.A.E. and elsewhere, spending money

 provided by MTN Group, and acting at the direction of MTN Group and its IRGC ally,

 collectively wired more than $5,000,000 into the United States to associates in the U.S. who

 purchased embargoed technology for the IRGC’s, including Hezbollah’s and the Qods Force’s

 benefit, which was then shipped from America to the U.A.E., where Hezbollah and the Qods

 Force assumed possession of the technology for use in its terrorist enterprise.

        697.    On information and belief, MTN and/or MTN’s agents routed millions of dollars

 each year to its U.S. agents to pay for the embargoed dual-use U.S. technology it illegally

 obtained for the IRGC, including its Hezbollah Division and Qods Force, via transactions

 through the New York banking system, by causing money to be wired to MTN’s U.S. agents to

 pay for MTN’s U.S. agents to illegally obtain embargoed dual-use U.S. technology for the

 benefit of the Qods Force’s terrorist enterprise.
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                        vi.     MTN Obtained Essential U.S. Services That Aided
                                Hezbollah’s, the Qods Force’s, and Regular IRGC’s Terrorist
                                Capabilities

        698.    MTN’s U.S. contacts were also key to its ability to obtain technical support from

 U.S. persons operating inside America, without which the IRGC, including its Hezbollah

 Division and Qods Force, could not have derived the terrorist benefits they did from MTN

 Irancell including the cash flow, network reliability, and enterprise computing benefits.

        699.    Between 2009 and 2012, and on information and belief ever since the mid-2000s,

 MTN Irancell relied upon one or more U.S. persons to service MTN Irancell’s enterprise-level

 computers and associated networks, relying on one or more U.S. persons to maintain MTN

 Irancell’s network remotely from the U.S. and, on at least one occasion, having such U.S. person

 travel to meet with MTN’s Hezbollah and Qods Force allies in the U.A.E. to provide training to

 Hezbollah and the Qods Force. MTN, or agents acting at MTN’s direction, sourced embargoed

 technology for the IRGC’s, including Hezbollah’ and the Qods Force’s, benefit from, among

 others, Exit40, Akbari, Patco, MSAS, and TGO.

        700.    MTN routed millions of dollars each year to its U.S. agents, and sourced the

 sensitive dual-use U.S. technology, via transactions through the New York banking system, by

 causing money to be wired to MTN’s U.S. agents to pay for MTN’s U.S. agents to provide

 services, or obtain sensitive dual-use U.S. technology, for the benefit of the IRGC’s, including

 the Qods Force’s, terrorist enterprise.

        701.    On information and belief, MTN and/or MTN’s agents routed millions of dollars

 each year to its U.S. agents in order to pay for the technology support services it illegally

 obtained for the IRGC, including its Hezbollah Division and Qods Force, via transactions

 through the New York banking system, by causing money to be wired to MTN’s U.S. agents to



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 pay for MTN’s U.S. agents to illegally provide technological support to maintain MTN Irancell

 for the benefit of the IRGC’s, including the Qods Force’s, terrorist enterprise.

        G.      The ZTE Defendants

                1.      ZTE Joined The Terrorist Conspiracy

                      i.       Through Agreements With Hezbollah, Qods Force, And
                               Regular IRGC Fronts Including But Not Limited To MTN
                               Irancell, TCI, and Exit40, ZTE Agreed To Join A Company-
                               Wide Conspiracy

        702.    MTN Group and ZTE Corp. followed the same IRGC playbook because they

 joined the same Conspiracy. Reuters concluded that “MTN was not alone” because “other

 foreign companies, including” “China’s ZTE Corp, [] helped Iran undermine increasingly

 tougher sanctions.” Stecklow, How A Telecom Giant Got Round Sanctions On Iran, supra.

        703.    ZTE and its subsidiaries, including ZTE USA and ZTE TX, joined the IRGC

 Conspiracy when ZTE, including ZTE USA and ZTE TX, agreed to provide U.S.-origin goods

 and services, in violation of U.S. sanctions, to TCI, while knowing that TCI was a front for

 Hezbollah the Qods Force, and Regular IRGC. ZTE’s agreement to join the Conspiracy was in

 the form of contracts that ZTE signed with TCI and, on information and belief, MTN Irancell

 and MCI. The Conspiracy was adopted by ZTE’s senior leadership and deployed throughout

 ZTE and its subsidiaries, including ZTE USA and ZTE TX.

        704.    ZTE and its subsidiaries, including ZTE USA and ZTE TX, furthered the IRGC

 Conspiracy when, on information and belief, ZTE and its subsidiaries, including ZTE USA and

 ZTE TX, agreed to provide U.S.-origin goods and services, in violation of U.S. sanctions, to

 Exit40, while knowing that Exit40 was a front for Hezbollah and the Qods Force. ZTE’s

 furtherance of the Conspiracy was in the form of contracts that ZTE signed with Exit40 and, on

 information and belief, MTN Irancell and MCI. ZTE’s furtherance of the Conspiracy through


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 Exit40 was adopted by ZTE’s senior leadership and deployed throughout ZTE and its

 subsidiaries, including ZTE USA and ZTE TX. Plaintiffs’ belief is based upon MTN Group’s

 retention of Exit40, which, on information and belief, was for the same purpose and in response

 to the same IRGC instruction.

        705.    On information and belief, ZTE’s contracts with its IRGC-front Iranian

 counterparties all included pledges to assist with the “security” of Iran.

                      ii.        ZTE, ZTE USA, And ZTE TX Each Made Overt Acts In
                                 Furtherance Of The Conspiracy

        706.    Each of the ZTE Defendants, ZTE, ZTE USA, and ZTE TX acted in furtherance

 of the Conspiracy by, inter alia: (a) sourcing embargoed U.S.-origin technology useful to the

 terrorists for export to Hezbollah, the Qods Force, and Regular IRGC; (b) entering into contracts

 with U.S. suppliers to acquire the “essential” technology needed by the terrorists; (c) developing

 and using third-party companies to both conceal and facilitate its business with IRGC-front

 companies; (d) commingling U.S.-origin technology with non-U.S.-origin technology in order to

 evade detection of the illicit transactions scheme and Conspiracy; (e) lying to U.S. prosecutors

 and financial institutions regarding the nature of their activities in Iran and their true IRGC-front

 counterparties; (f) destroying evidence related to the illicit transfers and Conspiracy; and (g)

 moving one or more witnesses inside America who knew of the Conspiracy outside of United

 States jurisdiction. Each act described above was in furtherance of the Conspiracy.

                2.      ZTE Knowingly Assumed A Financial, Logistical, And Operational
                        Role In Hezbollah’s, The Qods Force’s, And Regular IRGC’s
                        Terrorist Enterprise Against Americans Worldwide

        707.    ZTE bid on and secured contracts worth hundreds of millions of dollars to install

 cellular and landline network infrastructure in Iran. ZTE knew that its counterparties were

 IRGC, including Hezbollah and the Qods Force, fronts, operatives, or agents. ZTE thereafter


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 developed an elaborate system to fulfill those contracts using US-origin items, including dual-

 use goods controlled by the U.S. government due to their terrorism applications. ZTE did this in

 collaboration with, and with the assistance of, ZTE USA and ZTE TX.

                      i.       ZTE Corp., ZTE USA, And ZTE TX Knowingly Facilitated
                               MTN Irancell And TCI’s Acquisition Of Embargoed American
                               Technology, Logistical Support, And Technical Services,
                               Which Flowed Through To The IRGC’s Terrorist Proxies

        708.    Before 2011, ZTE sourced U.S. technology for Hezbollah, the Qods Force, and

 Regular IRGC. A Department of Justice Press Release dated March 7, 2017 (the “March 2017

 Press Release”) stated that ZTE violated U.S. sanctions by sending U.S.-origin items to Iran. It

 also announced ZTE’s guilty plea to those charges and agreement to pay the U.S. government

 $892,360,065. ZTE repeatedly violated export controls and illegally shipped U.S. technology to

 Iran, according to the March 2017 Press Release. On information and belief, ZTE did so in

 collaboration with and with the assistance of ZTE USA and ZTE TX.

        709.    ZTE’s, ZTE USA’s, and ZTE TX’s (after its formation) company-wide scheme to

 obtain U.S.-origin goods and to evade export controls to get telecommunications technology into

 the hands of Hezbollah, the Qods Force, and Regular IRGC lasted from as early as 2010 to as

 late as 2016. While ZTE TX was not formed until at least 2013, Plaintiffs allege that ZTE TX

 and its employees participated in the scheme thereafter.

        710.    The cell phone technology and equipment ZTE sourced from inside the United

 States was subject to the embargo imposed and enforced by the United States Government. ZTE

 thus violated export controls designed to keep sensitive American technology out of the hands of

 IRGC, including Hezbollah and the Qods Force.




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        711.    Through this scheme between January 2010 and January 2016 ZTE exported over

 20 million U.S.-origin items to Hezbollah, the Qods Force, and Regular IRGC with a value of

 approximately $32,000,000. ZTE did so without obtaining proper export licenses.

        712.    To evade the U.S. embargo, ZTE devised a scheme whereby an “isolation

 company” would be the vehicle used to hide ZTE’s shipment of prohibited U.S. technology to

 Hezbollah, the Qods Force, and Regular IRGC.

        713.    In early 2011, when ZTE determined that the use of its original “isolation

 company” was insufficient to hide ZTE’s connection to the illegal export of U.S.-origin goods to

 Hezbollah, the Qods Force, and Regular IRGC ZTE re-evaluated its strategy. In September

 2011, four senior ZTE managers signed an Executive Memo which proposed that ZTE identify

 and establish new “isolation companies” that would be responsible for supplying U.S.

 component parts necessary for projects in embargoed countries.

        714.    After an international publication in March 2012 publicly revealed ZTE’s sale of

 prohibited equipment to Iran, ZTE temporarily stopped sending U.S. equipment to Hezbollah,

 the Qods Force, and Regular IRGC.

        715.    But in July 2014, ZTE began shipping U.S.-origin equipment to Hezbollah, the

 Qods Force, and Regular IRGC once again without the necessary licenses. Thus, properly

 understood, ZTE’s temporary pause was not the rumblings of a corporate conscience causing it

 to separate from terrorists but, rather, an effort to pause their support while they assessed

 whether they could get away with it. Once ZTE believed it could, on or about 2014, they

 resumed their support for Hezbollah, the Qods Force, and Regular IRGC.

        716.    ZTE made these additional shipments by using a new “isolation company.” In the

 new version of the scheme, ZTE purchased and manufactured all relevant equipment – both



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 U.S.-origin and ZTE-manufactured – and prepared them for pick-up at its warehouse by the new

 isolation company. The new isolation company then shipped all items to Hezbollah, the Qods

 Force, and Regular IRGC.

        717.    In the ZTE 2017 OFAC Settlement, ZTE, and its subsidiaries, including but not

 limited to ZTE USA and ZTE TX, admitted, in relevant part:

        (i)     From on or about January 2010 to on or about March 2016, ZTE, ZTE USA, and

 ZTE TX (starting on or after the date of its formation) together exported, sold, or supplied United

 States goods to Iran or the Government of Iran with knowledge that the goods were intended

 specifically for Iran or the Government of Iran and thereby evaded or avoided, attempted and/or

 conspired to violate, and/or caused violations of the prohibitions set forth in the ITSR.

        (ii)    ZTE, ZTE USA, and ZTE TX together engaged in at least 251 such transactions,

 and the total value of U.S.-origin goods in the 251 transactions constituting the apparent

 violations was $39,622,972.

        (iii)   From approximately as early as November 2010 to approximately March 2016,

 ZTE’s senior leadership developed and adopted a company-wide scheme (meaning ZTE USA

 and ZTE TX, starting on or after the date it was formed, were involved) to evade U.S. economic

 sanctions and export control laws.

        (iv)    ZTE’s actions were developed and approved by the highest levels of its

 management and entailed the use of third-party companies to both conceal and facilitate its

 business with fronts for the IRGC, including its Hezbollah Division and the Qods Force.

        (v)     ZTE, ZTE USA, and ZTE TX together were “specifically aware of and

 considered the legal risks and consequences of violating U.S. economic sanctions and export

 control laws,” and were “specifically aware” of the potential consequences “if the U.S.



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 government learned of [ZTE]’s unauthorized reexportation of U.S.-origin goods to sanctioned

 countries, including Iran.”

        (vi)    Despite recognizing that “violations of U.S. law would be ‘inevitable’ if ZTE

 exported and/or reexported U.S.-origin goods to Iran,” ZTE, ZTE USA, and ZTE TX (starting on

 or after the date of its formation) together reexported and supplied a substantial volume of U.S.-

 origin goods to Iran from at least January 2010 to approximately March 2016 and “pursued and

 developed an evasive practice of ‘risk avoidance’ by utilizing isolation companies and other

 concealment activities” to do so.

        (vii)   ZTE’s contracts with Iranian companies from 2010 and 2012 required ZTE to

 export and/or reexport goods, services, and technology to Iran with the purpose of enhancing

 Iran’s telecommunications infrastructure, which in turn required supplying and/or attempting to

 supply Iran with U.S.-origin goods subject to the U.S. Department of Commerce’s Commerce

 Control List for anti-terrorism, national security, regional stability, and encryption item purposes

 and enhancing the law enforcement surveillance capabilities and features of Iran’s

 telecommunications facilities and infrastructure.

        (viii) ZTE temporarily ceased performance of one of its contracts with an Iranian

 company [TCI], when Reuters reported in March 2012 that ZTE was circumventing U.S.

 sanctions law to provide U.S.-origin goods to TCI, but ZTE resumed its unlawful activity

 thereafter and “would not ultimately cease its unlawful activity or cooperate with the U.S.

 government until on or about March 2016.”

        (ix)    ZTE informed the U.S. government agencies and the public in 2012 that it was

 winding down its reexports of U.S.-origin goods to Iran. However, approximately one year later




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 in November 2013, ZTE resumed its unlawful business activities with Iran without updating or

 informing the U.S. government agencies of this change until on or about April 6, 2016.

        (x)     In connection with the decision to resume its business with fronts for the IRGC,

 including its Hezbollah Division and the Qods Force, in approximately November 2013, ZTE’s

 highest-level leadership instituted directives authorizing various divisions of the company to

 surreptitiously resume business with those IRGC fronts, including by using a new third-party

 isolation company to conceal the resumption of prohibited activities from U.S. government

 investigators, the media, and others outside of ZTE.

        (xi)    ZTE USA and ZTE TX were directly implicated and directly participated in the

 scheme: (i) the ZTE 2017 OFAC Settlement Agreement, including its admissions of

 wrongdoing, was entered into by ZTE and its subsidiaries and affiliates, including ZTE USA and

 ZTE TX; (ii) the acts ZTE, ZTE USA and ZTE TX, agreed they had done included shipping

 embargoed items from the United States by commingling those items with foreign-made non-

 embargoed items; (iii) the conduct detailed therein as violations of the U.S. sanctions regime was

 done via activity within the United States, was described as a “company wide” scheme, and

 U.S.-origin goods were described as “essential,” so on information and belief ZTE USA and

 ZTE TX participated directly in those activities; (iv) ZTE entered into contractual arrangements

 with U.S. suppliers, including Qualcomm and Broadcom, through and by ZTE USA, through

 which ZTE obtained the key technology for export to Iran; (v) an employee, on information and

 belief, of either ZTE USA or ZTE TX, was instructed by ZTE in China to leave the United States

 based on conduct done within the United States; (vi) ZTE has disclosed publicly that the same

 individual, Cheng Lixin, was simultaneously an officer of ZTE and the CEO of ZTE USA; and

 (vii) on information and belief the ZTE USA and ZTE TX were subject to multiple law



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 enforcement subpoenas and ZTE USA and ZTE TX facilities were searched by United States

 authorities related to wrongdoing done in the United States.

        718.    ZTE modernized telecommunications technology used by Iranian entities that

 were controlled by Hezbollah, the Qods Force, and Regular IRGC fronts, thereby pumping

 additional revenue into the coffers of Hezbollah, the Qods Force, and Regular IRGC and thereby

 the IRGC’s proxies in Afghanistan, al-Qaeda and the Taliban.

        719.    ZTE, ZTE USA, and ZTE TX (after its formation) provided substantial banned

 technology to Iranian companies that were controlled by Hezbollah, the Qods Force, and Regular

 IRGC. Thereby, ZTE’s illegally sourced technology ordinarily flowed through to IRGC proxies

 al-Qaeda and the Taliban. That banned technology was crucial to perpetrate terrorism. By way

 of example, terrorists were able to use cell phones and other telecommunication technology and

 software to perpetrate attacks on Americans.

        720.    ZTE also assisted the terrorist enterprise by serving as a long-term strategic

 partner for MTN Irancell, which was a front for Hezbollah, the Qods Force, and Regular IRGC.

        721.    It would be improper to characterize ZTE’s role as only modernizing Iran’s

 cellular and communications systems or providing cellular and landline telecommunications

 infrastructure for use by the Iranian population. On top of the millions of dollars that ZTE

 provided to the IRGC (including Hezbollah and the Qods Force) via TCI, ZTE also provided

 technical aid to the IRGC (including Hezbollah and the Qods Force) which facilitated terrorism.

 ZTE’s, ZTE USA’s, and ZTE TX’s (after its formation) technology transfers were devastating to

 America’s ability to protect Americans overseas from attacks committed by Iranian terrorist

 proxies like Hezbollah. This was because, as a result of their actions, the IRGC was in “a

 position to benefit from sensitive monitoring technology it can put to its advantage to enhance its



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 surveillance abilities,” which Hezbollah, the Qods Force, and Regular IRGC acquired after “ZTE

 Corporation sold TCI a powerful surveillance system capable of monitoring landline, mobile and

 internet communications.” 242 ZTE’s, ZTE USA’s, and ZTE TX’s (after its formation)

 technology transfer uniquely provided terrorists the ability to intimidate and coerce civilian

 populations.

           722.   For example, according to U.S. diplomatic cables and statements by Lebanese

 government officials, TCI and the Qods Force helped build Hezbollah’s fiber optic

 communication system, which was upgraded to include encrypted high-speed lines, and

 included, according to public reports and on information and belief, Defendants’ “Western

 technology.” This communication network facilitated intelligence collection and operations in

 Iraq, and helped Hezbollah defend against US intelligence collection. Hezbollah officials said

 that this network was their most valuable weapons system. 243 TCI’s work in Lebanon,

 incorporating technology illegally smuggled by Defendants, enabled Hezbollah, the Qods Force,

 and Regular IRGC to fully integrate Hezbollah into its transnational command, control,

 communications, computing, intelligence, surveillance, and reconnaissance apparatus. 244

           723.   Further, Iranian cellular networks, administered by ZTE and Huawei (for MTN),

 were also used to track and target U.S. forces in Afghanistan and Iraq. Because they included

 US technology, they could be used to locate U.S. forces with precision. U.S. soldiers close to the

 Iranian border would get continuously pinged by Iranian cell phone towers. The “ZXMT”




 242
       Dr. Ottolenghi Sept. 17, 2015 Testimony.
 243
   Liz Sly, Lebanon's fiber-optic powder keg; Iran’s hand seen in Hezbollah's growing
 communication grid, amid fears of 'state within a state, ' Chicago Tribune, May 16, 2008.
 244
    Carl Anthony Wege, “Hizbollah–Syrian Intelligence Affairs: A Marriage of Convenience,”
 Journal of Strategic Security, Volume 4, Issue 3, 2011.
                                                  226
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 monitoring system that ZTE sold to Iran (with U.S.-origin components) could use this data to

 triangulate their positions and monitor their communications. Hezbollah, the Qods Force, and

 Regular IRGC also continuously upgraded Hezbollah’s communications systems, enabling them

 to deploy cellular phones securely and thwarting U.S. efforts to collect intelligence on them. 245

        724.    For a terrorist group intent on targeting Americans traveling in tightly secured

 convoys or on fortified bases, the technology that ZTE (via, on information and belief ZTE USA

 and ZTE TX) provided bolstered the terrorists’ ability to conduct successful surveillance. The

 technology ZTE provided was vital to their ability to execute successful attacks, like the ones

 that killed and injured Plaintiffs and their loved ones. For these reasons, ZTE’s acts, which

 allowed terrorists access to modern telecoms technology they could not otherwise obtain,

 facilitated intimidation, coercion, and violent acts and acts dangerous to human life.

        725.    The ample evidence of ZTE’s own consciousness of guilt supports the inference

 that ZTE knew it was aiding Hezbollah, Qods Force and Regular IRGC-sponsored terrorism.

        726.    In 2017, the U.S. Commerce Department disclosed two internal ZTE documents

 discovered during its investigation. The first, from 2011 and signed by several senior ZTE

 executives, detailed the company’s ongoing projects in Iran. Written by ZTE’s general counsel,

 signed by its senior management, and flagged as “Top Secret,” the document described a number

 of ways in which Defendants ZTE and its U.S. subsidiaries (including ZTE USA) were, in

 concert, violating U.S. laws well before 2011. 246 In substance, it indicates that while high-level

 managers of ZTE were also directors of ZTE USA, and frequently shuttled between the two



 245
    Colin P. Clarke, “How Hezbollah Came to Dominate Information Warfare,” Jerusalem Post,
 September 17, 2017.
 246
   ZTE “Report Regarding Comprehensive Reorganization and the Standardization of the
 Company Export Control Related Matters (Top Secret Internal Use Only),” August 5, 2011.
                                                 227
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 countries, their company’s U.S. research centers — soon thereafter to be overseen by ZTE TX —

 were “often” engaged in the illegal transfer of U.S. research data to China. It also indicates that

 ZTE was illegally exporting US-origin technology as early as 2005, and that ZTE, as well as its

 officers, knew that they could face both criminal and civil penalties based on their existing

 contracts. The second document laid out in a complex flow chart ZTE’s proposed method for

 circumventing United States export controls and getting U.S.-origin technology to Iran.

        727.    According to the then-Acting Assistant Attorney General, Mary B. McCord,

 “ZTE engaged in an elaborate scheme to acquire U.S.-origin items, send the items to Iran and

 mask its involvement in those exports,” and the plea agreement ZTE signed “alleges that the

 highest levels of management within the company approved the scheme.”

        728.    In 2012, after ZTE’s original contract with TCI, which allowed the IRGC

 (including Hezbollah and the Qods Force) to build a country-wide surveillance system capable of

 monitoring landline, mobile, and internet communications, was widely reported, ZTE claimed it

 would stop its business with fronts for the IRGC. In or around March 2012, ZTE spokesman

 David Shu said in a telephone interview “[w]e are going to curtail our business in Iran.”

 Although that was a lie, because ZTE thereafter doubled-down on its business relationships with

 Hezbollah, the Qods Force, and Regular IRGC fronts, it was also an admission that such business

 was fraught with risk that it would support and contribute to terrorism.

        729.    Ashley Yablon, ZTE USA’s former general counsel, gave the FBI an affidavit in

 May 2012 alleging ZTE had plotted to cover up the Iran sales. ZTE employees asked Mr.

 Yablon, a ZTE USA employee, to develop a strategy to transfer U.S.-origin goods to sanctioned

 countries. Yablon has indicated that during the U.S. investigation into ZTE’s transfer of U.S.-

 origin technology to Iran, ZTE internally discussed destroying evidence, and it has been reported



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 that ZTE employees told Mr. Yablon to gather the evidence of the U.S.-origin technology

 transfers to Iran, which he had in the United States, and Mr. Yablon instructed ZTE USA

 employees not to destroy evidence regarding ZTE USA’s exports relevant to ZTE’s agreement to

 export U.S.-origin goods. After Yablon’s affidavit became public in July 2012, ZTE, which

 otherwise directed his activities in the United States, placed Yablon on administrative leave.

        730.    ZTE destroyed evidence of its business with fronts for Hezbollah, the Qods Force,

 and Regular IRGC and, on information and belief, ZTE USA destroyed evidence in the United

 States of its business with fronts for Hezbollah, the Qods Force, and Regular IRGC.

        731.    There has been public reporting related to ZTE’s internal documentation of its

 strategies for how to get around export controls so it can do business with state sponsors of

 terrorism. Those strategies included using a codeword for Iran in internal documents. On

 information and belief ZTE USA and/or ZTE TX participated in these strategies.

        732.    Throughout the scheme, ZTE attempted to conceal its export of U.S.-sourced

 technology to Hezbollah, the Qods Force, and Regular IRGC by, among other things, requiring

 its employees to sign non-disclosure agreements, lying to its own lawyers regarding its exports,

 lying to a forensic expert hired to conduct an internal investigation, and adopting a policy and

 hiring thirteen (13) employees to alter, delete, and hide data relevant to the export sales.

        733.    ZTE admitted that it assembled a team of IT employees to alter, process, sanitize,

 and/or remove references to Iran in ZTE’s internal databases regarding its business with fronts

 for the IRGC. The IT team coordinated with various divisions throughout the company,

 including the sales, procurement, and finance divisions, as well as ZTE’s subsidiaries in the

 United States including but not limited to ZTE USA, to locate and remove any references to Iran




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 or ZTE’s business with IRGC fronts. The employees executing this IT project were instructed

 to, and did, delete their emails related to the project.

         734.    ZTE’s acts related to its export of U.S. embargoed technology to Iran, and its

 attempts to hide and obscure the same, were labelled by the U.S. Government as a “cover-up.”

         735.    In relation to ZTE’s acts to export U.S. embargoed technology to Iran, and its

 attempts to hide and obscure the same, the U.S. Government charged ZTE with making

 materially false, fictitious, and fraudulent statements and representations to the FBI.

         736.    In 2017, ZTE chairman and chief executive acknowledged guilt for its acts to

 evade the embargo and provide banned technology and goods to Iran, saying “ZTE

 acknowledges the mistakes it made [and] takes responsibility for them.”

         737.    ZTE knew that it was breaking U.S. law when it exported sensitive

 telecommunications technology to Hezbollah, the Qods Force, and Regular IRGC and knew or

 recklessly disregarded that the entities with which it was transacting business (and indeed who

 were receiving that technology) were fronts for Hezbollah, Qods Force, and Regular IRGC

 terrorists who were actively attempting to kill Americans by facilitating attacks by al-Qaeda and

 the Taliban against Americans in Afghanistan.

         738.    From 2008 through at least 2016, ZTE’s illicit transactions with MTN Irancell,

 the Bonyad Mostazafan, IEI, TCI, and/or the Akbari Fronts, provided millions, annually, in illicit

 funds, weapons, and operational support to Hezbollah, the Qods Force, and Regular IRGC,

 which flowed to al-Qaeda and the Taliban and was used to attack Americans in Afghanistan,

 including Plaintiffs and their loved ones.

                       ii.       ZTE Corp., ZTE USA, And ZTE TX Substantially Increased
                                 MTN Irancell And TCI Revenue By Illicitly Sourcing
                                 Embargoed American Technology, Logistical Support, And



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                               Technical Services, Which Flowed Through To The IRGC’s
                               Terrorist Proxies

        739.    ZTE Corp.’s ZTE USA’s, and ZTE TX’s illicit transactions with MTN Irancell,

 the Bonyad Mostazafan, IEI, TCI (including MCI), Exit40, and/or the Akbari Fronts, provided

 millions, annually, in illicit funds, weapons, and operational support to, among others,

 Hezbollah, the Qods Force, and Regular IRGC, which flowed through to al-Qaeda and the

 Taliban and facilitated attacks against Americans in Afghanistan, including Plaintiffs.

        740.    ZTE Corp., ZTE USA, and ZTE TX significantly increased the cash flowing

 through MTN Irancell and TCI, and ultimately being deployed by Hezbollah, the Qods Force,

 and Regular IRGC. They did so by illicitly supplying the state-of-the-art American technologies,

 like servers, to MTN Irancell and TCI, and by extension the IRGC (including Hezbollah and the

 Qods Force) needed to attack Americans abroad.

                     iii.      ZTE Corp., ZTE USA, And ZTE TX Routed Bribes To The
                               Key Procurement Decisionmakers At MTN Irancell And TCI,
                               Which Flowed Through To The IRGC’s Terrorist Proxies

        741.    ZTE Corp. has engaged in serial bribery around the world to win business

 including large 6- and 7-figure bribes. According to a report published by a team of

 investigators hired by a hedge fund, “ZTE has engaged in systemic, centrally managed

 corruption at a scale rarely seen in international commerce.” 247

        742.    On at least two prior occasions, the same ZTE Corp. leadership team here bribed

 foreign officials in procurement settings that were like MTN Irancell (other than being in a




 247
   Bill Gertz, Report Urges U.S. Action Against Chinese Telecom Giant ZTE Over Corruption
 Record, Wash. Times (Dec. 10, 2020) (“Gertz, Report Urges U.S. Action”).
                                                 231
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 different geography). ZTE Corp. paid nearly $800,000 to one decision-maker, more than $1

 million to a second, and $10 million to a third (all serving in different countries). 248

         743.    On March 13, 2020, NBC News reported that “ZTE” was “the subject of a new

 and separate bribery investigation by the Justice Department,” under the Foreign Corrupt

 Practices Act (“FCPA”). The investigation “center[ed] on possible bribes ZTE paid to foreign

 officials to gain advantages in its worldwide operations.” 249

         744.    The Justice Department’s current FCPA investigation concerning ZTE Corp.

 involves ZTE Corp.’s conduct within the United States. 250

         745.    ZTE is not a “normal” multinational corporation, but a notoriously dirty company

 that seeks to advance the agenda of the Chinese Communist Party. It is willing to engage in

 corrupt deals that most other corporations shun. For example, NBC News noted that “Norway’s

 giant government pension fund banned ZTE from its investment universe” in 2016 “based on




 248
    Don Woolford, Somare, The Controversial Father of PNG, AAP Newswire (Febr. 25, 2021)
 (“[Michael Somare] faced various claims of impropriety or worse, including being given a
 $780,000 bribe by Chinese phone giant ZTE. He was found guilty of submitting late and
 incomplete financial statements.”).
 249
    Gretchen Morgenson and Tom Winter, The U.S. Is Now investigating Chinese Telecom Giant
 ZTE For Alleged Bribery, NBC News (Mar. 13, 2020) (“Morgenson and Winter, U.S. Is Now
 Investigating”).
 250
    This is necessarily true because, as the Wall Street Journal reported, “[t]he U.S. usually
 doesn’t have jurisdiction to enforce the FCPA against foreign companies lacking securities that
 trade in the U.S., but can investigate such cases if actions took place within its borders, or if
 money used in the alleged scheme was wired through the nation’s financial system.” Aruna
 Viswanatha and Corinne Ramey, U.S. Probes Chinese Telecom Giant ZTE for Possible Bribery;
 The Justice Department Investigation Comes After The Company Already Pleaded Guilty To
 Dodging U.S. Sanctions On Iran, Wall Street Journal (Mar. 13, 2020).
                                                   232
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 ‘the risk of severe corruption.’” 251 As NBC News stated, “[o]nly three other companies are

 barred by the Norwegians for ‘gross corruption’ alongside ZTE.” 252

             746.   ZTE Corp. has pursued an integrated global sales strategy, under which one may

 infer that ZTE Corp. followed the same, or a substantially similar, bribery tradecraft with respect

 to similar “pitches” for other state-owned telecom companies.

             747.   Plaintiffs’ allegations comport with ZTE Corp.’s kickback schemes in other

 similarly situated governments, e.g., the Philippines, where ZTE Corp. paid millions in bribes. 253

             748.   Audrye Wong is an Assistant Professor of Political Science and International

 Relations at USC and a Wilson Center China Fellow. In 2021, Ms. Wong published a detailed

 analysis of Chinese economic tradecraft including, among other things, the Chinese Communist

 Party’s heavy emphasis on bribery as a matter of policy:

             But perhaps the most prominent feature of China's economic statecraft is its use
             of positive inducements. These incentives come in two forms: under the table,
             whereby Beijing buys off political leaders through illicit deals, and by the book.
             … China often provides economic inducements in illicit and opaque ways … As
             Chinese companies have increasingly invested overseas, state-owned enterprises
             or private companies, sometimes with the tacit approval of Chinese officials, have
             offered bribes and kickbacks to elites in countries receiving investment or aid
             projects in order to grease the wheels of bureaucracy. At other times, Chinese
             companies have bypassed the process of competitive bidding and regulatory
             approval to secure a contract, often at inflated costs, generating extra profits for
             both Chinese actors and local elites. I call such inducements "subversive carrots."
             In many ways, their use reflects China's domestic political economy, where
             businesses depend on official connections, corruption is widespread, and few
             regulations govern foreign investment and foreign aid. My research shows that
             this method works best in countries that also have little public accountability-




 251
       Id.
 252
       Id.
 253
    See, e.g., Audrye Wong, How Not to Win Allies and Influence Geopolitics: China's Self-
 Defeating Economic Statecraft, Foreign Affairs, Volume 100; Issue 3 (May 1, 2021), (emphasis
 added), 2021 WLNR 15954005.
                                                     233
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        where the flow of information is restricted, and political leaders need not worry
        about public opinion and the rule of law. 254

        749.    On information and belief, from 2010 through 2016, ZTE Corp. caused the

 payment of at least several million dollars, denominated in U.S. Dollars, to one or more officers,

 agents, or directors of MTN Irancell, TCI, and/or MCI. This money flowed through to fund and

 arm the IRGC’s Shiite Terrorist Proxies and the IRGC’s Sunni Terrorist Proxies to support their

 attacks against Americans around the world.

                3.      ZTE Knowingly Assumed A Financial, Logistical, And Operational
                        Role In The Taliban’s, Including The Haqqani Network’s, Terrorist
                        Enterprise In Afghanistan, Directly And Indirectly Financing And
                        Arming IRGC Proxy Attacks In Afghanistan And Iraq

        750.    ZTE operated lucrative businesses in post-invasion Afghanistan by servicing a

 broad array of customers there. To increase their profit margins by redirecting attacks away from

 their business interests – and to intentionally assist the Taliban’s effort to drive Americans out of

 Afghanistan – ZTE knowingly paid protection money to the Taliban, including its Haqqani

 Network. When ZTE did so, ZTE knowingly assumed a financial, logistical, and operational

 role in the Taliban’s, including the Haqqani Network’s, terrorist enterprise in Afghanistan and

 beyond by directly and indirectly routing protection payments to these terrorists in cash and “free

 goods,” including secure American cell phones.

        751.    ZTE has become one of the world’s most valuable communications technology

 manufacturers by providing a comprehensive suite of communications technologies services to

 customers in high-risk geographies from a counter-terrorism perspective, including geographies

 where Hezbollah, the Qods Force, and Regular IRGC and IRGC proxies al-Qaeda and the



 254
    Audrye Wong, How Not to Win Allies and Influence Geopolitics: China's Self-Defeating
 Economic Statecraft, Foreign Affairs, Volume 100; Issue 3 (May 1, 2021), (emphasis added),
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 Taliban, raised and moved money to facilitate terrorist attacks through protection payments,

 procurement corruption, “free goods” payoffs, payments routed through consultants, and similar

 schemes that depended upon complicit corporate partners. ZTE followed that model in

 Afghanistan, where ZTE continuously operated for decades.

           752.   From 2006 through 2019, ZTE sold products to Afghan telecommunications

 operators, e.g., MTN Afghanistan, which was MTN’s subsidiary in Afghanistan, which were

 manufactured by the ZTE Defendants.

           753.   While ZTE was achieving rapid growth in Afghanistan, the communications

 sector provided a critical source of financing for the Taliban, in the same manner as it did for

 Defendants Huawei and MTN. ZTE’s payments mirrored the protection money delivered by

 Huawei and MTN. Just as the Taliban raised “taxes” from international contractors doing

 business in Afghanistan, so too did it levy similar “taxes” on “the big telecom companies” like

 ZTE. 255

           754.   ZTE’s services in Afghanistan required ZTE work in areas that were controlled or

 contested by the Taliban, in which ZTE paid protection payments as a cost of doing business.

           755.   ZTE’s sales to its Afghan customers depended upon ZTE personnel successfully

 driving large truck convoys containing ZTE’s lucrative Afghan-customer-bound goods through

 Taliban, including Haqqani Network, controlled or contested geographies in Pakistan and

 Afghanistan.

           756.   ZTE paid the money as protection: ZTE decided that the cheapest way to shield

 their projects from attack was to pay the Taliban to leave them alone and instead attack other

 targets – like Plaintiffs and their family members. Similar payments were pervasive throughout



 255
       Ruttig, The Other Side at 20.
                                                 235
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 Afghanistan and supplied the Taliban with an important stream of financing to fund their terrorist

 attacks across the country.

        757.    The Taliban conveyed its protection-money demands to ZTE via Night Letters

 similar the ones the Taliban sent to MTN and Huawei.

        758.    ZTE was a particularly aggressive practitioner of protection payments. Rather

 than invest in expensive security for shipments, ZTE purchased cheaper “security” by buying it

 from the Taliban, including its post-FTO-designation Haqqani Network.

        759.    ZTE negotiated its protection payments in direct discussions between ZTE

 Afghanistan’s security department and Taliban, including Haqqani Network, commanders.

        760.    Like other contractors in Afghanistan, ZTE generally paid, as protection to the

 Taliban (including its Haqqani Network), at least ten percent (10%) of its contract budget – and,

 on information and belief, much more than this – on any contract in which ZTE, including any

 ZTE affiliate or contractor, provided services to any customer in Afghanistan, since the Taliban

 controlled or contested every geography in which ZTE worked.

        761.    ZTE’s practice of making protection payments to the Taliban extended to the

 Haqqani Network. From at least 2008 through 2017, ZTE operated infrastructure projects sites,

 and/or sold communications technology products to customers (and therefore transported

 lucrative commodities through territory) in Afghanistan that was controlled by the Haqqani

 Network, and ZTE purchased security for those project sites and shipments by paying the

 Haqqani Network. The Haqqani Network’s chief financial operative, Nasiruddin Haqqani,

 oversaw those payments, and they typically occurred on a semi-annual basis, and the Haqqani

 Network’s overall involvement in the scheme was ultimately supervised by Sirajuddin Haqqani,

 who was at all times a dual-hatted al-Qaeda/Taliban terrorist.



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        762.    ZTE Corporation keyed ZTE’s rapid growth in Afghanistan by sponsoring a vast

 stream of payoffs to the Haqqani Network from 2006 through today, which flowed through to

 benefit al-Qaeda and the entire Taliban. Under Sirajuddin Haqqani’s leadership, as executed by

 his immediate family members, the Haqqani Network was responsible for collecting “taxes”

 from Afghanistan’s telecom companies, which were the single largest (legal) industry and tax

 base in Afghanistan – and thus a key source of funding and power for the Taliban and al-Qaeda,

 both of which were effectively led by Sirajuddin Haqqani in Afghanistan and Pakistan.

        763.    The logic behind ZTE’s payoffs to the Haqqani Network matched the logic

 motivating ZTE’s joint venture with the IRGC. ZTE’s leadership intended to harm American

 interests in Afghanistan (like Iraq), and supporting the Taliban allowed them to do so. ZTE’s

 decision to route monthly protection payments to al-Qaeda (via Sirajuddin Haqqani and his

 immediate family members) and the Taliban was made so that ZTE would not face the risk that

 terrorists commanded by Sirajuddin Haqqani would destroy some of ZTE’s shipments. The

 going protection payment rate was usually around $500 to $2,000 per truck per convoy. In some

 areas, ZTE caused payments to be made to local Taliban, including Haqqani Network,

 commanders. In other places, where ZTE operated in a Taliban-controlled environment, the

 payments would be sent to the Taliban’s Quetta Shura for southern Afghanistan, e.g., Helmand,

 or the Taliban’s Miram Shah Shura for eastern Afghanistan, e.g., Paktia (Sirajuddin was

 involved in the former and led the latter).

        764.    By 2006, the Taliban prized the acquisition of Western communications

 technologies, including American-made cell phones, that were “washed” through the IRGC or

 one of its corporate partners, like ZTE.




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        765.    From 2006 through 2021, ZTE also made protection payments to the Taliban,

 including its Haqqani Network, in the form of “free goods” – in particular, free communications

 technologies like cell phones – as an alternative to paying the terrorists in cash. When ZTE did

 so, ZTE directly provided to the Taliban, including its Haqqani Network, a broad range of

 communications technologies including, but not limited to, American mobile phones such as

 American-made Motorola phones, which ZTE reached into the U.S. to specifically acquire for

 the purpose of transferring such technologies to the IRGC and its proxies, including the Taliban.

        766.    On information and belief, ZTE transferred millions of U.S. Dollars’ worth of

 American communications technologies, including more than a thousand (1,000) “free goods”

 black market American-made cell phones to the Taliban, including its Haqqani Network, which

 ZTE acquired from the U.S. and delivered to the Taliban, each year from 2006 through 2021.

        767.    ZTE’s transfer of free, and illicitly sourced, communications technologies,

 including technologies that ZTE sourced from the United States, as a means to bribe the Taliban,

 including its Haqqani Network, comports with ZTE’s long-standing embrace of “free goods” as a

 core, decades-long, global strategy to route bribes to recipients.

        768.    U.S. military and intelligence officials have publicly confirmed Plaintiffs’

 allegations against ZTE. For example, on June 8, 2012, Business Insider confirmed – citing

 American “military sources” and “former and current intelligence sources” – that that “China

 [was] likely to remain an aggressive and capable collector of sensitive U.S. economic

 information and technologies.” 256 Thus, “[a]nother concern raised by [U.S. military] sources




 256
    Business Insider, Military Sources: China Could Shut Down All The Telecommunications
 Technology It Sold To America (June 8, 2012) (“Business Insider”).
                                                 238
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 [was] that Huawei and the other Chinese telecommunications companies [i.e., ZTE] also

 provide[d] technology to Iran and the Taliban.” 257

             769.   When ZTE provided free communications technologies to the Taliban, including

 black market American cell phones, ZTE provided the terrorists a cash equivalent that sponsored

 tremendous violence. At a going rate of $2,000 per black market cell phone, for example, the

 value of ZTE’s illicit phones supplied to the Taliban, delivered at least $2 million per year in

 value to the Taliban, including its Haqqani Network.

             770.   When ZTE acquired and transferred free communications technologies to the

 Taliban, including black market American cell phones, from the United States and delivered

 such technologies to the Taliban, including its Haqqani Network, ZTE provided devastating

 operational and logistical assistance to the Syndicate in addition to the financial value of such

 goods through the same operational and logistical benefits that such black market

 communications technologies, including American cell phones, accorded to terrorists worldwide.

             771.   ZTE also directly aided al-Qaeda when ZTE transferred cash and free goods,

 including the above-described communications technologies and black market American cell

 phones, to the Haqqani Network because Sirajuddin Haqqani and his immediate family

 members, who were responsible for collecting protection payments from telecom companies like

 ZTE, were also members of al-Qaeda, and thus ZTE funded and logistically supplied al-Qaeda

 when ZTE routed cash and free goods protection payments to the Haqqani family.

             772.   ZTE’s overall payments to the Taliban, including its Haqqani Network, reached

 millions of dollars in value in cash and “free goods” payments of communications technologies,

 including black market U.S. cell phones each year from 2006 through the present. At that rate,



 257
       Id.
                                                  239
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 the ZTE Defendants caused at least tens of millions in U.S. Dollar-value in cash and “free

 goods” to flow through to the Taliban, from 2006 through the present, which furthered the IRGC

 Conspiracy and directly aided the IRGC proxies who committed such attacks, i.e., al-Qaeda and

 the Taliban, through attacks committed by joint al-Qaeda/Taliban cells and/or by the Taliban

 that were planned and authorized by al-Qaeda.

                  4.     ZTE’s Assistance To Hezbollah, The Qods Force, Regular IRGC, Al-
                         Qaeda, And The Taliban, Comports With ZTE’s Historical Business
                         Practices In International Markets

           773.   Like MTN, ZTE’s conduct reflected a willingness to support America’s enemies,

 and engage in illicit financial transactions, as a way to increase profits in Iran. The same

 calculation pervaded ZTE’s other conduct throughout the world. ZTE’s other conduct further

 demonstrates its pattern and practice of transacting with violent actors to increase ZTE revenue.

           774.   ZTE has been called a “poster child” for sales of Chinese made network

 equipment at low prices that “allow the Chinese government to eavesdrop on all communications

 running on their equipment.” 258

           775.   Like Iran, North Korea is a designated state sponsor of terrorism with a long

 history of attacking and murdering Americans overseas. ZTE’s illicit transactions concerning

 North Korea, therefore, further inform ZTE’s deliberate support for terror.

           776.   ZTE had a long-term relationship with North Korea. A 2020 civil forfeiture

 action revealed that — based on ZTE’s disclosures to the U.S. government — it had dedicated

 account executives and a physical presence in North Korea no later than 2005 and 2007,

 respectively. ZTE tasked its North Korea account manager with creating two shell companies,

 one to receive North Korean payments in dollars, and the other to transfer the money — often



 258
       Gertz, Report Urges U.S. Action.
                                                  240
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 using the U.S. financial system — to ZTE. The value of the goods smuggled this way exceeded

 $300 million. During this time, North Korea had an extensive relationship with Hezbollah, the

 Qods Force, and Regular IRGC and Hezbollah. One court found this support included providing

 military hardware and training, most notably training for senior leaders and Hezbollah’s

 intelligence cadre. Thereby, North Korea provided material support to Hezbollah, including but

 not limited to in relation to the illicit technology transferred to North Korea by ZTE.

        777.    As part of its guilty plea, “ZTE … pleaded guilty … to violating U.S. sanctions

 against Iran and North Korea.” 259 Like with Iran, when it helped North Korea source embargoed

 goods, ZTE knew or recklessly disregarded that it was engaging in illicit transactions with North

 Korean counterparties in violation of U.S. and international sanctions that were designed to

 choke off North Korea’s support for terrorism. Moreover, even after ZTE got caught helping

 North Korea evade U.S. sanctions (and pledged to be truthful with the U.S. government), ZTE

 lied and made additional false statements to American authorities. 260




 259
    Gretchen Morgenson and Tom Winter, The U.S. Is Now investigating Chinese Telecom Giant
 ZTE For Alleged Bribery, NBC News (Mar. 13, 2020) (“Morgenson and Winter, U.S. Is Now
 Investigating”).
 260
     As NBC News noted, “[i]n the deal with the U.S. government [in 2017], ZTE also agreed to a
 denial of export privileges that could be activated for seven years if the company committed
 additional violations. In mid-April 2018, the Commerce Department activated the denial of
 privileges after determining that ZTE had made false statements to the government about actions
 it had taken to punish employees involved in the Iran and North Korea activities. While ZTE said
 it had reprimanded the employees, the government later found that the company had rewarded
 them with bonuses. Activating the denial meant that ZTE could not buy semiconductors required
 for its products.” Id.
                                                 241
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             778.   As legal commentator Stewart Baker noted at the time in 2012, when discussing

 ZTE’s corporate criminal culture, that “[a] kind of perfect storm has struck ZTE, … [a] storm

 largely of ZTE's own making.” 261 He explained:

             ZTE … ha[s] been the subject[] of great national security concern for years. …
             Now, though, the mess is everywhere, and the House intelligence investigation
             will surely be heavily influenced by the new evidence that ZTE at least is quite
             capable of carrying out sophisticated telecommunications surveillance, of
             violating US law, and perhaps even lying about it later. Which, come to think of
             it, is pretty much what US intelligence agencies have been saying all along. 262

             779.   Plaintiffs’ allegations concerning ZTE’s willingness to pay bribes and protection

 payments, in cash and free goods, are also consistent with ZTE’s recent history, as documented

 by press reports concerning allegations of “rampant corruption” and programmatic bribery by

 ZTE around the world for decades. 263

                    5.     ZTE’s Assistance To Hezbollah, The Qods Force, Regular IRGC, Al-
                           Qaeda, And The Taliban Had A Substantial Nexus To The U.S.

             780.   ZTE’s assistance to Hezbollah, the Qods Force, Regular IRGC, al-Qaeda, and the

 Taliban, including its Haqqani Network, relied on significant contacts with the United States. As

 it has admitted, ZTE orchestrated both those U.S. contacts and ZTE’s violation of U.S. law,

 including, on information and belief, by and through coordination with ZTE USA and ZTE TX.

 Like MTN, ZTE employs a top-down management structure in which ZTE centralizes

 operational control over the functions performed by its various subsidiaries.



 261
    Stewart Baker, And You Think You’re Having A Bad Day?, The Volokh Conspiracy (July 13,
 2012) (emphasis added), 2012 WLNR 14621514.
 262
       Id.
 263
    See, e.g., Gertz, Report Urges U.S. Action (“Chinese telecommunications company ZTE has
 been involved in international bribery incidents around the world but so far escaped prosecution
 by the Justice Department for corrupt practices… according to a report… based on court
 documents, interviews with prosecutors, and news reports showing ZTE linked to corrupt
 practices in more than a dozen countries….”).
                                                   242
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        781.    ZTE’s decision to assist Hezbollah, the Qods Force, and Regular IRGC and by

 extension their proxies, al-Qaeda and the Taliban, had a substantial nexus to the United States for

 the reasons explained below.

                      i.        ZTE’s Conduct Targeted the United States

        782.    ZTE’s provision of material support to Hezbollah, the Qods Force, Regular IRGC,

 al-Qaeda, and the Taliban, including its Haqqani Network, was expressly aimed at the United

 States. At all relevant times, ZTE knew that Hezbollah, the Qods Force, Regular IRGC, al-

 Qaeda, and the Taliban, were targeting the United States. Hezbollah, the Qods Force, Regular

 IRGC, al-Qaeda, and the Taliban, did not conduct an indiscriminate terrorist campaign that

 merely injured Americans by chance. Instead, Hezbollah, the Qods Force, Regular IRGC, al-

 Qaeda, and the Taliban, directed attacks at Americans with the specific intent of killing

 Americans in particular – so that they could inflict pain in the United States and influence U.S.

 policy. Hezbollah’s, the Qods Force’s, Regular IRGC’s, al-Qaeda’s, and the Taliban’s, including

 its Haqqani Network’s, ultimate, shared, publicly stated goal was to effect a withdrawal of

 American forces from Afghanistan and the broader Middle East. Each terrorist attack that killed

 and injured Plaintiffs was part of that campaign of anti-American terrorism.

        783.    ZTE’s decision to reach into the United States, including by coordinating with

 ZTE USA and ZTE TX, to obtain embargoed dual-use technology to aid the IRGC’s, including

 Hezbollah’s and the Qods Force’s, terrorist enterprise was also expressly aimed at the United

 States. Like MTN, ZTE knew, based on conversations with IRGC, including Hezbollah and the

 Qods Force, agents, that Hezbollah, the Qods Force, and Regular IRGC viewed ZTE’s assistance

 as vital to Iranian national “security,” which ZTE understood to inherently involve the promotion

 of terrorist violence against Americans worldwide as part of Hezbollah’s, the Qods Force’s, and

 Regular IRGC’s effort to export its Islamic Revolution and drive the U.S. out of Afghanistan.
                                                 243
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        784.    On information and belief, like MTN, ZTE also knew, based on conversations

 with U.S. officials, that it was assuming an active role in a Hezbollah, the Qods Force, and

 Regular IRGC plot to develop cash flow and source vital dual-use components for Hezbollah, the

 Qods Force, Regular IRGC, al-Qaeda, and the Taliban. ZTE further knew of the critical

 importance that communications and computing technology plays for terrorists.

        785.    When ZTE, ZTE USA, and ZTE TX sourced embargoed technology, including by

 coordinating with ZTE USA and ZTE TX, that the United States had publicly declared could

 benefit IRGC, including Hezbollah and the Qods Force, efforts to kill Americans, they

 intentionally helped arm terrorists they knew were targeting the United States. On information

 and belief, Hezbollah, the Qods Force, and Regular IRGC made ZTE agree to a similar

 contractual pledge as the one in which MTN agreed to aid Iran’s “defensive, security, and

 political” interests outside of Iran. On information and belief, at all times, ZTE knew or

 recklessly disregarded that “security” was a euphemism for IRGC, including Hezbollah and the

 Qods Force, terrorist operations outside of the territorial borders of Iran. When ZTE, ZTE USA,

 and ZTE TX obtained the technology requested by its IRGC, including Hezbollah and the Qods

 Force, partners, each took actions in the United States and targeted at United States by helping

 the terrorists improve their bombs, rockets, communications, and intelligence gathering.

        786.    Although ZTE’s primary motivation for assisting Hezbollah, the Qods Force,

 Regular IRGC, al-Qaeda, and Taliban was financial, ZTE also intended to harm Americans in

 Afghanistan. One reason ZTE cooperated with Hezbollah, the Qods Force, and Regular IRGC

 was to align itself with their effort to drive Americans out of Afghanistan.

        787.    Like MTN, ZTE intended to harm Americans because it decided that was the

 necessary price of maintaining a good relationship with Hezbollah, the Qods Force, and Regular



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 IRGC who were explicit, that they expected their partners to provide significant help in fighting

 against U.S. forces in particular. Thus, for ZTE to achieve its business objectives vis-à-vis

 Hezbollah, the Qods Force, and Regular IRGC fronts who controlled TCI and MTN Irancell –

 both of which ZTE serviced – ZTE needed to disassociate itself from the United States and prove

 that it could deliver value to the IRGC’s terrorist campaign against U.S. forces in Afghanistan.

           788.   On information and belief, like MTN’s, ZTE’s agreement to aid Hezbollah, the

 Qods Force, and Regular IRGC fulfilled an obligation by ZTE to engage in “defensive, security

 and political cooperation” with its IRGC, including Hezbollah and Qods Force, counterparties. 264

           789.   Indeed, ZTE’s contract with TCI, according to Yablon, obligated ZTE to transfer

 its U.S.-built surveillance systems to TCI. When Reuters revealed that the ZXMT system

 contained U.S.-origin components, the Department of Commerce, BIS, served ZTE USA with an

 administrative subpoena and the U.S. Attorney’s office for the Northern District of Texas opened

 its grand jury investigation and the FBI served ZTE USA with criminal subpoenas.

           790.   The “surveillance function” built into ZTE’s contract, on information and belief,

 obligated ZTE to collaborate with Iranian ‘security’ authorities, including, inter alia, IRGC

 entities that implemented the regime’s campaign of terrorism.

           791.   Thereby ZTE, along with IRGC-controlled TCI, are responsible for helping the

 IRGC collect signals intelligence within Iran. Per the U.S. government, the IRGC Committee to

 Determine Instances of Criminal Content identifies websites, which TCI blocks and monitors.

           792.   In their campaign of mass repression, these IRGC, including Hezbollah and the

 Qods Force, agencies rely on technology illegally supplied by the Defendants, and, to justify

 their actions, a law which criminalizes any effort to evade the IRGC’s censorship, creating online



 264
       Exhibit A, MTN Group-Irancell Consortium Letter Agreement § 8.
                                                  245
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 “groups or gatherings” that threaten the state, or linking to sites connected to “wayward and

 illegal groups and movements” as “creating content against national security.” 265

           793.   First, ZTE’s support for Hezbollah, the Qods Force, and Regular IRGC did not

 merely grow ZTE’s profits by allowing it to obtain lucrative business from MTN Irancell and

 TCI in the first instance; it also benefited ZTE’s business by inflicting harm on an enemy (the

 United States) of one of ZTE’s most important business partners (Hezbollah, the Qods Force,

 and Regular IRGC) in order for ZTE to curry Iranian favor to gain market share for a potentially

 uniquely lucrative telecom and communications market (Iran).

           794.   Second, ZTE’s support for attacks against U.S. citizens by Shiite terrorists

 advanced the foreign-policy interests of ZTE’s most important business partner: the Chinese

 Communist Party (or “CCP”).

           795.   At all relevant times, ZTE has acted as an anti-American Chinese nationalist

 company that actively seeks to advance the interests of the Chinese Communist Party.

           796.   ZTE specifically pursued transactions with Qods Force fronts in order to harm the

 United States in the Middle East as part of a broader Chinese Communist Party strategy to inflict

 pain on America in the Middle East by supporting the Qods Force and its terrorist campaign

 against Americans there.

           797.   Indeed, ZTE has pursued this objective continuously since 9/11. For example,

 less than two weeks after that attack, commentators were already observing ZTE’s efforts to

 curry favor with the Taliban, even though they were understood to have sheltered bin Laden and

 contributed to the attack as a result. As one wrote at the time:

           China … has been playing its own complex “Great Game,” through the Taliban in
           Afghanistan, and in alliance with Pakistan. …


 265
       Justice for Iran, Gerdab: a Dictated Scenario, at 36 (2012), https://tinyurl.com/4a8hfps9.
                                                   246
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       The Chinese attitude towards radical “Islamism” is two-faced. Beijing is happy to
       train and send armed insurgents – separatist terrorists -- to … sow mischief
       wherever it can against Western interests. But it is also worried, sometimes to the
       point of paranoia, about the security threat to its own Uighur territory. …

       From the Beijing point of view, co-operation with the Taliban kills two birds with
       one stone. On the one hand, China has been helping to nurture a very painful
       thorn in the West’s backside; on the other, it is buying off Taliban encouragement
       for Uighur separatists. Until Sept. 11, it appeared Beijing’s prospects in Kabul
       were win-win.

       By coincidence or otherwise, on Sept. 10, the day before the organized terror
       assault on New York City and Washington D.C., Chinese representatives in Kabul
       signed a memorandum of understanding for economic and technical co-operation
       with Mullah Mohammed Ishaq, the Taliban minister for mining.

       It was the most comprehensive of a series of contractual agreements between
       Beijing and the Taliban, in defiance of the spirit if not the letter of both Western
       and United Nations sanctions. It confirmed the Chinese role as the Taliban’s best
       friend outside the Islamic world.

       The most interesting part of the agreement is a promise to build desperately
       needed infrastructure for the Taliban regime, throughout the 90 per cent of
       Afghanistan's surface area now under Taliban control.

       Already, last year, two Chinese telecommunications firms, Huawei Technologies
       and ZTE, began work laying secure land-based phone lines between and within
       Kabul and Kandahar, and they may well be directly involved in providing
       communications services to the terrorist "underground" (literally, for it works
       from caves) in the Kandahar region.

       Huawei is the firm that has been installing communications equipment for Iraq's
       air-defence system. It was named in a protest to the Chinese government by the
       Bush administration on its first day in office.

       The aid to Afghanistan is by no means confined to economy and infrastructure.
       Political contacts between China and the Taliban have been increasing rapidly. …

       China tries to help the Afghan terrorist regime in its struggle against the
       West[.] 266




 266
    David Warren, How China Advances Its Imperial Ambitions By Backing The Taliban, Ottawa
 Citizen (Canada), (Sept. 22, 2001), 2001 WLNR 6660411.
                                                247
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        798.    Faithful to its Chinese Communist Party-supporting trade efforts, ZTE always

 pursued the CCP’s nationalistic Chinese agenda. As legal commentator Stewart Baker observed

 in 2012, “[a] kind of perfect storm has struck ZTE, … [a] storm largely of ZTE's own making”:

        ZTE and its larger Chinese rival, Huawei, have been the subjects of great national
        security concern for years. The US intelligence community fears that, if allowed
        to install equipment here, the two companies will surreptitiously permit Chinese
        government wiretaps inside the United States. But proof of this suspicion has
        been hard to find. And the firms, backed by Chinese government-subsidized
        loans, have been able to offer enormous discounts to carriers, devastating the
        global telecom equipment market and leaving carriers eager to buy their products.
        Whether the US government would continue to act on its suspicions in the face of
        commercial pressure was an open question. … Now, though, the mess is
        everywhere, and the House intelligence investigation will surely be heavily
        influenced by the new evidence that ZTE at least is quite capable of carrying out
        sophisticated telecommunications surveillance, of violating US law, and perhaps
        even lying about it later. Which, come to think of it, is pretty much what US
        intelligence agencies have been saying all along. 267

 .Indeed, ZTE is widely known to be an important geopolitical pawn for the Chinese Communist

 Party, with direct links to P.R.C. government and the People’s Liberation Army through ZTE’s

 substantial ties to the Chinese government and military apparatus.

        799.    China’s Foreign Ministry confirmed its approval for ZTE’s efforts to undermine

 U.S. national security when it expressed anger after the U.S. Commerce Department placed

 export restrictions on ZTE for violating U.S. export controls on Iran. “We hope the U.S. stops

 this erroneous action and avoids damaging Sino-U.S. trade cooperation and bilateral relations,”

 Chinese Foreign Ministry spokesman Hong Lei said at a briefing in March 2012.

        800.    ZTE’s aid for the IRGC and Qods Force are consistent with the Chinese

 Communist Party’s desire to inflict pain on Americans in Afghanistan. The Chinese Communist

 Party views the United States being pinned down in conflict in the Middle East, and American


 267
    Stewart Baker, And You Think You’re Having A Bad Day?, The Volokh Conspiracy (July 13,
 2012), 2012 WLNR 14621514

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 being killed or injured in Iraq as beneficial to its interests. This is because protracted conflict in

 Iraq could give China the ability to expand its influence in the Middle East and could pin down

 the U.S. military in the Persian Gulf so that it is harder to pivot toward the Pacific.

           801.   That is why, from the Chinese Communist Party’s perspective, there is strategic

 value in helping Iran develop enough military capabilities to counter U.S. dominance of the

 Persian Gulf. Indeed, Wang Jisi, Dean of the Peking University School of International Studies,

 has argued that the U.S. war with Iraq benefited China because “It is beneficial for our external

 environment to have the United States militarily and diplomatically deeply sunk in the Mideast

 to the extent that it can hardly extricate itself.” Thus, a strong economic, diplomatic, and military

 partnership with the Islamic Republic could help China offset U.S. power in the Middle East.

 Similarly, Renmin University professor Shi Yinhong has recently argued that “Washington’s

 deeper involvement in the Middle East is favorable to Beijing, reducing Washington’s ability to

 place focused attention and pressure on China.”

           802.   In 2021, Iran and China signed a deal expressing a desire to increase cooperation

 and trade relations over the next 25 years. It has been reported that this agreement enshrines a

 shared desire between China and Iran to reduce and resist U.S. influence in the region.

           803.   ZTE’s agreement to aid Hezbollah, the Qods Force, and Regular IRGC served the

 Chinese Communist Party’s agenda of inflicting pain on U.S. forces in Iraq. On information and

 belief, it also fulfilled an obligation by ZTE, similar to that of MTN, to engage in “defensive,

 security and political cooperation” with its IRGC, including Hezbollah and the Qods Force,

 partner. 268 Such cooperation offered ZTE added motivation for ZTE’s illicit transactions with

 Hezbollah, the Qods Force, and Regular IRGC. ZTE’s support for Hezbollah, the Qods Force,



 268
       MTN Group-Irancell Consortium Letter Agreement § 8 (Sept. 18, 2005).
                                                  249
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 and Regular IRGC did not merely grow its profits by allowing it to obtain lucrative business

 from MTN Irancell and TCI in the first instance; it also benefited ZTE’s business by inflicting

 harm on an enemy of ZTE’s most important business partner (the Chinese Communist Party) and

 decisionmakers (the IRGC and Qods Force) in a key telecom market (Iran).

        804.    Plaintiffs’ allegations also comport with the widespread view of relevant U.S.

 government officials from the executive and legislative branches. For starters, ZTE was forced

 to plead guilty and the largest criminal fine, to that date, in a United States sanctions case.

        805.    Moreover, a group of 33 Senators expressed concern about ZTE. In 2018, they

 sent a letter to President Trump indicating they viewed ZTE as a security threat. In relevant part

 the Democratic Senators (a) noted that ZTE violated US sanctions law and repeatedly lied about

 steps it would take to remedy the problems; (b) argued that America’s national security must not

 be used as a bargaining chip in trade negotiations; (c) labeled ZTE as a “bad actor”; and (d)

 argued that loosening restrictions on ZTE could “risk American national security”.

        806.    Concerns about ZTE’s hostility to American national security are bipartisan. For

 example, Senator Marco Rubio has warned against allowing ZTE “to operate in U.S. without

 tighter restrictions,” given national security and espionage concerns, and Senator Mark Warner

 has publicly reported to label ZTE as a “national security threat.” Moreover, a multi-year

 bipartisan investigation by the House Select Committee on Intelligence concluded in October

 2012 that ZTE “cannot be trusted to be free of foreign state influence and thus pose[s] a security

 threat to the United States and to our systems.”

        807.    Further, the FCC recently designated ZTE as a “national security threat,” and

 stated that “ZTE’s violation of U.S. trade agreements and export laws, coupled with its

 obstruction of the Department of Justice’s investigation, indicate a clear disregard for U.S. law



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 and national security.” Indeed, the FCC noted that ZTE has broken laws safeguarding U.S.

 national security, and ZTE has “shown a willingness to obstruct the investigations into such

 national security threats.” The FCC also observed “ZTE’s knowing violations of U.S. national

 security laws and its proven lack of cooperation in dealing with U.S. criminal investigators.”

        808.    OFAC, as well as the other U.S. government agencies, opened an investigation of

 ZTE in March 2012. As agreed by ZTE in its Settlement Agreement with OFAC, at or around

 that time, “an undisclosed person in ZTE’s legal department in Shenzhen called at least one ZTE

 employee present within the United States to instruct him to leave the country. These instructions

 were provided on the same day or shortly after search warrants were executed upon ZTE’s

 facilities located in the United States.” On information and belief, these statements relate to

 actions taken by employees of ZTE’s U.S. subsidiaries, including but not limited to ZTE USA.

        809.    As part of ZTE’s attempt to “cover up” its acts to provide U.S.-origin technology

 to TCI, ZTE and ZTE USA retaliated in the United States against the ZTE USA whistleblower in

 the United States who reported the scheme. ZTE also coordinated with ZTE USA in the United

 States and used ZTE USA as ZTE’s agent and instrumentality through which ZTE hired legal

 representation in the United States to respond to United States criminal investigations.

                      ii.      ZTE’s Conduct Relied on American Contacts

        810.    ZTE reached into the United States to acquire U.S.-sourced embargoed

 technology that it then provided to Telecommunication Company of Iran and Aryacell.

        811.    TCI is predominantly state-controlled. TCI is owned by the Iranian regime and a

 private consortium with reported ties to IRGC, including Hezbollah and the Qods Force.

        812.    Aryacell is part of the consortium that, along with Hezbollah, the Qods Force, and

 Regular IRGC, controls TCI.



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        813.    ZTE, including but not limited to in coordination with ZTE USA and ZTE TX,

 reached into the United States to support Hezbollah, the Qods Force, Regular IRGC, al-Qaeda,

 and the Taliban, including its Haqqani Network, when it obtained technology and vital

 operational support from the U.S. ZTE supplied technology and operational support for TCI and

 MTN Irancell through various U.S. agents, including but not limited to ZTE USA and ZTE TX.

 In doing so, ZTE tied its unlawful conduct to the United States by obtaining irreplaceable, best-

 in-class, and embargoed U.S.-supplied dual-use technology to aid the IRGC’s, including

 Hezbollah’s and the Qods Force’s, terrorist enterprise. This U.S. contact was closely related to

 ZTE’s, ZTE USA’s, and ZTE TX’s support for Hezbollah, the Qods Force, Regular IRGC, al-

 Qaeda, and the Taliban, including its Haqqani Network.

        814.    ZTE relied on U.S.-made materials as components for its smartphones, cell phone

 systems, and computer networking gear. U.S.-origin goods were technically essential to ZTE’s

 IRGC-related, including its Hezbollah Division-related and Qods Force-related, projects and/or

 end-users as there were no suitable foreign-made substitutes for many of them.

        815.    The embargoed United States technology included but was not limited to servers,

 switches, routers, and component parts of cellular network infrastructure.

        816.    The United States Commerce Department has said that ZTE sold prohibited

 American electronics to Iran to help Iran build its telecom networks.

        817.    Just about every product that ZTE makes has some American components or

 software in it, such as microchips, modems, and Google’s Android operating system.

        818.    Public reports indicate ZTE helped funnel software and hardware from U.S. firms

 including Oracle, Microsoft, and Cisco Systems to the government of Iran in 2010 for use

 building what was described as a massive, nationwide surveillance system.



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        819.    Simply put, ZTE could not do the business it did with Hezbollah, the Qods Force,

 Regular IRGC, al-Qaeda, and the Taliban, and thereby cause the transfer of key technology to

 Hezbollah, the Qods Force, Regular IRGC, al-Qaeda, and the Taliban, including its Haqqani

 Network, without reaching into the United States to obtain that technology.

        820.    ZTE Corporation’s regular transfers of communications technologies, including

 American cell phones, to Hezbollah, the Qods Force, Regular IRGC, al-Qaeda, and the Taliban,

 including its Haqqani Network, relied upon American contacts, American transactions,

 American persons, and American service providers, and depended upon ZTE Corporation

 reaching into the United States, or causing agents, cut-outs, or affiliates to reach into the United

 States, in order to source the premium brand cell phones craved by al-Qaeda and the Taliban at

 all times after 9/11. On information and belief, from 2005 through present, ZTE Corporation

 regularly reached into the United States to acquire iconic American communication technologies

 for the Taliban’s benefit, including, but not limited to, numerous technological generations, e.g.,

 iPhone 5, iPhone 6, of: (i) Apple’s iPhone and iPad, from California, which were among the

 most popular cell phones in the Middle East after 2008; (ii) Motorola’s Two-Way Push-to-Talk

 Cell Phone, from Illinois, which was widely associated with Hezbollah and its proxies in the

 Middle East after the broad media coverage of their use during Hezbollah’s 2006 attack

 campaign against Israel; and (iii) Motorola’s Razr Cell Phone, from Illinois, which was one of

 the most popular cell phones in the Middle East before and after the iPhone.

        H.      The Huawei Defendants

                1.      Huawei Joined The Terrorist Conspiracy

                       i.       Through Agreements With Hezbollah, Qods Force, And
                                Regular IRGC Fronts, Including But Not Limited to TCI And
                                Exit40, Huawei Agreed To Join A Company-Wide Conspiracy



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        821.    Huawei and its subsidiaries—including Huawei USA, Huawei Device USA,

 Futurewei, and Skycom—joined the IRGC Conspiracy when they agreed to provide U.S.-origin

 goods and services, in violation of U.S. sanctions, to TCI and MTN Irancell, while knowing that

 TCI and MTN Irancell were fronts for Hezbollah the Qods Force, and Regular IRGC. Huawei

 and its subsidiaries—including Huawei USA, Huawei Device USA, Futurewei, and Skycom—

 agreement to join the Conspiracy was in the form of contracts that Huawei signed with TCI and,

 on information and belief, MTN Irancell and MCI. The IRGC Conspiracy was adopted by

 Huawei’s senior leadership and deployed throughout Huawei and its subsidiary Defendants.

        822.    On information and belief, Huawei and its subsidiaries, including Huawei USA,

 Huawei Device USA, Futurewei, and Skycom, furthered the IRGC Conspiracy when Huawei

 and its subsidiaries, including Huawei USA, Huawei Device USA, Futurewei, and Skycom,

 entered into an agreement to provide U.S.-origin goods and services, in violation of U.S.

 sanctions, to Exit40. This agreement in furtherance of the Conspiracy was in the form of

 contracts that Huawei signed with Exit40 and, on information and belief, MTN Irancell and

 MCI. This furtherance of the Conspiracy was adopted by Huawei’s senior leadership and

 deployed throughout Huawei and its subsidiaries, including Huawei USA, Huawei Device USA,

 Futurewei, and Skycom. Plaintiffs’ belief is based upon MTN Group’s retention of Exit40, which

 was for the same purpose and in response to the same IRGC instruction.

        823.    On information and belief, Huawei’s contracts with its IRGC-front Iranian

 counterparties all included pledges to assist with the “security” of Iran.

                      ii.       Huawei Co., Huawei USA, Huawei Device USA, Futurewei,
                                And Skycom Each Made Overt Acts In Furtherance Of The
                                Conspiracy

        824.    Each of the Huawei Defendants, Huawei Co., Huawei USA, Huawei Device

 USA, Futurewei, and Skycom, acted in furtherance of the Conspiracy by, inter alia: (a) sourcing
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 embargoed U.S.-origin technology useful to the terrorists for export to Hezbollah, the Qods

 Force, and Regular IRGC; (b) entering into contractswith U.S. suppliers to acquire the “\”

 technology essential to the terrorists; (c) stealing or otherwise misappropriating U.S.-origin

 technology and intellectual property from U.S. companies to deliver the same to Hezbollah, the

 Qods Force, and Regular IRGC; (d) developing and using third-party companies to both conceal

 and facilitate its business with IRGC-front companies; (e) commingling U.S.-origin technology

 with non-U.S.-origin technology in order to attempt to evade detection of the illicit transfers

 through the scheme that flowed aid to the IRGC; (f) providing U.S.-based financial services for

 its Iranian businesses; (g) lying to U.S. government authorities and financial institutions

 regarding the nature of their activities in Iran and their true IRGC-front counterparties; (h)

 destroying evidence related to the Conspiracy; (i) providing the services of a U.S. citizen for its

 Iranian subsidiary (Skycom) that concealed Huawei’s sourcing of U.S.-origin goods; and (g)

 moving one or more witnesses in the U.S. with knowledge of the scheme and Conspiracy outside

 of United States jurisdiction. Each act described above was in furtherance of the Conspiracy.

                2.       Huawei Knowingly Assumed A Financial, Logistical, And Operational
                         Role In The IRGC’s, Including its Hezbollah Division’s And Qods
                         Force’s, Terrorist Enterprise Against Americans Worldwide

        825.    Huawei bid on and secured contracts worth hundreds of millions of dollars to

 provide telecommunications and network infrastructure equipment and related services in Iran.

 Huawei knew that its counterparties were IRGC’s, including Hezbollah’s and the Qods Force’s,

 fronts, operatives, or agents. Huawei developed an elaborate system to fulfill those contracts

 using U.S.-origin items and services, which Huawei Co. did in collaboration with and with the

 assistance of Huawei USA, Huawei Device USA, Futurewei, and Skycom.

                       i.       Huawei Co., Huawei USA, Huawei Device USA, Futurewei,
                                And Skycom Knowingly Facilitated MTN Irancell And TCI
                                Acquisition of Embargoed American Technology, Logistical
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                                Support, And Technical Services, Which Flowed Through To
                                The IRGC’s Terrorist Proxies

        826.    Huawei Co.’s, Huawei USA’s (after its formation), Huawei Device USA’s (after

 its formation), Futurewei’s, and Skycom’s company-wide scheme to obtain U.S.-origin goods

 and evade export controls to provide telecommunications technology to Hezbollah, the Qods

 Force, and Regular IRGC lasted from as early as 2008 and as late as 2014. To be clear, although

 Huawei USA was not formed until at least 2011 and Huawei Device USA was not formed until

 at least 2010, Plaintiffs allege that Huawei USA, Huawei Device USA, and their employees

 participated in the scheme to advance the Conspiracy after their respective formations.

        827.    The technology and equipment Huawei sourced from inside the United States was

 subject to the embargo imposed and enforced by the United States Government. Huawei thus

 violated export controls designed to keep sensitive American technology out of the hands of

 Hezbollah, the Qods Force, and Regular IRGC.

        828.    Through this scheme, which last at least between January 2008 and January 2014,

 Huawei exported U.S.-origin items to Hezbollah, the Qods Force, and Regular IRGC without

 obtaining proper export licenses.

        829.    The Huawei scheme operated in the Eastern District of New York, the Central

 District of California, the District of Columbia, the District of Delaware, the District of New

 Jersey, the Eastern District of Texas, the Northern District of California, the Northern District of

 Illinois, the Northern District of Texas, the Southern District of California, the Southern District

 of New York, the Western District of New York, the Western District of Washington and

 elsewhere, including overseas.

        830.    To circumvent the U.S. embargo and advance its Conspiracy with Hezbollah, the

 Qods Force, and Regular IRGC Huawei devised a scheme, whereby Huawei would set up


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 subsidiaries disguised as unrelated Iranian or Syrian “partners” and use those subsidiaries to hide

 Huawei’s business with, and shipment of prohibited U.S. technology to, the IRGC’s, including

 Hezbollah’s and the Qods Force’s, fronts, agents, and operatives. Skycom, which was controlled

 by Huawei, was one of Huawei’s subsidiaries to serve as an Iranian “partner” in this scheme.

         831.    After a series of international publications in 2012 publicly revealed Huawei’s

 sale of prohibited equipment to Iran, Huawei issued statements denying its involvement in

 violations of Iranian sanctions, as well as its ownership and control of Skycom. Despite the

 media revelations, Huawei continued sending U.S.-origin goods and services to the IRGC’s,

 including Hezbollah’s and the Qods Force’s, fronts, agents, and operatives.

         832.    In 2018, a federal grand jury indictment against Huawei Co., Huawei Device,

 Huawei Device USA, Futurewei, Skycom, and Wanzhou Meng (“Meng”) in U.S. v. Huawei

 Technologies Co., Ltd., et al. (E.D.N.Y. Case No. 1:18-cr-00457-AMD) (the “Huawei Criminal

 Case”) was unsealed, revealing numerous criminal charges against the Huawei Defendants

 relating to their scheme to support Huawei’s global business interests, including its efforts to

 provide embargoed goods and services to Iran. As detailed in the Superseding Indictment filed

 on February 13, 2020, in the Huawei Criminal Case, Huawei, including its American

 subsidiaries, including on information and belief Huawei USA, Huawei Device USA, and

 Futurewei, engaged in a series of unlawful conduct in and/or targeting the United States to carry

 out its scheme. 269

         833.    As part of its international business model, Huawei engaged in business in

 countries subject to U.S., E.U. and/or U.N. sanctions, including Iran. This business, which



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    United States v. Huawei Technologies Co., Ltd., et al., No. 18-457 (S-3) (AMD), 2020 WL
 1319126 (E.D.N.Y. Feb. 13, 2020).

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 included shipping Huawei goods and services to end users in sanctioned countries, was typically

 conducted through local affiliates in the sanctioned countries, such as Skycom in Iran.

        834.    Even though the U.S. Department of the Treasury’s ITSR, 31 C.F.R. Part 560,

 proscribed the export of U.S.-origin goods, technology and services to Iran and the Government

 of Iran, Huawei operated Skycom as an unofficial subsidiary to obtain otherwise prohibited U.S.-

 origin goods, technology and services, including banking services, for Huawei’s Iran-based

 business while concealing the link to Huawei. Huawei could thus attempt to claim ignorance

 with respect to any illegal act committed by Skycom on behalf of Huawei, including violations

 of the ITSR and other applicable U.S. law, when providing U.S.-origin goods and services to

 Hezbollah, the Qods Force, and Regular IRGC.

        835.    At all relevant times, Skycom was owned and/or controlled by Huawei. In her

 Deferred Prosecution Agreement in the Huawei Criminal Case (dated September 22, 2021),

 Meng, Huawei Co.’s CFO and Deputy Chairwoman of its Board of Directors, and the daughter

 of its founder, admitted that between 2010 and 2014, (a) Huawei Co. controlled Skycom’s

 business operations in Iran, (b) Skycom was owned by Huawei Co., (c) all significant Skycom

 business decisions were made by Huawei Co., (d) Skycom’s country manager (for Iran) was a

 Huawei Co. employee, and (e) Huawei’s prior denials of its control of Skycom were incorrect.

        836.    Meng was the Secretary of Hua Ying, a Huawei Co. subsidiary, when Huawei

 caused it to transfer its Skycom shares to Canicula, which was controlled by Huawei. After the

 transfer, Meng joined Skycom’s Board of Directors, which was comprised of Huawei

 employees. Meng served on Skycom’s Board until April 2009. After her departure, Skycom’s

 Board members continued to be comprised of Huawei Co. employees. As of August 2012,

 Huawei included Skycom on a list of Huawei subsidiaries in Huawei Co. corporate documents.



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        837.    Huawei’s substantial efforts to circumvent U.S. sanctions and ensure a lucrative

 stake in the Iranian mobile network market is evidenced by its significant business with the

 largest (MCI) and second largest (MTN Irancell) Iranian mobile service providers, both of which

 are controlled by Hezbollah, the Qods Force, and Regular IRGC.

        838.    The success of MTN Irancell depended on its ability to source critical American

 technology and equipment for its systems and network, including, but not limited to, equipment

 from Sun Microsystems Inc., Oracle Corp., International Business Machines Corp., EMC Corp.,

 Hewlett-Packard Co., and Cisco Systems, Inc., that were used to provide such services as

 wiretapping, voicemail, and text messaging.

        839.    Huawei, including its U.S. subsidiaries Huawei USA, Huawei Device USA, and

 Futurewei, leveraged its relationships and contracts with U.S. companies and research and

 development institutions to access and unlawfully export American equipment and technology

 through the Skycom scheme.

        840.    For example, in 2020, Huawei produced internal company records from 2010

 evidencing its shipment of Hewlett-Packard equipment, including computer servers and

 switches, to MCI via Skycom, contrary to Huawei’s prior denials about violating applicable

 sanctions and its ownership and control over Skycom.

        841.    At the time this transaction occurred, Huawei had a business relationship with

 Hewlett-Packard that allowed Huawei to incorporate Hewlett-Packard products into Huawei

 systems. Huawei took advantage of this arrangement to export surreptitiously embargoed U.S.-

 origin equipment and technology to Iran. Huawei’s conduct was in violation of its distribution

 contract with Hewlett-Packard, which prohibited the sale of its products into Iran and required

 compliance with U.S. and other applicable export laws.



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        842.    Huawei’s internal company documents confirm that Huawei, including its U.S.

 subsidiaries Huawei USA, Huawei Device USA, and Futurewei, successfully procured and

 exported to Iran other U.S.-origin technology as well, including software made by Microsoft

 Corp, Symantec Corp, and Novell Inc. On information and belief, like it did with Hewlett-

 Packard, Huawei leveraged its relationships with these American companies to acquire and

 export U.S.-origin equipment and technology, in violation of its agreements with the American

 companies and U.S. law.

        843.    To further Huawei’s global business interests, including its desire to export U.S.-

 origin equipment or technology to MCI and/or MTN Irancell, Huawei, including its U.S.

 subsidiaries Huawei USA, Huawei Device USA, and Futurewei, misappropriated and/or reverse-

 engineered US-origin equipment and technology.

        844.    As revealed by the Department of Justice’s investigation, and subsequent

 indictment of Huawei Co., Huawei Device USA, and Futurewei for racketeering activity,

 Huawei and its subsidiaries engaged in a decades-long effort to misappropriate intellectual

 property, including from six U.S. technology companies, in an effort to grow and operate

 Huawei’s business. The misappropriated intellectual property included trade secret information

 and copyrighted works, such as source code and user manuals for internet routers, antenna

 technology and robot testing technology.

        845.    Huawei, including Huawei USA, Huawei Device USA, Skycom, and Futurewei,

 and others executed a scheme to operate and grow the worldwide business of Huawei and its

 parents, global affiliates, and subsidiaries through the deliberate and repeated misappropriation

 of intellectual property of companies in the United States for commercial use.




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        846.    The means and methods of the misappropriation included entering into

 confidentiality agreements with the owners of the intellectual property and then violating the

 terms of the agreements by misappropriating the intellectual property for Huawei’s own

 commercial use, recruiting employees of other companies and directing them to misappropriate

 their former employers’ intellectual property, and using proxies such as professors working at

 research institutions to obtain and provide the technology to Huawei and its subsidiaries.

        847.    As part of the scheme, Huawei launched a policy instituting a bonus program to

 reward employees who obtained confidential information from competitors. The policy made

 clear that Huawei employees, including employees of Huawei USA, Huawei Device USA, and

 Futurewei, who provided valuable information were to be financially rewarded by Huawei.

        848.    By misappropriating the intellectual property of the U.S. companies, Huawei

 received income directly and indirectly, including by benefitting from the sale of products

 containing stolen intellectual property to Hezbollah, the Qods Force, and Regular IRGC and

 saving on research and development costs, which income Huawei and its subsidiaries agreed to

 use to establish and operate the worldwide business of Huawei and its parents, global affiliates,

 and subsidiaries, including in the United States and Iran.

        849.    Huawei, including Huawei USA, Huawei Device USA, Skycom, and Futurewei,

 agreed to use the proceeds derived from the theft of U.S.-origin intellectual property to establish

 and operate the business of Huawei and its parents, global affiliates, and subsidiaries in the U.S.

 and abroad, including Iran.

        850.    Huawei, including Huawei USA, Huawei Device USA, Skycom, and Futurewei,

 agreed to benefit from the cost savings generated by stolen intellectual property to innovate more




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 quickly and to establish and operate the business of Huawei and its parents, global affiliates, and

 subsidiaries in the U.S. and abroad, including Iran.

        851.    Huawei USA’s, Huawei Device USA’s, and Futurewei’s theft of American

 technology, trade secrets, and intellectual property under this scheme were directed by, and for

 the benefit of, Huawei Co. and Huawei’s global business interests, including Huawei’s

 agreements with Hezbollah, the Qods Force, and Regular IRGC. For example, as revealed in an

 investigation conducted by the Permanent Select Committee on Intelligence for the U.S. House

 of Representatives, several current and former employees of Huawei USA provided information

 indicating that Huawei USA is managed almost completely by Huawei Co. in China.

        852.    Huawei Co. controlled and directed each of its American subsidiaries’

 participation in its scheme to source U.S.-origin goods and services for Hezbollah, the Qods

 Force, and Regular IRGC and each of its American subsidiaries provided Huawei different

 channels by which Huawei could obtain or misappropriate U.S.-origin goods and services.

        853.    According to Huawei’s public statements and disclosures, Huawei USA

 specializes in enterprise and network carrier business, Huawei Device USA focuses on the

 consumer business (e.g., handsets and routers), and Futurewei is Huawei’s research and

 development arm. Thus, by directing each of its American subsidiaries to participate in its

 scheme to source U.S.-origin technology for Hezbollah, the Qods Force, and Regular IRGC

 Huawei created a comprehensive system for maximizing its procurement and export of U.S.-

 origin goods and services.

        854.    Huawei’s scheme also included the provision of unlawful financial services to the

 IRGC’s, including Hezbollah’s and the Qods Force’s, fronts, operatives, and agents.




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        855.    In the Eastern District of New York and elsewhere, Huawei Co. and Skycom,

 together with others, conspired to cause the export, reexport, sale and supply, directly and

 indirectly, of banking and other financial services from the United States to Iran and the

 Government of Iran, without having first obtained the required OFAC license, contrary to Title

 31, C.F.R., Sections 560.203, 560.204 and 560.206.

        856.    For example, after Huawei’s Senior Vice President testified before U.S. Congress

 on September 13, 2012 that Huawei’s business in Iran had not “violated any laws and regulations

 including sanction-related requirements” and other Huawei officers repeated those

 misrepresentations to financial institutions, Huawei Co. and Skycom completed the following

 unlawful financial transactions in America, involving U.S. banks, and/or international financial

 institutions and their U.S. subsidiaries: $52,791.08 U.S.-dollar clearing transaction on July 24,

 2013, $94,829.82 U.S.-dollar clearing transaction on July 24, 2013, $14,835.22 U.S.-dollar

 clearing transaction on August 20, 2013, $32,663.10 U.S.-dollar clearing transaction on August

 28, 2013, and $118,842.45 U.S.-dollar clearing transaction on April 4, 2014.

        857.    Additionally, Huawei Co. and Skycom, together with others, knowingly and

 intentionally conspired to transport, transmit and transfer monetary instruments and funds,

 specifically wire transfers, from one or more places in the United States to and through one or

 more places outside the United States and to one or more places in the United States from and

 through one or more places outside the United States, with the intent to IEEPA. the

        858.    Huawei Co. repeatedly misrepresented to financial institutions that Huawei would

 not use the financial institution and its affiliates to process any transactions regarding Huawei’s

 Iran-based business. However, Huawei used a U.S. subsidiary of a global financial institution

 and other financial institutions operating in the United States to process U.S.- dollar clearing



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 transactions involving millions of dollars in furtherance of Huawei’s business with Hezbollah,

 the Qods Force, and Regular IRGC. Some of these transactions passed through this District.

         859.    As a result of Huawei’s scheme and misrepresentations, financial institutions

 unwittingly cleared hundreds of millions of dollars in transactions that violated U.S. sanctions

 against doing business with Iran.

         860.    On information and belief, despite scrutiny from the media, financial institutions,

 and governmental authorities, Huawei never ceased sourcing U.S.-origin goods and services to

 Hezbollah, the Qods Force, and Regular IRGC. In addition to sourcing the requested U.S.-origin

 products and services in contravention of U.S. law, Huawei aggressively pursued relationships

 with IRGC’s, including Hezbollah’s and the Qods Force’s, fronts, agents, and operatives to

 protect its lucrative business interests in Iran.

         861.    While many international vendors withdrew from the Iranian market to avoid

 violating sanctions, Huawei aggressively secured numerous contracts with both MTN Irancell

 and MCI to provide telecommunications equipment and services. As reported by the Wall Street

 Journal on October 27, 2011, Huawei secured numerous contracts with both MCI and MTN

 Irancell, and in doing so, agreed to carry out orders from, and support the interests of, Hezbollah,

 the Qods Force, and Regular IRGC. 270

         862.    The Wall Street Journal reported, in relevant part, that Huawei “filled the

 vacuum” after “Western companies pulled back from Iran after the government’s bloody

 crackdown on its citizens,” and thereby, Huawei “plays a role in enabling Iran’s state security

 network.” Id. The Wall Street Journal further reported that “a person familiar with Huawei’s




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   Steve Stecklow, Farnaz Fassihi, and Loretta Chao, Chinese Tech Giant Aids Iran, Wall St. J.
 (Oct. 27, 2011).
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 Mideast operations” said Huawei’s role included “overseeing parts of the network -- at MTN

 Irancell, which is majority owned by the government,” and that in 2009 Huawei “carried out

 government orders on behalf of its client, MTN Irancell, that MTN and other carriers had

 received to suspend text messaging and block the Internet phone service, Skype, which is

 popular among dissidents.” Id.

         863.    Huawei’s agreement to abide by the directives of Hezbollah, the Qods Force, and

 Regular IRGC was openly promoted by Huawei and the Chinese government. For example, in

 August 2009, two months after the mass protests began in Iran, the “website of China’s embassy

 in Tehran reprinted a local article under the headline, ‘Huawei Plans Takeover of Iran’s Telecom

 Market.’ The article said the company ‘has gained the trust and alliance of major governmental

 and private entities within a short period,’ and that its clients included ‘military industries.’” Id.

         864.    Huawei’s agreement to abide by the directives of the IRGC’s, including

 Hezbollah’s and the Qods Force’s, fronts, operatives, or agents, was not limited to its work with

 MTN Irancell. Huawei secured contracts with the largest Iranian mobile network provider MCI,

 which is controlled by TCI, by expressly agreeing to provide support for the IRGC’s, including

 Hezbollah’s and the Qods Force’s, “security” and intelligence objectives. Huawei also has direct

 contractual ties to TCI.

         865.    In fact, to secure its place in the Iranian market, Huawei has done “considerable

 business” with Zaeim Electronic Industries Co. (“ZEI”), an Iranian electronics firm, which is the

 “security and intelligence wing of every telecom bid.” ZEI launched its telecommunications

 division in 2000 in partnership with Huawei and have completed at least forty-six

 telecommunication projects together. ZEI’s website noted its clients include “the intelligence




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 and defense ministries, as well as the country's elite special-forces unit, the Islamic

 Revolutionary Guards Corps.” Id. (emphasis added).

        866.    On information and belief, ZEI was a front for Hezbollah, the Qods Force, and

 Regular IRGC. ZEI was responsible for “security” functions on more than one IRGC-facing

 project with respect to more than one Western customer, ZEI was closely linked to multiple

 IRGC addresses and persons, and independent observers concluded the IRGC ran it. Id.

        867.    Huawei also assisted the IRGC’s, including Hezbollah’s and the Qods Force’s,

 fronts, agents, and operatives by installing surveillance equipment, including surveillance

 equipment used to monitor, identify, and detain protestors during the anti-government

 demonstrations of 2009 in Tehran, Iran.

        868.    As reported by the Wall Street Journal, and similar to MTN’s agreement to assist

 with “security,” Huawei agreed as part of its bid to install MCI’s surveillance system to “support

 and deliver offline and real-time lawful interception,” and that, “for public security,” the service

 would allow “tracking a specified phone/subscriber on map.”

        869.    Huawei’s scheme to provide assistance to the IRGC’s, including Hezbollah’s and

 the Qods Force’s, fronts, operatives, and agents was not limited to the sourcing of U.S.-origin

 equipment and technology. For example, Skycom, on behalf of Huawei, employed a U.S. citizen

 in Iran. Huawei and Skycom were indicted for this unlawful provision of U.S.-based services.

        870.    Huawei modernized telecommunications technology used by Iranian entities that

 were controlled by IRGC, including Hezbollah and the Qods Force, fronts, thereby pumping

 additional revenue into the coffers of Hezbollah, the Qods Force, Regular IRGC, al-Qaeda, and

 the Taliban, including its Haqqani Network.




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        871.    Huawei Co., Huawei USA (after its formation), Huawei Device USA (after its

 formation), Futurewei, and Skycom provided substantial banned technology to Iranian

 companies that were controlled by Hezbollah, the Qods Force, and Regular IRGC and, thereby,

 Huawei’s illegally sourced technology ordinarily flowed through to Hezbollah. That banned

 technology was crucial to enabling terror. For example, terrorists were able to use cell phones

 and other telecommunication technology and software to perpetrate attacks on Americans.

        872.    Huawei also assisted the terrorist enterprise by serving as a long-term strategic

 partner for MTN Irancell and MCI, both of which were fronts for Hezbollah, the Qods Force,

 and Regular IRGC.

        873.    Like ZTE, on top of the millions of dollars that Huawei provided to Hezbollah,

 the Qods Force, and Regular IRGC via TCI (and MCI), Huawei also provided technical aid,

 including surveillance technology, to Hezbollah, the Qods Force, and Regular IRGC which

 facilitated terrorism. Huawei Co.’s, Huawei USA’s (after its formation), Huawei Device USA’s

 (after its formation), Futurewei’s, and Skycom’s technology transfer provided terrorists the

 ability to intimidate and coerce civilian populations.

        874.    For a terrorist group intent on targeting Americans traveling in tightly secured

 convoys or on heavily fortified bases, the technology that Huawei provided bolstered the

 terrorists’ ability to conduct successful surveillance and was vitally important to their ability to

 execute successful attacks, like the ones that killed and injured Plaintiffs and their loved ones.

 For these reasons, Huawei’s acts, which allowed terrorists access to modern telecommunications

 technology they could not otherwise obtain, facilitated intimidation, coercion, violent acts, and

 acts dangerous to human life.




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         875.    The ample evidence of Huawei’s own consciousness of guilt supports the

 inference that Huawei knew it was benefiting the IRGC’s, including Hezbollah’s and the Qods

 Force’s, terrorist enterprise.

         876.    As part of the scheme to operate and advance the business of Huawei, including

 its agreement with the IRGC, Huawei, Huawei Device USA, and Futurewei sought to avoid

 interference in their scheme by U.S. governmental bodies or other private actors by repeatedly

 making material misrepresentations as to their misappropriation and subsequent commercial use

 of intellectual property, as well as other criminal activity, including the nature and extent of

 Huawei’s business in Iran, to U.S. governmental bodies from whom Huawei, Huawei Device

 USA, and Futurewei sought regulatory authorization that would help grow Huawei’s U.S.-based

 business.

         877.    Huawei, Huawei Device USA, and Futurewei made similar material

 misrepresentations to financial institutions from whom the Defendants sought banking services

 to process Huawei’s and Skycom’s Iranian business transactions.

         878.    Huawei, Huawei USA, Huawei Device USA, and Futurewei made material

 misrepresentations to the U.S. government about the nature and the scope of Huawei’s business

 activities related to sanctioned countries such as Iran and North Korea, to avoid the economic

 and regulatory consequences of making truthful statements, including the restriction of Huawei

 from U.S. markets and business opportunities.

         879.    In or about 2017, Huawei Co. and Huawei Device USA became aware of the U.S.

 government’s criminal investigation of Huawei and its affiliates. In response to the

 investigation, Huawei and Huawei Device USA made efforts to move witnesses with knowledge

 about Huawei’s Iran-based business out of the United States and to the People’s Republic of



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 China, so that they would be beyond the jurisdiction of the U.S. government, and to destroy

 and/or conceal evidence located in the United States of Huawei’s Iran-based business.

                      ii.      Huawei Substantially Increased MTN Irancell And TCI
                               Revenue By Illicitly Sourcing Embargoed U.S. Technology,
                               Which Flowed Through To The IRGC’s Terrorist Proxies

        880.    From 2008 through at least 2014, Huawei Co.’s, Huawei USA’s, Huawei Device

 USA’s, Futurewei’s, and Skycom’s illicit transactions with MTN Irancell, the Bonyad

 Mostazafan, IEI, TCI (including MCI), Exit40, and/or the Akbari Fronts, provided millions,

 annually, in illicit funds, weapons, and operational support to Hezbollah, the Qods Force, and

 Regular IRGC which flowed to al-Qaeda and the Taliban and was used to attack Americans in

 Afghanistan, including Plaintiffs and their loved ones.

        881.    Huawei Co., Huawei USA, Huawei Device USA, Futurewei, and Skycom

 significantly increased the cash flowing through MTN Irancell and TCI, and ultimately being

 deployed by Hezbollah, the Qods Force, and Regular IRGC. They did so by illicitly supplying

 the state-of-the-art American technologies, like servers, to MTN Irancell and TCI, and by

 extension Hezbollah, the Qods Force, and Regular IRGC needed to attack Americans abroad.

                     iii.      Huawei Routed Bribes To The Key Procurement
                               Decisionmakers At MTN Irancell And TCI, Which Flowed
                               Through To The IRGC’s Terrorist Proxies

        882.    Huawei Co. has an extensively documented record of paying bribes around the

 world in order to win lucrative procurement contracts. Huawei has been credibly accused of

 procurement-related corruption in, inter alia, Namibia.

        883.    Huawei Co. has pursued an integrated global sales strategy, under which one may

 infer that Huawei Co. followed the same, or a substantially similar, bribery tradecraft with

 respect to similar “pitches” for other state-owned telecom companies.



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        884.    According to the Organized Crime and Corruption Reporting Project

 (“OCCRP”), Huawei Co.’s “going rate” for bribing decision-makers in the procurement contract

 setting appears to be at least approximately one percent (1%) of contract value.

        Huawei appears to have paid large sums to a former Serbian state telecom
        executive through an offshore shell company.

        The Chinese tech giant Huawei signed deals to make large payments to two men
        close to Serbia’s state telecommunications company, using offshore companies
        that financial crime experts say raise red flags for corruption.

        One of these men, former Telekom Srbija executive Igor Jecl, appears to have
        received over $1.4 million in contracts, dividends, loans, consulting fees, and an
        apartment from an offshore company that was paid by Huawei for consultancy.
        Neither offshore company that dealt with Huawei has a public track record of
        doing consulting work, or any business at all.

        “It is standard with bribery and corruption to dress them up as consultancy,” said
        Graham Barrow, an expert on financial crime.

        Although OCCRP has not uncovered evidence that the payments were improper,
        they were made over a period of time when Huawei was doing business in Serbia.
        In 2016, it landed a 150-million-euro deal to upgrade Serbia’s
        telecommunications infrastructure. 271

        885.    On information and belief, from 2008 through 2018, Huawei Co. caused the

 payment of at least several million dollars, denominated in U.S. Dollars, to one or more officers,

 agents, or directors of MTN Irancell, TCI, and/or MCI.

                       iv.     The Huawei Defendants Routed “Free Goods” To The Key
                               Procurement Decisionmakers At MTN Irancell And TCI,
                               Which Flowed Through To The IRGC’s Terrorist Proxies

        886.    Huawei Co. has a documented history of making a species of “free goods”

 payment – giving something away at below market pricing to obtain a collateral benefit.




 271
    Stevan Dojčinović and Vesna Radojević, The Pandora Papers: Chinese Tech Giant Huawei
 Had Secret Offshore Contracts With Men Linked to Serbian State Telecom Company, Organized
 Crime and Corruption Reporting Project (Oct. 25, 2021), https://tinyurl.com/26n3rayt.
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        887.    On information and belief, Huawei Co. has pursued a similar “free goods” bribery

 strategy through the sale of below-market-priced technologies to its IRGC-affiliated customers.

                3.       Huawei Knowingly Assumed A Financial, Logistical, And Operational
                         Role In The Taliban’s, Including The Haqqani Network’s, Terrorist
                         Enterprise In Afghanistan, Directly And Indirectly Financing And
                         Arming IRGC Proxy Attacks In Afghanistan And Iraq

        888.    Huawei operated lucrative businesses in post-invasion Afghanistan by servicing a

 broad array of customers there. To increase their profit margins by redirecting attacks away from

 their business interests – and to intentionally assist the Taliban’s effort to drive Americans out of

 Afghanistan – Huawei knowingly paid protection money to the Taliban, including its Haqqani

 Network. When Huawei did so, Huawei knowingly assumed a financial, logistical, and

 operational role in the Taliban’s, including the Haqqani Network’s, terrorist enterprise in

 Afghanistan and beyond by directly and indirectly routing protection payments to these terrorists

 in cash and “free goods,” including secure American cell phones.

        889.    Huawei has become one of the world’s most valuable communications technology

 manufacturers by providing a comprehensive suite of communications technologies services to

 customers in high-risk geographies from a counter-terrorism perspective, including geographies

 where Hezbollah, the Qods Force, and Regular IRGC and IRGC proxies al-Qaeda and the

 Taliban, including its Haqqani Network, raised and moved money to facilitate terrorist attacks

 through protection payments, procurement corruption, “free goods” payoffs, payments routed

 through consultants, and similar schemes that depended upon complicit corporate partners.

        890.    Huawei followed that model in Afghanistan, where Huawei has continuously

 operated for decades.

        891.    For example, in 2001, “India's intelligence agencies” “placed” “the Chinese

 telecommunications equipment maker Huawei Technologies Inc.[’s] Indian operations on a


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 watch list for alleged business dealings with the Taliban” after “Indian government” concluded

 “that Huawei India allegedly helped supply communications surveillance equipment to Taliban

 forces in Afghanistan.” 272

          892.   Huawei’s willingness to directly partner with the Taliban, continued even after al-

 Qaeda and the Taliban had launched their nationwide campaign against Americans in

 Afghanistan after 9/11. Indeed, Huawei was a preferred partner of the Haqqani Network in

 Pakistan and Afghanistan because Huawei regularly paid the amount requested by the Taliban.

 In 2005, for example, the Economic Times (of India) reported how “[a] western multinational

 telecom company executive was being badgered by a senior bureaucrat to set up a full-fledged

 mobile network in Jammu and Kashmir,” which were two Pakistani hotbeds for the Syndicate:

          Given the security environment …, and kamikaze not exactly being the guiding
          philosophy of his [western multinational telecom] company, he had to decline the
          offer but managed to come up with what he thought was a viable alternative.
          Since a working relationship with the militants and the Taliban is an essential
          prerequisite for sustaining operations in the state, why don't you ask Huawei to
          take on the task? Well, why not? After all, the [Indian] government has been
          claiming that Huawei Technologies, the Chinese telecom major, has had links
          with the Taliban when they ran Afghanistan. 273

          893.   From 2006 through 2019, Huawei sold products to Afghan telecommunications

 operators, e.g., MTN Afghanistan, which was MTN’s subsidiary in Afghanistan, which were

 manufactured by the Huawei Defendants.

          894.   While Huawei was achieving rapid growth in Afghanistan, the communications

 sector provided a critical source of financing for the Taliban, including its Haqqani Network, in

 the same manner as it did for Defendants ZTE and MTN. Huawei’s payments mirrored the



 272
   K.C. Krishnadas, India: Chinese Telecom Firm Supplied Taliban, Electronic Engineering
 Times (December 17, 2001), 2001 WLNR 3069135.
 273
       Economic Times (India), Satyajit Ray Who? (Sept. 20, 2005), 2005 WLNR 29155896.
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 protection money delivered by ZTE and MTN. Just as the Taliban raised “taxes” from

 international contractors doing business in Afghanistan, so too did it levy similar “taxes” on “the

 big telecom companies” like Huawei. 274

           895.   Huawei’s services in Afghanistan required Huawei work in geographies that were

 controlled or contested by the Taliban, including its Haqqani Network, in which Huawei paid

 protection payments as a cost of doing business.

           896.   Huawei’s sales to its Afghan customers depended upon Huawei personnel

 successfully driving large truck convoys containing Huawei’s lucrative Afghan-customer-bound

 goods through Taliban, including Haqqani Network, controlled or contested geographies in

 Pakistan and Afghanistan.

           897.   Huawei paid the money as protection: Huawei decided that the cheapest way to

 shield their projects from attack was to pay the Taliban, including its Haqqani Network to leave

 them alone and instead attack other targets – like Plaintiffs and their family members. Similar

 payments were pervasive throughout Afghanistan and supplied the Taliban with an important

 stream of financing to fund their terrorist attacks across the country.

           898.   The Taliban, including its Haqqani Network, conveyed its protection-money

 demands to Huawei via Night Letters similar the ones the Taliban sent to ZTE and MTN.

           899.   Huawei was a particularly aggressive practitioner of protection payments. Rather

 than invest in expensive security for shipments, Huawei purchased cheaper “security” by buying

 it from the Taliban, including its post-FTO-designation Haqqani Network.

           900.   Huawei negotiated its protection payments in direct discussions between Huawei

 Afghanistan’s security department and Taliban, including Haqqani Network, commanders.



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       Ruttig, The Other Side at 20.
                                                 273
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        901.    Like other contractors in Afghanistan, Huawei generally paid, as protection to the

 Taliban (including its Haqqani Network), at least ten percent (10%) of its contract budget – and,

 on information and belief, much more than this – on any contract in which Huawei, including

 any Huawei affiliate or contractor, provided services to any customer in Afghanistan, since the

 Taliban controlled or contested every geography in which Huawei worked.

        902.    Huawei’s practice of making protection payments to the Taliban extended to the

 Haqqani Network. From at least 2008 through 2017, Huawei operated infrastructure projects

 sites, and/or sold communications technology products to customers (and therefore transported

 lucrative commodities through territory) in Afghanistan that was controlled by the Haqqani

 Network, and Huawei purchased security for those project sites and shipments by paying the

 Haqqani Network. The Haqqani Network’s chief financial operative, Nasiruddin Haqqani,

 oversaw those payments, and they typically occurred on a semi-annual basis, and the Haqqani

 Network’s overall involvement in the scheme was ultimately supervised by Sirajuddin Haqqani,

 who was at all times a dual-hatted al-Qaeda/Taliban terrorist.

        903.    Huawei keyed Huawei’s rapid growth in Afghanistan by sponsoring a vast stream

 of payoffs to the Haqqani Network from 2006 through today. Under Sirajuddin Haqqani’s

 leadership, as executed by his immediate family members, the Haqqani Network was responsible

 for collecting “taxes” from Afghanistan’s telecom companies, which were the single largest

 (legal) industry and tax base in Afghanistan – and thus a key source of funding and power for the

 Taliban and al-Qaeda, both of which were effectively led by Sirajuddin Haqqani.

        904.    The logic behind Huawei’s payoffs to the Haqqani Network matched the logic

 motivating Huawei’s joint venture with the IRGC. Huawei’s leadership intended to harm

 American interests in Afghanistan (like Iraq), and supporting the Taliban allowed them to do so.



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 Huawei’s decision to route monthly protection payments to al-Qaeda (via Sirajuddin Haqqani

 and his immediate family members) and the Taliban was made so that Huawei would not face

 the risk that terrorists commanded by Sirajuddin Haqqani would destroy some of Huawei’s

 shipments. Ordinarily, the going protection payment rate was usually around $500 to $2,000 per

 truck per convoy. In some areas, Huawei caused payments to be made to local Taliban,

 including Haqqani Network, commanders. In other places, where Huawei operated in a Taliban-

 controlled environment, the payments would have to be sent to the Taliban’s Quetta Shura for

 southern Afghanistan, e.g., Helmand, or the Taliban’s Miram Shah Shura for eastern

 Afghanistan, e.g., Paktia (Sirajuddin was involved in the former and led the latter).

        905.    By 2006, the Taliban, including its Haqqani Network, prized the acquisition of

 Western communications technologies, including American-made cell phones, that were

 “washed” through the IRGC or one of its corporate partners, like Huawei.

        906.    From 2006 through 2021, Huawei also made protection payments to the Taliban,

 including its Haqqani Network, in the form of “free goods” – in particular, free communications

 technologies like cell phones – as an alternative to paying the terrorists in cash. When Huawei

 did so, Huawei directly provided to the Taliban, including its Haqqani Network, a broad range of

 communications technologies including, but not limited to, American mobile phones such as

 American-made Motorola phones, which Huawei reached into the U.S. to specifically acquire for

 the purpose of transferring such technologies to the IRGC and its proxies, including the Taliban.

        907.    On information and belief, Huawei transferred millions of U.S. Dollars’ worth of

 American communications technologies, including more than a thousand (1,000) “free goods”

 black market American-made cell phones to the Taliban, including its Haqqani Network, which




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 Huawei acquired from the United States and delivered to the Taliban, including its Haqqani

 Network, each year from 2006 through 2021.

           908.   Huawei’s transfer of free, and illicitly sourced, communications technologies,

 including technologies that Huawei sourced from the United States, as a means to bribe the

 Taliban, including its Haqqani Network, comports with Huawei’s long-standing embrace of “free

 goods” as a core, decades-long, global strategy to route bribes to recipients.

           909.   U.S. military and intelligence officials have publicly confirmed Plaintiffs’

 allegations against Huawei. For example, on June 8, 2012, Business Insider confirmed – citing

 American “military sources” and “former and current intelligence sources” – that that “China

 [was] likely to remain an aggressive and capable collector of sensitive U.S. economic

 information and technologies.” 275 Thus, “[a]nother concern raised by [U.S. military] sources

 [was] that Huawei and the other Chinese telecommunications companies [i.e., ZTE] also

 provide[d] technology to Iran and the Taliban.” Id. Indeed, “[a]ccording to sources, Iran’s

 security network relie[d] on Huawei technology.” Id.

           910.   When Huawei provided free communications technologies to the Taliban,

 including black market American cell phones, Huawei provided the terrorists a cash equivalent

 that sponsored tremendous violence. At a going rate of $2,000 per black market cell phone, for

 example, the value of Huawei’s illicit phones supplied to the Taliban, including its Haqqani

 Network, delivered at least $2 million per year in value to the Taliban.

           911.   When Huawei acquired and transferred free communications technologies to the

 Taliban, including black market American cell phones, from the United States and delivered

 such technologies to the Taliban, including its Haqqani Network, Huawei provided devastating



 275
       Business Insider, supra note 142.
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 operational and logistical assistance to the Syndicate in addition to the financial value of such

 goods through the same operational and logistical benefits that such black market

 communications technologies, including American cell phones, accorded to terrorists worldwide.

        912.    Huawei also directly aided al-Qaeda when Huawei transferred cash and free

 goods, including the above-described communications technologies and black market American

 cell phones, to the Haqqani Network because Sirajuddin Haqqani and his immediate family

 members, who were responsible for collecting protection payments from telecom companies like

 Huawei, were also members of al-Qaeda, and thus Huawei funded and logistically supplied al-

 Qaeda when Huawei routed cash and free goods protection payments to the Haqqani family.

        913.    Huawei’s overall payments to the Taliban, including its Haqqani Network,

 reached millions of dollars in value in cash and “free goods” payments of communications

 technologies, including black market American cell phones each year from 2006 through the

 present. At that rate, the Huawei Defendants caused at least tens of millions in U.S. Dollar-value

 in cash and “free goods” to flow through to the Taliban, including its Haqqani Network, from

 2006 through the present, which furthered the IRGC Conspiracy to attack Americans in

 Afghanistan and directly aided the IRGC proxies who committed such attacks, i.e., al-Qaeda and

 the Taliban through attacks committed by joint al-Qaeda/Taliban cells and/or attacks committed

 by the Taliban that were planned and authorized by al-Qaeda.

                4.      Huawei’s Assistance To Hezbollah, The Qods Force, Regular IRGC,
                        Al-Qaeda, And The Taliban, Comports With Huawei’s Historical
                        Business Practices In International Markets

        914.    Like MTN and ZTE, Huawei’s conduct reflected a willingness to support

 America’s enemies and engage in illicit financial transactions as a way to increase profits in Iran.

 The same calculation pervaded Huawei’s other conduct throughout the world. Huawei’s other



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 conduct further demonstrates its pattern and practice of transacting with violent actors to increase

 Huawei revenue.

        915.    Huawei’s illicit transactions concerning North Korea demonstrates Huawei’s

 deliberate support for terror.

        916.    On or about September 13, 2012, a Huawei representative testified before U.S.

 Congress, testifying that Huawei was not involved in North Korean business interests after 2009.

 As the Superseding Indictment notes, however, “Huawei was involved in business activities in

 North Korea, including numerous telecommunications projects, beginning no later than 2008.”

        917.    Internal Huawei documents obtained by the Department of Justice referred to the

 geographic location of projects in North Korea with the code “A9”—Huawei’s code for North

 Korea. Huawei employees concealed Huawei’s involvement in projects in North Korea.

        918.    For example, shipping instructions provided by Huawei to a supplier in 2013

 included the instruction that, for shipments to “A9/NK/NORTH KOREA,” there should be “No

 HW [HUAWEI] logo,” indicating that Huawei’s corporate logo should not be included on

 shipments destined for North Korea.

        919.    Plaintiffs’ allegations concerning Huawei’s willingness to pay bribes and

 protection payments, in cash and free goods, are also consistent with Huawei’s recent history, as

 documented by press reports concerning allegations of “rampant corruption” and programmatic

 bribery by Huawei around the world for decades. 276



 276
     See, e.g., Technode.com, Another Corruption Scandal Hits Huawei With Its Top Executive
 Suspected Of Bribery (Dec. 26, 2017) (“The executive vice president of Huawei’s consumer
 business group Greater China, Teng Hongfei, has been taken away by the public security… Once
 a recipient of the highest management honor granted by Huawei, Teng is under investigation for
 corruption charges… Teng’s fall from grace might have been a result of the rampant corruption
 inside China’s direct-to-consumer sales, in which retailers often bribe the manufacturers… This


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                    5. Huawei’s Assistance To Hezbollah, The Qods Force, Regular IRGC,
                       Al-Qaeda, And The Taliban Had A Substantial Nexus To The United
                       States

        920.    Huawei’s assistance to Hezbollah, the Qods Force, Regular IRGC, al-Qaeda, and

 the Taliban, including its Haqqani Network, relied on significant contacts with the United States.

 Huawei orchestrated both those U.S. contacts and Huawei’s violation of U.S. law, including, on

 information and belief, by and through coordination with Skycom, Huawei Device USA, Huawei

 USA, and Futurewei. Like MTN and ZTE, Huawei employed a top-down management structure

 in which Huawei centralized operational control over the functions performed by its subsidiaries.

        921.    Huawei’s decision to assist Hezbollah, the Qods Force, and Regular IRGC and by

 extension their proxies, al-Qaeda and the Taliban, had a substantial nexus to the United States for

 the reasons explained below.

                      i.        Huawei’s Conduct Targeted the United States

        922.    Huawei’s provision of material support to Hezbollah, the Qods Force, Regular

 IRGC, al-Qaeda, and the Taliban, including its Haqqani Network, was expressly aimed at the

 United States. At all relevant times, Huawei knew that Hezbollah, the Qods Force, Regular



 isn’t the first time Huawei has found itself in the midst of a corruption scandal. This year started
 with a bang when six top middle and senior leaders from the consumer business group were
 accused of giving out internal information…One of the arrested employees was the chief
 architect of Huawei’s flagship P6 Wu Bin… In 2012, Huawei also found itself in trouble in
 international waters when Huawei’s Xiao Chunfa was sentenced by an Algerian court along with
 two other staffers from Chinese smartphone maker ZTE. The trio was tried in absentia for a
 bribery scandal… They were sentenced to ten years in prison…”), online at
 https://tinyurl.com/2a9nnsas (last accessed Apr. 3, 2022); Wall St. J., Huawei Internal Probe
 Finds Possible Evidence of Corruption; Internal Probe Finds 116 Employees May Have Been
 Involved in Corruption (Sept. 11, 2014) (“Huawei Technologies Co. said [] that a recent internal
 investigation has found that 116 of its employees may have been involved in corruption… The
 Chinese telecommunications equipment maker … didn’t provide any further details about the
 employees in question or the bribery allegations… Chinese media reported last month that
 Huawei found possible evidence of corruption cases involving 116 employees and hundreds of
 millions of yuan in bribery.”).
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 IRGC, al-Qaeda, and the Taliban, were targeting the United States. Hezbollah, the Qods Force,

 Regular IRGC, al-Qaeda, and the Taliban, did not conduct an indiscriminate terrorist campaign

 that merely injured Americans by chance. Instead, Hezbollah, the Qods Force, Regular IRGC,

 al-Qaeda, and the Taliban, directed attacks at Americans with the specific intent of killing

 Americans in particular – so that they could inflict pain in the United States and influence U.S.

 policy. Hezbollah’s, the Qods Force’s, Regular IRGC’s, al-Qaeda’s, and the Taliban’s, including

 its Haqqani Network’s, ultimate, shared, publicly stated goal was to effect a withdrawal of

 American forces from Afghanistan and the broader Middle East. Each terrorist attack that killed

 and injured Plaintiffs was part of that campaign of anti-American terrorism.

        923.    Huawei’s decision to reach into the United States, including by coordinating with

 Huawei USA, Huawei Device USA, and Futurewei, to obtain embargoed technology to aid the

 IRGC’s, including Hezbollah’s and the Qods Force’s, terrorist enterprise was also expressly

 aimed at the United States. Like MTN and ZTE, Huawei knew, based on conversations with

 IRGC, including Hezbollah and the Qods Force, agents, that Hezbollah, the Qods Force, and

 Regular IRGC viewed Huawei’s assistance as vital to Iranian national “security,” which Huawei

 understood to inherently involve the promotion of terrorist violence against Americans around

 the world as part of Hezbollah’s, the Qods Force’s, and Regular IRGC’s effort to export its

 Islamic Revolution and drive the U.S. out of Afghanistan.

        924.    On information and belief, like MTN and ZTE, Huawei also knew, based on

 conversations with U.S. officials, that it was assuming an active role in a Hezbollah, Qods Force,

 and Regular IRGC plot to develop cash flow and source vital dual-use components for their

 terrorist proxies, including al-Qaeda and the Taliban. Huawei further knew of the critical

 importance that communications and computing technology plays for terrorists.



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        925.    When Huawei Co., including by coordinating with Skycom, Huawei USA,

 Huawei Device USA, and Futurewei, conducted U.S.-based financial transactions denominated

 in U.S. dollars and sourced embargoed technology that the United States had publicly declared

 could benefit IRGC, including Hezbollah and the Qods Force, efforts to kill Americans, they

 intentionally helped arm terrorists they knew were targeting the United States. On information

 and belief, Hezbollah, the Qods Force, and Regular IRGC made Huawei agree to a similar

 contractual pledge as the one in which MTN agreed to aid Iran’s “defensive, security, and

 political” interests outside of Iran. On information and belief, at all times, Huawei knew or

 recklessly disregarded that “security” was a euphemism for IRGC, including Hezbollah and the

 Qods Force, terrorist operations outside of the territorial borders of Iran. When Huawei Co.,

 Huawei USA, Huawei Device USA, Futurewei, and Skycom executed financial transactions and

 obtained the technology requested by its IRGC, including Hezbollah and the Qods Force,

 partners, each took actions in the United States and targeted at United States by helping the

 terrorists improve their bombs, rockets, communications, and intelligence gathering.

        926.    Although Huawei’s primary motivation for assisting Hezbollah, the Qods Force,

 Regular IRGC, al-Qaeda, and the Taliban was financial, Huawei also intended to harm

 Americans in Afghanistan. One reason Huawei cooperated with Hezbollah, the Qods Force, and

 Regular IRGC was to align itself with their effort to drive Americans out of Afghanistan.

        927.    Like MTN and ZTE, Huawei intended to harm Americans because it decided that

 was the necessary price of maintaining a good relationship with Hezbollah, the Qods Force, and

 Regular IRGC who were explicit, that they expected their partners to provide significant help in

 fighting against U.S. forces in particular. Thus, for Huawei to achieve its business objectives

 vis-à-vis Hezbollah, the Qods Force, and Regular IRGC fronts who controlled TCI (including



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 MCI) and MTN Irancell – both of which Huawei serviced – Huawei needed to disassociate itself

 from the United States and prove that it could deliver value to the IRGC’s terrorist campaign

 against U.S. forces in Afghanistan.

           928.   On information and belief, like MTN, Huawei’s agreement to aid Hezbollah, the

 Qods Force, and Regular IRGC also fulfilled an obligation by Huawei, like MTN, to engage in

 “defensive, security and political cooperation” with its IRGC, including Hezbollah and Qods

 Force, counterparties. 277 Such cooperation offered Huawei added motivation for Huawei’s illicit

 transactions with Hezbollah, the Qods Force, and Regular IRGC counterparties. Huawei’s

 support for Hezbollah, the Qods Force, and Regular IRGC did not merely grow Huawei’s profits

 by allowing it to obtain lucrative business from MTN Irancell and TCI (and MCI) in the first

 instance; it also benefited Huawei’s business by inflicting harm on an enemy (the United States)

 of one of Huawei’s most important business partners (Hezbollah, the Qods Force, and Regular

 IRGC) in order for Huawei to curry Iranian favor to gain market share for a potentially uniquely

 lucrative telecom and communications market (Iran).

           929.   Plaintiffs’ allegations also comport with the widespread view of relevant U.S.

 government officials from the executive and legislative branches. For starters, Huawei and its

 subsidiaries are subject to multiple criminal proceedings for their unlawful conduct with respect

 to Iran, including the Huawei Criminal Case.

           930.   Huawei’s scheme to source U.S.-origin technology for Hezbollah, the Qods

 Force, and Regular IRGC also serves and/or conforms to the People’s Republic of China’s

 broader security and economic interests of competing against the U.S.




 277
       Exhibit A, MTN Group-Irancell Consortium Letter Agreement § 8.
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        931.    For example, the Chinese government arrested and jailed several Huawei

 whistleblowers who claimed that Huawei’s business in Iran is an “open secret” and made some

 of these whistleblowers sign statements pledging to not go against Huawei’s public position

 denying the nature and scope of its Iranian business.

        932.    Moreover, Huawei previously worked with Panda International Information

 Technology Co., Ltd. (“Panda Int’l”), a Chinese-state-owned firm, in their joint efforts to help

 build and maintain North Korea’s wireless network using embargoed goods, and to conceal

 Huawei’s sanctions-busting conduct. Huawei also partnered with Panda in Iran. Thus, Huawei’s

 prior conduct reflects its deference to, and support for, the broader security and economic

 objectives of the People’s Republic of China.

                     ii.       Huawei’s Conduct Relied on American Contacts

        933.    Huawei reached into the United States to acquire U.S.-sourced embargoed

 technology that it then provided to MTN Irancell, MCI, and, on information and belief, TCI.

        934.    Huawei Co., including but not limited to in coordination with Huawei Device

 USA, Huawei USA, Futurewei, and Skycom, reached into the United States to support

 Hezbollah, the Qods Force, Regular IRGC, al-Qaeda, and the Taliban, including its Haqqani

 Network, when it obtained technology and vital operational support from the U.S. Huawei

 supplied technology and operational support for TCI, MCI, and MTN Irancell through various

 U.S. agents, including but not limited to Huawei Device USA, Huawei USA, and Futurewei. In

 doing so, Huawei tied its unlawful conduct to the United States by obtaining irreplaceable, best-

 in-class, and embargoed U.S.-supplied dual-use technology to aid Hezbollah’s, the Qods Force’s,

 and Regular IRGC’s terrorist enterprise. This U.S. contact was closely related to Huawei’s

 support for Hezbollah, the Qods Force, Regular IRGC, al-Qaeda, and the Taliban.



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         935.    Huawei relied on U.S.-made materials as components for its products for Iran.

 U.S.-origin goods were technically essential to Huawei’s IRGC-related, including its Hezbollah

 Division-related and Qods Force-related, projects and/or end-users as there were no suitable

 foreign-made substitutes for many of them.

         936.    To obtain other U.S.-origin goods for Hezbollah, the Qods Force, and Regular

 IRGC Huawei Co., along with Huawei USA, Huawei Device USA, and Futurewei

 misappropriated trade secrets and intellectual property in the United States from American

 companies and/or companies with American offices.

         937.    To source U.S.-origin goods and services, including financial services, to the

 IRGC’s, including Hezbollah’s and the Qods Force’s, fronts, operatives, and agents, Huawei Co.,

 along with Skycom, Huawei USA, Huawei Device USA, and Futurewei conducted financial

 transactions through the U.S. and with the use of U.S.-based financial institutions or the U.S.

 subsidiaries of international financial institutions.

         938.    Huawei, including Huawei USA, Huawei Device USA, and Futurewei agreed to

 conceal their unlawful conduct in the U.S. related to its support for Huawei’s Iranian business

 interests, including its contracts with both MTN Irancell and MCI. Thus, Huawei, including its

 American subsidiaries, destroyed documents in the U.S., deleted electronically stored

 documents, and directed its employees to make false statements to U.S. governmental authorities

 and financial institutions.

         939.    The embargoed United States technology included but not limited to servers,

 switches, routers, and component parts of cellular network infrastructure.

         940.    Just about every product that Huawei makes has some American components or

 software in it, such as microchips, modems, and Google’s Android operating system.



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        941.    Public reports indicate Huawei helped funnel software and hardware from U.S.

 firms including Hewlett-Packard, Microsoft Corp, Symantec Corp, and Novell Inc. to the

 government of Iran between 2008 and 2014.

        942.    Huawei Co. also unlawfully arranged a U.S. citizen to provide technology

 services in Iran for Skycom. Simply put, Huawei could not do the business it did with

 Hezbollah, the Qods Force, Regular IRGC, al-Qaeda, and the Taliban, and thereby cause the

 transfer of key technology to Hezbollah, the Qods Force, Regular IRGC, al-Qaeda, and the

 Taliban, including its Haqqani Network, without reaching into the United States to obtain the

 required U.S.-origin goods and services and to conceal and shield its scheme to do so.

        943.    Huawei Co.’s regular transfers of communications technologies, including

 American cell phones, to Hezbollah, the Qods Force, Regular IRGC, al-Qaeda, and the Taliban,

 including its Haqqani Network, relied upon American contacts, American transactions,

 American persons, and American service providers, and depended upon Huawei Co. reaching

 into the United States, or causing agents, cut-outs, or affiliates to reach into the United States, in

 order to source the premium brand cell phones craved by al-Qaeda and the Taliban at all times

 after 9/11. On information and belief, from 2005 through present, Huawei Co. regularly reached

 into the United States to acquire iconic American communication technologies for the Taliban’s

 benefit, including, but not limited to, numerous technological generations, e.g., iPhone 5, iPhone

 6, of: (i) Apple’s iPhone and iPad, from California, which were among the most popular cell

 phones in the Middle East after 2008; (ii) Motorola’s Two-Way Push-to-Talk Cell Phone, from

 Illinois, which was widely associated with Hezbollah and its proxies in the Middle East after the

 broad media coverage of their use during Hezbollah’s 2006 attack campaign against Israel; and




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 (iii) Motorola’s Razr Cell Phone, from Illinois, which was one of the most popular cell phones in

 the Middle East before and after the iPhone.

 VII.   DEFENDANTS’ TRANSACTIONS WITH FRONTS, OPERATIVES, AND
        AGENTS OF HEZBOLLAH, THE QODS FORCE, REGULAR IRGC, AL-
        QAEDA, AND THE TALIBAN CAUSED FUNDS, ARMS, LOGISTICAL AID,
        AND OPERATIONAL SUPPORT TO FLOW THROUGH TO AL-QAEDA AND
        TALIBAN TERRORISTS AND AIDED THEIR ATTACKS AGAINST
        AMERICANS IN AFGHANISTAN

        A.      Hezbollah, The Qods Force, And Regular IRGC Sourced Weapons, Raised
                Funds, And Obtained Logistical And Operational Support Through Illicit
                Corporate Transactions In The Telecom, Communications, And IT Sectors

        944.    As western sanctions clamped down on Iranian terror fronts, Hezbollah, the Qods

 Force, and Regular IRGC responded by expanding their efforts to obtain funds, purchase

 weapons, and source operational support through illicit transactions in the U.S., U.A.E., and Iran.

        945.    In so doing, Hezbollah, the Qods Force, and Regular IRGC relied on transactions

 with multinational corporations, like MTN Group, ZTE Corp., and Huawei Co., who operated in

 key sectors for the dual-use technologies that were essential to the IRGC’s, including

 Hezbollah’s and the Qods Force’s, communications, surveillance, bombmaking, rocket attacks,

 intelligence gathering, and project management – everything a transnational terrorist group needs

 to coordinate attacks against Americans in the Middle East.

        946.    Sadegh Zibakalam, a professor of political science at the University of Tehran,

 explained to the BBC in 2012 that “[d]uring the past decade Iran has come up with various ways

 of getting around international sanctions.” BBC News, Iran Mobile Operator Irancell ‘Secures

 US Technology’ (June 6, 2012). Per the BBC, Professor Zibakalam “said Iranian companies had

 been able to source many American … goods through international markets, especially

 companies based in Dubai … He added that international companies have been eager to assist

 Iran with equipment it needs.” Id.


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        947.    Hezbollah, the Qods Force, and Regular IRGC relied upon the use of concealment

 and corporate covers to illicitly acquire the technology necessary to continue to scale the IRGC

 Conspiracy. At all relevant times, Hezbollah, the Qods Force, and Regular IRGC operated

 purpose-built units designed to extract American technology for use by Hezbollah and the Qods

 Force by coordinating with organized crime and facilitators. Indeed, the IRGC’s use of crooked

 corporations as fronts is consistent with longstanding IRGC terrorist doctrine, which emphasizes

 the use of mafia-like “buffers,” cut-outs, and fraud schemes designed to route value and services

 without leaving a paper trail: in short, IRGC terrorist tradecraft.

        948.    It is widely understood globally that illicit transactions that route money or

 technology to the IRGC inevitably result in its Hezbollah Division and the Qods Force receiving

 money, technology, or services that it can use in its terrorist enterprise, and vice versa.

        949.    Scholars who have studied Hezbollah, the Qods Force, and Regular IRGC concur

 that they benefit from illicit transactions and that the purported distinction between them is

 largely immaterial when it comes to Iran’s terrorist enterprise and support for terrorist proxies.

 For example, British researcher Ben Smith, who studied Hezbollah, the Qods Force, and Regular

 IRGC for the House of Commons, identified telecoms as a key area that financially benefits all:

        [T]he Revolutionary Guards, have large and expanding business interests … The
        Iranian economy is “marked by a bloated, inefficient state sector”. That has
        allowed the president to appoint allies and old colleagues from the Revolutionary
        Guard into key positions in the public sector, and to award government contracts
        to companies owned or controlled by Guard members, many of which are
        involved in dual use technology … including telecommunications … The al-
        Quds force is thought to be no less involved in the business world than the rest
        of the Revolutionary Guard, and analysts suspect that these growing business
        interests provide clandestine sources of funding to be channelled to overseas
        groups and individuals, hidden from [] scrutiny … 278


 278
    Ben Smith (International Affairs and Defence Section of the U.K. House of Commons
 Library), The Quds Force of the Iranian Revolutionary, Guard -- Standard Note: SN/IA/4494,
 UK House of Commons Library Standard Note (Oct. 30, 2007) (emphasis added).
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        950.    Prominent media reports also support this conclusion. According to a 2007 report

 in the New York Times, “[s]ome specialists even question whether the Quds Force exists as a

 formal unit clearly delineated from the rest of the Revolutionary Guard.” Scott Shane, Iranian

 Force, Focus of U.S., Still a Mystery, N.Y. Times (Feb. 17, 2007). As one such Iran specialist,

 Vali R. Nasr of the Naval Postgraduate School explained to the Times, “[i]t could be that anyone

 with an intelligence role in the Revolutionary Guard is just called Quds.” Id.

        951.    Moreover, any lines between the IRGC and the Qods Force blur when it comes to

 Iran’s support for Islamist terrorists outside of Iran. As the same New York Times report noted in

 2007, “[w]hether properly identified as part of the Quds Force or not, members of the

 Revolutionary Guard mobilized intelligence and paramilitary agents in Lebanon in the 1980s,

 where they trained the Shiite militia Hezbollah; in Afghanistan, during the anti-Soviet jihad in

 the 1980s and episodically since then; in the former Yugoslavia, supporting the Bosnian Muslims

 against Serbian forces; and in other trouble spots.” Id.

        952.    As the Foundation for Defense of Democracies similarly concluded, given the

 tight nexus between IRGC commercial activity and violence by Iranian proxies, any transaction

 with IRGC fronts benefits Iran’s terrorist enterprise – even when it does not result in the IRGC

 or Qods Force directly obtaining any embargoed arms or technology:

        IRGC front companies … have stakes in telecommunications …. of which Iran
        is the largest manufacturer in the Middle East. … Many IRGC projects are
        military in nature, and the group diverts much of the technology and expertise it
        acquires from Western companies for seemingly innocuous projects to unsavory
        ends. … Any company that does business in Iran risks becoming an unwitting
        accomplice to the IRGC’s nefarious activities … Yet even when companies
        provide services and technologies that cannot be diverted to illicit projects,
        partnering with the IRGC entails some complicity with its activities. In June
        2006, [the head of an IRGC-owned company] confirmed in an interview with a




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           local daily that the organization’s funds finance various national defense
           projects, including arming and training Hezbollah. 279

           B.     Defendants Made Illicit Deals With Hezbollah, Qods Force, And Regular
                  IRGC Fronts, Operatives, Agents, And Cut-Outs That Caused Secure
                  American Smartphones, Enterprise Level Servers, Network Computing
                  Technologies, And Weapons To Flow Through The IRGC To Al-Qaeda And
                  The Taliban And Facilitate Terrorist Attacks On Americans in Afghanistan

           953.   Beginning in 2005, after Hezbollah, the Qods Force, and Regular IRGC had

 intensified their support of the terrorist campaign in Iraq, MTN Group, ZTE Corp., and Huawei

 Co. made illicit deals with IRGC, including Hezbollah and the Qods Force, fronts, operatives,

 agents, cut-outs, and orbits in the telecom, communications, and network computing sectors.

 Those deals directly benefited MTN Group, MTN Dubai, ZTE Corp., and Huawei Co. and

 caused tens of millions of dollars’ worth of embargoed American technologies to flow into the

 IRGC’s (including Hezbollah’s and the Qods Force’s) terrorist enterprise each year.

           954.   Hezbollah, the Qods Force, and Regular IRGC were able to leverage Defendants’

 insatiable appetite for Iran’s telecom market, which was widely understood to represent a unique

 opportunity. As The Economist explained in 2004, “[w]ith a population of some [70 million

 people] and a mobile-phone penetration rate of below 5%, Iran offers a unique opportunity for

 telecommunications investors. … However, the wrangles with … Turkcell illustrate the

 difficulties in assessing the political risk associated with trying to enter the Iranian market.” 280

           955.   MTN Group, MTN Dubai, ZTE Corp., and Huawei Co. engaged in virtually

 identical conduct throughout the course of the Conspiracy. Since MTN Group joined the

 Conspiracy in 2005, MTN Group, MTN Dubai, ZTE Corp., and Huawei Co. have each acted in a



 279
   Mark Dubowitz and Emanuele Ottolenghi, The Dangers Of Doing Business With Iran’s
 Revolutionary Guards, Forbes (June 15, 2010) (emphasis added).
 280
       Economist Intelligence Unit, Iran: Putting Up The Shutters, Bus. Mid. E. (Sept. 1, 2004).
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 manner consistent with terrorist operations, and each of them have demonstrated the ability to

 execute complex financial frauds spanning multiple continents without detection, bearing all the

 hallmarks of the IRGC’s terrorist tradecraft.

        956.    MTN Group, MTN Dubai, ZTE Corp. and Huawei Co. followed a common

 tradecraft when pursuing their illicit acquisitions of embargoed American technologies for

 Hezbollah, the Qods Force, and Regular IRGC.

        957.    MTN Group’s, MTN Dubai’s, ZTE Corp.’s, and Huawei Co.’s transactions

 provided financial, technical, logistical, and operational support to Hezbollah, the Qods Force,

 and Regular IRGC worth tens of millions of U.S. dollars per Defendant each year, which funds

 their terrorist proxies including, but not limited to, al-Qaeda (worldwide), and the Taliban,

 including its Haqqani Network, in Afghanistan.

        958.    MTN Group, MTN Dubai, ZTE Corp., and Huawei Co. furthered the Conspiracy

 by ensuring its concealment for years through their rigorous adherence to the core principles of

 terrorist tradecraft specifically practiced by the IRGC, including its Hezbollah Divisions and

 Qods Force, while performing “security”-related operations, e.g., Qods Force facilitation of al-

 Qaeda/Taliban attacks in Afghanistan. Defendants’ rigorous adherence to IRGC terrorist

 tradecraft furthered the Conspiracy because it provided concealment to the fronts, operatives, and

 illicit transactions that channeled millions through to Hezbollah, the Qods Force, and Regular

 IRGC and through them, to the IRGC’s terrorist proxies worldwide.

        959.    MTN Group, MTN Dubai, ZTE Corp., and Huawei Co. deployed numerous illicit

 strategies to covertly route embargoed American smartphones, servers, network computing

 systems, and the associated technical support services without which their high-end gear was of

 little value. While the strategies differed over time, each shared a common specific intent: to



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 cause tens of millions in valuable state-of-the-art American technologies, services, and currency

 to flow from the United States to Hezbollah, the Qods Force, and Regular IRGC and through

 them, to the IRGC’s Shiite and Sunni terrorist proxies worldwide, in order to sustain the terrorist

 campaigns in Iraq, Afghanistan, Yemen, Syria, and Europe.

        960.    Defendants’ illicit deals with Hezbollah, the Qods Force, and Regular IRGC fell

 into three broad categories of deal type: (1) weapons procurement through sham deals; (2)

 financing through illicit transactions; and (3) operational support obtained through the legitimacy

 of the companies helping Hezbollah, the Qods Force, and Regular IRGC.

        961.    Although Defendants’ illicit transactions with, and resulting cash flow to, fronts,

 operatives, and agents for Hezbollah, the Qods Force, and Regular IRGC provided especially

 valuable assistance for al-Qaeda’s and the Taliban’s terrorist attacks, the causal nexus was not

 limited to Iran sanctions violations. Whether or not MTN, ZTE, and Huawei technically violated

 Iranian sanctions (although they did), their transactions with a counterparty that was openly

 controlled by terrorists – and which openly diverted the fruits of the transactions to terrorist ends

 – supplied Hezbollah, the Qods Force, and Regular IRGC, and through them, al-Qaeda and the

 Taliban, with funds, weapons, weapons components, computers, communications gear,

 enterprise data management solutions, and essential logistical support upon which the Syndicate

 relied to commit terrorist attacks against Americans in Afghanistan.

        962.    Defendants knowingly helped Hezbollah, the Qods Force, and Regular IRGC

 source hundreds of distinct items of state-of-the-art embargoed American technology that was

 illicitly acquired within the U.S. and then re-exported to Defendants’ respective IRGC-front

 counterparties, to be given to terrorists. Plaintiffs offer representative examples of the “security”

 assistance that Defendants provided MTN Irancell and TCI (including MCI).



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        963.    For decades, Hezbollah, the Qods Force, and Regular IRGC have recognized the

 centrality of cell phones to the modern terrorist. Hezbollah has long widely deployed mobile

 phones as a tool of terror.

        964.    MTN Group, MTN Dubai, ZTE Corp., and Huawei Co. deliberately engaged in

 complex schemes to acquire sensitive American technologies on the black market, and route the

 “security” assistance to Hezbollah, the Qods Force, and Regular IRGC.

        C.      Defendants Made Illicit Deals With Hezbollah, Qods Force, And Regular
                IRGC Fronts, Operatives, Agents, And Cut-Outs That Caused Substantial
                Funds To Flow Through The IRGC To Al-Qaeda And The Taliban And
                Facilitated Terrorist Attacks Against Americans In Afghanistan

        965.    Beginning in 2005, after Hezbollah, the Qods Force, and Regular IRGC had

 intensified their support of the terrorist campaign in Afghanistan, MTN Group, MTN Dubai,

 ZTE Corp., and Huawei Co. made illicit deals with IRGC, including Hezbollah and the Qods

 Force, fronts, operatives, agents, cut-outs, and orbits in the telecom, communications, and

 network computing sectors. Those deals directly benefited MTN Group, MTN Dubai, ZTE

 Corp., and Huawei Co. and caused tens of millions of U.S. dollars to flow into the IRGC’s

 (including Hezbollah’s and the Qods Force’s) terrorist activity each year.

                1.      Procurement Bribery

        966.    The IRGC operated one of the most corrupt procurement environments globally.

        967.    The IRGC’s approach was not out of line with prevailing Iranian corruption

 practices. As one trade publication explained, “[c]orruption” is [a] [k]ey [c]oncern,” in Iran

 “[a]nd [w]ill [l]ikely [w]orsen” because “[a]n endemic culture of corruption appears to pervade

 all areas of society in Iran, presenting a major obstacle for private and foreign-owned




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 businesses.” 281 Indeed, “Iran provides a highly conducive environment for corruption to flourish,

 primarily due to the opaque and complex nature of government, and the convoluted process of

 completing bureaucratic procedures.” 282

             968.   Under official IRGC, including Hezbollah and the Qods Force, policy, Hezbollah,

 the Qods Force, and Regular IRGC follows a mafia-style financial approach under which all

 IRGC, including Hezbollah and Qods Force, fronts, operatives, agents, cut-outs, and orbits share

 a percentage of all income they realize with Hezbollah, the Qods Force, and Regular IRGC like

 how a mafia lieutenant kicks up a portion of his earnings to the mob boss. For example, in 2003,

 the IRGC issued a directive decreeing that profits realized by IRGC fronts, operatives, and

 agents must be shared with the broader IRGC organization, i.e., its Hezbollah Division and Qods

 Force. The IRGC issued this directive as it was ramping up for a long multi-front terrorist

 campaign against the United States, and the point of the directive was to escalate the flow of

 funding supporting the IRGC’s terrorist proxies in Iraq and Afghanistan.

             969.   Hezbollah, the Qods Force, and Regular IRGC have long emphasized

 weaponizing their control (directly or indirectly) of procurement processes to generate cash flow.

             970.   Acting through its Hezbollah Division, the IRGC has long counseled its terrorist

 proxies about the utility of seizing government ministries, state-owned-enterprises, and private

 commercial businesses in order to convert them into tools of terrorist finance.

             971.   The IRGC’s Shiite terrorist proxies made this a calling card of IRGC-backed

 terror, having deployed the strategy in every IRGC-backed terror campaign since the Islamic

 Revolution in 1979, including Hezbollah’s control of social services in Lebanon, Jaysh al-


 281
    Emerging Monitor Online, Iran: Major Barriers To Investment (Feb. 19, 2016), 2016 WLNR
 5299681.
 282
       Id.
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 Mahdi’s control of the Iraqi Ministry of Health, and the Houthis’ control of certain geographies

 in Yemen, as three examples.

         972.    From the perspective of an operative, agent, cut-out, cover, or proxy ally of

 Hezbollah, the Qods Force, and Regular IRGC, the IRGC’s procurement bribery tradecraft

 usually calls for the following principles:

 (i)     for ordinary procurement projects, e.g., a captive ministry purchasing a supply of
         commodities, the terrorist should extract a bribe or kickback of ten percent or more (and
         regularly much more), often styled as a khums and delivered in cash (U.S. Dollars
         required) or “free goods”;

 (ii)    for mega-blockbuster procurement projects, e.g., building the complete nationwide
         infrastructure for a communications device, the terrorist should extract whatever the
         terrorist can get, but should not get greedy or let the perfect be the enemy of the good (the
         terrorist analogue to the maxim “pigs get fat, hogs get slaughtered”); and

 (iii)   regardless of project type, the terrorist should follow similar terrorist tradecraft,
         including, but not limited to, emphasis on concealment and covers.

                 2.      “Free Goods”

         973.    Hezbollah, the Qods Force, and Regular IRGC have long emphasized

 manipulation of local and regional black markets as an ideal source of cash flow.

         974.    The IRGC has long preferred “free goods” bribes as a tool of terrorist finance

 because “free goods” serve as cash equivalents given the ease of black market access throughout

 the region, and “free goods” do not leave as large (or any) of a paper trail.

         975.    Hezbollah, the Qods Force, Regular IRGC, and every IRGC Shiite Terrorist

 Proxy has deep experience monetizing every conceivable type of “free good” on the black

 market because every such terrorist group draws most of its members from geographies where

 black markets have been endemic for decades, including several where certain goods could only

 be acquired on the black market (e.g., medicine in Syria during the violence).




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        976.    Hezbollah, the Qods Force, and Regular IRGC specifically trained their

 operatives with respect to terrorist tradecraft concerning cell phones, including, but not limited

 to, how a terrorist can treat cell phones as cash equivalents to be sold or traded like any other

 precious commodity, e.g., gold, in support of the Conspiracy.

        977.    This is important because each Defendant caused thousands, if not tens of

 thousands, of secure U.S. cell phones, to flow through MTN Irancell and/or TCI to the terrorists.

        978.    The going rate for a “clean” American cell phone on the black market is a 10X

 markup. The phones that get busted out into this market are ordinarily priced at around $200 per

 phone since the annual contract heavily subsidizes the phone. Thus, black market sellers who

 flip an ordinary U.S. cell phone on the black market usually earn about $2,000 per phone.

        979.    The IRGC’s historic preference for “free goods” as a form of terrorist finance was

 met by Defendants’ willingness to spend their own money to buy American mobile phones for

 Hezbollah, the Qods Force, and Regular IRGC. Each Defendant understood that it could curry

 favor with its IRGC partner by flooding the zone with untraceable American smartphones.

        980.    On information and belief, Defendants supplied free mobile phones to Hezbollah,

 the Qods Force, and Regular IRGC because Defendants understood that Hezbollah, the Qods

 Force, and Regular IRGC, as well as Shiite terrorist proxies like Jaysh al-Mahdi, have long

 emphasized the exploitation of black markets to derive untraceable terrorist cash flow. Such a

 view comports with the IRGC’s intense doctrinal focus on concealment as the first virtue of a

 “security” operative, and the paranoia that IRGC personnel could be detected by the “Great

 Satan.” Black markets are safely anonymous.

        981.    Moreover, for decades, corrupt companies in the Middle East have leveraged

 “free goods” schemes to route bribes to Iran-backed terrorists, and as a result, at all relevant



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 times there has been a thriving “corruption economy” that roughly traces the “Shiite Crescent”

 from Iran through Iraq into Syria and terminating in Lebanon. Given the pervasive black

 markets that flourish here, and throughout the Middle East, Asia, and Africa, so-called “free

 goods” bribery schemes offer several ideal features for the hardened corporate criminal (or

 terrorist), including built-in cover if detected (e.g., “we are just a civilian phone company”).

        982.    Indeed, free goods are an especially potent form of terrorist finance for Hezbollah,

 the Qods Force, and Regular IRGC because free goods (in the form of technologies like mobile

 phones) are usually compact, lucrative, odorless, valuable, and easy to unload on the black

 market. Moreover, free goods offer an enormous tradecraft benefit for terrorists – no paper trail

 and no electronic or data signature for the Americans to capture.

        983.    Defendants’ “free goods” to Hezbollah, the Qods Force, and Regular IRGC

 flowed through to benefit al-Qaeda and the Taliban, including its Haqqani Network, in

 furtherance of the IRGC’s Conspiracy. Defendants’ provision of free phones to the IRGC

 caused more frequent, effective, and lethal al-Qaeda and Taliban IED attacks against Americans

 in Afghanistan by furnishing Hezbollah and the Qods Force with IED bombmaking materials to

 supply to al-Qaeda and the Taliban, which helped the Syndicate source bomb components and

 also improved the effectiveness of such Afghan terrorists’ IED attacks against Americans by

 defeating the U.S. counter-IED technologies with which the IRGC was familiar from Iraq.

                3.      Exit40

                       i.        Exit40 Was An IRGC Front

        984.    Hezbollah, the Qods Force, and Regular IRGC have active cells in India,

 Switzerland, and the U.A.E., and rely upon all three as critical geographies to flow through

 precious U.S. Dollars and illicitly acquired American technologies to the IRGC’s Hezbollah



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 Division and Qods Force, to be used to aid the attack campaigns in Iraq, Afghanistan, and

 elsewhere in furtherance of the IRGC’s Conspiracy.

        985.    Exit40 was a company with letter box offices in the U.A.E., Florida, India, and

 Switzerland. On information and belief, Exit40 was a front company created by or for Hezbollah

 and the Qods Force, and owned, controlled, and operated by Hezbollah.

        986.    On information and belief, Exit40 was purpose-built by Hezbollah and the Qods

 Force, following IRGC terrorist tradecraft, to serve as a Hezbollah front for illicit fundraising

 and acquisition of embargoed U.S. technologies including American smartphones and servers.

        987.    On information and belief, Exit40 supplied the described Security Aid to

 Hezbollah, the Qods Force, and other IRGC-affiliated terrorists and/or proxies in order to, among

 other things, aid attacks by the IRGC Syndicate Terrorist Proxies in Afghanistan.

        988.    On information and belief, Hezbollah and the Qods Force used Exit40 to extract

 millions of U.S. Dollars and tens of millions worth of American technologies, from inside the

 United States, through a hub location overseas (e.g., Singapore) before reaching the relevant

 terrorist cell in Afghanistan, Iraq, Iran, Pakistan, or the U.A.E.

                       i.       MTN Group Knowingly Used Exit40 To Finance Hezbollah
                                And The Qods Force

        989.    MTN Group and MTN Dubai had a business relationship with Exit40.

        990.    MTN Group and MTN Dubai have gone to extreme lengths to conceal their

 business relationship with Exit40. Among other things, MTN Group and MTN Dubai employees

 have been instructed not to mention Exit40 over the phone or in an email.

        991.    On information and belief, MTN Group and MTN Dubai personnel discouraged

 any telephonic or email discussions concerning Exit40 because they knew the relationship with




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 Exit40 to be illegal, and they believed Exit40 was acting on behalf, directly or indirectly, of

 Hezbollah, the Qods Force, and Regular IRGC to facilitate attacks against Americans.

        992.    On information and belief, an operative, employee, agent, or cut-out from MTN

 Irancell, TCI, the Bonyad Mostazafan, or another IRGC-controlled entity, made MTN Group and

 MTN Dubai aware that MTN Group and MTN Dubai should use Exit40 in order to help source

 the U.S. Dollars and American technologies that Hezbollah, the Qods Force, and Regular IRGC

 needed to deploy in furtherance of the IRGC Conspiracy and attack campaign against Americans

 in Afghanistan, Iraq, Syria, Yemen, and elsewhere.

        993.    On information and belief, MTN Group caused the retention of Exit40 by MTN

 Group, MTN Dubai, or MTN Mauritius, so that Exit40 would serve as MTN Group’s, MTN

 Dubai’s, MTN Irancell’s and/or TCI’s agent or cut-out in order to intentionally route U.S.

 Dollars and embargoed American technologies through the MTN-related entities, so that some or

 all of the associated funds or technologies flowed through to Hezbollah, the Qods Force, and

 Regular IRGC to be deployed in furtherance of the IRGC Conspiracy and attack campaign

 against Americans in Afghanistan, Iraq, Syria, Yemen, and elsewhere.

        994.    MTN Group caused MTN Group personnel, MTN Dubai, or an MTN subsidiary,

 affiliate, agents, cut-out, or business partner to pay millions of U.S. Dollars to Exit40 in order to

 cause Exit40 to procure the embargoed American technologies identified by Hezbollah, the Qods

 Force, and Regular IRGC in order to support the IRGC Conspiracy and attacks against

 Americans in Afghanistan, Iraq, Syria, Yemen, and elsewhere.

        995.    On information and belief, such transactions by MTN Group and MTN Dubai, or

 caused by MTN Group and MTN Dubai, routed millions of U.S. Dollars and American




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 technologies from the United States to the terrorists overseas from on or about 2005 through on

 or about 2012, which discovery should reveal.

                      ii.       ZTE Corp. Knowingly Used Exit40 To Finance Hezbollah And
                                The Qods Force

        996.    On information and belief, ZTE Corp. had a business relationship with Exit40.

 Plaintiffs’ belief is based upon, among other things, the nature of the Conspiracy, requirements

 of IRGC tradecraft, and specific indicia unique to Exit40.

        997.    ZTE Corp. destroyed vast amounts of data. On information and belief, the data

 ZTE Corp. destroyed included data relating to Exit40.

        998.    On information and belief, an operative, employee, agent, or cut-out from MTN

 Irancell, TCI, the Bonyad Mostazafan, or another IRGC-controlled entity, made ZTE Corp.

 aware that ZTE Corp., or an affiliate, subsidiary, cut-out, or agent of ZTE Corp., should use

 Exit40 in order to help source the U.S. Dollars and American technologies that Hezbollah, the

 Qods Force, and Regular IRGC needed to deploy in furtherance of the IRGC Conspiracy and

 attack campaign against Americans in Afghanistan, Iraq, Syria, Yemen, and elsewhere.

        999.    On information and belief, ZTE Corp. caused the retention of Exit40 by either

 ZTE Corp. or its subsidiary, affiliate, or agent, so that Exit40 would serve as ZTE Corp.’s, MTN

 Irancell’s and/or TCI’s agent or cut-out to intentionally route U.S. Dollars and embargoed

 American technologies through the ZTE-related entities, so that some or all of the associated

 funds or technologies flowed through to Hezbollah, the Qods Force, and Regular IRGC to be

 deployed in furtherance of the IRGC Conspiracy and attacks against Americans in Afghanistan,

 Iraq, Syria, Yemen, and elsewhere.

        1000. On information and belief, ZTE Corp. caused ZTE Corp. personnel, or a ZTE

 subsidiary, affiliate, agents, cut-out, or business partner to pay millions of U.S. Dollars to Exit40


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 in order to cause Exit40 to procure the embargoed American technologies identified by

 Hezbollah, the Qods Force, and Regular IRGC in order to support the IRGC Conspiracy and

 attack campaign against Americans in Afghanistan, Iraq, Syria, Yemen, and elsewhere.

        1001. On information and belief, such transactions by ZTE Corp., or caused by ZTE

 Corp., routed millions of U.S. Dollars and American technologies from the U.S. to the terrorists

 overseas from on or about 2005 through on or about 2012, which discovery should reveal.

                    iii.       Huawei Co. Knowingly Used Exit40 To Finance Hezbollah
                               And The Qods Force

        1002. On information and belief, Huawei Co. had a business relationship with Exit40.

 Plaintiffs’ belief is based upon, among other things, the nature of the Conspiracy, requirements

 of IRGC tradecraft, and specific indicia unique to Exit40.

        1003. Huawei Co. destroyed vast amounts of data. On information and belief, the data

 Huawei Co. destroyed included data relating to Exit40.

        1004. On information and belief, an operative, employee, agent, or cut-out from MTN

 Irancell, TCI, the Bonyad Mostazafan, or another IRGC-controlled entity, made Huawei Co.

 aware that Huawei Co., or an affiliate, subsidiary, cut-out, or agent of Huawei Co., should use

 Exit40 in order to help source the U.S. Dollars and American technologies that Hezbollah, the

 Qods Force, and Regular IRGC needed to deploy in furtherance of the IRGC Conspiracy and

 attacks against Americans in Afghanistan, Iraq, Syria, Yemen, and elsewhere.

        1005. On information and belief, Huawei Co. caused the retention of Exit40 by either

 Huawei Co. or another Huawei subsidiary, affiliate, or agents, so that Exit40 would to serve as

 Huawei Co.’s, MTN Irancell’s and/or TCI’s agent or cut-out in order to intentionally route U.S.

 Dollars and embargoed American technologies through the Huawei-related entities, so that some

 or all of the associated funds or technologies flowed through to Hezbollah, the Qods Force, and


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 Regular IRGC to be deployed in furtherance of the IRGC Conspiracy and attack campaign

 against Americans in Afghanistan, Iraq, Syria, Yemen, and elsewhere.

        1006. On information and belief, Huawei Co. caused Huawei Co. personnel, or a

 Huawei subsidiary, affiliate, agents, cut-out, or business partner to pay millions of U.S. Dollars

 to Exit40 in order to cause Exit40 to procure the embargoed American technologies identified by

 Hezbollah, the Qods Force, and Regular IRGC in order to support the IRGC Conspiracy and

 attack campaign against Americans in Afghanistan, Iraq, Syria, Yemen, and elsewhere.

        1007. On information and belief, such transactions by Huawei Co., or caused by Huawei

 Co., routed millions of U.S. Dollars and American technologies from the U.S. to the terrorists

 overseas from on or about 2005 through on or about 2012, which discovery should reveal.

        D.      Defendants’ Protection Payments To The Taliban Directly Aided Terrorist
                Attacks On Americans In Afghanistan

        1008. Defendants’ conduct aided the Taliban’s terrorist enterprise. The very nature of

 the protection-money demands – backed by violent threats conveyed by the same Taliban

 fighters who were waging an insurgency against the United States – ensured a close connection

 between the payments and subsequent Taliban attacks on American forces. Such attacks were a

 necessary consequence of Defendants’ payments. When they paid the Taliban protection money,

 they were not lessening the overall risk of terrorist violence; they were paying the Taliban to

 redirect its attacks to other targets. One prevailing slogan among private-security contractors in

 Afghanistan captured that mentality: contractors often said “you want them to fight Big Army

 [i.e., the U.S. Army] before they fight you.” Defendants’ payments accomplished exactly that.

 They paid the Taliban to attack Coalition forces rather than Defendants’ own businesses.

        1009. Defendants’ protection payments supplied the Taliban with an important stream

 of revenue it used to finance terrorist attacks against Americans in Afghanistan. Defendants’


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 protection payments, which created an income stream overseen directly by Quetta leadership,

 gave the Taliban fungible resources that were vital to its ability to sustain its terrorist enterprise.

 For that reason, the Commission on Wartime Contracting observed that “diverted funds,”

 channeled from Western contractors to the Taliban, “directly strengthen the insurgency.” 283

           1010. The Taliban institutionalized control of its protection-money revenue. The

 extraction of protection payments occurred via a highly regulated process designed to ensure that

 such payments would benefit the broader insurgency. The Taliban’s 2009 Code of Conduct, for

 example, contained extensive regulations dictating to local field commanders how to collect (and

 spend) protection money from foreign businesses. As Gretchen Peters has explained, those

 regulations “literally institutionaliz[ed] how profits earned from organized crime are to be

 distributed within the command chain.” 284 The money flowed both ways – from local

 commanders up to the Financial Commission for use by the Taliban’s central leadership, and

 conversely from the leadership back down to local commanders for use in the field. In all cases,

 the Quetta Shura maintained “final say in all matters of collecting protection money.” 285 That

 discipline allowed protection money collected from all over the country to finance the Taliban’s

 terrorist machine.

           1011. Defendants’ protection payments similarly financed the Haqqani Network. Not

 only did Defendants fund the Haqqanis directly, but their payments to the Taliban likewise

 financed Haqqani operations. The Haqqani Network was part of the Taliban and operationally

 intertwined with Taliban leadership. Thus, according to a declassified 2009 DIA cable, “a large




 283
       CWC Report at 74.
 284
       Crime & Insurgency at 16.
 285
       Id. at 17.
                                                   302
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 majority of the Haqqani Network (HQN) funding comes from the Quetta . . . , Pakistan-based

 Taliban leadership.” 286 Per Ms. Peters, the Haqqanis relied on the Taliban organization to “cover

 operational costs,” with the amount of financing depending on “the funding capacity of the

 Taliban leadership.” 287 The money flow went both ways: payments to the Taliban supported

 Haqqani attacks, and payments to the Haqqanis supported Taliban attacks. 288

                    1.     Defendants’ Cash Protection Payments To The Taliban Directly
                           Funded Al-Qaeda And Taliban, Including Haqqani Network, Attacks
                           Against Americans In Afghanistan

             1012. Money supplied the lifeblood of the Taliban insurgency. Financing gave the

 Taliban the means to recruit and pay terrorist fighters; to acquire weapons and explosives with

 which to attack Coalition forces; and to maintain the vast operational infrastructure needed to

 sustain the insurgency. In 2011, it cost the Taliban an estimated $100-155 million overall to

 launch attacks and up to $300 million to “maintain[ ] the insurgency” generally. 289 Those costs

 ballooned as the insurgency intensified. As a U.N. Security Council report documented, from

 2006-2012, the Taliban “managed to finance an ever-increasing number of attacks, reflecting a

 year-on-year increase in income.” 290 The Taliban’s access to financing was vital to its ability to

 sustain its growing campaign of terrorism against the United States. As one military historian




 286
       Def. Intelligence Agency, Afghanistan – Haqqani Network Finances (Sept. 24, 2009).
 287
   Gretchen Peters, Haqqani Network Financing: The Evolution Of An Industry at 23,
 Combatting Terrorism Ctr. (July 2012) (“Haqqani Network Financing”).
 288
    Crime & Insurgency at 33 (Quetta Shura agreed with the Haqqani Network “to operate
 alongside each other and to divide the proceeds they earn in some zones where more than one
 faction operates.”).
 289
       U.N. Financing Report ¶ 34.
 290
       Id.
                                                  303
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 observed in 2011, “the Taliban’s most significant weapon is not its arms or its ability to mobilize

 jihadists but the vast sums of money that it seems to have at its disposal.” 291

           1013. Protection payments supplied the Taliban with the means to buy weapons and

 explosives for use in terrorist attacks. Weapons capable of killing and injuring Americans cost

 money, and Defendants’ protection payments provided the Taliban with a potent source of

 funding to cover the cost of its escalating insurgency. As Ms. Peters explained, once companies

 decided to “pay off insurgents to avoid having [their] projects attacked,” the “insurgents then

 spen[t] the money they raise[d] to purchase weapons and explosives, which in turn get used to

 kill American soldiers.” 292 Congressman Bill Delahunt was even more succinct. Responding to

 reports that “U.S.-funded contractors” made “protection payments to the Taliban,” he observed:

 “ That translates into money that the Taliban are using to attack and kill American military

 personnel, and that’s just simply outrageous.” 293

           1014. Even relatively small protection payments had an outsized effect on the Taliban’s

 terrorist capabilities. Although estimates vary, the Taliban paid many of its rank-and-file

 fighters about $100 per month, while mid-level commanders made upwards of $350 per month.

 As for many of the IEDs that the Taliban used against Coalition troops, a Pakistani security

 official estimated that they cost a mere $100 to make. 294 At those rates, even a single protection

 payment of $2,000 could finance substantial insurgent violence: it could put ten fighters and a

 commander in the field for a month and supply them with five IEDs. And Defendants each made



 291
       Follow The Money.
 292
       Id. at 31.
 293
       Nancy Cordes, Is Taxpayer Money Funding The Taliban?, CBS News (Sept. 3, 2009).
 294
    See Kathy Gannon, Taliban Gains Money, al-Qaida Finances Recovering, Assoc. Press (June
 20, 2009).
                                                  304
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 payments that were many orders of magnitude higher. Those payments materially strengthened

 the Taliban’s ability to finance the attacks that killed and injured Plaintiffs.

           1015. The effect of protection payments was especially pronounced because they

 enabled Taliban commanders to pay recruits who fought against the Coalition for financial

 (rather than ideological) reasons. Taliban commanders typically operated on thin margins and

 faced constant pressure to raise enough money both to pay fighters and to launch attacks.

 Protection money was essential to fulfilling both needs: had Defendants refused to pay and cut

 off that source of revenue, it would have forced Taliban commanders to “deci[de] between

 paying and feeding [their] troops and launching attacks.” 295 Defendants’ payments freed Taliban

 commanders from that choice and enabled them to retain their fighters while continuing with

 attacks on Coalition forces. As one academic study concluded, protection payments in

 connection with “development projects and supply contracts” thus “fund[ed] the Taliban and

 their affiliates” while also “encouraging alienated men to join the insurgency for easy money.” 296

           1016. This financial link applied to protection payments in all their forms. Due to the

 Taliban’s fundraising apparatus, cash payments to local commanders (or the Taliban Financial

 Commission) flowed to Taliban leadership for use wherever the insurgents decided to focus their

 resources. “Salary” payments to Taliban fighters had a similar effect. Not only did those

 payments relieve financial pressure on local Taliban commanders, but the Taliban extracted a

 portion of all salary payments received by individual Taliban members – which it likewise routed

 to the Taliban Financial Commission for the benefit of the nationwide insurgency.




 295
       Meyer Interview.
 296
       Economic Impediments at 80.
                                                  305
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        1017. Protection payments supplied one of the most quantitatively significant sources of

 funding for the Taliban. As Secretary of State Hillary Clinton testified before the U.S. Senate

 Committee on Foreign Relations in 2009: “[O]ne of the major sources of funding for the Taliban

 is the protection money.” 297 The systematic payments effected by large international companies

 swamped other, smaller-scale protection rackets.

        1018. In many areas of Afghanistan, protection payments supplied the single most

 significant source of funding for insurgent violence.

        1019. Protection payments also strengthened the Taliban by allowing it to diversify its

 income. For an insurgent group subject to crippling international sanctions, diversification was

 critical: it offered the Taliban a degree of financial resiliency that made it less susceptible to

 American counterinsurgency efforts. That is why, as the U.S. military began to successfully

 interdict the Taliban’s other revenue sources (such as narcotics), the Taliban relied increasingly

 on its protection rackets. That stream of protection money – particularly from larger, well-

 financed contractors, including Defendants – supplied reliable funding for the insurgency and,

 almost as importantly, offered insurance against the risk of other funding sources drying up.

        1020. Protection payments from Western companies, including Defendants, were also

 qualitatively material to the Taliban’s terrorist enterprise because of their unique link to the

 Taliban’s leadership. Unlike funding from other sources (such as smaller businesses) that were

 more often spent locally, Defendants’ protection payments generally flowed up the Taliban’s

 organizational chain – or were made directly to top-level Taliban institutions – and supplied




 297
    Afghanistan: Assessing The Road Ahead, Hr’g Before the U.S. Senate Committee on Foreign
 Relations, S. Hr’g 111-479, at 48 (Dec. 3, 2009) (statement of Hillary Rodham Clinton, Sec’y of
 State, U.S. State Dep’t) (“S. Hr’g 111-479”).
                                                  306
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 fungible U.S. dollars available for use by leadership wherever it saw fit. 298 In addition, the

 payments often conferred intelligence benefits on the Taliban by providing details about U.S.

 government, military, and contractor operations in the area. The Taliban’s high-level

 commanders then used the money and intelligence supplied by Defendants to finance their

 nationwide terrorist campaign against Americans in Afghanistan.

           1021. The Taliban’s top-down organizational hierarchy ensured that protection money

 collected locally in one province helped to finance Taliban operations throughout the country –

 including in provinces miles away from the site of the payment. That was a core reason why the

 Taliban moved to institutionalize the collection of protection money from large firms, including

 Defendants: rather than have commanders spend their protection money locally, the Taliban

 directed the funds into the group’s central coffers for use on a nationwide scale. 299 As two

 Afghanistan scholars documented, such “funds flow[ed] from Taliban-controlled regions up the

 chain of command to the leadership and then bec[a]me re-dispensed in the form of individual

 payments” in key provinces throughout Afghanistan. 300 Accordingly, Defendants’ payments did

 not merely finance attacks in the immediate areas of their projects; the Taliban’s process for

 redistributing those payments made sure that they financed terrorism throughout Afghanistan.




 298
    Id. ¶ 35 (“[T]he money flowing from “construction and trucking companies, mobile telephone
 operators, mining companies[,] and aid and development projects goes to the Taliban Financial
 Commission[,] which answers to the Taliban leadership.”).
 299
       See id.; Crime & Insurgency at 17.
 300
       Economic Impediments at 75.
                                                 307
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               2.      Defendants’ “Free Goods” Protection Payments To The Taliban
                       Directly Funded, Armed, And Logistically Supported Al-Qaeda And
                       Taliban, Including Haqqani Network, Attacks Against Americans In
                       Afghanistan

        1022. Defendants’ provision of free communications technologies to the Taliban,

 including its Haqqani Network, as a form of “free goods” protection payments to the terrorists

 furthered the IRGC’s Conspiracy and provided critical aid to al-Qaeda and the Taliban. At all

 times, Defendants were aware of the key role that communications technologies played in

 propagating attacks against Americans by al-Qaeda and its allies. As Eric Schmidt, then

 Google’s Chair and CEO, and Jared Cohen, then the Director of Google Ideas, noted in 2010:

        [F]or all the … hope abetted by the use of connection technologies, the potential
        of such technologies to be … used in dangerous ways should not be
        underestimated. The world’s most … violent transnational groups—from al
        Qaeda … to the … Taliban—are effectively using technology to bring on new
        recruits, terrify local populations, and threaten … institutions. … The same
        encryption technologies used by dissidents … to hide their private
        communications and personal data … are used by [] terrorists… Afghanistan’s
        telecommunications networks provide a useful case study in how connection
        technologies can both help and harm a nation. Since U.S. and NATO forces first
        launched military operations there in 2001, cell-phone access in Afghanistan has
        grown from zero to 30 percent. … At the same time, the Taliban have become
        increasingly savvy about using mobile technology to malicious and deadly effect.
        Taliban militants have used cell phones to coordinate attacks, threaten local
        populations, and hold local businesses hostage … In February 2009, Taliban
        inmates … used cell phones to orchestrate a number of coordinated attacks on
        Afghan … ministries. In Afghanistan—and Iraq, too—it is not uncommon for
        insurgents to use cell phones to detonate roadside bombs remotely. 301

        1023. U.S. government reports also alerted Defendants that their protection payments

 via “free goods” comprised of high-tech communications technologies donated to terrorists also

 aided Hezbollah, the Qods Force, Regular IRGC, al-Qaeda, and the Taliban, including its




 301
   Eric Schmidt and Jared Cohen, The Digital Disruption: Connectivity and the Diffusion of
 Power, Foreign Affairs, Vol. 89, Issue 6 (Nov. 1, 2010), 2010 WLNR 28476557.
                                               308
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 Haqqani Network—all of whom were aided, directly or indirectly, by Defendants’ provision of

 free goods technology bribes. For example, according to U.S. counterterrorism strategy in 2018:

        The technological advances of the past century have created an interconnected
        world in which it is easier than ever to quickly move people, funding, material,
        and information across the globe. The backbone of this interconnected system is
        information technology—largely created and facilitated by the United States
        Government and private industry—that is increasingly enabling faster transactions
        of all kinds across the world. Terrorists use these same publicly available
        technologies to command and control their organizations and to plot attacks,
        travel, and abuse the global financial system to raise funds and procure weapons,
        materiel, and basic necessities. Terrorists cannot sustain their operations without
        these resources. The United States[,] … [a]round the globe, [] will promote
        effective enforcement of legislation and policies aimed at protecting …
        communication industries. 302

        1024. Defendants’ “free goods” deliveries of cell phones, including phones

 manufactured and/or acquired in the United States, to the Taliban, including its Haqqani

 Network, also provided another direct cash equivalent, worth approximately $2,000 per cell

 phone, to al-Qaeda and the Taliban, including its Haqqani Network. Indeed, at all times, the

 high-tech cell phones that Defendants illicitly sourced for, and furnished to, the Taliban, as a

 “free goods” form of protection payment to such terrorists, carried unique value in Afghanistan

 that ensured their status as one of the single most valuable items any person, including any

 terrorist, could possess. As the Sydney Morning Herald explained, from 2004 onward,

 “[c]ommunications [were] vastly better” in Afghanistan and, as a result, “Afghans who [could]

 afford a mobile phone clutch[ed] them like talismans; even the Taliban spokesman avail[ed]

 himself of the best technology: a satellite phone with an automatic message bank that

 respond[ed] in 10 languages.” 303


 302
    The White House, National Strategy for Counterterrorism of the United States of America, at
 15 (Oct. 2018).
 303
   Paul McGeough, In the Shadow of the Guns, Sydney Morning Herald (Aug. 27, 2005), 2005
 WLNR 28183961.
                                                 309
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        1025. Defendants’ “free goods” deliveries of cell phones, including phones

 manufactured and/or acquired in the United States that Defendants illicitly sourced from

 America, to the Taliban, including its Haqqani Network, also aided the terrorists’ fundraising

 campaigns because it gave the Syndicate the technical tools they required to send

 communications to others requesting (or demanding) payments, including, but not limited to,

 sending text messages to Afghans soliciting zakat contributions and sending messages to

 companies, including Defendants, soliciting protection payments or, if such terms were already

 agreed upon, reminding that a payment was due. 304

        1026. Defendants’ “free goods” deliveries of cell phones, including phones

 manufactured and/or acquired in the United States that Defendants illicitly sourced from

 America, to the Taliban, including its Haqqani Network, also provided direct operational and

 logistical support to al-Qaeda and the Taliban, including its Haqqani Network, by furnishing

 untraceable, valuable cell phones, which the terrorists could use to communicate with one

 another to securely coordinate smuggling, transportation, attack plans, and the like.

        1027. Defendants’ “free goods” payments of free cell phones to the Taliban, including

 its Haqqani Network, allowed the Syndicate to maintain its cell phone stockpile without

 spending as many U.S. Dollars to do so, providing the terrorists a substantial logistical and



 304
    See, e.g., Rachel Ehrenfeld and John Wood, Funding Terror; New Technology Terrorists Can
 Use, Wash. Times (Mar. 15, 2007) (“We are on the cusp of a new era of terror financing, that of
 mobile payments or ‘m-payments.’ … Are Hamas, al Qaeda, Hezbollah and their likes far
 behind? Soon, every mobile-phone owner will be able to send money, pay bills and make
 purchases anywhere, anytime. … Without the implementation of a real-time digital anti-money-
 laundering compliance framework, the m-payment system is well suited to become the ‘killer
 application’ for money laundering and terror financing. All you need is a stored value card and
 m-payments enabled mobile phone and carrier …[for] members of Hamas and Hezbollah in the
 United States to send money back to the Middle East, or to each other all over the world …
 [including in areas like] Dubai[,] … a well-known conduit for al Qaeda, Hamas and Hezbollah
 funding.”), 2007 WLNR 4912741.
                                                 310
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 financial windfall. In 2006 the Independent reported on the common experience, reflected by the

 example of an Afghan’s experience in a key district (Panjawi) in the Taliban’s stronghold of

 Kandahar, that “the Taliban in his district [had] little money but they ha[d] mobile phones.” 305

        1028. Moreover, like its IRGC sponsors, al-Qaeda, the Taliban, and their Syndicate

 allies in Afghanistan and Pakistan depended upon a vast stockpile of cell phones in order to

 conduct their terrorist enterprise in Afghanistan, Pakistan, the U.A.E., Iran, and the other key

 geographies worldwide from which al-Qaeda and the Taliban facilitated terrorist attacks against

 Americans in Afghanistan. When Defendants provided more than 1,000 “free” cell phones each

 year, they furnished a key supply of untraceable phones to the terrorists that aided their

 communications, attack planning, attack operations, logistics, propaganda, smuggling, and

 travels – every facet of the terrorists’ enterprise targeting Americans in Afghanistan.

        1029. Al-Qaeda alone, for example, required tens of thousands of untraceable mobile

 phones each year for the thousands of operatives it deployed in Afghanistan and Pakistan in

 support of the attacks. For example, in 2002, media accounts noted that “[t]housands of al

 Qaeda members hiding in Pakistan use[d] cell phones,” 306 while, “[i]n Afghanistan, al Qaida

 were using top-of-the-range cellular phones,” 307 both of which trends always endured.

        1030. Defendants’ “free goods” payments of free cell phones to the Taliban, including

 its Haqqani Network, also armed al-Qaeda and the Taliban because Defendants’ free phones

 were, themselves, weapons when wielded by Syndicate terrorists. By 2008, while “cell



 305
   Nelofer Pazira, Taliban’s Terror Tactics Reconquer Afghanistan, Independent on Sunday
 (UK) (August 20, 2006), 2006 WLNR 17604097.
 306
   Ralph Joseph, Chemical Labs Show Al Qaeda Still Active, Wash. Times (Oct. 6, 2002), 2002
 WLNR 383410.
 307
    Phil Hazlewood and Tom Whitehead, Role of Aircraft Patrolling Skies, PA News (Feb. 13,
 2003).
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 phone[s]” were “[n]othing special in America,” cell phones were “having a profound effect in

 Afghanistan[,]” where “[m]any Afghans now rel[ied] on cell phones, as [did] Taliban

 militants.” 308 As the Associated Press reported at the time, “Taliban” “militant fighters rely on

 mobile phones to communicate and coordinate their operations.” 309

        1031. Al-Qaeda and the Taliban also deployed some of Defendants’ “free goods”

 donations of cell phones as part of their IEDs, using the phones to detonate the bombs that killed

 Americans in Afghanistan, including on information and belief many Plaintiffs. 310 By 2005, “[i]t

 [was] an irony of the digital age that technology ha[d] aided the security forces in detecting and

 thwarting terrorist operations … helped terrorists do their evil.” 311 “High-tech communication”

 technologies, including “[c]ell phones,” in the hands of an al-Qaeda operative after 9/11,

 constituted a “weapon at the disposal of” the al-Qaeda “terrorist” because “[c]ell phones” “were

 a key in” Al-Qaeda’s ability to execute “coordinated attack[s],” including “suicide terrorist

 attack[s],” which attacks were “facilitated by” al-Qaeda’s access to “hi-tech communications”




 308
   NPR Morning Edition, Cell Phones Connect Afghans to Rest of World (Feb. 26, 2008), 2008
 WLNR 3764701.
 309
     Noor Khan, Taliban Destroy 2 Phone Towers in Southern Afghanistan, AP DataStream (Mar.
 2, 2008).
 310
     See, e.g., AllAfrica.com English, Terrorists Drew World’s Attention in Madrid (Apr. 2, 2004)
 (“Technology has also linked al-Qaeda to the Madrid bombings. Al-Hayat claims that an Islamist
 source revealed to the newspaper that al-Qaeda trained its fighters in Afghanistan to use mobile
 phones for setting off explosive devices. The source told al-Hayat that the explosions on the
 trains were triggered by mobile phones with alarm clocks set to go off at a specific time.”).
 311
     James D. Zirin (Member, Council on Foreign Relations), Terrorism in the Digital Age, Wash.
 Times (Dec. 6, 2005), 2005 WLNR 19631068; United News of Bangladesh, Bomb at Pakistan
 Shiite Procession Kills 7 (Nov. 24, 2012) (“Officials say Taliban frequently use cellular phones
 as remote detonators for bomb attacks.”).
                                                 312
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 technologies, including “[c]ell phones.” 312 Moreover, when the Syndicate’s IED campaign

 intensified in 2009-2010, so did its reliance on cell phones, which remained a key detonator. 313

             1032.   Defendants’ “free goods” payments of free cell phones to the Taliban, including

 its Haqqani Network, also directly facilitated communications between forward deployed al-

 Qaeda and Taliban, including Haqqani Network, terrorists in Afghanistan and their leadership in

 Pakistan, which accelerated the pace of the Syndicate’s attack planning and logistics-related

 communications, causing more al-Qaeda and Taliban attacks against Americans in Afghanistan.

 Defendants’ free cell phones were vital because, given the nature of communications between

 Afghanistan and Pakistan, “telecommunication” technologies were “[t]he only way” that

 “Taliban commanders” at “Taliban headquarters in Pakistan” could communicate with “Taliban”

 “field commanders in Afghanistan and outside actors in” other countries, 314 e.g., the IRGC.




 312
       Id.
 313
    See, e.g., CNN Newsroom, Goes Green; Updates on Major Accident on Missouri's I-44
 Crash - Part 1, AP Alert – Environment (Aug. 6, 2010) (CNN reporting that “the Taliban us[ed]
 IEDs in a deadly campaign of intimidation against Afghan villagers,” the Taliban’s “IEDs” were
 “the top killers of American and coalition forces,” “often made of cheap materials like fertilizer”
 and “detonated by” “something as simple as a cell phone”).
 314
   Stewart Bell, Canada Listening In On Taliban Exchanges, National Post (May 1, 2007), 2007
 WLNR 28591271.
                                                   313
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 VIII. DEFENDANTS KNEW THAT THEIR TRANSACTIONS WITH HEZBOLLAH,
       THE QODS FORCE, REGULAR IRGC, AL-QAEDA, AND THE TALIBAN
       FACILITATED EVERY NODE OF THE CONSPIRACY AND DIRECTLY
       AIDED TERRORIST ATTACKS AGAINST AMERICANS IN AFGHANISTAN

        A.      Defendants Knew Their Transactions With Hezbollah, Qods Force, And
                Regular IRGC Fronts, Operatives, Agents, And Cut-Outs Furthered The
                IRGC’s Conspiracy To Attack Americans In Afghanistan

        1033. Defendants knew that their transactions with fronts, operatives, and agents for

 Hezbollah, the Qods Force, and Regular IRGC financed, armed, and operationally supported

 Iranian proxy terrorist attacks against Americans in Afghanistan.

        1034. Defendants knew that “‘[c]ompanies doing business in Iran face substantial

 risks…,’ said Sigal Mandelker, Treasury Department undersecretary for terrorism. She added:

        …. “deceptive” Iranian transactions that ultimately channel money to terrorists.
        The Iranian government "uses shell and front companies to conceal its tracks” as
        part of an elaborate scheme designed to procure cash for the Quds Force of Iran's
        militant Islamic Revolutionary Guard Corps, which the U.S. designates as a
        terrorist organization.

        1035. By early 2005, it was widely understood in diplomatic, business, and military

 circles that Hezbollah, the Qods Force, and Regular IRGC had seized control of Iran’s telecom,

 communications, and information technology sectors. Before they transacted with IRGC,

 including Hezbollah and the Qods Force, fronts, operatives, and agents, Defendants were aware

 that IRGC, including Hezbollah and the Qods Force, had seized control of these sectors.

        1036. Defendants were aware of IRGC’s capture of Iran’s telecom, communications,

 and information technology companies in part through their local agents and affiliates, whom

 Defendants relied upon to keep abreast of Iranian market conditions; these agents (who were

 subject to Defendants’ control and whose knowledge is imputed to Defendants) knew that

 Hezbollah, the Qods Force, and Regular IRGC controlled Iran’s telecom, communications, and

 information technology sectors and used that control to raise money, obtain weapons, and source


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 operational support for terrorism. As a general matter, those agents spoke fluent Farsi, had

 relationships with people throughout Iranian government and industry, and were well-informed

 about Iranian politics and economics. They could not have remained ignorant of the common

 understanding that the Iranian telecom, communications, and information technology sectors

 were controlled by Hezbollah, the Qods Force, and Regular IRGC.

        1037. Defendants knew, or recklessly disregarded, that Hezbollah, the Qods Force,

 Regular IRGC, al-Qaeda, and the Taliban routinely used commercial transactions to raise money

 and acquire key weapons and weapons components in support of the IRGC’s lead terrorist agent,

 Hezbollah, as well as the IRGC’s proxies in Afghanistan, al-Qaeda and the Taliban. As a

 regional studies professor explained, the commercial center of “Dubai … maintains crucial

 avenues for the IRGC … to generate money” and serves as “the gate to the world for” IRGC

 front company efforts. 315

        1038. Defendants knew, or recklessly disregarded, that as American sanctions sought to

 choke off IRGC, including Hezbollah and the Qods Force, access to the global financial system

 escalated, Hezbollah, the Qods Force, and Regular IRGC responded by using IRGC, including

 Hezbollah and the Qods Force, front companies and agents in the United Arab Emirates, Iraq,

 and elsewhere to raise money through criminal enterprise, facilitate terrorist finance through the

 banking system, and maintain the steady supply of key telecom, communications, and

 information technologies necessary to continue to prosecute a terrorist campaign against

 Americans in Afghanistan and elsewhere. Per Reuters, the IRGC:

        long proved successful in defending [its] economic interests, including in recent
        years when the sanctions … effectively exclude[ed] Iran from the global financial
        and trading system. “Even under very difficult economic circumstances, the


 315
   TRT World (Turkey), Amid Soleimani Crisis, Iran Threatens to Level Dubai and Israel. But
 Why? (Jan. 8, 2020), 2020 WLNR 663153.
                                                315
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             funds for the IRGC’s activities, whether domestic or overseas, remained intact,”
             said a former official close to the [Iranian] government… As the U.S. and EU
             sanctions on Iran’s oil and finance sectors in 2012 started to bite, the [IRGC]
             responded by setting up complex operations involving the likes of Dubai ….
             “The IRGC started to buy hundreds of … companies around the [U.A.E.] to use
             as front companies,” said a trader involved in … the oil industry. “These
             companies partnered with some foreign companies to bypass sanctions. Most of
             the time cash was delivered to a foreign account in a neighbouring country.” 316

             1039. At all relevant times, Defendants understood that the U.S. government believed

 that IRGC, including Hezbollah and the Qods Force, activities in the U.A.E. supported anti-

 American terrorism in Afghanistan and Iraq. For example, in 2008, President George W. Bush

 gave a widely-reported speech to U.A.E. government and business leaders in which he called

 Iran “the world’s leading sponsor of terrorism” and stressed that illicit transactions in the U.A.E.

 were important to the IRGC’s, including Hezbollah’s and the Qods Force’s, ability to provide

 “support for Islamist groups and militants in Afghanistan, Iraq, Lebanon and the Palestinian

 territories.” 317 Press reports concerning President Bush’s speech emphasized the U.S.

 government’s efforts “to enforce US sanctions against … the Quds Force of the IRGC” because

 “Dubai in particular ha[d] become a financial centre handling substantial Iranian investments

 which the administration want[ed] to restrict.” 318

             1040. From 2005 through 2016, accounts from prominent Western media sources also

 reported on the direct link between the Iranian telecom, communications, and information

 technology sectors and Hezbollah, the Qods Force, and Regular IRGC.




 316
   Parisa Hafezi, RPT-INSIGHT-Iran’s Elite Guards to Gain Regional, Economic Power in
 Post-Sanctions Era, Reuters News (Jan. 20, 2016) (emphasis added).
 317
       APS Diplomat, Bush Says Iran Poses Threat To Global Security (Jan. 14, 2008).
 318
       Id.
                                                   316
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        1041. On information and belief, Defendants were aware of these reports documenting

 the link between their Iran-related counterparties and Hezbollah, the Qods Force, and Regular

 IRGC. Each Defendant generally maintained a corporate security group responsible for

 supervising their global supply chains, doing counterparty diligence, and preventing the theft or

 diversion of the devices or services they sold, including in the Middle East. As part of such

 efforts, Defendants’ standard practice would have been to conduct basic open-source research on

 the Iranian telecom market and the mechanics of making telecom deals in Iran – even a modicum

 of which would have uncovered the above reports discussing IRGC fronts’ terrorist ties. 319

        1042. After 2005, Defendants could not have conducted credible due diligence that

 would have “cleared” their transactions with their counterparties controlled by Hezbollah, the

 Qods Force, and Regular IRGC. Defendants also knew about the IRGC’s, including Hezbollah’s

 and the Qods Force’s, control of their business partners based upon the statements set forth in

 prominent due diligence materials concerning Iran.

        1043. MTN’s collusion against Turkcell with the conservatives who controlled

 Hezbollah, the Qods Force, and Regular IRGC fronts responsible for the Irancell contract itself

 became a notable “red flag” about the highly risky Iranian business environment that Defendants

 knew of—and ignored. For example, as the Economist’s flagship due diligence report, the

 Economist Intelligence Unit, explained in June 2005:

        There is considerable doubt that [] Turkish investment projects … will proceed
        after facing opposition from the new conservative-dominated [Iranian parliament,


 319
    This allegation applies to all Defendants except MTN Irancell. Plaintiffs allege that MTN
 Irancell relied upon Hezbollah, the Qods Force, and Regular IRGC to conduct diligence on the
 counterparties with whom MTN Irancell conducted business, and that the IRGC, including Qods
 Force, fronts, operatives, and agents that owned and managed MTN Irancell would not have
 approved any significant investment or hire by MTN Irancell if Hezbollah, the Qods Force, and
 Regular IRGC believed that such proposed deal did not benefit the “security” agenda of the
 IRGC, including Hezbollah and the Qods Force.
                                                317
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        the] Majlis. The Majlis in late 2004 passed a law giving it a veto over foreign
        investment and in early 2005 ruled that Turkcell … should reduce its stake in []
        Irancell … to 49% from 70% [and] … that a majority of Iranian shareholders
        would have to support any management decisions and that security issues be
        referred to the intelligence ministry and the Supreme National Security Council.
        … The Majlis’s opposition to the projects … is sure to cause nervousness among
        foreign investors who will see it as calling into question the value of contracts in
        the Islamic Republic and as a sign of arbitrariness in governance. 320

        1044. After MTN had finished off Turkcell and secured the Irancell license from

 Hezbollah, the Qods Force, and Regular IRGC fronts who controlled Irancell, the Economist

 updated its standard diligence briefing concerning Iran to warn potential investors, including

 Defendants, against the “High Risk” of doing business with Iranian entities:

        Foreign investors are deterred by the nationalist stance of the Majlis towards
        foreign investment (High Risk). The Majlis in late 2004 passed a law giving it a
        veto over foreign investment which it has used to ... severely tighten up on the
        terms of a project by Turkcell … The conditions imposed on Turkcell have seen
        its bid superseded by a South African company, MTN. The episodes caused
        nervousness among foreign investors who fear that they called into question the
        value of contracts in [Iran] and indicated arbitrariness in government decision-
        making. President Mahmoud Ahmadinejad's presidency (until at least 2009, when
        fresh elections will take place) will continue to heighten such concerns. … 321

        1045. Public statements made by prominent Members of Congress also alerted

 Defendants to the IRGC’s control of the Iranian telecom sector. For example, on February 10,

 2011, a bipartisan group of United States Senators and Representatives confirmed the

 widespread understanding that the IRGC’s (and by extension, the Qods Force’s) control of the




 320
    Economist Intelligence Unit, Iran Risk: Legal & Regulatory Risk, Risk Briefing (June 29,
 2005), 2005 WLNR 26571496.
 321
    Economist Intelligence Unit, Iran Risk: Legal & Regulatory Risk, Risk Briefing (Nov. 9,
 2006) (emphasis added), 2006 WLNR 26677912.
                                                318
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 “Iran telecom sector, of which the Iranian Revolutionary Guard Corps owns a significant

 stake.” 322 These Members’ letter received widespread coverage in the global media.

          1046. Pressure campaigns, also known as “private sanctions,” by public interest groups

 also warned Defendants about the IRGC’s control of the Iran telecom sector. For example, from

 2011 through the present, the non-partisan group UANI 323 has pressured technology and telecom

 companies to cut ties with IRGC, including Hezbollah and the Qods Force, fronts in order to

 pressure the Iranian regime to cease its support for anti-American terror and other malign

 activities in the Middle East. As Ambassador Mark D. Wallace explained in 2012:

          [I]n 2011 UANI launched its “Tech and Telecom Campaign” to publicly
          highlight the role of telecommunications companies in Iran and about how
          their technology was being misused by Iranian government security forces … In
          so doing, companies were directly facilitating the ability of the Iranian regime to
          wage a campaign of terror … In response to UANI’s campaign, companies like
          Nokia Siemens Networks and Ericsson agreed to not take on any new business in
          Iran. … In today’s integrated business and financial worlds, companies cannot
          exist in a national vacuum. Any corporation that seeks access to American capital
          [] is subject to American law, public pressure and American public opinion. 324

          1047. Defendants also knew that most of their multinational peers had already chosen to

 exit ventures in which they participated alongside Iranian entities that could potentially be fronts

 for Hezbollah, the Qods Force, and Regular IRGC. By 2012, the roster of companies that



 322
    Letter from Senators Jim Webb, Jon Kyl, and Richard Burr, and Representatives Ileana Ros
 Lehtinen and Sue Myrick, Sens. Webb, Kyl: Sale of U.S. Computer Technology to Chinese Firm
 Poses Serious Risk Chinese Firm Has History of Illegal Behavior and Ties with the People’s
 Liberation Army, Taliban and Iranian Revolutionary Guard, States News Serv. (Feb. 10, 2011).
 323
    UANI is a non-partisan group focused on protecting U.S. national security from the Iranian
 threat. In 2012, UANI and its Advisory Board included an array of former national security
 officials from the U.S. U.K., Germany, Israel, and others, including “Graham Allison, Les Gelb
 and Fouad Ajami, and former government officials including former CIA Director Jim Woolsey,
 former Homeland Security Advisor Fran Townsend, former Mossad Chief Meir Dagan, former
 head of the German Intelligence Service Dr. August Hanning, and former head of the United
 Kingdom`s MI6 Sir Richard Dearlove among many others.” Wallace May 17, 2012, Testimony.
 324
       Wallace May 17, 2012, Testimony (emphasis added).
                                                 319
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 announced an intention to depart Iran included such prominent multinationals as Siemens,

 Ingersoll Rand, Hitachi, ABB, Porsche, Caterpillar, Komatsu, Bobcat, and others. Huawei was

 one of the companies to announce its intentions to depart Iran as well, but as alleged herein,

 Huawei actually did not pull out of the Iranian market. Regardless of whether Defendants’ other

 multinational peers, in fact, exited these Iranian relationships, their public announcement of their

 intention to do so further alerted Defendants to the extreme risk posed by their continued

 economic relationships with their Iranian counterparties.

        1048. On April 24, 2016, the Washington Post published an opinion written by Senator

 Joseph I. Lieberman, and Amb. Mark D. Wallace in which the authors warned multinational

 corporations of the severe financial and reputational risk attendant to doing business with a

 notorious IRGC front, like MTN Irancell, presciently warning Defendants that, “[s]evere risks

 exist for companies thinking about investing with the ayatollah, including doing business with

 the wide array of front companies tied to the IRGC, a terrorist organization sanctioned by the

 United States and the international community.” 325

        1049.    MTN, from at least 2005 through the present, ZTE, from at least 2008 through at

 least 2016, and Huawei, from at least 2008 through at least 2014, knowingly structured their

 transactions to facilitate the IRGC’s fundraising, weapons procurement, and operational support

 from their IRGC-controlled, including Hezbollah- and Qods Force-controlled, counterparties –

 which Hezbollah, the Qods Force, and Regular IRGC used to support, among other things, al-

 Qaeda’s and the Taliban’s terrorist attacks against Americans in Afghanistan. Senior Iranian




 325
   Senator Joseph I. Lieberman and Ambassador Mark D. Wallace, Why Iran Is Arming Up,
 Wash. Post (Apr. 24, 2016).
                                                 320
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 entity officials involved in the Defendants’ transactions were avowed, well-known fronts,

 operatives, and agents for Hezbollah, the Qods Force, and Regular IRGC.

        1050. On information and belief, the ZTE, Huawei, and MTN Co-Conspirators

 extensively collaborated in Iran, by sharing U.S.-origin technology between 2007 and the present

 day. As early as 2004, MTN Group created a UK-based shell company called Surizon.

 Surizon’s co-owners, its CEO, and “head of international business development” were

 previously members of MTN Group’s founding board, including its General Counsel and the

 architect of its international expansion.

        1051. Surizon’s primary products were two software applications: Fast Access to

 Content, Trends and Statistics (“FACTS”) and Network Management System (“NMS”). FACTS

 was, and still is, an “intelligence system.” NMS enables companies to manage and monitor

 networks like Irancell’s and TCI’s mix of incompatible US, European, and Chinese-supplied

 hardware to enable them to supply meaningful data to FACTS.

        1052. According to statements by Surizon and multiple MTN and Irancell employees,

 Surizon’s products were, in essence, interfaces and data manipulation scripts wrapped around

 U.S.-origin technologies created by, inter alia, Oracle, Roambi, and BMC. On information and

 belief, between 2006 and 2007, Surizon and MTN Group ‘negotiated’ a “21-country deal” to

 provide “FACTS… across all MTN Group operators.”

        1053. Surizon and MTN Group customized and deployed FACTS and NMS to each and

 every one of MTN Group’s operating companies, including Sudan, Syria, and Iran, and

 specifically including the companies whose facilities are integrated into Iran’s transnational

 signals intelligence network.




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        1054. On information and belief, MTN continues to use and share FACTS and NMS

 software with third parties, including the Huawei and ZTE Defendants.

        1055. The U.S.-origin technologies used by MTN Irancell and supplied by MTN to

 Huawei and ZTE, and through Huawei and ZTE to TCI, enabled IRGC, including Hezbollah and

 the Qods Force, to collect surveillance data and deliver intelligence in real time to terrorist agents

 in the field via smart phone applications. Use of the U.S.-origin technology, as provided by

 MTN, Huawei, and ZTE, allowed the terrorists to monitor, track, and target Americans. Indeed,

 the U.S.-origin technologies enabled FACTS users and Iranian third parties to receive text

 message alerts under user-specified conditions, and to access network data, including interactive

 maps of subscriber activity using their smart phones, and to query and mine the data its network

 operations centers collected, via ZTE and Huawei-supplied surveillance hardware (which

 themselves were also based on U.S.-origin technologies).

        1056. On information and belief, MTN provided ZTE, Huawei, and their Iran-based

 subsidiaries and shell companies with access to Surizon-developed software to realize a

 partnership in which ZTE and Huawei provided hardware to MTN Irancell and managed its

 network operations centers, including those co-located with IRGC agents, on a day-to-day basis.

        1057. On information and belief, MTN also provided FACTS to TCI and MCI, and to

 its local Iranian partners, as well as to agents of Hezbollah, the Qods Force, and Regular IRGC.

 FACTS and NMS enabled the partnership to manage its highly complex multi-vendor network,

 and to collaborate seamlessly, avoiding serious compatibility issues that would have arisen from

 using their own in-house applications.

        1058. Defendants knew or recklessly disregarded that their corrupt transactions,

 overseen by a counterparty that Hezbollah, the Qods Force, and Regular IRGC had totally



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 commandeered, delivered resources directly to Hezbollah, the Qods Force, and Regular IRGC

 which they provided to al-Qaeda and the Taliban, including its Haqqani Network, in the form of

 funds, weapons, logistical support, and other aid to commit terrorist attacks against Americans in

 Afghanistan by al-Qaeda and the Taliban.

        1059. The IRGC’s control over the Iranian telecom, communications, and computer

 sector was so complete that by 2004, there was no longer any meaningful distinction between

 any of the large Iranian telecom, communications, or computer companies and Hezbollah, the

 Qods Force, and Regular IRGC. Because Hezbollah, the Qods Force, and Regular IRGC had

 effectively captured the Iranian telecom, communications, and computer sectors and was using

 such control to fund and arm IRGC proxies that led the al-Qaeda and Taliban attacks against

 Americans in Afghanistan, transactions with Iranian telecom, communications, and information

 technology companies directly benefited the Afghanistan Terror Campaign.

        1060. Defendants’ transactions with their IRGC-controlled, including Qods Force-

 controlled, Iranian counterparties supplied Hezbollah, the Qods Force, and Regular IRGC, and

 through such IRGC members, al-Qaeda and the Taliban, including its Haqqani Network, with

 resources critical to the Syndicate’ terrorist operations against Americans in Afghanistan. The

 IRGC’s control over these critical Iranian economic sectors – and the enormous cash flow that

 came with it, both from normal revenue as well as corrupt payments from foreign companies –

 was a key source of the IRGC’s, including Hezbollah’s and the Qods Force’s, power.

        1061. Indeed, the telecom, communications, and information technology sectors were

 (and remain) controlled by Hezbollah, the Qods Force, and Regular IRGC precisely because

 such control allows Hezbollah, the Qods Force, and Regular IRGC to make groups like

 Hezbollah more effective at attacking the enemies of Iran, both foreign and domestic, through



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 the substantial funding for Hezbollah, the Qods Force, and Regular IRGC which flows through

 to IRGC proxies, including al-Qaeda and the Taliban. The IRGC’s complete conversion of the

 telecom, communications, and computer sectors of the Iranian economy as direct tools of

 terrorism further strengthened the potency of Defendants’ illicit transactions as a means of

 financing, arming, and operationally supporting attacks.

          1062. Defendants provided fungible funds to Hezbollah, the Qods Force, and Regular

 IRGC that inevitably flowed through to, among others, al-Qaeda and the Taliban for attacks

 against Americans in Afghanistan. As Ambassador Mark D. Wallace explained in 2012,

 “[a]bsent economic support from international businesses, the Iranian regime would not have

 the financial wherewithal to … support terrorism.” 326

          1063. Writing in the Eurasia Review, a foreign affairs analyst specializing in Iran

 explained the tight nexus between economic transactions with the Bonyad Mostazafan and

 Hezbollah-supported terrorist attacks against Americans in the Middle East:

          The question is, where does the revenue go? … Since US sanctions caused a
          sharp decline in Iran’s official revenues, the regime is facing financial difficulties
          and cannot fund its proxies to meddle in the region or as the mullahs’ call it
          “expand its strategic scope”. Iran cannot fund its proxies including Hezbollah,
          and its multitude of militia forces in Iraq and Yemen, or its Afghan Fatemiyoun
          Division and Pakistani Zainebiyoun militias in Syria using its official annual
          budget. The millions of dollars used to fund these group must be provided from
          other financial sources. …[B]onyads such as Bonyad-e-Mostazafan, are among
          the organizations that have directly assisted the Quds Force in this regard.
          Iranian opposition sources have previously stated that the Quds Force receives
          most of its funds from [Bonyads]. … The US’s decision to sanction [Bonyads]
          will definitely be welcomed by Iranians who are tired of having their stolen
          wealth used for terrorism. 327


 326
       Wallace May 17, 2012, Testimony (emphasis added).
 327
    Cyrus Yaqubi, Recently Sanctioned Iran Foundation Is Regime’s Slush Fund For Terrorism,
 Eurasia Review (Jan. 24, 2021) (emphasis added). While Mr. Yaqubi primarily focused on a
 separate bonyad, his claims apply equally to Bonyad Mostazafan. See id. (“[B]onyads such as
 Bonyad-e-Mostazafan, … have directly assisted the Quds Force in this regard.”).
                                                   324
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        1064. Juan C. Zarate, former Deputy National Security Advisor for Combatting

 Terrorism from 2005 through 2009, previously testified about the key role played by IRGC,

 including Hezbollah and the Qods Force, front companies in funding and arming anti-American

 terrorist attacks committed by Iranian terrorist proxy groups:

        We have limited tools to address … terrorism … And the use of financial power
        and the power to exclude from the global system is one of our principal if not
        most effective tools …. [W]e have to have a comprehensive strategy with the use
        of all tools of national power. No doubt. But the reality is at the end of the day,
        these tools are the ones that prove to be most effective.… So we are going to have
        to, if we are honest about what’s happening in the international financial
        commercial order, we are going to have to crack down on Qods Force front
        companies.…. That’s the nature of the Iranian economy in the way that they do
        business, and the way they have reached precisely what we have cut off that
        hardened them so much. 328

        1065. On April 23, 2012, the Treasury Department announced new sanctions against

 Iran that recognized that the IRGC’s control of the telecommunications sector was inextricably

 linked with violence, and stated, in part, as follows:

        The Order targets …information and communications technology that facilitates
        computer or network disruption, monitoring or tracking that could assist in or
        enable human rights abuses by or on behalf of the … Government of Iran.
        Pursuant to this order sanctions were imposed on … Iran’s Islamic Revolutionary
        Guard Corps (IRGC) … The IRGC’s Guard Cyber Defense Command (GCDC)
        includes a special department called the Center for Inspecting Organized Crimes
        (CIOC). … The IRGC’s CIOC has openly admitted that it would forcefully
        suppress anyone seeking to carry out “cultural operations” against the Islamic
        Republic via the Internet … Individuals arrested by the IRGC have been subjected
        to severe mental and physical abuse ….” 329

        1066. The nexus between Defendants’ illicit transactions in the Iranian telecom sector

 and terrorist violence by Iranian proxies was especially tight. As Ali Alfoneh of the American



 328
   Testimony of Juan Zarate, Sen. Bob Corker Holds a Hearing on Sanctions and the Joint
 Comprehensive Plan of Action, SEC Wire (July 31, 2015) (emphasis added).
 329
    U.S. Treasury Dep’t, Fact Sheet: New Executive Order Targeting Human Rights Abuses Via
 Information Technology, (Apr. 23, 2012).
                                                  325
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 Enterprise Institute explained, the IRGC pushed its way into the telecom sector mafia-style, and

 relied upon the funds and technology it acquired through its telecom front companies to fund

 Hezbollah, the Qods Force, and Regular IRGC operations:

        Telecommunications
        The IRGC has also muscled its way into the Iranian telecommunications sector.
        In February 2002, Turkish cell phone company Turkcell … won a bid to
        inaugurate a second mobile phone network for Iran … The Iranian government
        welcomed Turkcell. That is, Turkcell was welcome until the IRGC complained.
        Turkcell would have been in direct competition with IRGC communications
        technology and electronics firms. The Council of Guardians–an executive body
        close to the IRGC and the supreme leader–protested that Iranians would have only
        30 percent ownership of the new company. Even after the National Bank of Iran
        bought out foreign investors to achieve a 51 percent Iranian stake, the IRGC was
        not satisfied. The IRGC-operated [IEI] and the [Bonyad Mostazafan]–an
        independent financial body traditionally run by a retired IRGC commander and
        used by the state as a proxy to fund off-the-books IRGC operations–erected a
        cascade of legal and practical obstacles leading Turkish investors to retreat from
        the Iranian market.

        The IRGC rooted its rhetoric on Turkcell in national security. … the IRGC
        expects to maintain its dominant position not only on the battlefield, but in
        civilian sectors as well. … Because some of the Iranian economy’s most
        advanced technological undertakings occur under the aegis of the IRGC and
        within the framework of the Iranian arms industry, the IRGC can monopolize the
        transfer and adaptation of high technology to civilian applications … The
        homepage of [IEI] … display[s] many consumer goods produced by the arms
        industry for sale in the Iranian market. The list includes personal computers,
        scanners, telephone sets and intercoms, mobile phones, and telephone sim cards.
        These purchases support … IRGC operations …. 330

        1067. As national security analysts Elliot Hen-Tov and Nathan Gonzalez wrote in the

 Washington Quarterly in 2011, Hezbollah, the Qods Force, and Regular IRGC “‘cashed in’ since

 2005.” 331 They noted the “dramatic increase” in the IRGC’s “economic importance” since 2005:

        [T]he Guards [i.e., the IRGC] controlled less than five percent of GDP shortly
        after the end of the Iran-Iraq War in 1989. Now, they directly or indirectly

 330
    Ali Alfoneh, How Intertwined Are the Revolutionary Guards in Iran’s Economy?, American
 Enterprise Institute (Oct. 22, 2007) (emphasis added).
 331
    Elliot Hen-Tov and Nathan Gonzalez, The Militarization of Post-Khomeini Iran:
 Praetorianism 2.0, Washington Quarterly (Winter 2011).
                                               326
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           oversee … about 35 percent and growing. … Prior to 2005, the Guards …
           occasionally used raw power to reverse high-profile tenders in their favor. One
           of the most notable examples is when it nullified Turkcell’s winning bid to
           operate a second mobile-phone network as part of a consortium [in favor of
           Defendant MTN]. Upon pressure by the Guards and their patrons, the Majles was
           forced to change the terms of the deal and revoke Turkcell’s majority share in
           the consortium. After Turkcell’s departure, an Iranian-led consortium under the
           ownership of a Guards’ subsidiary [i.e., Defendant MTN Irancell] received the
           license for the network. 332

           1068. Defendants also helped Hezbollah, the Qods Force, and Regular IRGC arm their

 terrorist proxies al-Qaeda and the Taliban by providing embargoed dual-use technology from the

 United States. Defendants’ contribution to the terrorist enterprise was essential, as the

 embargoed American technology that Defendants provided to the IRGC fronts, including its

 Hezbollah Division and Qods Force, directly improved the efficacy of the IRGC-supported

 bombs that the Syndicate used to attack Americans in Afghanistan between 2012 and 2017.

           1069. The technology Defendants supplied also helped Hezbollah, the Qods Force, and

 Regular IRGC to logistically support al-Qaeda and Taliban, including Haqqani Network, cells

 operating in Afghanistan, as well as such group’s support cells operating outside of Afghanistan

 in places like the U.A.E., Pakistan, Iraq, Iran, and other key geographies form which al-Qaeda

 and the Taliban directly supported the Afghanistan Terror Campaign.

           1070. As a result of the foregoing, each time Defendants publicly touted how each had

 helped improve the technical capabilities of the phones and other network devices supplied to

 MTN Irancell, TCI, or MCI, MTN, ZTE, and Huawei were also admitting that they were

 bolstering the communications networks, technologies, and operative phones relied upon by

 Hezbollah, the Qods Force, and Regular IRGC to sponsor al-Qaeda’s and the Taliban’s terrorist

 attacks against Americans in Afghanistan.



 332
       Id. (emphasis added).
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        1071. The technology Defendants provided also helped Hezbollah, the Qods Force, and

 Regular IRGC communicate with one another and with IRGC proxies al-Qaeda and the Taliban,

 in Afghanistan and throughout the Middle East, by sourcing embargoed dual-use technology

 from the United States. Indeed, the IRGC’s desire to ensure that it could securely communicate

 with its proxies, including al-Qaeda and the Taliban, was what initially motivated it to instruct

 MTN, ZTE, and Huawei to obtain the embargoed U.S. technology. And for good reason: for a

 terrorist alliance seeking to evade the surveillance of the world’s greatest military so that it could

 plan its attacks unmolested, sensitive U.S. communications technology offered an almost

 impossible-to-overstate communications edge to the terrorists by arming them with state-of-the-

 art communications and encryption technology.

        1072. Defendants’ direct provision of “free goods” to Taliban, including Haqqani

 Network, terrorists in the form of free cell phones directly facilitated attacks against Americans

 in Afghanistan. The Taliban’s, including its Haqqani Network’s, ability to access a river of cell

 phones from the IRGC, including Hezbollah, and from U.S. and international companies -- both

 of which channels the ZTE Defendants directly facilitated – keyed the Taliban fundraising and

 communications campaigns that formed the foundation of the terrorists’ victory in Afghanistan

 in 2021. After Kabul fell, Tim Culpan, a technology columnist for Bloomberg, explained:

        [A] few years after the defeat of the U.S. military in 2001, militant Islamists who
        had once shunned technology … coordinated their political and operational
        messages through a network of mobile phones. The decision to incorporate,
        rather than reject, 21st-century advances became a key factor in the [terrorists’]
        survival and eventual recovery of [Afghanistan in 2021].
                “[The Taliban] moved toward much greater technological sophistication
        around 2007. It's a sign of the group’s ability to adapt and learn, and that’s one of
        the reasons they won,” said Vanda Felbab-Brown, senior fellow and director of
        the Brookings Institution's Armed Non-State Actors Initiative. “One of the things
        they learned was to focus on communications, and to leave behind the model of
        the 1990s, which was to move the country away from any kind of modernity.” …



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               By 2007, … in the midst of the insurgency against the Americans, the
       Taliban were using monochrome flip phones from brands like Nokia and
       Motorola to push propaganda and keep tabs on people. Felbab-Brown recalls
       visiting Afghanistan at the time, when the movement was sending mass, targeted
       text messages. They included reminders to pay zakat (religious tax) and that the
       group knew where he lived.
               An irony is that this widespread deployment of telecommunications was
       made possible by U.S. and international companies …. Before long, Taliban
       spokesmen fluent in English were regularly and directly updating Western media
       by text and voice, answering questions and proclaiming victory in battles
       journalists didn’t even know had happened.
               At first, the Taliban were seen by foreign powers, and perhaps even by
       themselves, as a small, fast military force equipped mainly with rifles and RPGs.
       But with a more modern enemy like the United States and its allies came the need
       to add psychological operations. “That's where technology is crucial, there’s no
       way around it,” says Kamran Bokhari, director of analytical development at the
       Newlines Institute for Strategy & Policy. “Previously they could do without it, but
       after 9/11 the world changed.”
               The Taliban needed to catch up with innovations on the battlefield, and
       they learned fast. … And they weren’t just learning from their enemies. Their
       fellow jihadists, such as al-Qaeda, ISIS, and Hezbollah, had discovered the power
       of digital technologies to recruit members, threaten opponents, and control
       messages. The Taliban benefited from a cross-pollination of the craft in
       propaganda and information warfare.
               These groups followed the development of technology in the rest of the
       world. … [which resulted in] … the use of more sophisticated handheld devices
       and faster networks that meant a video could be recorded on a cell phone and e-
       mailed directly to supporters or international media. The Taliban and their ilk
       became early adopters … A key strategy was not only to win battles, but also to
       shape perceptions of strength and capabilities … As the US moved into its second
       decade of occupation, the Taliban kept up a steady drumbeat of messaging across
       all media, targeting local Afghan forces and governments overseas. The aim was
       to create the belief that the movement’s ascendancy was inevitable and that
       resistance was futile. The perception helped bring US administrations to the table
       and may have led to the collapse of the military. 333




 333
   Tim Culpan, Technology Fueled the Taliban’s Comeback, NoticiasFinancieras – English
 (Aug. 23, 2021), 2021 WLNR 27452700
                                              329
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                    1.     Command, Control, Communications, And Intelligence

             1073. Command, Control, Communications, and Intelligence (or C3i) are a fundamental

 cornerstone to all military operations. 334 Without C3i, military operations cannot be

 synchronized to effect combat operations at a specific time and place. These principles apply not

 only to legitimate military operations, but are necessary to effect terrorist operations as well. As

 General George W. Casey explained in 2009: “Technology is [a] double-edged sword.

 Inexpensive access to information enables entrepreneurs and innovators to collaborate in

 developing new technologies and improving existing ones. Yet our adversaries can exploit these

 same technologies to export terror around the globe.” 335

             1074. Defendants’ sourcing of illicit technologies for Hezbollah, the Qods Force, and

 Regular IRGC enabled the IRGC to accomplish its Revolution in Terrorist Affairs, to devastating

 effect. “In future operational environments,” General Casey warned, “where the tactical

 environment and strategic environment will often be seamless, it is the network that will provide

 the ability to gain and maintain the operational advantage.” 336 When General Casey wrote this,

 Hezbollah, the Qods Force, and Regular IRGC were already well on their way to becoming the

 world’s first fully networked terrorist organization, resourced by Defendants’ multinational




 334
    LTC Dale E. Fincke, Principles of Military Communications for C3i, Army War College
 School of Advanced Miliary Studies, (May 20, 1986), https://tinyurl.com/289buwd7.
 335
     General George W. Casey, Jr., The Army of the 21st Century, Army (Oct. 1, 2009), 2009
 WLNR 30869494. “The Israeli-Hezbollah conflict also illustrates the potential impact of hybrid
 threats. Hezbollah employed modern civil technology (secure cell phones, computers and video
 telecommunications systems) combined with military means (antitank, surface-to-air and
 antiship missiles, rockets, mortars and unmanned aerial vehicles) and improvised explosive
 devices in an innovative array of unanticipated patterns.” Id.
 336
       Id.
                                                   330
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 corporate muscle. 337 Indeed, in 2010, General Casey noted Hezbollah’s use of cell phones and

 secure computers for command and control, which allowed Hezbollah to inflict far higher

 casualties on their Israeli enemies: “[Hezbollah] had secure cell phones, used secure computers

 for command and control and got their message out on local television, and about 3,000

 Hezbollah operatives basically held off 30,000 well-armed, well-equipped Israeli soldiers.” 338

        1075. Interoperability. Defendants also ensured that Hezbollah, the Qods Force, and

 Regular IRGC realized enormous gains in terrorist effectiveness and lethality based upon the

 unique interoperability advantages that MTN Group, MTN Dubai, ZTE Corp., and Huawei Co.

 afforded to the IRGC and its terrorist allies.

        1076. Intelligence. Defendants also ensured that Hezbollah, the Qods Force, and

 Regular IRGC achieved a generational improvement in their intelligence collection. As one

 analyst told the Christian Science Monitor, “[m]obile phone networks and how they connect is

 one of the IRGC’s key priorities because it’s one of the key tools for opponents,” and concluded

 the IRGC was “improving its connectivity and information-sharing.” 339

        1077. MTN Group, MTN Dubai, ZTE Corp, and Huawei Co. served as corporate

 “covers” for Hezbollah, the Qods Force, and Regular IRGC and intentionally structured

 transactions, supplier relationships, and pricing decisions, among other things, for the specific



 337
     Indeed, Hezbollah’s leader, Hassan Nasrallah, declared that Hezbollah’s control of an
 independent fiber-optic-based cellular network was its “Number One weapon,” and compared
 attacking it to an attack on his person. Cam Simpson, Lebanon Deal Boosts Hezbollah; Islamists
 Gain After Battle Over Secret Fiber-Optic Network, Wall Street Journal (May 22, 2008) (“[I]t is
 forbidden to touch [anything] linked to the networks, whether an engineer, a company or a
 mayor. Touching them is like touching me.”).
 338
   J.D. Leipold, CSA Addresses Worldwide Challenges at Brookings Institution, Defense
 Department Documents (Feb. 2, 2010), 2010 WLNR 2196129.
 339
   Iason Athanasiadis, How Iranian Dissidents Slip Through Tehran’s Airport Dragnet,
 Christian Science Monitor (Feb. 8, 2010), 2010 WLNR 2676528.
                                                  331
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 purpose of illicitly obtaining state-of-the-art American technology, like enterprise level servers.

 The end goal: transfer the illicitly obtained goods to Hezbollah, the Qods Force, and Regular

 IRGC for their use in the terrorist campaign against Americans around the world. By serving as

 corporate “covers” for Hezbollah, the Qods Force, and Regular IRGC each Defendant

 significantly increased the potency of the scheme, as demonstrated by how long it has endured.

                2.      Terrorist Finance

        1078. Cash Flow From MTN Irancell and TCI Revenue. Hezbollah, the Qods Force,

 and Regular IRGC derived substantial terrorist funding from the billions of dollars in MTN

 Irancell and TCI-related cash flows, and at least hundreds of millions of dollars annually.

        1079. From 2005 through the present, MTN Group’s and MTN Dubai’s illicit

 transactions with MTN Irancell, the Bonyad Mostazafan, IEI, TCI (including MCI), Exit40,

 and/or the Akbari Fronts, provided millions, annually, in illicit funds, weapons, and operational

 support to Hezbollah, the Qods Force, and Regular IRGC, which the IRGC flowed through to its

 al-Qaeda and the Taliban, including its Haqqani Network, terrorist proxies, who used such

 resources to attack Americans in Afghanistan, including Plaintiffs and their loved ones.

        1080. MTN Group and MTN Dubai significantly increased the cash flowing through

 MTN Irancell and TCI, and ultimately deployed by Hezbollah, the Qods Force, and Regular

 IRGC. They did so by illicitly supplying the state-of-the-art American technologies, like servers,

 to MTN Irancell and TCI, and by extension the IRGC (including Hezbollah and the Qods Force)

 needed to attack Americans abroad.

        1081. By illicitly helping MTN Irancell grow the footprint of its network, MTN Group

 helped generate new cash flow by connecting more customers to MTN and therefore causing

 more money to flow through MTN Irancell to Hezbollah, the Qods Force, and Regular IRGC.



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         1082. As a matter of economic first principles, MTN Group’s and MTN Dubai’s

 participation in MTN Irancell caused the latter to become more profitable, because MTN Group

 was able to bring its networking expertise to the table.

         1083. MTN’s logic compels this conclusion. According to Gordon Kyomukama, Chief

 Technical Officer of MTN, “[a]t MTN, extending the footprint of our network and services to

 ensure that we connect more people has been and remains a high priority for our company.” 340

         1084. On information and belief, on or about 2012, MTN Group began discussions with

 one or more components of the U.S. government concerning MTN Group’s desire to repatriate

 hundreds of millions of dollars from MTN Irancell.

         1085. The financial, technical, communications, intelligence, and operational support

 that that MTN Group, MTN Dubai, ZTE Corp., and Huawei Co., and their respective U.S.

 manufacturers provided to their IRGC-controlled, including Qods Force-controlled,

 counterparties flowed through to al-Qaeda and the Taliban, including its Haqqani Network,

 through some channels that were “official” and some that were “off-the-books.”

         1086. From 2003 through the present, Hezbollah, the Qods Force, and Regular IRGC

 supplied al-Qaeda and the Taliban – directly to each constituent member – with substantial and

 regular arms deliveries, financial aid, training, logistical support, communications technology

 (including secure American mobile phones), safe haven assistance, and aid with narcotics

 trafficking, each form of aid facilitated their shared terrorist enterprise against America (i.e., the

 Conspiracy), which the IRGC’s Shiite Terrorist Proxies and IRGC’s Syndicate Terrorist Proxies

 used to aid the terrorists’ ability to execute the attacks that injured Plaintiffs.




 340
    Intelsat, Press Release: Uganda Joins Forces with Intelsat, ITSO and MTN to Accelerate 3G
 Network Infrastructure Deployment in Rural Areas (May 4, 2018), https://tinyurl.com/yzr7jw8c.
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        1087. The embargoed dual-use American technology –included the annual funneling of

 thousands of secure American smartphones, hundreds of millions of U.S. Dollars, and a vast

 network of logistical and operational support for the Irancell and TCI fronts that MTN Group,

 MTN Dubai, ZTE Corporation, and Huawei Corporation provided to their counterparties

 controlled by Hezbollah, the Qods Force, and Regular IRGC. This technology flowed through to

 the al-Qaeda and Taliban terrorists who committed each attack that injured each Plaintiff,

 through transfers made by Hezbollah, the Qods Force, and Regular IRGC to al-Qaeda and the

 Taliban, including its Haqqani Network.

        1088. With respect to MTN Group’s, MTN Dubai’s, ZTE Corporation’s, and Huawei

 Corporation’s “official” transactions with the IRGC, including Hezbollah and Qods Force, front

 counterparties – which, though notorious, were still illegal – flowed through Hezbollah, the Qods

 Force, and Regular IRGC into the specific terrorist organizations upon which the IRGC relied to

 conduct Iranian “security” operations outside of Iran including, but not limited to:

 (i)    Hezbollah’s External Security Organization Budget: In order to fund, arm, train,
        equip, and logistically support designated terrorist groups, or forward deployed
        Hezbollah terrorists, that joined the Conspiracy to attack Americans including, but not
        limited to:

        a. Hezbollah’s forward deployed operatives worldwide, including but not limited to,
           Hezbollah attack planners, bomb makers, logisticians, trainers, attack cells,
           fundraisers, financiers, propagandists, and videographers, all of whom were regularly
           forward deployed, under IRGC doctrine, to help commit and plan terrorist attacks
           alongside local proxy groups (e.g., the Taliban in Afghanistan) wherever Americans
           were found, including, but not limited to, Iraq, Iran, Lebanon, Syria, Yemen, Bahrain,
           the U.A.E., Afghanistan;

        b. The other Hezbollah terrorists who forward deployed to support Iranian terrorist
           proxies worldwide, including, but not limited to, al-Qaeda and the Taliban.

 (ii)   The Qods Force’s “Security” Budget: In order to fund, arm, train, equip, and
        logistically support designated terrorist groups that specifically targeted Americans
        including, but not limited to:



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        a. Hezbollah in Lebanon, Iraq, Syria, Yemen, Afghanistan, Europe, and elsewhere
           through cooperation with al-Qaeda and the Taliban including its Haqqani Network;

        b. The IRGC Syndicate Terrorist Proxies, in order to facilitate terrorist attacks against
           Americans worldwide, including, but not limited to, Iraq, Syria, Yemen, Afghanistan,
           and Europe through cooperation with these FTOs”.

        1089. MTN Group, MTN Dubai, ZTE Corp., and Huawei Co., and their respective U.S.

 manufacturers, Defendants ZTE USA, ZTE TX, Huawei USA, Huawei Device USA, and

 Skycom, each showered millions in value upon Hezbollah, the Qods Force, and Regular IRGC

 each year: For MTN, from 2005 until the present; for ZTE, from at least 2008 through at least

 2016; and for Huawei, from at least 2008 through at least 2014.Their official transactions flowed

 through Hezbollah to the terrorist(s) that committed each attack against each Plaintiff.

        1090. MTN Group’s, MTN Dubai’s, ZTE Corp.’s, Huawei Co.’s, and their respective

 U.S. manufacturers, Defendants ZTE USA, ZTE TX, Huawei USA, Huawei Device USA, and

 Skycom’s covert “off-the-books” assistance to the terrorists was no less important. Hezbollah,

 the Qods Force, and Regular IRGC provided tens of millions of dollars “off-the-books” to

 Hezbollah and (through Hezbollah) to local terrorist proxies since Hezbollah’s inception.

 Defendants’ “off-the-books” financial-, technology-, and services-related transactions with their

 IRGC, including Hezbollah Division and Qods Force, front counterparties also flowed through

 the IRGC, its Hezbollah Division and Qods Force, into Hezbollah’s, the Qods Force’s – and

 ultimately their proxies’ – terrorist budgets in order to fund the attacks committed by al-Qaeda

 and the Taliban in Afghanistan that injured each Plaintiff. MTN’s, ZTE’s, and Huawei’s illicit

 transactions with the Bonyad Mostazafan, IEI, MTN Irancell, TCI (including MCI), the Akbari

 Fronts, and/or Exit40 provided millions in illicit “off-the-books” income, often in U.S. dollars, to

 Hezbollah, the Qods Force, and Regular IRGC each year, which Hezbollah, the Qods Force, and




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 Regular IRGC then provided to al-Qaeda and the Taliban so that al-Qaeda and the Taliban could

 commit each attack that injured each Plaintiff, which they did.

        1091. On information and belief, from 2006 through on or about 2010, the IRGC

 diverted approximately twenty percent (20%) of its net income cash flow from MTN Irancell to

 the IRGC, Qods Force, and Hezbollah, with each receiving a similar amount each year. At those

 rates, MTN Irancell annually caused, at least, more than thirty million dollars to flow through the

 IRGC to the Qods Force, and more than thirty million dollars to Hezbollah, Such cash flows

 were delivered in regular, predictable amounts, and supported Qods Force and Hezbollah

 operations, weapons purchases, and personnel costs, among other expenses, in support of anti-

 American terrorist operations by Qods Force and Hezbollah throughout the Middle East

 including, but not limited to, Iran, Iraq, Lebanon, and Afghanistan.

        1092. On information and belief, after economic sanctions began to hammer the IRGC

 on or about 2010, the IRGC responded by cutting spending across the board in half, and

 therefore cut the cash flow through from MTN Irancell to the IRGC, Qods Force, and Hezbollah

 from twenty percent (20%) to ten percent (10%), with each receiving a similar amount each year.

 At those rates, MTN Irancell annually caused, at least, more than fifteen million dollars to flow

 through the IRGC to the Qods Force, and more than fifteen million dollars to Hezbollah. Such

 cash flows were delivered in regular, predictable amounts, and supported Qods Force and

 Hezbollah operations, weapons purchases, and personnel costs, among other expenses, in support

 of anti-American terrorist operations by Qods Force and Hezbollah throughout the Middle East

 including, but not limited to, Iran, Iraq, Lebanon, Afghanistan, Syria, and Yemen.

        1093. Cash Flow from Terrorist Fundraising Campaigns, Procurement Bribery,

 Khums, and Financial Management. Defendants’ assistance facilitated terrorist fundraising



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 campaigns by Hezbollah, the Qods Force, and Regular IRGC that directly supported attacks in

 Afghanistan and Iraq by channeling resources to the IRGC and its terrorist allies.

        1094. Defendants’ procurement bribes facilitated terrorist fundraising campaigns by

 Hezbollah, the Qods Force, and Regular IRGC that directly supported attacks in Afghanistan and

 Iraq by channeling resources to the IRGC and its terrorist allies.

        1095. Defendants’ indirect donations (khums), meaning the cash flow that Defendants

 triggered when they paid Hezbollah, the Qods Force, and Regular IRGC (e.g., when they bribed

 an IRGC cutout in Dubai), facilitated terrorist fundraising campaigns by Hezbollah, the Qods

 Force, and Regular IRGC that directly supported attacks in Afghanistan and Iraq by channeling

 resources to the IRGC and its terrorist allies.

        1096. Defendants assisted Hezbollah, the Qods Force, and Regular IRGC to

 revolutionize their financial management capabilities, which meant that the terrorists had more

 resources upon which to draw for killing Americans.

                3.      Weapons

        1097. Improvised Explosive Devices (IEDs). MTN, ZTE, and Huawei also supported

 the terrorist campaign through their financial support of fronts acting for Hezbollah, the Qods

 Force, and Regular IRGC which provided them funds, bomb parts, and other necessary material

 vital to al-Qaeda’s and the Taliban’s, including its Haqqani Network’s, ability to conduct a

 nationwide IED campaign targeting Americans in Afghanistan. Hezbollah, the Qods Force, and

 Regular IRGC manufactured and/or sourced key components for the Syndicate’s IED attacks,

 including, but not limited to, the military- and factory-grade embargoed communications

 technologies, which al-Qaeda and the Taliban used and which were vital to the Syndicate’s

 ability to build the advanced al-Qaeda-designed CAN fertilizer bombs (IEDs and suicide bombs)

 that benefited from the upgraded communications technologies provided by the IRGC, which in
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 turn helped al-Qaeda and the Taliban defeat the U.S. countermeasures designed to protect

 Plaintiffs from al-Qaeda’s bomb attacks, and which al-Qaeda and the Taliban used to commit

 many of the IED attacks that injured Plaintiffs.

        1098. MTN’s, ZTE’s, and Huawei’s conduct had an especially tight nexus with al-

 Qaeda’s and the Taliban’s, including its Haqqani Network’s, ability to execute signature al-

 Qaeda attacks involving the use of CAN fertilizer bombs, advanced rockets, and hostage-taking.

 Each IED and advanced rocket that al-Qaeda and the Taliban used to attack and injure each

 Plaintiff contained, reflected, was reverse-engineered from, and/or was otherwise technologically

 aided by Hezbollah’s, the Qods Force’s, and Regular IRGC’s use of embargoed American

 technology. In the case of Huawei, that embargoed American technology was obtained by and

 through, on information and belief, Huawei’s subsidiaries and employees in the U.S., including

 but not limited to Huawei USA, Huawei Device USA, and Futurewei. In the case of ZTE, that

 embargoed American technology was obtained by and through, on information and belief, ZTE’s

 subsidiaries and employees in the U.S., including but not limited to ZTE USA and ZTE TX. In

 the case of MTN, MTN provided such technology pursuant to MTN Group’s joint venture with

 Hezbollah, the Qods Force, and Regular IRGC through MTN Irancell. The embargoed

 American technology that MTN, ZTE (via ZTE USA and ZTE TX), and Huawei (via Huawei

 USA, Huawei Device USA, and Futurewei) covertly supplied to Hezbollah, the Qods Force, and

 Regular IRGC substantially improved the efficacy and lethality of each EFP and rocket used to

 attack and injure each Plaintiff.

        1099. MTN, ZTE, and Huawei also supported the terrorist campaign through their

 financial support of fronts acting for Hezbollah, the Qods Force, and Regular IRGC, which

 funded al-Qaeda’s and the Taliban’s, including its Haqqani Network’s, attacks against



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 Americans in Afghanistan. Hezbollah, the Qods Force, and Regular IRGC manufactured and/or

 sourced key components for the Syndicate’s IED, rocket, and kidnapping attacks, including, but

 not limited to, the military- and factory-grade embargoed communications technologies, which

 al-Qaeda and the Taliban used and which were vital to al-Qaeda’s and the Taliban’s ability to

 build the advanced al-Qaeda-designed IEDs that al-Qaeda and the Taliban used to commit many

 IED attacks that injured Plaintiffs.

        1100. The IRGC’s, al-Qaeda’s, and the Taliban’s, including its Haqqani Network’s,

 ability to effectively conduct IED attacks directly facilitated their small arms fire attacks against

 the United States in Afghanistan, including the attacks that killed and injured Plaintiffs. Among

 other reasons, terrorists in Afghanistan (and elsewhere) commonly used IED threats and

 placement histories to channel U.S. forces into specific pre-planned ambush sites, sometimes

 called “kill boxes,” in which the terrorists successfully anticipate the travel routes taken by U.S.

 personnel (the latter, to counter the former’s IED threats) and attack the U.S. servicemembers

 through an ambush involving small arms fire, rather than an IED.

        1101. Small Arms. Defendants’ assistance directly improved the lethality and

 accuracy of the small arms fire attacks conducted by the IRGC and its proxies, including al-

 Qaeda and the Taliban, including its Haqqani Network, by allowing the IRGC to purchase more,

 and more advanced, small arms and associated ammunition, and to provide more, and detailed,

 training on the advanced small arms tactics needed to successfully kill American

 servicemembers, including Plaintiffs.

        1102. Defendants’ assistance also directly aided the IRGC’s and its allies’ tracking and

 targeting of American servicemembers in Iraq and Afghanistan through the IRGC’s ability to

 manipulate Defendants’ technologies and services, which directly aided al-Qaeda’s and the



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 Taliban’s, including its Haqqani Network’s, small arms fire attacks against Americans in

 Afghanistan, including against Plaintiffs.

        1103. Rockets. Defendants’ assistance directly improved the lethality and accuracy of

 the rockets deployed by Hezbollah, the Qods Force, and Regular IRGC.

                2.      Recruiting, Fundraising, Strategic Communications, And
                        Disinformation

        1104. The IRGC, including its Hezbollah Division and the Qods Force, emphasized the

 centrality of orchestrated propaganda campaigns to drive recruiting and fundraising, strategic

 communications to deliver custom messages to custom audiences, and broad disinformation

 campaigns to conceal the Conspiracy. The terrorists devoted so much time to these efforts for an

 obvious reason: they played a vital role in furthering the Conspiracy and maximizing the

 number of Americans the terrorists could kill in Afghanistan, Iraq, and throughout the Middle

 East. “Based on their extensive reach in the communications economy,” according to Ms. Gill,

 “the IRGC orchestrated a ‘comprehensive messaging strategy’ using radio and television

 broadcasts, newspapers, websites, and social media accounts to amplify the message that the

 Islamic Republic was under attack from the West. Using media infrastructure … and

 telecommunications infrastructure …, the IRGC actively engaged the communications economy

 in defending the Islamic Republic against the soft war tactics of the West. Gill at 110.

        1105. In so doing, the Conspiracy leveraged the explosion of information technologies

 and computing power since 2000. As the United Nations Office on Drugs and Crime

 (“UNODC”) documented in 2012:

        Technology is one of the strategic factors driving the increasing use of the
        Internet by terrorist organizations and their supporters for a wide range of
        purposes, including recruitment, financing, propaganda, training, incitement to
        commit acts of terrorism, and the gathering and dissemination of information for
        terrorist purposes. While the many benefits of the Internet are self-evident, it may
        also be used to facilitate communication within terrorist organizations and to
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        transmit information on, as well as material support for, planned acts of terrorism,
        all of which require specific technical knowledge for the effective investigation of
        these offences. 341

        1106. Recruiting and Fundraising. Islamist terrorists have widely relied upon

 antisemitic appeals to raise money, recruit followers, and gain other advantages.

        Fourteen years after 9/11, terrorist groups motivated by Islamic extremist
        ideology, from Al Qaeda to the Islamic State of Iraq and Syria (ISIS), continue to
        rely on depictions of a Jewish enemy – often combined with violent opposition to
        the State of Israel – to recruit followers, motivate adherents and draw attention to
        their cause. Anti-Israel sentiment is not the same as anti-Semitism. However,
        terrorist groups often link the two, exploiting hatred of Israel to further encourage
        attacks against Jews worldwide and as an additional means of diverting attention
        to their cause. 342

        1107. Few terrorists are more committed to this strategy than Hezbollah, the Qods

 Force, and Regular IRGC who have long used baldly antisemitic propaganda as a core part of

 their terrorist Conspiracy, by spreading the hateful slur that the United States and Israel are part

 of a Jewish-led cabal seeking to take over Muslim lands.

        1108. The IRGC’s campaign to spread hateful antisemitic propaganda about Israel, the

 United States, and people of the Jewish faith were not the idle musings of disorganized radical

 Islamists blogging out of their parents’ basements. These were industrial scale, IRGC- and

 Hezbollah-administered propaganda campaigns that sought to strengthen the terrorist

 conspirators’ ability to attack Americans worldwide by, among other things: (1) bolstering

 terrorist fundraising by increasing the potency of the terrorists’ online fundraising appeals, and

 thereby drive more dollars to the terrorist campaign; (2) recruiting more terrorists by creating

 the initial touchpoints for new recruits, e.g., a 16-year old watches a splashy Hezbollah video and


 341
    United Nations Office on Drugs and Crime, The Use of the Internet for Terrorist Purposes at
 1 (Sept. 2012), https://tinyurl.com/2p8yd643.
 342
    Anti-Defamation League, Anti-Semitism: A Pillar of Islamic Extremist Ideology at 1 (2015),
 https://tinyurl.com/3a6fe4zd.
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 decides to join the group; and (3) enhancing the terrorists’ concealment by flooding the zone

 with propaganda designed to persuade the population to support the terrorists or, at least, not rat

 them out to the Americans nearby (almost as good), by portraying a common enemy.

        1109. Regular media discussions also specifically alerted Defendants that the IRGC,

 including its Hezbollah Division and the Qods Force deployed antisemitic propaganda to raise

 money and recruit terrorists.

        1110. In furtherance of the Conspiracy, MTN Group and MTN Dubai were, and remain

 to this day, one in spirit with the antisemitic terrorist recruiting messaging of the IRGC,

 including Hezbollah, and the Qods Force, as well as their co-conspirators in Syria (like the Assad

 regime) and Afghanistan (like al-Qaeda and the Taliban).

        1111. First, MTN Group and MTN Dubai regularly enabled the creation, uploading,

 distribution, downloading, and propagation of a near-constant 24/7 river of terrorist recruitment

 appeals by, among others, the IRGC, Hezbollah, and the Qods Force, through their provision of

 technical, financial, operational, and personnel support to MTN Irancell and MTN Syria, both of

 which reinforced the recruiting campaigns.

        1112. Second, MTN Group and MTN Dubai have never publicly condemned the

 antisemitic terrorist propaganda they have enabled in Iran (through MTN Irancell), Syria

 (through MTN Syria), Yemen (through MTN Yemen), and Afghanistan (through MTN

 Afghanistan). In every country, MTN Group and MTN Dubai facilitated the local MTN

 subsidiary’s direct and indirect assistance to the recruiting campaigns, all of which followed the

 Hezbollah playbook of using over-the-top bile to raise awareness for recruiting drives,

 fundraising solicitations, and more.




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        1113. MTN Group and MTN Dubai were (and remain) one in spirit with the IRGC’s,

 including Hezbollah’s and the Qods Force’s, antisemitic terrorist recruiting message. Most

 obviously, MTN Group and MTN Dubai are the but-for cause of the terrorists’ ability to spread

 their recruitment pitches so effectively through the litany of terrorist-enabling services that MTN

 Group committed every MTN subsidiary and affiliate to provide to all “Iranian Shareholders,”

 i.e., the IRGC, including its Hezbollah Division and the Qods Force, which substantially

 bolstered the terrorists’ antisemitic recruiting and fundraising pitches.

        1114. Since 2005, MTN Group and MTN Dubai have broadcast the terrorists’

 antisemitic recruiting propaganda throughout the Middle East while never once publicly stating

 that: (a) Israel has a right to exist; (b) bomb attacks against Americans in the Middle East by

 Iranian proxies are wrongful; or (c) the Holocaust should be remembered. The reason is

 obvious—MTN agrees with its terrorist business partner: they are one in spirit. 343

        1115. Strategic Communications and Disinformation. After 9/11, Hezbollah, the

 Qods Force, and Regular IRGC was keenly aware how an effective strategic communications

 campaign could directly aid their transnational terrorist Conspiracy. Indeed, no major global

 terrorist group has a longer, more prolific, or more impactful record of turning effective strategic

 communications campaigns into new sources of funds, personnel, safehouse, and the litany of

 other functions that required an ever-growing group of allies and enablers.




 343
    A Westlaw News search designed to obtain any media report containing the phrases “MTN
 Group” or “MTN Dubai” within 100 words of the roots for Israel and antisemitism (Westlaw
 News “MTN Group” or “MTN Dubai” /100 Israel! Antisem! Holocaust!) reveals approximately
 300 documents as responsive hits. Nothing. A comprehensive Google search similarly reveals
 no statement. MTN Group could, of course, cease broadcasting terrorist propaganda, publicly
 issue a sweeping defense of Israel’s right to exist, and unequivocally condemn bomb attacks
 supported by Iran. MTN Group’s obvious refusal to do so in nearly two decades flies so contrary
 to global corporate norms one may conclude that MTN Group and the IRGC are one in spirit.
                                                  343
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        1116. The U.S. military concluded long ago that there was a direct relationship between

 effective strategic communications and overall probability of success on a given venture. This

 reflects a recognition, as General George W. Casey, Jr., explained, “Conflicts” will continue to

 take place under the unblinking scrutiny of the 24-hour media cycle and the World Wide Web….

 Adversaries will have many forums in which to disseminate their messages worldwide.” 344

        1117. Hezbollah, the Qods Force, and Regular IRGC also understood that effective

 strategic communications were necessary to further the Conspiracy by, among other things,

 promoting a disinformation campaign designed to conceal the Conspiracy by causing the spread

 of falsehoods relating to it, and preventing controversies that could expose co-conspirators,

 incentivize people to exit the Conspiracy, or foreseeably cause a co-conspirator to be financially

 or logistically unable to continue supporting the Conspiracy, such as a threat that could cause a

 corporate co-conspirator to lose billions of dollars or cause an individual co-conspirator to lose

 their life or freedom.

        1118. Ms. Gill explained, as published by NATO, that “[t]he Invisible Hand of the

 IRGC” touched every transaction relating to MTN Irancell, TCI, and their associated IRGC front

 shareholders and thus “the reliance of the IRGC’s strategic narrative on the communications

 economy concerns more than explicitly ideological motivations; a distinctly coercive element

 can also be identified. Beyond their devotion to the Construction Jihad, the Guard relied on the

 communications economy as a tool of power projection.” Gill at 108. She concluded: “[w]hilst

 strategic narratives construct the truth, communications economies enable control over




 344
   General George W. Casey, Jr., The Army of the 21st Century, Army (Oct. 1, 2009), 2009
 WLNR 30869494.
                                                 344
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 communicative processes; both reinforce one another to create a hegemonic understanding of

 reality that supports a political actor’s values, interests, or objectives.” Id. at 113.

         1119. MTN Group coordinated the strategic communications and crisis prevention

 efforts relevant to the entire terrorist Conspiracy, and managed MTN Irancell-related strategic

 communications and public branding outside of Iran.

         1120. Ever since MTN Group committed itself and every MTN subsidiary and affiliate

 to the Conspiracy on September 18, 2005, MTN Group pursued an aggressive, more than

 decade-long, strategic communications campaign to further the Conspiracy.

         1121. MTN Group successfully suppressed any leaks, materially negative press

 reporting, or public sector investigations in the United States, Europe, Africa, or Southeast Asia

 concerning MTN Group’s and MTN Dubai’s secret agreement with Hezbollah, the Qods Force,

 and Regular IRGC until on or about March 28, 2012, when Turkcell sued MTN in federal district

 court in Washington, D.C., at which time a whistleblower revealed the secret Agreement to the

 world through Turkcell’s lawsuit. On information and belief, MTN Group relied upon effective

 strategic communications and crisis prevention services to prevent negative information from

 “leaking” for nearly seven years after the Agreement was signed.

         1122. MTN Group’s successful communications strategy prevented any major media

 scandals concerning MTN Group from between 2005 and 2010. Ordinarily, of course, a parent

 company’s brand equity is of no moment in an Anti-Terrorism Act case. But when that parent

 company is, effectively, the joint venture partner of terrorists, as is the case here, and when the

 point of the joint venture is to generate cash flow and serve as cover for sourcing illicit weapons

 parts, then the parent company’s brand and reputation are essential.




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        1123. Simply put, MTN Group began serving as the IRGC’s telecommunications- and

 computing-related financial and logistics agent worldwide in 2005, never stopped doing so, and

 continues to play the same role today even after the IRGC was designated an FTO. To

 accomplish that task, MTN Group coordinated a strategy with MTN Dubai to engage in a series

 of illegal and fraudulent transactions designed to raise money and source key terrorist

 components from the United States.

        1124. When MTN Group and MTN Dubai operated a worldwide campaign to, among

 other things, illicitly source more than ten thousand (10,000) high-tech American-manufactured

 smartphones from sellers within the United States to MTN Group and MTN Dubai’s crooked

 agents, employees, and cut-outs worldwide, MTN Group and MTN Dubai were acting as a

 front for Hezbollah and the Qods Force.

        1125. MTN Group’s and MTN Dubai’s continued service as a terrorist front even after

 these issues surfaced in litigation in 2012, 2019, and in the instant case. MTN Group and MTN

 Dubai continue to act as a now notorious front for the IRGC (an FTO), the Qods Force (an FTO),

 Hezbollah (an FTO), all of whom, as constituent members of the IRGC were, and remain, parties

 to the Agreement between “MTN” (i.e., all MTN entities worldwide) and the Iranian

 Shareholders (i.e., all component parts of the IRGC, necessarily including the IRGC’s Hezbollah

 Division and Qods Force). Plainly, they mean to serve as a terrorist front.

        1126. In their capacity as long-standing joint venture allies, fundraising partners, and

 illicit sourcing fronts since 2005, MTN Group and MTN Dubai knew, or were generally aware,

 that there was a direct, linear, and measurable relationship between MTN Group’s and MTN

 Dubai’s public reputation and brand health on the one hand, and the volume of money and

 illicitly sourced technology that ultimately flowed through to the IRGC, Hezbollah, the Qods



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 Force, and their terrorist proxies worldwide on the other. On information and belief, such

 knowledge, or general awareness, extended to, among others: (1) MTN Group’s President and

 CEO; (2) MTN Group’s Commercial Director; (3) MTN Group’s Board of Directors; (4) MTN

 Group’s in-house counsel and “compliance” 345 staff; (5) MTN Group’s external advisors; and (6)

 MTN Dubai’s country manager.

        1127. The better MTN Group’s and MTN Dubai’s public reputation and brand health,

 the more cash to flow through MTN Irancell to the terrorists because, among other reasons: (1)

 the better MTN Group’s and MTN Dubai’s brand, the better the sales for MTN Group’s joint

 venture partner, the IRGC, through Irancell; and (2) the easier it was for MTN Group and MTN

 Dubai to illicitly source the technology demanded by Hezbollah and the Qods Force – especially

 for the higher-cost items like servers, or unusually large bulk orders of less expensive (but still

 costly) items, like smartphones. Often, such transactions required that MTN Group, MTN

 Dubai, and the agents and cut-outs acting on their behalf, transact with suppliers who were more

 concerned about reputational risk in comparison to the more traditional high-tech black market

 resellers for things like smartphones.

        1128. From 2005 through at least 2011, MTN Group and MTN Dubai pursued a

 successful strategic communications campaign that prevented any catastrophic public relations

 scandals in the United States, Europe, Africa, or Southeast Asia concerning MTN Irancell, MTN

 Group, or any other MTN subsidiary or affiliate that could have undermined MTN Group’s and




 345
    MTN Group and MTN Dubai are actively, and defiantly, aiding multiple Foreign Terrorist
 Organizations through the ongoing river of cash they are effectively causing to flow to the IRGC,
 including its Lebanese Hezbollah division and Qods Force, through MTN Irancell, which MTN
 Group and MTN Dubai refuse to immediately compel to wind down. As such, one may
 reasonably assume that “compliance” as currently practiced at MTN Group and MTN Dubai is
 just another euphemism at MTN Group.
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 MTN Dubai’s ability to serve as “cover” most effectively for the Conspiracy’s continuing efforts

 to illicitly source weapons and funds to enable terrorist attacks against Americans globally.

        1129. On or about December 2010 or January 2011, MTN Group caused MTN Nigeria

 to hire Individual 1, a former high-level official in the Obama Administration, ostensibly to give

 two speeches, for which Individual 1 accepted a $100,000 speaking fee. On information and

 belief, MTN Group either wired the $100,000 to Individual 1’s bank account in the United States

 itself, or MTN Nigeria wired the $100,000 to Individual 1’s bank account at the direction of

 MTN Group, which thereafter reimbursed MTN Nigeria.

        1130. When MTN Group caused MTN Nigeria to pay Individual 1’s $100,000 speaker

 fee, it was not because MTN Group or MTN Nigeria were interested in Individual 1’s speech.

 Instead, on information and belief, MTN Group caused MTN Nigeria to pay Individual 1,

 because MTN Group knew that Individual 1 would return to the Obama Administration, and

 MTN Group intended to induce Individual 1’s service as a backdoor channel to the White House.

        1131. MTN Group paid Individual 1 because MTN Group knew Individual 1 would be

 immensely influential within the Obama Administration while it was analyzing, among other

 things, the geopolitical and public messaging concerns attendant to question of whether to soften

 the then-existing sanctions, which were crushing the IRGC, and therefore undermining MTN

 Group’s joint venture partner – and, by extension, MTN Group.

        1132. MTN Group’s retention of Individual 1 in December 2010 and indirect payment

 (through its captive subsidiary, MTN Nigeria) of $100,000 to Individual 1 was an act in

 furtherance of the Conspiracy. On information and belief, MTN Group wired $100,000 to

 Individual 1, causing it to be received by Individual 1 inside the United States, hoping that




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 Individual 1 would, in effect, be on MTN Group’s “side” (or at least, willing to take a meeting)

 when the time was right concerning the sanctions on MTN Group’s JV partner, the IRGC. 346

        B.      Defendants Knew That Their Provision Of “Security” “Cooperation” Aid To
                Hezbollah, The Qods Force, And Regular IRGC Supported Terrorist
                Attacks Against Americans In Afghanistan By IRGC Proxies Al-Qaeda And
                The Taliban Because Defendants Knew That “Security” Was An IRGC
                Euphemism For The IRGC Proxy Attacks Against Americans

        1133. By 2005, Defendants’ experiences, communications, and awareness of basic facts

 concerning Iran alerted Defendants to the fact that Iran’s “security” was controlled by the IRGC,

 Hezbollah, and the Qods Force and such “security” was a widely known euphemism for

 kidnapping and terrorist attacks against Americans by these groups. Defendants knew that their

 assistance to Hezbollah, the Qods Force, and Regular IRGC furthered the IRGC’s support for

 terrorists and proxies like al-Qaeda and the Taliban, and constituted an agreement to aid anti-

 American terrorists that was illegal under U.S. law.

                1.     In-Person IRGC Communications as Terrorist Tradecraft

        1134. Under standard principles of IRGC terrorist tradecraft, each of the “Iranian

 Shareholders,” including but not limited to each Defendants’ handlers and contacts at the IRGC,

 including its Hezbollah Division and the Qods Force, communicated to Defendants the core price

 of doing business with Irancell and TCI: that they would have to aid the “security” agenda of

 Iran, and in particular, Iran’s transnational terrorist logistics enterprise. MTN Group and MTN

 Dubai’s experience negotiating with the IRGC from 2004 through 2005 proves it, and the IRGC,




 346
    Whether MTN Group’s transparent attempt to grease a senior insider worked does not matter.
 What matters is that MTN Group – more than five (5) years after joining the Conspiracy in 2005
 – was still coordinating substantial expenditures of time and money for the obvious purpose of
 improving the economic climate in which MTN Irancell, and by extension the IRGC, operated,
 and regularly reaching into the United States to do so.
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 on information and belief consistently followed the same approach with ZTE and Huawei. As a

 result, MTN Group, MTN Dubai, ZTE, and Huawei knew the deal.

                 2.     Iranian Constitution

         1135. Defendants knew that Iran’s constitution distinguishes “security” from other

 Iranian governmental functions consistent with what Defendants knew — that “security” in Iran

 means “terror” against Americans outside of it. Examples drawn from Iran’s constitution

 include, but are not limited to:

 (i)     Preamble: “[T]he Islamic Revolutionary Guards Corps are to be … responsible …for
         fulfilling the ideological mission of jihad in God’s way; that is, extending the
         sovereignty of God’s law throughout the world (this is in accordance with the Qur’anic
         verse ‘Prepare against them whatever force you are able to muster, and strings of horses,
         striking fear into the enemy of God and your enemy, and others besides them’ [8:60]).” 347

 (ii)    Article 145: “No foreigner will be accepted into the Army or security forces of the
         country.”

 (iii)   Article 172: “Military courts will be established by law to investigate crimes committed
         in connection with military or security duties by members of the Army, the Gendarmerie,
         the police, and the Islamic Revolution Guards Corps.”

                3.      Iranian National Security Council

         1136. The Iranian National Security Council’s structure ensured Defendants knew that

 “security” was a euphemism for Iran-backed terrorist campaigns against the United States

 worldwide. Most obviously, Iran’s National Security Council is responsible for its terrorist

 agenda, including Iran’s routine deployment of proxies like Hezbollah to coordinate attack

 campaigns against Americans globally. 348


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    The emphasized passages are widely understood, inside Iran and around the world, to refer to
 the IRGC’s foundational mission of attacking the United States around the world in order to
 advance the Iranian Islamic Revolution.
 348
   See, e.g., Ali Reza Nader (Senior International Policy Analyst at RAND Corp.), Iran Vote is
 Cause for Optimism, Realism, Star Tribune (June 19, 2013) (“A 20-year parliamentarian,


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                4.      Hezbollah Structure

        1137. Hezbollah’s organizational chart also confirmed that Defendants knew that

 “security” was a euphemism for terror. As the “Hezbollah Division” of the IRGC, Hezbollah is a

 subordinate branch of the IRGC, and therefore because the IRGC is in charge of “security” in

 Iran, it necessarily follows that “security” matters in Iran also include Hezbollah and the Qods

 Force. Moreover, from the 1990s through the present, the structure of Hezbollah’s purported

 “terrorist wing” 349 has always been officially and publicly referred to as Hezbollah’s “External

 Security Organization.”

                5.      IRGC Doctrine

        1138. Unlike nearly every other terrorist group, the IRGC was founded and explicitly

 committed to anti-American terror as a matter of Iranian national security doctrine targeting the

 United States (the “Great Satan”) for external terrorist attacks in order to advance Iran’s Islamic

 revolution globally. As Dr. Mark Silinsky, a 36-year veteran military intelligence analyst at

 DOD and an affiliated professor at the University of Haifa, explained in 2019:

        The third major goal of the IRGC is combatting Iran’s declared enemies, the
        most reviled of whom are the United States, Israel, and Saudi Arabia. A leading
        IRGC-controlled media outlet claims that those three countries “finance terrorists
        and provide them with weapons.” Iranian hatred of the United States is deep and
        enduring. Early in his adulthood, Khomeini named the United States the “Great
        Satan,” a moniker that endures today. … Iranian leaders often clamor that the
        United States has dominated weaker countries for centuries and proclaim that the
        United States intends to destroy Islam and the Islamic Republic of Iran. In Iran,




 Rowhani formerly led Iran’s security council, so he has had direct knowledge and/or
 involvement in Iran’s internal repression and external support of terrorist organizations like
 Hezbollah.”), 2013 WLNR 15146323.
 349
     Like its IRGC overlords, and Iranian terror proxies like Jaysh al-Mahdi, Lebanese Hezbollah
 maintains a fictional separation between their “terrorist” and “political” wings, but this is just
 terrorist tradecraft designed to provide concealment for Hezbollah operatives, and there is no
 meaningful firewall between the two wings.
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         there are broadcasts, television shows, movies, songs, and video games with the
         theme of destroying America. 350

                6.      Iran-Focused Scholars

         1139. According to a broad consensus of Iran scholars, “security” ordinarily is

 understood in the Iranian context, by all sides, to refer to IRGC-related terror operations against

 Americans carried out by the Hezbollah, the Qods Force, and associated terrorist proxies,

 including, but not limited to:

 (i)     Tony Badran, September 2011: “[T]he Qataris also ran their initiative by Tehran, in
         order to … assure the Iranians that Syria’s ‘security doctrine’ meaning its policy of
         support for so-called ‘resistance movements’ sponsored by Iran would remain intact.” 351

 (ii)    Ambassador R. Nicholas Burns, January 2016: “[T]he people who actually run Iran’s
         security policies, their intelligence networks, their support to the terrorist groups like
         Hezbollah and Hamas, are in the Iranian Revolutionary Guard Corps. That group of
         people has a fundamentally more anti-American, cynical, brutal view of the future of
         Middle East politics.” 352

 (iii)   Nakhleh Emile, June 2017: “Iran has supported Sunni and Shia terrorist organizations
         over the years … in the service of its national interest. Supporting proxy terrorist groups
         has been a principle of Iran’s security doctrine for years, especially during the period
         when Iran was threatened with the possibility of regime change.” 353

 (iv)    Dr. Ronen Bergman and Dr. Raz Zimmt, July 2018: “While the Iranian nuclear program
         isn’t under the IRGC’s command, its security definitely is.” 354



 350
    Dr. Mark Silinsky, Iran’s Islamic Revolutionary Guard Corps: Its Foreign Policy and
 Foreign Legion, Marine Corps Univ., Expeditions with MCUP (Digital Journal) (Jan. 2019)
 (emphasis added), https://tinyurl.com/j7s3z77t.
 351
    Tony Badran (Foundation for Defense of Democracies), U.S. Human Rights Policy in Iran
 and Syria, Congressional Testimony via FDCH (Sept. 22, 2011), 2011 WLNR 24786203. Syria
 and Iran share a common “security doctrine” dictated by the IRGC.
 352
   R. Nicholas Burns, quoted in Ashish K. Sen, Dealing with Iran: A Policy of Engagement and
 Deterrence, Harvard Belfer Center for Sci. & Int’l Affairs, States News Service, (Jan. 19, 2016).
 353
    Nakhleh Emile, Aligning With Iran Necessary to Combat Sunni Extremism, Iran Times Int’l
 (June 9, 2017), 2017 WLNR 23277897.
 354
   Dr. Ronen Bergman and Dr. Raz Zimmt, Israel’s Most Dangerous Enemy: Who Are You,
 Hajj, Qasem Soleimani?, Yedioth Ahronoth (Israel) (July 3, 2018), 2018 WLNR 20323696.
                                                  352
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 (v)        Seth Frantzman, July 2020: “Iran said it hoped Iraq would play a greater role in regional
            security, apparently meaning helping Iran work with Syria and perhaps be a conduit for
            Iran’s weapons trafficking to Syria. Iran has sent ballistic missiles to Iraq in 2018 and
            2019 and trafficking precision guided munitions via Iraq's Al-Qaim border area with
            Syria. Iraq has recently tried to replace some units on the border to make the border more
            secure. Regional security, for Iran, means regional Iranian hegemony. Iraq is Iran's ‘near
            abroad’ in this equation. The pressure on Kadhimi was intense during the recent visit and
            Iran showed it means business in terms of pressuring the US to leave Iraq.” 355

 (vi)       Ariane Tabatabai, November 2020: “[Qassem] Soleimani and [Mohsen] Fakhrizadeh,”
            the “head of research and innovation at Iran’s Ministry of Defense,” “were the architects
            of two pillars of Iran’s security policy: its proxy and nuclear programs … Both helped
            create the infrastructure and develop the programs. But their deaths won't lead to a
            fundamental change, as institutions will continue the projects.” 356

                   7.      Terrorist Statements

            1140. Public statements by the IRGC, Hezbollah, and the Qods Force also alerted

 Defendants that “security” was a code word for anti-American terror operations by the IRGC,

 Hezbollah, and the Qods Force, including, but not limited to:

 (i)        BBC, July 2013: “Iran’s MP on security and foreign affairs denounce[d] an EU decision
            to include Hezbollah military wing in the list of terrorist organizations.” 357

 (ii)       Fars News Agency (Iran), February 2014: “An Iranian deputy foreign minister blasted
            Washington for raising baseless allegations against Tehran, and said the US which
            supports terrorist groups with financial, political and arms aids cannot accuse others of
            advocating terrorism. … ‘The Lebanese Hezbollah is strongly fighting terrorism in
            support of the country’s security and stability,’ the Iranian official added.” 358

 (iii)      IRIB World Service (Iran), March 2016: “Iran says a decision by Persian Gulf Arab
            states to brand Lebanon’s Hezbollah as a terrorist group is a ‘new mistake’ that will
            undermine peace in the region and unity in Lebanon. … ‘Those who call Hezbollah




 355
    Seth J. Frantzman, Iran’s Maximum Pressure on Iraq to Remove US Forces, Jpost.com
 (Jerusalem Post online) (July 22, 2020), 2020 WLNR 20379547.
 356
   Quoted in Arkansas Democrat Gazette, Iran Claims Israel, U.S. Linked To Slaying Of Key
 Nuclear Scientist (Nov. 28, 2020), 2020 WLNR 34141033.
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   BBC Int’l Reports (Central Asia), Programme Summary of Iranian Gorgan Radio News 1600
 gmt 24 Jul 13 (July 25, 2013).
 358
        Fars News, Iran Raps US Double-Standard Policy Towards Terrorism (Feb. 12, 2014).
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         terrorists, have intentionally or unintentionally targeted the unity and security of
         Lebanon,’ Iran's Deputy Foreign Minister Hossein Amir-Abdollahian said.” 359

 (iv)    Naharnet (Lebanon), March 2016: “A top Iranian security official … hailed …
         ‘Hizbullah has played a key role in … protecting Lebanon’s security,’ said Ali
         Shamkhani, the head of the Supreme National Security Council of Iran.” 360

 (v)     Seth Frantzman, July 2020: “The Ayatollah stressed that while Iran does not interfere in
         Iraq, it is the ‘corrupt’ Americans who are interfering in Iraq and who only sow
         destruction in the region. … [Iraqi Prime Minister] Kadhimi also met with Ali
         Shamkhani, the head of the Supreme National Security Council. Shamkhani has visited
         Iraq earlier this year to pressure Iraq to expel US forces. … Shamkhani's meeting with
         Kadhimi was meant to be yet another piece of Iran’s maximum pressure to get US forces
         out of Iraq. Shamkhani said the Us was ‘evil’ and that it was a ‘malicious, terrorist’
         element in Iraq that was leading to insecurity.” 361

                8.      Iran-Related “Security” Media Coverage

         1141. Regular media discussions also specifically alerted Defendants that “security”

 was a code word for anti-American terror operations by the IRGC, Hezbollah, and the Qods

 Force, including, but not limited to:

 (i)     Denver Rocky Mountain News, April 1992: “Mughniyeh, chief of security for Hezbollah,
         the Iranian-sponsored [group], and head of its terrorist arm, Islamic Jihad (Holy War).” 362

 (ii)    San Francisco Chronicle, September 2001: “Arranges security for meeting between bin
         Laden and [] Mughniyeh, security chief for the Iran-sponsored … Hezbollah.” 363

 (iii)   Washington Post, November 2001: “Iran’s foreign and security policies … back terrorist
         groups such as Hezbollah … [T]he head of Iran's judiciary[] recently summed up the
         view of this wing of the government: ‘Our national interests lie with antagonizing the


 359
   IRIB World Service (Iran), [P]GCC Branding of Hezbollah as Terrorist a New Mistake: Iran
 (Mar. 3, 2016), 2016 WLNR 6748676.
 360
    Naharnet (Lebanon), Iran: Hizbullah Played Key Role in Eradicating Terror in Syria,
 Protecting Lebanon (Mar. 17, 2016), 2016 WLNR 8288436.
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    Seth J. Frantzman, Iran’s Maximum Pressure on Iraq to Remove US Forces, Jpost.com
 (Jerusalem Post online) (July 22, 2020), 2020 WLNR 20379547.
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   Holger Jensen, Sanctions Target Libya, Ignore Other Terrorist Regimes, Denver Rocky
 Mountain News (Apr. 16, 1992), 1992 WLNR 425546.
 363
   Lance Williams and Erin McCormick, Bin Laden’s Man in Silicon Valley, San Francisco
 Chron. (Sept. 21, 2001).
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           Great Satan,’ he stated. … It would be a mistake for the Bush administration to warm
           relations without serious progress in reining in Iran’s … terrorist links.” 364

 (iv)      Jerusalem Post, June 2002: “Once in southern Lebanon, the 1992 Palestinian deportees,
           like Jenin Islamic Jihad leader Sheikh Bessam Sa’adi learned bomb-making and terror
           techniques from Hizbullah militants and Iranian security agents.” 365

 (v)       Boston Herald, March 2004: “All this would be news for Iranians and specialists were it
           not for [the] fact[] [that] Iran’s security agencies … are the biggest backers of terrorism
           in the Middle East, notably through … Hezbollah….” 366

 (vi)      Newsweek, June 2004: “While the link to Iran has been publicly known for some time,
           the 9/11 commission has uncovered evidence that in the mid-1990s Osama bin Laden
           cast aside religious differences with the Iranians and arranged to have his terror
           operatives conduct training in explosives and security at Iranian-backed camps run by
           Hizbullah in Lebanon.” 367

 (vii)     Express on Sunday, March 2005: “[T]he terrorist group Hezbollah and [] Iranian security
           chiefs … are key sponsors of international terrorism.” 368

 (viii) AP Worldstream, August 2006: “State Department spokesman Sean McCormack …
        denounced Iran as a supporter of terror groups in defiance of U.N. resolution. That
        support, he said, was ‘an integral part’ of Iran’s foreign and national security policy.” 369

 (ix)      Khaleej Times, September 2009: “The Middle East Times reported … that the [U.S.] was
           stepping up scrutiny of Iranian security and military personnel in the Lebanese
           communities of Latin America. … US officials said that in addition to boosting rates of
           recruitment, Hezbollah agents, supported by Iran, are using very effective routes to
           smuggle drug profits to the Middle East to aid anti-US counterparts …” 370

 (x)       Australian, April 2010: “An ASIO assessment included in the [Australian] federal
           government's recent counter-terrorism white paper drew attention to the presence in
           Australia of the Lebanese Hezbollah External Security Organisation (ESO), an Iranian-


 364
       Washington Post (Op-Ed), The Irony of Iran (Nov. 11, 2001).
 365
       Matthew Gutman, Packing Up Our Troubles, Jerusalem Post (June 28, 2002).
 366
       Boston Herald (Op-Ed), Taking First Steps in Iran (Mar. 21, 2004).
 367
   Michael Isikoff and Mark Hosenball, Terror Watch: Friends of Al Qaeda, Newsweek Web
 Exclusives (June 16, 2004), 2004 WLNR 3641416.
 368
       Tim Shipman, How Real is Terror Threat to Britain?, Express on Sunday (Mar. 6, 2005).
 369
   Barry Schweid, U.S. Foresees Further Defiance By Iran To U.N. Demands On Uranium
 Enrichment, AP Worldstream (Aug. 8, 2006).
 370
       Khaleej Times, The Enemy at the Gates (Sept. 27, 2009), 2009 WLNR 19020314.
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            sponsored group described on the federal government's national security website as
            ‘among the best-organised terrorist networks in the world’ … ASIO pinpointed ESO as a
            group ‘with a long history of engaging in terrorist acts.’” 371

 (xi)       American Forces Press Service, April 2010: “Defense officials have described the
            security threats posed by Iranian proxies operating in the Middle East -- Hamas in Gaza
            and Hezbollah in Lebanon -- which the United States and Israel consider terrorist
            organizations.” 372

 (xii)      Reuters, October 2017: “The Revolutionary Guards (IRGC) are Iran's most powerful
            internal and external security force.” 373

                   9.      “Security” Euphemism-Related Media Coverage

            1142. Defendants could not possibly have missed the meaning of “security” when they

 acted in furtherance of the Conspiracy because decades of media, television, and film events

 across a broad array of cultures, religions, and languages in the U.S., Europe, the Middle East,

 and Africa, where Defendants’ employees and agents live and work, alerted Defendants that

 “security” was a famously common euphemism for “terrorism,”, including, but not limited to:

 (i)        Miami Herald, July 1992: “[T]he FMLN has created what the government calls ‘terror
            squads’ euphemistically named ‘security commissions.’” 374

 (ii)       Journal of Commerce, November 2002: “The Maritime Transportation Security Act
            gives us a new euphemism. Inside the Beltway, a ‘terrorist attack’ is now a
            ‘transportation security incident.’” 375

 (iii)      Aberdeen American News, June 2004: “‘On the roller coaster ride that Iraq has become,
            …[w]hat’s euphemistically referred to as ‘security concerns’ … would be referred to as
            violent, bloody terrorism in most other parts of the world.’” 376




 371
        Australian, Iranian Embassy ‘Spying on Activist Students’ (Apr. 6, 2010).
 372
   John J. Kruzel, Gates Satisfied with U.S. Planning to Counter Iran, Am. Forces Press Serv.,
 Def. Dep’t Documents (Apr. 27, 2010), 2010 WLNR 8757413.
 373
        Reuters, Iran Warns US Against Imposing Further Sanctions (Oct. 8, 2017).
 374
        Miami Herald, Peace on a Razor’s Edge (July 30, 1992), 1992 WLNR 2253569.
 375
        R. G. Edmonson, Washington View, J. of Commerce (Nov. 18, 2002), 2002 WLNR 1291549.
 376
        Aberdeen Am. News, U.N. Vote Brings Glimmer of Hope (June 10, 2004).
                                                   356
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 (iv)      Jerusalem Post, August 2004: ““The term ‘security prisoners’ is … a euphemism for
           ideologically motivated murderers convicted of terrorist activities against Israelis.”” 377

 (v)       Toronto Star, May 2005: “In an extraordinary trip to Abu Ghraib prison … she
           encounters the now-notorious U.S. Army General Janis Karpinski, who tells her that
           ‘security detainees,’ the euphemism for terrorism suspects held by the U.S. forces, are
           ‘relaxed, comfortable, and had everything they need.’” 378

 (vi)      Times of India, November 2006: “There are an infinity of angles at which Anglo-
           Pakistani relations fall but there is only one - security - at which they stand. The ‘S’
           word is a euphemism for the ‘T’ word. Terrorism, as sponsored by Pakistan.” 379

 (vii)     New American, April 2008: “Lieutenant General Keith Dayton, the Bush
           administration’s Security Coordinator for Palestine, testified … on the supposed need to
           fund President Abbas’ ‘security forces,’ a euphemism for the collection of terrorist thugs
           from the al-Aqsa Martyrs Brigades, Islamic Jihad, … and [] other … militias.” 380

 (viii) Birmingham Post, October 2008: “[A]n event … sought to consider ‘security and
        community cohesion’ a euphemism for extremism and terrorism, natch).” 381

 (ix)      BBC International Reports (Latin America), October 2013: “Although paramilitary
           forces could serve the interests of the State, its members act as mercenaries, assault
           squads, thugs, and private security groups, the latter a euphemism for terrorists.” 382

 (x)       Electronic Intifada (Palestine), August 2021: “The term ‘ISF’ – which stands for ‘Israeli
           security forces’ – is a total misnomer and euphemism for occupation forces who provide
           anything but ‘security.’ Their job, rather, is to terrorize and repress.” 383




 377
       Efraim Inbar (Bar-Ilan University), Let Them Starve, Jerusalem Post (Aug. 22, 2004).
 378
       Olivia Ward, Finding Dignity Amid the Chaos; Iraq Journal, Toronto Star (May 22, 2005).
 379
       Rashmee R. Lal, TomKat Nuptials Like Blair-Mush Compact, Times of India (Nov. 19, 2006).
 380
       William F. Jasper, A Bad Investment, New American (Apr. 28, 2008).
 381
   Chris Allen, Freedom of Expression is Built on the Right to Offend, Birmingham Post (UK)
 (Oct. 16, 2008), 2008 WLNR 19647906. “Natch” means “naturally; as may be expected.”
 382
    BBC Int’l Reports (Latin America), Costa Rican Daily Warns Caution Over Alleged Presence
 of Paramilitary Group (Oct. 3, 2013).
 383
    Electronic Intifada (Palestine), Video Shows Israeli Shooting That Killed 11-Year-Old Boy
 (Aug. 4, 2021), 2021 WLNR 25165762. Plaintiffs categorically reject the antisemitic bile
 displayed in this quote and offer it merely to show the widespread euphemistic use of “security.”
                                                    357
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 (xi)     Canada Stockwatch, September 2014: “[I]n the … Congo … a … ‘security incident[]’
          … is one of several euphemisms for an ‘act of terror …” 384

                 10.     Each Defendant’s Consciousness of Guilt

          1143. The conduct of MTN Group, MTN Dubai, MTN Group’s President and CEO,

 MTN Group’s Commercial Director, ZTE Corporation, ZTE USA’s in-house attorney, Huawei

 Co., Huawei Co.’s CFO, and others compels the conclusion that each Defendant knew that

 “security” was a euphemism for the external terror operations of Hezbollah, the Qods Force, and

 Regular IRGC. Each Defendant manifested obvious consciousness of guilt concerning their

 relationship with the Iranian Shareholders:

  (i)     MTN Group’s CEO concealed the secret agreement from MTN Group’s shareholders,
          Board of Directors, outside counsel, auditors, as well as various governments including,
          on information and belief, the U.S. government and the South African government.

  (ii)    ZTE Corp., and its internal legal department, also showed consciousness of guilt
          because it created internal memoranda intended to guide a company-wide scheme to
          evade U.S. sanctions to get embargoed U.S.-origin technology to Iran and oversaw a
          cover-up campaign designed to destroy and distort evidence of its criminal wrongdoing.
          When the ZTE USA general counsel learned of the company-wide scheme, he became a
          whistleblower that spawned massive criminal investigations, prosecutions, and fines.

  (iii)   Huawei Co. showed consciousness of guilt because it devised a scheme to conceal its
          role in sourcing embargoed U.S.-origin goods and services to Iran, while directing its
          officers, including its CFO, to make multiple material misrepresentations to U.S.
          authorities and financial institutions to conceal the scope and nature of its Iranian
          business. Further, when Huawei learned of the U.S. government’s investigations
          concerning Huawei’s Iranian interests, Huawei Co. ordered its employees, and the
          employees of its subsidiaries, including Huawei Device USA, to destroy documentary
          evidence and remove witnesses outside the jurisdiction of the U.S. authorities.

          1144. Defendants’ consciousness of guilt can only be explained by each Defendants’

 knowledge that the IRGC’s “security” assistance needs comprised knowingly providing material

 support for the terrorist agenda of Hezbollah, the Qods Force, and Regular IRGC for the specific



 384
    Canada Stockwatch, *MKTDIAM Diamonds & Specialty Minerals Summary for Sept. 22,
 2014 (Sept. 22, 2014).
                                                 358
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 purpose of facilitating the anti-American terror “security” operations of Hezbollah, the Qods

 Force, and Regular IRGC: (a) inside of Iran, e.g., joint training camps funded by the IRGC and

 staffed by Hezbollah, through which the IRGC’s Shiite Terrorist Proxies and Sunni Terrorist

 Proxies received essential training, safe haven, and logistical support designed to facilitate their

 terrorist attacks against Americans in Afghanistan, Iraq, Syria, Yemen, Israel, and Europe; and

 (b) outside of Iran, including, but not limited to, through IRGC proxies in Afghanistan, Iraq,

 Syria, Yemen, Israel, and Europe.

        1145. This conclusion is ineluctable for several reasons. With respect to the phrase

 “defensive, security, and political cooperation,” two of those three items were unquestionably

 legal in Defendants’ home countries. At all relevant times, South African and Chinese

 companies could legally sell weapons to Iran, and therefore it is implausible that Defendants

 were worried about the criminal risk of facilitating weapons sales from South Africa because

 however disgusting such conduct was, it was not illegal under South African law (and MTN

 Group did not have any U.S. affiliates).

        1146. Moreover, the South African and Chinese governments were both longstanding

 close allies of Iran based upon their unique historical bonds, and in such context, it is implausible

 that Defendants were concerned about breaking the law by promoting “political cooperation”

 between their respective countries and Iran, since “political cooperation” with Iran was a

 perfectly acceptable thing in both South Africa and China at all relevant times.

        1147. Only Defendants’ knowledge that “security” meant “Hezbollah, Qods Force, and

 anti-American terror” explains the totality of each Defendant’s conduct, as well as the parallel

 nature of their crimes, e.g., rampant document destruction. For Defendants to facilitate a

 helicopter sale to the regular Iranian Army (not the IRGC), or help broker political cooperation,



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 was not only legal, but in furtherance of the economic and political agendas of all but the U.S.

 Manufacturer Defendants’ home countries, South Africa and China. For Defendants to agree to

 provide “security assistance” to the IRGC (including Hezbollah and the Qods Force), however,

 was a categorically different matter.

        1148. With respect to MTN Group and MTN Dubai, directly assisting the “security”

 operations of Hezbollah, the Qods Force, and Regular IRGC plainly ran the risk of committing a

 litany of crimes under South African law (e.g., terrorism crimes and espionage), and created

 obvious – and dire – potential risk to any MTN Group or MTN Dubai executive, employee, or

 agent who participated in the Conspiracy without making a noisy withdrawal. Indeed, to this

 date, MTN Group and MTN Dubai have yet to exit the Conspiracy.

        1149.    With respect to ZTE and Huawei, the motivation to conceal their direct

 “security” assistance to the IRGC was rooted in an obvious explanation: both sought to facilitate

 the hostile activities of the Chinese Communist Party that aided the IRGC’s Shiite Terrorist

 Proxies and the IRGC’s Sunni Terrorist Proxies in order to facilitate attacks against targeted

 Americans in Afghanistan, Iraq, and throughout the Middle East to drive the U.S. out so that

 China could become the dominant regional power consistent with the ideology and agenda of the

 Chinese Communist Party.

        C.      Defendants Knew Their Illicit Transfers Of Cell Phones To Hezbollah, The
                Qods Force, And Regular IRGC Aided the Conspiracy’s Terrorist Attacks
                Against Americans Worldwide

        1150. Defendants knew that their illicit provision of U.S. smartphones, computing

 technologies, and other items requested by Hezbollah, the Qods Force, and Regular IRGC was

 an act of international terrorism because Defendants knew that such phones, supplied in such

 volumes to such terrorists, would fund and logistically aid thousands of terrorists every year.



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        1151. Defendants knew that Hezbollah, the Qods Force, and IRGC proxies like al-

 Qaeda, depended upon reliable supplies of cell phones as a key growth engine for expanding the

 shared global terrorist enterprise they needed to effectively counter the U.S. and NATO and kill

 Americans in Afghanistan and Iraq. For example, as the Montreal Gazette reported at the time:

        Under [] Ahmadinejad [], U.S. officials said, the [IRGC] has moved increasingly
        into commercial operations, earning profits and extending its influence in Iran in
        areas involving big government contracts, including … providing cell phones.
        Washington has claimed the Revolutionary Guard’s Quds Force wing is
        responsible for the growing flow of explosives, roadside bombs, rockets and other
        arms to Shiite militias in Iraq and the Taliban in Afghanistan. Quds Force has
        also been blamed for supporting Shiite allies such as Lebanon’s Hezbollah and to
        such Sunni movements as Hamas and the Palestinian Islamic Jihad. 385

        1152. Defendants knew that, since 9/11, every major transnational Islamist terrorist

 organization that has targeted Americans has prioritized providing its operatives have a robust,

 reliable, and covert supply of two material items above all else: stockpiling vast quantities of

 secure, untraceable American mobile phones, and obtaining as much U.S. currency as possible.

 This maxim holds true for Shiite and Sunni groups alike, including, but not limited to, the IRGC

 (including Hezbollah and the Qods Force) Jaysh al-Mahdi, al-Qaeda, the Taliban (including its

 Haqqani Network), ISIS, al-Nusra Front, and every other major group.

        1153. Decades of media coverage alerted Defendants to Hezbollah’s specific reputation

 for using cell phones to help commit terrorist violence. 386


 385
    Montreal Gazette (Canada), What is the Revolutionary Guard? (Aug. 16, 2007), 2007 WLNR
 28659733.
 386
    See, e.g., Marjorie Miller, Hezbollah Battles to Shed Extremist Image in Lebanon, Los
 Angeles Times (Nov. 28, 1997) (“Hezbollah us[ed] mobile phones to coordinate attacks and
 roadside bombs camouflaged as rocks.”), 1997 WLNR 5640765; Montreal Gazette (Canada),
 B.C. Men Accused of Aiding Hezbollah (Mar. 29, 2001) (“Two men … were accused of aiding
 the Islamic extremist group Hezbollah in an indictment … They are said to have conspired to
 provide Hezbollah with cash, night-vision goggles, global-positioning devices, mine-detection
 equipment, cell phones and blasting equipment.”), 2001 WLNR 6561271; Carolynne Wheeler,


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        1154. Indeed, Defendants were alerted by Hezbollah’s own public statements taunting

 the United States concerning a purported “US ‘request’ for information on mobile phones.” 387

        D.      Defendants Knew That Their Protection Payments To The Taliban,
                Facilitated Terrorist Attacks By Al-Qaeda And The Taliban Against
                Americans In Afghanistan And Were Opposed By The U.S. Government For
                That Reason

                1.      Defendants Knew That Their Cash And “Free Goods” Protection
                        Payments To The Taliban, Financed, Armed, And Logistically
                        Sustained Terrorist Attacks By Al-Qaeda And The Taliban Against
                        Americans In Afghanistan

        1155. Defendants knew (or recklessly disregarded) that they were supplying funding to

 Taliban terrorists intent on attacking Americans in Afghanistan. The Taliban openly proclaimed



 Israeli Troops Enter Village in Lebanon, globeandmail.com (Toronto), (July 22, 2006) (“Air
 strikes took out relay towers belonging to Lebanon's three main cellular phone companies,
 Hezbollah's al-Manar television network … Such communications channels are traditional
 targets ahead of military action.”), 2006 WLNR 27225853; Detroit Free Press, Israeli Push
 Deepens Conflict (July 23, 2006) (“Capt. Jacob Dallal, an Israeli army spokesman, said the
 targets of the strikes were Al-Manar and Al-Nour, Hizballah's TV and radio stations,
 respectively. He said five of the radio station's antennas were hit. ‘It's important to understand
 why the attack was carried out,’ Dallal said. ‘This will disrupt their ability to communicate,’ he
 said, adding that cell phones were a ‘key communication link’ for Hizballah.”), 2006 WLNR
 25249492; Jonathan Foreman, Defusing the Iraqi Conflict, Daily Mail (UK) (Nov. 2, 2007)
 (“Back at base, [Chris] Hunter [a “veteran 'ammunition technical officer' or counterterrorist
 bomb-disposal expert”] looks for patterns in the way that bombs are made and laid. At first his
 main opponent is a Sunni bomb-making gang, who are happy to slaughter scores of Shia
 civilians along with Coalition soldiers. Then, in the spring of 2004 comes the Shia militia
 uprising. They increasingly receive high-tech help from Iran and even Lebanese Hezbollah in
 using devices such as mobile phones ....... to detonate bombs by remote control.”), 2007 WLNR
 21680052; Kenneth Timmerman, Fear Grips Democracy in Lebanon, Washington Times (Mar.
 2, 2009) (“Almost everyone I met warned me about using my cell phone. It was common
 knowledge that Hezbollah officers in the security forces were regularly intercepting phone calls
 and tracking their human targets by triangulating the signals the phones send out to cell phone
 towers around the city.”), 2009 WLNR 4034008.
 387
     Al-Sharq al-Awsat, BBC International Reports (Middle East), Lebanese Hezbollah Reacts to
 US “Request” For Information on Mobile Phones (Mar. 3, 2010) (“Lebanese Hezbollah reacts to
 US “request” for information on mobile phones. Accusations against the US Embassy in Beirut
 that it seeks to obtain sensitive information on the mobile phone networks raised doubts within
 Hezbollah. Hezbollah has doubts that this information might be used by the US intelligence in
 infiltrating the communications network and tracking Lebanese figures.”).
                                                362
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 that the money was for terrorism: as the Taliban told one subcontractor in a typical example,

 “You know we need this American money to help us fund our Jihad.” 388 The demands for

 payments, which the Taliban itself tied to the insurgency, alerted Defendants to the connection

 between the payments and insurgent violence. As one security firm that faced demands for

 protection money acknowledged in a November 2007 memorandum, it was obvious that “[i]f we

 make payment that money will be funneled back into [the Taliban’s] fight against the Coalition.”

           1156. Defendants also negotiated their payments in circumstances that left no doubt

 about whom they were financing. With respect to the large-scale payments negotiated directly

 with the Quetta Shura, Defendants (or their agents) met with high-level Taliban representatives

 who openly represented the Taliban’s Financial Commission. The payments to local Taliban

 officials likewise occurred via negotiations with commanders or shadow “governors” who

 openly identified as Taliban members. Given the Taliban-controlled geographies in which

 Defendants operated, Defendants assuredly knew (or recklessly disregarded) that the officials

 they were paying off worked for the Taliban.

           1157. The Taliban memorialized its protection racket in documents that further notified

 Defendants that they were financing terrorists. Most prominently, the Taliban often conveyed its

 demands for protection payments in so-called “Night Letters.” Night Letters – whose name

 comes from their frequent delivery during the night – were documents on official Taliban

 letterhead bearing the Taliban’s insignia. Although Night Letters could convey a variety of

 threats, the Taliban commonly sent them to companies to demand protection payments. One

 typical example, delivered to phone companies in Wardak Province, stated that “we are

 expecting you to provide financial support for the Taliban stationed in Saidabad district. If you



 388
       Afghan Firms Pay Off Taliban.
                                                 363
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 cannot, then you should stop your work. Otherwise you have no right to complain in the future

 (we are warning you of future incidents).” Another, authored by the “Islamic [Emirate] of

 Afghanistan” (the Taliban’s formal name for itself), informed a local construction company that

 it “cannot continue to work unless it does obtain permission from the Mojahedeen. Or else, it

 does not have the right to complain.” Night Letters were widespread in Afghanistan, particularly

 in areas of Taliban control, and were one of the principal means through which the Taliban

 communicated its demands for protection money to companies, including Defendants.

        1158. Similarly, after effecting the payments, companies regularly received so-called

 “tax receipts” from the Taliban, providing them with documentation proving they had paid their

 dues to the insurgents. The Taliban Financial Commission encouraged the provision of tax

 receipts as a way of further standardizing and accounting for the revenue raised through the

 insurgents’ protection rackets. And those tax receipts – like the Night Letters – appeared on

 Taliban letterhead and made clear on their face that protection money was intended for the

 Taliban’s benefit. On information and belief, Defendants or their agents received Night Letters

 and Taliban tax receipts in connection with their projects in Afghanistan.

        1159. Defendants did not believe – nor was it true – that their payments were necessary

 for them to avoid imminent death or serious bodily injury. The Taliban typically did not extract

 protection payments by physically confronting companies and threatening immediate violence;

 rather, the threats were often vaguer and futuristic – as in the Night Letters mentioned above.

 Many times, those threats were directed at Defendants’ equipment or projects, rather than their

 personnel. Given the non-immediate nature of the threats, Defendants could notify the U.S.

 government of the Taliban’s protection racket and try to enlist the military’s assistance in




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 responding. But rather than avail themselves of such options, Defendants decided that the

 simplest (and most profitable) option was to make the payments the Taliban demanded.

             1160. Defendants’ practice of funneling many (though far from all) of their payments

 through subcontractors, only heightens their culpability. Defendants intentionally used the

 contracting process to insulate themselves from the payments on paper, but that process –

 offloading responsibility to local subcontractors several layers removed – was simply their

 technique for encouraging the payments while avoiding responsibility. 389 The payments may

 often have been physically delivered by an intermediary, but Defendants knew they were

 occurring and purposefully orchestrated them. That is because Defendants could only obtain

 their desired business outcome by ensuring that their money actually reached the Taliban. Had

 Defendants’ subcontractors spent the money on some other, legitimate purpose, rather than

 directing it to the Taliban, Defendants would not have obtained the security benefit they wanted.

             1161. Western contractors have confirmed their understanding that, during the relevant

 timeframe, local intermediaries were routing contract money to the Taliban on their behalf. The

 head of one private-security company admitted that his “boss wouldn’t appreciate it if I went to

 negotiate face to face with the tribal leaders of Helmand” – historically a key part of Taliban

 leadership – so he instead used “intermediaries who recruit our security guards locally.” 390

 Exemplifying the no-questions-asked mentality typical of many contractors, the executive stated,

 “You just hope they’re not linked too closely with the Taliban.” 391



 389
    As General Petraeus explained in formal contracting guidance designed to further discourage
 protection payments to the Taliban, “[e]xcessive sub-contracting tiers provide opportunities for
 criminal networks and insurgents to divert contract money from its intended purpose.”
 COMISAF’s Contracting Guidance at 1 (September 2010).
 390
       Taliban’s Secret Weapon.
 391
       Id.
                                                   365
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             1162. Another contractor negotiating a shipment of pipes through Helmand confirmed

 to a reporter that he typically “tacked on about 30 percent extra for the Taliban,” which he

 accounted for as “transportation costs” charged back to the prime contractor running the

 project. 392 When the “foreign contractor in charge of the project” was asked about it, the

 contractor admitted, “We assume that our people are paying off the Taliban.” 393

             1163. Yet another American contractor admitted that his protection payments –

 amounting to 16% of his gross revenues – were “ all revenue that will ultimately be shared by the

 Taliban.” 394 This contractor was well aware of the consequences: “ ‘All of this could be seen as

 material support for enemy forces,’ he muse[d]. ‘But you have to weigh that against everything

 that is being done in that project. Are you aiding and abetting the enemy if you have to pay to

 get a school built? It’s the cost of doing business here.’ ” 395

             1164. By no later than 2008, Chinese media reports specifically alerted Defendants that

 the Taliban, relied upon communications technologies to conduct attacks against Americans in

 Afghanistan. For example, on February 25, 2008, Xinhua News Agency, which is a Chinese

 Communist Party analogue to the Associated Press, reported that the “Taliban threaten[ed]

 Afghan mobile telecom companies,” which alerted Defendants to the Taliban’s communications

 technology rackets in Afghanistan. 396




 392
       Funding The Afghan Taliban.
 393
       Id.
 394
       How The Taliban Thrives at 50.
 395
       Id.
 396
    Xinhua News Agency, Taliban Threatens Afghan Mobile Telecom Companies (Feb. 25,
 2008).
                                                   366
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           1165. At all relevant times, it was common knowledge among businesses operating in

 Afghanistan, including Defendants, that Western contracting dollars were flowing to the Taliban

 in the form of protection money. Because the Taliban openly demanded the money – and

 because local subcontractors openly paid it – companies on the ground in Afghanistan were

 widely aware of the practice. One journalist referred to such payments as an “open secret” 397;

 another called protection payments a “widely known practice in Afghanistan” 398; and experts

 described it to CBS News as an “open secret on the streets.” 399 Defendants were sophisticated

 companies with millions of dollars in revenues on the line in Afghanistan. They were aware of

 this prevailing understanding that their “security” payments were flowing to the Taliban.

           1166. A Time Magazine cover story on September 7, 2009, entitled “Taliban Inc. – How

 Drugs, Extortion, Protection Rackets And Foreign Aid Fuel The Afghan Insurgency,”

 accompanied a full-page cover graphic depicting an AK-47 lying on top of a box full of $100

 bills. In the article, the author noted that “protection payments are so widespread that one

 contractor I interviewed responded incredulously to questions about how the system worked.

 ‘You must be the only person in Afghanistan who doesn’t know this is going on,’ he said.” 400

           1167. From the mid-2000s onward, accounts from other prominent media sources also

 reported that multinational corporations, including their contractors and subcontractors, were

 redirecting Western contract funds to the Taliban. Those widespread reports further informed

 Defendants that their expenditures in Afghanistan were delivering protection money to the

 Taliban. Examples of such reports included, but were not limited to:


 397
       Funding The Afghan Taliban.
 398
       Dana Chivvis, Is The Taliban Getting A Cut Of U.S. Aid?, CBS News (Sept. 3, 2009).
 399
       Nancy Cordes, Is Taxpayer Money Funding The Taliban?, CBS News (Sept. 3, 2009).
 400
       How The Taliban Thrives at 50.
                                                367
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 (i)        BBC International Reports (Europe), October 2004: “[T]he merging of organized crime
            and terrorism is a new phenomenon. BND President Hanning assumes ‘that terrorist
            structures, such as the Taleban and Al-Qa’idah, finance their fight through the
            extortion of protection money as well as direct involvement in drug-trafficking.’ ” 401
 (ii)       National Post, September 2006: “The Taliban still have a partnership with al-Qaeda,
            which provides them training and foreign fighters. …[T]he Taliban is also … taking
            protection money like any mafia, and using that money to fund their insurgency.” 402
 (iii)      Times Record News, August 2008: “The Taliban tried a similar cell phone tower
            extortion racket, but it backfired. StrategyPage reported on June 15 that the Taliban
            were expanding ‘their extortion campaign, demanding that businesses pay “protection
            money” to avoid being attacked’ and an effort by the Taliban ‘to control cell phone use
            has quickly evolved into just another extortion campaign.’ . . . ‘But then, noting that
            there were several cell phone companies operating in southern Afghanistan, the Taliban
            went to the different companies and offered not only “protection,” but damage to a
            competitor, for a price.’ ” 403
 (iv)       Inter Press Service, September 2008: “Often … logistics companies … pay protection
            money … In one route, …contractors pay millions in protection money, some of which
            may end up in the hands of the Taliban, [Matthew] Leeming says.” 404
 (v)        Deutsche Presse Agentur, June 2009: “Afghanistan’s private sector … finance[s] the
            insurgency … Those who … do business … pay protection money to the Taliban.
            ‘Everything has to do with money,’ said [Khalid] Naderi, who co-owns a
            telecommunications firm that operates in the [] south, where he pays $2,000 in protection
            money per month for each … mast[]. ‘You have to do it. Everybody does.’ ” 405
 (vi)       Frankfurter Rundschau (Germany), July 2009: “In the cases of major projects,
            contractors have to have the construction plans and bidding documents scrutinized by
            Taleban engineers after which the amount of the charge is fixed.” 406
 (vii)      Time Magazine, September 2009: “[Sargon] Heinrich says some 16% of his gross
            revenue goes to ‘facilitation fees,’ mostly to protect shipments of valuable equipment
            coming from the border. ‘That is all revenue that will ultimately be shared by the
            Taliban.’ . . . In fact, protection payments are so widespread that one contractor I


 401
   BBC International Reports (Europe), German Intelligence Chief Says Bin-Ladin Still Alive
 (Oct. 10, 2004). All emphases in this paragraph are added.
 402
    Jaap de Hoop Scheffer, The World Can Do More: NATO’s Secretary-General On What
 Afghanistan Needs, National Post (Sept. 13, 2006), 2006 WLNR 26238821.
 403
        Times Record News, Anatomy Of Terror (Aug. 21, 2008), 2008 WLNR 31329261.
 404
    Anand Gopal, Afghanistan: Subsidised Fuel Trail Winds Back To Pakistan, Inter Press
 Service (Sept. 30, 2008).
 405
        How The Taliban Has Turned Extortion Into A Gold Mine.
 406
   Willi Germund, Steuergeld f ü r Taliban, Frankfurther Rundschau (July 1, 2009) (quoted by
 Thomas Ruttig, The Other Side at 20-21, Afghanistan Analysts Network (July 2009)).
                                                   368
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           interviewed responded incredulously to questions about how the system worked. ‘You
           must be the only person in Afghanistan who doesn’t know this is going on,’ he said.” 407
 (viii) Sydney Morning Herald, September 2009: “The Taliban also keep an eye on local
        individuals who get work on the project – especially those doing the all-important
        security jobs. . . . Deals in which the Taliban top up their coffers by demanding as
        much as 30 per cent of the value of a contract as protection money are rife.” 408
 (ix)      Washington Post, March 2010: “According to senior Obama administration officials,
           some of [the money] may be going to the Taliban, as part of a protection racket in
           which insurgents and local warlords are paid to allow the trucks unimpeded passage,
           often sending their own vehicles to accompany the convoys through their areas of
           control. The essential question, said an American executive whose company does
           significant work in Afghanistan, is ‘whether you’d rather pay $1,000’ for Afghans to
           safely deliver a truck, even if part of the money goes to the insurgents, or pay 10 times
           that much for security provided by … contractors.” 409
 (x)       New York Times, May 2011: “Critics say that payoffs to insurgent groups, either directly
           or indirectly, by contractors working on highways and other large projects in
           Afghanistan are routine. Some officials say they are widely accepted in the field as a
           cost of doing business, especially in areas not fully under the [government] control...” 410
 (xi)      Agence France Presse, September 2012: “ ‘Revenue extorted from nationwide
           enterprises such as … construction and trucking companies, mobile telephone operators,
           … and aid and development projects goes to the Taliban Financial Commission which
           answers to the Taliban leadership,’ said the report [by the U.N. al-Qaeda/Taliban
           sanctions team]. . . . The [U.N.] sanctions experts said the Taliban have made foreign
           development funds a ‘lucrative source’. ‘Estimates of Taliban income from contracts
           funded by … overseas donors range from 10 percent to 20 percent of the total, usually
           by the Taliban agreeing protection money with the contractor or demanding a cut.’ ” 411
 (xii)     The Hindu, September 2012: “[C]ontractors in Afghanistan often say they have to make
           payoffs of between 10 and 20 percent to ensure work can go ahead. In Farah, local
           officials have claimed that the payoffs are as high as 40 per cent.” 412



 407
       How The Taliban Thrives at 50.
 408
       Insurgents Play A Perilous Mountain Game.
 409
       Afghan Corruption.
 410
    Alissa J. Rubin & James Risen, Costly Afghanistan Road Project Is Marred By Unsavory
 Alliances, N.Y. Times (May 1, 2011) (“Afghanistan Road Project Marred By Unsavory
 Alliances”).
 411
    Agence France Presse, Taliban Made $400mn In 2011 From Taxes, Extortion: UN (Sept. 11,
 2012), https://www.nation.co.ke/news/world/Taliban-made--400-mn/1068-1504748-
 w0sl0a/index.html.
 412
       Praveen Swami, Why Terrorists Aren’t Scared of Sanctions, The Hindu (Sept. 12, 2012).
                                                   369
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        1168. On information and belief, Defendants were aware of these reports or similar

 ones, and their substance, which documented how protection payments made by Western

 contractors and subcontractors financed the Taliban’s terrorist attacks. Defendants are

 sophisticated companies, all of which specialize in performing work in high-risk countries like

 Afghanistan. Given their business models, and the contractual role they undertook to monitor

 the local security environment, Defendants each monitored open-source reporting on the risks of

 operating in Afghanistan. As part of those efforts, Defendants’ standard practice would have

 been to conduct basic research on the Afghan market and the mechanics of local subcontracting.

 Even cursory research of that nature would have uncovered the press reports discussing

 protection payments set forth above, or other similar reports.

        1169. Defendants’ above-described knowledge applied equally to Defendants’ “free

 goods” payments of cell phones to al-Qaeda and the Taliban. At all times, Defendants knew that

 al-Qaeda, the Taliban, and their allies prioritized obtaining U.S.-purchased cell phones for such

 phones’ unique operational benefits to the terrorists.

        1170. In the decades after 9/11, press reports regularly alerted Defendants to the

 Syndicate’s desire to source U.S.-purchased phones to facilitate attacks against Americans in

 Afghanistan. On June 20, 2003, for example, the Boston Globe reported that al-Qaeda operative

 “Iyman Faris” “pleaded guilty to providing material support to terrorists and conspiracy to

 provide support” and admitted that he “attended an Al Qaeda training camp in Afghanistan,”

 and, thereafter, “transported a cache of money and cellular phones for Al Qaeda” in

 “Afghanistan for use by bin Laden's fighters.” 413 A few months later, the Associated Press



 413
     Amber Mobley, U.S. Citizen Admits Planning Al Qaeda Attack Trains and a Bridge Allegedly
 on Hit List, Boston Globe (June 20, 2003), 2003 WLNR 3428108; see Derrill Holly, 20 years for
 alleged bridge plot;
                                                 370
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 reported that “[p]rosecutors” stated that “Faris” “assisted al-Qaeda’s work” when he “traveled to

 Pakistan and Afghanistan” and “carr[ied] out low-level missions for [al-Qaeda] terrorists” by,

 among other things, “provid[ing]” “cell phones and cash to al-Qaeda members.” 414

        1171. In later years, similar media reports documented al-Qaeda’s continuing efforts to

 source communications technologies, cell phones, and similar dual-use weapons from the United

 States. For example, on June 7, 2010, it was widely reported that a “federal grand jury” “charged

 a Texas man with attempting to provide al Qaeda with global positioning instruments, cell

 phones and a restricted publication on U.S. weapons in Afghanistan.” 415

        1172. Such reports also alerted Defendants that al-Qaeda’s and the Taliban’s reliance

 upon iconic American communications technologies deepened in the late 2000s, not unlike the

 knowledge, communications security, and communications efficiency benefits, among others,

 familiar to most smartphone users after the iPhone revolutionized the space in the late 2000s.

                2.      Defendants Knew That The U.S. Government Opposed Defendants’
                        Payment Of Protection Money To The Taliban

        1173. The U.S. government did not approve, publicly or privately, of Defendants’

 protection payments. At all times, the government conveyed the message that protection

 payments violated U.S. law and undermined U.S. foreign-policy objectives in Afghanistan.

        1174. The U.S. government has long been on record that protection payments to

 terrorists are unlawful – no matter their motivation. On March 19, 2007, Chiquita Brands

 International, Inc. (“Chiquita”), a multinational banana supplier, pleaded guilty in this District to



 414
    Derrill Holly, 20 Years For Alleged Bridge Plot; Iyman Faris, 34, Tried to Withdraw a Guilty
 Plea; Prosecutors Say He Assisted Al-Qaeda's Work, Associated Press, reprinted in Philadelphia
 Inquirer (October 29, 2003), 2003 WLNR 14764150.
 415
    David C. Morrison, Behind the Lines: Our Take on the Other Media’s Homeland Security
 Coverage, CQ Homeland Security (June 7, 2010), 2010 WLNR 11991958.
                                                 371
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 having provided material support to the United Self-Defense Forces of Colombia (“AUC”) in

 Colombia. 416 Chiquita had routed protection payments to the AUC – then designated as a

 Specially Designated Global Terrorist – “through various intermediaries,” and had falsely

 accounted for them as “security payments.” 417 Chiquita later argued that it paid AUC protection

 money “under threat of violence,” but the U.S. Department of Justice responded that the

 “payments were illegal and could not continue.” 418 It thus charged Chiquita with (and Chiquita

 pleaded to) the federal crime of transacting with a Specially Designated Global Terrorist. 419

             1175. In the public press release announcing the plea deal, an Assistant Attorney

 General stated: “Like any criminal enterprise, a terrorist organization needs a funding stream to

 support its operations. . . . Thanks to Chiquita’s cooperation and this prosecution, that funding

 stream is now dry and corporations are on notice that they cannot make protection payments to

 terrorists.” 420 A U.S. Attorney further emphasized: “Funding a terrorist organization can never

 be treated as a cost of doing business. . . . American businesses must take note that payments to

 terrorists are of a whole different category. They are crimes.” 421 Defendants knew of the

 Chiquita settlement and its clear message that the U.S. government considered protection

 payments illegal. The settlement received extensive scrutiny among the international business




 416
    See Plea Agreement, United States v. Chiquita Brands Int’l, Inc., No. 07-cr-00055-RCL
 (D.D.C. filed Mar. 19, 2007), Dkt. 11.
 417
    Press Release, U.S. Dep’t of Justice, Chiquita Brands International Pleads Guilty To Making
 Payments To A Designated Terrorist Organization & Agrees To Pay $25 Million Fine (Mar. 19,
 2007) (“Chiquita Brands International Pleads Guilty”).
 418
       Id.
 419
    See 50 U.S.C. §§ 1701, 1705; 31 C.F.R. §§ 594.201(a), 594.701(c); Exec. Order No. 13,224,
 66 Fed. Reg. 49,079 (Sept. 25, 2001).
 420
       Chiquita Brands International Pleads Guilty.
 421
       Id.
                                                   372
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 community and was the subject of recurring media reports. Outlets describing the settlement

 included United Press International on March 14, 2007; the Washington Times on March 19,

 2007; the Associated Press the next day; and the Washington Post on August 2, 2007. 422

           1176. The U.S. government viewed protection payments in Afghanistan the same way.

 Government officials stated that, as with Chiquita’s payments to terrorists in Colombia,

 protection payments to the Taliban were unlawful and undermined U.S. reconstruction

 objectives. For example, at a House Subcommittee hearing, an Assistant Deputy Defense

 Undersecretary for Program Support was asked whether “facilitation payments . . . to provincial

 governors, to local police or warlords in order to ensure that trucks aren’t bothered [are] legal

 under United States law?” 423 He responded: “Clearly, it’s not . . . and it’s counterproductive to

 what we’re trying to do.” 424 The U.S. Special Inspector General for Afghanistan Reconstruction

 (“SIGAR”) similarly opined that “I don’t think that there should ever be or ever condone paying

 off a Taliban entity for anything . . . Obviously that’s wrong; it’s against the law and counter to

 any counterinsurgency or reconstruction initiative that we would like to see put in place.” 425

           1177. The congressional Commission on Wartime Contracting found it “particularly

 alarming” that “subcontractors on U.S.-funded convoys, road construction, and development




 422
    See United Press International, Chiquita To Pay $25M For Terrorist Payoffs (Mar. 14, 2007);
 Matt Apuzzo, Chiquita Pleads Guilty To Doing Business With Terrorists, Assoc. Press (Mar. 20,
 2007); Chiquita Pleads To Protection Payoffs, Wash. Times (Mar. 19, 2007); Carol D. Leonnig,
 In Terrorism-Law Case, Chiquita Points to U.S., Wash. Post (Aug. 2, 2007).
 423
    Hearing on Corruption in Afghanistan Defense Contracting (statement by Rep. John F.
 Tierney (D. Mass.)).
 424
       Id. (statement of Assistant Deputy Undersecretary Gary Motsek).
 425
       Funding The Enemy at 196.
                                                 373
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 projects pay insurgent groups for protection.” 426 Based on such statements, Defendants knew

 that the U.S. government was institutionally opposed to protection-money payments.

          1178. As the U.S. government became aware of broader patterns of protection payments

 in Afghanistan, it implemented a number of programs to curtail them. The net effect of these

 various efforts was to elevate anti-corruption to a distinct line of effort in the Coalition’s

 campaign plan, and to convey unmistakably to industry participants that protection payments

 were unacceptable. The U.S. government also implemented a broader array of programs

 designed to combat corruption in Afghanistan. The outgoing ISAF Commander underscored the

 importance of those measures to U.S. policy: as he briefed President Obama in 2013,

 “corruption is the existential, strategic threat to Afghanistan.” 427 Defendants’ payments fueled

 the type of corruption that U.S. agencies were attempting to eradicate.

          1179. The U.S. government on occasion encouraged companies to hire local Afghans or

 employ local Afghan businesses in connection with some projects. This was not a license for

 Defendants to hire Taliban fighters or to allow their Afghan partners to pay insurgents. On the

 contrary: the U.S. government at all times communicated an expectation that Defendants should

 vet their local partners and take affirmative steps to ensure that the money they paid to those

 partners did not flow to the Taliban. And the U.S. government repeatedly made clear that the

 payment of protection money – or the payment of Taliban “taxes” – in exchange for permission

 to proceed with U.S.-funded projects was illegal and counterproductive. Neither USAID nor

 ISAF ever suggested that such payments were either an inevitable consequence or an acceptable

 cost of implementing U.S.-funded projects in Taliban areas.


 426
       CWC Report at 73.
 427
    Joint and Coalition Operational Analysis (JCOA), Operationalizing Counter/Anti-Corruption
 Study at 1 (Feb. 28, 2014) (emphasis in original), https://www.hsdl.org/?view&did=756004.
                                                  374
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 IX.    DEFENDANTS’ FINANCIAL, LOGISTICAL, AND OPERATIONAL AID TO
        THE IRGC AND PROTECTION PAYMENTS TO THE TALIBAN FLOWED
        THROUGH TO FACILITATE TERRORIST ATTACKS AGAINST AMERICANS
        IN AFGHANISTAN THAT WERE PLANNED, AUTHORIZED, AND OFTEN
        JOINTLY COMMITTED BY AL-QAEDA

        A.      In Furtherance Of The IRGC Conspiracy, The IRGC Relied Upon
                Defendants’ Resources To Provide Key Assistance To Al-Qaeda And The
                Taliban, That Facilitated Terrorist Attacks Against Americans In
                Afghanistan In Order To Drive The United States Out Of Afghanistan In
                Furtherance Of The IRGC’s Conspiracy

        1180. Defendants provided the funds, technologies, services, and support necessary for

 the IRGC to sustain its decades-long, robust support for al-Qaeda and the Taliban, including its

 Haqqani Network, as they mutually sought, alongside the IRGC, to expel the United States from

 Afghanistan through a campaign of IRGC-sponsored terrorism in Afghanistan that was

 committed, planned, and authorized by al-Qaeda.

        1181. The IRGC has long provided support – routed through Hezbollah and the Qods

 Force – for al-Qaeda-led terrorist attacks against American military forces and contractors in

 Afghanistan and Iraq. For example, Hezbollah, the Qods Force, and Regular IRGC sponsored a

 substantial training, logistics, travel, and communications campaign, all of which was

 implemented by the IRGC in Lebanon, Iran, Iraq, and Afghanistan) using IRGC, including

 Hezbollah and the Qods Force, resources that enabled Hezbollah and the Qods Force to flow

 resources and training to al-Qaeda and Taliban, including Haqqani Network, terrorists who

 facilitated attacks against Americans in Afghanistan.

        1182. The IRGC intentionally used Hezbollah and the Qods Force to lead every aspect

 of its support for al-Qaeda and Taliban attacks against Americans in Afghanistan, at least in part,

 because the IRGC wanted “plausible deniability” of Iranian involvement based upon the Iranian

 propaganda that Hezbollah is not and was not an Iranian agent. To that end, when MTN, ZTE,

 and Huawei provided embargoed technology and funds, and any other materials useful for

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 terrorist tradecraft to their IRGC front counterparties, those items flowed through such IRGC-

 related parties to Hezbollah and the Qods Force, which, in turn, distributed money, arms, and

 technology to the IRGC’s proxies in Afghanistan, al-Qaeda and the Taliban. In this way, the

 IRGC maintained influence on the Afghanistan Terror Campaign while simultaneously

 delegating its planning, commission, and authorization to al-Qaeda and the Haqqani Network,

 who were two of the IRGC’s key allies amongst the Syndicate.

                  1.      The IRGC, Including Its Hezbollah Division And Qods Force,
                          Provided Material Support For Anti-American Terrorism In
                          Afghanistan To Undermine The U.S. Mission There

           1183. Although there are religious differences between the Shiite Iranian regime and the

 Sunni Taliban organization, those differences have not deterred the IRGC from supporting the

 Taliban’s terrorist activities. See, e.g., Cabrera, at *10-11. The IRGC and the Taliban share a

 core geopolitical aim: to inflict mass casualties on Americans in the region. As two military

 intelligence scholars observed, “the Iranian regime is ideologically and religiously opposed to

 the Taliban, [but] it nevertheless views the group as a useful counterweight to the United

 States.” 428 Similarly, as a Taliban commander stated in 2010 of Iran, “Our religions and our

 histories are different, but our target is the same – we both want to kill Americans.” Sectarian

 distinctions aside, the IRGC has supported and funded attacks by the Taliban on U.S. and allied

 forces in Afghanistan to harm the United States.

           1184. The Fourth Corps of the Qods Force, one of its four regional commands,

 implements Iran’s foreign policy in Afghanistan. During the relevant timeframe, the Qods Force

 did so largely by providing the Taliban (including the Haqqani Network) with material support

 for terrorist attacks in Afghanistan. The Fourth Corps’ al-Ansar Command Center is based in



 428
       Iran’s Balancing Act at 5.
                                                 376
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 Iran’s second-largest city, Mashhad, near the border with Afghanistan. Mashhad naturally serves

 as a stopping point between Afghanistan and Tehran, Iran’s capital.

        1185. In the months after 9/11, the IRGC met with senior Taliban officials to offer

 military aid to support the Taliban’s fight against U.S.-led Coalition forces. The IRGC planned

 that meeting and hosted it on the Iranian side of the Afghanistan border. As part of this initial

 offer of support, the IRGC pledged to sell advanced military equipment to the Taliban for use

 against U.S. and allied forces, boasted of the IRGC’s ability to track U.S. troop movements, and

 promised to allow terrorists entering Afghanistan to travel through Iranian territory. The IRGC

 also provided safe harbor to Taliban leaders who escaped U.S. forces.

        1186. Immediately following the U.S. invasion of Afghanistan, the IRGC made a

 pretense of professing support for the U.S. and NATO mission, but in reality was already seeking

 to undermine it. On February 6, 2002, then-CIA Director George J. Tenet testified before

 Congress that “initial signs of Tehran’s cooperation and common cause with us in Afghanistan

 are being eclipsed by Iranian efforts to undermine US influence there. While Iran’s officials

 express a shared interest in a stable government in Afghanistan, the IRGC appeared bent on

 countering the US presence.” As one scholar explained, the IRGC “feared the US might use

 Afghanistan as a base from which to launch a kinetic attack on Iran. The Taliban insurgency

 thus became viewed by Tehran as a tool with which to keep American forces preoccupied.” 429

        1187. The U.S. government documented the IRGC’s escalating support for the Taliban

 terrorists over the course of the United States’ involvement in Afghanistan. In April 2007,

 General Peter Pace, Chairman of the U.S. Joint Chiefs of Staff, stated that Iranian explosives had




 429
    Farhad Rezaei, Iran and the Taliban: A Tactical Alliance?, The Begin-Sadat Center for
 Strategic Studies (Jan. 15, 2019) (“Iran and the Taliban: A Tactical Alliance?”).
                                                 377
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 been captured in Kandahar Province en route to the Taliban but acknowledged that it was not yet

 entirely clear who within Iran was responsible. The next day, U.S. Assistant Secretary of State

 Richard Boucher described “a series of indicators that Iran is maybe getting more involved in an

 unhealthy way in Afghanistan.”

        1188. Those indicators rapidly grew in intensity, and soon there was little doubt that the

 IRGC was actively sponsoring the Taliban terrorists as a core part of its foreign policy. A

 purported May 2007 U.S. State Department cable (as published online), for example, reported

 that Afghan President Hamid Karzai had expressed concerns “over Iranian agents engaging

 Taliban and supplying them with weapons.” A purported July 2007 U.S. State Department cable

 (as published online) similarly reported that Taliban terrorists had received “light weapons and

 grenade launchers [that] bore the stamps of the Iranian factories where they were manufactured,

 primarily in 2006 and 2007.” The same cable explained that the fighters claimed they had

 received training in Iran and had been promised access to antiaircraft rockets by IRGC officials.

 A purported military intelligence summary the next month (as published online), reported on an

 “ ‘ alarmingly rapid increase’ in Iranian presence in Afghanistan.”

        1189. When the U.S. Treasury Department designated the Qods Force as a SDGT later

 in 2007, it confirmed that the “Qods Force provides weapons and financial support to the Taliban

 to support anti-U.S. and anti-Coalition activity in Afghanistan.” Press Release, U.S. Treasury

 Dep’t, Fact Sheet: Designation of Iranian Entities and Individuals for Proliferation Activities

 and Support for Terrorism (Oct. 25, 2007). As the designation explained:

        The Qods Force is the Iranian regime’s primary instrument for providing lethal support to
        the Taliban. The Qods Force provides weapons and financial support to the Taliban to
        support anti-U.S. and anti-Coalition activity in Afghanistan. Since at least 2006, Iran has
        arranged frequent shipments of small arms and associated ammunition, rocket propelled
        grenades, mortar rounds, 107mm rockets, plastic explosives, and probably man-portable



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        defense systems to the Taliban. . . . Through Qods Force material support to the Taliban,
        we believe Iran is seeking to inflict casualties on U.S. and NATO forces. (Id.)

        1190. Similar observations continued in 2008. According to the U.S. State

 Department’s 2008 Country Reports on Terrorism: “The Qods Force, an elite branch of the

 Islamic Revolutionary Guard Corps (IRGC), is the regime’s primary mechanism for cultivating

 and supporting terrorists abroad. The Qods Force provided aid in the form of weapons, training,

 and funding to HAMAS and other Palestinian terrorist groups, Lebanese Hizballah, Iraq-based

 militants, and Taliban fighters in Afghanistan.”

        1191. In 2009, the U.S. government’s Joint IED Defeat Organization (“JIEDDO”)

 reported that “Iran’s intentions are the same in both Afghanistan and Iraq: to develop, fund and

 arm proxy networks to leverage against the perceived U.S. aim of pursuing an active regime

 change doctrine in Iran.” 430

        1192. By April 2010, the U.S. Department of Defense publicly reported that the IRGC

 was “covertly” supporting the Taliban. “Arms caches have been recently uncovered with large

 amounts of Iranian manufactured weapons, to include l07mm rockets, which we assess IRGC-

 QF delivered to Afghan militants.” DOD further explained that “Tehran’s support to the Taliban

 is inconsistent with their historic enmity, but fits with Iran’s strategy of backing many groups to

 ensure that it will have a positive relationship with the eventual leaders.”




 430
    Similarly, a purported January 2010 cable (as published online) explained that senior officials
 from the U.A.E.’s State Security Department had accused Iran, through the IRGC, of supporting
 the Taliban by providing money and weapons, smuggling drugs, and facilitating the movement
 of Taliban leaders and fighters. According to another purported February 2010 cable (as
 published by online), President Karzai’s Chief of Staff and former Ambassador to Iran reported
 that Iranian officials were no longer denying the IRGC’s support for the Taliban in Afghanistan,
 instead remaining silent in the face of the assertion by the Government of Afghanistan.
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        1193. On August 3, 2010, the U.S. Treasury Department – pursuant to Executive Order

 13224 – designated General Hossein Musavi and Colonel Hasan Mortezavi, senior officials in

 the Qods Force, as SDGTs for their roles in supporting the Taliban. Press Release, U.S. Treasury

 Dep’t, Fact Sheet: U.S. Treasury Department Targets Iran’s Support for Terrorism Treasury

 Announces New Sanctions Against Iran’s Islamic Revolutionary Guard Corps-Qods Force

 Leadership (Aug. 3, 2010). General Musavi was the leader of the Ansar Corps, also known as the

 Fourth Corps, the branch of the Qods Force responsible for carrying out activities within

 Afghanistan. Id. The U.S. Treasury Department found that both General Musavi and Colonel

 Mortezavi, acting in their capacity as senior Qods Force officers, had provided “financial and

 material support to the Taliban.” Id. Treasury further concluded that “the IRGC-QF provides

 select members of the Taliban with weapons, funding, logistics and training.” Id.

        1194. General David Petraeus, then the Commander of the ISAF, testified before the

 Senate Armed Services Committee on March 15, 2011 that the IRGC “without question”

 supplied weapons, training, and funding to the Taliban in order to “make life difficult” for U.S.

 and NATO forces in Afghanistan.

        1195. When the U.S. Department of Defense provided Congress with its Annual Report

 on Military Power of Iran in April 2012, it explained that, even though Iranian “support to the

 Taliban is inconsistent with their historic enmity, it complements Iran’s strategy of backing many

 groups to maximize its influence while also undermining U.S. and [NATO] objectives by

 fomenting violence.” By means of “the IRGC-QF, Iran provides material support to terrorist or

 militant groups such as . . . the Taliban.” The U.S. Department of Defense characterized the

 support as part of a “grand strategy” to “challeng[e] U.S. influence.”




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           1196. In its 2012 Report on Progress Toward Security and Stability in Afghanistan, the

 U.S. Department of Defense reported to Congress that the IRGC was engaging in “covert

 activities” in Afghanistan, including the provision of weapons and training to the Taliban. As

 the report explained, “Since 2007, Coalition and Afghan forces have interdicted several

 shipments of Iranian weapons. Tehran’s relationship with the insurgency, although not

 ideologically based, is consistent with Iran’s short- to mid-term goal of undermining Coalition

 efforts and opposing the international military presence in Afghanistan.”

           1197. Less than two years later, the U.S. Treasury Department concluded that the Qods

 Force “utilized now-detained Afghan associate, Sayyed Kamal Musavi, who was designated

 today, to plan and execute attacks in Afghanistan” and further confirmed that “[t]wo IRGC-QF

 officers also designated today, Alireza Hemmati and Akbar Seyed Alhosseini, provided logistical

 support to this associate.” Press Release, U.S. Treasury Dep’t, Treasury Targets Networks

 Linked To Iran (Feb. 6, 2014). Similarly, according to a Taliban commander in central

 Afghanistan in 2015: “Iran supplies us with whatever we need.” 431

           1198. In 2016, Taliban leader Mullah Mansour was killed by an American drone strike

 while returning to Afghanistan from Tehran, where he had been meeting with Iranian security

 officials, and possibly directly with Ayatollah Ali Khameni, to discuss tactical coordination of

 Taliban terrorist activities in Afghanistan. He had made at least two visits to Iran since 2013.

           1199. The IRGC’s support for terrorist groups in Afghanistan has continued. The U.S.

 State Department stated in June 2017 that “Iran is responsible for intensifying multiple conflicts

 and undermining the legitimate governments of, and U.S. interests in, Afghanistan . . . .” The

 U.S. Department of Defense similarly stated in June 2017 that the IRGC “provides some support



 431
       Margherita Stancati, Iran Backs Taliban With Cash And Arms, Wall St. J. (June 11, 2015).
                                                 381
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 to the Taliban and Haqqani Network.” In May 2018, U.S. Secretary of State Michael Pompeo

 publicly accused the IRGC of supporting the Taliban and other terrorist groups in Afghanistan.

        1200. In October 2018, the U.S. Treasury Department, pursuant to Executive Order

 13224, designated additional Qods Force officials “for acting for or on behalf of IRGC-QF and

 for assisting in, sponsoring, or providing financial, material, or technological support for, or

 financial or other services to or in support of, the Taliban.” Press Release, U.S. Treasury Dep’t,

 Treasury and the Terrorist Financing Targeting Center Partners Sanction Taliban Facilitators

 and their Iranian Supporters (Oct. 23, 2018). The U.S. Treasury Department acted along with

 the six other member nations of the Terrorist Financing Targeting Center – a multinational,

 cooperative effort to combat terrorism in the Middle East.

        1201. In January 2019, the Secretary of Iran’s Supreme National Security Council, Ali

 Shamkhani, publicly acknowledged the IRGC’s support for the Taliban, claiming that it was

 designed to “curb the security problems in Afghanistan.”

        1202. Most recently, the United States has recognized the IRGC’s support of the

 Taliban in the aftermath of Qassem Soleimani’s death. In a press conference in the days after the

 killing of General Soleimani, Secretary of State Michael Pompeo publicly accused the IRGC of

 backing the Taliban and associated groups, including the Haqqani Network.

        1203. The IRGC, in turn, signaled its continued focus on destabilizing U.S. forces in

 Afghanistan by appointing General Esmail Ghaani (“Ghaani” or “Qaani”), the former head of the

 IRGC’s Qods Force branch in Afghanistan, to be the top commander of the Qods Force. General

 Ghaani traveled to Afghanistan in 2018 as the deputy ambassador of Iran to Kabul and remains

 focused on cultivating the IRGC’s relationship with the Taliban in Afghanistan.




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           1204. The Taliban’s reaction to Soleimani’s death similarly recognized the IRGC’s

 support for its terrorist activities. A Taliban statement condemned American forces for the

 attack on Soleimani and expressed regret for his “martyrdom.” Additional details were reported

 in Taliban-aligned publications about Soleimani’s support for the Taliban, including his meeting

 with Taliban delegations in Iran, personally traveling to Afghanistan, and planning attacks.

           1205. Consistent with the policy described above, the IRGC provided material support

 or resources for the acts of terrorism that killed or injured Plaintiffs or their family members. As

 explained below, that support took the form of “currency . . . lodging, training, expert advice or

 assistance, safehouses, false documentation or identification, communications equipment,

 facilities, weapons, lethal substances, explosives, personnel, . . . and transportation.” 432

                  2.     The IRGC, Including Its Hezbollah Division And Qods Force,
                         Provided The Taliban, With Weapons, Explosives, And Lethal
                         Substances

           1206. The IRGC provided material support or resources for the acts of terrorism that

 killed or injured Plaintiffs, or their family members, by providing (among other things) weapons,

 explosives, and lethal substances to the Taliban. Many of the weapons the IRGC provided were

 designed to be particularly effective against U.S. and allied forces operating in Afghanistan. For

 example, the IRGC provided the Taliban with anti-tank mines, long range rockets, explosively

 formed penetrators, suicide vehicle-borne improvised explosive devices, rocket-propelled

 grenades, and explosives, which were uniquely suited for terrorist attacks on U.S. forces.

           1207. From at least 2005 through 2022, the IRGC “provided a range of weapons to the

 Syndicate including small arms (e.g., AK-47s and other assault rifles), anti-tank missiles, rocket-

 propelled grenades, surface-to-air missiles, improvised explosive devices (‘IEDs’), explosively



 432
       18 U.S.C. § 2339A(b)(1).
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 formed penetrators (‘EFPs’), rockets, mortars, indirect fire weapons, recoilless rifles, PKM

 machine guns, ammunition, and components for suicide attacks (e.g., triggers and detonators).”

 Cabrera at *11. Each such weapon-type provided by the IRGC was best-in-class and all were

 designed for the specific purpose of attacking U.S. forces. The Taliban and its Syndicate allies in

 Afghanistan used the IRGC’s weapons to kill or injure Plaintiffs or their family members.

                3.      The IRGC, Including Its Hezbollah Division And Qods Force,
                        Provided The Taliban With Lodging, Training, Expert Advice Or
                        Assistance, Safehouses, Personnel, And Transportation

        1208. The IRGC provided material support or resources for the acts of terrorism that

 killed or injured Plaintiffs, or their family members, by providing lodging, training, expert advice

 or assistance, safe harbor, and transportation to the Taliban.

        1209. Indeed, U.S government officials openly accused the IRGC of training the

 Taliban. In an August 2009 report, ISAF Commander General Stanley McChrystal publicly

 explained that “the Iranian Qods Force is reportedly training fighters for certain Taliban groups

 and providing other forms of military assistance to insurgents.” 433 In August 2010, the State

 Department publicly reported to Congress: “Iran’s Qods Force provided training to the Taliban

 in Afghanistan on small unit tactics, small arms, explosives, and indirect fire weapons . . . .” 434

        1210. From at least 2005 through 2022, the IRGC provided the Taliban, including tis

 Haqqani Network, lodging, training, expert advice or assistance, safe harbor, and transportation.

 E.g., Cabrera at *11. The IRGC taught the Taliban attack techniques that were particularly

 effective against U.S. forces. Without the IRGC’s training, the Taliban would not have been



 433
     GEN McChrystal confirmed again in May 2010 that the IRGC was training Afghan fighters
 in Iran. Killing Americans and Their Allies, supra.
 434
    In May 2013, State publicly reported: “the IRGC-QF trained Taliban elements on small unit
 tactics, small arms, explosives, and indirect fire weapons, such as mortars, artillery, and rockets.”
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 able to launch as successful a terrorist campaign against U.S. forces. The IRGC’s training of

 Taliban terrorists in small unit tactics, small arms, explosives, indirect fire, and other techniques

 enabled the Taliban to better attack U.S. forces. The Taliban and its Syndicate allies in

 Afghanistan used the IRGC’s training to kill or injure Plaintiffs or their family members.

        1211. Hezbollah and Qods Force terrorists also conducted attacks alongside Taliban

 terrorists. In an October 2016 Taliban attack in Farah Province, four senior Qods Force agents

 were killed while aiding the Taliban during the attack, and many of the other Taliban dead were

 taken across the border to Iran for burial.

                4.      The IRGC, Including Its Hezbollah Division And Qods Force,
                        Provided The Taliban With Financial Support

        1212. The IRGC provided material support or resources for the acts of terrorism that

 killed or injured Plaintiffs, or their family members, by providing financial support to the

 Taliban. E.g., Cabrera at *12.

        1213. The IRGC provided large annual cash payments to the Taliban. 435

        1214. The IRGC also directly paid Taliban insurgents to kill U.S. forces. 436 The IRGC

 paid Taliban terrorists an estimated $1,000 for each U.S. soldier murdered in Afghanistan and

 $6,000 for each destroyed American military vehicle. 437



 435
    For example, a purported February 2005 military intelligence summary (as published online)
 reported that the IRGC delivered 10 million Afghanis (worth roughly $212,000) to a location on
 Iran’s border where the money was transferred to four members of a Taliban-associated group.
 436
    Another purported February 2005 military intelligence summary (as published online)
 reported on a Taliban group that was being paid by the Iranian government $1,740 for each
 Afghanistan soldier killed and $3,481 for each Government of Afghanistan official killed. The
 report further explained that the group would begin attacking U.S. forces if the attacks on
 Afghans were successful.
 437
     E.g., Miles Amoore, Iran Pays the Taliban to Kill US Soldiers, The Times (Sept. 5, 2010). In
 one specific example, Taliban fighters received $18,000 from the IRGC as a reward for an attack
 in 2010 than killed several Afghan forces and destroyed an American armored vehicle. Id.
                                                  385
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        1215. The IRGC also provided funding to individual Taliban commanders, often as they

 were returning to Afghanistan from training in Iran. 438

        1216. The IRGC also supported the Taliban’s finances by supporting its ability to traffic

 narcotics, which Taliban terrorists used “to finance their acts of terror and violence.” 439

        1217. The Taliban and its Syndicate allies in Afghanistan used the IRGC’s financial

 support to fund the terrorist campaign that killed or injured Plaintiffs or their family members.

                5.      The IRGC, Including Its Hezbollah Division And Qods Force,
                        Provided Material Support to Al-Qaeda to Facilitate Syndicate
                        Attacks in Afghanistan

        1218. The IRGC has supported al-Qaeda’s terrorist activities since the early 1990s,

 when bin Laden lived in Sudan. The IRGC, Hezbollah, and Qods Force served as the original

 trainer for al-Qaeda with respect to suicide bombings, attacks against large buildings, IEDs,

 explosives, intelligence, and general attack tactics directed at American interests. For example,

 senior al-Qaeda operatives traveled to Iran and Lebanon during this period to Hezbollah camps

 sponsored by the Qods Force. Owens v. Republic of Sudan, 826 F. Supp. 2d 128, 151 (D.D.C.

 2011) (“Prior to al Qaeda members’ training in Iran and Lebanon, al Qaeda had not carried out



 438
    E.g., a purported May 2008 military intelligence summary (as published online) reported on a
 Taliban leader returning from training in Iran “along with a considerable amount of money.” A
 purported May 2009 U.S. State Department Cable (as published online) stated that the IRGC
 may provide Taliban Commander Mullah Sangin with financial support to engage Coalition
 forces, including U.S. contractors.
 439
     Press Release, U.S. Treasury Dep’t, Treasury Targets Taliban Shadow Governor of Helmand
 Afghanistan as Narcotics Trafficker (Nov. 15, 2012). As the U.S. Treasury Department
 explained when it designated Iranian Qods Force General Gholamreza Baghbani as a Specially
 Designated Narcotics Trafficker in March 2012, General Baghbani allowed Afghan narcotics
 traffickers to smuggle opiates through the IRGC, facilitated the smuggling of chemicals
 necessary to produce heroin from Iran into Afghanistan, and helped “facilitate shipments of
 opium into Iran.” Press Release, U.S. Treasury Dep’t, Treasury Designates Iranian Qods Force
 General Overseeing Afghan Heroin Trafficking Through Iran (Mar. 7, 2012). General Baghbani
 also had narcotics traffickers deliver weapons on his behalf to the Taliban. Id.
                                                  386
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 any successful large scale bombings.”). The operatives received advanced explosives training

 that enabled al-Qaeda to launch large-scale terrorist attacks on American embassies in Africa. Id.

 According to one senior al-Qaeda official, trainers at this time were already researching how to

 develop shaped charges to pierce armor plating – the technology later perfected in EFPs.

        1219. After 9/11, senior al-Qaeda leadership, sheltering in Iran under the patronage and

 with the counsel of Qods Force operatives, explicitly modeled their post-9/11 organization and

 tactics on the approach of Hezbollah and the Qods Force.

        1220. While al-Qaeda was re-building itself in Iran after 9/11, the Iranians were busy

 rejecting U.S. and allied requests to stop aiding al-Qaeda. For example, on or about 2002 or 2003,

 Iran rejected a lawfully issued extradition request by the Jordanian government for Zarqawi on the

 preposterous grounds that Zarqawi – whom the Iranians knew well – was not Jordanian but, rather,

 Syrian. Similarly, in a 2003 face-to-face meeting in Geneva, Switzerland, then-U.S. ambassador

 to Iraq Ryan Crocker implored Iranian officials to cease their support for al-Qaeda’s terrorism

 targeting Americans in the Persian Gulf, which request the Iranians refused. By then, al-Qaeda

 had demonstrated its utility to the IRGC with respect to its ability to kill Americans, and the IRGC

 was already sheltering and supporting al-Qaeda’s military leader, Saif al-Adel (who was also al-

 Qaeda’s manager for Zarqawi’s Iraqi activities) in his Qods Force-provided Tehran safehouse.

        1221. The Iranians rebuffed U.S. outreach because the IRGC had already reached a secret

 deal with al-Qaeda. Following the 9/11 attacks on the United States and subsequent routing of

 Sunni terrorists in Afghanistan (including al-Qaeda) in late 2001, the IRGC met with senior al-

 Qaeda leaders who had fled Afghanistan into Iran to offer military aid to support al-Qaeda’s fight

 against America. The IRGC hosted these meetings for its al-Qaeda “guests” throughout 2001 and

 2002. As part of this initial offer of support, the IRGC pledged to provide funds and logistical



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 support to facilitate the development of terrorist activities targeting Americans in countries

 bordering Iran. While the focus at the time was on Afghanistan, all involved expected the U.S. to

 eventually move into Iraq and for their shared terrorist enterprise to follow us there.

        1222. Under this secret deal between the IRGC and al-Qaeda after 9/11, the IRGC

 intensified its material support for al-Qaeda’s terrorist campaign against Americans around the

 world. Through the secret deal between the IRGC and al-Qaeda and the assistance that the former

 provided to the latter thereafter, the IRGC was the proximate and but-for cause of al-Qaeda’s

 survival as a terrorist organization after 9/11 and the al-Qaeda linked terrorist attacks against

 Americans in Afghanistan, including Plaintiffs, that inevitably followed.

        1223. Osama bin Laden personally concluded that al-Qaeda would have collapsed after

 2001 without the secret deal and the IRGC’s key support for al-Qaeda, and al-Qaeda’s subsequent

 ability to execute terrorist attacks depended upon the “artery” provided by the IRGC. For example,

 in 2007, bin Laden criticized an al-Qaeda terrorist who had been planning to strike IRGC-linked

 targets; in a secret internal al-Qaeda communique authored by bin Laden himself, bin Laden

 identified the key, organization-saving assistance that the IRGC had been providing to al-Qaeda

 after 9/11, stating because of the IRGC’s historical support for al-Qaeda’s terrorist operations, Iran

 was al-Qaeda’s “main artery for funds, personnel, and communication.”

        1224. Zawahiri also emphasized close cooperation between al-Qaeda and the IRGC,

 following a pragmatic approach under which al-Qaeda focused on expanding its presence in Iran.

 Like bin Laden, Zawahiri agreed that al-Qaeda could not survive and thrive without the IRGC’s

 support. In a letter reportedly written by Zawahiri, al-Qaeda thanked the IRGC for the Qods

 Force’s support in setting up al-Qaeda’s terrorist network in Yemen in 2008 and stated, in effect,

 that al-Qaeda could not have established its franchise in Yemen without the IRGC’s assistance.



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             1225. The U.S. government has also recognized the close partnership between the IRGC

 and al-Qaeda after the secret deal between the two. In July 2011, the U.S. Treasury Department

 designated as SDGTs six members of al-Qaeda operating in Iran under the previously described

 secret agreement between the IRGC and al-Qaeda. 440 In so doing, the Treasury Department

 concluded that the secret deal provided that al-Qaeda terrorists “must refrain from conducting any

 operations within Iranian territory and recruiting operatives inside Iran while keeping Iranian

 authorities informed of their activities. In return, the Government of Iran gave the Iran-based al-

 Qa’ida network freedom of operation and uninhibited ability to travel for extremists and their

 families” and permitted al-Qaeda to use Iran as a “critical transit point for funding to support [al-

 Qaeda’s] activities.” The Treasury Department also found that “Iran’s secret deal with al-Qa’ida”

 facilitated a terrorist network that “serves as the core pipeline through which al-Qa’ida moves

 money, facilitators and operatives from across the Middle East to South Asia.” 441 Indeed, al-Qaeda

 honored its commitment to the IRGC despite attacking Shiite Muslims elsewhere in the region.

             1226. The U.S. Treasury Department has repeatedly recognized the link between al-

 Qaeda and the IRGC in making SDGT designations under Executive Order 13224. In February

 2012, the agency designated the Iranian Ministry of Intelligence and Security (“MOIS”) as a

 terrorist-sponsoring entity for, among other things, supporting al-Qaeda. 442 In 2014, the agency

 likewise designated a “key Iran-based” al-Qaeda facilitator who has “assisted extremists and

 operatives transiting Iran on their way into and out of Pakistan and Afghanistan.” 443


 440
   Press Release, U.S. Treasury Dep’t, Treasury Targets Al-Qa’ida Funding and Support Network
 Using Iran as a Critical Transit Point (July 28, 2011).
 441
       Id.
 442
    Press Release, U.S. Treasury Dep’t, Treasury Designates Iranian Ministry of Intelligence and
 Security for Human Rights Abuses and Support for Terrorism (Feb. 16, 2012).
 443
       Press Release, U.S. Treasury Dep’t, Treasury Targets Networks Linked To Iran (Feb. 6, 2014).
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        1227. The close relationship between al-Qaeda and the IRGC has continued in recent

 years. In July 2017, the State Department reported, “Since at least 2009, Iran has allowed [al-

 Qaeda] facilitators to operate a core facilitation pipeline through the country, enabling [al-Qaeda]

 to move funds and fighters to South Asia and Syria.” State further accused the IRGC of remaining

 unwilling to bring to justice or identify al-Qaeda members in its custody. The next year, State

 reaffirmed those conclusions and reiterated the IRGC’s close relationship with al-Qaeda.

        1228. The IRGC also supported al-Qaeda through its proxy, Hezbollah.                  As the

 Washington Post reported at the time in 2002, the IRGC’s lead terrorist proxy, Hezbollah, was

 “increasingly teaming up with al Qaeda on logistics and training for terrorist operations, according

 to U.S. and European intelligence officials and terrorism experts.” Dana Priest and Douglas Farah,

 Terror Alliance Has U.S. Worried; Hezbollah, Al Qaeda Seen Joining Forces, Wash. Post (June

 30, 2002). “The new cooperation … includes coordination on explosives and tactics training,

 money laundering, weapons smuggling and acquiring forged documents, according to

 knowledgeable sources. This new alliance, even if informal, has greatly concerned U.S. officials

 in Washington and intelligence operatives abroad who believe the assets and organization of

 Hezbollah’s formidable militant wing will enable a hobbled al Qaeda network to increase its ability

 to launch attacks against American targets.” Id.

        1229. The “collaboration” between the IRGC (through Hezbollah) and al-Qaeda

 “illustrate[d] what analysts [said] [was] an evolving pattern of decentralized alliances between

 terrorist groups and cells that share[d] enough of the same goals to find common ground: crippling

 the United States, and forcing the U.S. military out of the Middle East and Israel out of Palestinian

 territory. ‘There’s a convergence of objectives,’ said Steven Simon, a former National Security

 Council terrorism expert.” Id. As the Washington Post reported, “[a]lthough cooperation between



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 al Qaeda and Hezbollah may have been going on at some level for years, the U.S. war against al

 Qaeda [] hastened and deepened the relationship. U.S. officials believe that after al Qaeda was

 driven from Afghanistan, leader Osama bin Laden sanctioned his operatives to ally themselves

 with helpful Islamic-based groups, said a senior administration official with access to daily

 intelligence reports.” Id. The Post concluded:

        European and U.S. intelligence operatives on the ground in Africa and Asia said
        they have been trying to convince headquarters of the new alliances but have been
        rebuffed. “We have been screaming at them for more than a year now, and more
        since September 11th, that these guys all work together,” an overseas operative
        said. “What we keep hearing back is that it can’t be because al Qaeda doesn’t work
        that way. That is [expletive]. Here, on the ground, these guys all work together as
        long as they are Muslims. There is no other division that matters.” (Id.)

        1230. Al-Qaeda’s alliance with Hezbollah continued at all times and proved the

 intelligence operatives on the ground were right. In June 2012, the Council on Foreign Relations

 reported that “al-Qaeda ha[d] stepped up its cooperation on logistics and training with Hezbollah,

 a radical, Iran-backed Lebanese militia drawn from the minority Shiite strain of Islam.”

        1231. On or about August 7, 2020, on the anniversary of the IRGC/al-Qaeda bomb attack

 against U.S. embassies in Africa, Israeli commandos acting at the request of the United States

 killed al-Qaeda’s number 2 leader, Abu Muhammad al-Masri, in a covert mission in Tehran. Masri

 was in Iran as a guest of the Iranian government and was permitted to freely plan attacks against

 the United States from an IRGC-provided safe haven in Tehran. The timing of the attack was not

 a coincidence, but a rather a professional slap in the terrorists’ face extended by the U.S. and Israeli

 governments to the IRGC and al-Qaeda, as the latter allies suffered an embarrassing and

 catastrophic loss on the anniversary of one of their greatest terrorist triumphs.




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        1232. The mafia-style “Syndicate” of which both the Taliban and al-Qaeda formed a

 part made attacks by each group more lethal. The IRGC’s mutually reinforcing support for both

 the Taliban and al-Qaeda made both organizations more effective.

        1233. By supporting al-Qaeda and the Taliban, the IRGC provided material support and

 resources for the attacks that killed or injured Plaintiffs or members of their families. Al-Qaeda

 and the Taliban directly participated in the attacks that killed or injured Plaintiffs or their family

 members, which were planned and authorized by al-Qaeda. Moreover, the IRGC was closely

 intertwined with al-Qaeda and the Taliban and associated terrorist groups acting in Afghanistan,

 and the IRGC provided weapons, funding, training, cell phones, and logistical support al-Qaeda

 and the Taliban. Material support and resources provided to the IRGC thus also flowed to al-

 Qaeda and the Taliban, causing the injury and deaths of Plaintiffs or their family members.

        B.      In Furtherance Of The IRGC Conspiracy, Al-Qaeda Authorized And
                Planned The Attacks That Injured Plaintiffs

        1234. Since at least the mid-2000s, al-Qaeda authorized and planned the Taliban’s

 attacks on U.S. forces in Afghanistan in several ways.

                1.      Al-Qaeda Authorized the Attacks that Injured Plaintiffs

        1235. Al-Qaeda provided critical religious authorization for Taliban attacks on U.S.

 forces. As noted above, in 1998 bin Laden himself directed all Muslims to kill Americans at

 every opportunity. In the ensuing years, senior al-Qaeda leaders issued a series of fatwas directed

 toward the Taliban, conferring religious permission for them to attack Americans in Afghanistan.

        1236. After bin Laden was killed in May 2011, about three months prior to the first

 attack on a Plaintiff, the Taliban confirmed bin Laden’s religious and moral authority over their

 Afghan jihad, stating: “Osama Bin Laden You were the sheikh of the Umma, a zealous man, and

 the scholar and imam of the nation at the level of Jihad and the fighting of the enemies and


                                                  392
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 their minions. You were our sheikh, our imam and role model, the hero and miracle of our

 times, unique among your peers, pious and highly sensible.”

           1237. Consistent with all these activities, al-Qaeda operatives often assumed a position

 of moral, religious, and tactical authority over Taliban members, often acting “as instructors and

 religious teachers for Taliban personnel and their family members.” 444

           1238. Al-Qaeda also authorized the Taliban’s terrorist attacks through its participation

 in Syndicate, which involved periodic mafia-style meetings in which al-Qaeda, the Taliban, and

 other members of the Syndicate (such as Lashkar-e-Taiba) would confer about geographies and

 targets to attack. 445 The Syndicate jointly authorized particular types of terrorist attacks in

 particular geographies to be carried out by the Syndicate’s individual members. Among other

 things, the Syndicate specifically approved: (1) the creation and operation of the Kabul Attack

 Network to attack Americans in Kabul and the surrounding provinces; (2) the campaign of

 suicide attacks against Americans throughout Afghanistan; (3) the Taliban’s campaign of using

 anti-American IED and suicide attacks specifically in Nangarhar, Nuristan, Kunar and Laghman

 (“N2KL”) Provinces and P2K; (4) the Taliban’s “surge” in Kandahar and Helmand from 2010

 through 2012; and (5) the Syndicate’s use of, and later aggressive focus on, CAN fertilizer bomb

 attacks specifically targeting Americans.

           1239. Al-Qaeda’s messages of authorization were particularly influential with respect to

 suicide bombings. In February 2003, bin Laden issued a recording calling specifically for suicide

 attacks in Afghanistan and Iraq. A few months later, he reiterated in a fatwa directed at Afghans

 that “jihad against [the Coalition] is your duty” and that, “If you start suicide attacks, you will


 444
   Thomas Joscelyn, Al Qaeda Growing Stronger Under Taliban’s Umbrella, UN Finds, Long
 War J. (June 23, 2019) (“Al Qaeda Growing Stronger”).
 445
       See The al Qaeda – Taliban Connection.
                                                   393
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 see the fear of Americans all over the world.” 446 Afghan terrorists had previously viewed suicide

 attacks as taboo, but al-Qaeda convinced it that such attacks were religiously permissible.

 Al-Qaeda trumpeted that success online, announcing, “While suicide attacks were not accepted

 in the Afghani culture in the past, they have now become a regular phenomenon!” 447 With

 al-Qaeda’s authorization, the number of suicide attacks in Afghanistan increased from one in

 2002, two in 2003, and six in 2004 to 21 in 2005, and more than 100 in 2006. Thereafter, suicide

 bombings remained a cornerstone of the Taliban’s strategy.

           1240. As a result, al-Qaeda’s role in that suicide-bombing trend was pivotal and was the

 but-for cause of each Taliban suicide bomb attack.

           1241. Al-Qaeda also authorized the Taliban’s use of IED attacks against Americans in

 Afghanistan, and bin Laden regularly called for terrorists to attack Americans with IEDs.

                      2. Al-Qaeda Planned the Attacks that Injured Plaintiffs

           1242. Al-Qaeda also planned the Taliban’s terrorist attacks against Americans in

 Afghanistan. Working through its Syndicate partners and from its safe havens on both sides of

 the Afghanistan-Pakistan border, al-Qaeda “plan[ned] international as well as regional terrorist

 attacks, particularly in Afghanistan.” 448 Two terrorism scholars explained al-Qaeda’s Syndicate-

 related shuras as follows:

           The staying power of al-Qaeda became rooted in its ability to draw from and
           coordinate with allied groups embedded in multiple networks on both sides of the
           border. . . . It established a number of shuras to coordinate strategy, operations,
           and tactics against the West and regional allied governments. In particular,
           al-Qaeda fighters have been involved in planning and carrying out suicide


 446
    Osama bin Laden: Calls for Martyrdom Operations Against US and British Interests (Apr.
 10, 2003) (emphasis added).
 447
    Brian Glyn Williams, Suicide Bombings in Afghanistan at 5, Jane’s Islamic Affairs Analyst
 (Sept. 2007).
 448
       Resilient al-Qaeda at 3.
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           attacks, developing improved explosive devices, and helping conduct operations
           against high-value targets. 449

           1243. Al-Qaeda training provided another key mechanism through which that planning

 occurred. Before the September 11 attacks, al-Qaeda operated training camps in eastern

 Afghanistan at the Taliban’s request. By 2005 at the latest, al-Qaeda began bringing instructors

 from Iraq to train the Taliban how to fight Americans. At all relevant times, these al-Qaeda

 camps trained terrorists in the al-Qaeda signature of turning fertilizer into bombs.

           1244. By the mid-2000s, al-Qaeda’s partnership with the Haqqani Network had

 facilitated the emergence of a network of al-Qaeda training camps in North Waziristan, many of

 which were also affiliated with Sirajuddin Haqqani. 450

           1245. The training continued throughout the relevant timeframe of this case. In 2015,

 for example, U.S. and Afghan forces raided two al-Qaeda training camps in Kandahar Province –

 both reportedly “hosted by the Taliban.” 451 One camp was the largest al-Qaeda facility

 discovered since the September 11 attacks, occupying nearly 30 square miles. On information

 and belief, this camp trained terrorists in how to make CAN fertilizer bombs and included an on-

 site al-Qaeda CAN fertilizer bomb factory.

           1246. Working jointly with polyterrorist Sirajuddin Haqqani, al-Qaeda specifically

 planned the Kabul Attack Network’s campaign of terror, including its suicide bomber attacks. As

 two terrorism scholars explained, the “operational and tactical cooperation” provided by



 449
       Id. at 3-4.
 450
     Def. Intelligence Agency, Intelligence Information Report: Location and Activities of the
 Training Centers Affiliated with the Haqqani Network, Taliban, and al-Qaeda in Northern
 Waziristan and Future Plans and Activities of Sarajuddin ((Haqqani)) (Apr. 16, 2008) (listing
 training camps and some of the terrorists there).
 451
    Thomas Joscelyn & Bill Roggio, Trump’s Bad Deal With The Taliban, Politico (Mar. 18,
 2019).
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 al-Qaeda “increased the ability of the Haqqani Network to carry out sophisticated attacks in

 Kabul,” “through operations [that al-Qaeda] planned together with Sirajuddin Haqqani.” 452

             1247. Al-Qaeda also planned the Taliban’s attacks by devising the operational scheme

 for them. Information derived from al-Qaeda and Taliban detainees held at Guantanamo Bay,

 Cuba (“Gitmo”) corroborates those activities. For example, according to purported Gitmo

 intelligence files quoted by terrorism experts Bill Roggio and Thomas Joscelyn, one detainee,

 Abdul Razak, was “a high-level military commander in a newly-conceived ‘unification’ of Al

 Qaeda, [Hezb-e-Islami Gulbuddin (“HIG”)] and Taliban forces within Afghanistan,” which the

 groups’ respective leaders conceived during a meeting in Pakistan in early spring 2003. 453

 Another Gitmo detainee files similarly documented “joint operations meeting[s]” where the

 participants, which included al Qaeda, Taliban and LT commanders “decided to increase terrorist

 operations in the Kapisa, Kunar, Laghman, and Nangarhar provinces, including suicide

 bombings, mines, and assassinations.” 454 Together, these reports “demonstrate a high degree of

 collusion between al Qaeda and other terrorist groups” as part of a “jihadist hydra” that shared

 the “common goal” of seeking to “drive the U.S.-led coalition out of Afghanistan.” 455

             1248. Al-Qaeda also taught the Taliban effective terrorist tradecraft. Through its

 relationship with al-Qaeda, the Taliban “developed or acquired new commercial communications

 gear and field equipment,” as well as “good tactical, camouflage, and marksmanship training.” 456

 They also “share[d] communication and transportation routes, coordinate[d] attacks, and even



 452
       Resilient al-Qaeda at 9.
 453
       The al Qaeda – Taliban Connection.
 454
       Id. (brackets in original).
 455
       Id.
 456
       Id. at 293.
                                                    396
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 utilize[d] the same explosive and suicide-bomber networks.” 457 The Taliban’s (including its

 Haqqani Network’s) effective terrorist tradecraft was essential to its ability to execute al-Qaeda’s

 nationwide CAN fertilizer bomb campaign, which depended upon sophisticated logistics,

 communications, smuggling, storage, and other technical skills that the Taliban only acquired

 through its relationship with al-Qaeda.

           1249. All these activities were part of al-Qaeda’s planning of the Taliban’s CAN

 fertilizer bomb attacks in Afghanistan. By providing an array of advice, direction, and material

 support to the Taliban, al-Qaeda was able to use the Taliban for its own jihadist ends. In so

 doing, al-Qaeda followed its more general practice of planning terrorist attacks whose details it

 would delegate to local Islamist proxies. As terrorism scholar Thomas Ruttig observed: “Both in

 Afghanistan and Pakistan, al-Qaeda exploits local conditions by co-opting militant groups with

 local battle experience.” 458 Here, its “cooptation” of the Taliban was especially effective.

           C.     In Furtherance Of The IRGC Conspiracy, Al-Qaeda Committed Terrorist
                  Attacks That Killed And Injured Plaintiffs In Joint Cells With The Taliban,
                  Lashkar-E-Taiba, and Jaish-E-Mohammed

           1250. Working together, the Syndicate terrorist groups committed every IED and

 suicide bomb attack in this case. See, e.g., e.g., Cabrera at *1, *40. Consistent with bin Laden’s

 playbook, al-Qaeda provided the technical expertise, training, ratlines, forward deployed support

 in Afghanistan, and fundraising support, while the Taliban (including its Haqqani Network) and

 their Syndicate allies provided training camps, safe houses, front companies to purchase

 components, and the terrorists to be trained by al-Qaeda to attack Americans in Afghanistan.




 457
       Resilient al-Qaeda at 9.
 458
   Thomas Ruttig, The Other Side at 22, Afghanistan Analysts Network (July 2009) (“Ruttig,
 The Other Side”).
                                                 397
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            1251. Al-Qaeda members also committed at least 29 out of the 64 terrorist attacks that

 killed or injured Plaintiffs and their loved ones alongside the Taliban. In fact, many Syndicate

 terrorist operatives were “dual-hatted,” meaning that they were both al-Qaeda and Taliban

 members. See, e.g., Cabrera at *8. Those dual-hatted al-Qaeda/Taliban terrorists directly

 committed many of the attacks that killed and injured Plaintiffs. Examples are set forth below.

            1252. Nangarhar, Nuristan, Kunar and Laghman Provinces (“N2KL”). In the

 strategically critical (and contiguous) N2KL Provinces, which were well-known al-Qaeda

 strongholds, al-Qaeda, the Taliban, and Lashkar-e-Taiba maintained joint cells responsible for

 anti-American terrorism, each of which executed the Syndicate’s CAN fertilizer bomb campaign

 in Afghanistan. Al-Qaeda deployed senior operatives to coordinate attacks in N2KL and such al-

 Qaeda terrorists committed all the attacks in N2KL that killed or injured Plaintiffs or their loved

 ones alongside the Taliban. See, e.g., Cabrera at *14. The dual-hatted al-Qaeda/Taliban

 polyterrorists who ran these joint cells included:

 (i)        Farouq al-Qahtani, al-Qaeda’s “emir for eastern Afghanistan” who “supported the
            Taliban-led insurgency against the Afghan government, US forces and their allies.” 459
 (ii)       Sakhr al-Taifi, al-Qaeda’s number two in Afghanistan, who embedded with the Taliban,
            “coordinate[d] and direct[ed] insurgent attacks against” “coalition troops throughout
            eastern Afghanistan,” and “supplie[d] weapons and equipment to insurgents.” 460
 (iii)      Mufti Assad, an al-Qaeda network and “insurgent leader who controlled al-Qaida
            terrorists operating in Kunar,” “led dozens of all-Qaida affiliated fighters throughout
            eastern Afghanistan and coordinated their attacks across the region,” and “was also an
            explosives expert who” “train[ed] [] insurgents on how to construct and use [IEDs].” 461
 (iv)       Abdallah Umar al-Qurayshi, a senior al-Qaeda operative who commanded the joint
            al-Qaeda/Taliban cells operating in Kunar and Nuristan Provinces.



 459
   Thomas Joscelyn, Pentagon Confirms Death of Senior al Qaeda Leader In Afghanistan, Long
 War Journal (Nov. 4, 2016), https://tinyurl.com/2p859bcj.
 460
        ISAF, Morning Operational Update, Def. Visual Info. Distribution Serv. (May 28, 2012).
 461
        ISAF, Morning Operational Update, Def. Visual Info. Distribution Serv. (Aug. 5, 2012).
                                                   398
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 (v)       Abu Atta al-Kuwaiti, a senior al-Qaeda explosives expert who coordinated the Nuristan
           and Kunar Province al-Qaeda/Taliban joint cells’ IED and suicide bomb attacks.
 (vi)      Abu Ikhlas al-Masri, an al-Qaeda commander who helped coordinate al-Qaeda / Taliban
           attacks in Kunar Province from 2008 until his capture in December 2010.
 (vii)     Sa’ad bin Abi Waqas, a senior al-Qaeda leader who “coordinated attacks against
           coalition forces,” throughout Kunar Province, “conducted training” and helped terrorists
           with “weapons procurement.” 462
 (viii) Abu Hafs al-Najdi (aka Abdul Ghani), a senior al-Qaeda operative who directed
        al-Qaeda operations in Kunar Province, and was responsible for “planning attacks
        against” “coalition forces” and “directing suicide-bomb attacks targeting U.S.
        government officials” that were facilitated by his “network” of Taliban terrorists. 463
 (ix)      Fatah Gul, an al-Qaeda facilitator who “ran terrorist training camps where insurgents
           learned how to conduct [IED] attacks” in N2KL Provinces. 464

           1253. Paktika, Paktia, and Khost Provinces (“P2K”). Like its N2KL Provinces,

 Afghanistan’s P2K Provinces (aka Loya Paktia) were a strategically key area that long served as

 a Haqqani stronghold and “traditional al-Qaeda safe haven[].” 465 Al-Qaeda and the Taliban,

 through the Haqqani Network, maintained joint cells responsible for anti-American terrorism in

 P2K, each of which executed the Syndicate’s CAN fertilizer bomb and suicide campaign in

 Afghanistan. In addition to Sirajuddin Haqqani, supra, dual-hatted al-Qaeda/Taliban

 polyterrorists who ran these P2K-related joint cells included: (i) Bekkay Harrach (aka al-

 Hafidh Abu Talha al-Almani), a senior member of al-Qaeda’s external operations branch, who

 specifically planned, authorized, and helped commit Haqqani Network attacks while living under

 the direct protection of Siraj; and (ii) Khalil al-Rahman Haqqani, Jalaluddin Haqqani’s brother

 and a dual-hatted al-Qaeda/Taliban terrorist, serving as a “fundraiser, financier, and operational




 462
       ISAF, Morning Operational Update, Def. Visual Info. Distribution Serv. (Apr. 16, 2011).
 463
       U.S. Dep’t of Def., Strike Kills No. 2 Insurgent in Afghanistan (Apr. 26, 2011).
 464
       ISAF, Morning Operational Update (Aug. 5, 2012).
 465
       Resilient al-Qaeda at 11-12.
                                                   399
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 commander” for the Haqqani Network, 466 as well as an agent who “acted on behalf of al-

 Qa’ida” 467 and had “been linked to al-Qa’ida terrorist operations.” 468

        1254. Kabul and the Kabul Attack Network-Related Provinces. Kabul City and the

 strategically critical cluster of provinces around Afghanistan’s capital was the focus of the Kabul

 Attack Network, where al-Qaeda and the Taliban, maintained joint al-Qaeda/Taliban cells that

 planned and committed terrorist attacks, each of which executed the Syndicate’s CAN fertilizer

 bomb and/or suicide attack campaign in Kabul Attack Network-related provinces. Al-Qaeda

 deployed senior operatives to coordinate attacks in the strategically critical cluster of provinces

 around the capital city of Kabul, and such al-Qaeda terrorists committed all the attacks in Kabul

 City and Kabul Attack Network-related areas like Ghazni and Wardak that killed or injured

 Plaintiffs or their loved ones alongside the Taliban. See, e.g., Cabrera at *14. In addition to

 Sirajuddin Haqqani, supra, such dual-hatted al-Qaeda/Taliban polyterrorists who ran the cells

 included Ahmed Jan Wazir, a dual-hatted al-Qaeda/Taliban terrorist whom al-Qaeda and the

 Taliban jointly appointed as commander of their joint cell in Ghazni Province in 2008.

 X.     THE IRGC-BACKED TALIBAN TERRORIST SYNDICATE IN AFGHANISTAN
        AND PAKISTAN LED BY AL-QAEDA AND THE TALIBAN KILLED AND
        INJURED PLAINTIFFS THROUGH TERRORIST ATTACKS FOR WHICH
        DEFENDANTS PROVIDED SUBSTANTIAL ASSISTANCE

        1255. Plaintiffs are American civilians, servicemembers, and contractors serving in

 Afghanistan, and their family members, who were killed or injured in terrorist attacks committed




 466
    Bill Roggio, US Designates al Qaeda, Haqqani Network Leaders As Terrorists, Long War J.
 (Feb. 9, 2011).
 467
    Press Release, U.S. Dep’t of Treasury, Treasury Targets The Financial And Support
 Networks of Al Qa’ida And The Taliban, Haqqani Network Leadership (Feb. 9, 2011).
 468
   Press Release, U.S. Dep’t of State, Rewards for Justice - Reward Offers for Information on
 Haqqani Network Leaders (Aug. 20, 2014).
                                                  400
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 by al-Qaeda (a designated FTO at the time), the Taliban, including its Haqqani Network (a

 designated FTO at the time), Lashkar-e-Taiba (a designated FTO at the time), and Jaysh-e-

 Mohammed (a designated FTO at the time), all of which collaborated in a terrorist alliance,

 known as the “Syndicate,” that was funded, armed, and logistically supported by Hezbollah, the

 Qods Force, and Regular IRGC. For those Plaintiffs below with family members who were

 injured or died as a result, each Plaintiff has experienced severe mental anguish, emotional pain

 and suffering, and the loss of their family member’s society, companionship, and counsel.

         1256.    Hezbollah, the Qods Force, and Regular IRGC provided key aid to the Syndicate

 from inception through their victory in 2021. Hezbollah, the Qods Force, and Regular IRGC

 specifically provided al-Qaeda and the Taliban (including its Haqqani Network) weapons, funds,

 training, logistical support, communications technology, safe haven, and assistance with

 narcotics trafficking, which raised money for their shared terrorist enterprise against America

 (i.e., the Conspiracy), which al-Qaeda and the Taliban, including its Haqqani Network, used to

 aid the terrorists’ ability to execute the attacks that injured Plaintiffs.

         1257. The embargoed dual-use American technology – including thousands of secure

 American smartphones every year – hundreds of millions of U.S. Dollars annually, and vast

 network of logistical and operational support for the Irancell and TCI fronts that MTN Group,

 MTN Dubai, ZTE Corporation, Huawei Corporation, and their subsidiary Defendants provided

 to their counterparties controlled by Hezbollah, the Qods Force, and Regular IRGC flowed

 through to al-Qaeda, the Taliban (including its Haqqani Network), and their Syndicate allies that

 committed each attack that injured each Plaintiff through transfers made by Hezbollah, the Qods

 Force, and Regular IRGC to al-Qaeda and the Taliban (including its Haqqani Network).




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         1258. On information and belief, each bomb that the Syndicate detonated during each

 IED attack alleged below was: (i) based on a signature al-Qaeda IED design; (ii) assembled and

 tested by al-Qaeda bombmakers at one of al-Qaeda’s IED manufacturing sites managed and

 funded by al-Qaeda/Taliban terrorist Sirajuddin Haqqani; (iii) designed to detonate precursor

 ingredients that were “cooked” by al-Qaeda chemists; and (iv) provided to the joint cell by al-

 Qaeda operatives in order to facilitate the joint cell’s attack.

         1259. Each attack alleged below would have violated the laws of war if these terrorists

 were subject to them because, inter alia, the terrorist(s) who committed the attack neither wore

 uniforms nor otherwise identified themselves as enemy combatants, and each IED’s passive

 detonation system and each suicide bomb attack indiscriminately placed civilians at risk.

         A.      August 20, 2013 Small Arms Attack in Wardak (George Bannar Jr.)

         1260. On August 20, 2013, the Haqqani Network, an FTO, committed a small arms

 attack in Wardak Province, Afghanistan (the “August 20, 2013 Attack”), which was facilitated

 by the IRGC’s provision of funding, weapons, training, and logistical support to al-Qaeda and

 the Taliban, including its Haqqani Network. Al-Qaeda planned and authorized the August 20,

 2013 Attack.

         1261. Master Sergeant George Bannar Jr. served in Afghanistan as a member of the

 U.S. Army. MSG Bannar was injured in the August 20, 2013 Attack. MSG Bannar died on August

 20, 2013 as a result of injuries sustained during the attack.

         1262. MSG Bannar was a U.S. national at the time of the attack and his death.

         1263. Plaintiff Sheila Long is the mother of MSG Bannar and a U.S. national.

         1264. As a result of the August 20, 2013 Attack and MSG Bannar’s injuries and death,

 each member of the Bannar Family has experienced severe mental anguish, emotional pain and

 suffering, and the loss of MSG Bannar’s society, companionship, and counsel.
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        1265. As a result of the August 20, 2013 Attack, MSG Bannar was injured in his person

 and/or property. The Plaintiff members of the Bannar Family are the survivors and/or heirs of

 MSG Bannar and are entitled to recover for the damages MSG Bannar sustained.

        B.      January 20, 2014 Small Arms Attack in Kandahar (Edward Balli)

        1266. On January 20, 2014, the Taliban committed a small arms attack in Kandahar

 Province, Afghanistan (the “January 20, 2014 Attack”), which was facilitated by the IRGC’s

 provision of funding, weapons, training, and logistical support to al-Qaeda and the Taliban. Al-

 Qaeda planned and authorized the January 20, 2014 Attack.

        1267. Chief Warrant Officer 2 Edward Balli served in Afghanistan as a member of the

 U.S. Army. CW2 Balli was injured in the January 20, 2014 Attack. CW2 Balli died on January

 20, 2014 as a result of injuries sustained during the attack.

        1268. CW2 Balli was a U.S. national at the time of the attack and his death.

        1269. Plaintiff Michael Donios is the son of CW2 Balli and a U.S. national.

        1270. As a result of the January 20, 2014 Attack and CW2 Balli’s injuries and death,

 each member of the Balli Family has experienced severe mental anguish, emotional pain and

 suffering, and the loss of CW2 Balli’s society, companionship, and counsel.

        1271. As a result of the January 20, 2014 Attack, CW2 Balli was injured in his person

 and/or property. The Plaintiff members of the Balli Family are the survivors and/or heirs of

 CW2 Balli and are entitled to recover for the damages CW2 Balli sustained.

        C.      June 2, 2014 Small Arms Attack in Nangarhar (Jason Jones)

        1272. On June 2, 2014, al-Qaeda, an FTO, and the Taliban, acting together as a joint al-

 Qaeda/Taliban cell, committed a small arms attack in Nangarhar Province, Afghanistan (the

 “June 2, 2014 Attack”), which was facilitated by the IRGC’s provision of funding, weapons,



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 training, and logistical support to al-Qaeda and the Taliban. Al-Qaeda planned and authorized

 the June 2, 2014 Attack.

        1273. Captain Jason Jones served in Afghanistan as a member of the U.S. Army. CPT

 Jones was injured in the June 2, 2014 Attack. CPT Jones died on June 2, 2014 as a result of injuries

 sustained during the attack.

        1274. CPT Jones was a U.S. national at the time of the attack and his death.

        1275. Plaintiff Joseph Jones Jr. is the father of CPT Jones and a U.S. national.

        1276. As a result of the June 2, 2014 Attack and CPT Jones’s injuries and death, each

 member of the Jones Family has experienced severe mental anguish, emotional pain and

 suffering, and the loss of CPT Jones’s society, companionship, and counsel.

        1277. As a result of the June 2, 2014 Attack, CPT Jones was injured in his person and/or

 property. The Plaintiff members of the Jones Family are the survivors and/or heirs of CPT Jones

 and are entitled to recover for the damages CPT Jones sustained.

 XI.    THE IRGC’S TERRORIST PROXIES COMMITTED, PLANNED, AND
        AUTHORIZED THE ATTACK THAT INJURED PLAINTIFF MATTHEW
        SCHRIER IN SYRIA

        1278. The IRGC used its resources to provide al-Qaeda, AQI, and ANF funds,

 operational support, logistical support, communications technology, and safe haven, which raised

 money for their shared terrorist objectives against America. Al-Qaeda, AQI, and ANF, used

 these resources to commit the attacks that injured Plaintiff Matthew Schrier.

        1279. Plaintiff Matthew Schrier was an American photojournalist who was injured in a

 hostage-taking attack committed by al-Nusra Front that was funded, armed, and logistically

 supported by the IRGC, including the IRGC-QF.

        1280. On December 31, 2012, al-Nusra Front kidnapped Mr. Schrier in Aleppo, Syria.

 ANF held Mr. Schrier hostage for 211 days, during which ANF tortured him, before he escaped
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 to his freedom on July 29, 2013. Al-Qaeda and AQI planned and authorized ANF’s attack

 against Mr. Schrier.

        1281. Mr. Schrier’s kidnapping, subsequent confinement, and torture would have

 violated the laws of war if these terrorists were subject to them because, among other reasons,

 the terrorist(s) who committed the attack neither wore uniforms nor otherwise identified

 themselves as enemy combatants, and the terrorists kidnapped and murdered an unarmed civilian

 who was not engaged in hostilities.

        1282. Mr. Schrier was a U.S. national throughout the attack and remains one today.

        1283. As a result of his kidnapping and torture, Mr. Schrier has experienced severe

 mental anguish, emotional pain and suffering, and was injured in his person and/or property.

                                       CLAIMS FOR RELIEF

   COUNT ONE: VIOLATION OF THE ANTI-TERRORISM ACT, 18 U.S.C. § 2333(d)
         [All Defendants: Aiding-And-Abetting Liability, Attack Predicate]

        1284. Plaintiffs incorporate their factual allegations above.

        1285. The terrorist attacks that killed or injured Plaintiffs or their family members were

 acts of international terrorism against Americans in Afghanistan or Syria were: (i) committed by

 joint cells comprised of al-Qaeda (a designated FTO since 1999) and the Taliban 469 (a designated

 SDGT at all times), including its Haqqani Network (a designated SDGT after 2001 and a

 designated FTO after September 19, 2012), with the material support of the IRGC, 470 including

 Hezbollah (a designated FTO since 1997) and the Qods Force (a designated SDGT after October

 25, 2007), which attacks were planned and/or authorized by al-Qaeda; (ii) committed by the


 469
   In each Count in this Complaint, any reference to “Taliban” is inclusive of the Haqqani
 Network, which is a part of the Taliban.
 470
    In each Count in this Complaint, any reference to “IRGC” is inclusive of Hezbollah, the Qods
 Force, and Regular IRGC, all of which are constituent parts of the IRGC.
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 Taliban, including its Haqqani Network, with the material support of the IRGC, including

 Hezbollah and the Qods Force, which attacks were planned and/or authorized by al-Qaeda; or

 (iii) committed by ANF (a designated FTO since December 2004) and planned and/or authorized

 by al-Qaeda (a designated FTO at all times) and/or al-Qaeda-in-Iraq (a designated FTO since

 December 2004).

        1286. The terrorist attacks in Afghanistan committed by al-Qaeda and/or the Taliban,

 with the material support of the IRGC, which killed or injured all Afghanistan Plaintiffs and their

 family members, and the attack in Syria committed by ANF, with the material support of the

 IRGC, which injured Plaintiff Matthew Schrier, were violent acts and acts dangerous to human

 life that violated the criminal laws of the United States and many States, or would have violated

 those laws had they been committed within the jurisdiction of the United States or of the States.

 In particular, each attack constituted one or more of murder, attempted murder, conspiracy to

 murder, kidnapping, and arson, in violation of state law; and the destruction of U.S. property by

 fire or explosive, conspiracy to murder in a foreign country, killing and attempted killing of U.S.

 employees performing official duties, hostage taking, damaging U.S. government property,

 killing U.S. nationals abroad, use of weapons of mass destruction, commission of acts of

 terrorism transcending national boundaries, and bombing places of public use, in violation of 18

 U.S.C. §§ 844(f )(2) or (3), 956(a)(1), 1114, 1203, 1361, 2332, 2332a, 2332b, and 2332f,

 respectively.

        1287. The terrorist attacks in Afghanistan committed by al-Qaeda and/or the Taliban,

 with the material support of the IRGC, which killed or injured all Afghanistan Plaintiffs and their

 family members, and the terrorist attack in Syria committed by ANF, which injured Plaintiff

 Matthew Schrier, appear to have been intended (a) to intimidate or coerce the civilian



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 populations of Afghanistan, Iraq, Syria, the United States, and other Coalition nations, (b) to

 influence the policy of the U.S., Afghan, Iraqi, Syrian and other governments by intimidation

 and coercion, and (c) to affect the conduct of the U.S., Afghan, Iraqi, Syrian, and other

 governments by mass destruction, assassination, and kidnapping.

        1288. The terrorist attacks in Afghanistan committed by al-Qaeda and/or the Taliban,

 with the material support of the IRGC, and the terrorist attack in Syria committed by ANF, with

 the material support of the IRGC, occurred primarily outside the territorial jurisdiction of the

 United States.

        1289. Each of MTN Irancell, MTN Group, MTN Dubai, ZTE Corp., ZTE USA, ZTE

 TX, Huawei Co., Huawei USA, Huawei Device USA, Futurewei, and Skycom aided and abetted

 and knowingly provided substantial assistance to Hezbollah, the Qods Force, Regular IRGC, al-

 Qaeda, the Taliban, including its Haqqani Network, AQI, and ANF – and aided and abetted and

 knowingly provided substantial assistance to the al-Qaeda and/or Taliban attacks that injured the

 Afghanistan Plaintiffs, and the ANF attack that injured Plaintiff Matthew Schrier – by providing

 funds to known IRGC fronts and technical help to Hezbollah, the Qods Force, and Regular IRGC

 that aided those attacks, and by making cash and free goods protection payments to the Taliban,

 including its Haqqani Network.

        1290. MTN, including but not limited to in coordination with MTN Dubai, also aided

 and abetted and knowingly provided substantial assistance to Hezbollah, the Qods Force, and

 Regular IRGC – and aided and abetted and knowingly provided substantial assistance to the

 IRGC’s proxy attacks on the Afghanistan Plaintiffs committed by al-Qaeda and/or the Taliban,

 and to the IRGC’s proxy attack on Plaintiff Matthew Schrier committed by AQI, including al-

 Nusra Front, in Syria – by serving as the joint venture partner of Hezbollah, the Qods Force, and



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 Regular IRGC and generating millions of dollars in annual cash flow for Hezbollah, the Qods

 Force, and Regular IRGC to further the IRGC’s support for proxy attacks by al-Qaeda and/or the

 Taliban against Americans in Afghanistan, and by AQI, including al-Nusra Front, in Iraq and

 Syria.

          1291. ZTE, including but not limited to in coordination with ZTE USA and ZTE TX,

 aided and abetted and knowingly provided substantial assistance to Hezbollah, the Qods Force,

 and Regular IRGC – and aided and abetted and knowingly provided substantial assistance to the

 IRGC’s proxy attacks on the Afghanistan Plaintiffs committed by al-Qaeda and/or the Taliban in

 Afghanistan, and on Plaintiff Matthew Schrier committed by al-Nusra Front in Syria – by

 contracting with TCI to modernize the IRGC-controlled Iranian cellular and landline

 communications systems, thereby generating substantial revenue for Hezbollah, the Qods Force,

 and Regular IRGC and provided U.S.-origin technology to the IRGC, which the IRGC flowed

 through to al-Qaeda and the Taliban, including its Haqqani Network, in Afghanistan, all of

 which al-Qaeda and the Taliban, including its Haqqani Network, used in furtherance of al-

 Qaeda’s and the Taliban’s, including the Haqqani Network’s, shared terrorist attacks against

 Americans in Afghanistan, and which the IRGC also flowed through to al-Qaeda-in-Iraq,

 including al-Nusra Front, in Iraq and Syria, all of which al-Qaeda-in-Iraq and al-Nusra Front

 used in furtherance of ANF’s attacks against Americans in Syria.

          1292. Huawei, including but not limited to and in coordination with Skycom, Huawei

 USA, Huawei Device USA, and Futurewei, aided and abetted and knowingly provided

 substantial assistance to Hezbollah, the Qods Force, and Regular IRGC – and aided and abetted

 and knowingly provided substantial assistance to the IRGC’s proxy attacks on the Afghanistan

 Plaintiffs committed by al-Qaeda and/or the Taliban in Afghanistan, and on Plaintiff Matthew



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 Schrier committed by ANF in Syria – by contracting with TCI to modernize the IRGC-controlled

 Iranian cellular and landline communications systems, thereby generating substantial revenue for

 Hezbollah, the Qods Force, and Regular IRGC and illegally provided U.S.-origin technology to

 Hezbollah, the Qods Force, and Regular IRGC, which the IRGC flowed through to al-Qaeda and

 the Taliban, including its Haqqani Network, in Afghanistan, all of which al-Qaeda and the

 Taliban, including its Haqqani Network, used in furtherance of al-Qaeda’s and the Taliban’s,

 including the Haqqani Network’s, shared terrorist attacks against Americans in Afghanistan, and

 which the IRGC also flowed through to al-Qaeda-in-Iraq, including al-Nusra Front, in Iraq and

 Syria, all of which al-Qaeda-in-Iraq and al-Nusra Front used in furtherance of ANF’s attacks

 against Americans in Syria.

         1293. The attacks that killed or injured Plaintiffs and their family members were all

 jointly committed, as well as planned and authorized, by al-Qaeda, which the United States has

 designated as an FTO under 8 U.S.C. § 1189 since 1999, and/or al-Qaeda-in-Iraq (including al-

 Nusra Front), which the United States has designated as an FTO since 2004.

         1294. The Afghanistan Plaintiffs are U.S. nationals who were injured in their persons,

 properties, and/or businesses by reason of the terrorist attacks committed by al-Qaeda and/or the

 Taliban in Afghanistan. Plaintiff Matthew Schrier is a U.S. national who was injured in his

 person, property, and/or business by reason of the terrorist attacks committed by al-Qaeda-in-

 Iraq and al-Nusra Front in Syria. Plaintiffs suffered economic, physical, and emotional injuries

 proximately caused by the attacks; are survivors and/or heirs of U.S. nationals who suffered such

 injuries; or both.

         1295. As a result of Defendants’ liability under 18 U.S.C. § 2333(d), Plaintiffs are

 entitled to recover economic and non-economic damages, including solatium damages.



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   COUNT TWO: VIOLATION OF THE ANTI-TERRORISM ACT, 18 U.S.C. § 2333(d)
            [All Defendants: Conspiracy Liability; Attack Predicate]

        1296. The Afghanistan Plaintiffs incorporate their factual allegations above.

        1297. Each of MTN Irancell, MTN Group, MTN Dubai, ZTE Corp., ZTE USA, ZTE

 TX, Huawei Co., Huawei USA, Huawei Device USA, Futurewei, and Skycom entered into the

 Conspiracy with the “Iranian Shareholders,” and one another, including but not limited to the

 Bonyad Mostazafan, IEI, TCI (including MCI), and Exit40, all of whom were fronts for the

 IRGC (collectively, “IRGC Fronts”), including its Hezbollah Division and Qods Force, as well

 as the IRGC’s terrorist co-conspirators in Afghanistan, al-Qaeda and the Taliban (including its

 Haqqani Network), to join the IRGC’s terrorist financing and logistics campaign.

        1298. Each of MTN Irancell, MTN Group, MTN Dubai, ZTE Corp., ZTE USA, ZTE

 TX, Huawei Co., Huawei USA, Huawei Device USA, Futurewei, and Skycom furthered the

 Conspiracy through their knowing direct and/or indirect participation in the IRGC’s broad,

 coordinated, global campaign to source embargoed American technologies to aid the

 Conspiracy’s terrorist enterprise, including but not limited to, secure American mobile phones

 and computer network technologies.

        1299. Given the illegal nature of the market for embargoed American technologies, each

 Defendant’s choice to further the Conspiracy by paying inflated prices above even the normal

 “going rate” for black market phones furthered the terrorist enterprise by substantially growing

 the black market for such technologies through the power of supply and demand. Every time

 each Defendant flooded the zone by promising to outspend every other black market participant,

 Defendants swelled the ranks of their co-conspirator tech resellers on the supply side in the U.S.

        1300. Each of MTN Group, MTN Irancell, MTN Dubai, ZTE Corp., ZTE USA, ZTE

 TX, Huawei Co., Huawei USA, Huawei Device USA, Futurewei, and Skycom specifically


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 intended to grow the overall global market for illicit American-manufactured mobile phones that

 were originally sold in a U.S. marketplace because they shared the goal of the Conspiracy, which

 was to finance, arm, and logistically support Hezbollah, the Qods Force, and Regular IRGC.

        1301. Each of MTN Group, MTN Irancell, MTN Dubai, ZTE Corp., ZTE USA, ZTE

 TX, Huawei Co., Huawei USA, Huawei Device USA, Futurewei, and Skycom was one in spirit

 with the terrorists, including, but not limited to, Hezbollah, the Qods Force, and Regular IRGC,

 as well as IRGC Syndicate Terrorist Proxies al-Qaeda and the Taliban, including its Haqqani

 Network, all of whom received weapons, funding, and training from the IRGC.

        1302. Each Defendant hoped for the IRGC, including, but not limited to, its Hezbollah

 Division and Qods Force, to achieve the object of the Conspiracy and force the United States to

 withdraw from Afghanistan, Iraq, and the rest of the Middle East. Defendants knew that

 Hezbollah, the Qods Force, and Regular IRGC were extremely lucrative customers and

 generated billions of dollars in profits for each Defendant, and Defendants wanted to see the

 Conspiracy succeed because they calculated they would make more money if the terrorist

 campaigns in Afghanistan, Iraq, and the rest of the Middle East forced the U.S. out.

        1303. Defendants ZTE and Huawei also supported the object of the Conspiracy because

 it furthered the hostile security strategy of the Chinese Communist Party to force the United

 States out of Iraq, Afghanistan, and the rest of the Middle East by aiding the terrorist groups

 targeting Americans throughout the region.

        1304. Each Defendant furthered the Conspiracy by directly aiding the growth of the

 terrorists’ supply chain through the foreseeable, inevitable, and obvious result that Defendants

 knew – and intended – would occur when they paid above-black market prices for illicit

 American technologies. Defendants knew that their deals would strengthen the terrorists’ illicit



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 technological supply chain by exploding the demand for suppliers, and specifically intended for

 this consequence to occur to benefit Hezbollah, the Qods Force, and Regular IRGC. As a result,

 each Defendant furthered the Conspiracy by increasing the total volume of illicit American

 mobile phones and computer network technologies specifically available for, and intended to be

 purchased by, the agents, operatives, cut-outs, or corporate fronts acting on behalf of Hezbollah,

 and the Qods Force, all of whom received substantially more illicit technologies than would

 otherwise have been the case if Defendants had not participated in the black market.

         1305. Each supplier Defendant – MTN Group, MTN Dubai, ZTE Corp. and Huawei Co.

 – furthered the Conspiracy by publicly denying the existence of their secret deal to aid the

 “security” agenda of MTN Irancell’s and TCI’s Iranian Shareholders, i.e., Hezbollah, the Qods

 Force, and Regular IRGC.

         1306. Each manufacturer Defendant – ZTE (USA) Inc., ZTE (TX) Inc., Huawei

 Technologies Co., Ltd., Huawei Technologies USA Inc., and Huawei Device USA Inc., –

 furthered the Conspiracy by, among other things: (1) knowingly supplying state-of-the-art

 American technology while knowing that such technology was being transferred pursuant to

 deals that were designed to flow the technology through to Hezbollah, the Qods Force, and

 Regular IRGC; and (2) on information and belief, subsidizing the bribes that ZTE Corp. paid to

 IRGC officials to secure ZTE’s business with the IRGC’s fronts.

         1307. ZTE (USA) Inc. and ZTE (TX) Inc. also furthered the Conspiracy by successfully

 interfering with whistleblower activity, which, on information and belief, materially delayed the

 disclosure of the fraud, and further concealed the scheme, causing substantial additional value to

 flow to the terrorists.




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        1308. ZTE (USA) Inc.’s and ZTE (TX) Inc.’s retaliation against one or more

 whistleblowers was an act in furtherance of the Conspiracy because it was intended to deter their

 future employees, officers, attorneys, or agents from alerting authorities about other potential

 acts that would destroy the effectiveness of the Conspirators to continue to access the ZTE

 (USA) Inc. and ZTE (TX) Inc. technology upon which they relied.

        1309. MTN Group, MTN Dubai, ZTE, and Huawei agreed to further this Conspiracy by

 assisting the IRGC Fronts to move large sums of money (primarily in U.S. dollars) through the

 international financial system (and particularly the United States) undetected.

        1310. MTN Group, MTN Dubai, ZTE, and Huawei agreed to further this Conspiracy by

 each assisting the IRGC Fronts to move tens of thousands of critical items of embargoed

 American technologies specifically identified by Hezbollah and the Qods Force as necessary to

 the success of the Conspiracy, through the covert purchase of American-made technologies in

 U.S. markets, in transactions that were denominated in U.S. Dollars, in sums of money

 (primarily in U.S. dollars) through the international financial system (and particularly the U.S.)

 undetected.

        1311. Hezbollah, the Qods Force, and Regular IRGC conspired with IRGC Syndicate

 Terrorist Proxies in Afghanistan (al-Qaeda and the Taliban, including its Haqqani Network) to

 facilitate terrorist attacks targeting Americans in Afghanistan and Iraq, among other places, for

 the purpose of targeting U.S. citizens and institutions and affecting the policies of the U.S.

 government.

        1312. Each Defendant knew that the objective of the IRGC Conspiracy between these

 sophisticated terrorist organizations and the other Defendants was to facilitate terrorist attacks

 against Americans in Afghanistan, Iraq, Syria, Yemen, Israel, and Europe. This includes the



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 attacks at issue in this case that were planned, authorized, or executed by designated FTOs and

 that killed or injured the Afghanistan Plaintiffs and their family members.

        1313. These attacks were a foreseeable act in furtherance of this IRGC Conspiracy that

 caused the Afghanistan Plaintiffs’ injuries.

        1314. The attacks that killed or injured the Afghanistan Plaintiffs and their family

 members were all jointly committed, as well as planned and authorized, by al-Qaeda, which the

 United States has designated as an FTO under 8 U.S.C. § 1189 since 1999.

        1315. The Afghanistan Plaintiffs are U.S. nationals who were injured in their persons,

 properties, and/or businesses by reason of the terrorist attacks committed by al-Qaeda and/or the

 Taliban, including its Haqqani Network. The Afghanistan Plaintiffs suffered economic,

 physical, and emotional injuries proximately caused by the attacks; are survivors and/or heirs of

 U.S. nationals who suffered such injuries; or both.

        1316.    As a result of Defendants’ liability under 18 U.S.C. § 2333(d), the Afghanistan

 Plaintiffs are entitled to recover economic and non-economic damages, including solatium

 damages.

  COUNT THREE: VIOLATION OF THE ANTI-TERRORISM ACT, 18 U.S.C. § 2333(d)
          [All Defendants: Aiding-and-Abetting Liability, RICO predicate]

        1317. Plaintiffs incorporate their factual allegations above.

        1318. From at least 2007 through the present, IRGC terrorists from Hezbollah, the Qods

 Force, and Regular IRGC, and al-Qaeda conspired with Mullah Omar, Sirajuddin Haqqani, and

 others to conduct and maintain the Taliban as a terrorist enterprise capable of carrying out

 sophisticated attacks on American targets in Afghanistan. Throughout that time, the Taliban was

 a group of associated individuals that functioned as a continuing unit, and the Taliban’s express




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 purpose at all times included violence against, and the expulsion of, Americans in Afghanistan.

 The Taliban engaged in, and its activities affected, foreign commerce.

        1319. From at least 2005 through the present, terrorists from Hezbollah, the Qods Force,

 and Regular IRGC, aided al-Qaeda and the Taliban as the Taliban conspired with Mullah Omar,

 Sirajuddin Haqqani, and others to conduct and maintain the Taliban as a terrorist enterprise

 capable of: (1) carrying out sophisticated attacks on American targets in Afghanistan; and (2)

 aiding the Taliban’s co-conspirators, the IRGC (including Hezbollah and the Qods Force) fund

 attacks on Americans in Iraq and elsewhere in the Middle East through the Taliban’s assistance

 to Hezbollah, the Qods Force, and Regular IRGC, to profit from shared narcotrafficking, money

 laundering, and arms supply activities, all of which were illegal. Throughout that time, the

 IRGC, inclusive of its Hezbollah Division and Qods Force, al-Qaeda, and the Taliban, inclusive

 of its Haqqani Network, was a group of associated individuals that functioned as a continuing

 unit, and the IRGC’s, including Hezbollah’s and the Qods Force’s, al-Qaeda’s, and the Taliban’s,

 including the Haqqani Network’s, express purpose at all times included the sustainment and

 propagation of violence against, and the expulsion of, Americans in Afghanistan and the broader

 Middle East by one or more of the following members of the Conspiracy: (i) Hezbollah, the

 Qods Force, and Regular IRGC, and the Iranian Shareholders who own or control the fronts

 and/or covers associated with Hezbollah, the Qods Force, and Regular IRGC; (ii) MTN Irancell;

 (3) Telecommunications Company of Iran; (4) Exit40; (5) al-Qaeda; (6) the Taliban; and (7) al-

 Qaeda-in-Iraq (including ANF). The Taliban engaged in, and its activities affected, foreign

 commerce.

        1320. From at least 2007 through the present, the IRGC, Mullah Omar, Sirajuddin

 Haqqani and other terrorists employed by or associated with the Taliban and al-Qaeda



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 (including, without limitation, Jalaluddin Haqqani and other terrorists described in this

 Complaint) have maintained interests in and conducted the affairs of the Taliban as an enterprise

 by engaging in a campaign to expel Americans from Afghanistan through crime and anti-

 American violence (the “IRGC-Taliban-al-Qaeda Campaign”).

        1321. Specifically, Mullah Omar, Sirajuddin Haqqani, and other terrorists employed by

 or associated with the Taliban and al-Qaeda conducted and participated in the conduct of the

 Taliban’s affairs (and conspired to do so) through a pattern of racketeering activity involving

 crimes that include murder, attempted murder, conspiracy to murder, kidnapping, and arson, in

 violation of state law, and the destruction of U.S. property by fire or explosive, conspiracy to

 murder in a foreign country, killing and attempted killing U.S. employees performing official

 duties, hostage taking, damaging U.S. government property, killing U.S. nationals abroad, use of

 weapons of mass destruction, commission of acts of terrorism transcending national boundaries,

 bombing places of public use, financing terrorism, and receiving training from an FTO, in

 violation of 18 U.S.C. §§ 844(f )(2) or (3), 956(a)(1), 1114, 1203, 1361, 2332, 2332a, 2332b,

 2332f, 2339C(a)(1)(B), and 2339D, respectively. The same terrorists also maintained interests in

 and control of the Taliban (and conspired to do so) through this pattern of racketeering activity.

        1322. The IRGC-Taliban-al-Qaeda Campaign was an act of international terrorism. It

 was a violent act that was dangerous to human life and that violated the criminal laws of the

 United States prohibiting the conduct or participation in the conduct of an enterprise’s affairs

 through a pattern of racketeering activity, 18 U.S.C. § 1962(c); the maintenance of an interest in

 or control of an enterprise through a pattern of racketeering activity, 18 U.S.C. § 1962(b); and

 conspiring to do either of these acts, 18 U.S.C. § 1962(d); or would have violated these

 prohibitions had it been conducted within the jurisdiction of the United States. The IRGC-



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 Taliban-al-Qaeda Campaign appears to have been intended (a) to intimidate or coerce the

 civilian populations of Afghanistan, the United States, and other Coalition nations, (b) to

 influence the policy of the U.S., Afghan, and other Coalition governments by intimidation and

 coercion, and (c) to affect the conduct of the U.S., Afghan, and other Coalition governments by

 mass destruction, assassination, and kidnapping.

        1323. The IRGC-Taliban-al-Qaeda Campaign occurred primarily outside the territorial

 jurisdiction of the United States.

        1324. Plaintiffs are U.S. nationals who were injured in their persons, properties, and/or

 businesses by reason of the IRGC-Taliban-al-Qaeda Campaign. Specifically, the attacks that

 injured Plaintiffs were part of the pattern of racketeering activity through which the IRGC,

 Mullah Omar, Sirajuddin Haqqani, and other terrorists associated with the Taliban and al-Qaeda

 conducted the affairs of, participated in conducting the affairs of, and maintained an interest in or

 control of the Taliban. Plaintiffs suffered economic, physical, and emotional injuries

 proximately caused by the IRGC-Taliban-al-Qaeda Campaign; are the survivors and/or heirs of

 U.S. nationals who suffered such injuries; or both.

        1325. Defendants aided and abetted and knowingly provided substantial assistance to

 Hezbollah, the Qods Force, the Regular IRGC, al-Qaeda, and the Taliban, including its Haqqani

 Network, which flowed through to the IRGC-Taliban-al-Qaeda Campaign. Defendants did so by

 making payments to the IRGC that indirectly financed the Taliban’s terrorist attacks, and, by

 authorizing, paying, and/or facilitating millions in annual protection payments to the Taliban,

 including its Haqqani Network, in cash and “free goods” every year since on or about 2008.

 MTN Group further aided the Taliban, including the Haqqani Network, by deactivating its

 transmission masts to assist the Taliban’s counterintelligence activities and undermine U.S.



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 counterinsurgency efforts in Afghanistan. On information and belief, MTN Group coordinated

 its towers shutdowns with the Taliban, including its Haqqani Network.

           1326. The IRGC-Taliban-al-Qaeda Campaign was committed, planned, and/or

 authorized by Hezbollah, al-Qaeda, and the Haqqani Network, each of which the United States

 has designated as an FTO under 8 U.S.C. § 1189 since (in 1997, 1999, and 2012, respectively).

           1327. As a result of Defendants’ liability under 18 U.S.C. § 2333(d), Plaintiffs are

 entitled to recover economic and non-economic damages, including solatium damages.

                                             JURY DEMAND

           1328. In accordance with Federal Rule of Civil Procedure 38(b), Plaintiffs demand a

 trial by jury on all issues so triable.

                                           PRAYER FOR RELIEF

           1329. Plaintiffs request that the Court:

     (a)      Enter judgment against Defendants finding them jointly and severally liable under the

              Anti-Terrorism Act, 18 U.S.C. § 2333;

     (b)      Award Plaintiffs compensatory and punitive damages to the maximum extent

              permitted by law, and treble any compensatory damages awarded under the Anti-

              Terrorism Act pursuant to 18 U.S.C. § 2333(a);

     (c)      Award Plaintiffs their attorney’s fees and costs incurred in this action, pursuant to 18

              U.S.C. § 2333(a);

     (d)      Award Plaintiffs prejudgment interest; and

     (e)      Award Plaintiffs any such further relief the Court deems just and proper.




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 Dated: July 28, 2023

                                      Respectfully submitted,

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